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 1   [Submitting Counsel on Signature Page]

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11                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
12

13
     IN RE: JUUL LABS, INC. MARKETING,              Case No. 19-md-02913-WHO
14
     SALES PRACTICES, AND PRODUCTS
15   LIABILITY LITIGATION

16                                                   AMENDED CONSOLIDATED CLASS
                                                     ACTION COMPLAINT
17   THIS DOCUMENT RELATES TO:
     CLASS ACTIONS
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 1   I.       INTRODUCTION
 2            1.     The battle to end nicotine addiction and its associated diseases and death has

 3   consumed our nation’s public health resources for more than half a century. After five decades

 4   of tireless efforts by public health advocates, litigators, and regulators, the war on tobacco was

 5   on the path to victory. By 2014, rates of smoking and nicotine addiction in this country were

 6   finally at an all-time low, particularly among teenagers. Until now. The United States, closer

 7   than ever to consigning the nicotine industry to the dustbin of history, now faces a youth

 8   nicotine epidemic of historic proportions. The swift rise in a new generation of nicotine addicts

 9   has overwhelmed parents, schools, and the medical community, drawing governmental

10   intervention at nearly every level—but it’s too little, too late.
11            2.     This public health crisis is no accident. What had been lauded as progress in
12   curbing cigarette use, JUUL Labs Inc.’s (JLI) co-founders Adam Bowen and James Monsees
13   viewed as opportunity. Seizing on the decline in cigarette consumption and the lax regulatory
14   environment for e-cigarettes, Bowen, Monsees, and investors in their company sought to
15   introduce nicotine to a whole new generation, with JLI as the dominant supplier. To achieve
16   that common purpose, they knew they would need to create and market a product that would
17   make nicotine cool again, without any of the stigma associated with cigarettes. With help from
18   their early investors and board members, who include Nicolas Pritzker, Huyoung Huh, and Riaz
19   Valani (together, the “Management Defendants”), they succeeded in hooking millions of youth,

20   intercepting millions of adults trying to overcome their nicotine addictions, and, of course,

21   earning billions of dollars in profits.

22            3.     Every step of the way, JLI, by calculated intention, adopted the cigarette

23   industry’s playbook, in coordination with one of that industry’s innovators, cigarette giant

24   Altria. JLI was created in the image of the iconic American cigarette companies, which JLI

25   founders praised for creating “the most successful consumer product of all time. . . . an amazing

26   product.” The secret to that “amazing product”? Nicotine, a chemical that has deleterious

27   effects on the developing brains of youths, and is the fundamental reason that people persist in

28   using tobacco products posing the risk of pulmonary injuries, cardiovascular disease and other


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 1   serious, often fatal, conditions.     Through careful study of decades of cigarette industry

 2   documents, JLI knew that the key to developing and sustaining addiction was the amount and

 3   the efficiency of the nicotine delivery.

 4          4.      Three tactics were central to decades of cigarette industry market dominance:

 5   product design to maximize addiction; mass deception; and targeting of youth. JLI and its co-

 6   conspirators adopted and mastered them all. First, JLI and Bowen designed JUUL products to

 7   create and sustain addiction, not break it. JLI and Bowen were the first to design an e-cigarette

 8   that could compete with combustible cigarettes on the speed and strength of nicotine delivery.

 9   Indeed, JUUL products use nicotine formulas and delivery methods much stronger than

10   combustible cigarettes, confirming that what JLI and Bowen designed was a starter product, not
11   a cessation or cigarette replacement product. JLI and Bowen also innovated by making an e-
12   cigarette that was smooth and easy to inhale, practically eliminating the harsh “throat hit,”
13   which otherwise deters nicotine consumption, especially among nicotine “learners,” as R.J.
14   Reynolds’ chemist Claude Teague called new addicts, primarily young people.
15          5.      Second, JLI, the Management Defendants and Altria engaged in a campaign of
16   deceit, through sophisticated mass media and social media communications, advertisements and
17   otherwise, about the purpose and dangers of JUUL products. JUUL products’ packaging and
18   advertising grossly understates the nicotine content in its products. Advertising campaigns
19   featured JUUL paired with food and coffee, positioning JUUL as part of a healthy meal, a

20   normal part of a daily routine, and as safe as caffeine. In partnership with Altria, JLI adopted a

21   “Make the Switch” campaign to mislead consumers into thinking that JLI products were benign

22   smoking cessation devices, even though JUUL was never designed to break addictions. JLI, the

23   Management Defendants, and Altria also concealed the results of studies that revealed that

24   JUUL products were far more powerfully addictive than was disclosed.             JLI’s deceptive

25   marketing scheme was carried out across the country through broad distribution channels:

26   veteran cigarette industry wholesalers, distributors and retailers ensured that JUUL products

27   would become widely available to a new market of nicotine-newcomers, especially youth. JLI

28   and the Management Defendants joined with these veteran cigarette industry marketers to


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 1   secure premium shelf space for vivid displays at convenience stores, like 7-11, and gas stations,

 2   including Chevron, that would lure e-cigarette users, young and old, who would become long-

 3   term customers. These marketing efforts have been resounding successes—when JUUL

 4   products were climbing in sales, most adults and youth believed that e-cigarettes did not contain

 5   nicotine at all.

 6           6.         Third, JLI and the Management Defendants, just like cigarette companies before

 7   them, targeted kids as their customer base. One of JLI’s “key needs” was the need to “own the

 8   ‘cool kid’ equity.” JUUL products were designed to appear slick and high-tech like a cool

 9   gadget, including video-game-like features like “party mode.” JLI offered kid-friendly flavors

10   like mango and cool mint, and partnered with Altria to create and preserve the market for mint-
11   flavored products—all because Defendants knew that flavors get young people hooked. Under
12   the guise of youth smoking prevention, JLI sent representatives directly to schools to study
13   teenager e-cigarette preferences.
14           7.         JLI and the Management Defendants reached their intended demographic
15   through a diabolical pairing of notorious cigarette company advertising techniques (long banned
16   for cigarettes because they cause young people to start smoking) with cutting-edge viral
17   marketing campaigns and social media. They hired young models and advertised using bright,
18   “fun” themes, including on media long barred to the cigarette industry, such as billboards, on
19   children’s websites such as “Nick Junior” and Cartoon Network, and on websites providing

20   games and educational tools to students in middle school and high school.           JLI and the

21   Management Defendants also employed young social-media “influencers” and celebrities

22   popular with teenagers. When regulators and Congress caught onto JLI’s relentless focus on

23   children, JLI and the Management Defendants simply lied, even though they knew well that

24   they had purposefully targeted youth in their marketing and those efforts had been

25   breathtakingly successful.      JUUL products are rampant in the nation’s schools, with the

26   percentage of 12th graders who reported consuming nicotine almost doubling between 2017 and

27   2018. The Surgeon General has warned that this new “epidemic of youth e-cigarette use” could

28   condemn a generation to “a lifetime of nicotine addiction and associated health risks.”


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 1          8.      It should come as little surprise that JLI and the Management Defendants’

 2   misconduct, expressly patterned after decades of cigarette company practices, could not have

 3   been carried out without the involvement and expertise of an actual cigarette company. In

 4   December 2018, Altria paid $12.8 billion to acquire a 35% stake in JLI. Altria’s agreement to

 5   pull its competing e-cigarette product off the market was a non-negotiable condition of the deal

 6   demanded by JLI’s lead negotiators (and Management Defendants) Nicholas Pritzker and Riaz

 7   Valani, as well as CEO Ken Burns. JUUL’s market dominance was thus established, positioning

 8   Altria and JLI to share the profits. Defendants’ conduct prompted the Federal Trade

 9   Commission to sue JLI and Altria on April 1, 2020 alleging violations of the antitrust laws and

10   seeking to unwind the JLI/Altria transaction. But even well before Altria announced its
11   investment in JLI, the connections between the two companies ran deep.            JLI and Altria
12   collaborated to grow the e-cigarette market and the number of users addicted to nicotine,
13   including by sharing data and information and coordinating marketing activities, including
14   acquisition of key shelf space next to top-selling Marlboro cigarettes. Altria’s investment in JLI
15   is not merely a financial proposition, but a key element of Defendants’ plan to stave off
16   regulation and keep their most potent and popular products on the market. JLI has benefitted
17   from Altria’s expertise in designing and marketing addictive products, and in thwarting
18   regulation.
19          9.      There is no doubt about it—JLI, the Management Defendants, Altria, and their

20   co-Defendants have created this public health crisis. At the heart of this disastrous epidemic are

21   the concerted efforts of JLI, its co-conspirators, and all those in JUUL’s supply and distribution

22   chain to continuously expand their market share and profits by preying upon a vulnerable young

23   population and deceiving the public about the true nature of the products they were selling.

24   Nicotine is not benign like coffee, contrary to what many JUUL users believe. Nor is the aerosol

25   as harmless as puffing room air. Worse, the flavors in JUUL products are themselves toxic and

26   dangerous, and have never been adequately tested to ensure they are safe for inhalation.

27   According to the most recent scientific literature, JUUL products cause acute and chronic

28   pulmonary injuries, cardiovascular conditions, and seizures. Yet JUUL products and advertising


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 1   contain no health risk warnings at all. Many smokers, believing that JUUL would help them

 2   “make the switch,” ended up only further trapped in their nicotine addiction. Older adults who

 3   switch to JUUL are more susceptible to cardiovascular and pulmonary problems, and CDC data

 4   shows that older patients hospitalized due to vaping lung related conditions had much longer

 5   hospital stays than younger patients. And a generation of kids is now hooked, ensuring long-

 6   term survival of the nicotine industry because, today just as in the 1950s, 90% of smokers start

 7   as children.

 8             10.   Hundreds of individual and class actions have been filed in state and federal

 9   courts on behalf of the countless victims of JUUL’s e-cigarettes. On August 10, 2019, the

10   Judicial Panel on Multidistrict Litigation consolidated all such actions then pending for pretrial
11   purposes in this Court. See In re Juul Labs, Inc., Marketing, Sales Practices, and Products
12   Liability Litigation, 396 F. Supp. 3d 1366 (J.P.M.L. 2019). On January 13, 2020, this Court
13   directed the filing of Master Complaints on behalf of the Plaintiffs. ECF No. 351. Plaintiffs
14   submit this Consolidated Class Action Complaint seeking compensatory and punitive damages,
15   restitution, disgorgement, and other relief arising from the conduct alleged in this complaint.
16   II.       PARTIES
17             A.    Plaintiffs
18             11.   Allegations specific to each plaintiff are included in Appendix A.
19             B.    Defendants
20             12.   Defendant JUUL Labs, Inc. (“JLI”) is a Delaware corporation, having its

21   principal place of business in San Francisco, California. Ploom, Inc., a predecessor company to

22   JLI, was incorporated in Delaware on March 12, 2007. In 2015, Ploom, Inc. changed its name to

23   PAX Labs, Inc. In April 2017, PAX Labs, Inc. changed its name to JUUL Labs, Inc., and

24   formed a new subsidiary corporation with its old name, PAX Labs, Inc. That new subsidiary,

25   PAX Labs, Inc. (“PAX”), was incorporated in Delaware on April 21, 2017 and has its principal

26   place of business in San Francisco, California.

27             13.   JUUL, designs, manufactures, sells, markets, advertises, promotes and distributes

28   JUUL e-cigarettes devices, JUUL pods and accessories (collectively “JUUL” or “JUUL


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 1   products”). Prior to the formation of separate entities PAX Labs, Inc. and JLI in or around April

 2   2017, JUUL designed, manufactured, sold, marketed, advertised, promoted, and distributed

 3   JUUL under the name PAX Labs, Inc.

 4          14.     Together with its predecessors, JUUL Labs, Inc is referred to herein as “JLI.”

 5          15.     Defendant ALTRIA GROUP, INC., (together with its wholly owned subsidiaries

 6   and their predecessors, “Altria” or the “Altria Defendants”) is a Virginia corporation, having its

 7   principal place of business in Richmond, Virginia. Altria is one of the world’s largest producers

 8   and marketers of tobacco products, manufacturing and selling combustible cigarettes for more

 9   than a century. Defendant Philip Morris USA, Inc. (“Philip Morris”), is a wholly-owned

10   subsidiary of Altria. Philip Morris is also a Virginia corporation that has its principal place of
11   business in Richmond, Virginia. Philip Morris is engaged in the manufacture and sale of e-
12   cigarettes in the United States. Philip Morris is the largest cigarette company in the United
13   States. Marlboro, the principal cigarette brand of Philip Morris, has been the largest selling
14   cigarette brand in the United States for over 40 years.
15          16.     On December 20, 2018, Altria purchased a 35% stake in JLI. Altria and JLI
16   executed a Services Agreement that provides that Altria, through its subsidiaries, Philip Morris,
17   Altria Client Services LLC, and Altria Group Distribution Company, would assist JLI in the
18   selling, marketing, promoting, and distributing of JUUL, among other things.
19          17.     Altria Client Services LLC (“ACS”) performs services under the Services

20   Agreement to assist JUUL in the sale, marketing, promotion and distribution of JUUL. Such

21   services include database support, direct marketing support, premarket product application

22   support,

23          18.     Altria Group Distribution Company (“AGDC”) performs services under the

24   Services Agreement to assist JUUL in the sale, marketing, promotion and distribution of JUUL.

25   Such services include JUUL-distribution support, the removal by Altria Group Distribution

26   Company of Nu Mark products (such as Green Smoke or MarkTen) and fixtures in retail stores

27   and replacing them with JUUL products and fixtures, and sales support services.

28          19.     Defendant James Monsees is a resident of the San Francisco Bay Area. In 2007,


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 1   he co-founded Ploom with Adam Bowen. He served as Chief Executive Officer of JLI until

 2   October 2015. Since October 2015, he has been Chief Product Officer of JLI. At all relevant

 3   times, he has been a member of the Board of Directors of JLI.

 4           20.    Defendant Adam Bowen is a resident of the San Francisco Bay Area. In 2007, he

 5   co-founded Ploom with Monsees. At all relevant times, he has been Chief Technology Officer

 6   and a member of the Board of Directors of JLI.

 7           21.    Defendant Nicholas Pritzker is a resident of San Francisco, California, and a

 8   member of the Pritzker family, which owned the chewing-tobacco giant Conwood before selling

 9   it to Reynolds American, Inc., a subsidiary of British American Tobacco. Pritzker received a

10   J.D. from the University of Chicago. He served as president of the Hyatt Hotels Corporation and
11   was a member of its Board of Directors from 1980 to 2007. More recently, he co-founded Tao
12   Capital, an early investor in, among other companies, Tesla Motors and Uber. In 2007, he
13   invested in JLI.1 He has been on the Board of Directors of JLI since at least June 2014.2 At least
14   from October 2015 to August 2016, he was on the Executive Committee in the Board of
15   Directors. As of November 2017, he controlled two Board seats (the second of which was
16   occupied by Hoyoung Huh, discussed next).3
17           22.    Defendant Hoyoung Huh lives and works in the Silicon Valley area. He holds an
18   M.D. from Cornell and a Ph.D. in Genetics/Cell Biology from Cornell/Sloan-Kettering. He has
19   been CEO or a Board member of numerous biotechnology businesses, including Geron

20   Corporation. Huh has been on the Board of Directors of JLI since at least June 2015. At least

21   from October 2015 to August 2016, he was on the Executive Committee in the Board of

22   Directors. As of November 2017, he served as Pritzker’s second seat on the Board.4

23           23.    Defendant Riaz Valani lives near San Jose and is a general partner at Global

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25   1
       Ainsley Harris, How JUUL Went From a Stanford Thesis to $16 Billion Startup, FAST
26   COMPANY (Nov.19, 2018), https://www.fastcompany.com/90263212/how-JUUL-went-from-a-
     stanford-thesis-to-16-billion-startup.
27   2
       INREJUUL_00371187
     3
28     INREJUUL_00327603.
     4
       Id.

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 1   Asset Capital, a San Francisco-based private equity investment firm. He has been on the Board

 2   of Directors of JLI since at least May 2011.5 At least from October 2015 to August 2016, he

 3   was on the Executive Committee in the Board of Directors. As of November 2017, he controlled

 4   two Board seats, the second of which was occupied by Zach Frankel.6

 5           24.    Defendants Monsees, Bowen, Pritzker, Huh, and Valani are referred to

 6   collectively as the “Management Defendants.”

 7           25.    Defendants JLI, the Altria Defendants, Monsees, Bowen, Pritzker, Huh, and

 8   Valani are referred to collectively as the “RICO Defendants.”

 9   III.    JURISDICTION AND VENUE
10           26.    This Court has subject matter jurisdiction pursuant to the Class Action Fairness
11   Act of 2005, 28 U.S.C. § 1332(d), because at least one class member is of diverse citizenship
12   from one Defendant, there are more than 100 class members nationwide; and the aggregate
13   amount in controversy exceeds $5,000,000 and minimal diversity exists.
14           27.    Defendants JUUL and the Altria Defendants have significant contacts in each
15   States and Territories of the United States, such that personal jurisdiction would be proper in
16   any of them. Defendants Monsees, Bowen, Pritzker, Huh, and Valani reside within the Northern
17   District of California and are subject to the general jurisdiction of this Court.
18           28.    A substantial part of the events and omissions giving rise to Plaintiffs’ causes of
19   action occurred in and/or emanated from this District. Pursuant to 28 U.S.C. § 1391(a), venue is

20   proper in said District.

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     5
       Ploom, Inc., Notice of Exempt Offering of Securities (Form D) (May, 5 2011),
27
     https://www.sec.gov/Archives/edgar/data/1520049/000152004911000001/xslFormDX01/prima
28   ry_doc.xml.
     6
       INREJUUL_00327603.

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 1   IV.     FACTUAL ALLEGATIONS
 2           A.     Each Defendant Was Instrumental in Seeking to Develop and Market the
 3                  Blockbuster Sequel to Combustible Cigarettes, the “Most Successful
 4                  Consumer Product of All Time.”
 5           29.    JLI’s co-founder James Monsees has described the cigarette as “the most

 6   successful consumer product of all time . . . an amazing product.”7 This statement, which

 7   ignores the fact that cigarettes have caused more deaths than any other human invention,

 8   contained a kernel of truth. When U.S. smoking rates peaked in the mid-1960s, 42% of adults

 9   smoked cigarettes. Cigarettes were everywhere; people smoked on airplanes, in movie theatres,

10   at the office, and at sports games. Movie stars and sports heroes smoked. Cigarette advertising
11   wallpapered American life, glamorizing smoking as sophisticated, cool, and the thing to do.
12           30.    But in reality, of course, this “successful” product has long been the world’s
13   leading cause of preventable death.
14           31.    Citing “some problems” inherent in the cigarette, Monsees and JLI co-founder
15   Adam Bowen set out to “deliver[] solutions that refresh the magic and luxury of the tobacco
16   category.”8 Monsees saw “a huge opportunity for products that speak directly to those
17   consumers who aren’t perfectly aligned with traditional tobacco products.”9 Successfully
18   capitalizing on this opportunity would mean not only billions of dollars in short-term revenue
19   but lucrative acquisition by a cigarette industry power player.

20           32.    Bowen and Monsees took the first major step toward realizing their vision by

21   deliberately creating an extremely potent nicotine product that looked nothing like a cigarette.

22   But achieving widespread adoption of their highly addictive product required resources and

23

24   7
       Kathleen Chaykowski, Billionaires-to-be: Cigarette Breakers–James Monsees and Adam
25   Bowen Have Cornered the US E-Cigarette Market with Juul. Up Next: The World, FORBES
     INDIA (Sept. 27, 2018), www.forbesindia.com/article/leaderboard/billionairestobe-cigarette-
26   breakers/51425/1.
     8
       Josh Mings, Ploom Model Two Slays Smoking With Slick Design and Heated Tobacco Pods,
27
     SOLID SMACK (Apr. 23, 2014), www.solidsmack.com/ design/ploom-modeltwo-slick-design-
28   tobacco-pods.
     9
       Id.

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 1   expertise beyond those posessed by Bowen, Monsees or others at JLI.

 2            33.   When it became clear that Bowen and Monsees could not achieve vision of

 3   growing the number of nicotine-addicted e-cigarette users to ensure a base of customers for life

 4   through JLI by themselves, the Management Defendants planned a fundamental shift in roles to

 5   allow Pritzker, Huh, and Valani to direct and take control of JLI and use it to commit the

 6   Defendants’ unlawful acts.

 7            34.   Specifically, in October 2015, Monsees stepped down from his role as Chief

 8   Executive Officer of JLI (to become Chief Product Officer) and, in his stead, Pritzker, Huh, and

 9   Valani formed an Executive Committee of the JLI Board of Directors that would take charge of

10   fraudulently marketing JUUL products, including to youth.
11            35.   Prior to the installation of Tyler Goldman as JLI’s new CEO in August 2016,
12   Defendants Pritzker, Huh, and Valani used their newly formed Executive Committee to expand
13   the number of addicted e-cigarette users through fraudulent advertising and representations to
14   the public. They cleaned house at JLI by “dismiss[ing] other senior leaders and effectively
15   tak[ing] over the company.”10 Once their leadership was secure, defendants Huh, Pritzker, and
16   Valani pressed for even “more aggressive rollout and [marketing].”11
17            36.   But the Management Defendants knew that their desire to create and monpolize a
18   massive new market for JUUL on their own would be aided if they could convert Altria, a
19   competitor, into an ally. They began that effort in the Spring of 2017. While Defendants JLI,

20   Bowen, Monsees, Huh, and Valani are relative newcomers to the tobacco industry, Altria has

21   been manufacturing and selling “combustible” cigarettes for more than a century. And

22   Defendant Pritzker, for his part, has been long familiar with the tobacco industry from his

23   family's ownership of chewing-tobacco giant Conwood before selling it to Reynolds American,

24   Inc., a subsidiary of British American Tobacco. Notwithstanding their different histories, JLI

25   and the Management Defendants, for their part, invited Altria into the fold as an ally with ample

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27   10
        Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. TIMES
28   (Nov. 23, 2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
     11
        INREJUUL_00278359.

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 1   resources to further expand the market of nicotine-addicted e-cigarette users and to keep

 2   litigation and regulation at bay. While JLI, Monsees, and Bowen publicly claimed to be out to

 3   “disrupt” the industry, they and the other Management Defendants privately negotiated and

 4   ultimately relinquished a 35% ownership stake in the company to a cigarette giant.

 5            37.   Cigarette companies have long known that profitable growth requires a pipeline

 6   of “replacement” customers. Altria, after decades of tobacco litigation and regulation, had little

 7   ability to recruit new smokers in the ways that had driven Philip Morris’s success through most

 8   of the 1900s. In 2017, Altria’s combustible cigarette products were facing increasing regulatory

 9   pressures. In late July 2017, Altria’s stock value plummeted shortly after the FDA announced

10   that it would reduce the amount of nicotine allowed in cigarettes with an eye toward reaching
11   non-addictive levels.12 In late 2017, Altria, and other major cigarette companies, also finally
12   complied with a consent decree from the 1990s tobacco litigation that required them to issue
13   corrective advertising statements that highlighted the addictiveness and health impacts of
14   smoking cigarettes.13
15            38.   Due in large part to this litigation and regulation, cigarette use has been declining
16   in the United States in the last decade, especially among youth.14 Altria estimates that the
17   cigarette industry declined by 4% in 2017 and by 4.5% in 2018, and it predicted a continued 4%
18   to 5% decline in the average annual U.S. cigarette industry volume for 2019 through 2023.15
19   Altria later adjusted the estimated rate of decline to 4% to 6%, to reflect efforts to increase the

20

21   12
        See Dan Caplinger, Altria Group in 2017: The Year in Review, The Motley Fool (Dec. 18,
22   2017), https://www.fool.com/investing/2017/12/18/altria-group-in-2017-the-year-in-
     review.aspx.
23   13
        https://www.law360.com/articles/1037281/tobacco-cos-settle-long-running-health-warning-
     dispute
24   14
        Current Cigarette Smoking Among Adults In the United States, CDC,
25   https://www.cdc.gov/tobacco/data_statistics/fact_sheets/adult_data/cig_smoking/index.htm
     (last visited February 10, 2020); Youth and Tobacco Use, CDC,
26   https://www.cdc.gov/tobacco/data_statistics/fact_sheets/youth_data/tobacco_use/index.htm
     (last visited February 10, 2020).
27   15
        Altria’s Fourth-Quarter 2018 Earnings Conference Call, Altria (Jan. 31, 2019),
28   http://investor.altria.com/Cache/1001247877.PDF?O=PDF&T=&Y=&D=&FID=1001247877
     &iid=4087349.

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 1   legal age for cigarette smoking to 21.16

 2            39.   Altria had undertaken its own efforts at marketing an e-cigarette product. Altria

 3   had launched the MarkTen product nationwide in 2014 with an aggressive marketing campaign,

 4   eclipsing the advertising expenditures for the market leader at that time, blu e-cigarettes.17 Of

 5   the $88.1 million spent on e-cigarette advertising in 2014, nearly 40% of that was Altria’s

 6   MarkTen campaign, at $35 million.18 Altria was clear in its intent to dominate the e-cigarette

 7   market as it has the combustible cigarette market: “We are the market leader today and we will

 8   continue to be,” then-CEO Marty Barrington told investors at the time of MarkTen’s launch.19

 9   The original MarkTen was a “cigalike,” designed to mimic the look and feel of a combustible

10   cigarette. Altria had also been acquiring small companies in the vaping industry, starting in
11   2014 with Green Smoke, Inc., whose e-cigarettes were also the “cigalike” style, and were sold
12   in flavors including “Vanilla Dreams” and “Smooth Chocolate.”20 In 2016, Altria acquired a
13   vape product called Cync, from Vape Forward.21 Cync is a small vapor device that uses
14   prefilled pods in a variety of flavors, similar to the JUUL.
15            40.   In February 2017, Altria told investors at the 2017 Consumer Analyst Group of
16   New York (CAGNY) Conference that over the past year, “Nu Mark LLC (Nu Mark) made
17

18

19   16
        Altria Shares Slide As Cigarette Sales Continue to Decline, Tobacco Bus. (July 31, 2019),
20   https://tobaccobusiness.com/altria-shares-slide-as-cigarette-sales-continue-to-decline/.
     17
        Jennifer Cantrell et al., Rapid increase in e-cigarette advertising spending as Altria’s
21   MarkTen enters the marketplace, Tobacco Control 25 (10) (2015),
     http://dx.doi.org/10.1136/tobaccocontrol-2015-052532.
22   18
        Id.
23   19
        Melissa Kress, MarkTen National Rollout Hits 60,000 Stores, Convenience Store News (July
     22, 2014), https://csnews.com/markten-national-rollout-hits-60000-stores.
24   20
        Mike Esterl, Altria To Launch MarkTen E-Cigarette Nationally, Wall St. J. (Feb. 19, 2014),
25   https://www.wsj.com/articles/altria-to-launch-markten-e-cigarette-nationally-1392832378;
     Senator Richard J. Durbin et al., Gateway to Addiction? A Survey of Popular Electronic
26   Cigarette Manufacturers and Targeted Marketing to Youth at 12 (Apr. 14, 2014),
     https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
27
     Cigarettes%20with%20Cover.pdf.
     21
28      Remarks by Jody Begley, 2017 Altria Investor Day (Nov. 2, 2017), http://media.corporate-
     ir.net/media_files/IROL/80/80855/2017InvestorDay/Remarks_and_Reconciliations.pdf.

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 1   excellent progress toward its long-term aspiration of becoming a leader in e-vapor.”22 In his

 2   remarks, Altria’s current CEO, Howard A. Willard III, said, “Nu Mark, our e-vapor company,

 3   had a very strong year. It made excellent progress toward establishing MarkTen as a leading

 4   brand in the category, continued to improve its supply chain, and took the necessary steps to

 5   comply with the deeming regulations.” He noted, however, that the estimated “total 2016 e-

 6   vapor consumer spending was roughly flat compared to the prior year at approximately $2.5

 7   billion.”23 In 2017, Altria’s MarkTen e-cigarettes had a market share of only 13.7%, well behind

 8   JLI’s growing market share of 40%.24 Thus, despite its public statements to the contrary, Altria

 9   knew the popularity of JUUL stood in the way of Altria becoming the dominant force in the e-

10   cigarette market.
11            41.   With smoking on the decline, litigation and regulatory controls were ramping up
12   and threatening Altria’s ability to attract new smokers, and JUUL outperforming Altria’s
13   products in the market, Altria’s best bet for maintaining its sales by increasing users addicted to
14   nicotine was to partner with JLI (1) to maintain or increase the number of users hooked on
15   JUUL; and (2) to delay and prevent regulation that could interfere with this first scheme.
16            42.   For those reasons and others, Altria began coordinating with JLI and the
17   Management Defendants in the Spring of 2017. Before then, Altria and JLI were members of at
18   least one industry group that shared information and coordinated public statements regarding
19   vaping,25 and Ploom’s advisory committee included Altria’s former growth officer. In Altria’s

20   words, the company followed “JUUL’s journey rather closely” from its early beginnings.26

21
     22
        Remarks by Marty Barrington, Altria Group, Inc.’s (Altria) Chairman, CEO and President,
22
     and other members of Altria’s senior management team 2017 Consumer Analyst Group of New
23   York (CAGNY), (2017), http://investor.altria.com/Cache/IRCache/1ac8e46a-7eb4-5df2-843d-
     06673f29b6b0.PDF?O=PDF&T=&Y=&D=&FID=1ac8e46a-7eb4-5df2-843d-
24   06673f29b6b0&iid=4087349.
     23
        Id.
25   24
        Richard Craver, Vuse falls further behind Juul on e-cig sales, Winston-Salem Journal (Dec.
26   14, 2017), https://www.journalnow.com/business/vuse-falls-further-behind-juul-on-e-cig-
     sales/article_ed14c6bc-5421-5806-9d32-bba0e8f86571.html.
27   25
        INREJUUL_00278740.
     26
28      Olivia Zaleski & Ellen Huet, Juul Expects Skyrocketing Sales of $3.4 Billion, Despite
     Flavored Vape Restrictions, Bloomberg (Feb. 22, 2019),

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 1          43.     According to Howard Willard, Altria’s CEO, Altria first contacted JLI about a

 2   commercial relationship in early 2017, with “confidential discussions” beginning in the Spring

 3   of 2017.27 JLI’s pitch deck to investors at the time boasted that “Viral Marketing Wins,” and

 4   that JUUL’s super potent nicotine formulation was “cornering” the consumables market with

 5   the highest customer retention rate of any e-cigarette.28 JLI and Altria’s “confidential

 6   discussions” occurred “over a period of approximately 18 months.”29 Pritzker and Valani,

 7   together with Burns, were the lead negotiators on the Altria deal. On July 30, 2018, in advance

 8   of a meeting between the lead negotiators from JLI and Altria, Pritzker emailed Howard Willard

 9   an opening term sheet for discussions, and made clear that an end to competition from Altria’s

10   e-cigarette products was a key term of any deal. On August 1, 2018, the companies’ negotiators
11   met at the Park Hyatt Hotel in Washington, D.C., to discuss terms. Pritzker, Valani, and Burns
12   attended for JLI. Willard and Billy Gifford, Altria’s CFO, attended for Altria. By the Fall of
13   2017, JLI, the Management Defendants, and Altria had agreed to and had taken coordinated
14   actions to maintain and expand the number of nicotine-addicted e-cigarette users in order to
15   ensure a steady and growing customer base.
16          44.     During the roughly 18-month negotiating period, it was JLI (through its
17   executives and employees—including Tyler Goldman and his successors) and Altria (through
18   its executives and employees) that primarily directed and conducted fraudulent acts designed to
19   grow the market of nicotine-addicted e-cigarette users, although Bowen, Monsees, Pritzker,

20   Huh, and Valani remained critical to the success of these efforts. Without their control of the

21   JLI Board of Directors and prior fraudulent conduct, the close coordination between JLI and

22   Altria, and Altria’s investment in JLI, would not have been possible.

23          45.     In December 2018, Altria decided to take the next step in its coordination with

24   JLI and the Management Defendants by making a $12.8 billion equity investment in JLI, the

25

26   https://www.bloomberg.com/news/articles/2019-02-22/juul-expects-skyrocketing-sales-of-3-4-
     billion-despite-flavored-vape-ban.
27   27
        Altria’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).
     28
28      INREJUUL_00349529.
     29
        Id.

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 1   largest equity investment in United States history. This arrangement was profitable for both

 2   companies, as well as Defendants Monsees, Bowen, Prtizker, Huh, and Valani. JLI employees

 3   received $2 billion in bonuses, which, split among the Company’s 1,500 employees, was

 4   approximately $1.3 million per employee,30 and Altria received millions of loyal teen

 5   customers. In deciding to make a huge investment in JUUL, Altria took into account that the e-

 6   cigarette industry would see significant year-over-year growth in the near term, and that “JUUL

 7   continu[es] to be a growth driver for the e-vapor category.”31

 8            46.   In July 2018, JLI’s valuation was approximately $15 billion.32 But, in December

 9   2018, Altria’s investment of $12.8 billion for a 35% stake in the company reflected a valuation

10   of approximately $38 billion—more than two and a half times the valuation just five months
11   earlier. Defendants Monsees, Bowen, Pritzker, Huh, and Valani thus saw the value of their
12   investments in JLI skyrocket as a result of the Altria agreement, allowing them to cash out via a
13   special dividend and bonus, as well as through stock sales that were not available to other of
14   JLI’s minority shareholders.33 This investment further intertwined JLI and the Altria. According
15   to the terms of its investment, Altria may appoint one third of JLI’s board. And in October
16   2019, JLI’s CEO resigned to be replaced by another career Altria executive, K.C. Crosthwaite.
17   The key JLI negotiators of the Altria deal (including Pritzker and Valani), and other officers and
18   directors including Bowen, Monsees, and Huh, would have been instrumental in bringing
19   Crosthwaithe on board at JLI. Crosthwaite had most recently served as the vice president and

20   chief growth officer of Altria Client Services LLC, overseeing the company’s work to assist

21   Altria’s companies, including with digital marketing, packaging design & innovation, product

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     30
        Olivia Zaleski, Juul Employees to Get $2 Billion Bonus in Altria Deal, BLOOMBERG
24   (Dec. 20, 2018), https://www.bloomberg.com/news/articles/2018-12-20/juul-employees-said-
     to-get-2-billion-bonus-in-altria-deal.
25   31
        Altria’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).
26   32
        https://www.theverge.com/2018/7/3/17529442/juul-vapes-nicotine-electronic-cigarettes-
     addiction-funding
27   33
        Tiffany Kary, JUUL Founders Sued for Self-Dealing Over Altria's $12.8 Billion, Bloomberg
28   (Jan. 13, 2020), https://www.bloomberg.com/news/articles/2020-01-13/juul-founders-sued-for-
     self-dealing-over-altria-s-12-8-billion.

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 1   development, and safety, health, and environmental affairs. Crosthwaite knows the cigarette

 2   industry’s playbook all too well, having previously served as the president and CEO of Phillip

 3   Morris USA, the vice president and general manager at Marlboro—the leading cigarette brand

 4   among youth, and the vice president of strategy and business development of at Altria Client

 5   Services LLC.

 6           47.     In addition, Joe Murillo, who headed regulatory affairs for Altria, and served as

 7   President and General Manager of Nu Mark, LLC (Altria’s e-cigarette business), became JLI’s

 8   chief regulatory officer in October 2019.

 9           48.     Both before and after Altria’s investment, JLI, through its employees and

10   officers, provided Altria with critical information regarding the design and nicotine content of
11   the JUUL product, the labeling of the JUUL product, and related topics including advertising,
12   retail distribution, online sales, age verification procedures, information on underage user’s
13   flavor preferences, and regulatory strategies. Altria, for its part, guided JLI and the Management
14   Defendants in these areas and helped them devise and execute schemes to maintain and expand
15   the e-cigarette market.
16           49.     JLI, the Management Defendants, and Altria worked together to implement their
17   shared goal of growing a new market in the image of the combustible cigarette market through a
18   multi-pronged strategy to: (1) create an highly addictive product that consumers would not
19   associate with cigarettes and that would appeal to the lucrative youth market, (2) deceive the

20   public into thinking the product was a fun and safe alternative to cigarettes that would also help

21   smokers quit, (3) actively attract young users through targeted marketing, and (4) use a variety

22   of tools, including false and deceptive statements to the public and regulators, to delay

23   regulation of e-cigarettes. As detailed more fully throughout this Complaint, each of the

24   Defendants played a critical role—at times overlapping and varying over time—in each of these

25   strategies.

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 1            B.    Defendants’ Strategy Was to Create a Nicotine Product That Would
 2                  Maximize Profits Through Addiction.
 3                    1.      Defendants Understood that the “Magic” Behind Cigarettes’
 4                            Stratospheric Commercial Success Was Nicotine Addiction.
 5            50.   The first step in replicating the success of combustible cigarettes was to create a

 6   product that, like combustible cigarettes, was based on getting users addicted to the nicotine in

 7   the product. Nicotine is an alkaloid, a class of plant-derived nitrogenous compounds that is

 8   highly addictive and the key ingredient that drives addiction to cigarettes. Nicotine’s addictive

 9   properties are similar to heroin and cocaine.34

10            51.   Route of administration and speed of delivery are key to understanding nicotine’s
11   addictive potential. Dr. Neal Benowitz, Scientific Editor of the 1988 Surgeon General’s Report
12   on nicotine addiction, wrote: “After a puff, high levels of nicotine reach the brain in 10–20
13   s[econds], faster than with intravenous administration, producing rapid behavioral
14   reinforcement. The rapidity of rise in nicotine levels permits the smoker to titrate the level of
15   nicotine and related effects during smoking, and makes smoking the most reinforcing and
16   dependence-producing form of nicotine administration.”35
17            52.   Again, according to Dr. Benowitz, “The rapid rate of delivery of nicotine by
18   smoking … results in high levels of nicotine in the central nervous system with little time for
19   development of tolerance. The result is a more intense pharmacologic action. The short time

20   interval between puffing and nicotine entering the brain also allows the smoker to titrate the

21   dose of nicotine to a desired pharmacologic effect [often subconsciously], further reinforcing

22   drug self-administration and facilitating the development of addiction.”36

23            53.   Nicotine fosters addiction through the brain’s “reward” pathway. Both a

24

25   34
        See e.g., U.S. Dep’t of Health and Human Servs., Nicotine Addiction: A Report of the
26   Surgeon General, DHHS Publication Number (CDC) 88-8406, (1988).
     35
        Neal L. Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, 192
27
     HANDB. EXP. PHARMACOL. 29 (2010),
28   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/
     36
        Id.

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 1   stimulant and a relaxant, nicotine affects the central nervous system; increases blood pressure,

 2   pulse, and metabolic rate; constricts blood vessels of the heart and skin; and causes muscle

 3   relaxation. Long-term exposure to nicotine causes upregulation—an increase in the number of

 4   these high-affinity nicotinic receptors in the brain. When nicotine binds to these receptors it

 5   triggers a series of physiological effects in the user that are perceived as a “buzz” that includes

 6   pleasure, happiness, arousal, and relaxation of stress and anxiety. With regular nicotine use,

 7   however, these feelings diminish, and the user must consume increasing amounts of nicotine to

 8   achieve the same effects.

 9            54.   Kids are particularly vulnerable to nicotine addiction, as Defendants know well.

10   As described by the United States Surgeon General, “Tobacco use is a pediatric epidemic.”
11   Nine out of ten smokers begin by age 18 and 80% who begin as teens will smoke into
12   adulthood.37
13            55.   The above statements apply equally, if not more so, to e-cigarettes. Further, the
14   Surgeon General has explained how the nicotine in e-cigarettes affects the developing brain and
15   can addict kids more easily than adults: “Until about age 25, the brain is still growing. Each
16   time a new memory is created, or a new skill is learned, stronger connections—or synapses—
17   are built between brain cells. Young people’s brains build synapses faster than adult brains.
18   Because addiction is a form of learning, adolescents can get addicted more easily than adults.”38
19   The effects of nicotine exposure on the brain of youth and young adults include not only

20   addiction, priming for use of other addictive substances, but also reduced impulse control,

21   deficits in attention and cognition, and mood disorders.39 A highly addictive, psychoactive

22   substance that targets brain areas involved in emotional and cognitive processing, nicotine poses

23

24   37
        Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General at 1
25   (2012), https://www.hhs.gov/surgeongeneral/reports-and-publications/tobacco/index.html.
     38
        Know The Risks: E-Cigarettes & Young People (2019), https://e-
26   cigarettes.surgeongeneral.gov/ knowtherisks.html.
     39
27      Menglu Yuan et al., Nicotine and the Adolescent Brain, 593 J. OF PHYSIOLOGY 3397 (2015),
     www.ncbi.nlm.nih.gov/pmc/articles/PMC4560573/; U.S. Surgeon General and U.S. Centers for
28   Disease Control & Prevention, Office on Smoking and Health, Know the Risks: E-Cigarettes
     and Young People (2019), https://e-cigarettes.surgeongeneral.gov/.

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 1   a particularly potent threat to the adolescent brain, as it can “derange the normal course of brain

 2   maturation and have lasting consequences for cognitive ability, mental health, and even

 3   personality.”40

 4            56.      In 2014, the United States Surgeon General reported that nicotine addiction is the

 5   “fundamental reason” that individuals persist in using tobacco products, and this persistent

 6   tobacco use contributes to millions of needless deaths and many diseases, including diseases

 7   that affect the heart and blood vessels (cardiovascular disease), lung diseases (chronic

 8   obstructive pulmonary disease (COPD) and lung cancer), cancer almost anywhere in the body,

 9   and birth defects.41

10            57.      It took five decades of public health initiatives, government intervention, impact
11   litigation, consumer education and tobacco regulation to finally see a significant drop in
12   cigarette smoking and nicotine addiction.
13            58.      By 2014, the number of adults that reported using cigarettes had dropped to 18%,
14   and the number of adult smokers who reported quitting smoking increased from 50.8% in 2005
15   to 59% by 2016.42 By 2014, teen smoking also hit a record low.43 In June 2014, the Centers for
16

17   40
        Natalia A. Goriounova & Huibert D. Mansvelder, Short- and Long-Term Consequences of
18   Nicotine Exposure During Adolescence for Prefrontal Cortex Neuronal Network Function, 2
     COLD SPRING HARBOR PERSP. MED. 12 (2012),
19   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3543069/.
     41
        U.S. Dep’t of Health and Human Servs. 2014 Surgeon General's Report: The Health
20   Consequences of Smoking—50 Years of Progress (2014),
21   https://www.cdc.gov/tobacco/data_statistics/sgr/50th-anniversary/index.htm#report.
     42
        Centers for Disease Control and Prevention, U.S. Dep’t of Health and Human Services,
22   Trends in Cigarette Smoking Among High School Students—United States, 1991-2001, 51
     MORBIDITY & MORTALITY WKLY. REP. 409 (May 17, 2002),
23   https://www.cdc.gov/mmwr/preview/mmwrhtml/mm5119a1.htm; Teresa W. Wang et al.,
24   Tobacco Product Use Among Adults—United States, 2017, 67 MORBIDITY & MORTALITY
     WKLY. REP. 1225 (Nov. 9, 2018),
25   https://www.cdc.gov/mmwr/volumes/67/wr/pdfs/mm6744a2-H.pdf; U.S. Dep’t of Health and
     Human Servs. 2014 Surgeon General's Report: The Health Consequences of Smoking—50
26   Years of Progress (2014), https://www.cdc.gov/tobacco/data_statistics/sgr/50th-
     anniversary/index.htm#report.
27   43
        Press Release, Centers for Disease Control and Prevention, Cigarette smoking among U.S.
28   high school students at lowest level in 22 years (June 12, 2014),
     https://www.cdc.gov/media/releases/2014/p0612-YRBS.html.

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 1   Disease Control and Prevention (“CDC”) reported that “in achieving a teen smoking rate of 15.7

 2   percent, the United States has met its national Healthy People 2020 objective of reducing

 3   adolescent cigarette use to 16 percent or less.”

 4            59.   The United States Surgeon General reported in 2014 that: “We are at a historic

 5   moment in our fight to end the epidemic of tobacco use that continues to kill more of our

 6   citizens than any other preventable cause. The good news is that we know which strategies work

 7   best. By applying these strategies more fully and more aggressively, we can move closer to our

 8   goal of making the next generation tobacco-free.”44

 9            60.   Where the public health community saw progress in curbing the use of cigarettes

10   and nicotine addiction, Defendants saw an opportunity.
11                    2.      Following the Cigarette Industry Playbook, Defendants Sought to
12                            Market a Product that would Create and Sustain Nicotine
13                            Addiction, but Without the Stigma Associated with Cigarettes
14            61.   Seeking to build and dominate a new market for nicotine products without the
15   baggage of combustible cigarettes (i.e. well-established link to death and disease), JLI
16   engineered a cool-looking e-cigarette device capable of delivering more nicotine and fueling
17   higher levels of consumer addiction than ever before. JLI marketed that highly-addictive device
18   as healthy, safe, cool and available in kid-friendly flavors.
19            62.   In doing so, JLI followed the cigarette industry’s playbook. Monsees admitted

20   that when creating JLI, he and Bowen carefully studied the marketing strategies,

21   advertisements, and product design revealed in cigarette industry documents that were

22   uncovered through litigation and made public under the November 1998 Master Settlement

23   Agreement between the state Attorneys General of forty-six states, five U.S. territories, the

24   District of Columbia and the four largest cigarette manufacturers in the United States.

25   “[Cigarette industry documents] became a very intriguing space for us to investigate because we

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27   44
        U.S. Dep’t of Health and Human Servs. Let’s Make the Next Generation Tobacco-Free:
28   Your Guide to the 50th Anniversary Surgeon General’s Report on Smoking and Health (2014),
     https://www.hhs.gov/sites/default/files/consequences-smoking-consumer-guide.pdf

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 1   had so much information that you wouldn’t normally be able to get in most industries. And we

 2   were able to catch up, right, to a huge, huge industry in no time. And then we started building

 3   prototypes.”45

 4             63.    In a thesis presentation Bowen and Monsees gave in 2004, Monsees candidly

 5   admitted, “The cigarette is actually a carefully engineered product for nicotine delivery and

 6   addiction.”46 JLI researched how cigarette companies engineered their products and chemically

 7   manipulated nicotine to maximize delivery: “We started looking at patent literature. We are

 8   pretty fluent in ‘Patentese.’ And we were able to deduce what had happened historically in the

 9   tobacco industry.”47 With access to the trove of documents made public to curb youth smoking

10   and aid research to support tobacco control efforts, JLI was able to review literature on
11   manipulating nicotine pH to maximize its delivery in a youth-friendly vapor with minimal
12   “throat hit.”
13             64.    Through studying industry documents, JLI learned that the cigarette industry had
14   tried for years to figure out ways to create and sustain addiction by delivering more nicotine in
15   way that would be easy to ingest—without the nausea, cough, or other aversive side effects that
16   many new smokers experienced. In the 1970s, R.J. Reynolds scientists eventually found a
17   solution: Combine the high-pH nicotine with a low-pH acid. The result was a neutralized
18   compound referred to as nicotine salt. In a 1973 RJR memorandum titled “Cigarette concept to
19   assure RJR a larger segment of the youth market,” RJR highlighted that this chemical

20   manipulation of the nicotine content was expected to give its cigarettes an “additional nicotine

21   ‘kick’” that would be more appealing and addictive. A young RJ Reynolds chemist, Thomas

22   Perfetti, synthesized 30 different nicotine salt combinations, tested the salts’ ability to dissolve

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25    45
         Gabriel Montoya, Pax Labs: Origins with James Monsees, SOCIAL UNDERGROUND,
26    https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.
      46
         Jordan Crook, This is the Stanford Thesis Presentation That Launched Juul, TECH CRUNCH
27
      (Feb. 27, 2019), https://techcrunch.com/2019/02/27/this-is-the-stanford-thesis-presentation-
28    that-launched-juul/.
      47
         Id.

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 1   into a liquid, and heated them in pursuit of the “maximum release of nicotine.”48 Pefetti

 2   published his results in a 1979 memo stamped “CONFIDENTIAL,” which was found among

 3   the documents that the FDA obtained from JLI in 2018. Relying on cigarette industry research

 4   like this, and assistance from Perfetti himself, JLI developed a cartridge-based e-cigarette using

 5   nicotine salts. As described in herein, JLI’s use of nicotine salts, pioneered by major

 6   combustible tobacco companies, was a critical tool for addicting non-smokers, including youth.

 7            65.   JLI also engaged former cigarette industry researchers to consult on the design of

 8   their product. As Monsees noted in an interview with WIRED magazine: “The people who

 9   understood the science and were listed on previous patents from tobacco companies aren’t at

10   those companies anymore. If you go to Altria’s R&D facility, it’s empty.”49 The WIRED article
11   stated that “[s]ome of those people are now on [PAX Lab, Inc.’s] team of advisers, helping
12   develop J[UUL].”50
13            66.   One of the keys to JLI’s success was its ability to fuse addiction and technology.
14   The JUUL e-cigarette system is comprised of three parts: (1) the JUUL e-cigarette device (2)
15   the JUUL pod (with e-liquid), and (3) the Universal Serial Bus [USB] charger (collectively
16   referred to herein as “JUUL”). The JUUL e-cigarette device is a thin, sleek rectangular e-
17   cigarette device consisting of an aluminum shell, a battery, a magnet (for the USB-charger), a
18   circuit board, an LED light, and a pressure sensor. JLI manufactures and distributes JUUL pods
19   that contain liquid that includes nicotine, flavoring and other additives. Each JUUL pod is a

20   plastic enclosure containing 0.7 milliliters of JLI’s patented nicotine liquid and a coil heater.

21   When a sensor in the JUUL e-cigarette detects the movement of air caused by suction on the

22   JUUL pod, the battery in the JUUL e-cigarette device activates the heating element, which in

23   turn converts the nicotine solution in the JUUL pod into a vapor consisting of nicotine, benzoic

24

25   48
        Thomas A. Perfetti, Smoking Satisfaction and Tar/Nicotine Control (Dec. 7, 1978),
26   https://ca-times.brightspotcdn.com/3a/12/a5ec27874843a56e26b4ecdfd221/nicotine-salts-
     investigation.pdf.
27   49
        David Pierce, This Might Just Be the First Great E-Cig, WIRED (Apr. 21, 2015),
28   www.wired.com/2015/04/pax-juul-ecig/.
     50
        Id.

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 1   acid, glycerin, and propylene glycol along with myriad chemical flavorings and other chemicals,

 2   many of which are recognized as toxic.51

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              67.   JLI sells the JUUL pods in packs of four or two pods, and until recently, in a
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     variety of enticing flavors. Many of the flavors have no combustible cigarette analog, including
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     “cool” cucumber, fruit medley, “cool” mint, and crème brûlée. Figure 1 shows the JLI device
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     and a JLI “Starter Kit” with four flavored JUUL pods:
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28      King County & Seattle Public Health, E-cigarettes and Vapor Products (Dec. 30, 2019),
     https://www.kingcounty.gov/depts/health/tobacco/data/e-cigarettes.aspx.

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 1            Figure 1
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15            68.   JLI attempted to distinguish JUUL products from the death and disease

16   associated with cigarettes by deliberately providing a false assurance of safety. For example, on

17   May 8, 2018, a document titled “Letter from the CEO” appeared on JUUL’s website. The

18   document stated: “[JUUL]’s simple and convenient system incorporates temperature regulation

19   to heat nicotine liquid and deliver smokers the satisfaction that they want without the

20   combustion and the harm associated with it.”52

21            69.   JLI even took this message to ninth graders: in 2018, a representative from JLI

22   spoke at a high school during a presentation for ninth graders, stating that JUUL “was much

23   safer than cigarettes,” that the JUUL was “totally safe,” that the JUUL was a “safer alternative

24   than smoking cigarettes,” and that the “FDA was about to come out and say it [JUUL] was 99%

25   safer than cigarettes . . . and that. . . would happen very soon.”53

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     52
        Letter from U.S. Food & Drug Admin. to Kevin Burns, CEO of Juul Labs, Inc. (Sept. 9,
27
     2019), https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
28   investigations/warning-letters/juul-labs-inc-590950-09092019.
     53
        Id.

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 1            70.   This was not just a rogue employee. Internal messaging around JUUL, crafted by

 2   the executives, emphasized that JUUL was safer than smoking. In a “Marketing Update”

 3   presentation dated March 26, 2015, a message from then-Chief Marketing Officer Scott Dunlap

 4   stated that “[v]aporization technology is fundamentally disruptive, because it is safer, faster,

 5   more effective and less intrusive than alternatives.”54 More than a year later, on April 28, 2016,

 6   Tim Danaher sent Tyler Goldman a slide deck aimed at investors which he said that “James

 7   [Monsees] owns” and “will pull / update the relevant slides.”55 The deck claimed that “PAX

 8   Labs’ new delivery system is faster, safer, more effective and less intrusive than[,]” among

 9   other options, “[s]moking[.]”56 The consistency of the wording in these presentations more than

10   a year apart shows that this was standard company language.
11            71.   JLI’s mission was not to improve public health. Rather, JLI sought to introduce a
12   new generation of consumers to nicotine. JLI’s business model was never about reducing
13   addiction. As one JLI engineer put it: “We don’t think a lot about addiction here because we’re
14   not trying to design a cessation product at all . . . anything about health is not on our mind.”57
15            72.   JLI, Bowen, and Monsees achieved their vision. Pioneering a nicotine delivery
16   technology that eliminated the harshness of traditional free-base nicotine, JLI’s e-cigarette
17   system provided consumers with palatable access to high-concentrations of nicotine like never
18   before. Since the JUUL’s launch in 2015, JLI has become the dominant e-cigarette
19   manufacturer in the United States. Its revenues grew by 700 percent in 2017 alone. By 2019, JLI

20   owned three-quarters of the e-cigarette market.58

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23   54
        INREJUUL_00441986 (emphasis added).
24   55
        JLI00373324.
     56
25      JLI00373328 (emphasis added).
     57
        Kevin Roose, Juul’s Convenient Smoke Screen, N.Y. TIMES (Jan. 11, 2019),
26   https://www.nytimes.com/2019/01/11/technology/juul-cigarettes-marketing.html.
     58
27      Dick Durbin et al., Durbin & Senators to JUUL: You are More Interested in Profits Than
     Public Health, Durbin Newsroom (Apr. 8, 2019),
28   https://www.durbin.senate.gov/newsroom/press-releases/durbin-and-senators-to-juul-you-are-
     more-interested-in-profits-than-public-health.

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 1                   3.       Defendants Sought to Position JLI for Acquisition by a Major
 2                            Cigarette Company.
 3            73.   JLI, along with the Management Defendants, worked together to maintain and

 4   expand the number of nicotine-addicted e-cigarette users in order to ensure a steady and

 5   growing customer base.

 6            74.   That growing customer base was crucial to JLI’s and the Management

 7   Defendants’ long term objective—lucrative acquisition by another company. They recognized

 8   that JLI’s product, with its potential to dominate the nicotine products market by hooking new

 9   users, would appeal to one segment of the economy in particular: the cigarette industry.

10            75.   JLI and the Management Defendants also recognized that their business goal—
11   becoming part of the cigarette industry—was unlikely to endear them to the consumers that they
12   needed to purchase their products. Years of anti-smoking campaigns have successfully
13   stigmatized cigarette smoking. When Monsees and Bowen presented their thesis and product
14   design to their classmates, they included a clip from a South Park episode showing the
15   characters assembled at the Museum of Tolerance and shaming a smoker.59
16            76.   Monsees and Bowen needed to shape social norms such that the public attitude
17   towards e-cigarettes would allow consumers to use their product without the stigma and self-
18   consciousness smokers experienced. Monsees and Bowen saw a market opportunity in a
19   generation of non-smoking consumers brought up on anti-smoking norms. In Monsees’ words,

20   they wanted to redesign the cigarette “to meet the needs of people who want to enjoy tobacco

21   but don’t self-identify with—or don’t necessarily want to be associated with—cigarettes.”60

22            77.   Part of this approach was consistently portraying JUUL as an enemy of the

23   cigarette industry, with a publicly announced goal of eliminating the cigarette. In an interview,

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     59
        Gabriel Montoya, Pax Labs: Origins with James Monsees, SOCIAL UNDERGROUND,
26   https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.
     60
27      Id.; see also, INREJUUL_00064696 (May 28, 2015) (Slides describing JUUL’s market
     overview and positioning as a “tech lifestyle product with a nicotine experience that satisfies,
28   JUUL will appeal to regular ecig users and wealthy, tech savvy smokers – a significant portion
     of the market.”)

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 1   Bowen asserted that he and Monsees spent a lot of time talking about “the kind of typical

 2   thoughts of evil Big Tobacco companies like coming down and squashing you.”61 The “Mission

 3   Statement” on JLI’s homepage proclaims:

 4            Our mission is to transition the world’s billion adult smokers away from
              combustible cigarettes, eliminate their use, and combat underage usage of our
 5            products.
 6
              We envision a world where fewer adults use cigarettes, and where adults who
 7            smoke cigarettes have the tools to reduce or eliminate their consumption entirely,
              should they so desire.62
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     In fact, JLI’s Chief Administrative Officer has publicly stated that the goal behind JLI is
 9
     “eliminating cigarettes.”63
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              78.    This public message of eliminating cigarettes and challenging tobacco companies
11
     stands in direct contrast with JLI’s actual business and investment strategy, which involved
12
     replicating in JUUL’s new market the tobacco companies’ historical success in the market for
13
     cigarettes. From the beginning, Bowen and Monsees actively sought the investment and
14
     assistance of major cigarette companies. Bowen and Monsees’ initial foray into the e-cigarette
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     business, Ploom, launched its e-cigarette as the ModelOne in 2010, using pods of loose-leaf
16
     tobacco heated by butane. It did not catch on. Ploom only sold a few thousand devices. By then
17
     a company with a dozen employees, Ploom was faltering, in need of money, technological
18
     expertise, and marketing savvy.64
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              79.    Help came from Japan Tobacco International (“Japan Tobacco”), a division of
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     Japan Tobacco Inc., the fourth-largest tobacco company in the world. In December 2011, Japan
21
     Tobacco and Ploom entered into a strategic agreement, which gave Japan Tobacco a minority
22

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24   61
        Alison Keeley, Vice Made Nice? A High-tech Alternative to Cigarettes, STANFORD
     MAGAZINE (2012), https://stanfordmag.org/contents/vice-made-nice.
25   62
        JUUL Labs, Our Mission (2019), https://www.juul.com/mission-values.
26   63
        Ashley Gould, JUUL Labs is Committed to Eliminating Cigarettes, CAL MATTERS (March
     18, 2019), https://calmatters.org/commentary/e-cigarette/.
27   64
        David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?,
28   Inc., https://www.inc.com/magazine/201405/david-freedman/james-monsees-ploom-ecigarette-
     company-marketing-dilemma.html

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 1   stake in Ploom and made it a strategic partner. In a statement regarding the agreement, Monsees

 2   said, “We are very pleased to partner with [Japan Tobacco] as their deep expertise, global

 3   distribution networks and capital resources will enable us to enter our next phase of growth and

 4   capitalize on global expansion opportunities.”65 As Bowen explained in an interview, “We were

 5   still doing a lot of our own internal product development, but now we had access to floors of

 6   scientists at [Japan Tobacco].”66

 7            80.   According to internal documents, JLI (then known as Pax) entered into a

 8   “strategic partnership” with Japan Tobacco after it “evaluated all major tobacco industry

 9   companies.”67 When JLI was getting ready to launch JUUL, its business plan called for a

10   “massive distribution for JUUL,” to “be distributed by the four largest US tobacco
11   distributors.”68 In addition, in 2015, JLI counted among its advisors Charles Blixt, the former
12   general counsel of Reynold American, Chris Skillin, former director of corporate business
13   development at Altria Group, Bryan Stockdale, the former SVP/President & CEO of R.J.
14   Reynolds / American Snuff Company, and Chris Coggins, a toxicologist at Reynolds for 20
15   years.69
16            81.   JLI and the Management Defendants even retained the Investment Bank Stifel to
17   help JLI “establish strong international partnerships with leading tobacco companies (“LT”) to
18   accelerate JUUL.”70 According to Stifel, “JUUL could be a multi-billion opportunity to LT
19   [leading tobacco companies] over time,” and Stifel offered to manage a process that: “Identified

20   the best Partner(s) for JUUL”; “Best positions JUUL to each Partner”; “Creates a catalyst for

21

22   65
        Innovative P’ship for Ploom and Japan Tobacco Int’l JTI to Take Minority Share in Ploom,
     JAPAN TOBACCO INT’L (Dec. 8, 2011), https://www.jti.com/sites/default/files/press-
23
     releases/documents/2011/innovative-partnership-for-ploom-and-japan-tobacco-
24   international.pdf.
     66
        David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?,
25   INC. MAGAZINE (2014), https://www.inc.com/magazine/201405/david-freedman/james-
     monsees-ploom-ecigarette-company-marketing-dilemma.html.
26   67
        INREJUUL_00371423 (Pax Labs company overview, Feb. 2015).
27   68
        INREJUUL_00371447.
     69
28      INREJUUL_00371458-INREJUUL_00371459.
     70
        INREJUUL_00016386 (Stifel Presentation, Aug. 2015).

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 1   [leading tobacco company] decision making”; and “drives strong economic value and terms

 2   through competition.”71 The end result of the process would be an exclusive agreement with the

 3   cigarette industry that would “maximize JUUL Growth Trajectory”:72

 4            82.   Stifel’s presentation to the JLI Board of Directors, which included each of the

 5   Management Defendants, also emphasized both the stagnant and declining cigarette market, and

 6   the sharply growing e-cigarette market:73

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              83.   According to Stifel, “[s]ince 2013 [leading tobacco companies] have
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     aggressively but unprofitably entered the vape category . . . with products that are not
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     compelling.”74 Stifel’s conclusion was that in light of the leading cigarette companies’ failures
23
     to develop an appealing e-cigarette product: “JUUL Presents a Prime Opportunity for [leading
24
     tobacco companies] to Compete with [vaporizers, tanks and mods] in Form Factor and
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26   71
        Id.
27   72
        Id.
     73
28      INREJUUL_0016399.
     74
        INREJUUL_0016400-INREJUUL_0016401.

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 1   Dominate the E-cig Experience Through Retail Channels that Leverage its Distribution

 2   Strengths.”75

 3             84.   Consistent with Stifel’s presentation, and the profits it was forecasting, a draft

 4   December 7, 2015 presentation to the board of directors included as a “management committee

 5   recommendation” that JLI position itself for “strategic alternatives (including licensing or

 6   sale)”:76

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20             85.   The presentation also made clear that the “strategic alternative” for JLI
21   envisioned by management was its acquisition by a large cigarette company:77
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         INREJUUL_0016404.
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28       INREJUUL_00061757 (board meeting presentation, Dec. 7, 2015).
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         INREJUUL_00061833.

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              86.   This goal—acquisition by a major cigarette company—was a motive that the JLI
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     and the Management Defendants would return to in making decisions about the manufacture
14
     and marketing of JUUL products. As an example, in a 2016 email exchange with JLI employees
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     regarding potential partnerships with e-cigarette juice manufacturers, Defendant Bowen
16
     reminded the employees that “big tobacco is used to paying high multiples for brands and
17
     market share.”78 Bowen knew that to achieve the ultimate goal of acquisition, JLI and the
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     Management Defendants would have to grow the market share of nicotine-addicted e-cigarette
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     users, regardless of the human cost.
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              87.   JLI and the Management Defendants sought to grow the market share of
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     nicotine-addicted e-cigarette users beginning by at least early 2015 through two related
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     schemes: first, by designing an unsafe product with a high nicotine content that was intended to
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     addict, or exacerbate the addiction of, its users; and, second, by marketing and misbranding that
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     potent product to the broadest possible audience of potential customers, including young people
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     whose addiction would last the longest and be the most profitable for the Defendants.
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          INREJUUL_00294198.

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 1            C.    JLI and Bowen Designed a Nicotine Delivery Device Intended to Create and
 2                  Sustain Addiction.
 3            88.   JLI was well-aware from the historical cigarette industry documents that the

 4   future of any nicotine-delivery business depends on snaring kids before they age beyond the

 5   window of opportunity. One memo from a Lorillard marketing manager to the company’s

 6   president put it most succinctly, “[t]he base of our business is the high school student.”79 It is no

 7   surprise, then, that the industry designed products specifically to attract and addict teen

 8   smokers. Claude Teague of R.J. Reynolds titled one internal memo “Research Planning

 9   Memorandum on Some Thoughts About New Brands of Cigarettes for the Youth Market.” In it

10   he frankly observed, “Realistically, if our Company is to survive and prosper, over the long
11   term, we must get our share of the youth market. In my opinion this will require new brands
12   tailored to the youth market.”80 Dr. Teague noted that “learning smokers” have a low tolerance
13   for throat irritation so the smoke should be “as bland as possible,” i.e., not harsh; and he
14   specifically recommended an acidic smoke “by holding pH down, probably below 6.” As seen
15   below, JLI heeded Dr. Teague’s advice.
16                    1.      JLI and Bowen Made Highly Addictive E-Cigarettes Easy for
17                            Young People and Non-Smokers to Inhale.
18            89.   As combustible cigarettes were on the decline, e-cigarettes were introduced to
19   the U.S. market beginning in 2007. Over time, e-cigarettes developed a small group of regular

20   users, who were primarily current or former smokers. By 2014, the e-cigarette market in the

21   U.S. was in decline.

22            90.   E-cigarettes struggled to compete with combustible cigarettes, because of the

23   technical challenge of delivering enough aerosolized nicotine to satisfy a smoker’s addiction in

24

25

26
     79
        Internal Memo from T.L. Achey, Lorillard Tobacco Company, to Curtis Judge, Product
27
     Information (August 1978).
     80
28      Internal Memo from Claude Teague, R.J. Reynolds, Research Planning Memorandum on
     Some Thoughts About New Brands of Cigarettes for the Youth Market (Feb. 2, 1973).

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 1   a palatable form.81 Before JUUL, most e-cigarettes used an alkaline form of nicotine called

 2   free-base nicotine.82 When aerosolized and inhaled, free-base nicotine is relatively bitter,

 3   irritates the throat, and is perceived as harsh by the user.83 This experience is often referred to as

 4   a “throat hit.” The higher the concentration of free-base nicotine, the more intense the “throat

 5   hit.”84 While some “harshness” would not have much impact on seasoned cigarette smokers, it

 6   would deter newcomers, or nicotine “learners,” as Claude Teague at R.J. Reynolds called young

 7   non-smokers decades ago.

 8            91.   Before 2015, most e-liquids on the market were between 1% and 2%

 9   concentration; 3% concentrations were marketed as appropriate for consumers who were

10   accustomed to smoking approximately forty cigarettes a day.85 None of these e-liquids delivered
11   as much nicotine as quickly as a combustible cigarette.
12            92.   Around 2013, JLI scientists developed new e-liquids and new devices to increase
13   the amount of nicotine that e-cigarettes could deliver to users and to reduce the throat hit. JLI
14   scientists focused on nicotine salts rather than free-base nicotine, and they tested their
15   formulations in a variety of ways.
16                    2.      JLI’s Initial Experiments Measured Non-Smokers “Buzz” Levels
17                            and Perceptions of Throat Harshness
18            93.   JLI intentionally designed its product to mimimize “throat hit” and maximize
19   “buzz.” JLI’s first known testing of JUUL-related products occurred in 2013, when it conducted

20   “buzz” experiments included non-smoker participants, and measured “buzz” and throat

21   harshness. JLI officers and directors Adam Bowen, Ari Atkins, and Gal Cohen served as the

22   initial subjects in the “buzz” experiments. These early tests were performed with the assistance

23   of Thomas Perfetti, the same RJR chemist who had studied nicotine salt decades ago to help

24

25   81
        Robert K. Jackler & Divya Ramamurthi, Nicotine Arms Race: JUUL and the High-nicotine
     Product Market, 28 TOBACCO CONTROL 623 (2019).
26   82
        Id.
27   83
        Id.
     84
28      Id.
     85
        Id.

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 1   RJR palatably deliver more nicotine.

 2             94.      In these early tests, JLI’s goal was to develop a “buzz-effective e-cig

 3   formulation,” which would principally turn on “effectiveness (buzz, harshness),” followed by

 4   shelf life and patentability.86 The aim was to develop a nicotine salt formulation that maximized

 5   buzz, minimized harshness. “Employees tested new liquid-nicotine formulations on themselves

 6   or on strangers taking smoke breaks on the street. Sometimes, the mix packed too much punch –

 7   enough nicotine to make some testers’ hands shake or send them to the bathroom to

 8   vomit . . . .”87

 9             95.      The “buzz” experiments, which used heart rate as a qualitative measurement for

10   buzz, showed that Bowen tested a 4% benzoate (nicotine salt) solution, which caused his resting
11   heart rate to increase by about 70% in under 2 minutes, far exceeding all other formulations JLI
12   was considering:88
13

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22             96.      Because they personally vaped these formulations, Bowen, Cohen, and Atkins
23   knew that the 4% benzoate solution delivered a strong buzz that matched or exceeded a cigarette
24   but had minimal throat hit.
25

26
      86
        INREJUUL_00002903.
27   87
        Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS (Nov. 5,
28   2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
     88
        INREJUUL_00002903.

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 1            97.   A later study by Anna K. Duell et al., which examined 4% benzoate solutions—

 2   the basis for JUUL’s subsequent commercial formulations—explains why there was so little

 3   throat hit. The Duell study determined that the fraction of free-base nicotine in JUUL’s “Fruit

 4   Medley” flavor was 0.05 and in “Crème Brulee” was 0.07.89 Given total nicotine content of 58

 5   mg/ml and 56 mg/ml in each flavor, respectively, these flavors have roughly 3-4 mg/ml free-

 6   base nicotine. For comparison, “Zen” brand e-liquid contains 17 mg/ml of nicotine—less than

 7   one-third of the total nicotine content of JUUL’s flavors—but has a free-base fraction of 0.84,90

 8   resulting in over 14 mg/ml of free-base nicotine. The Duell Study’s authors found that the low

 9   free-base fraction in JUUL aerosols suggested a “decrease in the perceived harshness of the

10   aerosol to the user and thus a greater abuse liability.”91
11            98.   Dramatically reducing the throat hit is not necessary for a product that is aimed
12   at smokers, who are accustomed to the harshness of cigarette smoke, but it very effectively
13   appeals to nonsmokers, especially youths. The cigarette industry has long recognized this; a
14   published study of industry documents concluded that “product design changes which make
15   cigarettes more palatable, easier to smoke, or more addictive are also likely to encourage greater
16   uptake of smoking.”92 The Duell study concluded that JLI’s use of nicotine salts “may well
17   contribute to the current use prevalence of JUUL products among youth.”93
18            99.   Reducing the harshness of nicotine also allows more frequent use of e-cigarettes,
19   for longer periods of time, and masks the amount of nicotine being delivered. By removing the

20   physiological drawbacks of inhaling traditional free-base nicotine, JLI’s technology removes the

21   principal barrier to nicotine consumption and addiction. The Duell study further concluded that

22
     89
23      U.S. Patent No. 9,215, 895; Anna K. Duell et al., Free-Base Nicotine Determination in
     Electronic Cigarette Liquids by H NMR Spectroscopy, 31 CHEM. RES. TOXICOL. 431, 432 (Fig.
24   3).
     90
        Anna K. Duell et al., Free-Base Nicotine Determination in Electronic Cigarette Liquids by H
25
     NMR Spectroscopy, 31 CHEM. RES. TOXICOL. 431 (hereinafter “Duell Study”).
     91
26      Id. at 431–34.
     92
        David A. Kessler, Juul Says It Doesn’t Target Kids. But Its E-Cigarettes Pull Them In, N.Y.
27
     TIMES (July 31, 2019), https://www.nytimes.com/2019/07/31/opinion/juul-kids.html.
     93
28      Duell Study at 433 (citing J.G. Willett, et al., Recognition, Use and Perceptions of JUUL
     Among Youth and Young Adults, TOBACCO CONTROL 054273 (2018)).

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 1   JLI’s creation of a non-irritating vapor that delivers unprecedented amounts of nicotine is

 2   “particularly problematic for public health.”94

 3                    3.      JUULs Rapidly Deliver Substantially Higher Doses of Nicotine than
 4                            Cigarettes.
 5            100.   In 2014, after the “buzz” experiments, JLI engineers ran a pilot pharmacokinetic

 6   study in New Zealand, called the Phase 0 Clinical Study.95 The participants in the study—Adam

 7   Bowen, Gal Cohen, and Ari Atkins96—had their blood drawn while vaping prototype JUUL

 8   aerosols. From these measurements, the scientists calculated key pharmacokinetic parameters,

 9   including maximum concentration of nicotine in the blood (Cmax) and total nicotine exposure

10   (Area Under the Curve or AUC). JLI reported the results in U.S. Patent No. 9,215,895 (the ’895
11   patent), for which JLI applied on October 10, 2014,97 and which was granted in December 2015.
12   The named inventors on the patent were Adam Bowen and Chenyue Xing
13            101.   Among the formulations was a 4% benzoate formulation, which was made with
14   3.8% benzoic acid and 5% nicotine, as well as propylene glycol and vegetable glycerin.98 As a
15   comparator, JLI also measured nicotine blood levels after smoking Pall Mall cigarettes. The
16   Phase 0 study also tested a 2% benzoate formulation, which had a similar Cmax as a Pall Mall
17   cigarette, and a variety of other formulations.99 The following graph shows the pharmacokinetic
18   results of the Phase 0 study:
19

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21

22

23   94
        Id. at 431.
     95
24      INREJUUL_00350930.
     96
        Id.
25   97
        This application was a continuation of U.S. Patent Application No. 14/271,071 (filed May 6,
26   2014), which claimed the benefit of U.S. Provisional Patent Application Serial No. 61/820,128,
     (filed May 6, 2014), and U.S. Provisional Patent Application Serial No. 61/912,507 (filed
27   December 5, 2013).
     98
28      U.S. Patent No. 9,215,895, at 19:63-20:4 (filed Dec. 22, 2015).
     99
        INREJUUL_00024437.

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 1                                    20



 2
                                      15
 3

 4                                                                                                                       Pall Mall
      Blood Nicotine (ng/mL)




                                      10                                                                                 2% Freebase
                                                                                                                         2% Benzoate
 5                                                                                                                       4% Benzoate
                                                                                                                         2% Citrate
 6                                       5                                                                               2% Malate
                                                                                                                         2% Salicylate

 7                                                                                                                       2% Succinate


                                         0
 8                 -10                       0          10        20               30                40   50   60   70


 9
                                      -5
                                                                       Time after first puff (min)
10

11                                102.           According to Table 1 in the patent, the Cmax (the maximum nicotine
12   concentration in blood) for Pall Mall cigarettes was 11.65 ng/mL, and for 4% benzoate it was
13   15.06 ng/mL, which is nearly 30% higher. The total nicotine exposure (as measured by Area
14   Under the Curve or AUC) was 367.5 ng * min/mL for Pall Mall cigarettes and 400.2 ng *
15   min/mL for 4% benzoate, which is almost 9% higher. The 4% benzoate formulation had the
16   highest Cmax and AUC of any of the formulations measured.
17                                103.           Describing these results, JLI’s ’895 patent all but brags that it surpassed a
18   commercially available combustible cigarette (Pall Mall) in maximum delivery and nearly
19   rivaled it in how soon it could deliver peak nicotine. According to the ‘895 patent, “certain
20   nicotine salt formulations [i.e., JLI’s] provide satisfaction in an individual superior to that of
21   free base nicotine, and more comparable to the satisfaction in an individual smoking a
22   traditional cigarette.”100 The patent further explains that the “rate of nicotine uptake in the
23   blood” is higher for some claimed nicotine salt formulations “than for other nicotine salt
24   formulations aerosolized by an electronic cigarette . . . and likewise higher than nicotine free-
25   base formulations, while the peak nicotine concentration in the blood and total amount of
26   nicotine delivered appears comparable to a traditional cigarette.”101
27
     100
28                             U.S. Patent No. 9,215, 895, at 7:51-55 (filed Dec. 22, 2015) (emphasis added).
     101
                               Id. at 7:63-8:4.

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 1             104.   In other words, JLI distinguishes itself, and established the patentability of its e-

 2   liquids, by reference to their superlative ability to deliver nicotine, both in terms of peak blood

 3   concentration and total nicotine delivery. The rate of nicotine absorption is key to providing

 4   users with the nicotine “kick”102 that drives addiction and abuse.103 Because “nicotine yield is

 5   strongly correlated with tobacco consumption,”104 a JUUL pod with more nicotine will strongly

 6   correlate with higher rates of consumption of JUUL pods, generating more revenue for JUUL.

 7   For example, a historic cigarette industry study that looked at smoker employees found that “the

 8   number of cigarettes the employees smoked per day was directly correlated to the nicotine

 9   levels.”105 In essence, JLI distinguished itself based on its e-liquids’ extraordinary potential to

10   addict.
11             105.   Another study corroborates the key result of the Phase 0 study that the 4%
12   benzoate solution delivers more nicotine than a combustible cigarette.106 The Reilly study tested
13   JUUL’s tobacco, crème brûlée, fruit medley, and mint flavors and found that a puff of JUUL
14   delivered 164 ± 41 micrograms of nicotine per 75 mL puff. By comparison, a 2014 study using
15   larger 100 mL puffs found that a Marlboro cigarette delivered 152-193 μg/puff.107 Correcting to
16   account for the different puff sizes between these two studies, this suggests that, at 75 mL/puff,
17

18   102
         Internal Memo from Frank G. Colby, R.J. Reynolds, Cigarette Concept to Assure RJR a
     Larger Segment of the Youth Market (Dec. 4, 1973).
19   103
         As the National Institutes of Health has noted, the “amount and speed of nicotine
20   delivery . . . plays a critical role in the potential for abuse of tobacco products.” U.S. Dep’t of
     Health & Human Servs., How Tobacco Smoke Causes Disease: The Biology and Behavioral
21   Basis for Smoking-Attributable Disease, A Report of the Surgeon General at 181 (2010),
     https://www.ncbi.nlm.nih.gov/books/NBK53017/pdf/Bookshelf_NBK53017.pdf.
22   104
         Martin J. Jarvis et al., Nicotine Yield From Machine Smoked Cigarettes and Nicotine Intakes
23   in Smokers: Evidence From a Representative Population Survey, 93 NT’L CANCER INST. 134
     (Jan. 17, 2001), https://academic.oup.com/jnci/article/93/2/134/2906355
24   105
         Letter from Peggy Martin to Study Participants, Resume of Results from Eight-Week
25   Smoking Study, UCSF Library, 1003285443-5443 (Sept. 10, 1971).
     106
         Samantha M. Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by JUUL
26   Electronic Cigarettes, 21 NICOTINE TOBACCO RESEARCH 1274 (Aug. 19, 2019),
     https://www.ncbi.nlm.nih.gov/pubmed/30346584.
27   107
         Megan J. Schroeder & Allison C. Hoffman, Electronic Cigarettes and Nicotine Clinical
28   Pharmacology, 23 TOBACCO CONTROL ii30 (May 23, 2014),
     www.ncbi.nlm.nih.gov/pmc/articles/PMC3995273/.

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 1   a Marlboro would deliver about 114-145 μg/puff. In other words, the Reilly study suggests that

 2   JUUL delivers more nicotine per puff than a Marlboro cigarette.

 3          106.    Additionally, depending on how the product is used, an e-cigarette with the 4%

 4   benzoate solution is capable of delivering doses that are materially higher than those seen in the

 5   Phase 0 study. As a paper published by the European Union notes: “[A]n e-cigarette with a

 6   concentration of 20 mg/ml delivers approximately 1 milligram of nicotine in five minutes (the

 7   time needed to smoke a traditional cigarette, for which the maximum allowable delivery is 1 mg

 8   of nicotine).”108 With at least 59 mg/ml of nicotine in a salt form that increases the rate and

 9   efficiency of uptake (and even with a lower mg/ml amount), a JUUL pod easily exceeds the

10   nicotine dose of a combustible cigarette. Not surprisingly, the European Union has banned all e-
11   cigarette products with a nicotine concentration of more than 20 mg/ml nicotine, and other
12   countries have considered similar regulations.109
13          107.    Around 2014, JLI engineers designed the JUUL vaping device, which also was
14   designed for addictiveness. On average, the JUUL was engineered to deliver between four to
15   five milligrams of aerosol per puff, which is an unusually massive puff110:
16

17

18

19

20

21

22

23

24   108
         E-Cigarettes, European Comm’n,
25   https://ec.europa.eu/health/sites/health/files/tobacco/docs/fs_ecigarettes_en.pdf (citing United
     Kingdom Medicines and Healthcare Products Regulatory Agency and industry reports).
26   109
         Charis Girvalaki et al., Discrepancies in Reported Versus Measured Nicotine Content of E-
     cigarette Refill Liquids Across Nine European Countries Before and After the Implementation
27
     of the EU Tobacco Products Directive, 55 EUR. RESPIR. J. 1900941 (2020),
28   https://doi.org/10.1183/13993003.00941-2019.
     110
         INREJUUL_00442040-INREJUUL_00442080; INREJUUL_00442064

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 1

 2                             6
                                              JUUL                    Blu
 3                                            Linear (JUUL)           Linear (Blu)
                               5
 4
           AVERAGE MASS/PUFF (mg)




 5
                               4
 6

 7                             3
 8

 9                             2

10
                               1
11

12
                               0
                                     0                   25                   50                  75                   100
13
                                                                        PUFF COUNT
14

15                                  108.   Given the concentration of nicotine in a JUUL pod, four to five milligrams of

16   JUUL e-liquid contains about 200-250 micrograms (μg) of nicotine. As noted by Dan Myers, a

17   JLI scientist, in an internal 2018 email to Adam Bowen and Ziad Rouag, a regulatory employee

18   at JLI at the time, “much more nicotine than 150 per puff could be problematic” because,

19   according to Myers, cigarettes deliver between around 100-150 μg of nicotine per puff.111 In

20   other words, JUUL’s precisely calibrated nicotine delivery system was specifically engineered

21   to aerosolize up to 2.5 times as much nicotine per puff as a cigarette. Myers also noted that

22   “Adam put in his recommendation of ~4mg/puff as the target” for a pharmacokinetic study.112

23                                  109.   JLI scientists realized in 2014 that the amount of nicotine that JUUL e-cigarettes

24   delivered could be problematic. Chenyue Xing stated that “[y]ou hope that they get what they

25   want, and they stop,” but JLI scientists were concerned that “a Juul—unlike a cigarette—never

26   burns out,” so the device gives no signal to the user to stop. According to Xing, JLI scientists

27
     111
28         INREJUUL_00347306.
     112
           Id.

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 1   “didn’t want to introduce a new product with stronger addictive power.”113 For this reason, “the

 2   company’s engineers explored features to stop users from ingesting too much of the drug, too

 3   quickly. JLI’s founders applied for a patent in 2014 that described methods for alerting the user

 4   or disabling the device when the dose of a drug such as nicotine exceeds a certain threshold.”114

 5   For example, “[o]ne idea was to shut down the device for a half-hour or more after a certain

 6   number of puffs[.]”115 But upper management rejected the concerns that the scientists raised,

 7   and “[t]he company never produced an e-cigarette that limited nicotine intake.”116

 8          110.    As another option, JLI could have limited the duration of each puff to prevent the

 9   JUUL from delivering doses of nicotine exceeding those of a cigarette on a per-puff basis.

10   Instead, it programmed the device to emit puffs for up to six seconds.117 JUUL knew from the
11   Phase 0 pharmacokinetic study in 2014 and the CH-1702 pharmaokinetic study in 2017 that
12   puffs of three seconds generate pharmacokinetic profiles matching that of a cigarette.118
13          111.    Further warnings about the addictive power of the JUUL e-cigarette—and its
14   appeal to youths—came from consumer research that Ploom commissioned in 2014. Ploom
15   hired the consumer research firm Tragon to do research with prototypes of the JUUL e-
16   cigarette. On September 30, 2014, Lauren Collinsworth, a consumer researcher at Tragon,
17   emailed Chelsea Kania, a marketing employee at Ploom, with some of the preliminary results
18   from the studies. She stated that the testing showed that “the younger group is open to trying
19   something new and liked J1 [the JUUL prototype] for being smart, new, techy, etc.”119 Ms.

20   Collinsworth added that “the qualitative information suggests J1 could fit into the e-cig or vapor

21   category for the younger group. The qualitative findings suggested this product isn’t going to fit

22

23
     113
24       Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS (Nov. 5,
     2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
     114
25       Id.
     115
         Id.
26   116
         Id.
27   117
         INREJUUL_00431693
     118
28       INREJUUL_00351218; INREJUUL_00351239.
     119
         JLI00365905.

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 1   as well with consumers who are looking to cut back on the cigarette intake.”120

 2              112.   On October 1, 2014, Ms. Collinsworth followed up with additional comments.

 3   She stated that “[t]he delivery was almost too much for some smokers, especially those used to

 4   regular e-cigarettes. When they approached the product like they would a Blu or other

 5   inexpensive e-cig, they were floored by the delivery and didn’t really know how to control

 6   it.”121

 7              113.   Survey responses showed that the least important product attribute for the adult

 8   smokers and non-smokers in that group was “buzz.”122 Comments from the study’s subjects

 9   included “overwhelming when I first inhaled,” “too much for me,” “it was too strong,” and “it

10   caught me off-guard.”123 Comments on the device’s style said JUUL “might manage to make
11   smoking cool again”; others “thought it was a data storage device.”124
12              114.   The final results from this consumer research were distributed to upper
13   management, including to then-CEO James Monsees125 and then-Chief Marketing Officer
14   Richard Mumby.126
15              115.   In late 2014, knowing the results of the buzz tests, the Phase 0 study and the
16   consumer research, JLI executives, including Bowen, selected the 4% benzoate formulation to
17   serve as the model for all formulations to be used in the JUUL product to be released in 2015.
18   All JUUL formulations at launch used the same amount of nicotine and benzoic acid as did the
19   formulation that resulted in the highest nicotine blood levels in the Phase 0 study. JUUL pods

20   were foreseeably exceptionally addictive, particularly when used by persons without prior

21   exposure to nicotine.

22

23

24   120
         Id. (emphasis added).
     121
25       JLI00365709.
     122
         JLI00365176.
26   123
         INREJUUL_00058345.
27   124
         Id.
     125
28       JLI00364678.
     126
         JLI00364487.

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 1                    4.     JLI and the Management Defendants Knew That JUUL was
 2                           Unnecessarily Addictive Because It Delivered More Nicotine Than
 3                           Smokers Needed or Wanted.
 4          116.    The JUUL e-cigarette launched in 2015. After the launch, JLI and the

 5   Management Defendants continued to collect information about the addictiveness of JUUL.

 6   This information confirmed what they already knew: JUUL was exceptionally dangerous

 7   because of its addictiveness.

 8          117.    For example, on April 22, 2017, an e-cigarette retailer emailed Gal Cohen

 9   expressing concern about the addictiveness of JLI’s products. He wrote:

10          I am very concerned about the JLI products. People's addiction behavior
            is SEVERE with this JLI device. I don't think I can justify carrying this anymore.
11
            The Brooklyn store is run by someone else and he still wants to carry it. I am
12          not really happy about this. It was a simple product for users who do not want to
            fill tanks and change atomizers and it was easy to sell, but I really don't feel
13          good about selling it. I know we talked about this back a few years ago before we
14          were carrying the product, but I am curious to know what is in the liquid. I know
            the nicotine salts are added but I would like to know what else is in it. Do you
15          guys have a GCMS or ingredient listing for the liquid? Are there other additives?
            I want to feel more comfortable so I can keep carrying these, but I have seen
16          what it is doing to people and I am very uncomfortable with it. Last year when
            the news came to me and wanted me to help them with the story that teens were
17          using JLI I shut that story down by telling them it wasn't true. It is true.. kids
18          are getting hooked on this thing and they don't even understand half the time that
            it has nicotine in it! Little kids.. like 14 and 15 year olds. They try to come in
19          my shop and we tell them it is 21 and over and get them out... but it is REALLY
            bad!
20
            I have kids calling and trying to order using delivery services as well. We will
21          only allow pickup and delivery for regular customers whose ID we have
            already checked... but they TRY and that worries me.. because the smoke shops
22          and bodegas are NOT checking that the person they are picking up for is old
            enough to buy the product.
23
            I agree that it is certainly less hazardous than smoking... but to
24          intentionally increase the addictiveness of nicotine seems really irresponsible
            and makes me feel like Big Tobacco pushing people onto a really addictive
25
            product. I just don't think that it is necessary and I don't feel good about it.
26          Anyway... if there is any info you have that might make me feel better about
27          selling it let me know... or if you could send me ingredient listing (I know Pax

28


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 1           applied for the patent on the liquid with the nicotine salts so it should be ok to
             share now?) I would appreciate it.127
 2
             118.     Another example came just days later. On April 28, 2017, JLI held a science
 3
     meeting discussing the scientific information in JLI’s possession with outside scientists. Notes
 4
     from the meeting state that “concern was raised that because the nicotine update [sic] is slightly
 5
     faster the data could be interpreted as feeding an addiction faster. Given the current climate with
 6
     addictions to OxyContin how the data is presented needs to be considered carefully.”128
 7
             119.     Additionally, Dan Myers wrote to Adam Bowen in October 2017 that “single
 8
     puff data from Juul suggests that a small number of puffs, at the beginning of the pod’s lifetime,
 9
     may contain 2-3X” the levels of nicotine in the puffs from the rest of the pod, “i.e., 200-300
10
     [μ]g/puff.”129 This is consistent with a central goal of the product’s design: capturing “users
11
     with the first hit.”130
12
             120.     None of this information was a surprise, nor did it cause JLI or the Management
13
     Defendants to change JLI’s products or marketing. In fact, they embraced it. On November 3,
14
     2017, Steven Hong, JLI’s Director of Consumer Insights, described JUUL’s “design and
15
     chemical formulation (fast acting nic salts)” as JLI’s “ace in the hole” over the competition.131
16
             121.     The following year, JLI and the Management Defendants obtained even more
17
     evidence that the amount of nicotine in JUULpods was needlessly high. By no later than May of
18
     2018, JLI had completed Phase I of “Project Bears,” a JLI study of smoker and vaper nicotine
19
     strength preferences. The results showed that “[a]cross the smoker segments, product liking is
20
     very similar[,]” and the “heaviest smokers (21+ cigs) like 1.7% more than higher strengths”
21
     such as 3% and 5%.132 Similarly, “for those who evaluated the 5% pod, when given the choice
22

23

24    127
         INREJUUL_00264888-INREJUUL_00264890.
25    128
         INREJUUL_00230416.
     129
26       INREJUUL_00434580-INREJUUL_00434590.
     130
         Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS (Nov. 5,
27   2019), https://www.reuters.com/investigates/special-report/juul-ecigarette.
     131
28       INREJUUL_00228928-INREJUUL_00228930.
     132
         INREJUUL_00260068.

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 1   of lower level pod strengths, at least half would choose a lower strength pods.”133

 2          122.    The same tests also showed that, contrary to JLI’s expectations, smokers did not

 3   increase their use of the 1.7% formulation relative to the 5% formulation in order to achieve

 4   nicotine satisfaction. “Smoking volume does seem to be a driver of vaping volume, but this does

 5   not vary much by strength within a given smoker type.”134

 6          123.    Thus, Project Bears revealed that 5% JUULpods delivered more nicotine than

 7   necessary to satisfy cigarette smokers, even those characterized as “heavy” smokers.135

 8          124.    At some point during the coordination between JLI, the Management

 9   Defendants, and Altria, but no later than the due-diligence period for Altria’s investment in JLI,

10   either JLI (through its employees) or one or more of Defendants Bowen, Monsees, Pritzker,
11   Huh, and Valani provided Altria with a copy of the Project Bears findings.136
12          125.    Nonetheless, JLI, the Management Defendants, and Altria have maintained and
13   promoted the 5% JUULpods as JLI’s flagship offering of JUULpods although they knew that
14   even current smokers prefer a lower nicotine content. They pushed the 5% JUULpod because it
15   hooked users faster and kept them addicted to nicotine.137
16          126.    In addition to Project Bears, JLI and the Management Defendants (and
17   potentially Altria) were aware of other internal studies that established that its 5% JUUL pod
18   product would not be a successful cessation tool, as it was not attractive to an audience looking
19   to reduce cigarette consumption.138

20                    5.     JUUL’s Design Did Not Look Like a Cigarette, Making it
21                           Attractive to Non-Smokers and Easy for Young People to Use
22                           Without Detection.
23          127.    Not only did JUUL contain high levels of nictoine that delivered a strong “buzz”

24
     133
25       INREJUUL_00260065.
     134
         INREJUUL_00244200.
26   135
         Id.
27   136
         Id.
     137
28       Id.
     138
         Id.

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 1   from the first puff, JLI designed its product to look appealing to youth and non-smokers. In

 2   January 2015, six months before JUUL’s launch, JLI’s Marketing Director, Sarah Richardson,

 3   identified “key needs” for JUUL’s PR strategy, including “Establish premium positioning to

 4   entice the “masses” to follow the trend setters; own the “early adopter” /”cool kid” equity as we

 5   build out volume”, and highlighted that “JUUL deliberately doesn’t resemble e-cigs or

 6   cigalikes” that are “awkward” and “douche-y”.139 Instead, JUUL is “elegant” and “cool”.

 7          128.    JLI’s strategy to position a nicotine-delivery device as the cool thing to do is not

 8   new. Decades before, Dr. Teague from R.J. Reynolds observed: “pre-smokers” face

 9   “psychological pressure” to smoke if their peers are doing so, “a new brand aimed at a young

10   smoker must somehow be the ‘in’ brand and its promotion should emphasize togetherness,
11   belonging and group acceptance, while at the same time emphasizing ‘doing one’s own
12   thing.’”140 Again, JUUL followed the cigarette playbook verbatim.
13          129.    JLI knew that among its target audience, young people, cigarette smoking had
14   become increasingly stigmatized. JLI wanted to create a product that would create “buzz” and
15   excitement, totally different from the image of addicted cigarette smokers huddling outside their
16   workplaces in the cold to get their nicotine fix.
17          130.    Unlike the distinct smell and odor emitted from combustible cigarettes, JUUL
18   emits a reduced aerosol with a nearly undetectable scent. And unlike other e-cigarettes, the
19   JUUL device does not produce large plumes of smoke. Instead, the vapor cloud is very small

20   and dissipates very quickly, allowing for concealed use. As a result, a young users can, and do,

21   use JUUL—in class or at home—without detection.

22          131.    The JUUL device is small and discrete. Fully assembled, the device is just over

23   9.5 cm in length and 1.5 cm wide. The JUUL device resembles a memory stick and can be

24   charged in a computer’s USB drive. This design allows the device to be concealed in plain

25   sight, camouflaged as a thumb-drive, for use in public spaces, like schools.

26

27   139
       INREJUUL_00057291 et seq.
     140
28     Internal RJR Memo, Claude Teague, Research Planning Memorandum on Some Thoughts
     About New Brands of Cigarettes for the Youth Market, (Feb. 2, 1973).

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18          132.   Referred to as “the iPhone of e-cigarettes,” JLI’s design was also slick and

19   high-tech, which made it appealing to youth. JLI co-founder Bowen drew on his experience as a

20   design engineer at Apple to make JUUL resonate with Apple’s popular aesthetics. This high-

21   tech style made JUULs look “more like a cool gadget and less like a drug delivery device. This

22   wasn’t smoking or vaping, this was JUULing.”141 The evocation of technology makes JUUL

23   familiar and desirable to the younger tech-savvy generation, particularly teenagers. According

24   to a 19-year-old interviewed for the Vox series By Design, “our grandmas have iPhones now,

25   normal kids have JUULs now. Because it looks so modern, we kind of trust modern stuff a little

26   bit more so we’re like, we can use it, we’re not going to have any trouble with it because you

27
     141
28      How JUUL Made Nicotine Go Viral, VOX (Aug. 10, 2018),
     https://www.youtube.com/watch?v=AFOpoKBUyok.

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 1   can trust it.”142 A 16-year-old agreed, explaining that “the tech aspect definitely helps people get

 2   introduced to it and then once they’re introduced to it, they’re staying, because they are

 3   conditioned to like all these different products. And then this is another product. And it’s just

 4   another product. Until you’re addicted to nicotine.”143

 5          133.    JUUL’s design also included an LED light, which allowed users to active “party

 6   mode,” whereby the LED light would flash a rainbow of colors. “Party mode” is activated by

 7   the user by waving the JUUL device back and forth until the white LED light starts flashing

 8   multiple colors, so that the rainbow colors are visible while the person inhales from the JUUL

 9   device. “Party mode” can also be permanently activated on the JUUL by the user quickly and

10   firmly slapping the JUUL against the palm of the hand, until the LED light starts flashing
11   multiple colors permanently. Party mode on the JUUL is described by users to be “like an
12   Easter egg in a video game” and allows for “some cool tricks that are going to drive [] friends
13   crazy.” 144 This feature was another characteristic that set JUUL apart from other e-cigarettes on
14   the market, and made it even more appealing and “cool” to young users.
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     142
         Id.
27   143
         Id.
     144
28       Jon Hos, Getting Your Juul Into Party Mode, (Jul. 12, 2018), https://vapedrive.com/getting-
     your-juul-into-party-mode.

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 1                    6.         JLI Enticed Newcomers to Nicotine with Kid-Friendly Flavors
 2                               Without Ensuring the Flavoring Additives Were Safe for
 3                               Inhalation.
 4                          a.        JIL Develops Flavored JUUL Products That Would Appeal to
 5                                    Youth.
 6          134.    Cigarette companies have known for decades that flavored products are key to

 7   getting young people to acclimate to nicotine.145 A 2004 study found that seventeen-year-old

 8   smokers were more than three times as likely as those over the age of twenty-five to smoke

 9   flavored cigarettes, and they viewed flavored cigarettes as safer.146

10          135.    In June 2015, JUUL came to market in four flavors including tabaac (later
11   renamed tobacco), fruut (later renamed fruit medley), bruulé (later renamed crème brulee), and
12   miint (later renamed mint).
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24   145
         A Sept. 1972 Brown & Williamson internal memorandum titled “Youth Cigarette New
25   Concepts,” observed that “it’s a well known fact that teenagers like sweet products.” A 1979
     Lorillard memorandum found “younger” customers would be “attracted to products with ‘less
26   tobacco taste,’” and suggested investigating the “possibility of borrowing switching study data
     from the company which produces ‘Life Savers’ as a basis for determining which flavors enjoy
27
     the widest appeal” among youth.
     146
28       Gardiner Harris, Flavors Banned From Cigarettes to Deter Youth, N.Y. TIMES (Sept. 22,
     2009), https://www.nytimes.com/2009/09/23/health/policy/23fda.html.

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 2          136.    JUUL later offered other kid-friendly flavors, including cool mint, cucumber,

 3   and mango.

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11          137.    In 2009, the FDA banned flavored cigarettes (other than menthol) as its first

12   major anti-tobacco action pursuant to its authority under the Family Smoking Prevention and

13   Tobacco Control Act of 2009. “Flavored cigarettes attract and allure kids into addiction,” Health

14   and Human Services Assistant Secretary Howard Koh, MD, MPH, said at a news conference

15   held to announce the ban.147 In January 2020, the FDA banned flavored e-cigarette pods, other

16   than “Tobacco” and “Menthol” flavors, in response to “epidemic levels of youth use of e-

17   cigarettes” because these products are “so appealing” to children.”148

18          138.    The availability of e-liquids in flavors that appeal to youth increases rates of e-

19   cigarette adoption by minors. A national survey found that that 81% of youth aged twelve to

20   seventeen who had ever used e-cigarettes had used a flavored e-cigarette the first time they tried

21   the product, and that 85.3% of current youth e-cigarette users had used a flavored e-cigarette in

22   the past month. Moreover, 81.5% of current youth e-cigarette users said they used e-cigarettes

23

24
     147
25       Daniel J. DeNoon, FDA Bans Flavored Cigarettes: Ban Includes Cigarettes With Clove,
     Candy, and Fruit Flavors, WebMD (Sept. 22, 2009), https://www.webmd.com/smoking-
26   cessation/news/20090922/fda-bans-flavored-cigarettes#2.
     148
27       U.S. Food & Drug Admin., FDA Finalizes Enforcement Policy on Unauthorized Flavored
     Cartridge-Based E-cigarettes that Appeal to Children, Including Mint (Jan. 22, 2020),
28   https://www.fda.gov/news-events/press-announcements/fda-finalizes-enforcement-policy-
     unauthorized-flavored-cartridge-based-e-cigarettes-appeal-children.

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 1   “because they come in flavors I like.”149

 2          139.    Adding flavors to e-liquids foreseeably increases the risk of nicotine addiction by

 3   making it easier and more pleasant to ingest nicotine.150 Research has shown that adolescents

 4   whose first tobacco product was flavored are more likely to continue using tobacco products

 5   than those whose first product was not flavored.

 6          140.    In a recent study, 74% of youth surveyed indicated that their first use of a JUUL

 7   was of a flavored JUUL pod.151

 8          141.    Research shows that when youth see advertisements for flavored e-cigarettes,

 9   they believe the advertisements and products are A significant majority of under-age users

10   chose flavored e-cigarette products.152 By at least early 2017, JLI knew that its flavors had
11   attracted young people and non-smokers in droves.153 Instead of taking corrective action or
12   withdrawing the kid friendlyintended for them.154
13

14
     149
         See Bridget K. Ambrose et al., Flavored Tobacco Product Use Among US Youth Aged 12-
15
     17 Years, 2013-2014, 314 JAMA 1871 (2015). Another peer-reviewed study concluded that
16   young adults who use electronic cigarettes are more than four times as likely to begin using
     regular cigarettes as their peers who have not used e-cigarettes. See Brian A. Primack, et al.
17   Initiation of Traditional Cigarette Smoking after Electronic Cigarette Use Among Tobacco-
     Naïve US Young Adults, 131 AM. J. MED. 443.e1 (2018).
18   150
         See U.S. Dep’t of Health & Human Servs., How Tobacco Smoke Causes Disease: The
19   Biology and Behavioral Basis for Smoking-Attributable Disease: A Report of the Surgeon
     General, Chapter 4 (Centers for Disease Control and Prevention ed. 2010),
20   https://www.ncbi.nlm.nih. gov/books/NBK53018/ #ch4.s92.
     151
         Karma McKelvey et al., Adolescents and Young Adults Use in Perceptions of Pod-based
21
     Electronic Cigarettes. 1 JAMA NETWORK OPEN e183535 (2018), https://
22   doi:10.1001/jamanetworkopen.2018.3535.
     152
         Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 322 JAMA 2095
23   (2019), https://tinyurl.com/y3g75gmg (“Among current exclusive e-cigarette users, an
     estimated 72.2% . . . of high school students and 59.2% . . . of middle school students used
24
     flavored e-cigarettes. . . .").
     153
25       See INREJLI_00265068 (Feb. 13, 2017 internal JLI email string: “. . . [f]lavors are
     important for retention – especially when you consider the switching effectiveness of JLI.
26   Would we still have these people as customers if we didn’t offer fruit or dessert flavors? Hard
     to say on this alone, but if we removed our highest quality flavors (mint or mango), we would
27
     surely risk churn.”)
     154
28       D.C. Petrescu, et al., What is the Impact of E-Cigarette Adverts on Children’s Perceptions of
     Tobacco Smoking? An Experimental Study, 26 TOBACCO CONTROL 421 (2016); Julia C. Chen-

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 1          142.    flavors, JLI capitalized on their popularity with kids.

 2          143.    JLI asserts that it did not intend its flavors to appeal to underage consumers.

 3   After eleven Senators sent a letter to JLI questioning its marketing approach and kid-friendly e-

 4   cigarette flavors, JLI visited Capitol Hill and told Senators that it never intended its products to

 5   appeal to kids and did not realize they were using the products, according to a staffer for

 6   Senator Dick Durbin155. JLI’s statements to Congress—which parallel similar protests of

 7   innocence by cigarette company executives—were false.

 8          144.    A former JUUL manager, who spoke to The New York Times on the condition

 9   that his name not be used, said that within months of JUUL’s 2015 introduction, it became

10   evident that teenagers were either buying JUULs online or finding others who made the
11   purchases for them. Some people bought more JUUL kits on the company’s website than they
12   could individually use—sometimes ten or more devices at a time. “First, they just knew it was
13   being bought for resale,” said the former senior manager, who was briefed on the company’s
14   business strategy. “Then, when they saw the social media, in fall and winter of 2015, they
15   suspected it was teens.”156
16          145.    JLI’s use of flavors unfairly targeted not only youth, but unsuspecting adults as
17   well. By positioning JUUL pods as a flavor-oriented product rather than a system for delivering
18   a highly addictive drug, JLI deceptively led consumers to believe that JUUL pods were not only
19   healthy (or at least essentially harmless), but also a pleasure to be enjoyed regularly, without

20   guilt or adverse effect.

21

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24
     Sankey et al., Perceived Ease of Flavored E-Cigarette Use and E-Cigarette Use Progression
25   Among Youth Never Tobacco Users, 14 PLOS ONE 1 (2019).
     155
         Lorraine Woellert & Sarah Owermohle, Juul Tries to Make Friends in Washington as
26   Regulators Circle, POLITICO (Dec. 28, 2018), https://www.politico.com/story/2018/12/08/juul-
     lobbying-washington-1052219.
27   156
         Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?,
28   N.Y. TIMES (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
     marketing.html.

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 1                          b.     Defendants Developed and Promoted the Mint Flavor and
 2                                 Sought to Preserve its Market.
 3          146.     While JLI and the Management Defendants were developing and marketing their

 4   flavored products to appeal to and recruit youth, Altria, recognizing the value of those young

 5   “replacement smokers” committed itself to the cause. With the shared goal to grow the number

 6   of nicotine-addicted users, and as detailed further herein, JLI, the Management Defendants, and

 7   Altria set out to do whatever was necessary to create and preserve the lucrative market for

 8   flavors. In order to maximize the value of its mint line of JUULpods, JLI, with the support of

 9   the Management Defendants, chemically and socially engineered its mint pods to become the

10   most popular “flavor” among youth, including through extensive surveillance of youth behavior
11   and preferences, all while seeking to conceal mint’s appeal to youth.
12          147.     In July 2013, Reynolds American Inc.157 released the Vuse, the first-known
13   cartridge-based nicotine salt e-cigaretteto reach the domestic market.158 Altria entered the
14   nicotine salt market one month later, with the MarkTen cig-a-like.159 JLI would enter the market
15   in June 2015.
16          148.     Though mint was one of the least popular e-cigarette flavor categories with youth
17   in 2015, trailing the fruit and dessert categories,160 Reynolds, Altria and JLI had all introduced
18   mint-flavored products within a year of each company’s initial release. By mid-2014, Reynolds
19   had added “Mint, Rich Mint, Spearmint, [and] Wintergreen” to its Vuse lineup.161 By February

20   2015, Altria’s Nu Mark LLC, under the leadership of Joe Murillo (JLI’s current regulatory

21
     157
         Reynolds is now a wholly owned subsidiary of British American Tobacco.
22   158
         See FAQs, RJR Vapor Co., LLC, http://www.vusevapor.com/faqs/product/ (“Since Vuse’s
23   launch in 2013, all of our closed systems available for sale nationally (i.e., Vuse Solo, Vuse
     Ciro, Vuse Vibe, and Vuse Alto) include nicotine salts.”).
24   159
         Additional Info, Nu Mark LLC, https://markten.com (“certain varieties” of MarkTen
25   Original “contain … acetic acid, benzoic acid, and lactic acid.”).
     160
         See M.B. Harrell et al., Flavored E-cigarette Use: Characterizing Youth, Young Adult, and
26   Adult Users, 5 PREVENTIVE MEDICINE REPS. 33-40, § 3.3 (Mar. 2017),
     https://www.sciencedirect.com/science/article/pii/S2211335516301346.
27   161
         See Sen. Richard Durbin, et al., Gateway to Addiction? (April 14, 2014),
28   https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
     Cigarettes%20with%20Cover.pdf.

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 1   head), released a Winter Mint flavor for MarkTen.

 2          149.    Unlike Reynolds and Altria, which released mint products after first releasing a

 3   menthol variant, JLI skipped menthol and went straight to mint, adding Menthol in late 2017

 4   around the same time it released its mango JUULpods.

 5          150.    JLI’s flavored JUULpods were particularly popular with its underage users and,

 6   when mango was introduced, it was the underage user’s flavor of choice.

 7          151.    JLI, the Management Defendants, and Altria recognized both the potential of

 8   using flavors to hook kids and the inevitability that the government would seek to regulate said

 9   flavors. So, they sought to solidify the market presence of a “substitute” youth-friendly flavor—

10   mint—which might escape regulation and preserve JLI’s astronomical sales figures.
11                                 i.        JLI Manipulates Chemistry of Mint JUUL Pods.
12          152.    One recent study found that JLI’s mango had the lowest free-base content,
13   making it the least harsh formula; and that mint had the highest free-base content (30% more
14   free-base than mango), making mint the formula with the strongest nicotine impact:162
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              Anna K. Duell et al., Nicotine in tobacco product aerosols: ‘It’s déjà vu all over again’
23
            153.    These findings evidence JLI, the Management Defendants, and the Altria
24
     Defendants’ plan to make the flavor whose lifespan they were working hard to preserve the
25

26
     162
27      See Duell AK, et al. Nicotine in Tobacco Product Aerosols:
     “It's Déjà vu All Over Again,” 5 TOBACCO CONTROL (Dec. 17, 2019),
28   https://tobaccocontrol.bmj.com/content/tobaccocontrol/early/2019/12/16/tobaccocontrol-2019-
     055275.full.pdf.

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 1   most potent when it got into the hands of nonsmokers, including youth.

 2                               ii.       JLI’s Youth Surveillance Programs Confirmed that
 3                                         Mint JUUL Pods are Preferred by Teens.
 4          154.    In January 2018, Kevin Burns, JLI’s new CEO, deployed his experience as the

 5   former CEO of a yogurt company to begin developing JUUL’s flavor portfolio.

 6          155.    One part of this initiative included studying consumer reactions to flavor names.

 7   By February 2018, McKinsey & Company had provided a roadmap to JLI’s Consumer Insights

 8   department, which included multiple flavor studies including a flavor “likability” tests, which

 9   was carried out under JUUL’s marketing and commercial department.163

10          156.    In April 2018, JLI received a document request from the FDA on April 24, 2018,
11   seeking information about the design and marketing of JLI’s products, among other things.164
12          157.    In response, JLI announced a commitment of $30 million to youth prevention
13   efforts and began sending JLI representatives to schools to present what were essentially
14   advertising campaigns for JUUL products. This conduct resulted in a Warning Letter from the
15   FDA’s Center for Tobacco Products to JLI in September 2019.165
16          158.    Under the guise of this youth prevention program, JLI directly studied 13- to 17-
17   year-old teens’ e-cigarette flavor preferences.166 These studies, undertaken at a time when JLI
18   and Altria were coordinating their activities, asked teens to rank a variety of e-cigarette flavors
19   in terms of appeal, and included the names of current JUUL flavors, JUUL flavors under

20   development, and flavors offered by JLI’s competitors. Though they were not made public,

21   through document requests, two such studies have been identified from April 2018.

22          159.    The first study, carried out by McKinsey & Company, generated over 1,000

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24   163
         INREJUUL_00053172.
     164
25       Matthew Holman, U.S. Food & Drug Admin., to Ziad Rouag, Juul Labs, Inc., Letter from
     Director of Office of Science, Center for Tobacco Products (Apr. 24, 2018),
26   https://www.fda.gov/media/112339/download.
     165
         Letter from U.S. Food & Drug Admin. to Kevin Burns, CEO of Juul Labs, Inc. (Sept. 9,
27
     2019), https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
28   investigations/warning-letters/juul-labs-inc-590950-09092019.
     166
         INREJUUL_00121627 (preliminary slides); INREJUUL_00124965 (data).

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 1   responses from teens aged 13 to 17 years old.167 The second study, conducted by DB Research,

 2   appears to have gathered data from a focus group of 16 kids in Bethesda, Maryland, and

 3   Baltimore, Maryland.168

 4          160.    Both studies found that teens’ co-favorite JUUL flavors were mango and mint,

 5   and that teens found only one third-party flavor more desirable than mango and mint: “Cotton

 6   Candy” (McKinsey) 169 and “Fruit Loops” (DB Research).170

 7          161.    Though the McKinsey study did not survey teens’ preference for menthol, the

 8   DB Research study did and found that while 28% of teens found menthol appealing, 72% of

 9   teens liked mint.171

10          162.    In other words, these surveys showed that teens respond to mint the way they
11   respond to their favorite candy flavors and respond to Menthol the way they respond to
12   traditional tobacco flavors typically disfavored by youth. This is unsurprising, as the “Mint”
13   flavor was designed not to taste like a Menthol cigarette. Users have described JLI’s Menthol
14   flavor as “tast[ing] like a [N]ewport” cigarette that “doesn’t have that good peppermint taste
15   like [C]ool [M]int.”172
16          163.    Because of these and other studies, JLI, the Management Defendants, and the
17   Altria Defendants knew that mint is an attractive flavor for kids. According to Siddharth Breja,
18   who was senior vice president for global finance at JLI, after JLI pulled most flavored pods,
19   including mango, from the market in an claimed attempt to reduce youth usage of JUUL, then-

20   CEO Kevin Burns said that “[y]ou need to have an IQ of 5 to know that when customers don’t

21

22

23
     167
24       Id.
     168
         INREJUUL_00035325.
25   169
         INREJUUL_00124965.
     170
26       Id.
     171
         INREJUUL_00035325.
27   172
         Reddit, How does Classic Menthol Compare to Cool Mint,
28   https://www.reddit.com/r/juul/comments/7wo39m/how_does_classic_menthol_compare_to_co
     ol_mint/.

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 1   find mango they buy mint.”173 And it was public knowledge that mint and menthol have a well-

 2   documented history of facilitating youth tobacco use, as Dr. Jonathan Winickoff testified before

 3   Congress:

 4          [it is] completely false to suggest that mint is not an attractive flavor to children.
            From candy canes to toothpaste, children are introduced to mint flavor from a
 5          young age. Not only do children enjoy mint, but it has special properties that
            make it an especially dangerous flavor for tobacco. Menthol’s anesthetic
 6
            properties cool the throat, mask the harshness of nicotine, and make it easier for
 7          children to start using and continue using tobacco products. The impact of mint
            and menthol flavors on increasing youth tobacco addiction is well documented.174
 8
            164.   If the purpose of these youth prevention studies was to “better understand how
 9
     different flavor profiles appeal to different age groups to inform youth prevention,” as the
10
     McKinsey slides presenting that study’s findings indicate, the lesson for JLI, the Management
11
     Defendants, and the Altria Defendants was that teens like mint as much or more than any other
12
     JUUL flavor, including mango, fruit medley, crème brulee, cucumber, and more than a dozen
13
     other candy-like flavors produced by third-parties for use with the JUUL device.
14
            165.   With that knowledge and with no genuine interest in youth prevention, and as
15
     detailed below, JLI, the Management Defendants, and Altria committed to work to preserve
16
     mint as a flavor for as long as possible. Indeed, to further this goal, Defendants Pritzker and
17
     Valani poured additional money into JLI a mere two months later as part of a $600 million
18
     funding round.175
19
            166.   By keeping mint on the market long after other flavors were pulled, these
20
     Defendants continued to expand the number of addicted e-cigarette users.
21

22
     173
         Sheila Kaplan and Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former
23   Executive Say, N.Y. TIMES (Nov. 20, 2019), https://www.nytimes.com/2019/10/30/health/juul-
     pods-contaminated.html.
24   174
         Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
25   Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. 3 (2019)
     (statement of Jonathan P. Winickoff, American Academy of Pediatrics). ,
26   https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019.07.24%20Winickoff
     %20AAP%20Testimony.pdf.
27   175
         Alex Wilheim & Jason D. Rowley, JUUL Raises $650M Of Its $1.25B Mega-Round,
28   CRUNCHBASE (Jul. 10, 2018), https://news.crunchbase.com/news/juul-raises-650m-of-its-1-
     25b-mega-round/.

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 1          D.      Defendants Developed and Implemented a Marketing Scheme to Mislead
 2                  Consumers into Believing that JUUL Products Contained Less Nicotine
 3                  Than They Actually Do and Were Healthy and Safe.
 4          167.    Having created a product designed to hook users to its nicotine, JLI had to

 5   mislead consumers into believing JUUL was something other than what it actually was. So, the

 6   company engaged in a years’ long campaign to downplay JUUL’s nicotine content, nicotine

 7   delivery, and the unprecendented risks of abuse and addiction JUUL poses. Defendants devised

 8   and knowingly carried out a material scheme to defraud consumers by (a) misrepresenting the

 9   nicotine content, nicotine delivery profile, and risks of JUUL products, (b) representing to the

10   public that JUUL was a smoking cessation tool, and (c) using third-party groups to spread false
11   and misleading narratives about e-cigarettes, and JUUL in particular.
12                    1.      The Defendants Knowingly Made False and Misleading Statements
13                            and Omissions Concerning JUUL’s Nicotine Content.
14          168.    Every 5% strength JUUL pod package represents that one pod is equivalent to
15   one pack of cigarettes. This statement is deceptive, false and misleading. As JLI’s regulatory
16   head explained internally to former CEO Kevin Burns in 2018, each JUUL pod contains
17   “roughly twice the nicotine content of a pack of cigarettes.”176
18          169.    In addition, and as JLI and the Management Defendants know, it is not just the
19   amount of nicotine, but the efficiency with which the product delivers nicotine into the

20   bloodstream, that determines the product’s narcotic effect, risk of addiction, and therapeutic use.

21   Most domestic cigarettes contain 10–15 mg of nicotine per cigarette177 and each cigarette yields

22   between 1.0 to 1.4 mg of nicotine,178 meaning that around 10% of the nicotine in a cigarette is

23   typically delivered to the user. JUUL e-cigarettes, on the other hand, have been found to deliver

24
     176
25       INREJUUL_00279931.
     177
         Neal L Benowitz & Jack E Henningfield, Reducing the Nicotine Content to Make Cigarettes
26   less addictive, 22 TOBACCO CONTROL Supp. 1, i14-17 (2013),
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3632983/.
27   178
         Lynn T. Kozlowski & Janine L. Pilliteri, Compensation for Nicotine by Smokers of Lower
28   Yield Cigarettes, 7 SMOKING AND TOBACCO CONTROL MONOGRAPH 161, 164
     (1983), https://cancercontrol.cancer.gov/brp/tcrb/monographs/7/m7_12.pdf

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 1   at least 82% of the nicotine contained in a JUUL pod to the user.179 JLI’s own internal studies

 2   suggest a nicotine transfer efficiency rate of closer to 100%.180

 3          170.    Defendants also knew that the use of benzoic acid and nicotine salts in JUUL

 4   pods affects pH and facilitates “absorption of nicotine across biological membranes.”181 JUUL’s

 5   e-liquid formulation is highly addictive not only because it contains a high concentration of

 6   nicotine, but because it contains a particularly potent form of nicotine, i.e., nicotine salts.

 7   Defendants knew this, as Adam Bowen advised the Board of Directors at an October 2015

 8   Board meeting on JLI’s “nicotine salts patent application.”182 And the Altria Defendants were

 9   aware of the research showing the potency of nicotine salts from their many years in the tobacco

10   business.
11          171.    JLI and Defendant Bowen, knowing that the Phase 0 results illustrated that the
12   nicotine content was greater than they wanted to represent, sought to engineer test results that
13   differed from those results and were more consistent with JLI’s deceptive messaging. In May
14   2014, within weeks of the Phase 0 study, JLI and Defendant Bowen carried out a second
15   pharmacokinetics study in New Zealand. This study was called the CH-1401, or the “Phase 1”
16   study. This study again examined the effects of inhaling aerosol from various 2% nicotine
17   solutions: nicotine benzoate (blend A), nicotine malate (blend B), and free-base nicotine (blend
18   C).183 In a further departure from the Phase 0 study, which used experienced e-cigarette users,
19   the Phase 1 study used subjects that had not previously ingested aerosolized nicotine vapor, and

20   who had certainly never ingested aerosolized nicotine vapor from nicotine salts. As Defendants

21   JLI and Bowen knew, this difference is critical. Just as first-time smokers would not inhale as

22

23   179
         Samantha M. Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by JUUL
24   Electronic Cigarettes, 21 NICOTINE TOBACCO RESEARCH 1274 (2019),
     https://www.ncbi.nlm.nih.gov/pubmed/30346584 (about 82%, for averages of 164 μg per puff).
25   180
         See, e.g., INREJUUL_00023597 (finding 94% nicotine transfer efficiency with 4%
26   benzoate formula).
     181
         Neal L. Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, 192
27   HANDB.EXP.PHARMACOL. 29(2010), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/
     182
28       INREJUUL_00278408.
     183
         INREJUUL_00014159-INREJUUL_00014226.

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 1   much cigarette smoke as regular smokers, inexperienced (or “learning”) e-cigarette users will

 2   not inhale vapor at a rate that maximizes nicotine delivery.184 JLI’s decision to omit

 3   participatnts with previous e-cigarette experience from the criteria for inclusion in CH-1401

 4   resulted in artificially deflated Cmax results.185

 5          172.     The Cmax recorded in the Phase 1 study was approximately a third of that

 6   achieved by smoking a cigarette. Specifically, e-cigarette users recorded a Cmax of

 7   approximately 12.87 ng/ml, compared with the 31.47 ng/ml Cmax resulting from smoking a

 8   Pall Mall.186

 9          173.     In possession of the results from both the Phase 0 and Phase 1 studies, JLI

10   nevertheless decided to launch a 5% nicotine salt solution as its commercial product. An
11   internal memo explained JLI’s reasoning as follows: “[s]ince the Cmax of the [2%] nicotine salt
12   was about 1/3 that of cigarettes, we chose a concentration of 5% for our commercial product
13   (JUUL), which should provide a Tmax and Cmax consistent with a cigarette.”187
14          174.     Instead of testing a 5% solution, JLI estimated the Cmax result of a 5% nicotine
15   solution using a model.188 But the Phase 0 data showed that a 4% benzoic acid / 5% nicotine
16   solution would have a higher Cmax and AUC than those of a cigarette, not one that was equal.
17          175.     JLI and the Management Defendants knew that JLI’s studies indicated that their
18   5% solution product was more potent and more addictive than a typical cigarette. But JLI and
19   the Management Defendants then used their unsupported extrapolation of their flawed studies to

20   market JUUL as providing a nicotine experience on par with a cigarette, even though they

21   designed JUUL to ensure that was not true. In reality, there were never any measured test results

22   in accord with JLI’s marketing to distributors, retailers, and the public at large.

23          176.     In the United States, the unsupported extrapolations from what appears to be the

24   Phase 1 study were used to create charts, which JLI posted on its website, shared with

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     184
         INREJUUL_00002526-INREJUUL_00002625.
26   185
         Id.
27   186
         Id.
     187
28       INREJUUL_00351717-INREJUUL_00351719.
     188
         Id.

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 1   journalists, sent to retailers, and distributed to third party promoters, showing that JUUL’s 5%

 2   solution achieved a pk profile just below that of a cigarette. For example, the following chart

 3   appeared on the online publication TechCrunch:189

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15          177.   Simultaneously, while providing extrapolated data to the public, Phase 1 was

16   used as the basis for representations to retailers that a 2% solution achieved a pk profile

17   equalling that of a cigarette. In a pitch deck dated March 25, 2015, and labeled as being

18   intended for the convenience store distributor Core-Mark, JLI presented interim190 Phase 1 data

19   showing this equivalence:191

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     189
         Ryan Lawler, Vaporization Startup Pax Labs Introduces Juul, Its Next-Gen-E-Cigarette,
27   TECH CRUNCH (Apr. 21, 2015), https://techcrunch.com/2015/04/21/pax-juul/.
     190
28       See JLI00363360.
     191
         INREJUUL_00448896.

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13           178.   These misrepresentations to the public were not accidental, nor were they the
14   work of a rogue employee. In a June 2014 Ploom Board meeting in London, the Ploom
15   executives’ presentation to the Board, which at that time included Defendants Bowen, Monsees,
16   Pritzker, and Valani, explained the differences between the Phase 0 and Phase 1 results as “due
17   to averaging across more subjects with variability in puffing behavior.”192 Their explanation did
18   not note that “variability in puffing behaviour” was partly a result of the fact that participants in
19   the Phase 0 study were experienced e-cigarette users whereas the participants in the Phase 1
20   study were not. Thus, Defendants Bowen, Monsees, Pritzker, and Valani were privy to both the
21   Phase 0 and Phase 1 results. And they knew that the data JLI (then Ploom) was pushing on the
22   public was false and misleading, but none made any efforts to correct or withdraw those false
23   and misleading statements. Aside from submitting the testing protocol and results of the Phase
24   0 study with the ‘895 patent, JLI, Bowen, Monsees, Prtizker, and Valani otherwise ignored the
25   Phase 0 study and omitted it from public discussion of JUUL’s nicotine delivery.
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     192
           INREJUUL_00016443-INREJUUL_00016507.

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 1                     2.      JLI, the Management Defendants, and Altria Transmitted,
 2                             Promoted and Utilized Statements Concerning JUUL’s Nicotine
 3                             Content that They Knew Was False and Misleading.
 4           179.    As set forth above, the statements in JLI advertisements and on JUUL pod

 5   packaging that each JUUL pod contains about as much nicotine as a pack of cigarettes are

 6   deceptive, false and misleading. Defendants knew this.

 7           180.    JLI and the Management Defendants caused deceptive, false and misleading

 8   statements that a JUUL pod had an equivalent amount of nicotine as one pack of cigarettes to be

 9   distributed via the wires and mails. These Defendants have thus materially misrepresented the

10   nicotine content of JUUL products to the consuming public including Plaintiffs, through acts of
11   mail and wire fraud.
12           181.    By no later than October 30, 2016 (and likely earlier), the JLI Website—which,
13   as discussed above, the Management Defendants on JLI’s Board of Directors reviewed and
14   approved—advertised that “[e]ach JUULpod contains 0.7mL with 5% nicotine by weight,
15   approximately equivalent to 1 pack of cigarettes or 200 puffs.”193 The language on the website
16   would later change, but still maintained the same fraudulent misrepresentation—i.e., that
17   “[e]ach 5% JUULpod is roughly equivalent to one pack of cigarettes in nicotine delivery.”194
18           182.    As noted above, JLI and the Management Defendants directed and approved the
19   content of the JUUL website, and they also directed and approved the distribution channels for

20   JUUL pods and deceptive, misleading and fraudulent statements regarding JUUL’s nicotine

21   content. And although they knew that these statements, which they caused to be transmitted

22   over the wires and mails, were untrue, JLI and the Management Defendants have made no effort

23   to retract such statements or correct their lies.

24           183.    In addition to approving the JLI website, knowing that it contained deceptive,

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      193
          JUULpod, JUUL Labs, Inc. (Oct. 30, 2016),
27
      https://web.archive.org/web/20161030085646/https://www.juulvapor.com/shop-pods/
      194
28        What is Vaping?, JUUL Labs, Inc. (July 2, 2019), https://www.JUUL.com/resources/What-
      is-Vaping-How-to-Vape

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 1   misleading and false statements, JLI (through its employees) and the Management Defendants

 2   also were directly responsible for the interstate transport, via U.S. mail, of JUULpod packaging

 3   contained misrepresentations and omissions. At the same Board Meeting where Defendants

 4   Pritzker, Huh, and Valani were installed as the Executive Committee, the Board directed JLI’s

 5   management on, among other things, “the need to rely on distributors and the challenges in

 6   reaching customers otherwise.”195

 7          184.    JUUL pod packages that were sent via U.S. mail stated that a single Juul pod is

 8   “approximately equivalent to about 1 pack of cigarettes.”196 These statements, as well as the

 9   statements on the JLI website, are false and misleading.

10          185.    The statement on the JLI website, and in its advertisements and packaging, that
11   each JUUL pod contains 5% nicotine and is approximately equivalent to a pack of cigarettes is
12   false and likely to deceive and mislead, because the actual amount of nicotine contained in a
13   JUUL pod is as much as twice as high as that in a pack of cigarettes
14          186.    The Altria Defendants greatly expanded the reach of this fraud by providing its
15   retail and distribution might for JLI products, causing millions of JUUL pods to be sent via U.S.
16   mail with packaging stating that JUUL pods contain only 5% nicotine by weight and are
17   “approximately equivalent to about 1 pack of cigarettes.”197 JLI, the Management Defendants,
18   and the Altria Defendants knew that these statements were false and misleading, but
19   nevertheless utilized JUUL product packing, marketing and advertising to maintain their fraud.

20          187.    The Altria Defendants knew in 2017 that a JUUL pod delivered more nicotine

21   than one pack of cigarettes. In 2017, the Altria Defendants launched its MarkTen Bold e-

22   cigarette, a relatively high-strength 4% formulation compared to the 2.5% and 3.5% strength

23   MarkTen products initially offered. Even though JUUL was already on store shelves and was

24   rapidly gaining market share with its 5% nicotine formulation, the Altria Defendants chose to

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     195
         INREJUUL_00278408.
27   196
         Juul Labs, Inc., Twitter, (Feb. 14, 2018),
28   https://twitter.com/JUULvapor/status/963844069519773698,
     197
         Id.

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 1   bring a less potent 4% formulation to market.

 2          188.    According to the Altria Defendants own pharmacokinetic testing as reflected in

 3   the chart below, this 4% less potent formulation was nevertheless sufficient to raise plasma

 4   nicotine to levels approaching those generated by combustible cigarettes. In other words, the

 5   Altria Defendants’ own pharmacokinetic testing suggested the highly addictive nature of a 5%

 6   formulation, as such a formulation would readily equal or exceed the nicotine delivery profile of

 7   a combustible cigarette.

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         Figure 1: Presented at Altria Group Inc.’s November 1, 2017 Investor Day Presentation.
16                                         MarkTen Bold 4%

17          189.    Based on its own internal knowledge, the Altria Defendants knew that a 5%

18   nicotine formulation would carry more nicotine than one pack of cigarettes. In addition to data it

19   received from JLI, the Altria Defendants’ due diligence undoubtedly included a careful

20   examination of JLI’s intellectual property, including the ’895 patent, which provides a detailed

21   overview of nicotine benzoate’s pharmacokinetic profile.

22          190.    Thus, JLI, the Management Defendants, and the Altria Defendants knew that the

23   statement on JUUL pod packaging that each JUUL pod contains 5% nicotine and about as much

24   nicotine as a pack of cigarettes is literally false and they intended such statements to mislead.

25   Neither the Altria Defendants nor JLI or the Management Defendants have made any effort to

26   correct or retract the false and misleading statements as to the true nicotine content in JUUL

27   pods. Instead, they have continued to misrepresent the product’s nicotine content and design,

28   with the goal of misleading and deceiving consumers.


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 1          191.    From JUUL’s pre-release announcements to this day, JLI has continuously

 2   represented that each pod is approximately equivalent to a pack of cigarettes. These claims,

 3   which JLI repeats widely in advertisements, press releases, and its web site, have been

 4   distributed via the wires and mails and disseminated by reputable and widely reliable sources

 5   that accepted those representations as true.198

 6          192.    Not only have JLI and the Management Defendants misrepresented or concealed

 7   the actual amount of nicotine consumed via JUUL pods, but they also did not effectively or

 8   fully inform users about the risks associated with the potent dose of nicotine delivered by JLI’s

 9   products. Despite going through numerous revisions since 2015, the JUUL packaging did not

10   include nicotine addiction warnings until JLI was forced to add them in August 2018. The
11   original JUUL product labels had a California Proposition 65 warning indicating that the
12   product contains a substance known to cause cancer, and a warning to keep JUUL pods away
13   from children and pets, but contained no warnings specifically about the known effects, or
14   unknown long-term effects, of nicotine or consuming e-cigarettes/inhaling nicotine salts.199
15          193.    Moreover, the form of nicotine JUUL pods contain is particularly potent. JUUL’s
16   use of “strength” to indicate concentration by weight is also at odds with the industry standard
17

18
     198
         See Truth Initiative, 6 Important Facts about Juul, https://truthinitiative.org/research-
19   resources/emerging-tobacco-products/6-important-facts-about-juul; Erin Brodwin, An E-
20   cigarette with Twice the Nicotine of Comparable Devices is Taking over High Schools – and
     Scientists are Sounding the Alarm, BUSINESS INSIDER (Apr. 30, 2018),
21   https://www.businessinsider.com/juul-e-cig-vaping-health-effects-2018-3; Caroline Kee,
     Everything you Need to Know About the JUUL, Including the Health Effects, BUZZFEED NEWS
22   (Feb. 5, 2018), https://www.buzzfeednews.com/article/carolinekee/juul-ecigarette-vape-health-
     effects; Jan Hoffman, The Price of Cool: A Teenager, a Juul and Nicotine Addiction, NEW
23   YORK TIMES, (November 16, 2018), https://www.nytimes.com/2018/11/16/health/vaping-juul-
24   teens-addiction-nicotine.html; Sarah Milov, Like the Tobacco Industry, E-cigarette
     Manufacturers are Targeting Children, THE WASHINGTON POST, (Sept. 23, 2018)
25   https://www.washingtonpost.com/outlook/2018/09/23/like-tobacco-industry-e-cigarette-
     manufacturers-are-targeting-children/; Washington State Dep’t of Health, What are Vapor
26   Products?, https://www.doh.wa.gov/YouandYourFamily/Tobacco/VaporProducts.
     199
27        See INREJUUL_00444332 (2015 image of JLI packaging). Note that JLI packaging
     originally included such warnings about nicotine, but were apparently removed during various
28   rounds of revisions, see e.g. INREJUUL_00021583 (2014 image of JLI packaging containing
     handwritten revisions of the original language.).

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 1   of reporting concentration by volume,200 leading consumers to believe it contains less nicotine

 2   than other formulations advertised as 6% nicotine, when JUUL pods in fact contain

 3   approximately the same nicotine as a solution that is 6% nicotine by volume.

 4          194.    The “5% strength” statement in Defendants’ advertisements misrepresents the

 5   most material feature of the JUUL product—the nicotine content—and has misled consumers to

 6   their detriment. Resellers, apparently assuming that “5% strength” means “50mg/ml” nicotine

 7   by volume, compound confusion among consumers by stating that JUUL pods contain “50

 8   mg/ml,” which they do not.201

 9          195.    If JLI and the Management Defendants did not know when JLI released JUUL

10   pods that the “5% strength” representation in Defendants’ advertisements was misleading, they
11   learned that there was widespread confusion about the JUUL pods’ nicotine content. By 2017,
12   studies revealed that smokers did not understand “5% strength,” and some understood that
13   phrase to mean 5% of a cigarette. Though this was identified as a “pain point” for new users,202
14   JLI and the Management Defendants (and later the Altria Defendants) did nothing to stop or
15   correct this confusion about the nicotine content.
16          196.    The “5% strength” statement in Defendants’ advertisements is also misleading.
17

18
     200
         See, e.g., American E-Liquids Manufacturing Standards Association, E-Liquids
19   Manufacturing Standards, § 1.05 (2017), https://www.aemsa.org/wp-
     content/uploads/2017/03/AEMSA-Standards-v2.3.3.pdf, (quantifying e-liquid nicotine content
20   in terms of volume).
     201
21       See, e.g. Tracy Vapors, Starter Kit,
     http://web.archive.org/web/20190422143424/https://www.tracyvapors.com/collections/starter-
22   kit; Lindsey Fox, JUUL Vapor Review, E-cigarette Reviewed, (Mar. 20, 2017),
     https://ecigarettereviewed.com/juul-review (“The nicotine content of the JUUL pods is always
23   the same: 5% or 50 mg/ml”); Jason Artman, JUUL E-Cigarette Review, eCig One (Oct. 26,
24   2016) https://ecigone.com/e¬cigarette-reviews/juul-e-cigarette-review/ (“the e-liquid contains
     50 mg of nicotine per ml of e-liquid”); West Coast Vape Supply, Juul Starter Kit (July 18,
25   2019),
     http://web.archive.org/web/20190718190102/https://westcoastvapesupply.com/products/juul-
26   starter-kit (“5% . . . 50 mg”); Vapor4Life, How Much Nicotine is In a JUUL? (Aug. 24, 2018),
     https://www.vapor4life.com/blog/how-much-nicotine-is-in-a-JUUL/. “Each official JUUL pod
27
     contains a whopping 50mg of nicotine per milliliter of liquid (most other devices range from 3
28   to 30mg per milliliter.”
     202
         INREJUUL_00123540.

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 1   At least two independent studies testing multiple varieties of JUUL pods have likewise found

 2   significantly higher concentrations of nicotine than the 59 mg/mL JUUL’s website represents,

 3   suggesting that the difference in the total nicotine content of a JUUL pod vs. a pack of

 4   combustilble cigarettes could be even greater.203

 5                    3.     Defendants Used Food and Coffee Themes to Give False
 6                           Impression that JUUL Products Were Safe and Healthy.
 7          197.    In late 2015, JLI and the Management Defendants employed a deceptive

 8   marketing scheme to downplay the harms of e-cigarettes with a food-based advertising

 9   campaign called “Save Room for JUUL.” The campaign framed JUUL’s addictive pods as

10   “flavors” to be paired with foods.204 JLI described its Crème Brûlée nicotine pods as “the
11   perfect evening treat” that would allow users to “indulge in dessert without the spoon.”205 In
12   one 2016 email, JLI bluntly suggested that users satisfy their sugar cravings with JUUL’s
13   highly-addictive nicotine vapor: “Have a sweet tooth? Try Brulee.”206 JLI similarly promoted
14   the fruit medley pods using images of ripe berries. JLI described its “Cool” Mint pods as having
15   a “crisp peppermint taste with a pleasant aftertaste” and encouraged consumers to “Beat The
16   August Heat With Cool Mint.”207
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     203
19       See J.F. Pankow et al., Benzene Formation in Electronic Cigarettes, 12 PLoS ONE 1
     (2017); See also Anna K. Duell, et al., Free-Base Nicotine Determination in Electronic
20   Cigarette Liquids by 1H NMR Spectroscopy, 31 CHEM. RES. TOXICOL. 431, 431-34 (2018).
     204
         Erin Brodwin, $15 Billion Startup JUUL Used ‘Relaxation, Freedom, and Sex Appeal’ to
21
     Market its Crème-brulee-flavored E-cigs on Twitter and Instagram─but its Success has Come
22   at a Big Cost, BUSINESS INSIDER (Oct. 26, 2018), https://www.businessinsider.com/juul-e-cig-
     marketing-youtube-twitter-instagram-social-media-advertising-study-2018-10.
23   205
         Stanford University, Research into the Impact of Tobacco Advertising,
     http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st658.php&toke
24
     n1=fm_pods_img36019.php&theme_file=fm_pods_mt068.php&theme_name=JUUL&subthem
25   e_name=Flavors
     206
         Stanford University, Research into the Impact of Tobacco Advertising,
26   http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st658.php&toke
     n1=fm_pods_img36019.php&theme_file=fm_pods_mt068.php&theme_name=JUUL&subthem
27
     e_name=Flavors
     207
28       Stanford University, Research into the Impact of Tobacco Advertising,
     http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st658.php&toke

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               198.   Again, none of these advertisements disclosed that JUUL was addictive and
23
     unsafe.
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               199.   In several caffeine-pairing advertisements, JUUL devices or pods sit next to
25
     coffee and other caffeinated drinks, sometimes with what appear to be textbooks in the
26

27

28   n1=fm_pods_img36019.php&theme_file=fm_pods_mt068.php&theme_name=JUUL&subthem
     e_name=Flavors

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 1   picture.208 JLI’s coffee-based advertisements suggest that JUUL should be part of a comfortable

 2   routine, like a cup of coffee.

 3               200.   JLI’s reference to coffee is no mere marketing gimmick, it reflects the larger

 4   effort to mislead customers into believing that JUUL is no more harmful than coffee,

 5   reinforcing the false and dangerous concept if a substance is “not harmful,” then addiction to

 6   that substance cannot be harmful.

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     208
           Id.

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            201.   Defendants knew that tying JUUL to caffeine and food would mislead their
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     target audience—youth and non-smokers—into believing that JUUL was a healthy, safe treat.
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 1                   4.      JLI’s “Make the Switch” Campaign Intentionally Misled and
 2                           Deceived Users to Believe that JUUL Is a Cessation Device.
 3          202.   JLI, the Altria Defendants, and the Management Defendants recognized that one

 4   of the keys to growing and preserving the number of nicotine-addicted e-cigarette users (and

 5   thus JLI’s staggering market share), was to mislead potential customers about the true nature of

 6   JUUL products. Defendants knew that if it became public that JUUL was designed as a way to

 7   introduce nicotine to youth and otherwise hook new users with its potent nicotine content and

 8   delivery, it would not survive the public and regulatory backlash. Therefore, JLI (with the

 9   knowledge and support of the Management Defendants) and the Altria Defendants repeatedly

10   made false and misleading statements to the public that JUUL was created and designed as a
11   smoking cessation device, and falsely and misleadingly used the mails and wires to spread the
12   subterfuge. JLI, the Management Defendants, and the Altria Defendants committed these
13   deceptive, misleading and fraudulent acts intentionally and knowingly. In making these
14   representations, JLI, the Management Defendants, and the Altria Defendants intended that
15   consumers, the public, and regulators rely on misrepresentations that JUUL products were
16   designed to assist smoking cessation.
17          203.   The most blatant evidence of the cover-up scheme was the January 2019, $10
18   million “Make the Switch” television advertising campaign. This campaign, which was the
19   continuation of JLI’s web-based Switch campaign, was announced less than a month after the

20   Altria Defendants announced Altria’s investment in JLI.

21          204.   The “Make the Switch” television ads featured former smokers aged 37 to 54

22   discussing “how JUUL helped them quit smoking.”209 According to JLI’s Vice President of

23   Marketing, the “Make the Switch” campaign was “an honest, straight down the middle of the

24   fairway, very clear communication about what we’re trying to do as a company.”210 These

25

26   209
         Angelica LaVito, JLI Combats Criticism with New TV Ad Campaign Featuring Adult
     Smokers Who Quit after Switching to E-cigarettes, CNBC (Jan. 8, 2019),
27
     https://www.cnbc.com/2019/01/07/juul-highlights-smokers-switching-to-e-cigarettes-in-ad-
28   campaign.html.
     210
         Id.

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 1   statements were false as JUUL was not intended to be a smoking cessation device. JLI and the

 2   Management Defendants committed acts of wire fraud when they caused the “Make the Switch”

 3   campaign to air on television with the fraudulent intent of deceiving and misleading the public,

 4   the United States Congress, and government regulators into believing that JLI is and had been

 5   focused solely on targeting adult smokers. The Altria Defendants also committed acts of mail

 6   fraud when they caused tens of thousands, if not millions, of written versions of the Make the

 7   Switch campaign to be distributed with packages of Altria’s combustible cigarettes.

 8          205.    Defendants continually sought to frame JUUL products as smoking cessation

 9   devices in their public statements and on their website. Defendant Monsees explained during his

10   testimony before Congress:
11          The history of cessations products have extremely low efficacy. That is the
            problem we are trying to solve here. So, if we can give consumers an alternative
12          and market it right next to other cigarettes, then we can actually make something
            work.
13

14          [T]raditional nicotine replacement therapies, which are generally regarded as the
            gold standard for tools, right, for quitting, those are nicotine in a patch or a gum
15          form, typically, and the efficacy rates on those hover just below about a 10
            percent or so. JUUL-we ran a very large study of JUUL consumers, ex-smokers
16          who had picked up JUUL, and looked at them, looked at their usage on a
            longitudinal basis, which is usually the way that we want to look at this, in a
17
            sophisticated fashion ... what we found was that after 90 days, 54 percent of those
18          smokers had stopped smoking completely, for a minimum of 30 days already.
            And the most interesting part of this study is that if you follow it out further, to
19          180 days, that number continues to go up dramatically, and that is quite the
            opposite of what happens with traditional nicotine replacement therapies.211
20

21          206.    In response to a direct question about whether people buy JUUL to stop

22   smoking, Defendant Monsees responded: “Yes. I would say nearly everyone uses our product as

23   an alternative to traditional tobacco products.”212

24          207.    Other illustrative and non-exhaustive examples include the following:

25
     211
         Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
26   Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
     (statement      of      James       Monsees,       Co-Founder,      JUUL        Labs,      Inc.).,
27
     https://oversight.house.gov/legislation/hearings/examining-juul-s-role-in-the-youth-nicotine-
28   epidemic-part-ii.
     212
         Id.

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 1   Statements by Defendant JLI:213

 2                 •    “JUUL Labs was founded by former smokers, James and
                       Adam, with the goal of improving the lives of the world’s one
 3                     billion adult smokers by eliminating cigarettes. We envision a
                       world where fewer adults use cigarettes, and where adults
 4                     who smoke cigarettes have the tools to reduce or eliminate
                       their consumption entirely, should they so desire.” (JLI
 5
                       Website, April 2018 (or earlier));214
 6
                   •   “JUUL Labs, which exists to help adult smokers switch off of
 7                     combustible cigarettes.” (JLI Website, September 19, 2019);
                       and,215
 8

 9                 •   “To paraphrase Commissioner Gottlieb, we want to be the
                       offramp for adult smokers to switch from cigarettes, not an
10                     on-ramp for America’s youth to initiate on nicotine.” (JLI
                       Website, November 13, 2018);216
11
     Statements by the Altria Defendants:
12

13                 •   “We are taking significant action to prepare for a future where adult
                       smokers overwhelmingly choose non-combustible products over
14                     cigarettes by investing $12.8 billion in JUUL, a world leader in
                       switching adult smokers . . . . We have long said that providing adult
15                     smokers with superior, satisfying products with the potential to reduce
16                     harm is the best way to achieve tobacco harm reduction.” (Altria
                       Website, December 20, 2018);217 and,
17
                   •   “We believe e-vapor products present an important opportunity to
18                     adult smokers to switch from combustible cigarettes.” (Letter to
                       FDA Commissioner Gottlieb, 10/25/18).218
19

20   213
         Although these statements are attributed to Defendant JLI, JLI's Board of Directors had
21   "final say" over marketing messaging and, accordingly, Defendants Bowen, Monsees, Pritzker,
     Huh, and Valani are each directly responsible for the transmission of these fraudulent
22   statements.
     214
23       Our Mission, JUUL Labs, Inc. (2019), https://www.juul.com/mission-values.
     215
         CONSUMER UPDATE: 9/19, JUUL Labs, Inc. (Sept. 19, 2019),
24   https://newsroom.juul.com/consumer-update-9-19/.
     216
25       JLI Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-
     labs-action-plan/ (statement of then-CEO Kevin Burns).
26   217
         Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and
     Drive Growth, BUSINESSWIRE (Dec. 20, 2018),
27
     https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
28   Investment-JUUL-Accelerate
     218
         Letter from Howard A. Willard III, Altria, to Dr. Scott Gottlieb, FDA, at 2 (Oct. 25, 2018).

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 1
                   •   “We have long said that providing adult smokers with superior,
 2                     satisfying products with the potential to reduce harm is the best
                       way to achieve tobacco harm reduction. Through Juul, we are making
 3
                       the biggest investment in our history toward that goal.”219
 4
                   •   “Through JUUL, we have found a unique opportunity to not only
 5                     participate meaningfully in the e-vapor category but to also support
                       and even accelerate transition to noncombustible alternative
 6                     products by adult smokers.” (Altria Earning Call, January 31,
 7                     2019)220

 8                 •   We expect the JUUL product features that have driven JUUL’s
                       success in switching adult smokers in the U.S. to strongly appeal to
 9                     international adult cigarette smokers. (Altria Earning Call, January 31,
                       2019)221
10

11          208.   Defendants knew at the time of making these statements that they were false,

12   deceptive and misleading. JUUL does not have FDA approval as a cessation product.

13          209.   The Switch advertisements reinforced the impression left by the testimony of

14   JLI’s co-founder, clearly linking JUUL to cessation and quitting. For example:

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24   219
         Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and
25   Drive Growth, (Dec. 20. 2018), BUSINESS WIRE,
     https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
26   Investment-JUUL-Accelerate.
     220
         Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call for the
27
     period ending December 31, 2018, (Jan. 31, 2019), https://www.fool.com/earnings/call-
28   transcripts/2019/02/01/altria-group-mo-q4-2018-earnings-conference-call-t.aspx.
     221
         Id.

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            210.   Representative Rashida Tlaib, upon presenting this ad to Monsees, had the
21
     following exchange:
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            Rep. Tlaib: After 30 lines, starting with “quit,” the ad says “switch,” followed by
23          no further mentions of start smoking again. You were a smoker. Does this ad give
            a smoker hope that there might be a way to quit cigarettes for good?
24

25          Mr. Monsees: I think the intention of this ad is to make it very clear to consumers
            that there is an alternative, finally, to combustible cigarettes. I am one of those
26          people.222

27   222
         Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
28   Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
     (statement of James Monsees, Co-Founder, JUUL Labs, Inc.)., https://www.c-

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 1
             211.   Defendants’ tacit message in their Switch advertisements is: switch because,
 2
     unlike cigarettes, JUUL is harmless to your health.
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             212.   Defendants’ false, deceptive and misleading Switch campaign suggests that
 4
     purchasing a JUUL will “switch” a smoker to a non-smoker.
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             213.   [Omimtted]
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             214.   JLI has advertised cost-savings calculators as part of its Switch campaign. Those
 7
     calculators assume that a smoker who switches will continue consuming the same amount of
 8
     nicotine that he or she did as a smoker (i.e., a pack a day smoker is presumed to consume one
 9
     JUUL pod a day). Defendants know that the calculator is misleading because smokers who
10
     switch to JUUL frequently increase their nicotine intake.
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             215.   JUUL labels and advertisements also marketed the product as an “alternative” to
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     cigarettes:
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23           216.   Other advertisements similarly marketed the product as smoking “evolved”:
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28    span.org/video/?c4811191/user-clip-wasserman-grothman-tlaib-question-monsees at 12:33-
      13:04.

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 9          217.    The goal of these advertisements was to convey the deceptive, misleading and
10   false impression that JUUL products could help consumers quit smoking and break nicotine
11   addiction in a way that was healthy and safe. But, as noted above, that was simply not the case.
12   Defendants never disclosed to consumers that JUUL e-cigarettes and JUUL pods are at least as,
13   if not more, addictive than combustible cigarettes. And each of JLI, the Management
14   Defendants, and the Altria Defendants received data to this effect, as discussed above, and were
15   aware of this fact.
16          218.    In addition, the notions that JUUL products are designed only for existing
17   cigarette smokers, and safer than combustible cigarettes are belied by JLI’s own knowledge,
18   marketing plan and intentions on several fronts. First, Defendants sought to grow a new group
19   of consumers of nicotine products (e.g., “vapers”), not just to market to the shrinking number of
20   existing cigarette smokers. Second, JLI and Bowen designed the JUUL device to be easy to use
21   for youth and others who have never smoked and to create and exacerbate nicotine addiction by
22   encouraging ingestion of excessive amounts of nicotine. Third, as noted above, JLI’s own
23   internal testing revealed that JUUL products were often more potent than combustible cigarette
24   smokers prefer. Each of the Management Defendants knew this from his position on JLI’s
25   Board of Directors, and the Altria Defendants knew the same when they began to actively
26   coordinate with JLI and the Management Defendants. Despite this knowledge, these Defendants
27   made numerous deceptive, false and misleading public statements that JUUL was intended to be
28   a cessation device.


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 1          219.   JUUL is not a product adults typically use to quit smoking. Researchers have

 2   found that as of 2018, only 7.9% of American adults had ever used USB shaped vape devices,

 3   like JUUL, and only 2% of adults currently used them.223 And as mentioned above, youth were

 4   16 times more likely to use the USB-shaped JUUL than adults.224

 5          220.   JLI’s own marketing research indicated that the JUUL was not appropriate as a

 6   cessation device for adults. In 2014, JLI when it was called Ploom hired the consumer research

 7   firm Tragon to do research with prototypes of the JUUL e-cigarette. On September 30, 2014,

 8   Lauren Collinsworth, a consumer researcher at Tragon, e-mailed Chelsea Kania, a marketing

 9   employee at Ploom, with some of the preliminary results from the studies. She stated that the

10   testing showed that “the younger group is open to trying something new and liked J1 [the JUUL
11   prototype] for being smart, new, techy, etc.” 225 Ms. Collinsworth added that “The qualitative
12   findings suggested this product isn’t going to fit as well with consumers who are looking to cut
13   back on the cigarette intake.”226 On October 1, 2014, Ms. Collinsworth followed up with
14   additional comments. She stated that “[t]he delivery was almost too much for some smokers,
15   especially those used to regular e-cigarettes.”227 The final results from this consumer research
16   were distributed to upper management, including to then-CEO James Monsees228 and then-
17   Chief Marketing Officer Richard Mumby.229
18          221.   The deceptive, misleading and fraudulent nature of the “Make the Switch”
19   campaign is evident when comparing the campaign’s advertisements to JUUL’s initial

20   advertising, as demonstrated below. The fact that these advertisements are for the same product

21
     223
22       Kristy L. Marynak et al., Use and Reasons for Use of Electronic Vapour Products Shaped
     like USB Flash Drivers Among a National Sample of Adults, 28 TOBACCO CONTROL 685 (Nov.
23   2019), https://tobaccocontrol.bmj.com/content/28/6/685.
     224
24       D.M. Vallone et al., Prevalence and Correlates of JLI Use Among a National Sample of
     Youth and Young Adults, TOBACCO CONTROL (Oct. 29, 2018),
25   http://dx.doi.org/10.1136/tobaccocontrol-2018-054693.
     225
         JLI00365905.
26   226
         Id. (emphasis added).
27   227
         JLI00365709.
     228
28       JLI00364678.
     229
         JLI00364487.

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 1   confirms that, notwithstanding the advice JLI and the Altria Defendants received from their

 2   media consultants, the Defendants never intended to target only adult smokers.

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 1
            222.    Defendants ensured that JUUL was the opposite of a “tool[] to reduce or
 2
     eliminate” nicotine consumption. According to the National Institutes of Health, the “amount
 3
     and speed of nicotine delivery . . . plays a critical role in the potential for abuse of tobacco
 4
     products.”230 As described above, JLI and Bowen designed the JUUL product to deliver nicotine
 5
     in larger amounts and at a faster rate than even cigarettes, and then knowingly misled the public
 6
     about those facts.
 7
            223.    The Switch campaign also does not disclose or warn about the risks of using
 8
     multiple tobacco products, “dual use” or that the JUUL is not a smoking cessation product. In
 9
     addition to the heightened risks of addiction that multiple tobacco product use poses, one recent
10
     study found that persons who use e-cigarettes and smoke have blood toxin levels far higher than
11
     one would expect given the blood toxin levels that e-cigarettes and cigarettes generate
12
     individually.231
13
            224.    The FDA and other government regulators, enforcing existing laws addressing e-
14
     cigarettes,232 publicly criticized the “Make the Switch” campaign and other efforts by
15
     Defendants to depict JUUL as a smoking cessation device. Section 911(b)(2)(A)(i) of the
16
     Federal Food, Drug, and Cosmetics Act (FDCA) (21 U.S.C. § 387k(b)(2)(A)(i)) states that
17
     when advertising or labeling of a cigarette product directly or indirectly suggests that the
18
     product has a lower risk of cigarette-related disease, is less harmful than traditional cigarettes,
19
     or is otherwise ‘safer’ than traditional cigarettes, then the product becomes a “modified risk
20
     tobacco product.”233
21

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     230
23       U.S. Dep’t of Health & Human Servs., Nicotine Addiction: Past and Present, How Tobacco
     Smoke Causes Disease (2010), https://www.ncbi.nlm.nih.gov/books/NBK53018/#ch4.s92
24   231
         Julie B. Wang et al., Cigarette and E-Cigarette Dual use and Risk of Cardiopulmonary
25   Symptoms in the Health eHeart Study, 13 PLoS ONE 1 (2018).
     232
          Section 911(b)(2)(A)(i) of the FDCA (21 U.S.C. § 387k(b)(2)(A)(i)) states that when
26   advertising or labeling of a cigarette product directly or indirectly suggests that the product has
     a lower risk of cigarette-related disease, is less harmful than traditional cigarettes, or is
27
     otherwise ‘safer’ than traditional cigarettes, then the product becomes a “modified risk tobacco
28   product.”
     233
         Id.

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 1          225.    In late 2019, and in response to the House of Representatives hearings in which

 2   JLI executives testified, the FDA issued two warning letters to JLI detailing its concern that JLI

 3   was unlawfully marketing its e-cigarette products as cessation tools or as “modified risk tobacco

 4   products” within the meaning of the FDCA.234

 5          226.    Then, in its September 9, 2019 letter to JLI, the FDA notified JLI that its

 6   advertising slogans such as “99% safer,” “much safer,” and “a safer alternative” than cigarettes

 7   was “particularly concerning because [those] statements were made directly to children in

 8   school.”235 The FDA concluded that in using advertising language that e-cigarettes were safer

 9   than cigarettes, JLI had violated Sections 902(8) and 911 by marketing JUUL products as

10   “modified risk tobacco products” without prior approval.236
11          227.    The September 9, 2019 letter also detailed the FDA’s concerns with JLI’s
12   “Switch” marketing campaign. “[T]roubled by recent testimony” that JLI had given to the
13   House Subcommittee on Economic and Consumer Policy of the Committee on Oversight and
14   Reform, the FDA noted that JLI’s Switch advertising campaign “may also convey that switching
15   to JUUL is a safer alternative to cigarettes.”237
16          228.    The FDA specifically highlighted the Switch campaign slogans which referenced
17   smoking cigarettes, or attempts to quit smoking, followed by “Make the Switch.” The FDA
18   stated that JLI’s campaign was in violation of multiple FDA regulations and the FDCA
19   subsections, and that JLI’s Switch campaign purported to tell the public that using e-cigarettes

20   was an alternative to smoking, or a possible cessation tool.238

21          229.    On the same day, the FDA requested that JLI provide all documents related to its

22   decision to market the Switch campaign to the Cheyenne River Sioux Tribe, in light of the

23
     234
24       Letter from U.S. Food and Drug Admin. to Kevin Burns, CEO of JUUL Labs, Inc., (Sept. 9,
     2019), https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
25   investigations/warning-letters/juul-labs-inc-590950-09092019.
     235
26       Id.
     236
         Id.
27   237
         Letter from U.S. Food and Drug Admin. Ctr. for Tobacco Prods. to JUUL Labs, Inc. (Sept.
28   9, 2019), https://www.fda.gov/media/130859/download.
     238
         Id.

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 1   testimony by JLI that it had taken a “public health” approach to Native American tribes, and had

 2   sought healthcare professionals to refer Native American smokers to JLI’s Switching

 3   Program.239

 4          230.    Perhaps unsurprisingly, the Make the Switch campaign was spearheaded by a

 5   marketing firm with long-standing ties to the cigarette industry. In particular, it was led by a

 6   subsidiary of Omnicom Group, Inc., one of the “Big Four” advertising holding companies

 7   dominating marketing and communications worldwide since the 1990s, second only to WPP.

 8   Omnicom is the parent company of Mercury Public Affairs which, by at least April 2018,

 9   counted both Altria and JLI as its clients. Mercury lobbied for Altria on tobacco regulations,240

10   and helped JLI push back against negative press coverage of youth usage of its products.241
11                   5.      JLI, Altria, and Others in the E-Cigarette Industry Coordinated
12                           with Third-Party Groups to Mislead the Public About the Harms
13                           and Benefits of E-Cigarettes.
14          231.    Through a collective and parallel effort of funding, leadership, and board
15   membership, JLI, the Altria Defendants and others in the e-cigarette industry leveraged third-
16   parties, ranging from industry-funded non-governmental organizations to online blogs more
17   accessible to youth, to mislead the public about the impacts of consuming e-cigarettes.
18          232.    An assortment of lobbyists, trade associations, and online publications have
19   coordinated with the e-cigarette industry, including JLI and the Altria Defendants, to promote a

20   consistent message that consuming e-cigarettes is not harmful, that nicotine is not harmful, and

21   that the impacts of e-cigarettes are greatly exaggerated. These organizations receive funding

22   from the e-cigarette industry, feature executives on those companies’s boards of directors, and

23   in return, promote industry products, industry views, or fund “independent” studies of their own

24   that reach the same conclusions as e-cigarette industry-funded research.

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     239
26       Id.
     240
          Kevin McCauley, Altria Taps Mercury For Tobacco Regulation Work, O’DWYER’S (Jun. 4,
27
     2018), https://www.odwyerpr.com/story/public/10754/2018-06-04/altria-taps-mercury-for-
28   tobacco-regulation-work.html.
     241
         See, e.g., INREJUUL_00262168; INREJUUL_00262226-INREJUUL_00262227.

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 1                  a)      The American Vaping Association
 2          233.    The American Vaping Association (“AVA”) is a pro-e-cigarette lobby group

 3   founded by Greg Conley, who notably publishes articles criticizing the CDC for its stance on

 4   restricting e-cigarette use.242 Other executive members of the AVA possess business interests in

 5   e-cigarettes; for example, Treasurer David J. Danzak Jr. is associated with an e-cigarette

 6   business called Vapornine LLC.243 Vice-President Antoinette Lanza is an owner of an

 7   exclusively e-cigarette shop in Hoboken, New Jersey called Smokeless Image.244 Half of the

 8   AVA’s functional expenses are for lobbying efforts.245 It lists several sponsors, all of which are

 9   e-cigarette, e-liquid, or cigarette companies.246

10          234.    Conley has a prolific social media presence and frequently appears on television
11   and radio to tout the benefits of consuming e-cigarettes and dispute negative news. The AVA
12   website lists “studies” which are uniformly authored by noted industry-funded or industry-
13   friendly authors, such as Polosa and Shahab.247 AVA lists CASAA, Not Blowing Smoke, and
14   the VTA, all established fronts for the e-cigarette industry, as “Resources.”
15          235.    The AVA receives its funding from sponsors, who are organized into tiers such
16   as Platinum, Gold, Silver, Bronze, and Green.248 Current advertised sponsors include e-cigarette
17   distributors and retailers such as E-Cigarette Empire, and VaporBeast.249 Prior sponsors are a
18   who’s who of e-cigarette retailers. In 2016, Platinum sponsors included AltSmoke and Vapor
19

20   242
         Jeff Stier & George Conley, The War on E-Cigarettes, NATIONAL REVIEW (Sept. 19, 2011),
21   https://www.nationalreview.com/2011/09/war-e-cigarettes-jeff-stier-gregory-conley/.
     243
         Vapornine LLC, BUZZFILE, http://www.buzzfile.com/business/Vapornine-LLC-904-372-
22   3244 (business information page).
     244
         Stacy Jones, Tobacco Regulators Mull More Oversight as E-cigarettes See Increased
23
     Popularity, NJ.com (Mar. 30, 2019),
24   https://www.nj.com/business/2013/07/tobacco_regulators_mull_more_o.html.
     245
         Form 990, American Vaping Association Inc.’s Return of Organization Exempt from
25   Income Tax ( 2018),
     https://apps.irs.gov/pub/epostcard/cor/464203951_201812_990O_2019122716980021.pdf.
26   246
         AVA Sponsors, American Vaping Association, https://vaping.org/about-us/ava-sponsors/.
27   247
         Research Reports, American Vaping Association, https://vaping.org/research-report/.
     248
28       AVA Sponsors, American Vaping Association, https://vaping.org/about-us/ava-sponsors/ .
     249
         Id.

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 1   Kings, while Gold sponsors included the now defunct Smokeless Image.250

 2          236.    On social media, the AVA regularly downplays the risks of consuming e-

 3   cigarettes, criticizes negative coverage as myths or exaggerations, and lauds efforts to curb any

 4   regulation of the e-cigarette industry.251

 5          237.    JLI actively sought out the AVA to promote JUUL. In January 2016, e-mails

 6   between employees at JLI (then known as PAX) discussed a “list of thought leaders [JLI] can

 7   tap for stories for JUUL” which included Conley at the AVA and Satel.252

 8          238.    In 2018, JLI took advantage of its coordinated efforts with the AVA to downplay

 9   the risks associated with JUUL. In an e-mail exchange between Christine Castro of JLI and a

10   “Stratcomms” internal mailing list, Castro lamented a “testy conversation” with a USA Today
11   reporter who pointed out that JLI’s marketing and advertising appeared to feature and target
12   minors and teenagers.253 Castro noted that “I hit back at [the reporter] very aggressively but we
13   can expect the usual B.S. Greg Conley is being allowed to write a 300-word rebuttal. I will
14   email him and copy you Ashley [JLI employee] just so we can stay coordinated.”254
15          239.    The AVA also coordinated with JLI on pro-e-cigarette research. In March 2018,
16   Conley facilitated a conversation between Dr. Konstantinos Farsalinos, a researcher at the
17   University of Patras, Greece, who regularly publishes e-cigarette industry-friendly articles, and
18   Gal Cohen, then Director of Scientific Affairs at JLI.255 In the e-mail, Conley asks Farsalinos to
19   send Cohen “some info on your flavor study” to which Farsalinos responds by sending Conley

20   and Cohen an attachment: “USA FLAVORS SURVEY.pptx” and the note: “[A]ttached is a

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     250
         AVA Sponsors, American Vaping Association, Wayback Machine – Internet Archive (Aug.
23
     14, 2017), https://web.archive.org/web/20170814221226/http://vaping.org/about-us/ava-
24   sponsors/.
     251
         American Vaping Association (@AVABoard), Twitter, https://twitter.com/AVABoard .
25   252
         INREJUUL_00278889
     253
26       See INREJUUL_00173252 (Apr. 4, 2018 email).
     254
         Id.
27   255
         Juul Labs, Inc. , JUUL Labs Presents Findings at the Global Forum on Nicotine 2018,
28   Cision PR Newswire (June 15, 2018) , https://www.prnewswire.com/news-releases/juul-labs-
     presents-findings-at-the-global-forum-on-nicotine-2018-300666743.html.

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 1   powerpoint presentation about the study we proposed.”256

 2          240.   The proposed study was a survey aimed at determining what flavors different

 3   demographic groups preferred as e-cigarette flavors, which flavors they use frequently, and

 4   which flavors they used when they first started consuming e-cigarettes. While the study was

 5   purportedly to determine the impact of e-cigarette flavors on e-cigarette and smoking behavior,

 6   the data obtained from such a study would have allowed JLI to understand which flavors were

 7   not only the most popular, but which flavors were most popular by demographic.257

 8          b)     Vaping360
 9          241.   Vaping360 is a website dedicated to news regarding the e-cigarette industry. The

10   website boasts “40 million smokers and vaping enthusiasts reached since 2015.” This entity has
11   a big social media presence and huge publication strategy.
12          242.   Vaping360’s main message misleads the public about the health impacts of
13   consuming e-cigarettes. Vaping360 has published various articles, including “10 Lies and
14   Myths About Juuling Exposed.”258 This article, published in May 9, 2018, claimed, among other
15   things, that JUUL was not as dangerous as smoking; JUUL did not cause cancer or “popcorn
16   lung”; JUUL was not popular among teenagers, nor did JLI sell kid-friendly flavors or flavors
17   aimed to entice young people; and the nicotine in JUUL is “a relatively mild drug, [and] may
18   cause dependence.”259
19          243.   Vaping360 regularly published articles praising, promoting, or downplaying the

20   risks of JUUL, including, among others: “These Scientists Want to Kill Smokers’ Hope (For

21   Vaping)”; “UK Scientists to WHO: Your Vape Report Is Junk”; “One Free Pack JUUL Coupon

22   Codes 2019”; and an article disparaging anti-smoking advocacy group Truth Initiative by

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25
     256
26       INREJUUL_0034128.
     257
         Id.
27   258
         Jim McDonald, 10 Lies and Myths About Juuling Exposed, Vaping 360 (May 9, 2018),
28   https://vaping360.com/lifestyle/juuling/.
     259
         Id.

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 1   claiming that “Truth Initiative Promo Encourages Risky Teen Behavior.”260

 2          244.    One of the main writers at Vaping360 is Jim McDonald who aggressively attacks

 3   any negative science as fake news. For example, McDonald frequently posts on social media

 4   platforms, including on Facebook and Twitter, but also comments on others posts extensively

 5   disputing negative news about consuming e-cigarettes.261

 6          245.    Vaping360 has taken funding from e-cigarette manufacturers, and in return

 7   coordinates with e-cigarette manufacturers to promote their products, while publishing

 8   favorable content. Vaping360 was paid by JLI for advertising, and was given kickbacks

 9   (referred to as commission) for every coupon used for JUUL that originated from Vaping 360’s

10   website.
11          246.    In March 2017, JLI (then PAX) communicated with Chris Kendell and others at
12   Vaping360 to discuss promoting JLI’s products with a 15% discount coupon on Vaping360’s
13   website.262 JLI representative Andy Martin also noted that JLI “figured out the commission
14   issue,” and expressed excitement at JLI’s new mango flavor JUUL pod.263 They also discussed
15   a Facebook advertising link whereby Vaping360 could offer similar discounts for JLI products
16   on social media.264
17          247.    In November 2017, Martin of JLI and Rawad Nassif of Vaping360 discussed a
18   meeting agenda, with topics such as “new affiliate commission terms,” “JLI funnelling [sic]
19   project,” and “exploring further opportunities.”265

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21
     260
         Jim McDonald, Truth Initiative Promo Encourages Risky Teen Behavior, Vaping 360 (Jan.
22   9, 2020), https://vaping360.com/vape-news/87705/truth-initiative-promo-encourages-risky-
     teen-behavior/.
23   261
         Jim McDonald, Mass. Senate Passes Worst Vaping Law in the Countr, Vaping 360 (Nov.
24   21, 2019), https://vaping360.com/vape-news/86852/mass-senate-passes-worst-vaping-law-in-
     the-country/; Jim McDonald, Meet the Rich Moms Who Want to Ban Vaping, Vaping 360 (Oct.
25   8, 2018), https://vaping360.com/vape-news/71696/meet-the-rich-moms-who-want-to-ban-
     vaping/.
26   262
         INREJUUL_00143870.
27   263
         Id.
     264
28       Id.
     265
         INREJUUL_00139196

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 1          248.    In 2018, McDonald continued to write articles specifically praising JLI, such as

 2   “Coming Soon: A JUUL to Help You Quit JUULing” and “10 Lies and Myths About JUULing

 3   Exposed.”266 As of 2020, Vaping360 continues to offer discounts for JUUL products.267

 4          c)      Foundation for a Smoke-Free World
 5          249.    The Foundation was founded in 2017, and presents itself as a public health

 6   organization, purportedly “advancing global progress in smoking cessation and harm

 7   reduction.”268 It is funded entirely by Philip Morris International, which in 2017 announced a $1

 8   billion commitment to fund the Foundation.269 The Foundation’s 2018 Form 990 lists only one

 9   donor: PMI Global Services, Inc., or Philip Morris International, with a contribution of $80

10   million.270
11          250.    The Foundation is headed by Derek Yach, a noted advocate and promoter of e-
12   cigarettes and consuming e-cigarettes.271
13          251.    In 2018, the Foundation announced that it would support Centers of Excellence
14   to conduct tobacco control research.272 This tactic is a well-known tool of the cigarette industry,
15   which has a history of funding “research” centers to promote industry-friendly views, such as
16   the Center for Indoor Air Research, which promulgated industry-funded studies that sowed
17   doubt about the addictiveness of nicotine, claimed that indoor air quality was unaffected by
18

19   266
         Jim McDonald, Coming Soon: A JUUL to Help You Quit Juuling, Vaping 360 (Sept. 7,
     2018), https://vaping360.com/vape-news/70262/coming-soon-a-juul-to-help-you-quit-juuling/.
20   267
         [One FREE Pack] JUUL Coupon Codes 2019, Vaping 360 (Aug. 24, 2018)
21   https://vaping360.com/vape-coupons/juul-coupon-promo-code/.
     268
         Foundation for a Smoke-Free World (2020), https://www.smokefreeworld.org/.
22   269
         David Meyer, Philip Morris Pledges Almost $1 Billion to Anti-Smoking Fight, FORTUNE
23   (Sept. 13, 2017), https://www.webcitation.org/6tjyBv4dA.
     270
         Return of Private Foundation, Foundation for a Smoke-Free World (2018),
24
     https://web.archive.org/web/20190828104138/https://www.smokefreeworld.org/sites/default/fil
25   es/uploads/documents/fsfw_2018_form_990-pf_public_inspection.pdf.
     271
         Derek Yach: Anti-smoking Advocates Should Embrace E-cigarettes, NATIONAL POST (Aug.
26   26, 2015), https://nationalpost.com/opinion/derek-yach-anti-smoking-advocates-should-
     embrace-e-cigarettes.
27   272
         Support Global Research, Foundation for a Smoke-Free World (May 31, 2018),
28   https://web.archive.org/web/20180531105105/https://www.smokefreeworld.org/our-areas-
     focus/support-global-research.

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 1   cigarette smoke and downplayed the harms of cigarettes broadly. Institutes such as the Center

 2   for Indoor Air Research were forced to dissolve as part of the Master Settlement Agreement in

 3   1998.

 4           252.   A 2017 report in The Verge detailed the e-cigarette industry’s apparently

 5   coordinated efforts to use biased research to downplay the risks of consuming e-cigarettes.273

 6   For example, e-cigarette manufacturers routinely conduct studies focusing on the “good news”

 7   about e-cigarettes, i.e. they release less harmful aerosolized chemicals than combustible

 8   cigarettes, or that their aerosol lingers for less time indoors than combustible cigarettes.274

 9   Industry-funded authors then regularly cite to each other’s studies in their own research.275 On

10   information and belief, JLI and Altria, among others in the e-cigarette industry, funnel their
11   industry-funded studies to friendly pro-industry groups knowing that those entities will
12   misrepresent the results as evidence that e-cigarettes are safe, or not harmful.
13           d)     Vapor Technology Association
14           253.   The Vapor Technology Association (VTA) bills itself as a trade association and
15   advocates for the e-cigarette industry. It was founded in January 2016, with the banner tagline
16

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     273
         Liza Gross, Vaping Companies are Using the Same Old Tricks as Big Tobacco, THE VERGE
19   (Nov. 16, 2017), https://www.theverge.com/2017/11/16/16658358/vape-lobby-vaping-health-
     risks-nicotine-big-tobacco-marketing.
20   274
         See, e.g., J. Margham, et al., Chemical Composition of Aerosol from an E-Cigarette: A
21   Quantitative Comparison with Cigarette Smoke, 29 CHEM. RES. TOXICOL. 1662 (2016); Tanvir
     Walele et al., Evaluation of the Safety Profile of an Electronic Vapour Product Used for Two
22   Years by Smokers in a Real-life Setting, 92 REG. TOXICOL. PHARMACOL. 226 (2018); D.
     Martuzevicius, et al., Characterization of the Spatial and Temporal Dispersion Differences
23   Between Exhaled E-Cigarette Mist and Cigarette Smoke, 21 NICOTINE & TOBACCO RES. 1371
24   (2019).
     275
         See, e.g., Gene Gillman et al., Determining the Impact of Flavored E-liquids on Aldehyde
25   Production During Vaping, 112 REG. TOXICOL. PHARMACOL. 1 (2020); Colin Mendelsohn &
     Alex Wodak, Legalising Vaping in Australia, The McKell Institute (March 2019),
26   https://pdfs.semanticscholar.org/3e13/8e46419913a29f8fc9ddad52ec771f73fa76.pdf; Violeta
27   Kaunelienė et al., Impact of Using a Tobacco Heating System (THS) on Indoor Air Quality in a
     Nightclub, 19 AEROSOL AND AIR QUAL. RES. 1961 (2019); Maya Mitova et al., Human
28   Chemical Signature: Investigation on the Influence of Human Presence and Selected Activities
     on Concentrations of Airborne Constituents, 257 ENV’TL POLLUTION 1 (2020).

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 1   on its website reading “VAPE IS HOPE.”276

 2          254.    In 2018, JLI, SMOK, VMR, Turning Point Brands, and Joyetech were all

 3   featured as “Platinum Members,” a level of memebership that required a $100,000 annual

 4   contribution. Thus, JLI paid VTA $100,000 in 2018 to become a Platinum Member, and in

 5   return, VTA offered JLI a board seat; invitations to lobbying strategy meetings; access to the

 6   FDA, other federal agencies, and members of Congress; and conference participation.277

 7          255.    The VTA, like other lobbying and trade association groups in the industry,

 8   advocates for less regulation of e-cigarettes, and testifies in opposition to flavor bans.278

 9                          f)        Retailer Lobbying
10          256.    Retailers have also taken to creating subsidiaries or wholly owned companies
11   whose purpose is to produce quasi-journalistic content to promote consuming e-cigarettes,
12   discredit health initiatives, and suggest that consuming e-cigarettes has no harmful health
13   impacts. The best example of this is the website SoupWire, which publishes articles and
14   editorials that promote consuming e-cigarettes and criticizes studies that look at the negative
15   impacts of consuming e-cigarettes.279 For example, when JLI donated $7.5 million towards a
16   study on the impacts of consuming e-cigarettes on teens, a SoupWire report concluded that the
17   study will likely find “nothing Earth-shattering.”280
18                    6.         Altria Falsely Stated That It Intended to Use Its Expertise in
19                               “Underage Prevention” Issues to JLI
20          257.    Altria’s announcement that it intended to invest in JLI came less than two

21   months after it told the FDA that Altria “believe[s] that pod-based products significantly

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23   276
         Vape is Hope, Vapor Technology Association (Feb. 25, 2016),
24   https://web.archive.org/web/20160225154600/http://www.vaportechnology.org:80/
     277
         Some of Our Members, Vapor Technology Association (Nov. 28, 2018),
25
     https://web.archive.org/web/20181128162940/https://vaportechnology.org/membership/
     278
26       Vapor Technology Association, https://vaportechnology.org/.
     279
         Soupwire – The Truth About Vaping, https://soupwire.com/.
27   280
         Jeff Hawkins, JUUL Donates $7.5 Million to Teen Vaping Study, Soupwire – The Truth
28   About Vaping (July 2, 2019), https://soupwire.com/juul-donates-7-5-million-to-teen-vaping-
     study/

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 1   contribute to the rise in youth use of e-vapor products” and that it accordingly would be

 2   removing its own pod-based products from the market.281 Altria made the same representations

 3   to its investors.282

 4           258.    Although Altria claimed its investment in JLI had an altruistic motive—“ When

 5   you add to JUUL's already substantial capabilities, our underage tobacco prevention expertise

 6   and ability to directly connect with adult smokers, we see a compelling future with long-term

 7   benefits for both adult tobacco consumers and our shareholders,” Altria recently confirmed that

 8   JLI has not even availed itself of that experience.283 In Altria’s October 2019 letter to Senator

 9   Dick Durbin, Altria CEO Howard Willard acknowledged that while Altria “offered to JUUL

10   services relating to underage prevention efforts,” to date “JUUL has not accepted Altria’s offers
11   of assistance in addressing underage vaping relating issues.”284 Willard has stated that the deal
12   would allow Altria to “work[] with JUUL to accelerate its mission.”285 but as Altria knew, as
13   reflected in its letter to the FDA just two months prior, that mission involved had resulted in
14   usage throughout the youth market. Altira’s admission that pod-based products contributed to
15   underage use show that Altria knew its investment in JLI would “strengthen[] its financial
16   profile and enhance[] future growth prospects” specifically because JLI dominated the youth
17   market for e-cigarettes.286
18

19    281
         Letter from Howard A. Willard III, Altria, to Dr. Scott Gottlieb, FDA, 2 (October 25, 2018)
      282
20       Altria Group Inc (MO) Q3 2018 Earnings Conference Call Transcript, (October 25, 2018)
     https://www.fool.com/earnings/call-transcripts/2018/10/25/altria-group-inc-mo-q3-2018-
21   earnings-conference-ca.aspx
     283
22       Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call for the
     period ending December 31, 2018. (Jan. 31, 2019), https://www.fool.com/earnings/call-
23   transcripts/2019/02/01/altria-group-mo-q4-2018-earnings-conference-call-t.aspx
     284
         Letter from Howard A. Willard III to Senator Richard J. Durbin (October 14, 2019)
24
     (emphasis added).
     285
25       Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction
     and Drive Growth, Business Wire (Dec. 20, 2018, 7:00 AM EST),
26   https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
     Investment-JUUL-Accelerate.
27   286
         Press Release, Altria Makes $12.8 Billion Minority Investment In Juul To Accelerate Harm
28   Reduction And Drive Growth, Altria (Dec. 20, 2018),
     https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex991.htm.

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 1          259.    Altria recognized JLI’s market share dominance in the e-cigarette market as the

 2   path to Altria’s continued viability and profitability. In a January 31, 2019 earnings call, Altria

 3   explained that “[w]hen you add to JUUL’s already substantial capabilities, our underage

 4   tobacco prevention expertise and ability to directly connect with adult smokers, we see a

 5   compelling future with long-term benefits for both adult tobacco consumers and our

 6   shareholders. We are excited about JUUL’s domestic growth and international prospects and

 7   their potential impact on our investment.”287 JUUL’s growth was, as Altria well knew, due to

 8   the product’s viral popularity among teens. Willard briefly acknowledged the youth vaping

 9   crisis, stating, “Briefly touching on the regulatory environment, the FDA and many others are

10   concerned about an epidemic of youth e-vapor usage. We share those concerns. This is an issue
11   that we and others in the industry must continue to address aggressively and promptly.288
12          260.    Altria’s representations that it intended to help JUUL curb the prevalence of
13   underage use was false and misleading. As discussed below, Altria coordinated with JUUL to
14   capture and maintain the youth market.
15          E.      Defendants Targeted the Youth Market
16          261.    Having created a product, like combustible cigarettes, that sought to get users
17   addicted to nicotine, and while taking steps to ensure that consumers and regulators did not
18   appreciate the true nicotine content or potential harm from using JUULs, to successfully sink
19   their high-tech nicotine hook into American consumers, JLI, Bowen, and Monsees needed

20   investors willing to adopt the tactics of the cigarette industry as their own. They found those

21   investors in Pritzker, Huh, and Valani.

22          262.    Under the leadership of the Management Defendants, JLI marketed nicotine to

23   kids. JLI and the Management Defendants deployed a sophisticated viral marketing campaign

24   that strategically laced social media with false and misleading messages to ensure their uptake

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26
     287
         Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call for the
27
     period ending December 31, 2018 (Jan. 31, 2019), https://www.fool.com/earnings/call-
28   transcripts/2019/02/01/altria-group-mo-q4-2018-earnings-conference-call-t.aspx.
     288
         Id.

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 1   and distribution among young consumers. JLI and the Management Defendants’ campaign was

 2   wildly successful—burying their hook into kids and initiating a public health crisis.

 3                    1.       JLI Emulated the Marketing of Cigarette Companies.
 4          263.    As Defendants know, nearly 9 out of 10 smokers start smoking by age 18, and

 5   more than 80% of underage smokers choose brands from among the top three most heavily

 6   advertised.289 The overwhelming consensus from public health authorities, independent studies,

 7   and credible expert witnesses is that “marketing is a substantial contributing factor to youth

 8   smoking initiation.”290

 9          264.    Struggling to define their own identities, teenagers are particularly vulnerable to

10   image-heavy advertisements that psychologically cue them on the “right” way to look and
11   behave amongst peers.291 Advertisements that map onto adolescent aspirations and
12   vulnerabilities drive adolescent tobacco product initiation.292
13          265.    For decades, cigarette companies spun smoking as signifier of adulthood. This
14   turned smoking into a way for teenagers to project independence and enhance their image
15   among their peers.293
16          266.    Youth marketing was critical to the success of cigarette companies. In the 1950s,
17   Philip Morris—now JUUL’s corporate affiliate—intentionally marketed cigarettes to young
18   people as a pool from which to “replace smokers” to ensure the economic future of the cigarette
19   industry.294

20          267.    Philip Morris’s documents set out their youth strategy, explaining: “Today’s

21   teenager is tomorrow’s potential regular customer, and the overwhelming majority of smokers

22

23   289
         U.S. Dep’t Health & Human Servs., Preventing Tobacco Use Among Youths, Surgeon
24   General Fact Sheet, https://www.hhs.gov/surgeongeneral/reports-and-
     publications/tobacco/preventing-youth-tobacco-use-factsheet/index.html.
25   290
         United States v. Philip Morris, 449 F. Supp. 2d 1, 570 (D.D.C. 2006) (J. Kessler).
     291
26       Id. at 578.
     292
         Id. at 570, 590
27   293
         Id. at 1072.
     294
28       United States. v. Philip Morris, No. 99- 2496 (D.D.C. Aug. 17, 2006), ECF No. 5750 at 972
     (Amended Final Opinion).

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 1   first begin to smoke while still in their teens”.295

 2           268.    It wasn’t just Philip Morris. The strategy of hooking kids was an open secret in

 3   the cigarette industry.296

 4           269.    As detailed below, JLI and the Management Defendants sought to emulate this

 5   approach. Indeed, Monsees admitted to using historical cigarette ads to inform JLI’s own

 6   advertising campaign.297

 7           270.    The emulation is obvious. A side-by-side comparison of JUUL advertisements

 8   with historical cigarette advertisements reveals the appropriated pattern of focusing on imagery

 9   related to attractiveness, stylishness, sex appeal, fun, “belonging,” relaxation, and sensory

10   pleasure, including taste.298
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      295
          Tobacco Company Quotes on Marketing to Kids, Campaign for Tobacco-Free Kids (May
21
      14, 2001), https://www.tobaccofreekids.org/assets/factsheets/0114.pdf.
      296
22        C.A. Tucker, Marketing Plans Presentation to RJRI B of D at 2, U.C.S.F. Truth Tobacco
      Industry Documents (Sept. 30, 1974),
23    https://www.industrydocumentslibrary.ucsf.edu/tobacco/docs/#id=ypmw0091 (RJ Reynolds
      executive explaining that the “young adult . . . market . . . represent[s] tomorrow’s cigarette
24
      business. As this 14-24 age group matures, they will account for a key share of the total
25    cigarette volume—for at least the next 25 years.”).
      297
          Matthew Perone & Richard Lardner, Juul exec: Never intended electronic cigarette for
26    teens, AP News (July 26, 2019), https://apnews.com/4b615e5fc9a042498c619d674ed0dc33;
      Gabriel Montoya, Pax Labs: Origins with James Monsees, Social Underground,
27
      https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees (last visited
28    Apr. 3, 2020).
      298
          See Appendix B, Ads 9-50.

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            271.    JLI and the Management Defendants deployed this same strategy, but adapted it
24
     to modern advertising tactics.
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                      2.     The Management Defendants Intentionally Marketed JUUL to
26
                             Young People.
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            272.    The risk that children would use a new e-cigarette product was well known and
28
     well publicized in the months leading up to the launch of the JUUL e-cigarette. For example, in

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 1   April 2015, the CDC published the results from its 2014 National Youth Tobacco Survey.299

 2   The CDC found that “[i]n 2014, e-cigarettes were the most commonly used tobacco product

 3   among middle (3.9%) and high (13.4%) school students.”300 Moreover, “[b]etween 2011 and

 4   2014, statistically significant increases were observed among these students for current use of

 5   both e-cigarettes and hookahs (p<0.05), while decreases were observed for current use of more

 6   traditional products, such as cigarettes and cigars, resulting in no change in overall tobacco

 7   use.”301 The CDC blamed e-cigarette marketing, the use of “a mixture of ‘sex, free samples,

 8   [and] flavors’the same things that were originally found to be problematic with cigarette ads.”302

 9          273.    Seeking to enter this nascent youth market for e-cigarettes, JLI intentionally

10   targeted youth from its inception. In March 2015, Management Defendants supervised the
11   advertising campaigns that would accompany the launch of JUUL.
12          274.    Consistent with Monsees’ position that he has no “qualms” with marketing to
13   people that were not yet addicted to nicotine,303 JLI’s marketing strategy targeted people that
14   were “flavor-seeking, social ‘vapers,’” and those who “have very limited experience with
15   traditional tobacco cigarettes.”304
16          275.    JLI’s first major marketing hire, Cult Collective Ltd. (“Cult Collective”),
17   presented a pitch deck to JLI in late 2014, which defined the “target consumer” as a person
18   “within a life stage or mindset where they are defining their own identity.”305 The study
19

20   299
         Centers for Disease Control and Prevention, Tobacco Use Among Middle and High School
21   Students — United States, 2011–2014, Morbidity and Mortality Weekly Report (MMWR)
     64(14);381-385 (Apr. 17, 2015),
22   https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6414a3.htm.
     300
         Id.
23   301
         Id.
24   302
         Jacob Kastrenakes, More teens are vaping instead of smoking, The Verge (Apr. 16, 2015),
     https://www.theverge.com/2015/4/16/8429639/teen-ecigarette-use-triples-vaping-beats-
25
     smoking.
     303
26       David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?,
     Inc., https://www.inc.com/magazine/201405/david-freedman/james-monsees-ploom-ecigarette-
27   company-marketing-dilemma.html (last visited Apr. 4, 2020).
     304
28       INREJUUL_00441209.
     305
         INREJUUL_00057298-INREJUUL_00057487.

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 1   described the “modern vaper” as “trendy, sophisticated image managers seeking to balance their

 2   desire for originality against acceptance.”306 Put differently, their target consumer was an

 3   adolescent.

 4          276.    JLI professedly wanted kids to think JUUL was cool. In an email dated January

 5   29, 2015, Sarah Richardson—then Director of Communications—sent a document dated

 6   December 31, 2014, to Dima Martirosyan, Director of Digital Marketing, who forwarded it to

 7   Rafael Burde, Director of Ecommerce.307 The document stated that “[m]ost e-cigarettes to date

 8   are unsatisfying and seem ‘douche-y’. The JUUL product delivers nicotine far more effectively,

 9   and the product design is elegant and cool. We need to tell this story in a credible fashion

10   through press, influencers and social media.”308 The document repeatedly referred to Pax Labs’s
11   plan to target the “cool kids[.]”309 For example, it described as one of the “Key needs” to
12   “Establish premium positioning to entice the ‘masses’ to follow the trend setters; own the ‘early
13   adopter’ / ‘cool kid’ equity as we build out volume[.]”310 The document noted that “the voices
14   of influencers can build strong demand.”311 Messaging to media similarly focused on “coolness”
15   and the message that “JUUL singlehandedly made e-cigarettes cool.”312
16          277.    This focus on “cool kids” continued up to and after launch. On May 18, 2015,
17   Kate Morgan, field marketing manager, emailed Richard Mumby, Chief Marketing Officer, and
18   a variety of other marketing employees about “Some Music Options for JUUL Party” and noted
19   that one of the options was a pair who were both “cool kids.”313 On June 7, 2015, Rafael Burde

20   emailed Scott Dunlap, then Chief Operating Officer, stating that the JUUL launch party “was a

21   resounding success (at least in my mind) in terms of winning over the cool kids . . . .”314 Pax

22
     306
23       INREJUUL_00057298-INREJUUL_00057487.
     307
         INREJUUL_00057289.
24   308
         INREJUUL_00057293.
     309
25       Id.
     310
         Id.
26   311
         Id.
27   312
         INREJUUL 00441325-INREJUUL_00441326.
     313
28       JLI00218598.
     314
         JLI00206206.

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 1   Labs employees used similar wording regarding interest in targeting “cool kids” in an email

 2   from Sarah Richardson on August 12, 2015,315 and emails from Ashley Marand on September

 3   15, 2015,316 and October 21, 2015.317 The consistency of the language around this target

 4   demographic confirms that marketing to “cool kids” was a company policy set by the executives

 5   and the Board, particularly because, before selling the Ploom assets to JTI, James Monsees said

 6   similar things about Ploom.318

 7          278.    JLI identified its competitor in this space as cigarette companies, complaining

 8   that “cigarettes continue to own the ‘cool’ equity,” and identifying a “key pillar to go-to-

 9   market” as “win[ning] with the ‘cool crowd’” away from cigarettes.319

10          279.    With this goal in mind, JLI hired the Grit Creative Group (“Grit”), which billed
11   itself as an agency whose marketing appealed to “cool kids.”320 Grit helped JLI to “use external
12   audiences to communicate nuanced messages around early adoption ‘coolness’ and product
13   performance.”321
14          280.    In short order, the phrase “it’s cool to JUUL” became an anthem among kids
15   while youth e-cigarette use skyrocketed.
16                      3.   JLI Advertising Exploited Young People’s Psychological
17                           Vulnerabilities.
18          281.    Informed by decades of tobacco marketing, JLI ran a consistent, simple message:
19   JUUL is used by young, popular, attractive, and stylish people.

20          282.    This was not the only marketing scheme JLI could have adopted. JLI had other

21   options. In 2014, JLI engaged a Calgary-based advertising agency, Cult Collective, to complete

22   a “diagnostic” evaluation of the JUUL brand and to make recommendations regarding the best

23
     315
24       JLI00222528.
     316
         JLI00461564.
25   317
         JLI00235965.
     318
26       JLI00514343 (describing Ploom as “providing optionality for distribution growth and
     consumer outreach to a younger, opinion leading audience”).
27   319
         INREJUUL_00161703-INREJUUL_00161715.
     320
28       Id.
     321
         INREJUUL_00277080-INREJUUL_00277104.

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 1   advertising strategy to market the JUUL e-cigarette.

 2          283.    In keeping with typical e-cigarette marketing, which messaged to existing

 3   smokers looking to quit, Cult Collective recommended that JUUL position its e-cigarette

 4   technology as the focus of its advertisements. Cult Collective presented JUUL with exemplar

 5   advertisements that used images of a boom box and a joy stick, juxtaposed against the JUUL e-

 6   cigarette, with the tag line: “Everything changes. JUUL the evoluution of smoking.”

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17          284.    This campaign expressly invokes combustible cigarettes and positions the JUUL
18   as a technological upgrade for the modern smoker.
19          285.    JLI rejected this approach.
20          286.    Instead, in June of 2015, JLI launched the “Vaporized” advertising campaign.322
21   The express mission of the Vaporized campaign was to “own the ‘early adopter’/’cool kid’
22   equity.”323
23          287.    Applying the template for preying on teens established by the cigarette industry,
24   the Vaporized campaign used stylish models, bold colors, and highlighted themes of sexual
25

26
     322
         Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’,
27
     AdAge (June 23, 2015), http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-
28   ads¬campaign/299142/.
     323
         INREJUUL_00057291-INREJUUL_00057295.

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 1   attractiveness, thinness, independence, rebelliousness and being “cool.”324

 2          288.    The targeting of young consumers was evident in the design and implementation

 3   of the Vaporized campaign, which featured models in their 20s whose “poses were often

 4   evocative of behaviors more characteristic of underage teen than mature adults.”325

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     324
         See Appendix B, Advertisement 1 (example of targeting of young people).
26   325
         Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
27   Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
     (statement of Robert K Jackler, Professor, Stanford University).
28   https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-
     JacklerR-20190724.pdf.

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            289.   In the months leading up to the launch of JUUL e-cigarettes, Pax Labs
11
     executives and directors discussed how to market the new product. On March 23, 2015,326 there
12
     was a meeting of the Board of Directors where the upcoming advertising campaign was
13
     discussed.327 According to Chelsea Kania, then Brand Manager at Pax Labs, at this meeting,
14
     “there was some commentary at the youthfulness of the models[,]” but “nobody disliked them”
15
     and “everybody agreed they are pretty ‘effective[.]’”328 The Management Defendants knew that
16
     the ads targeted youth, but “Juul’s board of directors signed off on the company’s launch
17
     plans[.]”329 In addition, “Monsees, who was CEO at the time, personally reviewed images from
18
     the billboard photo shoot while it was in session.”330 A senior manager later told the New York
19
     Times that “he and others in the company were well aware” that the marketing campaign “could
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     326
23       INREJUUL_00371285.
     327
         INREJUUL_00371314.
24   328
         INREJUUL_00174387.
     329
25       Ainsley Harris, How Juul, founded on a life-saving mission, became the most embattled
     startup of 2018: E-cigarette startup Juul Labs is valued at more than $16 billion. It’s also
26   hooking teens on nicotine and drawing scrutiny from the FDA. Can the company innovate its
     way out of a crisis it helped create?, Fast Company (Nov. 19, 2018),
27
     https://www.fastcompany.com/90262821/how-juul-founded-on-a-life-saving-mission-became-
28   the-most-embattled-startup-of-2018.
     330
         Id.

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 1   appeal to” teenagers.331

 2          290.    As part of the Vaporized campaign, JLI advertised on a 12-panel display over

 3   Times Square.332 Billboard advertising of cigarettes has for years been unlawful under the

 4   Master Settlement Agreement.

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17          291.    These ads, which ran for nearly a month, generated an estimated 1.5 million

18   impressions per day.333

19          292.    In fact, JLI’s Vaporized campaign was so effective that it gained national

20   attention on an October 15th, 2015 episode of Late Night with Stephen Colbert, who ridiculed

21   the notion that the young, dancing models were consistent with a target market of adult

22   smokers. As Colbert joked after viewing the close-up video of young models dancing in place,

23   “[y]eah! There is something about vaping that just makes me want to dance in a way that

24
     331
25       Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?,
     N.Y. Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
26   marketing.html.
     332
         See Appendix B, image 14; see also https://inrejuul.myportfolio.com (also available at
27
     http://tobacco.stanford.edu/tobacco_main/subtheme_pods.php?token=fm_pods_ mt068.php)
28   (last visited April 3, 2020) (additional images and videos).
     333
         INREJUUL_00093933-INREJUUL_00093934.

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 1   doesn’t require much lung strength. . . . And it’s not just ads featuring hip young triangles that

 2   appeal to the youths. . . . There is no reason to worry about the long-term effects of vaping,

 3   because e-cigarettes are so new that their long-term effects are still unknown.”334

 4           293.    The Vaporized campaign was not limited to the Times Square billboards

 5   however. The ads were also placed in nationally-distributed magazines, and the videos were

 6   displayed on screens at the top of point-of-sale JUUL kiosks provided by JUUL to retailers

 7   across the country.

 8           294.    To the extent that the Vaporized advertisements disclosed that JUUL contained

 9   nicotine, the warnings were in small print against low-contrast backgrounds, making them easy

10   to overlook. By way of comparison, cigarette advertisements, are required to display a health
11   warning in high contrast black and white, covering 20% of the image.
12           295.    Likewise, JLI’s social media ads did not disclose any health risks of using JUUL
13   until May of 2018, when they were required to warn of addiction. But even then, JUUL placed
14   these warnings in areas that were only viewable if the social media user clicked on the “full
15   version” of the JLI post, which is not how teens typically engage with social media
16   advertising.335 Notably, on Twitter, a social media platform that is geared towards reading text,
17   and on Facebook, where some users do read text, JLI typically did not include the disclaimer in
18   its advertisements at all.336
19                     4.         JLI Pushed the Vaporized Campaign Into Youth Targeted
20                                Channels.
21                           a.       JLI Placed Its Vaporized Ads on Youth Oriented Websites
22                                    and Media.
23           296.    JLI engaged programmatic media buyers to place advertisements on websites

24   attractive to children, adolescents in middle school and high school, and underage college

25
     334
26       The Late Show With Stephen Colbert: Vaping is So Hot Right Now, YouTube (Oct. 7, 2015),
     https://www.youtube.com/watch?v=PMtGca_7leM.
27   335
         Se Appendix B, Advertisement 3.
     336
28       See Appendix B, Advertisement 65; see also Juul Image Galleries (2015-2018) SRITA
     Collection, https://inrejuul.myportfolio.com/twitter-1 (last visited Apr. 3, 2020).

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 1   students. These advertisements, which included the images of models from the Vaporized

 2   campaign, began appearing on websites as early as June 2015. The chosen websites included:

 3   nickjr.com (the website for a children’s television network run by Nickelodeon Group); the

 4   Cartoon Network’s website at cartoonnetwork.com; allfreekidscrafts.com; hellokids.com; and

 5   kidsgameheroes.com.

 6          297.    A picture of the homepage of nickjr.com is below:

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            298.    JLI also purchased banner advertisements on websites providing games targeted
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     to younger girls,337 educational websites for middle school and high school students,338 and
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     other teen-targeted websites.339
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            299.    JLI knew what it was doing. In May 2015, Chelsea Kania contacted Cult
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     Collective to raise concerns about advertising on younghollywood.com. Kania explained that
21
     the website’s demographics are “age 12-34 . . . and weighing the % who could actually afford
22
     JUUL against the risk we’d run being flagged for advertising on that site – I don’t think we
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24   337
         The sites included dailydressupgames.com, didigames.com, forhergames.com,
25   games2girls.com, girlgames.com, and girlsgogames.com.
     338
         E.g., coolmath-games.com. JUUL also purchased advertisements on basic-
26   mathematics.com, coolmath.com, math-aids.com, mathplayground.com, mathway.com,
     onlinemathlearning.com, and purplemath.com.
27   339
         E.g., teen.com, seventeen.com, justjaredjr.com, and hireteen.com. JUUL purchased
28   advertisements on websites for high school students hoping to attend college such as
     collegeconfidential.com and collegeview.com.

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 1   should do it.”340 Nevertheless, JLI continued to push its campaign on websites with young

 2   demographics.

 3          300.     JLI promoted the Vaporized campaign on Facebook, Instagram, and Twitter.

 4          301.     JLI could have employed age-gating on its social media accounts to prevent

 5   underage consumers from viewing its Vaporized advertisements, but chose not to do so.

 6          302.     The Vaporized campaign included the largest e-cigarette smartphone campaign

 7   of 2015, which accounted for 74% of all such smartphone advertising that year.

 8          303.     JLI promoted Vaporized through Vice Magazine, which bills itself as the “#1

 9   youth media brand” in the world.341

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            304.     By 2016, an estimated 20.5 million U.S. middle and high school students were
19
     exposed to advertisements for e-cigarettes, including JUUL.342
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                            b.     JLI Used Influencers and Affiliates to Amplify Its Message to
21
                                   a Teenage Audience.
22
            305.     JLI used “influencers” to push their product to young people. Influencers are
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24
     340
25       INREJUUL_00082179-INREJUUL_00082185.
     341
         Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes
26   (Nov. 16, 2018), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-
     focus-of-juuls-early-marketing-campaigns/#3da1e11b14f9.
27   342
         Kristy Marynak et al., Exposure to Electronic Cigarette Advertising Among Middle and
28   High School Students – United States, 2014-2016, CDC: Morbidity and Mortality Weekly
     Report (Mar. 16, 2018), https://www.cdc.gov/mmwr/volumes/67/wr/mm6710a3.htm.

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 1   “high-social net worth” individuals who have developed large social media followings—i.e., the

 2   “cool kids” of the social media world.343 Influencers are prized sources of brand promotion on

 3   social media networks.

 4          306.   Like its Vaporized campaign, JLI’s influencer strategy was youth-focused, with

 5   the stated aim of “show[ing] that the tastemakers, cool kids and early adopters who consume

 6   tobacco use JUUL.”344 In keeping with this strategy, JLI targeted influencers that were young

 7   and popular with adolescents. One influencer JLI targeted was Tavi Gevinson, who was

 8   nineteen years old in the summer of 2015. The year before, Rolling Stone magazine described

 9   Gevinson as “possibly the most influential 18-year-old in America.”345

10          307.   JLI contracted with Grit to enlist influencers by sending them free JUUL e-
11   cigarettes. Grit provided free JUULs to Luka Sabbat, known as the “the Internet’s Coolest
12   Teenager,”346 who was 17 years old during the summer of 2015.
13          308.   Grit targeted celebrities with large numbers of underage fans, including Miley
14   Cyrus, former star of “Hannah Montana,” a series that aired for four seasons on the Disney
15   Channel and won eight Teen Choice Awards.347
16          309.   JLI encouraged its distributors, wholesalers, and other resellers—either explicitly
17   or implicitly— to hire affiliates and influencers to promote JLI’s brand and products. Even if
18   not paid directly by JLI, these influencers profited from the promotion of JUUL products either
19   because they were paid by JUUL resellers, JUUL accessory sellers, or sellers of JUUL-

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21   343
         See INREJUUL_00091138 (Aug. 26, 2015 “JLI Influencer Program” defining an influencer
     as “individuals who have strong influence over their audience. We are aiming for influencers in
22
     popular culture with large audiences in various sectors such as music, movies, social, pop
23   media, etc.”).
     344
         INREJUUL_00057293.
24   345
         Alex Morris, Tavi Gevinson: A Power Teen’s New Direction, Rolling Stone (Aug. 14,
25   2014), https://www.rollingstone.com/culture/culture-features/tavi-gevinson-a-power-teens-
     new-direction-232286/.
26   346
         Alexis Barnett, Who Is Luka Sabbat? Meet the Internet’s Coolest Teenager, Complex (Aug.
     17, 2015), https://www.complex.com/style/luka-sabbat-interview-on-youth-kanye-west-and-
27
     fashion.
     347
28       See, INREJUUL_00091141 (Aug. 26, 2015 “JLI Influencer Seeding Chart” provided by
     Grit listing various celebrities and influencers, including Miley Cyrus.).

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 1   compatible products.

 2          310.    For example, one YouTube user Donnysmokes (Donny Karle, age twenty-one)

 3   created a JUUL promotional video in 2017 that garnered roughly 52,000 views, many of which

 4   were from users under the age of eighteen.348 Since that time, Karle has made a series of videos,

 5   including one titled “How to HIDE & HIT Your JUUL at SCHOOL WITHOUT Getting

 6   CAUGHT.”349 Karle has admitted to earning approximately $1200 a month from unspecified

 7   sources simply from posting videos of himself consuming e-cigarettes, especially of JUUL

 8   products online.350

 9          311.    At least one JLI sales representative sent DonnySmokes a private message

10   thanking him for promoting JUUL products on social media. Similarly, JUUL repeatedly
11   thanked and encouraged the owner of the @JUULnation Instagram account for his posting of
12   youth-oriented JUUL content on Instagram.
13          312.    In or around 2017, JLI began using a company called Impact Radius for the
14   management of JLI’s affiliate program. Impact Radius’s affiliate application stated that JLI
15   “auto-approve[d]” applications and did not ask for or confirm the affiliate’s age.351 JLI’s
16   affiliates promoted JUUL on social media platforms including YouTube, Instagram, Facebook,
17   Snapchat, and Twitter and routinely failed to disclose that they were being paid to promote
18   JUUL products.
19          313.    As with much of the marketing strategy for JUUL, the practices described above

20   are prohibited by the Master Settlement Agreement.

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     348
23       Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
     Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
24   (statement of Robert K Jackler, Professor, Stanford University).
     https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-
25
     JacklerR-20190724.pdf.
     349
26       Id.
     350
         Allie Conti, This 21-year-old is Making Thousands a Month Vaping on YouTube, Vice (Feb.
27
     5, 2018), https://www.vice.com/en_us/article/8xvjmk/this-21-year-old-is-making-thousands-a-
28   month¬vaping-on-youtube.
     351
         INREJUUL_00113437-INREJUUL_00113441.

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 1                         c.      JLI Used Viral Marketing Techniques Known to Reach
 2                                 Young People.
 3          314.    JLI deployed “viral marketing” techniques to great success. Viral marketing is

 4   defined as “marketing techniques that seek to exploit pre-existing social networks to produce

 5   exponential increases in brand awareness, through processes similar to the spread of an

 6   epidemic.”352 Viral marketing effectively converts customers into salespeople, who, by sharing

 7   their use of a product (on social media or otherwise), repeat a company’s representations and

 8   endorse the product within their network. The success of viral marketing depends on peer-to-

 9   peer transmission. Hence, a successful viral marketing campaign looks like a series of unrelated,

10   grassroots communications, when in fact they are the result of carefully orchestrated corporate
11   advertising campaigns.
12          315.    Social media platforms are the most effective way to launch viral marketing
13   campaigns among young people. As of May 2018, among teenagers, 95% reported use of a
14   smart phone, 85% use YouTube, 72% use Instagram, and 45% reported being online
15   “constantly.”353
16          316.    A key feature of JLI’s viral marketing campaign was inviting user-generated
17   content. This strategy revolves around prompting social media followers to provide their own
18   JUUL-related content—e.g., post a selfie in your favorite place to use JUUL. The response
19   provided by a user is then typically distributed—by the social media platform employed—into

20   the user’s personal network. In this way, brands can infiltrate online communities with

21   personalized content that promotes their product (e.g. a picture of a friend using a JUUL e-

22   cigarette at the beach). Within a few months of the JLI’s commercial release in June 2015, a

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24   352
         N. Deepa et al., Viral Marketing as an On-Line Marketing Medium, IOSR J. of Bus. &
25   Mgmt. 18, http://www.iosrjournals.org/iosr-jbm/papers/ncibppte-volume-2/1115.pdf (last
     visited Apr. 3, 2020); P. R. Datta et al., Viral Marketing: New Form of Word-of-Mouth
26   Through Internet, 3 The Bus. Rev. 69 (2005).
     353
27       Monica Anderson & Jingjing Jiang, Teens, Social Media & Technology 2018: Appendix A:
     Detailed Tables, Pew Research Center (May 31, 2018),
28   https://www.pewresearch.org/internet/2018/05/31/teens-technology-appendix-a-detailed-
     tables/.

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 1   former JLI executive reportedly told the New York Times that JLI “quickly realized that

 2   teenagers were, in fact, using [JUULs] because they posted images of themselves vaping JUULs

 3   on social media.”354

 4          317.      To drive consumer participation in its ad campaign, JLI peppered its advertising

 5   and social media posts with hashtags, including those referencing JLI and consuming e-

 6   cigarettes    (e.g.,   #juul,   #juulvapor,   #switchtojuul,   #vaporized,   #juulnation,   #juullife,

 7   #juulmoment); and trending topics unrelated to JUUL, as well as topics #mothersday,

 8   #goldenglobes, #nyc, etc. JLI’s hashtag marketing went beyond passive posts to being “very

 9   proactive to find and reach out to people who are (or might be) interested in JUUL. This means

10   searching hashtags to engage, using widely used hashtags, paying close attention to our
11   followers, being responsive to posts, etc.”355
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            318.      JUUL users began taking photos of themselves using JUUL devices and putting
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     them on social media with the hashtag #juul. They were creating JUUL content that looked and
23
     felt like real JUUL ads: featuring young people having fun and using JUUL. The flavor-based
24
     hashtag campaigns #MangoMonday and #coolmint generated hundreds of thousands of user-
25

26
     354
         Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?,
27
     N.Y. Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
28   marketing.html.
     355
         INREJUUL_00093294.

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 1   generated posts.

 2          319.    JLI could have stepped in and attempted to stop the use of its trademark in posts

 3   directed to underage audiences, including the use of all the hashtags that contain the word

 4   “JUUL.” It could have sought to shut down infringing accounts such as @doit4juul and

 5   @JUULgirls. It did not do so.

 6                      5.   JLI Targeted Youth Retail Locations.
 7          320.    Studies show that tobacco use is associated with exposure to retail advertising

 8   and relative ease of in-store access to tobacco products. Some studies have shown that youth

 9   who were frequently exposed to point of sale tobacco marketing were twice as likely to try or

10   initiate smoking than those who were not as frequently exposed.
11          321.    For years, JLI made it difficult for smoke shops and other age-restricted stores to
12   carry its products, instead directing its product to gas stations and convenience stores, which
13   historically make the most underage sales. JLI knows that nicotine-naïve young people frequent
14   gas stations and convenience stores rather than smoke shops. By distributing in those kinds of
15   stores, JUUL increased the likelihood that these people would purchase its product.
16          322.    JLI marketed its products extensively in convenience stores, employing video
17   and product displays with bright colors and young adults using and displaying the JUUL device.
18   The retail marketing worked and, by late 2017, JUUL became the most popular e-cigarette sold
19   in convenience stores according to Nielsen data.356

20          323.    Like all in-store cigarette advertising, JLI’s point–of–sale materials played a

21   major role in driving youth addiction. JLI actively encouraged youth to seek out these laxly

22   regulated retail locations, sending marketing e-mails to hundreds of thousands of customers,

23   referring them to the JUUL store locator and offering discounts. And JLI actively encouraged its

24   retailers to leniently regulate sales to youth by providing profit margins that far exceeded any

25   other tobacco product being sold.

26

27   356
        Laura Bach, JUUL and Youth: Rising E-Cigarette Popularity, Campaign for Tobacco-Free
28   Kids (July 6, 2018), http://www.kdheks.gov/tobacco/download/Campaign_for_tobacco-
     free_kids_rising_popularity_of_e-cigarettes.pdf.

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 1          324.   Before JUUL’s launch in 2015, JLI and Cult Collective developed packaging and

 2   in-store displays that looked similar to iPhone packaging, which JLI knew would resonate with

 3   young people and further JLI’s campaign to be the “the iPhone of e-cigarettes.”

 4          325.   As a 2015 marketing plan shows, JLI’s in-store promotional content “stands out”

 5   from competing tobacco products by conveying that the “JUUL brand is colorful, approachable,

 6   and fun—core elements of trade support assets.”357

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16                     6.    JLI Hosted Parties to Create a Youthful Brand and Gave Away

17                           Free Products to Get New Consumers Hooked.

18          326.   JLI also sponsored at least twenty-five live social events for its products in

19   California, Florida, New York, and Nevada. The invitations to JUUL’s events did not indicate

20   that the JUUL was intended for cigarette smokers, contained nicotine, or was addictive.358

21   Instead, the invitations traded on PAX Lab, Inc.’s (PAX) reputation as a manufacturer of

22   marijuana vaporizers and promised attendees “free #JUUL starter kit[s],” live music, or slumber

23   parties.359 Photographs from these events indicate that they drew a youthful crowd. Product

24   promotion through sponsored events was a long-standing practice for cigarette companies, but is

25   now prohibited.

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27   357
         INREJUUL_00370796-INREJUUL_00370806, 805.
     358
28       See Appendix B, Advertisements 78-81.
     359
         Id.

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 1          327.    At these live social events, JLI gave attendees free JUUL “Starter Kits,” which

 2   contain a JUUL device and 4 JUUL pods of various flavors. JLI gave away samples at music

 3   events without age restrictions, including Outside Lands in San Francisco’s Golden Gate Park.

 4          328.    Giving away free samples is prohibited conduct for a cigarette company under

 5   the Master Settlement Agreement.

 6          329.    JLI also held sampling events in stores. By September 2015, JLI was on schedule

 7   to host sampling events in more than 5,000 stores in twenty cities in twelve states.360 Documents

 8   obtained by the New York Attorney General show that JLI recruited young “brand

 9   ambassadors” to staff these events and required a dress code that included skinny jeans, high-

10   top sneakers or booties, and an iPhone in a JUUL-branded case.361
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            330.    Though JLI publicly acknowledged in October 2017 that it is unlawful to
20
     distribute free samples of its products at live events,362 it continued to reach out to new users by
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22
     360
         INREJUUL_00160394.
23   361
         Jake Offenhartz, Juul Hooked Teens Through Sick Parties and Hip Ambassadors, NY AG
24   Says, Gothamist (Nov. 19, 2019), https://gothamist.com/news/juul-hooked-teens-through-sick-
     parties-and-hip-ambassadors-ny-ag-says; Kathleen Chaykowski, The Disturbing Focus of
25   Juul’s Early Marketing Campaigns, Forbes (Nov. 16, 2018),
     https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-juuls-
26   early-marketing-campaigns/#3da1e11b14f9.
     362
27       See Nik Davis (@bigbabynik), Twitter (Nov. 17, 2017 1:11 PM),
     https://twitter.com/JLIvapor/status/931630885887266816; The Role of the Company in the Juul
28   Teen Epidemic, Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H.
     Comm. on Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong.

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 1   offering samples, sometimes at $1 “demo events.” Like so many of JLI’s initiatives, promotions

 2   of this kind are prohibited for cigarette companies by the Master Settlement Agreement.

 3          331.    The effect—and purpose—of JLI’s Vaporized giveaways was to flood major

 4   cities with products that would hook thousands of new users, and to generate buzz for the brand

 5   among urban trendsetters who would then spread JLI’s message to their friends via word of

 6   mouth and social media.

 7          332.    According to BeCore, one of the firms responsible for designing and

 8   implementing JLI’s live events, JLI distributed the nicotine-equivalent of approximately

 9   500,000 packs of cigarettes at all twenty-five events.363 And this was just to get people started.

10                    7.         The Management Defendants’ Direction and Participation in the
11                               Youth Marketing Schemes.
12                          a.       The Management Defendants, and in particular Bowen,
13                                   Monsees, Pritzker, Huh, and Valani, oversaw the youth
14                                   marketing scheme.
15          333.    The Management Defendants were well aware that JUUL branding was oriented
16   toward teens and duplicated earlier efforts by the cigarette industry to hook children on nicotine.
17   The Management Defendants directed and approved JUUL branding to be oriented toward
18   teenagers. The Management Defendants directed and participated in each marketing campaign
19   pushing the JUUL e-cigarette, as they had “final say” over all marketing campaigns (including

20   the Vaporized campaign and the other formal and informal marketing efforts described

21   above),364 and Monsees provided specific direction on the content of the website to JLI

22   employees.

23
     (2019) (statement of Robert K Jackler, Professor, Stanford University).
24
     https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-
25   JacklerR-20190724.pdf.
     363
         Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market,
26   Stanford Research Into the Impact of Tobacco Advertising 9 (Jan. 31, 2019),
     http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
27   364
         Examining JLI’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the
28   Subcomm. on Econ. & Consumer Policy of the Comm. on Oversight & Reform, H.R., 116th
     Cong. 70 (2019) (statement of James Monsees, Co-Founder, JUUL Labs, Inc.).

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 1          334.    After launch, executives and directors discussed whether to rein in the

 2   advertising to teenagers. According to Scott Dunlap, then Chief Operating Officer, in June

 3   2015, Nicholas Pritzker commented that the branding “feels too young[.]”365 In early July 2015,

 4   Nicholas Pritzker, Riaz Valani, and Alexander Asseily “spoke[] at length on the JUUL

 5   approach[,]” and Asseily also “spoke to James [Monsees] at length” on the same topic.366

 6   Asseily followed up with a lengthy email to Valani and Pritzker, which he also sent to Richard

 7   Mumby. He began by noting that “our fears around tobacco / nicotine are not going away. We

 8   will continue to have plenty of agitation if we don’t come to terms with the fact that these

 9   substances are almost irretrievably connected to the shittiest companies and practices in the

10   history of business.”367 He stated that “an approach needs to be taken that actively, if implicitly,
11   distances us from [Big Tobacco]: what we say, the way we sell, the way we run the company,
12   what we emphasi[z]e, who we hire, etc.”368 Referring to JLI’s strategy to use the same
13   marketing techniques as major tobacco companies used to market to youths, Asseily added that
14   “[t]he trouble with just doing ‘what the others do’ is that we’ll end up as Nick [Pritzker] rightly
15   points out in the same ethical barrel as them, something none of us want no matter the payoff (I
16   think).”369 He continued that “the world is transparent and increasingly intolerant of bullshit. It’s
17   not about faking it - it’s about doing it correctly....which could mean not doing a lot of things
18   we thought we would do like putting young people in our poster ads or drafting in the
19   wake of big players in the market.”370
20          335.    But some company leaders, including Huh, opposed any actions to curb youth

21   sales. Youth sales were a large potential source of revenue.371 As one manager explained,

22   perhaps “people internally had an issue” with sales of JUULs to teenagers, “[b]ut a lot of people

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     365
24       JLI00206239.
     366
         JLI00214617.
25   367
         Id.
     368
26       Id.
     369
         Id.
27   370
         Id.
     371
28       Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5,
     2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.

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 1   had no problem with 500 percent year-over-year growth.”372 And company leaders understood

 2   that teenagers who were hooked on nicotine were the most likely segment to become lifelong

 3   addicts and thus were the most profitable customers to target.373

 4          336.    In October 2015, JLI leadership resolved the debate in favor of selling to teens.

 5   Even though the directors and executives of JLI knew—and explicitly stated—that what they

 6   were doing was wrong, JLI pressed ahead with its youth-oriented Vaporized ad campaign

 7   through early 2016.374

 8          337.    The company also implemented the Board’s decision in October 2015 to target

 9   and sell to minors in many other ways. For example, in early October 2015, sales and marketing

10   employees of Pax Labs noted that only 74% of users were able to pass the age gate on the
11   website, “which is a steep decline in sales for us.”375 In mid-January 2016, a similar group of
12   employees estimated that about 11% of those reaching the JUUL Purchase Confirmation Page
13   on Pax Labs’s own website were under 18 years old.376 But, rather than strengthen JUUL’s age
14   verification system, Pax Labs worked to weaken it. In February 2016,377 Pax Labs modified the
15   age verification system so that 92% of users were able to pass the age gate.378 By changing the
16   age verification process so that users were more likely to pass—while knowing that some
17   minors had already been able to pass before the change—Pax Labs deliberately chose to
18   continue selling to underage purchasers.
19          338.    In July 2015, Asseily suggested “a cheeky campaign that asks existing smokers

20   to return their unused cigarette packets (or other vaping products) to us in return for a discount

21
     372
22       Id.
     373
         Id.
23   374
         The Vaporized advertising campaign continued at least into early 2016. Robert K. Jackler et
24   al., JUUL Advertising Over Its First Three Years on the Market, Stanford Research Into the
     Impact of Tobacco Advertising 7 (Jan. 31, 2019),
25   http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
     375
26       INREJUUL_00276445.
     376
         Native attachment to INREJUUL_00078494.
27   377
         JLI00068428.
     378
28       Kate Horowitz’s LinkedIn profile,
     https://www.linkedin.com/in/k8horowitz (last visited Mar. 9, 2020).

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 1   on JUUL” because that would “send the only message that’s needed: JUUL is a superior

 2   alternative to conventional smoking and mediocre vaping products.”379 But JLI did not run this

 3   campaign then and in fact did not begin focusing its advertising on switching from combustible

 4   cigarettes until 2018.380

 5          339.    By March 2016, however, JLI employees internally recognized that JLI’s efforts

 6   to market to children were too obvious. On March 2, 2016, Richard Mumby, the Chief

 7   Marketing Officer, sent a document related to JLI’s branding to Hoyoung Huh and a number of

 8   other marketing employees of JLI.381 According to Mumby, he was sending the document

 9   because Hoyoung Huh “indicated that [he] would review [JLI’s] brand and collateral

10   positioning on behalf of the board.”382 The attached document noted that “[t]he models that we
11   used for the #Vaporized campaign appeared to be too youthful for many consumers (and the
12   media)[.]”383 Under a header that listed as one of JLI’s “Objectives” to “Be Different & Have
13   Integrity[,]” the document stated that “[w]e need to be sensitive to the subjectivity of
14   youthfulness by positioning the brand to be mature and relatable.”384 On March 11, 2016,
15   Mumby sent another version of this document to Hoyoung Huh and Zach Frankel, who was an
16   observer on the Board and would later become a director, and Mumby thanked them “for the
17   support on this.”385 Around this time, Pax Labs reoriented its JUUL advertising from the
18   explicitly youth-oriented Vaporized campaign to a more subtle approach to appeal to the young.
19   The advertising’s key themes continued to include pleasure/relaxation, socialization/romance,

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23   379
         JLI00214617.
     380
24       Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market,
     Stanford Research Into the Impact of Tobacco Advertising 16 (Jan. 31, 2019),
25   http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
     381
         INREJUUL_00178377.
26   382
         INREJUUL_00061469.
27   383
         INREJUUL_00178379.
     384
28       INREJUUL_00178384.
     385
         INREJUUL_00061274.

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 1   and flavors386—all of which still appealed to teenagers.

 2          340.    The Management Defendants continued to direct and approve misleading

 3   marketing campaigns long after launch. For example, JLI deceptively marketed mint to youth,

 4   through flavor-driven advertising, hashtag campaigns, and ads cross-promoting mango and

 5   mint. Through their positions on the JLI Board of Directors, the Management Defendants were

 6   directly responsible for this marketing, as they had “final say” over all of JLI’s marketing

 7   activities.387 In other words, JLI and the Management Defendants controlled the messaging

 8   around JUUL products.

 9          341.    Notably, none of JLI’s early advertisements, including those of the “Vaporized”

10   campaign and others targeted to youths, disclosed that JUUL contains high amounts of nicotine;
11   indeed, many of those advertisements did not advertise JUUL’s nicotine content whatsoever.
12          342.    Likewise, none of JLI’s advertisements, including those of the “Vaporized”
13   campaign and others targeted to youths, disclosed the health risks from consuming JUUL
14   products.
15          343.    JLI and the Management Defendants knew of course that JUUL contained an
16   ultra-high concentration of nicotine, and that ultra-high concentration of nicotine was designed
17   to addict. They also knew that e-cigarette products, including JUUL, would expose users to
18   increased health risks, including risks to their lungs and cardiovascular system. Despite that
19   knowledge, JLI and the Management Defendants took affirmative actions, the natural

20   consequence of which was the approval and transmission of these false and misleading

21   advertisements that did not include a disclosure of JUUL’s high nicotine content and

22   concentration, nor any health risks at all.

23

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25   386
         Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market,
26   Stanford Research Into the Impact of Tobacco Advertising 9 (Jan. 31, 2019),
     http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
27   387
         Examining JLI’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the
     Subcomm. on Econ. & Consumer Policy of the Comm. on Oversight & Reform, H.R, 116th
28
     Cong. 70 (2019) (statement of James Monsees, CPO, JLI Labs).

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 1                          b.     Pritzker, Huh, and Valani Were Able to Direct and
 2                                 Participate in the Youth Marketing Because They Seized
 3                                 Control of the JLI Board of Directors.
 4            344.   Although Defendants Bowen and Monsees were the visionaries behind JLI and

 5   the most hands-on in its early stages, by the time JLI was pushing its marketing campaigns in

 6   early-to mid-2015, JLI (through the individuals running the company), Bowen, Monsees,

 7   Pritzker, Huh, and Valani were each intimately involved in the planning and execution of

 8   activities.

 9            345.   For example, JLI stopped interacting with the press in the summer of 2015 while

10   its Board of Directors, led by Bowen, Monsees, Pritzker, Huh, and Valani, was finalizing a
11   “messaging framework.”388 A legitimate business enterprise would typically ramp up, rather
12   than shut down, press outreach at the very time the company is supposed to be building
13   awareness for its recently launched product.
14            346.   But the Management Defendants at this point were taking actions that went
15   beyond the regular and legitimate business operations of JLI. At the same time JLI stopped
16   traditional press engagement, the Board of Directors was directing and monitoring the launch
17   plans that they had set in motion – including the launch of sponsored content on social media in
18   July 2015 (which content did not include any warnings about JUUL’s nicotine content or health
19   risks).389

20            347.   And at the same time the Management Defendants had approved the early JLI

21   marketing campaigns that were intentionally targeting youth, the Management Defendants were

22   planning a fundamental shift in roles to allow Defendants Pritzker, Huh, and Valani to take

23   charge of the instrumentalities of JLI, including its employees and resources.

24            348.   Specifically, in October 2015, Monsees stepped down from his role as Chief

25   Executive Officer of JLI (to become Chief Product Officer) and, in his stead, Pritzker, Huh, and

26   Valani formed an Executive Committee of the JLI Board of Directors that would take charge of

27
      388
28          INREJUUL_00056077 [Confidential].
      389
            Id.

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 1   fraudulently marketing JUUL products, including to youth. The Management Defendants, and

 2   in particular Huh, wanted to continue their fraudulent marketing, knowing that these ads were

 3   also targeted to youth, “argu[ing] that the company couldn’t be blamed for youth nicotine

 4   addiction[.]”390

 5          349.    JLI’s organizational charts later reflected the executive committee in the place of

 6   a CEO. Before late 2015, the company’s organizational charts showed the CEO at the head of

 7   the company, reporting to the Board.391

 8          350.    After Monsees was removed as CEO, the executive committee appeared in the

 9   place of the CEO.392

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            351.    Board minutes also illustrate the direct control of the company and all the critical
22
     decisions about how to market JLI by the Executive Committee. Until late October 2015,
23
     Monsees ran Board meetings.393 In late October 2015 and thereafter, however, Huh began
24

25   390
         Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5,
26   2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
     391
         See INREJUUL_00016456 (July 9, 2014).
27   392
         INREJUUL_00278332 (Dec. 7, 2015); INREJUUL_00061420 (Apr.21, 2016).
     393
28       See INREJUUL_00278406 et seq. (Oct. 5, 2015); INREJUUL_00278410 et seq. (Sept. 24,
     2015).

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 1   running Board meetings.394 Also, the late October minutes report that the “Board discussed . . .

 2   the additional responsibilities that would be assigned to Bryan White” (who was a Vice

 3   President of Engineering and Product Design at the time), and furthermore that “[a] discussion

 4   followed regarding who Bryan should report to, and it was agreed that the executive committee

 5   that had been formed since the last Board meeting, consisting of Messrs. Huh, Pritzker and

 6   Valani, would address this issue.”395 Additionally, the Board “discussed how these new roles

 7   and responsibilities would be communicated internally.”396 As these minutes illustrate, the

 8   Executive Committee was acting as the CEO of the company at this time.

 9          352.    Similarly, in December 2015, at Board of Directors/Executive Committee

10   meeting, it was decided that “Hoyoung [Huh] will make decisions on behalf of the BOD [Board
11   of Directors] Exec[utive] Comm[ittee]” and “3-4 days/week Nick [Pritzker] and/or Hoyoung
12   [Huh] will be in the office” to “help us manage our people[.]”397
13          353.    Over the next year, until the installation of a new CEO in August 2016,
14   Defendants Pritzker, Huh, and Valani used their newly formed Executive Committee to expand
15   the number of addicted e-cigarette users through fraudulent advertising and representations to
16   the public. They cleaned house at JLI by “dismiss[ing] other senior leaders and effectively
17   tak[ing] over the company.”398 Defendants Huh, Pritzker, and Valani wanted even “more
18   aggressive rollout and [marketing].”399 Despite any potential internal misgivings about their
19   fraudulent conduct, notably, none of Management Defendants terminated their relationship with

20   JLI during this time period.

21                    8.     JLI and the Management Defendants Knew Their Efforts Were
22                           Wildly Successful in Building a Youth Market and Took
23
     394
24       See INREJUUL_00278404 et seq. (October 26, 2015); INREJUUL_00278402 et seq. (Nov.
     10, 2015).
25   395
         INREJUUL_00278405 (Oct. 26, 2015).
     396
26       Id.
     397
         INREJUUL_00061856.
27   398
         Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. Times
28   (Nov. 24, 2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
     399
         INREJUUL_00278359.

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 1                               Coordinated Action to Ensure That Youth Could Purchase JUUL
 2                               Products.
 3                          a.       JLI’s Strategy Worked.
 4          354.    The Management Defendants knew that the JUUL marketing campaigns they

 5   directed and approved were successful in targeting youth. As Reuters has reported, “the first

 6   signs that JUUL had a strong appeal to young people came almost immediately after the sleek

 7   device went on sale in 2015 . . . . Employees started fielding calls from teenagers asking where

 8   they could buy more JUULs, along with the cartridge-like disposable ‘pods’ that contain the

 9   liquid nicotine.”400 A former senior manager told the New York Times that “[s]ome people

10   bought more JLI kits on the company’s website than they could individually use—sometimes 10
11   or more devices.” He added that “[f]irst, they just knew it was being bought for resale,” but later
12   “when they saw the social media, in fall and winter of 2015, they suspected it was teens.”401
13   Adam Bowen admitted that “he was aware early on of the risks e-cigarettes posed to
14   teenagers[.]”402 On January 5, 2016, Gal Cohen forwarded a presentation dated December 16,
15   2015, which asked the question: “If large numbers of youth are initiating tobacco use with
16   flavored e-cigarettes, but adults [sic] smokers may benefit from completely switching to an e-
17   cigarette, what should the market look like?”403 It was common knowledge within JLI that
18   JUULs were being sold to children.
19          355.    After the Vaporized campaign, retail stores began selling out of JUUL products,

20   and JLI had a difficult time trying to meet demand coming from its online ordering platform.

21          356.    Furthermore, it was obvious to those outside the company that JLI was selling

22   JUUL products to children. In June 2015, reporting on the “Vaporized” campaign that

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24   400
         Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5,
     2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
25   401
         Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?: The
26   e-cigarette company says it never sought teenage users, but the F.D.A. is investigating whether
     Juul intentionally marketed its devices to youth, NY Times (Aug. 27, 2018),
27   https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
     402
28       Id.
     403
         INREJUUL_00339938 (emphasis added).

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 1   accompanied the JUUL launch, AdAge reported that John Schachter, director of state

 2   communications for Campaign for Tobacco-Free Kids, “expressed concern about the JUUL

 3   campaign because of the youth of the men and women depicted in the campaign, especially

 4   when adjoined with the design” and added that there had been “obvious trends that appeal to

 5   adolescents in e-cigarette campaigns[.]”404 Robert Jackler, a Stanford physician who

 6   investigated JLI’s launch campaign, concluded that “JLI’s launch campaign was patently youth-

 7   oriented.”405 JLI’s commercials’ attempts to appeal to teenagers were so obvious that, by

 8   October 2015, Stephen Colbert ran a satirical segment on it that noted, among other things:

 9   “And it’s not just ads featuring hip young triangles that appeal to the youths; so do vape flavors

10   like cotton candy, gummi bear, and skittles.”406
11          357.    Moreover, the Management Defendants knew that kids were marketing JLI
12   products on social media, and some even sought to take advantage of that to build the JLI brand.
13   For example, on July 16, 2016, Adam Bowen emailed Tyler Goldman about social media posts
14   by children about JUUL e-cigarettes, stating, “I’m astounded by this ‘ad campaign’ that
15   apparently some rich east coast boarding school kids are putting on.”407 Bowen added that “Riaz
16   [Valani] was thinking maybe we can leverage user generated content.”408
17                         b.      JLI Closely Tracked Its Progress in Reaching Young
18                                 Customers through Social Media and Online Marketing
19          358.    Tracking the behaviours and preferences of youth that are under twenty-one, and

20   especially those under eighteen, has long been essential to the successful marketing of tobacco

21

22   404
         Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’,
23   AdAge (June 23, 2015), http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-
     ads¬campaign/299142/.
     405
24       Erin Brodwin, See how Juul turned teens into influencers and threw buzzy parties to fuel its
     rise as Silicon Valley's favorite e-cig company, Bus. Insider (Nov 26, 2018),
25
     https://www.businessinsider.com/stanford-juul-ads-photos-teens-e-cig-vaping-2018-11.
     406
26       The Late Show with Stephen Colbert: Vaping is So Hot Right Now, YouTube (Oct. 7, 2015),
     https://www.youtube.com/watch?v=PMtGca_7leM. The “triangles” ad was a JUUL ad; the
27   listed flavors were not, but JUUL also had flavors that appealed to children.
     407
28       JLI00382271.
     408
         Id.

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 1   products. Whether the activity is called “tracking” or “targeting,” the purpose has always been

 2   the same: getting young people to start smoking and keeping them as customers.

 3          359.    As early as 1953, Philip Morris was gathering survey data on the smoking habits

 4   of “a cross section of men and women 15 years of age and over.”409 Commenting on these data,

 5   George Weissman, then-Vice President of Philip Morris, observed that “we have our greatest

 6   strength in the 15-24 age group.”410

 7          360.    Traditional approaches to youth tracking (e.g., interviews conducted face-to-face

 8   or over the telephone) were limited, however, in that they often failed to capture data from

 9   certain subsets of the target market. As a Philip Morris employee noted in a June 12, 1970

10   memorandum, Marlboro smokers were “among the types of young people our survey misses of
11   necessity (on campus college students, those in the military and those under 18 years of
12   age).”411
13          361.    However, modern technology has removed many of the hurdles that made youth
14   tracking difficult in decades past. With e-mail, social media and online forums, JLI can track,
15   and has consistently tracked and monitored its target youth market, including those below the
16   minimum legal age to purchase or use JUUL products.
17          362.    Using the tools available to it, JLI would have known that its viral marketing
18   program was a resounding success, and in particular with young people.
19          363.    Between 2015 and 2017, JUUL-related posts on Twitter increased quadratically,

20   which is the exact result to be expected from an effective viral marketing campaign.412 Its

21   growth on Instagram was likely even more rapid.

22          364.    A 2018 study of JLI’s sales and presence on social media platforms found that

23   JLI grew nearly 700%, yet spent “no recorded money” in the first half of 2017 on major

24

25   409
         Philip Morris Vice President for Research and Development, Why One Smokes, First Draft,
26   1969, Autumn (Minnesota Trial)
     410
         United States v. Philip Morris, 449 F. Supp. 2d 1, 581 (D.D.C. 2006).
27   411
         Id.
     412
28       See Brittany Emelle, et al., Mobile Marketing of Electronic Cigarettes in the U.S., (May
     2017), https://www.slideshare.net/YTHorg/mobile-marketing-of-electronic-cigarettes.

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 1   advertising channels, and spent only $20,000 on business-to-business advertising.413 Despite

 2   JLI’s apparently minimal advertising spend in 2017, the study found a significant increase in

 3   JUUL-related tweets in 2017.414

 4          365.    On Instagram, the study found seven JUUL-related accounts, including

 5   DoIt4JUUL and JUUL.girls, which accounted for 4,230 total JUUL-related posts and had more

 6   than 270,000 followers.415

 7          366.    In addition to JUUL’s explosive growth on individual social media platforms, the

 8   study found JUUL products being marketed across platforms in an apparently coordinated

 9   fashion, including smaller targeted campaigns and affiliate marketing, all of which caused the

10   authors to question whether JLI was paying for positive reviews and JUUL-related social media
11   content.
12          367.    The lead author of the study concluded that JLI was “taking advantage” of the
13   reach and accessibility of multiple social media platforms to “target the youth and young adults
14   . . . because there are no restrictions,” on social media advertising.416
15          368.    A separate study of e-cigarette advertising on mobile devices, where young
16   people spend most of their day consuming media, found that 74% of total advertising
17   impressions were for JUUL products.417
18          369.    A 2019 study found that as much as half of JUUL’s Twitter followers were aged
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22   413
         Jidong Huang et al., Vaping versus JUULing: how the extraordinary growth and marketing
23   of JUUL transformed the US retail e-cigarette market, Tobacco Control (May 31, 2018),
     https://tobaccocontrol.bmj.com/content/28/2/146.full.
24   414
         Id.
     415
25       Id.
     416
         Laura Kelly, JUUL Sales Among Young People Fueled by Social Media, Says Study, The
26   Wash. Times (June 4, 2018), https://www.washingtontimes.com/news/2018/jun/4/juul-sales-
     among-young-people-fueled-by-social-med/.
27   417
         See Brittany Emelle et al., Mobile Marketing of Electronic Cigarettes in the U.S., Truth
28   Iniative (May 2017), https://www.slideshare.net/YTHorg/mobile-marketing-of-electronic-
     cigarettes.

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 1   thirteen to seventeen.418

 2          370.    A 2019 study characterizing JUUL-related Instagram posts between March and

 3   May 2018 found that among nearly 15,000 relevant posts from over 5,000 unique Instagram

 4   accounts, more than half were related to youth or youth lifestyle.419

 5          371.    Some Twitter users have reported what appear to be JUUL bots.420 Other Twitter

 6   users appear to either be bot accounts or native advertisers, in that they have a small number of

 7   followers, follow few other users, and post exclusively about JUUL content.421

 8          372.    By April 2018, searching “JUUL” on YouTube yielded 137,000 videos with

 9   forty-three videos having over 100,000 views.422 Of these, a huge number were plainly related

10   to underage use, including: 1,730 videos on “hiding JUUL in school,” 789 on “JUUL in school
11   bathroom,” 992 on “hiding JUUL at home,” and 241 on “hiding JUUL in Sharpie.”423
12          373.    In 2018, JLI was internally collecting hundreds of social media posts—directed
13   at JLI—informing it of JUUL’s wild popularity with young people and in many cases
14   requesting that JLI do something to stop it.424
15                    9.         JLI Coordinates with Veratad Technologies To Expand Youth
16                               Access to JUUL Products.
17          374.    At the same time JLI and the Management Defendants were taking coordinated
18

19   418
         Steven Reinberg, Study: Half of Juul's Twitter followers are teens, young adults, HealthDay
     News, (May 20, 2019) https://www.upi.com/Health_News/2019/05/20/Study-Half-of-Juuls-
20
     Twitter-followers-are-teens-young-adults/1981558384957/.
     419
21       Lauren Czaplicki et al., Characterising JUUL-related posts on Instagram, Truth Initiative
     (Aug. 1, 2019), https://tobaccocontrol.bmj.com/content/early/2019/07/30/tobaccocontrol-2018-
22   054824.
     420
23       One example of what appear to be JUUL bots in action on Twitter is available at:
     https://twitter.com/search?q=juul%20bot&src=typd (last visited Apr. 4, 2020).
24   421
         Hennrythejuul (@hennrythejuul), Twitter (Mar. 4, 2020, 9:35 am)
     https://twitter.com/hennrythejuul.
25   422
         Divya Ramamurthi et al., JUUL and Other Stealth Vaporizers: Hiding the Habit from
26   Parents and Teachers, Tobacco Control 2019, Stanford Univ. (Sept. 15, 2018),
     https://tobaccocontrol.bmj.com/content/tobaccocontrol/28/6/610.full.pdf.
27   423
         Id.
     424
28       Complaint at 60, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18,
     2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.=.

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 1   actions to maintain and expand the number of nicotine-addicted e-cigarette users in order to

 2   ensure a steady and growing customer base through unlawful marketing and distribution

 3   activities, they were coordinating with an outside entity—Veratad Technologies LLC—to get

 4   JUULs into the hands of the largest number of consumers possible.

 5           375.   JLI’s website, including its online store, was pivotal to these efforts. Early

 6   marketing documents show that JLI planned a “consumer journey” that started with a consumer

 7   being exposed to misleading JUUL marketing in stores, where JLI’s “fun” and “approachable”

 8   in-store marketing would lead consumers to JLI’s website for additional misrepresentations and

 9   omissions about JUUL products, an email subscription sign-up, and purchases through JLI’s

10   ecommerce platform:425
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             376.   JLI coordinated with Veratad to provide age verification services for its website
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     from 2015 to 2018. Veratad has also provided age verification services to other e-cigarette
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     425
           INREJUUL_00329660

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 1   sellers, including Lorillard426 and Altria.427 Consistent with the claim on Veratad’s website that

 2   “You can create your own verification rules,” the company encouraged sellers like JLI to set the

 3   desired compliance level for age verification. As a member of a major e-cigarette trade

 4   organization, Veratad also offered insight into what competitors were doing, and offered to

 5   “guide your setup to follow industry best practices for age verification.”

 6          377.    Though it is illegal to sell and ship e-cigarettes to minors under both state and

 7   federal law, JLI and Veratad designed and implemented an age verification system designed to

 8   maximize the number of prospective purchasers who “pass” the process rather than to minimize

 9   the number of underage sales.428 As a result of these intentionally permissive age verification

10   practices, JLI and Veratad used online payment systems and the US mails to ship tens of
11   millions of dollars of JUULpods to unverified customers, many of whom were minors.
12          378.    From June 2015 through the end of 2018, the age verification process on JLI’s
13   website typically prompted prospective purchasers to submit their name, address, and date of
14   birth, which JLI forwarded to Veratad. Veratad then attempted to match all or some limited part
15   of the consumer’s information to a person of the minimum legal sales age in its database. If
16   Veratad was able to locate a sufficient match of the prospective purchaser to a person of the
17   minimum legal sales age in its database, then it would return a “pass” result to JLI. If Veratad
18   was unable to make such a match, Veratad returned a “fail” result to JLI.
19          379.     If Veratad returned a “fail” result to JLI, rather than decline the prospective

20   purchaser, JLI would prompt the person to enter an “alternate” address. If Veratad still could not

21   find a match based on this alternate address, JLI would prompt the consumer to enter the last

22   four digits of his or her social security number.

23          380.    If Veratad, supplied with the last four digits of a consumer’s social security

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25   426
         Staff of Sen. Richard Durbin et al., 113th Cong., Gateway to Addiction? (Apr. 14, 2014),
26   https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
     Cigarettes%20with%20Cover.pdf.
27   427
         INREJUUL_00174362.
     428
28       Complaint at 165, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18,
     2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.=.

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 1   number, still could not match the consumer to a person of the minimum legal sales age in its

 2   database, JLI would prompt the consumer to upload an image or photograph of his or her

 3   driver’s license or another governmental identification document. A JLI employee would then

 4   conduct a personal review of the image and decide whether the consumer was of the minimum

 5   legal sales age.

 6           381.   Crucially, Veratad’s age verification system was purposefully flexible, so JLI

 7   and Veratad could work together to decide just how closely a prospective purchaser’s personal

 8   information had to match records in Veratad’s database in order to “pass” the age verification

 9   process. JLI and Veratad could also set, or modify, the applicable minimum legal sales age to be

10   used for verification.
11           382.   By the fall of 2015, JLI and Veratad knew that bulk purchases were being made
12   for resale on JLI’s website by minors and for resale to minors.429 Nevertheless, the two
13   companies worked together to find ways to “bump up [JLI’s] rate of people who get through
14   age verification.”430 JLI repeatedly sought, and Veratad repeatedly recommended and directed,
15   changes to the age verification process so that more prospective JUUL purchasers would “pass.”
16   Both did so in an effort to increase direct sales of JLI’s e-cigarettes without regard to whether its
17   less stringent age verification process would permit more underage consumers to purchase
18   them.
19           383.   Between June 2015 and August 2017 (and perhaps even through early 2018), JLI

20   and Veratad tailored the age verification system to “pass” prospective purchasers even if certain

21   portions of the purchaser’s personal information—e.g., the purchaser’s street address or date of

22   birth—did not match the information corresponding to a person of the minimum legal sales age

23   in Veratad’s database.431

24
     429
25       Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?: The
     e-cigarette company says it never sought teenage users, but the F.D.A. is investigating whether
26   Juul intentionally marketed its devices to youth, NY Times (Aug. 27, 2018),
     https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
27   430
         INREJUUL_00276489-INREJUUL_00276490
     431
28       Complaint at 43, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18,
     2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.=. A January 29,

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 1           384.    Similarly, between June 2015 and August 2017, JLI and Veratad tailored the

 2   system to “pass” a prospective purchaser under certain circumstances even when the

 3   prospective purchaser’s year of birth did not match the information corresponding to a person of

 4   the minimum legal sales age in Veratad’s database.

 5           385.    JLI and Veratad sought to increase “pass” rates by modifying the age verification

 6   system to allow users multiple opportunities to change their personal information if a match was

 7   not initially found in an appropriate government database. A Veratad Performance Report from

 8   August 5, 2017 shows that, for 1,963 consumers Veratad recorded 3,794 transactions—an

 9   average of 1.93 attempts per consumer.432 Only 966 consumers—less than half—passed age

10   verification on the first attempt.433 By allowing consumers to alter their personal information
11   and attempt age verification up to three times, JLI was able to increase its database match pass
12   rate from 49.2% to 61.2%.434
13           386.    By design, these lax requirements ensured underage consumers could “pass”
14   JLI’s age verification process and purchase JUUL e-cigarettes directly from JLI’s website by
15   using their parent’s name, home address, and an approximate date of birth. JLI was aware of
16   this fact, as evidenced by the multiple complaints it received from parents who alleged their
17   children did just that.435
18           387.    JLI directed and approved the system it had implemented with Veratad that
19   caused accounts with “bad info” to be “AV approved” but, as a Senior Business Systems

20   Manager at JLI commented, “if [v]eratad passed it [then] it’s not on us.”

21
      2018 email exchange between Tom Canfarotta, Director of Strategic Accounts & Client
22
      Quality Services at Veratad, and Annie Kennedy, JUUL’s Compliance Manager, reveals this to
23    have been the case. Kennedy asked Canfarotta why a particular customer had “passed via the
      address step (public record check)…but we’ve since learned that is not a correct address—so
24    we’re curious as to how it passed.” In response, Canfarotta wrote, “Your current rule set does
      not require a full address match.” He went on to explain that approval of the customer was not
25    an anomaly or a mistake; instead, Veratad’s age verification system was working exactly the
      way it was designed.
26    432
          Id.
27    433
          Id.
      434
28        Id.
      435
          INREJUUL_00184119.

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 1          388.    JLI customer service representatives even encouraged those who failed age

 2   verification to “make multiple accounts in order to pass AV [age verification].”436 Customer

 3   service representatives would go so far as to alter identifying information for them; a Slack chat

 4   among customer service representatives confirmed that representatives were authorized to

 5   “adjust the street address, apartment number, or zip code” associated with shipment.437

 6          389.    The age verification procedures designed by JLI and Veratad have allowed

 7   hundreds of thousands of e-cigarette products to be sold and/or delivered to fictitious

 8   individuals at fictitious addresses.438 Many of these improper sales may have been made to

 9   underage purchasers or to resellers who sold the products to underage consumers on the grey

10   market.439
11          390.    By divorcing the address from the other customer data in the age verification
12   process, JLI and Veratad allowed consumers to request that tobacco products be sent to
13   locations other than their permanent legal residences.440 For example, JUUL sent thousands of
14   orders to commercial high rises and office parks.441 It is unlikely these orders would have been
15   approved had JUUL and Veratad required that addresses provided by users match information
16   in an appropriate government database and followed the requirement that the shipping address
17   and billing address be the same.442
18          391.    The failure of the JLI/Veratad age verification procedure was intentional.443 And
19   despite JLI and Veratad’s concerted effort to enable the sale of federally regulated tobacco

20   products to minors, JLI nevertheless publicly touted Veratad as the “gold standard” of age

21   verification services. For example, JLI told a reporter with CBS that “[t]here is an extensive age

22
     436
23       INREJUUL_00215324-INREJUUL_00215325.
     437
24       Complaint at 168, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18,
     2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.=..
     438
25       Id. at 138.
     439
         Id.
26   440
         Id. at 146
27   441
         Id. at 147.
     442
28       Id.
     443
         Id. at 173.

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 1   verification process in place to purchase JUUL online” and that JLI “work[s] with Veratad

 2   Technologies, the state-of-the-art, gold-standard for age verification.”444 JLI later planned on

 3   sending this same, canned false language to a student journalist at Georgetown University.445

 4           392.   In August 2017, JLI responded to public scrutiny by publicly stating that it

 5   would increase the purchase age on its website to 21+ by August 23, 2017. In the weeks leading

 6   up to that date, it emailed the approximately 500,000 or more potential customers to report that

 7   customers who signed up for JLI’s “auto-ship” subscription service before August 23, 2017

 8   would not have to prove that they were 21+ for as long as they maintained the subscription to

 9   receive JUULpods. As a result of this scheme, JLI’s subscription gains more than offset any

10   losses from the site’s heightened age verification requirements.
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     444
28         INREJUUL00178123-24.
     445
           INREJUUL_00264882-84.

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 1             393.   Further underscoring their common purpose of growing the e-cigarette market,

 2   even if that meant selling to youth, JLI and Veratad did not require that the year of birth and last

 3   four digits of the social security number match exactly the information corresponding to a

 4   person of the minimum legal sales age in Veratad’s database until August 2018.

 5             394.   Tellingly, after JLI and Veratad implemented industry-standard age verification

 6   practices, JLI boasted to the FDA that approval rate for sales on its website had dropped to 27%.

 7             395.   Not only did JLI and Veratad’s efforts result in more sales to minors, it also

 8   allowed JLI to build a marketing email list that included minors—a data set that would prove

 9   highly valuable to Altria.

10             396.   In the summer of 2017, JLI engaged a company called Tower Data to determine
11   the ages of the persons associated with email addresses on its email marketing list. According to
12   this analysis, approximately 269,000 email addresses on JLI’s email marketing list were not
13   associated with a record of an individual who had “passed” JLI’s age verification process.446
14   Additionally, approximately 40,000 email addresses on JLI’s email marketing list were
15   associated with records of individuals who had “failed” JLI’s own age verification process.447
16   Tower Data informed JLI that 83% of the approximately 420,000 email addresses on JLI’s
17   marketing list could not be matched with the record of an individual at least eighteen years of
18   age.448
19             397.   Despite knowing that their marketing list included minors, JLI continued to use

20   that marketing list to sell JUUL products, and then shared that list with Altria to use for its

21   marketing purposes.

22             398.   JLI and the Management Defendants knew, however, that it was not enough to

23   disseminate advertisements and marketing materials that promote JLI to youth or to open online

24
     446
25       Complaint at 121, Commonwealth of Massachusetts v. JUUL, et al., No. 20-00402 (Super.
     Ct. of Mass. Feb. 12, 2020) https://www.mass.gov/doc/juul-complaint/download; Janice Tan,
26   E-cigarette firm JUUL sued for using programmatic buying to target adolescents, Marketing
     (Feb. 14, 2020), https://www.marketing-interactive.com/e-cigarette-firm-juul-sued-for-using-
27   programmatic-buying-to-target-adolescents,
     447
28       Id.
     448
         Id.

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 1   sales to youth, while omitting mention of JUUL’s nicotine content and manipulated potency. To

 2   truly expand the nicotine market, they needed to deceive those purchasing a JUUL device and

 3   JUULpods as to how much nicotine they were actually consuming. And, through Pritzker, Huh,

 4   and Valani’s control of JLI’s Board of Directors, they did just that.

 5                    10.     JLI Engaged in a Sham “Youth Prevention” Campaign
 6          399.    By April 2017, JLI had determined that the publicity around its marketing to

 7   children was a problem. Ashley Gould, the company’s General Counsel and Chief Regulatory

 8   and Communications Officer, thus sought to “hire a crisis communication firm to help manage

 9   the youth interest JUUL has received[.]”449 By June 2017, JLI began developing a “youth

10   prevention program[.]”450 While ostensibly aimed at reducing youth sales, JLI’s youth
11   prevention program actually served to increase, not reduce, sales to children.
12          400.    By December 2017, JLI’s youth prevention program included extensive work
13   with schools.451 JLI paid schools for access to their students during school time, in summer
14   school, and during a Saturday School Program that was billed as “an alternative to ‘traditional
15   discipline’ for children caught using e-cigarettes in school.”452 JLI created the curriculum for
16   these programs, and, like the “Think Don’t Smoke” campaign by Philip Morris, which
17   “insidiously encourage[d] kids to use tobacco and become addicted Philip Morris
18   customers[,]”453 JLI’s programs were shams intended to encourage youth vaping, not curb it.
19   According to testimony before Congress, during at least one presentation, “[n]o parents or

20   teachers were in the room, and JUUL’s messaging was that the product was ‘totally safe.’ The

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     449
23       INREJUUL_00264878; see also INREJUUL_00265042 (retaining Sard Verbinnen, a
     strategic communications firm).
24   450
         See, e.g., INREJUUL_00211242.
     451
25       INREJUUL_00173409.
     452
         Subcommittee on Economic and Consumer Policy Memo (July 25, 2019),
26   https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.
     pdf.
27   453
         William V. Corr, American Legacy Foundation Study Shows Philip Morris 'Think Don't
28   Smoke' Youth Anti-Smoking Campaign is a Sham, Campaign for Tobacco Free Kids (May 29,
     2002), https://www.tobaccofreekids.org/press-releases/id_0499.

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 1   presenter even demonstrated to the kids how to use a JUUL.”454 Furthermore, JLI “provided the

 2   children snacks” and “collect[ed] student information from the sessions.”455

 3          401.    The problems with JLI’s youth prevention programs were widespread.

 4   According to outside analyses, “the JUUL Curriculum is not portraying the harmful details of

 5   their product, similar to how past tobacco industry curricula left out details of the health risks of

 6   cigarette use.”456 Although it is well-known that teaching children to deconstruct ads is one of

 7   the most effective prevention techniques, JLI programs entirely omitted this skill, and JLI’s

 8   curriculum barely mentioned JUUL products as among the potentially harmful products to

 9   avoid.457 As one expert pointed out, “we know, more from anecdotal research, that [teens] may

10   consider [JUULs] to be a vaping device, but they don’t call it that. So when you say to a young
11   person, ‘Vapes or e-cigarettes are harmful,’ they say, ‘Oh I know, but I’m using a JUUL.’”458
12          402.    Internal emails confirm both that JLI employees knew about the similarities of
13   JLI’s “youth prevention program” to the earlier pretextual antismoking campaigns by the
14   cigarette industry and that JLI management at the highest levels was personally involved in
15   these efforts. In April 2018, Julie Henderson, the Youth Prevention Director, emailed school
16   officials about “the optics of us attending a student health fair” because of “how much our
17   efforts seem to duplicate those of big tobacco (Philip Morris attended fairs and carnivals where
18   they distributed various branded items under the guise of ‘youth prevention’).”459 She later
19   wrote that she would “confirm our participation w[ith] Ashley & Kevin”460—an apparent

20   reference to Kevin Burns, at the time the CEO of JLI, who would later personally approve JLI’s

21
     454
22       Subcommittee on Economic and Consumer Policy Memo (July 25, 2019),
     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.
23   pdf.
     455
24       Id.
     456
         Victoria Albert, Juul Prevention Program Didn't School Kids on Dangers, Expert Says, The
25   Daily Beast (Oct. 19, 2018), https://www.thedailybeast.com/juul-prevention-program-didnt-
     school-kids-on-dangers-expert-says.
26   457
         Id.
27   458
         Id.
     459
28       INREJUUL_00197608.
     460
         INREJUUL_00197607.

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 1   involvement in school programs. In May 2018, Julie Henderson spoke with former members of

 2   Philip Morris’s “youth education” team,461 and Ashley Gould received and forwarded what was

 3   described as “the paper that ended the Think Don’t Smoke campaign undertaken by Philip

 4   Morris.”462 The paper concluded that “the Philip Morris campaign had a counterproductive

 5   influence.”463

 6          403.      JLI also bought access to teenagers at programs outside of school. For example,

 7   JLI paid $89,000 to the Police Activities League of Richmond, California, so that all youth in

 8   the Richmond Diversion Program—which targeted “youth, aged 12-17, who face suspension

 9   from school for using e-cigarettes and/or marijuana” and “juveniles who have committed

10   misdemeanor (lesser category) offenses”—would “participate in the JUUL labs developed
11   program, Moving Beyond” for as long as ten weeks.464 Similarly, JUUL paid $134,000 to set up
12   a summer program for 80 students from a charter school in Baltimore, Maryland.465 Participants
13   were “recruited from grades 3 through 12”466 and worked closely with teachers to develop
14   personal health plans. JLI paid nearly 70% of the cost of hiring eight teachers, eight
15   instructional aides, and three other support personnel for the program.467
16          404.      JLI was aware that these out-of-school programs were, in the words of Julie
17   Henderson, “eerily similar” to the tactics of the tobacco industry.468 In June 2018, Ms.
18   Henderson described “current executive concerns & discussion re: discontinuing our work
19

20   461
         INREJUUL_00196624.
     462
21       INREJUUL_00265202.
     463
         Matthew C. Farrelly et al., Getting to the Truth: Evaluating National Tobacco
22   Countermarketing Campaigns, 92 Am. J. Public Health 901 (2002).
     464
23       JLI-HOR-00002181 – 00002182.
     465
         INREJUUL_00194247; Invoice to JUUL Labs from The Freedom & Democracy Schools,
24   Inc. for $134,000, dated June 21, 2018,
     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/JLI-HOR-00003711.pdf.
25   466
         INREJUUL_0019428.
26   467
         The Freedom & Democracy Schools, Inc., Proposal to JUUL Labs for Funding the Healthy
     Life Adventures Summer Pilot (June 9, 2018),
27
     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/JLI-HOR-
28   00002789_Redacted.pdf.
     468
         INREJUUL_00194646.

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 1   w[ith] schools[.]”469 Eventually, JLI ended this version of the youth prevention program, but the

 2   damage had been done: following the playbook of the tobacco industry, JLI had hooked more

 3   kids on nicotine.

 4           405.    The Board was intimately involved in these “youth prevention” activities. For

 5   example, in April 2018, Riaz Valani and Nicholas Pritzker edited a youth prevention press

 6   release, noting that they “don’t want to get these small items wrong” and “think it’s critical to

 7   get this right.”470

 8                       11.   The FDA Warned JUUL and Others That Their Conduct is
 9                             Unlawful
10           406.    Throughout 2018, the FDA put JLI and others in the e-cigarette industry on
11   notice that their practices of marketing to minors needed to stop. It issued a series of warnings
12   letters and enforcement actions:
13           407.    On February 24, 2018, the FDA sent a letter to JLI expressing concern about the
14   popularity of its products among youth and demanding that JLI produce documents regarding its
15   marketing practices.471
16           408.    In April 2018, the FDA conducted an undercover enforcement effort, which
17   resulted in fifty-six warning letters issued to online retailers, and six civil money complaints to
18   retail establishments, all of which were related to the illegal sale of e-cigarettes to minors.472
19   Manufacturers such as JLI were also sent letters requesting documents regarding their

20   marketing and sales methods.473

21           409.    In May 2018, the FDA again issued more warning letters to manufacturers,

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23   469
          INREJUUL_00194646.
24   470
          JLI00151300.
      471
25        Matthew Holman, Letter from Director of Office of Science, Center for Tobacco Products,
      to Zaid Rouag, at JUUL Labs, Inc., U.S. FDA (Apr. 24, 2018),
26    https://www.fda.gov/media/112339/download.
      472
          Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed
27
      Products on the Market Without Premarket Authorization, U.S. FDA (Jan. 2020),
28    https://www.fda.gov/media/133880/download.
      473
          Id.

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 1   distributors, and retailers of e-liquids for labeling and advertising violations; these labels and

 2   advertisements targeted children and resembled children’s food items such as candy or

 3   cookies.474

 4          •      In September 2018, the FDA engaged in several other regulatory enforcement
 5                 actions, issuing over 1300 warning letters and civil money complaints to e-cigarette

 6                 and e-liquid retailers and distributors.475

 7          •      On September 12, 2018, the FDA sent letters to JLI and other e-cigarette
 8                 manufacturers putting them on notice that their products were being used by youth at

 9                 disturbing rates.476 The FDA additionally requested manufacturers to enhance their

10                 compliance monitoring mechanisms, implement stricter age verification methods,
11                 and limit quantities and volume of e-cigarette products that could be purchased at a
12                 time.477
13          410.       Finally, in October 2018, the FDA raided JLI’s headquarters and seized more
14   than a thousand documents relating to JLI’s sales and marketing practices.478 Since then, the
15   FDA, the Federal Trade Commission, multiple state attorneys general and the U.S. House of
16   Representatives Committee on Oversight and Reform have all commenced investigations into
17   JLI’s role in the youth vaping epidemic and whether JLI’s marketing practices purposefully
18   targeted youth.
19          411.       Siddharth Breja, who was senior vice president for global finance at Juul Labs,

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21   474
         Id.
     475
22       Id.
     476
         Letter from US FDA to Kevin Burns, U.S. FDA (Sept. 12, 2018),
23   https://www.fda.gov/media/119669/download.
     477
24       Press Release, FDA takes new steps to address epidemic of youth e-cigarette use, including
     a historic action against more than 1,300 retailers and 5 major manufacturers for their roles
25   perpetuating youth access, US FDA (Sept. 11, 2018), https://www.fda.gov/news-events/press-
     announcements/fda-takes-new-steps-address-epidemic-youth-e-cigarette-use-including-
26   historic-action-against-more.
     478
27       Laurie McGinley, FDA Seizes Juul E-Cigarette Documents in Surprise Inspection of
     Headquarters, Wash. Post (Oct. 2, 2018),
28   https://www.washingtonpost.com/health/2018/10/02/fda-seizes-juul-e-cigarette-documents-
     surprise-inspection-headquarters/.

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 1   “claims that after the F.D.A. raided Juul headquarters in October 2018, seeking internal

 2   documents, Mr. Burns instructed Mr. Breja and other executives not to put anything relating to

 3   regulatory or safety issues in writing, so that the F.D.A. could not get them in the future.”479

 4                    12.     In Response to Regulatory Scrutiny, Defendants Misled the Public,
 5                            Regulators, and Congress that JLI Did Not Target Youth
 6          412.    To shield their youth-driven success from scrutiny, Altria, JLI, and the

 7   Management Defendants’ had a long-running strategy to feign ignorance over JLI and the

 8   Management Defendants’ youth marketing efforts and youth access to JLI’s products. They

 9   were well aware that JLI’s conduct in targeting underage users was reprehensible and unlawful,

10   and that if it became widely known that this was how JLI obtained its massive market share,
11   there would be a public outcry and calls for stricter regulation or a ban on JLI’s products. Given
12   the increasing public and regulatory scrutiny of JLI’s market share and marketing tactics, a dis-
13   information campaign was urgently needed to protect the Defendants’ bottom line. For this
14   reason, JLI, the Management Defendants, and Altria all hid JLI’s conduct by vociferously
15   denying that JLI had marketed to and targeted youth and instead falsely claimed that JLI
16   engaged in youth prevention. Defendants continued to make these statements while and after
17   actively and successfully trying to market to and recruit youth non-smokers. These false
18   statements were designed to protect JLI’s market share, and Altria’s investment, by concealing
19   JLI’s misconduct.

20          413.    For example, after 11 senators sent a letter to JLI questioning its marketing

21   approach and kid-friendly e-cigarette flavors like Fruit Medley, Creme Brulee and mango, JLI

22   visited Capitol Hill and told senators that it never intended its products to appeal to kids and did

23   not realize youth were using its products, according to a staffer for Sen. Dick Durbin (D-Ill.).

24   JLI’s statements to Congress—which parallel similar protests of innocence by tobacco company

25   executives—were false.

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27   479
        Sheila Kaplan & Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former
28   Executive Say, N.Y. Times (Nov. 20, 2019), https://www.nytimes.com/2019/10/30/health/juul-
     pods-contaminated.html.

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 1          414.    JLI also engaged in wire fraud when it made public statements seeking to

 2   disavow the notion that it had targeted and sought to addict teens:

 3              •   “It’s a really, really important issue. We don’t want kids using our products.”
                    (CNBC Interview of JLI’s Chief Administrative Officer, December 14, 2017)480
 4
                •   “We market our products responsibly, following strict guidelines to have material
 5                  directly exclusively toward adult smokers and never to youth audiences.” (JLI
                    Social Media Post, March 14, 2018)481
 6
                •   “Of course, we understand that parents and lawmakers are concerned about
 7                  underage use of JUUL. As are we. We can’t restate this enough. As an
                    independent company that is not big tobacco, we are driven by our mission and
 8                  commitment to adult smokers.” (JLI CEO Kevin Burns Letter to JUUL
 9                  Community on Reddit, July 18, 2018)482
                •   “We don’t want anyone who doesn’t smoke, or already use nicotine, to use JUUL
10                  products. We certainly don’t want youth using the product. It is bad for public
11                  health, and it is bad for our mission. JUUL Labs and FDA share a common goal –
                    preventing youth from initiating on nicotine. . . . Our intent was never to have
12                  youth use JUUL products.” (JLI Website, November 12, 2018)483

13              •   “To paraphrase Commissioner Gottlieb, we want to be the offramp for adult
                    smokers to switch from cigarettes, not an on-ramp for America’s youth to initiate
14                  on nicotine.” (JLI Website, November 13, 2018)484

15              •    “First of all, I’d tell them that I’m sorry that their child’s using the product. It’s
                    not intended for them. I hope there was nothing that we did that made it
16                  appealing to them. As a parent of a 16-year-old, I’m sorry for them, and I have
                    empathy for them, in terms of what the challenges they’re going through.”
17                  (CNBC Interview of JLI CEO, July 13, 2019)485
18
     480
         Angelica LaVito, Nearly one-quarter of teens are using pot, CNBC (Dec. 14, 2017),
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     https://www.cnbc.com/2017/12/13/marijuana-and-nicotine-vaping-popular-among-teens-
20   according-to-study.html (Interview with Ashely Gould, JUUL Chief Administrative Officer)
     (emphasis added).
21   481
         Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market,
     Stanford Research Into the Impact of Tobacco Advertising 15 (Jan. 31, 2019),
22
     http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf (citing a
23   JUUL social media post from March 14, 2018) (emphasis added).
     482
         A Letter to the JUUL Community from CEO Kevin Burns, Reddit (July 18, 2018),
24   https://www.reddit.com/r/juul/comments/8zvlbh/a_letter_to_the_juul_community_from_ceo_k
     evin/ (emphasis added).
25   483
         JUUL Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-
26   labs-action-plan/ (statement of Ken Burns, former CEO of JUUL) (emphasis added).
     484
         Id. (emphasis added).
27   485
         Angelica LaVito, As JLI grapples with teen vaping ‘epidemic,’ CEO tells parent ‘I’m
28   sorry’, CNBC (July 13, 2019), https://www.cnbc.com/2019/07/13/as-juul-deals-with-teen-
     vaping-epidemic-ceo-tells-parents-im-sorry.html (emphasis added).

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 1              •   “We have no higher priority than to prevent youth usage of our products
                    which is why we have taken aggressive, industry leading actions to combat youth
 2                  usage.” (JLI Website, August 29, 2019)486
 3              •   James Monsees, one of the company’s co-founders, said selling JUUL products
                    to youth was “antithetical to the company’s mission.”(James Monsees’
 4                  Statement to New York Times, August 27, 2019)487
 5              •   “We have never marketed to youth and we never will.”(JLI Statement to Los
                    Angeles Times, September 24, 2019) 488
 6
                •   “As scientists, product designers and engineers, we believe that vaping can have a
 7                  positive impact when used by adult smokers, and can have a negative impact
                    when used by nonsmokers. Our goal is to maximize the positive and reduce the
 8                  negative.” (JLI Website, March 6, 2020)489
 9          415.    As the JLI Board of Directors had “final say” over all of JLI’s marketing efforts,
10   these statements regarding JLI’s marketing efforts can be imputed to the Management
11   Defendants, who were therefore directly responsible for the messaging over the marketing of
12   JUUL products.
13          416.    However, JLI, the Management Defendants, and Altria realized that attempting
14   to shift public opinion through fraudulent statements was not enough to achieve their goal of
15   staving off regulation. To accomplish this goal, they would also need to deceive the FDA and
16   Congress. And so they set out to do just that through statements and testimony by JLI
17   representatives. These include, but are not limited to, the following:
18   Statements by JLI to the FDA:
               • “JUUL was not designed for youth, nor has any marketing or research effort
19                 since the product’s inception been targeted to youth.” (Letter to FDA, June 15,
20                 2018).490

21   486
         Our Actions to Combat Underage Use, JUUL Labs, Inc. (Aug. 29, 2019),
     https://newsroom.juul.com/our-actions-to-combat-underage-use/ (JUUL statement in response
22
     to lawsuits) (emphasis added).
     487
23       Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?,
     N.Y. Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
24   marketing.html (emphasis added).
     488
25       Michael Hiltzik, Column: Studies show how JLI exploited social media to get teens to start
     vaping, L.A. Times (Sept. 24, 2019), https://www.latimes.com/business/story/2019-09-
26   24/hiltzik-juul-target-teens (statement made on behalf of JUUL) (emphasis added).
     489
         Our Mission, JUUL LABS (2019), https://www.juul.com/mission-values (last visited Apr. 4,
27
     2020) (emphasis added).
     490
28       Letter from JUUL's Counsel at Sidley Austin to Dr. Matthew Holman, FDA at 2 (June 15,
     2018) (emphasis added).

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 1              •   “With this response, the Company hopes FDA comes to appreciate why the
                    product was developed and how JUUL has been marketed — to provide a
 2                  viable alternative to cigarettes for adult smokers.” (Letter to FDA, June 15,
                    2018).491
 3

 4   Statements by Altria to the FDA:
               • “[W]e do not believe we have a current issue with youth access to or use of our
 5                 pod-based products, we do not want to risk contributing to the issue.” (Letter from
                   Altria CEO to FDA Commissioner Scott Gottlieb, October 25, 2018).492
 6
               • “We believe e-vapor products present an important opportunity to adult smokers
 7                 to switch from combustible cigarettes.” (Letter to FDA Commissioner Gottlieb,
                   10/25/18)
 8
     Statements by JLI to Congress:
 9             • “We never wanted any non-nicotine user, and certainly nobody under the
10                 legal age of purchase, to ever use JLI products. . . .That is a serious problem.
                   Our company has no higher priority than combatting underage use.” (Testimony
11                 of James Monsees, July 25, 2019).493
               • “Our product is intended to help smokers stop smoking combustible
12                 cigarettes.” (Ashley Gould, JLI Chief Administrative Officer, Testimony before
                   House Committee on Oversight and Reform, July 25, 2019).494
13

14   Statements by Altria to Congress:
               • “In late 2017 and into early 2018, we saw that the previously flat e-vapor category
15                 had begun to grow rapidly. JUUL was responsible for much of the category
                   growth and had quickly become a very compelling product among adult
16                 vapers. We decided to pursue an economic interest in JUUL, believing that an
                   investment would significantly improve our ability to bring adult smokers a
17
                   leading portfolio of non-combustible products and strengthen our competitive
18                 position with regards to potentially reduced risk products.” (Letter from Altria
                   CEO to Senator Durbin, October 14, 2019).495
19
     491
20       Id. at 3 (emphasis added).
     492
         Letter from Altria CEO Howard Willard to Dr. Scott Gottlieb, FDA at 2 (October 25, 2018)
21
     (emphasis added).
     493
22       Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
     Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. 1 (2019)
23   (statement of James Monsees, Co-Founder, JUUL Labs, Inc.).,
     https://docs.house.gov/meetings/GO/GO05/20190725/109846/HHRG-116-GO05-Wstate-
24
     MONSEESJ-20190725.pdf.
     494
25       Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
     Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
26   (statement of Ashley Gould, Chief Administrative Officer, JUUL Labs, Inc. )., https://www.c-
     span.org/video/?462992-1/hearing-cigarettes-teen-usage-day-2&start=6431 at 01:53:25
27
     (emphasis added).
     495
28       Letter from Howard A. Willard III, Altria to Senator Richard J. Durbin, 6 (October 14,
     2019) (emphasis added).

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 1          417.    Each of the foregoing statements constitutes an act of wire fraud. JLI, Monsees,

 2   and Altria made these statements, knowing they would be transmitted via wire, with the intent

 3   to deceive the public, the FDA, and Congress as to the Defendants’ true intentions of hooking

 4   underage users.

 5          418.    Their disinformation scheme was successful. While certain groups such as the

 6   American Medical Association were calling for a “sweeping ban on vaping products,”496 no

 7   such ban has been implemented to date. Accordingly, JLI’s highly addictive products remain on

 8   the market and available to underage users.

 9          F.      Altria Provided Services to JLI to Expand JUUL Sales and Maintain
10                  JUUL’s Position as the Dominant E-Cigarette.
11                     1.     Before Altria’s Investment in JLI, Altria and JLI Exchanged
12                            Market Information Pertaining to Key Decisions.
13          419.    In October 2017, JLI and Avail Vapor (“Avail”), a chain of more than 100 high-
14   end vape stores,497 negotiated the first purchase order for Avail stores to sell JUUL products.498
15          420.    On November 2, 2017, Altria announced that it had acquired a minority interest
16   in Avail.499 Altria’s comments to investors highlighted that the investment allowed Altria access
17   to Avail’s “extensive data around adult vaper purchasing patterns,” and “full-service analytical
18   science laboratory,” located in Altria’s hometown of Richmond, Virginia.500
19

20
     496
         Karen Zraick, A.M.A. Urges Ban on Vaping Products as JLI is Sued by More States, N.Y.
21
     Times (Nov. 19, 2019), https://www.nytimes.com/2019/11/19/health/juul-lawsuit-ny-
22   california.html.
     497
         About Us, Avail Vapor, https://www.availvapor.com/about-us (last visited Apr. 4, 2020).
23   498
         INREJUUL_00066273.
     499
24       Rich Duprey, Is Altria Trying to Corner the E-Cig Market?, The Motley Fool (Jan. 7, 2018),
     https://www.fool.com/investing/2018/01/07/is-altria-trying-to-corner-the-e-cig-market.aspx;
25   Lauren Thomas, Altria shares plunge after FDA releases road map to curb tobacco-related
     deaths, CNBC (July 28, 2017), https://www.cnbc.com/2017/07/28/altria-shares-fall-after-fda-
26   releases-roadmap-to-curb-tobacco-related-deaths-.html.
     500
27       Remarks by Marty Barrington, ALTRIA Group, Inc.’s (ALTRIA) Chairman, CEO and
     President, and other members of ALTRIA’s senior management team, 2017 Consumer Analyst
28   Group of New York (CAGNY) Conference (2017),
     http://investor.altria.com/Cache/IRCache/1ac8e46a-7eb4-5df2-843d-

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 1          421.    On November 21, 2017—three weeks after Altria announced its investment in

 2   Avail—JLI and Avail entered into a distribution agreement, which has been renewed twice—

 3   once in November 19, 2018 and again on January 8, 2019.501

 4          422.    Through its investment in Avail, Altria had access to sales data for JUUL

 5   products long before the companies exchanged diligence in connection with Altria’s investment

 6   in JLI. Although JLI represented to Congress that “[JLI’s] data [from Avail] was not available

 7   to Altria,”502 statements in Altria’s October 2019 letter to Congress suggest otherwise.

 8          423.    In that letter, Altria admitted that it possessed JUUL sales data that corresponds

 9   to the very same time period in which JLI began selling its products at Avail stores, starting in

10   late 2017.503 That sales data showed that JLI was dominating the e-cigarette market during this
11   time period.504 By November 2017, JLI had sold one million units of its blockbuster product,
12   boasting 621% growth in year-to-year sales and capturing 32% of e-cigarette sales tracked by
13   Nielsen.505 Sales of Altria’s own e-cigarettes, on the other hand, trailed behind both the JUUL
14   and British American Tobacco’s Vuse. Altria sought to grow JLI’s market dominance and
15   young customer base. JLI, in the regulatory crosshairs, needed Altria’s experience and its
16   influence in Washington.
17          424.    Altria recognized that JLI had, against the backdrop of steadily declining
18   cigarette sales, created the right product to addict a new generation to nicotine. JLI faced
19   existential threats, however, from regulatory and congressional scrutiny, and public outrage

20   over the growing vaping epidemic.

21
     06673f29b6b0.PDF?O=PDF&T=&Y=&D=&FID=1ac8e46a-7eb4-5df2-843d-
22   06673f29b6b0&iid=4087349.
     501
23       Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
     Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. 28 (2019)
24   (Responses of JUUL Labs, Inc. to Questions for the Record).
     502
         Id.
25   503
         Letter from Howard A. Willard III, Altria to Senator Richard J. Durbin, 6 (October 14,
26   2019) (emphasis added).
     504
         Id.
27   505
         Melia Robinson, How a startup behind the 'iPhone of vaporizers' reinvented the e-cigarette
28   and generated $224 million in sales in a year, Bus. Insider (Nov. 21, 2017),
     https://www.businessinsider.com/juul-e-cigarette-one-million-units-sold-2017-11.

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 1          425.   JLI, Altria, and the Management Defendants thus began to coordinate their

 2   activities in 2017 through Avail Vapor. This back-channel, and the information it provided

 3   Altria, allowed Altria to take actions to benefit itself, JLI, and the Management Defendants

 4   without drawing the scrutiny of the public and regulators that they knew would inevitably

 5   follow a formal announcement of a partnership between JLI and Altria.

 6                   2.      JLI, the Management Defendants and Altria Coordinated to
 7                           Market JUUL in Highly-Visible Retail Locations
 8          426.   JLI, the Management Defendants, and Altria’s coordination continued in other

 9   ways throughout 2018 as they prepared for Altria’s equity investment in JLI.

10          427.   A key aspect of this early coordination was Altria’s acquisition of shelf-space
11   that it would later provide to JLI to sustain the exponential growth of underage users of JUUL
12   products. By acquiring shelf space, Altria took steps to ensure that JUUL products would be
13   placed in premium shelf space next to Marlboro brand cigarettes, the best-selling cigarette
14   overall and by far the most popular brand among youth.506
15          428.   Altria’s investment was not for its own e-cigarette products. Altria spent
16   approximately $100 million in 2018 to secure shelf-space at retailers for e-cigarette products—
17   purportedly for the MarkTen e-cigarette that Altria stopped manufacturing in 2018, and its pod-
18   based MarkTen Elite, which it launched on a small scale in only 25,000 stores.507            By
19   comparison, the 2014 launch of the original MarkTen resulted in product placement in 60,000

20   stores in the first month in the western United States alone.508 Yet Altria’s payments for shelf

21   space were a mixture of “cash and display fixtures in exchange for a commitment that its e-

22

23

24   506
         Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General,
25   Centers for Disease Control & Prevention 161, 164 (2012),
     https://www.ncbi.nlm.nih.gov/books/NBK99237/.
26   507
         Sheila Kaplan, Altria to Stop Selling Some E-Cigarette Brands That Appeal to Youths, N.Y.
     Times (Oct. 25, 2018), https://www.nytimes.com/2018/10/25/health/altria-vaping-
27
     ecigarettes.html
     508
28       Melissa Kress, MarkTen National Rollout Hits 60,000 Stores, Convenience Store News
     (July 22, 2014), https://csnews.com/markten-national-rollout-hits-60000-stores.

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 1   cigarettes would occupy prime shelf space for at least two years.”509

 2           429.      In reality, Altria spent approximately $100 million on shelf-space in furtherance

 3   of expanding the e-cigarette market, including JLI’s massive, ill-gotten market share. It has

 4   since been reported that Altria “pulled its e-cigarettes off the market” not out of concern for the

 5   epidemic of youth nicotine addiction JUUL created, but because a non-compete was a “part of

 6   its deal with J[LI].”510

 7           430.      When Altria later announced its $12.8 billion investment in JLI, part of the

 8   agreement between the two companies was that Altria would provide JLI with this premium

 9   shelf space.511

10           431.      Altria’s purchase of shelf space in 2018 and its subsequent provision of that
11   space to JLI shows how Altria, JLI, and the Management Defendants were coordinating even
12   before Altria announced its investment in JLI. Altria’s actions ensured that, even after public
13   and regulatory scrutiny forced JLI to stop its youth-oriented advertising, JUUL products would
14   still be placed where kids are most likely to see them—next to Marlboros, the most iconic,
15   popular brand of cigarettes among underage users—in a location they are most likely to buy
16   them—retail establishments.512
17                      3.      Altria Contributes to the Success of JLI’s and the Management
18                              Defendants’ Scheme Through a Range of Coordinated Activities
19           432.      While JLI and Altria remain separate corporate entities in name, following its

20   equity investment in JLI, Altria and JLI forged even greater significant, systemic links, i.e.,

21   shared leadership, contractual relationships, financial ties, and continuing coordination of

22   activities.

23           433.      In 2019, two key Altria executives became JLI’s CEO and head of regulatory

24
      509
          Jennifer Maloney & John McKinnon, Altria-JLI Deal Is Stuck in Antitrust Review, Wall St.
25
      J. (Jan. 17, 2020), https://www.wsj.com/articles/altria-juul-deal-is-stuck-in-antitrust-review-
26    11579257002.
      510
          Id.
27    511
          Id.
      512
28        Laura Bach, Where Do Youth Get Their E-Cigarettes?, Campaign for Tobacco Free Kids
      (Dec. 3, 2019), https://www.tobaccofreekids.org/assets/factsheets/0403.pdf.

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 1   affairs, respectively.

 2              434.   K.C. Crosthwaite, who was president of Altria Client Services when the

 3   company carried out a study that would later be used by Altria to shield JUUL’s mint pods from

 4   federal regulation, is now JLI’s CEO. Before joining JLI, Crosthwaite was Altria’s chief growth

 5   officer.

 6              435.   Joe Murillo, who launched the MarkTen line at Altria and more recently headed

 7   regulatory affairs for Altria, is now JLI’s chief regulatory officer.513 A 24-year career Altria

 8   executive, Murillo previously ran Altria’s e-cigarette business, Nu Mark, “before Altria pulled

 9   its e-cigarettes off the market as part of its deal with J[UUL].”514

10              436.   In addition to its effective takeover of JUUL, Altria provides services to JLI in
11   furtherance of their common goal of expanding the number of nicotine-addicted e-cigarette
12   users, in the areas of “direct marketing; sales, distribution and fixture services; and regulatory
13   affairs.”515 These services include, among other things:
14                     a.     “Piloting a distribution program to provide long haul freight,
                              warehouse storage and last mile freight services.”
15
                       b.     “Making available [Altria’s] previously contracted shelf space with
16                            certain retailers,” thus allowing JUUL products to receive
17                            prominent placement alongside a top-rated brand of combustible
                              cigarettes, Marlboro, favored by youth.
18
                       c.     “Executing direct mail and email campaigns and related activities.
19                            . . .”
20                     d.     “Leveraging Altria’s field sales force to . . . provide services such
                              as limited initiative selling, hanging signs, light product
21                            merchandising, and surveys of a subset of the retail stores that
22                            Altria calls upon.”

23                     e.     “Providing regulatory affairs consulting and related services to
                              [JUUL] as it prepares its PMTA application.”516
24

25
      513
26        Jennifer Maloney, JLI Hires Another Top Altria Executive, Wall St. J. (Oct. 1, 2019),
      https://www.wsj.com/articles/juul-hires-another-top-altria-executive-11569971306.
27    514
          Id.
      515
28        Letter from Howard Willard III, Altria Senator Durbin, et. al., at 11 (Oct. 14, 2019).
      516
          Id. at 13.

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 1          437.    Altria also worked with JLI to cross-market JUUL and Marlboro cigarettes. For

 2   example, Altria offered coupons for JUUL starter kits inside packs of Marlboro cigarettes.517

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12          438.    Altria’s investment in JLI was not only a financial contribution; rather, it was an
13   important aspect of JLI, Altria, and the Management Defendants’ plan to continue growing the
14   user base, stave off regulation, and keep JLI’s most potent and popular products on the market
15   and available to kids and the public at large. Altria is and was working to actively help expand
16   sales of JLI’s products. Altria’s investment brings legal and regulatory benefits to JLI, by
17   helping with patent infringement battles and consumer health claims and helping to navigate the
18   regulatory waters and FDA pressure.
19          439.    Altria also brings lobbying muscle to the table, which has played an important
20   role in JLI, Altria, and the Management Defendants’ scheme of staving off regulation by
21   preventing new federal or state legislation targeting JUUL or the e-cigarette category more
22   broadly. Altria “has a potent lobbying network in Washington [D.C.] and around the
23   country.”518 Vince Willmore, a spokesman for the Campaign for Tobacco-Free Kids, which has
24

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     517
         Points for us!, Reddit (Sept. 16, 2019),
26   https://www.reddit.com/r/juul/comments/d50jku/points_for_us/ (depicting an image of a
     Marlboro carton with a JUUL starter kit coupon inside).
27   518
         Shelia Kaplan, In Washington, JLI Vows to Curb Youth Vaping. Its Lobbying in States Runs
28   Counter to That Pledge., N.Y. Times (Apr. 28, 2019),
     https://www.nytimes.com/2019/04/28/health/juul-lobbying-states-ecigarettes.html.

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 1   been involved in many state lobbying battles, said, “It’s hard to say where Altria ends and JLI

 2   begins.”519 While an Altria spokesman has denied that there was any contractual services

 3   agreement for lobbying between JLI and Altria, he admitted that he did not know what informal

 4   advice and conversations Altria has had with JLI about lobbying efforts. Since JLI, the

 5   Management Defendants, and Altria joined forces, JLI’s spending on lobbying has risen

 6   significantly. JLI spent $4.28 million on lobbying in 2019, compared to $1.64 million in

 7   2018.520

 8          440.    In addition, Altria’s arrangement with JLI greatly expands JLI’s retail footprint.

 9   While JUUL products have typically been sold in 90,000 U.S. retail outlets, Altria reaches

10   230,000 U.S. outlets. Altria also brings its logistics and distribution experience (although, after
11   increasing public scrutiny, Altria announced on January 30, 2020 that it would limit its support
12   to regulatory efforts beginning in March 2020521). And importantly, as noted above, Altria gives
13   JLI access to shelf space that it had obtained under fraudulent pretenses. This is not just any
14   shelf space; it is space near Altria’s blockbuster Marlboro cigarettes, and other premium
15   products and retail displays. The arrangement allows JLI’s tobacco and menthol-based products
16   to receive prominent placement alongside a top-rated brand of combustible cigarettes.
17          441.    Altria decided to make a significant investment in JLI to further its efforts to
18   maintain and expand the number of nicotine-addicted e-cigarette users in order to ensure a
19   steady and growing customer base, which ultimately benefits Altria by ensuring a new

20   generation of customers for its products. In fact, when announcing its investment, Altria

21   explained that its investment in JLI “enhances future growth prospects” and committed to

22   applying “its logistics and distribution experience to help JLI expand its reach and

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     519
25       Id.
     520
         Client Profile: JUUL Labs, Center for Responsive Politics,
26   https://www.opensecrets.org/federal-lobbying/clients/summary?cycle=2019&id=D000070920
     (last visited Apr. 4, 2020).
27   521
         Nathan Bomey, Marlboro maker Altria distances itself from vaping giant JLI amid legal
28   scrutiny, USA Today (Jan. 31, 2020), https://www.usatoday.com/story/money/2020/01/31/juul-
     altria-distances-itself-e-cigarette-maker-amid-scrutiny/4618993002/.

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 1   efficiency.”522 Altria has helped JLI maintain and expand its market share—a market share that,

 2   based on Altria’s own October 25, 2018 letter to the FDA, it believes was gained by employing

 3   marketing and advertising practices that contributed to youth e-cigarette use.

 4           G.     JLI, Altria, and Others Have Successfully Caused More Young People to
 5                  Start Using E-Cigarettes, Creating a Youth E-Cigarette Epidemic and
 6                  Public Health Crisis.
 7           442.   Defendants’ tactics have misled the public regarding the addictiveness and safety

 8   of e-cigarettes generally, and JUUL products specifically, resulting in an epidemic of e-cigarette

 9   use among youth in particular.

10           443.   Defendants’ advertising and third-party strategy, as discussed above, ensured that
11   everyone from adults to young children, would believe JUULing was a cool, fun, and safe
12   activity.
13           444.   To this day, JLI has not fully disclosed the health risks associated with its
14   products, has not recalled or modified its products despite the known risks, and continues to
15   foster a public health crisis, placing millions of people in harm’s way.
16                    1.        Defendants’ Scheme Caused Consumers to be Misled into Believing
17                              that JUUL was Safe and Healthy.
18           445.   In 2016, the National Institute on Drug Abuse issued findings regarding “Teens
19   and Cigarettes,” reporting that 66% of teens believed that e-cigarettes contained only flavoring,

20   rather than nicotine.523

21           446.   Two years later, despite the ongoing efforts of public health advocates, a 2018

22   study of JUUL users between the ages of fifteen and twenty-four revealed that 63% remained

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      522
          Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and
26    Drive Growth, BusinessWire (Dec. 20, 2018),
27    https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
      Investment-JUUL-Accelerate.
      523
28        Teens and E-cigarettes, Nat’l Inst. on Drug Abuse, https://www.drugabuse.gov/related-
      topics/trends-statistics/infographics/teens-e-cigarettes (last visited Apr. 4, 2020).

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 1   unaware that JUUL products contain nicotine.524 Further, the study found that respondents using

 2   e-cigarettes were less likely to report that e-cigarettes were harmful to their health, that people

 3   can get addicted to e-cigarettes, or that smoke from others’ e-cigarettes was harmful.525

 4           447.      Similarly, in 2018, a literature review of seventy-two articles published in the

 5   International Journal of Environmental Research and Public Health found that e-cigarettes were

 6   perceived by adults and youth as being healthier, safer, less addictive, safer for one’s social

 7   environment, and safer to use during pregnancy than combustible cigarettes.526 Further,

 8   researchers found that specific flavors (including dessert and fruit flavors) were perceived to be

 9   less harmful than tobacco flavors among adult and youth e-cigarette users.527 In addition,

10   researchers found that youth e-cigarette users perceived e-cigarettes as safe to use and
11   fashionable.528
12           448.      In 2019, a study published in Pediatrics found that 40% of participants reported
13   using nicotine-free e-cigarette products, when in fact the products they were using contained
14   significant levels of nicotine.529
15           449.      In 2019, a study published in the British Medical Journal Open systematically
16   reviewed all peer-reviewed scientific literature published on e-cigarette perceptions through
17   March 2018 which included fifty-one articles.530 Researchers found consistent evidence
18   showing that flavors attract both youth and young adults to use e-cigarettes.531 In addition,
19

20
      524
          Jeffrey G. Willett et al. Recognition, Use and Perceptions of Juul Among Youth and Young
21    Adults, 28 Tobacco Control 054273 (2019).
      525
          Id.
22    526
          Id.
23    527
          Kim A. G. J. Romijnders et al., Perceptions and Reasons Regarding E-Cigarette Use
      Among Users and Non-Users: A Narrative Literature Review, 15 Int’l J. of Envtl. Research &
24
      Public Health 1190 (2018), https://doi: 10.3390/ijerph15061190.
      528
25        Id.
      529
          Rachel Boykan et al., Self-Reported Use of Tobacco, E-Cigarettes, and Marijuana versus
26    Urinary Biomarkers, 143 Pediatrics (2019), https://doi.org/10.1542/peds.2018-3531.
      530
          Meernik, et al, Impact of Non-Menthol Flavours in E-Cigarettes on Perceptions and Use:
27
      An Updated Systematic Review, BMJ Open, 9:e031598 (2019),
28    https://bmjopen.bmj.com/content/9/10/e031598.
      531
          Id.

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 1   among this same group, fruit and dessert flavors decrease the perception that e-cigarettes are

 2   harmful, while increasing the willingness to try e-cigarettes.532

 3                     2.     Use of JUUL by Minors Has Skyrocketed
 4             450.   On December 28, 2018, the University of Michigan’s National Adolescent Drug

 5   Trends for 2018 reported that increases in adolescent e-cigarette use from 2017 to 2018 were the

 6   “largest ever recorded in the past 43 years for any adolescent substance use outcome in the

 7   U.S.”533

 8             451.   The percentage of 12th grade students who reported consuming nicotine almost

 9   doubled between 2017 and 2018, rising from 11% to 20.9%.534 This increase was “twice as

10   large as the previous record for largest-ever increase among past 30-day outcomes in 12th
11   grade.”
12             452.   By 2018 approximately 3.6 million middle and high school students were
13   consuming e-cigarettes regularly,535 and one in five 12th graders reported used an e-cigarette
14   containing nicotine in the last 30 days.536 As of late 2019, 5 million students reported active use
15   of e-cigarettes, with 27.5% of high school students and 10.5% of middle school students using
16   them within the last thirty days and with most youth reporting JUUL as their usual brand.537
17

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20   532
         Id.
21   533
         National Adolescent Drug Trends in 2018, Univ. of Mich. Inst. for Social Research (Dec.
     17, 2018), http://monitoringthefuture.org/pressreleases/18drugpr.pdf.
22   534
         News Release, Teens Using Vaping Devices in Record Numbers, Nat’l Insts. of Health (Dec.
23   17, 2018) https://www.nih.gov/news-events/news-releases/teens-using-vaping-devices-record-
     numbers.
24   535
         See Jan Hoffman, Addicted to Vaped Nicotine, Teenagers Have no Clear Path to Quitting,
25   N.Y. Times (Dec. 18, 2018), https://www.nytimes.com/2018/12/18/health/vaping-nicotine-
     teenagers.html.
26   536
         Id.
     537
27       National Youth Tobacco Survey, U.S. FDA (2019), https://www.fda.gov/tobacco-
     products/youth-and-tobacco/youth-tobacco-use-results-national-youth-tobacco-survey; Karen
28   Cullen et al., e-Cigarette Use Among Youth in the United States, 2019, 322 JAMA 2095
     (2019).

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            453.    The Secretary of the U.S. Department of Health and Human Services declared
 8
     that “[w]e have never seen use of any substance by America’s young people rise as rapidly as e-
 9
     cigarette use [is rising].”538 Then FDA Commissioner Dr. Gottlieb described the increase in e-
10
     cigarette consumption as an “almost ubiquitous—and dangerous—trend” that is responsible for
11
     an “epidemic” of nicotine use among teenagers.539 The rapid—indeed infectious—adoption of
12
     e-cigarettes “reverse[s] years of favorable trends in our nation’s fight to prevent youth addiction
13
     to tobacco products.”540 CDC Director Robert Redfield agreed, “The skyrocketing growth of
14
     young people’s e-cigarette use over the past year threatens to erase progress made in reducing
15
     tobacco use. It’s putting a new generation at risk for nicotine addiction.”541 Then-Commissioner
16
     Gottlieb identified the two primary forces driving the epidemic as “youth appeal and youth
17
     access to flavored tobacco products.”542
18
            454.    Within days of the FDA’s declaration of an epidemic, Surgeon General Dr.
19

20
     538
         Jan Hoffman, Study Shows Big Rise in Teen Vaping This Year, N.Y. Times (Dec. 17, 2018),
21   https://www.nytimes.com/2018/12/17/health/ecigarettes-teens-nicotine-.html; Rajiv Bahl, Teen
     Use of Flavored Tobacco was Down, But E-Cigarettes Are Bringing It Back Up, Healthline
22
     (Jan. 9, 2019), https://www.healthline.com/health-news/flavored-tobacco-use-rising-again-
23   among-teens#An-unhealthy-habit.
     539
         News Release, FDA Launches New, Comprehensive Campaign to Warn Kids About the
24   Dangers of E-Cigarette Use as Part of Agency’s Youth Tobacco Prevention Plan, Amid
     Evidence of Sharply Rising Use Among Kids, U.S. FDA (Sept. 18, 2018),
25
     https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm620788.htm.
     540
26       Id.
     541
         Amir Vera, Texas Governor Signs Law Increasing the Age to Buy Tobacco Products to 21,
27
     CNN (June 8, 2019), https://www-m.cnn.com/2019/06/08/health/texas-new-tobacco-
28   law/index.html.
     542
         Id.

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 1   Jerome Adams also warned that the “epidemic of youth e-cigarette use” could condemn a

 2   generation to “a lifetime of nicotine addiction and associated health risks.”543 The Surgeon

 3   General’s 2018 Advisory states that JUUL, with its combination of non-irritating vapor and

 4   potent nicotine hit, “is of particular concern for young people, because it could make it easier

 5   for them to initiate the use of nicotine . . . and also could make it easier to progress to regular e-

 6   cigarette use and nicotine dependence.”

 7          455.    The JUUL youth addiction epidemic spread rapidly across high schools in the

 8   United States. JUUL surged in popularity, largely through social media networks, and created

 9   patterns of youth usage, illegal youth transactions, and addiction, that are consistent with this

10   account from Reddit in 2017:
11          Between classes the big bathroom in my school averages 20-25 kids, and 5-10
            JUULs. Kids usually will give you a dollar for a JUUL rip if you don’t know
12          them, if you want to buy a pod for 5$ you just head into the bathroom after lunch.
            We call the kids in there between every class begging for rips ‘JUUL fiends.’ Pod
13
            boys are the freshman that say ‘can I put my pod in ur juul?’ and are in there
14          every block. I myself spent about 180$ on mango pods and bought out a store,
            and sold these pods for 10$ a pod, making myself an absolutely massive profit in
15          literally 9 days. Given because I’m 18 with a car and that’s the tobacco age
            around here, I always get offers to get pod runs or juuls for kids. people even
16          understand the best system to get a head rush in your 2 minutes between classes,
            is all the juuls at once. So someone yells “GIVE ME ALL THE JUULS” and 3-7
17
            are passed around, two hits each. This saves us all juice, and gives you a massive
18          head rush. Kids also scratch logos and words onto their juuls to make i[t] their
            own, every day you can find the pod covers in my student parking lot. I know this
19          sounds exaggerated, but with a school with 1400 kids near the city and JUULs
            being perceived as popular, it’s truly fascinating what can happen.544
20

21          456.    In response to the post above, several others reported similar experiences:

22                  a.      “[T]his is the exact same thing that happens at my school, we call
                            [JUUL fiends] the same thing, kind of scary how similar it is.”545
23
                    b.      “Same thing at my school. JUUL fiend is a term too.”546
24
     543
25       Surgeon General’s Advisory on E-cigarette Use Among Youth (2018), https://e-
     cigarettes.surgeongeneral.gov/documents/surgeon-generals-advisory-on-e-cigarette-use-
26   among-youth-2018.pdf.
     544
         What’s Juul in School,
27
     https://www.reddit.com/r/juul/comments/61is7i/whats_juul_in_school/ (last visited Apr.. 4,
28   2020).
     545
         Id.

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 1                 c.     “Yeah nicotine addiction has become a huge problem in my high
                          school because of juuls even the teachers know what they are.”547
 2
                   d.     “[S]ame [expletive] at my school except more secretive because
 3                        it’s a private school. It’s crazy. Kids hit in class, we hit 3-5 at once,
 4                        and everyone calls each other a juul fiend or just a fiend. Funny
                          how similar it all is.”548
 5
                   e.     “[T]he same [expletive] is happening in my school. kids that vaped
 6                        were called [expletive] for the longest time, that all changed
                          now.”549
 7
                   f.     “Made an account to say that it’s exactly the same way in my
 8                        school! LOL. I’m from California and I think I know over 40 kids
 9                        that have it here just in my school. We do it in the bathrooms, at
                          lunch etc. LMAO. ‘Do you have a pod man?’”550
10
                   g.     “It’s the same at my school and just about every other school in
11                        Colorado.”551
12                 h.     “2 months into this school year, my high school made a newspaper
                          article about the ‘JUUL epidemic.’”552
13

14                 i.     “Wow do you go to high school in Kansas because this sounds
                          EXACTLY like my school. I’ll go into a different bathroom 4
15                        times a day and there will be kids in there ripping JUUL’s in every
                          single one.”553.
16
                   j.     “At my high school towards the end of lunch everyone goes to the
17                        bathroom for what we call a ‘juul party.’ People bring juuls,
                          phixes, etc. It’s actually a great bonding experience because
18
                          freshman can actually relate to some upperclassmen and talk about
19                        vaping.”554

20                 k.     “To everyone thinking that this is just in certain states, it’s not.
                          This is a nationwide trend right now. I’ve seen it myself. If you
21

22   546
         Id.
     547
23       Id.
     548
24       Id.
     549
         Id.
25   550
         Id.
     551
26       Id.
     552
         Id. (citing Juuls Now Rule the School as Students Frenzy Over E-cig (Oct. 5, 2016),
27   https://imgur.com/a/BKepw).
     553
28       Id.
     554
         Id.

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 1                         have one you’re instantly insanely popular. Everyone from the
                           high-achievers to the kids who use to say ‘e-cigs are for
 2                         [expletives]’ are using the juul. It’s a craze. I love it, I’ve made an
                           insane amount of money. It’s something that has swept through our
 3
                           age group and has truly taken over. And it happened almost
 4                         overnight.”555

 5          457.   The following graph illustrates JLI’s responsibility for the nationwide youth e-

 6   cigarette epidemic. While the rest of the e-cigarette industry stagnated from 2017 through 2018,

 7   JLI experienced meteoric growth. Through that same timeframe, youth e-cigarette rates nearly

 8   doubled from more than 11% in 2017 to more than 20% in 2018. Through October 5, 2019 (the

 9   last date for which data was available), rates of youth e-cigarette use continued to increase,

10   tracking the growth of JUUL.

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                                                                                              556
21
            458.   The unique features of the JUUL e-cigarette—high nicotine delivery, low
22
     harshness, and easy-to-conceal design—have caused patterns of addiction with no historical
23

24   555
        Id. (emphasis added).
25   556
        The area graph depicts e-cigarette unit sale volumes in retail outlets tracked by Nielsen by
     manufacturer and month from 2013 through October 5, 2019; the line graph depicts national
26   high school and middle school e-cigarette past-30-day usage rates as percentages from 2013
27   through 2019, with each data point representing a year. See Nielsen: Tobacco All Channel
     Data; National Youth Tobacco Survey (2019), https://www.fda.gov/tobacco-products/youth-
28   and-tobacco/youth-tobacco-use-results-national-youth-tobacco-survey; see also Compl. at 2
     (Figure 1), Commonwealth of Penn. v. Juul Labs, Inc., (Ct. Common Pleas, Feb. 10, 2020).

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 1   precedent. It is not uncommon for fifteen-year-old students, even those who live at home with

 2   their parents, to consume two or more JUUL pods a day.

 3          H.      JLI Thrived Due to Extensive Efforts to Delay Meaningful Regulation of its
 4                  Products
 5                    1.      E-Cigarette Manufacturers Successfully Blocked the Types of
 6                            Regulations that Reduced Cigarette Sales, Creating the Perfect
 7                            Opportunity for JLI.
 8          459.    One of the main reasons e-cigarettes like JUUL were so appealing from an

 9   investment and business development perspective is that, unlike combustible cigarettes, e-

10   cigarettes were relatively unregulated. This regulatory void was not an accident; the cigarette
11   industry, and then the e-cigarette industry, spent significant resources blocking, frustrating, and
12   delaying government action. A 1996 article in the Yale Law & Policy Review detailed how
13   cigarette companies vehemently opposed the FDA mid-1990s rules on tobacco products, using
14   lawsuits, notice-and-comment, and arguments related to the FDA’s jurisdiction to delay or undo
15   any regulatory efforts.557
16          460.    In 2009, Congress enacted the Family Smoking Prevention and Tobacco Control
17   Act (TCA). The TCA amended the Federal Food, Drug, and Cosmetic Act to allow the FDA to
18   regulate tobacco products.
19          461.    Although the TCA granted the FDA immediate authority to regulate combustible

20   cigarettes, it did not give the FDA explicit authority over all types of tobacco products—

21   including those that had not yet been invented or were not yet popular. To “deem” a product for

22   regulation, the FDA must issue a “deeming rule” that specifically designates a tobacco product,

23   such as e-cigarettes, as falling within the purview of the FDA’s authority under the TCA.

24          462.    The TCA also mandated that all “new” tobacco products (i.e., any product not on

25   the market as of February 15, 2007) undergo a premarket authorization process before they

26   could be sold in the United States.

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     557
28      Melvin Davis, Developments in Policy: The FDA's Tobacco Regulations, 15 Yale L. &
     Policy Rev. 399 (1996).

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 1           463.    Four years later, on April 25, 2014, the FDA finally issued a proposed rule

 2   deeming e-cigarettes for regulation under the Tobacco Act (“2014 Proposed Rule”).

 3           464.    Once issued, the e-cigarette industry, together with its newfound allies, parent

 4   companies, and investors—the cigarette industry and pro-e-cigarette lobbyists—set to work to

 5   dilute the rule’s effectiveness. For example, in comments to the 2014 Proposed Rule, companies

 6   such as Johnson Creek Enterprises (one of the first e-liquid manufacturers) stated that the “FDA

 7   [] blatantly ignored evidence that our products improve people’s lives.”558

 8           465.    The New York Times reported that Altria was leading the effort to dilute,

 9   diminish, or remove e-cigarette regulations. Notwithstanding Altria’s professed concern about

10   flavors attracting youth customers, Altria submitted comments in August 2014 in response to
11   the proposed rule opposing the regulation of flavors. Altria asserted that restrictions could result
12   in more illicit sales, and that adults also liked fruity and sweet e-cigarette flavors.559
13           466.    In 2015, Altria lobbied Capitol Hill with its own draft legislation to eliminate the
14   new requirement that most e-cigarettes already on sale in the United States be evaluated
15   retroactively to determine if they are “appropriate for the protection of public health.” In effect,
16   Altria lobbied to “grandfather” all existing e-cigarette brands, including JUUL, into a lax
17   regulatory regime. That proposed legislation was endorsed by R.J. Reynolds. Altria delivered its
18   proposal, entitled “F.D.A. Deeming Clarification Act of 2015,” to Representative Tom Cole of
19   Oklahoma, who introduced the bill two weeks later using Altria’s draft verbatim.560 Seventy

20   other representatives signed on to Altria’s legislation.561

21

22    558
         Eric Lipton, A Lobbyist Wrote the Bill.Will the Tobacco Industry Win Its E-Cigarette
23   Fight?, N.Y. Times (Sept. 2, 2016), https://www.nytimes.com/2016/09/03/us/politics/e-
     cigarettes-vaping-cigars-fda-altria.html.
24   559
         Altria Client Services Inc., Comment Letter on Proposed Rule Deeming Tobacco Products
25   to be Subject to the Federal Food, Drug, and Cosmetic Act 47-48 (Aug. 8, 2014),
     https://www.altria.com/-/media/Project/Altria/Altria/about-altria/federal-regulation-of-
26   tobacco/regulatory-filings/documents/ALCS-NuMark-Comments-FDA-2014-N-0189.pdf.
     560
         Eric Lipton, A Lobbyist Wrote the Bill. Will the Tobacco Industry Win Its E-Cigarette
27
     Fight?, N.Y. Times (Sept. 2, 2016), https://www.nytimes.com/2016/09/03/us/politics/e-
28   cigarettes-vaping-cigars-fda-altria.html.
     561
         Id.

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 1           467.        The e-cigarette industry, along with the intertwined cigarette industry, was able

 2   to leverage support among Members of Congress such as Representative Cole and

 3   Representative Sanford Bishop of Georgia, who advocated for cigarette industry interests and

 4   opposed retroactive evaluation of e-cigarette products. Both Cole and Bishop echoed a common

 5   cigarette and e-cigarette industry refrain, that any regulations proposed by the FDA would

 6   bankrupt small businesses, even though the overwhelming majority of e-cigarettes were

 7   manufactured and distributed by large cigarette companies.

 8           468.        Representatives Cole and Bishop received some of the largest cigarette industry

 9   contributions of any member of the U.S. House of Representatives, with Representative Bishop

10   receiving $13,000 from Altria, and Representative Cole $10,000 from Altria in the 2015-2016
11   cycle.562
12           469.        By thwarting and delaying regulation, or by ensuring what regulation did pass
13   was laced with industry-friendly components, the e-cigarette industry, including Defendants,
14   hobbled       the    FDA—and      by   extension—Congress’s      efforts   to   regulate   e-cigarettes.
15   Simultaneously, the e-cigarette industry continued to market their products to youth, and it
16   coordinated to sow doubt and confusion about the addictiveness and health impacts of e-
17   cigarettes.
18           470.        Even after the FDA issued its final deeming rule in 2016, e-cigarette industry
19   lobbying continued to pay dividends to companies like JLI. In 2017, when Dr. Scott Gottlieb

20   took over as the FDA Commissioner, one of his first major acts was to grant e-cigarette

21   companies a four-year extension to comply with the deeming rule, even as data indicated sharp

22   increases in teen e-cigarette use.563 Gottlieb had previously served on the board of Kure, a chain

23   of e-cigarette lounges in the United States, though he fully divested before taking the helm at

24

25

26    562
          Id.; Rep. Tom Cole - Oklahoma District 04, Contributors 2015-16, OpenSecrets (2017),
      https://www.opensecrets.org/members-of-congress/contributors?cid=N00025726&cycle=2016.
27    563
          Katie Thomas & Sheila Kaplan, E-Cigarettes Went Unchecked in 10 Years of Federal
28    Inaction, N.Y. Times (Oct. 14, 2019), https://www.nytimes.com/2019/10/14/health/vaping-e-
      cigarettes-fda.html.

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 1   the FDA.564

 2          471.       The four-year extension was celebrated by e-cigarette lobbyists. Greg Conley,

 3   president of the American Vaping Association (AVA), stated that but for the extension, “over

 4   99 percent of vaper products available on the market today would be banned next year.”565

 5   Despite the minimal research publicly available on the health effect of e-cigarettes, Ray Story,

 6   who had since become commissioner of the Tobacco Vapor Electronic Cigarette Association,

 7   lauded the decision: “Absolutely, it’s a good thing . . . [w]hen you look at harm reduction, it’s a

 8   no brainer.”566

 9                      2.     JLI, the Management Defendants, and Altria Defendants
10                             Successfully Shielded the Popular Mint Flavor from Regulation.
11          472.       JLI, the Management Defendants, and Altria Defendants had a two-fold plan for
12   staving off regulation: (1) ensure the FDA allowed certain flavors, namely mint, to remain on
13   the market; and (2) stave off a total prohibition on JUUL that was being contemplated in light of
14   JLI’s role in the youth vaping epidemic. These schemes involved acts of mail and wire fraud,
15   with the intent to deceive the FDA, Congress, and the public at large.
16          473.       First, JLI, the Management Defendants, and Altria publicly defended mint
17   flavoring as a substitute for menthol cigarette smokers, when in fact JLI’s studies indicated that
18   mint users are not former menthol smokers. Second, by fighting to keep mint as the last flavor
19   on the market, the cigarette industry could continue to appeal to non-smokers, including youth.

20   JLI and the Management Defendants coordinated with Altria to pursue a fraudulent scheme to

21   convince the FDA into leaving the mint flavor on the market, sacrificing other flavors in the

22   process.

23          474.       On August 2, 2018, JLI met with the FDA to discuss a proposed youth-

24
     564
25       Zeke Faux et al., Vaping Venture Poses Potential Conflict for Trump’s FDA Nominee,
     Bloomberg, (Apr. 19, 2017), https://www.bloomberg.com/news/articles/2017-04-19/vaping-
26   venture-poses-potential-conflict-for-trump-s-fda-nominee.
     565
         Sheila Kaplan, F.D.A. Delays Rules That Would Have Limited E-Cigarettes on Market,
27
     N.Y. Times (July 28, 2017), https://www.nytimes.com/2017/07/28/health/electronic-cigarette-
28   tobacco-nicotine-fda.html.
     566
         Id.

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 1   behavioral study regarding the prevalence of use, perceptions of use, and intentions to use

 2   JUUL and other tobacco products among adolescents aged 13-17 years (the “Youth Prevalence

 3   Study”).567

 4          475.    On November 5, 2018, JLI transmitted the results of the Youth Prevalence Study

 5   to the FDA and reported that a study of over 1,000 youth had found that only 1.5% of youth had

 6   ever used a JUUL, and that only 0.8% of youth had used a JUUL in the last 30 days. And in

 7   stark contrast to the McKinsey and DB Research studies discussed above, the Youth Prevalence

 8   Study suggested that mango was four times as popular as mint.568 Specifically, the study found

 9   that 47% of youth who reported use of a JUUL device in the last 30-days professed to using

10   mango most often, with only about 12% reporting the same for mint.
11          476.    JLI’s study was a sham. JLI, the Management Defendants, and Altria knew their
12   reported data was inconsistent with the McKinsey and DB Research studies conducted just a
13   few months earlier. JLI’s report featured responses to a carefully selected survey question—
14   which single flavor youth used most often?—that obscured the widespread use of mint JUUL
15   pods among youth.
16          477.    Ironically, just a few days after JLI submitted the misleading Youth Prevalence
17   Study to the FDA, the National Youth Tobacco Survey was released. Revealing the depths of
18   the deception of JLI’s Youth Prevalence Study, which found that only 1.5% of youth were
19   current users of e-cigarettes, the National Youth Tobacco Survey found that 20.8% of high

20   school student were current users (i.e., consumed e-cigarettes within the last 30 days).

21          478.    The Youth Prevalence Study that JLI submitted to the FDA, either via U.S. mail

22   or by electronic transmission, was false and misleading. JLI, the Management Defendants, and

23   Altria knew as much. Indeed, they counted on it.

24          479.    As the e-cigarette crisis grew, on September 25, 2018, then-FDA Commissioner

25   Scott Gottlieb sent letters to Altria, JLI and other e-cigarette manufacturers, requesting a

26

27   567
         Letter from Joanna Engelke, JUUL Labs, Inc., to David Portnoy, Ph.D., M.P.H., FDA
28   Center for Tobacco Products (Nov. 5, 2018).
     568
         Id. at 3.

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 1   “detailed plan, including specific timeframes, to address and mitigate widespread use by

 2   minors.”569

 3          480.    As evidenced by Altria’s recent admission that negotiations with JLI were

 4   ongoing in late 2017,570 Altria and JLI’s responses to the FDA reflect a coordinated effort to

 5   mislead the FDA with the intention that regulators, in reliance on their statements, allow JLI to

 6   continue marketing mint JUUL pods.571

 7          481.    Defendants’ plan centered on efforts to deceive the FDA that (1) mint was more

 8   akin to Tobacco and Menthol than other flavors; and (2) kids did not prefer mint.

 9          482.    JLI took the first step in this coordinated effort to deceive the FDA. In response

10   to then-Commissioner Gottlieb’s September 12, 2018 letter, JLI prepared an “Action Plan,”
11   which it presented to the FDA at an October 16, 2018 meeting, and presented to the public on
12   November 12, 2018. The substance of JLI’s presentation to the FDA and its public-facing
13   Action Plan were largely identical.572 JLI purported to “share a common goal- preventing youth
14   from initiating on nicotine.”573 As part of this plan, JLI stated that it would be “stopping
15   flavored JUUL pod sales to all 90,000+ retail stores.”
16          483.    But this statement was not true. JLI was continuing retail sales of its mint JUUL
17   pods, which JLI categorized as a non-flavored “tobacco and menthol product.”574 In JLI’s
18   Action Plan, then-CEO Burns stated that only products that “mirror what is currently available
19   for combustible cigarettes—tobacco and menthol-based products (menthol and mint pods)—

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     569
         Letter from Scott Gottlieb, M.D. to JUUL Labs, Inc. (Sept. 12, 2018); Letter from Scott
23
     Gottlieb, M.D. to Altria Group Inc. (Sept. 12, 2018).
     570
24       Letter from Howard Willard III, Altria to Senator Durbin, et. al. ( Oct. 14, 2019).
     571
         See United States v. Jones, 712 F.2d 1316, 1320-21 (9th Cir. 1983) (“It is enough that the
25
     mails be used as part of a ‘lulling’ scheme by reassuring the victim that all is well and
26   discouraging him from investigating and uncovering the fraud.”).
     572
         JUUL did not include in its Action Plan a proposal for Bluetooth or Wi-Fi equipped devices
27   that was included in JLI’s October presentation.
     573
28       JUUL Labs, Inc. FDA Presentation, 2 (Oct. 16, 2018); INREJUUL_00182989.
     574
         Id.

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 1   will be sold to retail stores.”575

 2           484.    In both JLI’s October 2018 presentation to the FDA and JLI’s Action Plan that

 3   was shared with the public, JLI and its CEO fraudulently characterized mint as a non-flavored

 4   cigarette product, akin to tobacco and menthol cigarettes, suggesting that it was a product for

 5   adult smokers. The image below was included in both the public-facing Action Plan and JLI’s

 6   presentation to the FDA.

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             485.    JLI knew that non-smoking youth liked mint as much as any flavor.
17
             486.    Numerous internal studies had informed JLI that mint’s success was “not
18
     because it’s a menthol/a familiar tobacco flavor but because it is the best JUUL flavor profile on
19
     multiple levels.”576 Indeed, despite JLI’s attempts to explicitly link mint to menthol, JLI knew
20
     there was “No Implied Relationship Between Mint & Menthol,”577 and “menthol smokers are
21
     not the only driver behind the popularity of mint flavored JUULpods.”578
22
             487.    Most importantly, JLI knew that mint was the most popular JUUL pod. Though
23
     other flavors might draw new customers, JLI’s most addictive “flavor” predictably became its
24

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      575
26        JUUL Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-
      labs-action-plan/.
27    576
          INREJUUL_00265069.
      577
28        INREJUUL_00079307-INREJUUL_00079409, at 395.
      578
          Id.

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 1   most popular.

 2          488.     The characterization of mint as an adult tobacco product was also fraudulent

 3   because JLI knew first hand from the McKinsey and DB Research studies that teens viewed

 4   mint as favorably as mango, which implies that mango and mint were fungible goods for JLI’s

 5   underage users. The McKinsey and DB Research studies also showed that youth preferred mint

 6   over the more stereotypically youth-oriented flavors like fruit medley, crème brule, and

 7   cucumber. As alleged in a Whistlerblower Complaint, JLI’s then-CEO told his employees:

 8   “You need to have an IQ of 5 to know that when customers don’t find mango they buy mint.”579

 9          489.     On October 25, 2018, less than ten days after JLI presented its fraudulent,

10   misleading Action Plan to the FDA, Altria’s CEO Howard Willard submitted a letter in
11   response to the FDA’s call to combat the youth epidemic. Willard’s letter was a clear indication
12   of Altria’s willingness to continue the fraudulent scheme and deception of the FDA. While
13   Willard’s letter confirmed that Altria understood that JLI’s conduct and product was addicting
14   many children to nicotine, this letter repeated the misleading statement that mint was a
15   “traditional tobacco flavor” despite Altria and JLI knowing it was no such thing. Willard then
16   claimed that the youth epidemic was caused, in part, by “flavors that go beyond traditional
17   tobacco flavors”—which, according to JLI and Altria, did not include mint—and announced
18   that Altria would discontinue all MarkTen flavors except for “traditional tobacco, menthol and
19   mint flavors.” Willard asserted that these three flavors were essential for transitioning smokers.

20   But Willard, and Altria, knew this was not true.580

21          490.     That same day—October 25, 2018—Altria continued its deception on an

22   earnings call with investors. Altria fraudulently described its decision to remove its pod-based

23   products from the market as one intended to address the dramatic increase in youth e-cigarette

24   use, while it was only weeks away from publicly announcing its 35% stake in JLI:

25          We recently met with Commissioner Gottlieb to discuss steps that could be taken

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     579
         Angelica LaVito, Former JLI executive sues over retaliation, claims company knowingly
27
     sold tainted nicotine pods, CNBC (Oct. 30, 2019), https://www.cnbc.com/2019/10/30/former-
28   juul-executive-sues-over-retaliation-claims-company-knowingly-sold-tainted-pods.html.
     580
         Letter from Howard Willard III, Altria to Senator Durbin, et. al. (Oct. 14, 2019).

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 1             to address underage access and use. Consistent with our discussion with the FDA
               and because we believe in the long-term promise of e-vapor products and harm
 2             reduction, we’re taking immediate action to address this complex situation.
 3
               First, Nu Mark will remove from the market MarkTen Elite and Apex by
 4             MarkTen pod-based products until these products receive a market order from the
               FDA or the youth issue is otherwise addressed. Second, for our remaining
 5             MarkTen and Green Smoke cig-a-like products, Nu Mark will sell only tobacco,
               menthol and mint varieties. Nu Mark will discontinue the sale of all other flavor
 6             variants of our cig-a-like products until these products receive a market order
               from the FDA or the youth issue is otherwise addressed. Although we don't
 7
               believe we have a current issue with youth access or use of our e-vapor products,
 8             we are taking this action, because we don't want to risk contributing to the issue.

 9             After removing Nu Mark’s pod-based products and cig-a-like flavor variants,
               approximately 80% of Nu Mark's e-vapor volume in the third quarter of 2018 will
10             remain on the market. 581
11
               491.   Willard reiterated that “pod-based products and flavored products” were behind
12
     the increase in youth use of e-cigarettes:
13
               I mean, I think the way we thought about this was that we believe e-vapor has a
14             lot of opportunity to convert adult cigarette smokers in the short, medium and
               long-term, but clearly, this significant increase in youth usage of the products puts
15             that at risk and we think rapid and significant action is necessary. And I think as
               we looked at the data that is available in some of the remarks from the FDA, I
16             think we concluded that the driver of the recent increase we think is pod-based
17             products and flavored products and so we thought that the two actions that we
               took addressed the drivers of the increased youth usage here in the short run.582
18
               492.   Willard emphasized that Altria’s withdrawal of its own pod-based products was
19
     intended to address youth use: “[W]e really feel like in light of this dramatic increase in youth
20
     usage, withdrawing those products until the PMTA is filed is one path forward.” He later said:
21
     “And frankly, the actions we took were the actions that we thought we could take that would
22
     have the biggest impact on addressing the increased use of e-vapor products by youth . . . we
23
     wanted to make a significant contribution to addressing the issue.”583 As noted above, however,
24

25   581
        Altria Group Inc (MO) Q3 2018 Earnings Conference Call Transcript
26   MO earnings call for the period ending September 30, 2018 (Oct. 25, 2018),
     https://www.fool.com/earnings/call-transcripts/2018/10/25/altria-group-inc-mo-q3-2018-
27   earnings-conference-ca.aspx.
     582
28       Id.
     583
         Id.

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 1   it has since been reported that Altria “pulled its e-cigarettes off the market” not out of concern

 2   for the epidemic of youth nicotine addiction that JLI created, but because a non-compete clause

 3   was a “part of its deal with J[LI].”584

 4          493.    Thus, while Altria publicly announced that it would pull its pod-based products

 5   to combat youth usage, and publicly seemed to support removal of youth-friendly flavors, its

 6   defense of mint as a tobacco-analog was actually part of the scheme to protect the profits

 7   associated with JLI’s mint JUUL pods, one of JLI’s strongest products with the highest nicotine

 8   content and highest popularity among non-smokers and youth.

 9          494.    In support of his arguments to the FDA that mint was a flavor for adult smokers,

10   Willard cited to a study that Altria had conducted and presented at a conference that JLI
11   attended.585 But Willard did not disclose that Altria’s “study” was merely a “quasi-experimental
12   online survey” and not a true scientific study.586 Notably, JLI’s current CEO, K.C. Crosthwaite,
13   was the President and Chief Growth Officer of Altria Client Services, which conducted Altria’s
14   mint “study” in Spring 2017, the same time that the Management Defendants and Altria began
15   their “confidential negotiations.”587 Willard did not disclose that this study was contradicted by
16   the “youth prevention” data provided by JLI during its acquisition due-diligence showing that
17   mint was popular among teens.
18          495.    Through these letters, Altria sought to prevent the FDA—which was actively
19   considering regulating flavors588—from banning JLI’s mint JUULpods.

20          496.    Acting in concert, JLI and Altria committed acts of mail or wire fraud when (1)

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     584
         Id.
22   585
         Jessica Parker Zdinak, Ph.D., E-vapor Product Appeal Among Tobacco Users and Non-
23   users and the Role of Flavor in Tobacco Harm Reduction, 72nd Tobacco Science Research
     Conference (Sept. 18, 2018), https://sciences.altria.com/library/-
24   /media/Project/Altria/Sciences/library/conferences/2018%20TSRC%20J%20Zdniak%20Presen
     tation.pdf.
25   586
         Id.
26   587
         Letter from Howard Willard III, Altria to Senator Durbin, et. al. (Oct. 14, 2019).
     588
27       Alex Lardieri, FDA Considers Ban on E-Cigarette Flavors Amid 'Epidemic' Use By Teens,
     U.S. News & World Report (Sept. 12, 2018), https://www.usnews.com/news/health-care-
28   news/articles/2018-09-12/fda-considers-ban-on-e-cigarette-flavors-amid-epidemic-use-by-
     teens.

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 1   JLI transmitted its Action Plan to the FDA and the public; and (2) Altria transmitted Willard’s

 2   letter to the FDA.

 3            497.   At the heart of these acts of fraud was Defendants’ characterization of mint as a

 4   tobacco product that was targeted to adult smokers. This characterization was fraudulent

 5   because Defendants knew kids prefer mint flavor and that JLI designed mint to be one of JLI’s

 6   most potent products. Altria supported this plan and helped execute it. Together, these actions

 7   by JLI and Altria ensured that mint would remain available to youths for many months,

 8   furthering their efforts to maintain and expand the number of nicotine-addicted e-cigarette users

 9   in order to ensure a steady and growing customer base.

10            498.   The deceptive scheme worked—the FDA did not protest JLI and Altria’s plan.
11   And on December 20, 2018, one month after JLI announced its Action Plan to keep selling
12   mint, Altria made a $12.8 billion equity investment in JLI.
13            499.   By February of 2019, the FDA became aware that it had been deceived by JLI
14   and Altria. On February 6, 2019, then-FDA commissioner Gottlieb wrote JLI and Altria
15   demanding in-person meetings, excoriating Altria for its “newly announced plans with JUUL
16   [that] contradict the commitments you made to the FDA” in a prior meeting and Willard’s
17   October 25, 2018 letter to the FDA.589 Gottlieb’s letter to JLI alleged that JLI’s conduct was
18   “inconsistent with its previous representations to the FDA.”590
19            500.   The FDA demanded Altria be prepared to explain itself regarding its “plans to

20   stop marketing e-cigarettes and to address the crisis of youth use of e-cigarettes.” Then-

21   Commissioner Gottlieb told Altria that “deeply concerning data” shows that “youth use of

22   JUUL represents a significant proportion of overall use of e-cigarette products by children” and

23   despite any alleged steps the companies had taken to address the issue he “ha[d] no reason to

24   believe these youth patterns of use are abating in the near term, and they certainly do not appear

25   to be reversing.”

26            501.   JLI and Altria met with Gottlieb in March 2019 in a meeting the then-

27
     589
28         Letter from Scott Gottlieb, FDA to Howard Willard, Altria (Feb. 9, 2019).
     590
           Letter from Scott Gottlieb, FDA to Kevin Burns, JUUL Labs, Inc. (Feb. 9, 2019).

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 1   Commissioner described as “difficult.”591 Gottlieb “did not come away with any evidence that

 2   public health concerns drove Altria’s decision to invest in JLI, and instead said it looked like a

 3   business decision. According to reporting by the New York Times, Gottlieb angrily criticized

 4   JLI’s lobbying of Congress and the White House, stating:

 5          We have taken your meetings, returned your calls and I had personally met with
            you more times than I met with any other regulated company, and yet you still
 6          tried to go around us to the Hill and White House and undermine our public
            health efforts. I was trying to curb the illegal use by kids of your product and you
 7
            are fighting me on it.592
 8
            502.    But just a week after the “difficult” meeting with JLI and Altria, Gottlieb posted
 9
     a statement about the FDA’s new e-cigarette policy, proposing to ban all flavors except
10
     “tobacco-, mint- and menthol-flavored products.”593 He cited the strong support of President
11
     Trump (whose administration JLI had aggressively lobbied594), and also cited “recent evidence
12
     indicat[ing] that mint- and menthol-flavored ENDS products are preferred more by adults than
13
     minors.”595 Just a few weeks later, Gottlieb resigned from his position as commissioner of the
14
     FDA.
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            503.    The scheme had succeeded in saving mint JUUL pods, as well as each
16
     Defendant’s bottom line. JLI’s sale of mint JUUL pods rose from one third of its sales in
17
     September 2018 to approximately two thirds in February 2019. JLI’s 2019 revenues were
18

19
     591
20       Kate Rooney & Angelica LaVito, Altria Shares Fall After FDA’s Gottlieb Describes
     ‘Difficult’ Meeting on Juul, CNBC (Mar. 19, 2019), https://www.cnbc.com/2019/03/19/altria-
21   shares-fall-after-fdas-gottlieb-describes-difficult-meeting-on-juul.html.
     592
22       Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. Times
     (Nov. 24, 2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
23   593
         News Release, Statement from FDA Commissioner Scott Gottlieb, M.D., on advancing new
     policies aimed at preventing youth access to, and appeal of, flavored tobacco products,
24
     including e-cigarettes and cigars, U.S. FDA (Mar. 13, 2019), https://www.fda.gov/news-
25   events/press-announcements/statement-fda-commissioner-scott-gottlieb-md-advancing-new-
     policies-aimed-preventing-youth-access.
26   594
         Evan Sully & Ben Brody, JLI Spent Record $1.2 Million Lobbying as Regulators Stepped
     Up, Wash. Post (Oct. 22, 2019), https://www.washingtonpost.com/business/on-small-
27
     business/juul-spent-record-12-million-lobbying-as-regulators-stepped-
28   up/2019/10/22/2a0dbc52-f4de-11e9-b2d2-1f37c9d82dbb_story.html.
     595
         Id.

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 1   estimated to be between $2.36 billion and $3.4 billion, and mint JUUL pods accounted for

 2   approximately 75% of JLI’s total 2019 sales. And because mint remained on the market until

 3   JLI withdrew it in November 2019 in the face of growing scrutiny,596 thousands, if not millions,

 4   of underage JUUL users suffered the consequences.

 5          504.    As former New York City Mayor Mike Bloomberg stated: “JUUL’s decision to

 6   keep mint- and menthol-flavored e-cigarettes on the shelves is a page right out of the tobacco

 7   industry’s playbook.”597

 8          505.    JLI continues to sell menthol-flavored products.598

 9                   3.         In Response to the Public Health Crisis Created by JUUL, the FDA
10                              Belatedly Tried to Slow the Epidemic.
11          506.    In 2017, the FDA announced that it would be taking steps to regulate e-cigarette
12   devices such as JUUL. In late 2017, the FDA initiated its investigation of e-cigarette
13   companies’ advertising and sales practices. But, as noted above, the FDA’s 2017 Compliance
14   Policy issued a four-year extension for compliance with the 2016 deeming rule, apparently to
15   “balance between regulation and encouraging development of innovative tobacco products that
16   may be less harmful than cigarettes.”599 In March 2018, the 2017 Compliance Policy was
17   challenged by the American Academy of Pediatrics, along with other public health
18   organizations concerned that a compliance extension for the e-cigarette industry would allow
19   more e-cigarette products into the market and continue to addict thousands of youth.600

20          507.    In March 2019, the FDA drafted guidance that modified the 2017 Compliance

21   Policy, but it did not go into full effect. However, on May 15, 2019, the lawsuit filed by the

22
     596
23       Ellen Huet, JLI Pulls Mint-Flavor Vaping Products, but Menthol Remains, Bloomberg
     (Nov. 7, 2019), https://www.bloomberg.com/news/articles/2019-11-07/juul-stops-selling-mint-
24   flavored-vaping-products.
     597
         Id.
25   598
         Sheila Kaplan, Juul Halts Sales of Mint, Its Top-Selling e-Cigarette Flavor, N.Y. Times
26   (Nov. 7, 2019), https://www.nytimes.com/2019/11/07/health/vaping-juul-mint-flavors.html.
     599
         Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed
27
     Products on the Market Without Premarket Authorization, U.S. FDA (Jan. 2020),
28   https://www.fda.gov/media/133880/download.
     600
         Id.

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 1   American Academy of Pediatrics was successful—the U.S. District Court for the District of

 2   Maryland vacated the 2017 Compliance Policy, and directed the FDA to “require that premarket

 3   authorization applications for all new deemed products” (“new” referred to any product

 4   launched after February 15, 2007 and thus would include JUUL) be submitted within ten

 5   months, by May 2020.601

 6          508.    In January 2020, the FDA issued: Enforcement Priorities for Electronic Nicotine

 7   Delivery Systems (ENDS) and Other Deemed Products on the Market Without Premarket

 8   Authorization: Guidance for Industry (2020 FDA Guidance), directed at the e-cigarette industry,

 9   which detailed the FDA’s plan to prioritize enforcement of regulations prohibiting the sale of

10   flavored e-cigarette products and prohibiting the targeting of youth and minors.602 The 2020
11   FDA Guidance focused on flavored e-cigarettes that appeal to children, including fruit and mint:
12   “[C]ompanies that do not cease manufacture, distribution and sale of unauthorized flavored
13   cartridge-based e-cigarettes . . . within 30 days risk FDA enforcement actions.”603
14                    4.     The Government’s Efforts to Address the JUUL Crisis Were Too
15                           Late and the Damage Has Already Been Done
16          509.    By the time the FDA acted, youth consumption of e-cigarettes had already
17   reached an all-time high, and the e-cigarette industry’s presence on social media became an
18   unstoppable force. The 2020 FDA Guidance acknowledges that two of the largest 2019 surveys
19   of youth cigarette use found that e-cigarette use had reached the highest levels ever recorded.604

20   By December 2019, there were over 2,500 reported cases of e-cigarette related hospitalization

21

22

23
     601
         Id.; Am. Academy of Pediatrics v. FDA , 379 F. Supp. 3d 461, 496 (D. Md. 2019).
24   602
         Id.
     603
25       News Release, FDA Finalizes Enforcement Policy on Unauthorized Flavored Cartridge-
     Based E-Cigarettes That Appeal to Children, Including Fruit and Mint, U.S. FDA (Jan. 2,
26   2020), https://www.fda.gov/news-events/press-announcements/fda-finalizes-enforcement-
     policy-unauthorized-flavored-cartridge-based-e-cigarettes-appeal-children.
27   604
         Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed
28   Products on the Market Without Premarket Authorization, U.S. FDA (Jan. 2020),
     https://www.fda.gov/media/133880/download.

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 1   for lung injury, including over fifty confirmed deaths.605 Despite the FDA’s efforts between

 2   2017 and 2019, youth consumption of e-cigarettes doubled among middle and high school

 3   students over the same period.606 In 2019, the total number of middle and high school students

 4   reporting current use of e-cigarettes surpassed five million for the first time in history.607

 5          510.    JLI’s presence on social media has also persisted, even without further initiation

 6   by JLI—the hallmark of a successful viral marketing campaign. When the “#juul” hashtag was

 7   first used on social media, it was a series of thirteen tweets on Twitter. By the time JLI

 8   announced it would shut down its Instagram account, “#juul” had been featured in over 250,000

 9   posts on Instagram. A study by Stanford University found that in the eight months after JLI

10   ceased all promotional postings, community posting accelerated, to nearly half a million posts.
11   Whereas before JLI exited Instagram, “#juul” appeared on average in 315 posts per day, that
12   number tripled to 1084 posts per day after JLI shut down its Instagram account.608
13          511.    The FDA’s anti-e-cigarette campaign on social media was aimed at youth and
14   middle and high school students. The campaign used the slogan “The Real Cost” to educate
15   youth on social media platforms about the health impacts of e-cigarette consumption—the real
16   cost of using e-cigarettes. A recent study from the University of California Berkeley found that
17   since September 2018, when the FDA’s social media campaign began, the hashtag
18   “#TheRealCost” was used about fifty times per month on Instagram. By comparison, e-cigarette
19   related hashtags were used as many as 10,000 times more often. Despite the FDA’s social media

20   intervention, the number of e-cigarette related posts, and the median number of likes (a strong

21   metric of viewer engagement) the posts received, increased three-fold and six-fold,

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     605
         Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 2019, 322 JAMA
25
     2095 (2019).
     606
26       Id.
     607
         Id.
27   608
         Robert K. Jackler et al., Rapid Growth of JUUL Hashtags After the Company Ceased Social
28   Media Promotion, Stanford Research Into the Impact of Tobacco Advertising (July 22, 2019),
     http://tobacco.stanford.edu/tobacco_main/publications/Hashtag JUUL Project_7-22-19F.pdf.

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 1   respectively.609

 2          512.    In short, by the time the FDA reacted to the epidemic created by Defendants,

 3   millions of youth were addicted to e-cigarettes and nicotine, and were sharing e-cigarette related

 4   posts on social media on their own.

 5          I.      JUUL Usage Increases the Risk of Cardiovascular, Pulmonary,
 6                  Neurological, and Other Bodily Injuries
 7                      1.    JUUL Products Cause Acute and Chronic Lung (Pulmonary)
 8                            Injuries
 9          513.    The use of e-cigarettes, including JUUL, cause significant lung toxicity610 and

10   have been implicated in multiple severe pathological lung injuries.
11          514.    Recent studies have demonstrated that exposure to JUUL aerosol induces
12   oxidative stress, inflammation, epithelial barrier dysfunction, and DNA damage in lung cells.611
13   An impaired epithelial barrier function allows greater passage of inhaled chemicals into the
14   body, increasing inflammation both locally in the lungs and systemically. This can lead to acute
15   and chronic lung injury as well as exposure to, and increased susceptibility to, respiratory
16   infections in users of e-cigarettes, including JUUL.612
17          515.    Research has also demonstrated that ultrafine metal particles from heating
18

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     609
21       Julia Vassey, #Vape: Measuring E-cigarette Influence on Instagram With Deep Learning
     and Text Analysis, 4 Frontiers in Commc’n 75
22   (2020),https://www.frontiersin.org/articles/10.3389/fcomm.2019.00075/full.
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23   Mol. Physiol. L193 (2017), https://www.ncbi.nlm.nih.gov/pubmed/28522559.
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24       Thivanka Muthumalage et al., E-cigarette Flavored Pods Induce Inflammation, Epithelial
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25   Reports 19035 (2019), https://www.nature.com/articles/s41598-019-51643-6.
     612
         Laura E. Crotty Alexander et al., Chronic Inhalation of E-cigarette Vapor Containing
26   Nicotine Disrupts Airway Barrier Function and Induces Systemic Inflammation and
27   Multiorgan Fibrosis in Mice, 314 Am. J. Physiol. Regul. Comp. Physiol. R834 (2018),
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28   The Innate Immune Function of Airway Epithelial Cells in Inflammatory Lung Disease, 45 Eur.
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 1   devices have been found in e-cigarette aerosol, and in e-cigarette user’s lungs.613

 2          516.    In addition, exposure to JUUL aerosol has been shown to significantly impair

 3   endothelial function comparable to impairment of endothelial function caused by use of

 4   combustible cigarettes.614

 5          517.    It is well-established that endothelial dysfunction and injury from direct toxic

 6   effects of inhalants such as cigarette smoke, can cause lung injuries such as chronic obstructive

 7   pulmonary disease (COPD), emphysema, asthma and chronic bronchitis.615

 8          518.    Recent epidemiological and toxicological studies detected links between asthma

 9   frequency and e-cigarette use in adolescents and reported that vaporized e-liquids containing the

10   same flavor aldehydes found in JUUL induce inflammation in human respiratory epithelia.616
11          519.    A study published in December 2019, found that among individuals who never
12   smoked combustible cigarettes, current e-cigarette use was associated with 75% higher odds of
13   chronic bronchitis, emphysema, and COPD compared to those who never used e-cigarettes.617
14          520.    In addition, the flavoring compounds used in e-cigarettes such as JUUL, include
15   numerous chemicals known to be toxins if inhaled, such as diacetyl, acetyl propionyl, and
16   benzaldehyde. These chemicals are linked to serious lung disease.618
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     613
18       Alessandra Caporale et al., Acute Effects of Electronic Cigarette Aerosol Inhalation on
     Vascular Function Detected at Quantitative MRI, 293 Radiology 97 (2019),
19   https://www.ncbi.nlm.nih.gov/pubmed/31429679.
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20       Poonam Rao et al., Juul and Combusted Cigarettes Comparably Impair Endothelial
     Function, 6 Tob. Regul. Sci. 30
21   (2020),https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6953758/.
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         Francesca Polverino et al. COPD as an Endothelial Disorder: Endothelial Injury Linking
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23   https://www.ncbi.nlm.nih.gov/pubmed/29468936.
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26   2017, 132 Am. J. Prev. Med. 949 (2019),https://www.ncbi.nlm.nih.gov/pubmed/30853474.
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27       Centers for Disease Control & Prevention, Flavorings-Related Lung Disease (Oct. 3,
     2017), https://www.cdc.gov/niosh/topics/flavorings/default.html; Won Hee Lee et al.,
28   Modeling Cardiovascular Risks of E-Cigarettes with Human-Induced Pluripotent Stem Cell-
     Derived Endothelial Cells. 73 J. Am. College of Cardiology 2722 (2019),

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 1          521.    A multitude of published case reports have linked e-cigarette use, including

 2   JUUL, to a variety of acute inhalational lung injuries such as lipoid pneumonia, bronchiolitis

 3   obliterans (popcorn lung), alveolar hemorrhage, eosinophilic pneumonia, hypersensitivity

 4   pneumonitis, chemical pneumonitis and collapsed lungs, among others.

 5          522.    In 2012, one article reported on the case of a 42-year-old woman admitted with a

 6   seven-month history of dyspnea, cough, and fevers that began when the patient had begun using

 7   e-cigarettes. The authors hypothesized the source of lipoid pneumonia was e-cigarette use, due

 8   to “glycerin-based oils found in e-cigarette nicotine vapor” added to “make the visual smoke

 9   when the solution is vaporized.”619

10          523.    A 2014 report described a 20-year-old previously healthy U.S. active-duty male
11   sailor who presented with a three-day history of “persistent cough, shortness of breath, and
12   facial flushing” which began an hour after using an e-cigarette device. The patient was
13   diagnosed with acute eosinophilic pneumonia. The patient was given prednisone and discharged
14   after five days in the hospital, with improvement of his symptoms and significant resolution of
15   lung opacity.620
16          524.    In 2015, Atkins and Drescher reported the case of a 60-year-old man admitted
17   repeatedly with weakness, chills, cough, a fever, and hypoxemia, with “bilateral upper lung
18   zone crackles.” The patient revealed before each emergency room admittance he had used e-
19   cigarettes and was was diagnosed with “suspected acute hypersensitivity pneumonitis, related to

20   ENDS” and had no further episodes with cessation of e-cigarette use.

21          525.    In another case in 2015, a 31-year-old woman was admitted to the hospital for

22   dyspnea and cough. The patient “became increasingly hypoxic and was intubated due to

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     https://www.ncbi.nlm.nih.gov/pubmed/31146818; Sheila Kaplan & Matt Richtel, Mysterious
25   Vaping Illness That’s ‘Becoming an Epidemic,’ N.Y. Times (Aug. 31, 2019),
     https://www.nytimes.com/2019/08/31/health/vaping-marijuana-ecigarettes-sickness.html.
26   619
         Lindsay McCauley et al., An Unexpected Consequence of Electronic Cigarette Use, 141
     Chest 1110 (2012).
27   620
         Darshan Thota & Emi Latham, Case Report of Electronic Cigarettes Possibly Associated
28   with Eosinophilic Pneumonitis in a Previously Healthy Active-duty Sailor, 47 J. Emerg. Med.
     15 (2014).

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 1   concerns of acute respiratory distress syndrome.” The patient was started on IV steroids and

 2   diagnosed with lipoid pneumonia, given the close temporality of her recent initiation of e-

 3   cigarettes three months prior to her onset of symptoms. The patient rapidly improved with

 4   steroids and cessation of use of e-cigarettes.621 A different published a case report in 2015

 5   describes bilateral pneumonia and pleural effusions associated with e-cigarette use.622

 6          526.    In 2016, another case report described the case of a 27-year-old otherwise

 7   healthy man who was admitted to the hospital with dyspnea, cough, fever, and hemoptysis after

 8   increasing use of e-cigarettes for seven months prior to presentation, initiated in an effort to

 9   decrease his combustible tobacco dependence. The patient worsened and required intubation

10   and mechanical ventilator support. There were no notable findings on microorganism workup,
11   “making infectious etiology for his pneumonia very unlikely.”.623
12          527.    Also in January 2020, another article reported on a teenager who developed acute
13   fibrinous organizing pneumonia (AFOP) after using JUUL as well as other vaping products.
14   AFOP presents with diffuse ground glass infiltrates and intra-alveolar fibrin balls. Subpleural
15   sparing and pneumomediastinum described elsewhere in vaping associated lung injury were
16   also seen. The authors noted that this patient's presentation fit with existing literature, but his
17   young age, choice of e-cigarette, and lung pathology were considered unique. The images
18   characterized AFOP, a newly evolving rare lung pathology, which is now associated with
19   vaping.624

20          528.    Additional published case reports and case series were published since 2016

21   noting serious and significant acute lung injuries associated with vaping or e-cigarette use.

22   Despite the increasing reports in the published medical literature and the widespread use of

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     621
24       Sujal Modi et al., Acute Lipiod Pneumonia Secondary to E-Cigarettes Use: An Unlikely
     Replacement for Cigarettes, 148 Chest 382 (2015).
     622
25       Kendall Moore et al., Bilateral Pneumonia and Pleural Effusions Subsequent to Electronic
     Cigarette Use, 3 Open J. of Emergency Med. 18 (2015).
26   623
         Ronnie D. Mantilla et al., Vapor Lung: Bronchiolitis Obliterans Organizing Pneumonia
27   (BOOP) in Patient with E-Cigarette Use, 193 Am. J. of Respiratory & Critical Care Med.
     A6513 (2016).
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28       Monica A. Lu et al., Vaping-related Lung Injury in an Adolescent, 201 Am. J. of Respiratory
     & Critical Care Med. 481(2020).

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 1   JUUL among teenagers, JLI did not take any steps to warn the public and consumers of the risks

 2   of JUUL products.

 3          529.    Over the summer of 2019, healthcare providers started to note an influx of acute

 4   respiratory failure and a myriad of lung injuries in patients who were using e-cigarettes. This

 5   prompted a Center for Disease Control (“CDC”) investigation of an outbreak of vaping

 6   associated lung injuries. The reported injuries mirrored the injuries that had been reported in the

 7   medical literature since 2012. In October 2019, the CDC issued treatment guidelines to assist

 8   doctors in clinical practice. The CDC defined a new recognized medical condition referred to as

 9   E-cigarette, or Vaping, Product Use Associated Lung Injury illnesses (EVALI).

10          530.    Researchers noted that the recent proliferation of vaping-related cases, known as
11   EVALI, demonstrated a heterogeneous collection of pneumonitis patterns that include acute
12   eosinophilic pneumonia, organizing pneumonia, lipoid pneumonia, diffuse alveolar damage and
13   acute respiratory distress syndrome (ARDS), diffuse alveolar hemorrhage, hypersensitivity
14   pneumonitis, and the rare giant-cell interstitial pneumonitis. Active infection (which would
15   include live bacterial contamination of e-cigarette fluids) did not appear to explain the clinical
16   presentation, but acute toxic lung injury did seem to fit.625
17          531.    Further, a recent publication in 2020 noted that there were almost 2000 cases of
18   EVALI at the time it was written. The authors further noted that Vitamin E acetate was one
19   possible cause of the recent outbreak but there may be more than one cause and therefore,

20   everyone should refrain from using any e-cigarette or vaping products.626

21          532.    Another publication in January 2020 noted that there were a number of patients

22   who were diagnosed with EVALI who reported the use of nicotine only e-cigarettes. The

23   authors concluded that EVALI was also associated with nicotine only products.627

24
     625
25       David C. Christiani, Vaping-Induced Injury, 68 New England J. Med. 787 (2019).
     626
         Sascha Ellington et al., Update: Product, Substance-Use, and Demographic Characteristics
26   of Hospitalized Patients in a Nationwide Outbreak of E-cigarette, or Vaping, Product Use-
27   Associated Lung Injury—United States, August 2019–January 2020, 69 Morbidity & Mortality
     Weekly Rep. 44 (2020).
     627
28       Isaac Ghinai et al., Characteristics of Persons Who Report Using Only Nicotine-Containing
     Products Among Interviewed Patients with E-cigarette, or Vaping, Product Use-Associated

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 1          533.    In addition, multiple reports have been published in the medical literature of

 2   acute alveolar hemorrhage caused by e-cigarette use.628 Diffuse alveolar hemorrhage (DAH) is a

 3   life-threatening disorder which refers to bleeding that originates in the pulmonary

 4   microvasculature. It often results in acute respiratory failure.629 Hypersensitivity pneumonitis

 5   has been linked to the use of e-cigarettes, such as JUUL, since 2015.630 In 2018, researchers

 6   published the first reported case of hypersensitivity pneumonitis and acute respiratory distress

 7   syndrome (ARDS) as a risk of e-cigarette use in an adolescent.631 Recent case reports have also

 8   linked spontaneous pneumothorax (lung collapse) to vaping and use of e-cigarettes.632, 633

 9          534.    The multiple pathological lung injuries and toxicity associated with e-cigarette

10   use, including JUUL, can lead to acute respiratory failure, intubation with mechanic ventilation
11   and death.
12          535.    It has been established that the use of e-cigarettes, including JUUL, can lead to
13   acute and chronic lung injuries such as EVALI, lipoid pneumonia, organizing pneumonia,
14   chemical pneumonitis, alveolar hemorrhage, bronchiolitis obliterans (popcorn lung),
15   pneumothorax, acute respiratory failure, acute respiratory distress syndrome (ARDS), asthma,
16   emphysema and COPD. Defendants never warned the public of the risk of serious acute and
17   chronic lung injuries that were associated with the use of e-cigarettes, including JUUL.
18

19   Lung Injury ˗ Illinois, August-December 2019, 69 Morbidity & Mortality Weekly Rep. 84
20   (2020).
     628
         Michael Agustin et al., Diffuse Alveolar Hemorrhage Induced by Vaping, 2018 Case Rep.
21   Pulmonol. 1 (2018); Peter J. Edmonds et al., Vaping-induced Diffuse Alveolar Hemorrhage, 29
     Respiratory Med. Case Reports 1 (2020).
22   629
         Brandi R. Newsome & Juan E. Morales, Diffuse Alveolar Hemorrhage, 104 Southern Med.
23   J. 269 (2011).
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         Graham Atkins et al., Acute Inhalational Lung Injury Related to the Use of Electronic
24   Nicotine Delivery Systems (ENDS), 148 Chest 83A (2015).
     631
         Casey G. Sommerfield et al., Hypersensitivity Pneumonitis and Acute Respiratory Distress
25   Syndrome From E-Cigarette Use, 141 Pediatrics 1 (2018).
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         Alex Bonilla et al., Recurrent Spontaneous Pneumothoraces and Vaping in an 18-year-
26   old Man: A Case Report and Review of the Literature, 13 J. of Med. Case Reports 283
27   (2019), https://doi.org/10.1186/s13256-019-2215-4.
     633
         Munish Sharma et al., A Case Report of Secondary Spontaneous Pneumothorax Induced by
28   Vape, 11 Cureus e6067 (2019), https://www.cureus.com/articles/24542-a-case-report-of-
     secondary-spontaneous-pneumothorax-induced-by-vape.

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 1          536.    The failure to properly and adequately test the safety of JUUL prior to marketing

 2   it to the public, including teenagers and young adults, and continuing in the face of the

 3   onslaught of publications in the medical literature demonstrating an association with e-cigarette

 4   use and significant lung injuries, amounts to a reckless disregard for public safety.

 5                    2.      JUUL Products Cause Cardiovascular Injuries
 6          537.    In addition to severe lung injuries and addiction, JUUL products cause

 7   significant and severe risks of cardiovascular injuries. Studies have shown that use of e-

 8   cigarettes such as JUUL increase the risk of strokes and heart attacks. 634

 9          538.    Research has demonstrated that e-cigarettes significantly increase blood pressure

10   and arterial stiffness, which also increases the risk of strokes and heart attacks.635 Further,
11   scientists have found that e-cigarettes cause oxidative stress, which leads to vascular disease and
12   damage, known risk factors for cardiovascular injuries.636
13          539.    Biological and epidemiologic studies have found that significant associations
14   exist between e-cigarette use and myocardial infarctions (heart attacks), which appear to be
15   dose-dependent. Biological investigations support this association, whereby a prothrombotic
16   phenotype may develop after exposure to nicotine-containing e-cigarette vapors.637
17
     634
         News Release, E-cigarettes linked to higher risk of stroke, heart attack, diseased arteries,
18   Am. Stroke Ass’n , Abstract 9, Session A2 (Jan. 30, 2019), https://newsroom.heart.org/news/e-
19   cigarettes-linked-to-higher-risk-of-stroke-heart-attack-diseased-arteries; Mohindar R. Vindhyal
     et al., Impact on Cardiovascular Outcomes Among E-cigarette Users: A Review From National
20   Health Interview Surveys, 73 J. of the Am. College of Cardiology Suppl. 2 (2019),
     www.onlinejacc.org/content/73/9_Supplement_2/11.; Paul M. Ndunda & Tabitha M. Muutu,
21   Electronic Cigarette Use is Associated with a Higher Risk of Stroke, 50 Int’l Stroke Conference
     2019 Oral Abstracts: Community/Risk Factors, Suppl. 1, Abst. 9,
22   www.ahajournals.org/doi/10.1161/str.50.suppl_1.9.
     635
23       Charalambos Vlachopoulos et al., Electronic Cigarette Smoking Increases Aortic Stiffness
     and Blood Pressure in Young Smokers, 67 J. Am. Coll. Cardiol. (2016).
     636
24       Dennis Thompson, Vaping May Hurt the Lining of Your Blood Vessels, WebMD HealthDay
     Reporter (May 28, 2019), www.webmd.com/mental-health/addiction/news/20190528/vaping-
25   may-hurt-the-lining-of-your-blood-vessels#1; JUUL e-cigarettes and JUUL pods deliver
     dangerous toxins and carcinogens to users. The ingredients in JUUL pods include glycerol,
26   propylene glycol, nicotine, benzoic acid, and flavoring chemicals. See What Are JUULpods?,
27   www.juul.com/learn/pods (last visited Apr. 4, 2020).
     637
         Giuseppe Lippi & Emmanuel J. Favaloro, An Update on Biological and Clinical
28   Associations Between E-Cigarettes and Myocardial Infarction, Semin. Thromb. Hemost.
     (2019), https//:doi.org/10.1055/s-0039-3402451.

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 1           540.    Researcher Floridan Rader and others found that chronic e-cigarette users

 2   demonstrated substantially impaired coronary microvascular endothelial function, even more

 3   pronounced than that seen in chronic tobacco cigarette users. These findings also suggested that

 4   chronic e-cigarette use leads to measurable and persistent adverse vascular effects that are not

 5   directly related to nicotine.638

 6           541.    Talal Alzahrani found that daily e-cigarette use was associated with an increased

 7   risk of myocardial infarction.639

 8           542.    A systematic review of the literature found that acute mainstream exposure to

 9   aerosol from JUUL, or from previous generations of e-cigarettes using free-base nicotine,

10   impaired vascular function comparably to combusted cigarette smoke and delivered
11   considerably more nicotine to the blood on a per puff basis.640
12           543.    The overarching conclusion from dozens of studies published in the past 8 years
13   is that use of e-cigarettes, including JUUL, increases the risk of cardiovascular injury which can
14   lead to strokes, heart attacks and death. JLI never warned the public or consumers of the serious
15   and significant risk of cardiovascular injuries associated with its products.
16                     3.      JUUL Products Cause and Contribute to Seizure(s)
17           544.    On April 3, 2019 the FDA Center for Tobacco Products issued a Special
18   Announcement notifying the public of an increase in reports of tobacco-related seizures,
19   specifically relating to an increase in e-cigarette use, particularly among youth.641

20           545.    Additionally,      FDA   Commissioner    Gottlieb   and    the   Principal   Deputy

21   Commissioner Amy Abernethy issued a joint statement addressing the FDA’s ongoing scientific

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      638
23        Florian Rader et al., E-Cigarette Use and Subclinical Cardiac Effects, medRxiv (preprint)
      (2020), https://www.medrxiv.org/content/10.1101/2020.01.16.20017780v1 .
24    639
          Talal Alzahrani et al., Association Between Electronic Cigarette Use and Myocardial
25    Infarction, 55 Am. J. Preventive Med. 455 (2018).
      640
          Nicholas Buchanan et al. Cardiovascular Risk of Electronic Cigarettes: A Review of
26    Preclinical and Clinical Studies, 116 Cardiovascular Research 40 (2019).
      641
27        News Release, Some E-cigarette Users Are Having Seizures, Most Reports Involving Youth
      and Young Adults, U.S. FDA (Apr. 10, 2019), https://www.fda.gov/tobacco-products/ctp-
28    newsroom/some-e-cigarette-users-are-having-seizures-most-reports-involving-youth-and-
      young-adults.

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 1   investigation of seizures following e-cigarette use as a potential safety issue in youth and young

 2   adults. The statement identifies seizures following e-cigarette use as a source of concern for the

 3   FDA, adding that in addition to the 35 reported cases from 2010 to early 2019, the FDA

 4   “recognize[s] that not all of the cases may be reported” due to their voluntary nature.642

 5          546.    Symptomatic nicotine toxicity is a consequence of excessive vaping.643 As the

 6   FDA acknowledges in their statement, “seizures or convulsions are known potential side effects

 7   of nicotine toxicity.”644 It is well-documented that nicotine poisoning can cause seizures,

 8   including ingestion of e-cigarette fluid.645 Nicotine-induced seizure has long been considered a

 9   possible side effect of long-term nicotine exposure.646 JUUL’s high nicotine content and

10   addictive nature cause JUUL users to be highly susceptible to seizures. Moreover, it has been
11   suggested that the use of e-cigarettes has been associated with an exacerbation of seizures in
12   individuals who are predisposed.647
13          547.    Seizures following e-cigarette use are a significant cause for concern due to the
14   unnecessarily high levels of nicotine delivered, by design, via JUUL. As described herein, JLI
15   intentionally designed its products to deliver a higher amount of nicotine, particularly targeting
16

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     642
         News Release, Statement from FDA Commissioner Scott Gottlieb, M.D., and Principal
18   Deputy Commissioner Amy Abernethy, M.D., Ph.D., on FDA’s Ongoing Scientific Investigation
     of Potential Safety Issue Related to Seizures Reported Following E-cigarette Use, Particularly
19
     in Youth and Young Adults, U.S. FDA (Apr. 3, 2019), https://www.fda.gov/news-events/press-
20   announcements/statement-fda-commissioner-scott-gottlieb-md-and-principal-deputy-
     commissioner-amy-abernethy-md-phd.
21   643
         Adrienne Hughes et al., An Epidemiologic and Clinical Description of E-cigarette Toxicity,
     57 Clin. Toxicol. 287 (2018), https://doi: 10.1080/15563650.2018.1510503.
22   644
         News Release, Some E-cigarette Users Are Having Seizures, Most Reports Involving Youth
23   and Young Adults, U.S. FDA (Apr. 10, 2019), https://www.fda.gov/tobacco-products/ctp-
     newsroom/some-e-cigarette-users-are-having-seizures-most-reports-involving-youth-and-
24   young-adults.
     645
25       Gerdinique C. Maessen et al., Nicotine Intoxication by E-cigarette Liquids: A Study of Case
     Reports, Pathophysiology, 58 Clinical Toxicology 1 (2020),
26   https://www.tandfonline.com/doi/full/10.1080/15563650.2019.1636994.
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         Lucinda L. Miner et al., The Effect of Chronic Nicotine Treatment on Nicotine-induced
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28       Jessica D. Wharton et al., Increased Seizure Frequency Temporally Related to Vaping:
     Where There’s Vapor, There’s Seizures?, 104 Pediatric Neurology 66 (2020).

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 1   young people, and then failed to warn of the subsequent risks. JUUL devices were deliberately

 2   designed to deliver higher concentrations of nicotine per puff as compared to cigarettes, creating

 3   the risk for addiction as well as the risk of seizure due to potentially toxic levels of nicotine

 4   exposure.

 5          548.    JLI never warned the public or consumers of the risk of seizures associated with

 6   the use of e-cigarettes including JUUL.

 7                    4.       Animal Studies Demonstrate Carcinogenic Potential of JUUL
 8          549.    Several studies conducted on animals show a significant likelihood that JUUL

 9   could cause cancer for users.

10          550.    In 2017, a report by Donatella Canistro and others found that e-cigarettes induce
11   toxicological effects that can raise the risk of cancer.648 Similarly, a 2018 study measured the
12   DNA damage induced by nitrosamines in the organs (lung, bladder, and heart) of mice
13   subjected to e-cigarette vapor and concluded that e-cigarette vapor induces DNA damage in all
14   three organs and reduces DNA-repair functions and proteins in mouse lungs. They further found
15   that nicotine-derived nitrosamine ketone can induce the same effects and enhance mutational
16   susceptibility and tumorigenic transformation of cultured human bronchial epithelial and
17   urothelial cells (leading them to believe that vaping could contribute to heart disease and lung
18   and bladder cancer in humans).649 And in 2019, a report by Moon-shong Tang and others found
19   that exposure to e-cigarette vapor, induced lung adenocarcinoma and bladder urothelial

20   hyperplasia in mice.650

21          551.    There is a likely association between e-cigarettes, including JUUL, and cancer.

22   Long term epidemiological studies will likely reveal an increased risk of cancer among this

23   generation of youth who were unwitting targets of JLI in complete and utter reckless disregard

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25   648
         Donatella Canistro et al., E-cigarettes Induce Toxicological Effects That Can Raise the
     Cancer Risk, 7 Sci. Reports 1 (2017).
26   649
         Hyun-Wook Lee et al., E-cigarette Smoke Damages DNA and Reduces Repair Activity in
27   Mouse Heart, Lung, and Bladder as well as in Human Lung and Bladder Cells, 115 PNAS
     E1560 (2017).
     650
28       Moon-shong Tang, et al., Electronic-cigarette Smoke Induces Lung Adenocarcinoma and
     Bladder Urothelial Hyperplasia in Mice, 116 PNAS 21727 (2019).

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 1   for their safety.

 2   V.       INTERSTATE AND INTRASTATE COMMERCE
 3            552.   Defendants’ conduct as alleged herein has had a substantial effect on interstate

 4   and intrastate commerce.

 5            553.   At all material times, Defendants participated in the manufacture, marketing,

 6   promotion, distribution, and sale substantial amounts of JUUL products in a continuous and

 7   uninterrupted flow of commerce across state and national lines and throughout the United States

 8            554.   Defendants’ conduct also had substantial intrastate effects in that, among other

 9   things, JUUL products were advertised and sold in each state and the District of Columbia. At

10   least thousands of individuals in each state and the District of Columbia were impacted by
11   Defendants’ fraudulent, deceptive, and unfair conduct. As alleged below, absent Defendants’
12   unlawful conduct, Plaintiffs and class members within each state and the District of Columbia
13   would not have purchased JUUL products or would have paid less for them.
14   VI.      CLASS ACTION ALLEGATIONS
15            555.   Plaintiffs bring this action on behalf of themselves and, under Federal Rules of
16   Civil Procedure 23(a), (b)(2), (b)(3) and/or (c)(4), as representatives of classes defined as
17   follows:
18            A.     Nationwide Class
19            556.   The Nationwide Class is defined as:

20                   All persons who purchased, in the United States, a JUUL e-cigarette
                     and/or JUUL pods.
21
              B.     State Classes and Subclasses
22
              557.   As an alternative or in addition to the Nationwide Class, Plaintiffs allege a
23
     separate class for each State and the District of Columbia based upon the applicable laws set
24
     forth in the alternate state law counts. Each class is defined as follows for the claims asserted
25
     under a particular jurisdiction’s law:
26
              558.   The Alabama Subclass is defined as:
27
                     All persons who purchased, in Alabama, a JUUL e-cigarette and/or JUUL
28                   pods.

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 1       559.   The Alabama Direct Purchaser Subclass is defined as:

 2              All persons who purchased, in Alabama, a JUUL e-cigarette and/or JUUL
                pods directly from JUUL.
 3
         560.   The Alaska Subclass is defined as:
 4
                All persons who purchased, in Alaska, a JUUL e-cigarette and/or JUUL
 5              pods.
 6
         561.   The Arizona Subclass is defined as:
 7
                All persons who purchased, in Arizona, a JUUL e-cigarette and/or JUUL
 8              pods.

 9       562.   The Arkansas Subclass is defined as:

10              All persons who purchased, in Arkansas, a JUUL e-cigarette and/or JUUL
                pods.
11
         563.   The California Subclass is defined as:
12
                All persons who purchased, in California, a JUUL e-cigarette and/or
13              JUUL pods.
14
         564.   The Colorado Subclass is defined as:
15              All persons who purchased, in Colorado, a JUUL e-cigarette and/or JUUL
16              pods.

17       565.   The Connecticut Subclass is defined as:

18              All persons who purchased, in Connecticut, a JUUL e-cigarette and/or
                JUUL pods.
19
         566.   The Delaware Subclass is defined as:
20
                All persons who purchased, in Delaware, a JUUL e-cigarette and/or JUUL
21              pods.
22       567.   The District of Columbia Subclass is defined as:
23              All persons who purchased, in District of Columbia, a JUUL e-cigarette
24              and/or JUUL pods.

25       568.   The Florida Subclass is defined as:

26              All persons who purchased, in Florida, a JUUL e-cigarette and/or JUUL
                pods.
27
         569.   The Georgia Subclass is defined as:
28


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 1              All persons who purchased, in Georgia, a JUUL e-cigarette and/or JUUL
                pods.
 2
         570.   The Georgia Direct Purchaser Subclass is defined as:
 3
                All persons who purchased, in Georgia, a JUUL e-cigarette and/or JUUL
 4              pods directly from JUUL.
 5
         571.   The Hawaii Subclass is defined as:
 6
                All persons who purchased, in Hawaii, a JUUL e-cigarette and/or JUUL
 7              pods.

 8       572.   The Idaho Subclass is defined as:

 9              All persons who purchased, in Idaho, a JUUL e-cigarette and/or JUUL
                pods.
10
         573.   The Illinois Subclass is defined as:
11
                All persons who purchased, in Illinois, a JUUL e-cigarette and/or JUUL
12              pods.
13
         574.   The Illinois Direct Purchaser Subclass is defined as:
14              All persons who purchased, in Illinois, a JUUL e-cigarette and/or JUUL
15              pods directly from JUUL.

16       575.   The Indiana Subclass is defined as:

17              All persons who purchased, in Indiana, a JUUL e-cigarette and/or JUUL
                pods.
18
         576.   The Iowa Subclass is defined as:
19
                All persons who purchased, in Iowa, a JUUL e-cigarette and/or JUUL
20              pods.
21       577.   The Kansas Subclass is defined as:
22              All persons who purchased, in Kansas, a JUUL e-cigarette and/or JUUL
23              pods.

24       578.   The Kentucky Subclass is defined as:

25              All persons who purchased, in Kentucky, a JUUL e-cigarette and/or JUUL
                pods.
26
         579.   The Kentucky Direct Purchaser Subclass is defined as:
27
                All persons who purchased, in Kentucky, a JUUL e-cigarette and/or JUUL
28              pods directly from JUUL.


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 1       580.   The Louisiana Subclass is defined as:

 2              All persons who purchased, in Louisiana, a JUUL e-cigarette and/or JUUL
                pods.
 3
         581.   The Maine Subclass is defined as:
 4
                All persons who purchased, in Maine, a JUUL e-cigarette and/or JUUL
 5              pods.
 6
         582.   The Maryland Subclass is defined as:
 7
                All persons who purchased, in Maryland, a JUUL e-cigarette and/or JUUL
 8              pods.

 9       583.   The Massachusetts Subclass is defined as:

10              All persons who purchased, in Massachusetts, a JUUL e-cigarette and/or
                JUUL pods.
11
         584.   The Michigan Subclass is defined as:
12
                All persons who purchased, in Michigan, a JUUL e-cigarette and/or JUUL
13              pods.
14
         585.   The Minnesota Subclass is defined as:
15              All persons who purchased, in Minnesota, a JUUL e-cigarette and/or
16              JUUL pods.

17       586.   The Mississippi Subclass is defined as:

18              All persons who purchased, in Mississippi, a JUUL e-cigarette and/or
                JUUL pods
19
         587.   The Missouri Subclass is defined as:
20
                All persons who purchased, in Missouri, a JUUL e-cigarette and/or JUUL
21              pods.
22       588.   The Montana Subclass is defined as:
23              All persons who purchased, in Montana, a JUUL e-cigarette and/or JUUL
24              pods.

25       589.   The Nebraska Subclass is defined as:

26              All persons who purchased, in Nebraska, a JUUL e-cigarette and/or JUUL
                pods.
27
         590.   The Nevada Subclass is defined as:
28


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 1              All persons who purchased, in Nevada, a JUUL e-cigarette and/or JUUL
                pods.
 2
         591.   The New Hampshire Subclass is defined as:
 3
                All persons who purchased, in New Hampshire, a JUUL e-cigarette and/or
 4              JUUL pods.
 5
         592.   The New Jersey Subclass is defined as:
 6
                All persons who purchased, in New Jersey, a JUUL e-cigarette and/or
 7              JUUL pods.

 8       593.   The New Mexico Subclass is defined as:

 9              All persons who purchased, in New Mexico, a JUUL e-cigarette and/or
                JUUL pods.
10
         594.   The New York Subclass is defined as:
11
                All persons who purchased, in New York, a JUUL e-cigarette and/or
12              JUUL pods.
13
         595.   The New York Direct Purchaser Subclass is defined as:
14              All persons who purchased, in New York, a JUUL e-cigarette and/or
15              JUUL pods directly from JUUL.

16       596.   The North Carolina Subclass is defined as:

17              All persons who purchased, in North Carolina, a JUUL e-cigarette and/or
                JUUL pods.
18
         597.   The North Dakota Subclass is defined as:
19
                All persons who purchased, in North Dakota, a JUUL e-cigarette and/or
20              JUUL pods.
21       598.   The Ohio Subclass is defined as:
22              All persons who purchased, in Ohio, a JUUL e-cigarette and/or JUUL
23              pods.

24       599.   The Ohio Direct Purchaser Subclass is defined as:

25              All persons who purchased, in Ohio, a JUUL e-cigarette and/or JUUL
                pods directly from JUUL.
26
         600.   The Oklahoma Subclass is defined as:
27
                All persons who purchased, in Oklahoma, a JUUL e-cigarette and/or
28              JUUL pods.


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 1       601.   The Oregon Subclass is defined as:

 2              All persons who purchased, in Oregon, a JUUL e-cigarette and/or JUUL
                pods.
 3
         602.   The Oregon Direct Purchaser Subclass is defined as:
 4
                All persons who purchased, in Oregon, a JUUL e-cigarette and/or JUUL
 5              pods directly from JUUL.
 6
         603.   The Pennsylvania Subclass is defined as:
 7
                All persons who purchased, in Pennsylvania, a JUUL e-cigarette and/or
 8              JUUL pods.

 9       604.   The Rhode Island Subclass is defined as:

10              All persons who purchased, in Rhode Island, a JUUL e-cigarette and/or
                JUUL pods.
11
         605.   The South Carolina Subclass is defined as:
12
                All persons who purchased, in South Carolina, a JUUL e-cigarette and/or
13              JUUL pods.
14
         606.   The South Dakota Subclass is defined as:
15              All persons who purchased, in South Dakota, a JUUL e-cigarette and/or
16              JUUL pods.

17       607.   The Tennessee Subclass is defined as:

18              All persons who purchased, in Tennessee, a JUUL e-cigarette and/or
                JUUL pods.
19
         608.   The Tennessee Direct Purchaser Subclass is defined as:
20
                All persons who purchased, in Tennessee, a JUUL e-cigarette and/or
21              JUUL pods directly from JUUL.
22       609.   The Texas Subclass is defined as:
23              All persons who purchased, in Texas, a JUUL e-cigarette and/or JUUL
24              pods.

25       610.   The Utah Subclass is defined as:

26              All persons who purchased, in Utah, a JUUL e-cigarette and/or JUUL
                pods.
27
         611.   The Vermont Subclass is defined as:
28


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 1                 All persons who purchased, in Veront, a JUUL e-cigarette and/or JUUL
                   pods.
 2
            612.   The Vermont Direct Purchaser Subclass is defined as:
 3
                   All persons who purchased, in Vermont, a JUUL e-cigarette and/or JUUL
 4                 pods directly from JUUL.
 5
            613.   The Virginia Subclass is defined as:
 6
                   All persons who purchased, in Virginia, a JUUL e-cigarette and/or JUUL
 7                 pods.

 8          614.   The Washington Subclass is defined as:

 9                 All persons who purchased, in Washington, a JUUL e-cigarette and/or
                   JUUL pods.
10
            615.   The Washington Direct Purchaser Subclass is defined as:
11
                   All persons who purchased, in Washington, a JUUL e-cigarette and/or
12                 JUUL pods directly from JUUL.
13
            616.   The West Virginia Subclass is defined as:
14                 All persons who purchased, in West Virginia, a JUUL e-cigarette and/or
15                 JUUL pods.

16          617.   The Wisconsin Subclass is defined as:

17                 All persons who purchased, in Wisconsin, a JUUL e-cigarette and/or
                   JUUL pods.
18
            618.   The Wisconsin Direct Purchaser Subclass is defined as:
19
                   All persons who purchased, in Wisconsin, a JUUL e-cigarette and/or
20                 JUUL pods directly from JUUL.
21          619.   The Wyoming Subclass is defined as:
22                 All persons who purchased, in Wyoming, a JUUL e-cigarette and/or JUUL
23                 pods.

24          C.     Class Exclusions

25          620.   The following persons and entities are excluded from the proposed classes:

26   Defendants, their employees, co-conspirators, officers, directors, legal representatives, heirs,

27   successors and wholly or partly owned subsidiaries or affiliated companies; class counsel and

28   their employees; and the judicial officers and their immediate family members and associated


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 1   court staff assigned to this case.

 2           D.      Rule 23 Prerequisites
 3           621.    Each of the proposed classes meets the requirements of Federal Rules of Civil

 4   Procedure 23(a), (b)(2), (b)(3) and/or (c)(4).

 5           622.    The members of each class are so numerous that joinder is impracticable. Each

 6   class includes at least thousands of members. Members of the classes are widely dispersed

 7   throughout the country and/or each respective state.

 8           623.    Plaintiffs’ claims are typical of the claims of all class members. Plaintiffs’ claims

 9   arise out of the same common course of conduct that gives rise to the claims of the other class

10   members. Plaintiffs and all class members were and will continue to be damaged by the same
11   wrongful conduct—i.e., Defendants’ scheme to engage in fraudulent and unfair business
12   practices regarding the marketing and sale of JUUL products, including the marketing of such
13   products to minors.
14           624.    Plaintiffs will fairly and adequately protect and represent the interests of the
15   classes. Plaintiffs’ interests are coincident with, and not antagonistic to, those of the classes.
16           625.    Plaintiffs are represented by counsel who are experienced and competent in the
17   prosecution of class action litigation and have particular expertise with consumer class actions
18   and cases in the tobacco industry.
19           626.    Questions of law and fact common to the classes include:

20                   a.      Whether the advertising for JUUL products was misleading,
                             fraudulent, deceptive, unfair and/or unconscionable;
21
                     b.      Whether the targeting of minors in the marketing and sale of JUUL
22                           products was unfair and/or unconscionable;
23
                     c.      Whether Defendants have been unjustly enriched through the false,
24                           misleading and deceptive advertising of JUUL products and the
                             marketing and sale of JUUL products to minors;
25
                     d.      Whether JUUL products were merchantable condition when sold,
26                           were defective when sold, and possessed the most basic degree of
                             fitness for ordinary use;
27
                     e.      Whether Defendants’ conduct violated the Magnuson-Moss
28
                             Warranty Act, 15 U.S.C. §§ 2301, et seq.;

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 1                   f.      Whether Defendants’ conducted an enterprise in violation of the
                             Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.
 2                           § 1961, et seq.;
 3                   g.      The amount of damages owed the classes;
 4
                     h.      The appropriate measure of disgorgement; and
 5
                     i.      The type and format of injunctive relief.
 6
             627.    Questions of law and fact common to members of each class will predominate
 7
     over any questions that may affect only individual class members because Defendants have
 8
     acted on grounds generally applicable to members of the classes.
 9
             628.    Class treatment is a superior method for the fair and efficient adjudication of the
10
     controversy because, among other things, class treatment will permit a large number of similarly
11
     situated persons to prosecute their common claims in a similar forum simultaneously,
12
     efficiently, and without the unnecessary duplication of evidence, effort, and expense that
13
     numerous individual actions would engender. The benefits of proceeding through the class
14
     mechanism, including providing injured persons and entities with a means of obtaining redress
15
     on claims that might not be practicable to pursue individually, substantially outweigh any
16
     difficulties that may arise in the management of this class action.
17
             629.    Class treatment is also manageable, and Plaintiffs know of no management
18
     difficulties that would preclude class certification in this.
19
             630.    Plaintiffs reserve the right to seek to certify common questions related to
20
     Defendants’ knowledge, conduct, products, and duties.
21
     VII.    CAUSES OF ACTION
22
             A.      Violations of California Law Brought on Behalf of the Nationwide Class and
23
                     the California Subclass
24
             631.    Except as otherwise noted, Plaintiffs bring each of the claims in this Section on
25
     behalf of the Nationwide Class and, in the alternative, on behalf of the California Class.
26
                     1.      Violation of the California Unfair Competition Law (Cal. Bus. &
27
                             Prof. Code § 17200, et seq.) (Sales and Marketing Practices)
28
             632.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

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 1          633.    This claim is brought against JLI and, for certain claims as noted below, all

 2   Defendants.

 3          634.    JLI is a “person” under Cal. Bus. & Prof. Code § 17201.

 4          635.    Plaintiffs and class members purchased JUUL products for personal purposes.

 5          636.    Defendants created and implemented a scheme to create a market for e-cigarettes

 6   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 7   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 8   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 9   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

10   addictiveness, and significant risks of substantial physical injury from using JUUL products.
11          637.    Advertisements and representations for JUUL products contained deceptive
12   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
13   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
14   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
15   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
16   decades, JLI used third parties and word of mouth to spread false and misleading information
17   about JUUL products.
18          638.    Advertisements and representations for JUUL products concealed and failed to
19   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

20   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

21   addictive, posed significant risks of substantial physical injury resulting from the use of the

22   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

23   consumed through a pack of combustible cigarettes.

24          639.    The labels on JUUL products failed to disclose that the products posed

25   significant risks of substantial physical injury resulting from the use of the products. The labels

26   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

27          640.    The omissions were misleading and deceptive standing alone and were

28   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to


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 1   cigarettes, and other representations.

 2          641.    JLI’s conduct was unfair and unconscionable in that it included (i) the

 3   manufacture and sale of products with a heightened propensity to cause addiction and physical

 4   injuries and (ii) misrepresentations and omissions of material facts concerning the

 5   characteristics and safety of JUUL products that offended public policy; were immoral,

 6   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

 7   substantial harm that greatly outweighs any possible utility from the conduct.

 8          642.    JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 9   omissions at issue were likely to, and in fact did, deceive reasonable consumers, including the

10   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their
11   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not
12   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery
13   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily
14   injury resulting from the use of the products, and (vi) that the nicotine consumed through one
15   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes, and (vi)
16   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a
17   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor
18   in Plaintiffs’ and class members’ decisions to purchase JUUL products.
19          643.    JLI owed Plaintiffs and class members a duty to disclose these facts because they

20   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

21   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

22   facts; because the facts would be material to reasonable consumers; because JLI actively

23   concealed them; because JLI intended for consumers to rely on the omissions in question;

24   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

25   made partial representations concerning the same subject matter aßs the omitted facts.

26          644.    As set forth in the allegations concerning each Plaintiff in Appendix A, in

27   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

28   Reasonable consumers would have been expected to have relied on the misrepresentations and


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 1   omissions.

 2          645.    JLI’s conduct was also unlawful in that it violated the following statutes:

 3   Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961, et seq.; the Magnuson-

 4   Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.; Cal. Bus. & Prof. Code § 22963(a); and Cal.

 5   Penal Code § 308(a)(1)(A).

 6          646.    JLI and the Management Defendants engaged in fraudulent and deceptive

 7   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 8   products were appropriate for minors, when in fact the products never should have been

 9   marketed to minors and are especially harmful to minors due to the potent and addictive

10   nicotine doses, addictive qualities, and health risks.
11          647.    All Defendants engaged in conduct that is unfair and unconscionable because the
12   targeting of minors offends public policy (in particular Cal. Bus. & Prof. Code § 22963(a) and
13   Cal. Penal Code § 308(a)(1)(A)) is immoral, unethical, oppressive, outrageous, unscrupulous,
14   and substantially injurious; and has caused substantial harm that greatly outweighs any possible
15   utility from the conduct.
16          648.    As alleged above, all Defendants participated and/or facilitated the marketing of
17   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI
18   and others have continued the deceptive, misleading, unfair, and unconscionable practices that
19   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

20   use of JUUL products by minors continues to rise.

21          649.    Defendants’ conduct actually and proximately caused Plaintiffs and class

22   members to lose money or property. Absent Defendants’ unfair and fraudulent conduct,

23   Plaintiffs and class members would have behaved differently and would not have purchased

24   JUUL products or would have paid less for them. Defendants’ misrepresentations and omissions

25   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have

26   purchased and enter into purchase contracts they would not otherwise have entered into. In

27   addition, class members who are minors are entitled to full repayment of the amounts they spent

28   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—


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 1   restitution, injunctive relief, and reasonable attorneys’ fees, as well as any other relief the Court

 2   may deem just or proper.

 3                  2.      Violation of the California Consumer Legal Remedies Act (Cal. Civ.
 4                          Code § 1750, et seq.)
 5          650.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 6          651.    This claim is brought against JLI.

 7          652.    JLI is a “person” under Cal. Civ. Code § 1761.

 8          653.    Plaintiffs and class members are “consumers” under Cal. Civ. Code § 1761 and

 9   purchased JUUL products for personal purposes.

10          654.    JUUL products are “goods” under Cal. Civ. Code § 1761.
11          655.    Defendants created and implemented a scheme to create a market for e-cigarettes
12   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
13   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
14   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
15   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
16   addictiveness, and significant risks of substantial physical injury from using JUUL products.
17          656.    Advertisements and representations for JUUL products contained deceptive
18   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
19   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

20   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

21   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

22   decades, JLI used third parties and word of mouth to spread false and misleading information

23   about JUUL products and word of mouth to spread false and misleading information about

24   JUUL products.

25          657.    Advertisements and representations for JUUL products concealed and failed to

26   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

27   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

28   addictive, posed significant risks of substantial physical injury resulting from the use of the


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 1   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 2   consumed through a pack of combustible cigarettes, and that the nicotine consumed through one

 3   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

 4          658.    The labels on JUUL products failed to disclose that the products posed

 5   significant risks of substantial physical injury resulting from the use of the products. The labels

 6   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 7          659.    The omissions were misleading and deceptive standing alone and were

 8   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 9   cigarettes and other representations.

10          660.    JLI’s conduct constituted the following prohibited fraudulent, deceptive, and
11   unfair business practices: (a) misrepresenting that JUUL products have characteristics,
12   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL
13   products are of a particular standard, quality, or grade, or that goods are of a particular style or
14   model, when they are not; (c) advertising goods or services with intent not to sell them as
15   advertised; and (d) misrepresenting that the subject of a transaction has been supplied in
16   accordance with a previous representation when it has not.
17          661.    JLI’s conduct was likely to, and in fact did, deceive reasonable consumers,
18   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
19   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

20   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

21   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

22   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

23   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

24   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

25   Plaintiffs’ and class members’ decisions to purchase JUUL products.

26          662.    JLI owed Plaintiffs and class members a duty to disclose these facts because they

27   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

28   other than Plaintiffs and class members), who had exclusive and superior knowledge of the


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 1   facts; because the facts would be material to reasonable consumers; because JLI actively

 2   concealed them; because JLI intended for consumers to rely on the omissions in question;

 3   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 4   made partial representations concerning the same subject matter as the omitted facts.

 5          663.     As set forth in the allegations concerning each Plaintiff in Appendix A, in

 6   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

 7   Reasonable consumers would have been expected to have relied on the misrepresentations and

 8   omissions.

 9          664.     Defendants’ conduct actually and proximately caused actual damages to

10   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and
11   class members would have behaved differently and would not have purchased JUUL products
12   or would have paid less for them. Defendants’ misrepresentations and omissions induced
13   Plaintiffs and class members to purchase JUUL products they would not otherwise have
14   purchased and enter into purchase contracts they would not otherwise have entered into. In
15   addition, class members who are minors are entitled to full repayment of the amounts they spent
16   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
17   actual damages, punitive damages, injunctive relief, reasonable attorneys’ fees, and restitution,
18   as well as any other relief the Court may deem just or proper.
19          665.     Plaintiffs have complied or substantially complied with all applicable notice

20   requirements.

21                   3.      Violation of the California False Advertising Law (Cal. Bus. & Prof.
22                           Code § 17500, et seq.)
23          666.     Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

24          667.     This claim is brought against JLI.

25          668.     JUUL intended to directly and indirectly sell JUUL products. JUUL induced

26   consumers to buy JUUL products and made and disseminated, and caused to be made and

27   disseminated, from California misrepresentations and omissions that were untrue and

28   misleading.


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 1          669.    Defendants knew or should have known that their misrepresentations and/or

 2   omissions were false and misleading, and intended for consumers to rely on such

 3   misrepresentations and omissions.

 4          670.    The misrepresentations and omissions were likely to, and in fact did, deceive

 5   reasonable consumers, including the Plaintiffs. Reasonable consumers, including the Plaintiffs,

 6   would have found it material to their purchasing decisions that JUUL’s products (i) were not

 7   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)

 8   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

 9   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

10   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a
11   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor
12   in Plaintiffs’ and class members’ decisions to purchase JUUL products.
13          671.    JLI owed Plaintiffs and class members a duty to disclose these facts because they
14   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
15   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
16   facts; because the facts would be material to reasonable consumers; because JLI actively
17   concealed them; because JLI intended for consumers to rely on the omissions in question;
18   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
19   made partial representations concerning the same subject matter as the omitted facts.

20          672.    As set forth in the allegations concerning each Plaintiff in Appendix A, in

21   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

22   Reasonable consumers would have been expected to have relied on the misrepresentations and

23   omissions.

24          673.    JUUL’s conduct actually and proximately caused loss of money or property by

25   Plaintiffs and class members. Absent JUUL’s conduct, Plaintiffs and class members would have

26   behaved differently and would not have purchased JUUL products or would have paid less for

27   them. JUUL’s misrepresentations and omissions induced Plaintiffs and class members to

28   purchase JUUL products they would not otherwise have purchased and enter into purchase


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 1   contracts they would not otherwise have entered into. In addition, class members who are

 2   minors are entitled to full repayment of the amounts they spent on JUUL products. Plaintiffs

 3   seek—on behalf of themselves and each member of the class—restitution and injunctive relief,

 4   as well as any other relief the Court may deem just or proper.

 5                  4.      Common Law Fraud
 6          674.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 7          675.    This claim is brought against JLI.

 8          676.    JUUL created and implemented a scheme to create a market for e-cigarettes and

 9   substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          677.    Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          678.    Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          679.    The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          680.    The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          681.    JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 6   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 7   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 8   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 9   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

10   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
11   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
12   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
13   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
14   Plaintiffs’ and class members’ decisions to purchase JUUL products.
15          682.    JLI owed Plaintiffs and class members a duty to disclose these facts because they
16   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
17   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
18   facts; because the facts would be material to reasonable consumers; because JUUL products
19   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

20   representations concerning the same subject matter as the omitted facts.

21          683.    As set forth in the allegations concerning each Plaintiff in Appendix A, in

22   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

23   and/or omissions. Reasonable consumers would have been expected to have relied on the

24   misrepresentations and omissions.

25          684.    Defendants knew or should have known that their misrepresentations and/or

26   omissions were false and misleading, and intended for consumers to rely on such

27   misrepresentations and omissions.

28          685.    JUUL’s conduct actually and proximately caused damages to Plaintiffs and class


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 1   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 2   differently and would not have purchased JUUL products or would have paid less for them.

 3   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 4   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 5   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

 6   member of the class damages in an amount to be proven at trial, as well as any other relief the

 7   Court may deem just or proper.

 8                  5.      Breach of the Implied Warranty of Merchantability
 9          686.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

10          687.    This claim is brought against JLI.
11          688.    JLI has at all times been a merchant with respect to the products which were sold
12   to Plaintiff and the class and was in the business of selling such products.
13          689.    Each JUUL product sold comes with an implied warranty that it will
14   merchantable and fit for the ordinary purpose for which it would be used. Cal Comm. Code
15   § 2314. JLI has breached its implied warranty of merchantability because its products were not
16   in merchantable condition when sold, were defective when sold, did not conform to the
17   promises and affirmations of fact made on the products’ containers or labels, and/or do not
18   possess even the most basic degree of fitness for ordinary use.
19          690.    The ordinary intended purpose of JUUL products—and the purpose for which

20   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

21   products are not fit for that use—or any other use—because they (i) were not smoking cessation

22   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

23   potent nicotine-delivery mechanisms, (iv) were powerfully .addictive, and (v) posed

24   unreasonable risks of substantial bodily injury.       Due to these and other features, JUUL’s

25   products are not fit for their ordinary, intended use as either cigarette replacement devices or

26   recreation smoking devices.

27          691.    Plaintiffs and each member of the class have had sufficient direct dealings with

28   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized


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 1   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 2   each member of the class, on the other hand.

 3          692.    Further, Plaintiffs and each member of the class were third-party beneficiaries of

 4   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 5   sale of JUUL products to consumers.          Specifically, Plaintiffs and class members are the

 6   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 7   the express purpose an intent of being sold to consumers.

 8          693.    Plaintiffs and the members of the class were injured as a direct and proximate

 9   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

10   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
11   because, had they been aware of the unmerchantable condition of JUUL products, they would
12   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
13   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
14          694.    JUUL was provided notice of these issues by numerous complaints filed against
15   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
16   individual letters and communications sent by consumers before or within a reasonable amount
17   of time after they discovered or should have discovered that’s JUUL product were defective and
18   unmerchantable.
19                  6.      Unjust Enrichment
20          695.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          696.    This claim is brought against JLI and the Management Defendants.

22          697.    Defendants created and implemented a scheme to create a market for e-cigarettes

23   and substantially increase sales of JUUL products through a pervasive pattern of false and

24   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

25   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

26   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

27   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

28   products.


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 1          698.    Defendants were unjustly enriched as a result of their wrongful conduct,

 2   including through the false and misleading advertisements and omissions regarding (i) whether

 3   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 4   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 5   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 6   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 7   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 8   enriched through their scheme of marketing their products to minors. Cal. Bus. & Prof. Code

 9   § 22963(a) prohibits the marketing and sale of JUUL products to minors, and Cal. Penal Code

10   § 308(a)(1)(A) makes doing so a criminal violation.
11          699.    Defendants requested and received a measurable benefit at the expense of
12   Plaintiffs and class members in the form of payment for JUUL products.
13          700.    Defendants appreciated, recognized, and chose to accept the monetary benefits
14   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
15   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
16          701.    There is no justification for Defendants’ enrichment. It would be inequitable,
17   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
18   benefits were procured as a result of their wrongful conduct.
19          702.    Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

20   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

21   with Defendant.

22          703.    Plaintiffs plead this claim separately as well as in the alternative to their other

23   claims, as without such claims they would have no adequate legal remedy.

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 1            B.      Violations of the Racketeer Influenced and Corrupt Organizations Act
 2                    (“RICO”)651
 3                    1.      Violation of 18 U.S.C. § 1962(c)
 4            704.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5            705.    This claim is brought by Plaintiffs against Defendants JLI, Monsees, Bowen,

 6   Pritzker, Huh, Valani, and Altria (the “RICO Defendants”) for actual damages, treble damages,

 7   and equitable relief under 18 U.S.C. § 1964 for violations of 18 U.S.C. § 1961, et seq. For ease

 8   of reference, Defendants JLI, Monsees, Bowen, Pritzker, Huh, and Valani are referred to below

 9   as the “Early Enterprise Defendants.”

10            706.    At all relevant times, each RICO Defendant is and has been a “person” within the
11   meaning of 18 U.S.C. § 1961(3), because they are capable of holding, and do hold, “a legal or
12   beneficial interest in property.”
13            707.    Plaintiffs are each a “person,” as that term is defined in 18 U.S.C. § 1961(3), and
14   have standing to sue as they were and are injured in their business and/or property as a result of
15   the RICO Defendants’ wrongful conduct described herein.
16            708.    Section 1962(c) makes it “unlawful for any person employed by or associated
17   with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,
18   to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs
19   through a pattern of racketeering activity . . . .” 18 U.S.C. § 1962(c).

20            709.    Section 1962(d) makes it unlawful for “any person to conspire to violate”

21   Section 1962(c), among other provisions. See 18 U.S.C. § 1962(d).

22            710.    Each RICO Defendant conducted the affairs of an enterprise through a pattern of

23   racketeering activity, in violation of 18 U.S.C. § 1962(c) and § 1962(d).

24            711.    Plaintiffs demand the applicable relief set forth in the Prayer for Relief below.

25                            a.      Description of the Nicotine Market Expansion Enterprise
26            712.    RICO defines an enterprise as “any individual, partnership, corporation,

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           Plaintiffs bring both of the claims in this Section on behalf of the Nationwide Class.

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 1   association, or other legal entity, and any union or group of individuals associated in fact

 2   although not a legal entity.” 18 U.S.C. § 1961(4).

 3          713.    Under 18 U.S.C. § 1961(4) a RICO “enterprise” may be an association-in-fact

 4   that, although it has no formal legal structure, has (i) a common purpose, (ii) relationships

 5   among those associated with the enterprise, and (iii) longevity sufficient to pursue the

 6   enterprise’s purpose. See Boyle v. United States, 556 U.S. 938, 946 (2009).

 7          714.    The RICO Defendants formed an association-in-fact enterprise—the Nicotine

 8   Market Expansion Enterprise. The Nicotine Market Expansion Enterprise exists separately from

 9   the otherwise legitimate business operations of JLI, Altria, or the investment companies with

10   which Defendants Pritzker, Huh, and Valani are affiliated. Rather, the Enterprise is an ongoing
11   and continuing business organization consisting of “persons” within the meaning of 18 U.S.C.
12   § 1961(3) that created and maintained systematic links for a more nefarious common purpose:
13   maintaining and expanding the number of nicotine-addicted e-cigarette users in order to ensure
14   a steady and growing customer base, including by maintaining and expanding JLI’s massive,
15   and ill-gotten, share of the e-cigarette market.
16          715.    The Early Enterprise Defendants and non-defendant Veratad Technologies LLC
17   (“Veratad”) formed the Nicotine Market Expansion Enterprise by at least 2015, when the Early
18   Enterprise Defendants prepared to launch the JUUL e-cigarette and capture and grow a market
19   of nicotine-addicted users that would serve as customers for life.

20          716.    As tobacco companies have long known, profitable growth requires a pipeline of

21   “replacement smokers” or vapers. For that reason and others, Defendant Altria joined the

22   Nicotine Market Expansion Enterprise in the Spring of 2017. The Early Enterprise Defendants,

23   for their part, eagerly invited Altria into the fold—they needed allies and resources to further

24   their Enterprise, and, despite their public statements to the contrary, sought to be a part of the

25   tobacco industry.

26          717.    When Altria joined the Nicotine Market Expansion Enterprise, it shared the

27   Early Enterprise Defendants’ common purpose: maintaining and expanding the number of

28   nicotine-addicted e-vapor users in order to ensure a steady and growing customer base. Among


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 1   Altria’s motivations for pursuing this common purpose was access to JLI’s customer base that

 2   would serve as Altria’s pipeline of “replacement smokers” or vapers.

 3          718.    The Nicotine Market Expansion Enterprise involved a growing membership and

 4   changed its shape to fit its current needs, adding members when necessary and eliminating them

 5   when they became obsolete. From 2015 through 2017, the Enterprise consisted of the Early

 6   Enterprise Defendants and non-defendant Veratad. In the Spring of 2017, Defendant Altria

 7   joined the Nicotine Market Expansion Enterprise. Non-defendant member Veratad would leave

 8   the Enterprise sometime in 2018 when it stopped coordinating with Defendant JLI. Each Early

 9   Enterprise Defendant is liable for the predicate acts of the enterprise committed no later than its

10   formation in 2015, and Defendant Altria is liable for the predicate acts of the enterprise
11   committed no later than when it joined the Enterprise in Spring 2017.
12          719.    As described above, the Early Enterprise Defendants established an ongoing
13   relationship through, among other connections, Defendants’ Priztker, Huh, and Valani’s
14   investment in JLI; Defendants’ Bowen, Monsees, Pritzker, Huh, and Valani’s control of the JLI
15   Board of Directors; the Early Enterprise Defendants’ assumption of “final say” on all marketing
16   for JLI products, including fraudulent advertising; and the Early Enterprise Defendants’
17   coordination on ensuring broad access to JLI products, including underage access, with non-
18   defendant Enterprise member Veratad. And the Early Enterprise Defendants and Altria
19   established an ongoing relationship through, among other connections, Altria’s equity

20   investment in JLI, the many informal and formal agreements between these two Defendants and

21   their coordinated activities in furtherance of the common purpose of the Nicotine Market

22   Expansion Enterprise, and the overlap between JLI executives and leadership and Altria.

23          720.    The RICO Defendants formed the Nicotine Market Expansion Enterprise in

24   order to engage in a collaborative scheme to defraud. As described above, the Nicotine Market

25   Expansion Enterprise Defendants shared and acted on a common purpose of maintaining and

26   expanding the number of nicotine-addicted e-cigarette users in order to ensure a steady and

27   growing customer base, including by maintaining and expanding JLI’s massive, and ill-gotten,

28   share of the e-cigarette market.


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 1          721.    The Nicotine Market Expansion Enterprise has been in existence for almost five

 2   years and continues to operate to this day. As described above, it has had sufficient longevity to

 3   pursue the Nicotine Market Expansion Enterprise’s common purpose.

 4                          b.     Conduct of the Nicotine Market Expansion Enterprise
 5          722.    “[T]o conduct or participate, directly or indirectly, in the conduct” of an

 6   enterprise, “one must participate in the operation or management of the enterprise itself.” Reves

 7   v. Ernst & Young, 507 U.S. 170, 185 (1993).

 8          723.    As described above, each RICO Defendant participated in the operation or

 9   management of the Nicotine Market Expansion Enterprise. Illustrative but non-exhaustive

10   examples include the following:
11          Early Leadership

12          724.    As described in Sections IV.A, IV.B, and IV.C, Defendants Bowen and Monsees
13   were the visionaries behind the Enterprise and would lead it in its early days.
14          Fraudulent Marketing Scheme
15          725.    As described in Sections IV.E.3, IV.E.4, and IV.E.7.a, JLI, and Defendants
16   Bowen, Monsees, Pritzker, Huh, and Valani (through their “final say” on all of JLI’s marketing
17   efforts) caused false and misleading advertisements that omitted references to JUUL’s nicotine
18   content and potency to be transmitted via the mail and wires, including the Vaporized
19   campaign.
20          Youth Access Scheme
21          726.    As described in Section IV.E.9, Defendant JLI (through its employees)
22   coordinated with non-defendant member Veratad on behalf of the other Early Enterprise
23   Defendants to expand youth access to JUUL products.
24          727.    As reflected in Section IV.E.9, Veratad was a key player in the Nicotine Market
25   Expansion Enterprise. And while each member of the Enterprise was not involved in every
26   scheme (Veratad, for example, did not transmit the advertisements or packaging containing
27   misrepresentations regarding JLI’s nicotine content), each worked in furtherance of the same
28   common purpose and was aware of the other members’ participation in the Enterprise.

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 1   Moreover, each scheme was integral to the Enterprise’s success in maintaining and expanding

 2   the number of nicotine-addicted e-cigarette users in order to ensure a steady and growing

 3   customer base. Veratad shared this common purpose, and its motivation for doing so was to

 4   maintain a lucrative client – one of several clients who relied on Veratad for intentionally

 5   ineffective age verification services.

 6          Coopting JLI’s Board of Directors

 7          728.    As described in Section IV.E.7.b, Defendants Pritzker, Huh, and Valani took
 8   control of the JLI Board of Directors in October 2015, so they could use the Board as an
 9   instrumentality to effectuate fraudulent schemes in furtherance of the Nicotine Market
10   Expansion Enterprise’s common purpose. In doing so, leadership of the Enterprise transitioned
11   from Bowen and Monsees to Pritzker, Huh, and Valani.
12          Coordinating Activities of JLI and Altria
13          729.    By August 2016, Defendants Pritzker, Huh, and Valani had ceded executive
14   leadership at JLI to a new CEO, Tyler Goldman. Thus, when these parties started to coordinate
15   with Altria, it was JLI (through its executives and employees – including Tyler Goldman and
16   his successors) and Altria (through its executives and employees) that primarily directed the
17   affairs of the Enterprise, although Defendants Bowen, Monsees, Pritzker, Huh, and Valani
18   remained critical to the success of the Enterprise’s common purpose. Without their control of
19   the JLI Board of Directors and prior fraudulent conduct, the close coordination between JLI and
20   Altria, and Altria’s investment in JLI, would not have been possible.
21          730.    As described in Sections IV.A and IV.F, the Early Enterprise Defendants and
22   Altria began to actively coordinate their activities in 2017 and each took actions that would
23   further the Enterprise’s common purpose of maintaining and expanding the number of nicotine-
24   addicted e-cigarette users in order to ensure a steady and growing customer base, including by
25   maintaining and expanding JLI’s massive, and ill-gotten, share of the e-cigarette market. For
26   example:
27          731.    As early as 2017, the Early Enterprise Defendants and Altria shared data and
28   strategy to support their common purpose, through a conduit, Avail Vapor.


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 1           732.    By 2018, Altria was taking actions to ensure JLI’s products had access to prime

 2   shelf space in retail locations.

 3           733.    By 2018, Altria was distributing and marketing JLI’s products to its wider base

 4   of retailers.

 5           734.    In December 2018, Altria decided to cash in on its role in the Nicotine Market

 6   Expansion Enterprise by making a $12.8 billion equity investment in JLI, the largest equity

 7   investment in United States history. This investment would give Altria three seats on the JLI

 8   Board of Directors, and thus allow it to assert greater control over both JLI and the Nicotine

 9   Market Expansion Enterprise, which used the instrumentalities of JLI to effectuate many of its

10   fraudulent schemes.
11           Nicotine Content Misrepresentation Scheme

12           735.    As described in Section IV.D, the Early Enterprise Defendants and Altria caused
13   thousands, if not millions, of JUULpod packages to be distributed to consumers with false and
14   misleading information regarding the JUUL pods’ nicotine content. The Early Enterprise
15   Defendants also caused the same false and misleading information to be distributed via JLI’s
16   website.
17           Flavor Preservation Scheme
18           736.    As described in Sections IV.C.6 and IV.H.2, the RICO Defendants worked in
19   concert to defraud the public and regulators in order to prevent regulation that would have
20   impeded their plan to maintain and expand the number of nicotine-addicted e-cigarette users in
21   order to ensure a steady and growing customer base. Specifically, they worked to ensure the
22   FDA allowed certain flavors, namely mint, to remain on the market.
23           Cover-up Scheme
24           737.    The RICO Defendants were not only concerned with protecting flavors,
25   however. In light of growing public scrutiny of JLI’s role in the youth vaping crisis, these
26   defendants continued their scheme to prevent a complete ban on JLI’s product.
27           738.    As described in Sections IV.D.2 and IV.E.12, JLI maintained its website pages
28   that provided false information about the addictive potential of its products and that denied that

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 1   JLI marketed to youth, and Defendants Bowen, Monsees, Pritzker, Huh, and Valani provided

 2   direct input as to the content of the JLI website and had “final say” over JLI’s marketing

 3   messaging.

 4          739.    As described in paragraphs Sections IV.D.4 and IV.E.12, JLI, and Defendants

 5   Bowen, Monsees, Pritzker, Huh, and Valani (through their “final say” on all of JLI’s marketing

 6   efforts) caused false and misleading advertising to be distributed over television and the internet

 7   in order to give the impression that JLI’s product was a smoking cessation device and that JLI

 8   never marketed to youth. Defendant Altria continued this scheme by transmitting the fraudulent

 9   “Make the Switch” advertisements in packs of its combustible cigarettes.

10          740.    As described in Section IV.E.12, beginning in October 2018, both Altria and JLI
11   were transmitting false and misleading communications to the public and the government in an
12   attempt to stave off regulation.
13          741.    And no later than December 2018, Altria began providing even more services to
14   the Nicotine Market Expansion Enterprise, as described in Section IV.F.3.
15          742.    The pattern of racketeering activity by the RICO Defendants, described below,
16   provides further support that each RICO Defendant conducted or participated in the conduct of
17   the Nicotine Market Expansion Enterprise.
18                          c.      Pattern of Racketeering Activity
19          743.    To carry out, or attempt to carry out, the objectives of the Nicotine Market

20   Expansion Enterprise, the RICO Defendants, each of whom is a person associated-in-fact with

21   the Enterprise, did knowingly conduct or participate in, directly or indirectly, the affairs of the

22   Enterprise through a pattern of racketeering activity within the meaning of 18 U.S.C.

23   §§ 1961(1), 1961(5) and 1962(c), and employed the use of the mail and wire facilities, in

24   violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

25          744.    Specifically, the RICO Defendants have committed, conspired to commit, and/or

26   aided and abetted in the commission of, at least two predicate acts of racketeering activity (i.e.,

27   violations of 18 U.S.C. §§ 1341 and 1343), within the past ten years.

28          745.    The multiple acts of racketeering activity which the RICO Defendants


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 1   committed, or aided or abetted in the commission of, were related to each other, pose a threat of

 2   continued racketeering activity, and therefore constitute a “pattern of racketeering activity.”

 3          746.    The racketeering activity was made possible by the Enterprise’s regular use of

 4   the facilities, services, and employees of the members of the Enterprise.

 5          747.    The RICO Defendants participated in the Nicotine Market Expansion Enterprise

 6   by using mail, telephone, and the internet to transmit mailings and wires in interstate or foreign

 7   commerce.

 8          748.    The RICO Defendants used, directed the use of, and/or caused to be used,

 9   thousands of interstate mail and wire communications in service of the Enterprise’s objectives

10   through common misrepresentations, concealments, and material omissions.
11          749.    In devising and executing the objectives of the Nicotine Market Expansion
12   Enterprise, the RICO Defendants devised and knowingly carried out material schemes and/or
13   artifices to defraud the public and regulators by (1) transmitting advertisements that fraudulently
14   and deceptively omitted any reference to JUUL’s nicotine content or potency (or any
15   meaningful reference, where one was made); (2) causing false and misleading statements
16   regarding the nicotine content of JUUL pods to be posted on the JLI website; (3) causing
17   thousands, if not millions, of JUUL pod packages containing false and misleading statements
18   regarding the nicotine content of JUUL pods to be transmitted via U.S. mail; (4) representing to
19   consumers and the public-at-large that JUUL was created and designed as a smoking cessation

20   device, and by misrepresenting the nicotine content and addictive potential of its products; (5)

21   making fraudulent statements to the FDA to convince the FDA to allow certain flavors, namely

22   mint, to remain on the market; and (6) making fraudulent statements to the public (including

23   through advertising), the FDA, and Congress to stave off a total prohibition on JUUL cigarettes

24   that was being contemplated in light of JLI’s role in the youth vaping epidemic.

25          750.    For the purpose of furthering the Enterprise’s common purpose of maintaining

26   and expanding the number of nicotine-addicted e-cigarette users in order to ensure a steady and

27   growing customer base, including by preserving and increasing JLI’s market share, even at the

28   expense of exposing and addicting children to nicotine, the RICO Defendants committed these


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 1   racketeering acts, which number in the thousands, intentionally and knowingly with the specific

 2   intent to advance the Enterprise’s objectives.

 3          751.    The RICO Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1))

 4   include, but are not limited to:

 5                  A. Mail Fraud: the Nicotine Market Expansion Enterprise violated 18 U.S.C.
                       § 1341 by sending or receiving, or by causing to be sent and/or received,
 6                     fraudulent materials via U.S. mail or commercial interstate carriers for the
                       purpose of deceiving the public, regulators, and Congress.
 7

 8                  B. Wire Fraud: The Nicotine Market Expansion Enterprise violated 18 U.S.C.
                       § 1343 by transmitting and/or receiving, or by causing to be transmitted
 9                     and/or received, fraudulent materials by wire for the purpose of deceiving the
                       public, regulators, and Congress.
10

11          752.    The Nicotine Market Expansion Enterprise falsely and misleadingly used the

12   mails and wires in violation of 18 U.S.C. § 1341 and § 1343. Illustrative and non-exhaustive

13   examples include the following:

14   From                 To               Date            Description
15   Fraudulent Statements Omitting Reference to JUUL’s Nicotine Content (see Sections
     IV.E.3, IV.E.4, and IV.E.7.a)
16
     All Early            Public (via      2015            “Vaporized” Campaign, and other
17
     Enterprise           television,                      Advertising campaigns transmitted via
18   Defendants           internet, and                    the mails and wires which omitted any
                          mail)                            reference to JUUL’s nicotine content.
19
     Fraudulent Statements that JUUL is a Cessation Device (see Section IV.D.4)
20
     All Early            Public (via      April 25,       “JUUL Labs was founded by former
21   Enterprise           internet – JLI   2018 (or        smokers, James and Adam, with the
     Defendants           Website)         earlier) to     goal of improving the lives of the
22
                                           Present         world’s one billion adult smokers by
23                                                         eliminating cigarettes. We envision a
                                                           world where fewer adults use
24                                                         cigarettes, and where adults who
                                                           smoke cigarettes have the tools to
25                                                         reduce or eliminate their consumption
26                                                         entirely, should they so desire.”

27

28


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 1   Kevin Burns      Public (via       November 13, “To paraphrase Commissioner
 2   (former JLI      internet – JLI    2018         Gottlieb, we want to be the offramp for
     CEO)             Website)                       adult smokers to switch from
 3                                                   cigarettes, not an on-ramp for
                                                     America’s youth to initiate on
 4                                                   nicotine.”
 5   All Early        Public (via       September         “JUUL Labs, which exists to help adult
 6   Enterprise       internet – JLI    19, 2019          smokers switch off of combustible
     Defendants       Website)                            cigarettes.”
 7
     Howard Willard   Public (via       December 20,      “We are taking significant action to
 8   (Altria CEO)     internet –        2018              prepare for a future where adult
                      Altria                              smokers overwhelmingly choose non-
 9                    website)                            combustible products over cigarettes
                                                          by investing $12.8 billion in JUUL, a
10
                                                          world leader in switching adult
11                                                        smokers . . . . We have long said that
                                                          providing adult smokers with superior,
12                                                        satisfying products with the potential to
                                                          reduce harm is the best way to achieve
13                                                        tobacco harm reduction.”
14
     Howard Willard   FDA (via U.S. October 25,           “We believe e-vapor products present
15                    mail or       2018                  an important opportunity to adult
                      electronic                          smokers to switch from combustible
16                    transmission                        cigarettes.”
                      of letter to
17                    Commissioner
                      Gottlieb)
18

19   Fraudulent Statements Regarding Nicotine Content in JUUL pods (see Section IV.D)

20   All Early        Public (via       July 2, 2019      “Each 5% JUUL pod is roughly
     Enterprise       internet – JLI    (or earlier) to   equivalent to one pack of cigarettes in
21   Defendants       website)          Present           nicotine delivery.”

22   All Early        Public (via       April 21,         “JUUL pod is designed to contain
     Enterprise       internet – JLI    2017              approximately 0.7mL with 5% nicotine
23   Defendants       website)                            by weight at time of manufacture
24                                                        which is approximately equivalent to 1
                                                          pack of cigarettes or 200 puffs.”
25
     All RICO         Public (via       2015 to           JUUL pod packages (1) claiming a 5%
26   Defendants       U.S. mail         Present           nicotine strength; (2) stating that a
                      distribution of                     JUUL pod is “approximately
27                    JUUL pod                            equivalent to about 1 pack of
                      packaging)                          cigarettes.”
28


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 1
     Fraudulent Statements to Prevent Regulation of mint Flavor (see Sections IV.C.6 and
 2   IV.H.2)

 3   JLI               FDA (via U.S.    October 16,   JLI’s Action Plan that fraudulently
                       mail or          2018 (FDA)    characterizes mint as a non-flavored
 4                     electronic                     tobacco and menthol product,
                       transmission);   November 12, suggesting that it was a product for
 5                     Public (via      2018 (Public) adult smokers.
 6                     internet – JLI
                       website)
 7
     Howard Willard    FDA (via U.S. October 25,       Letter from H. Willard to FDA
 8   (Altria CEO)      mail or       2018              fraudulently representing mint as a
                       electronic                      non-flavored tobacco and menthol
 9                     transmission                    product, suggesting that it was a
                       of letter to                    product for adult smokers.
10
                       Commissioner
11                     Gottlieb)

12   JLI               FDA (via U.S. November 5,       Fraudulent youth prevalence study
                       mail or       2018              transmitted by JLI to the FDA.
13                     electronic
                       transmission)
14

15   Fraudulent Statements to Prevent Ban on JUUL Products (see Sections IV.D.4 and
     IV.E.12)
16
     All Early         Public (via      January 2019   $10 million “Make the Switch”
17   Enterprise        Television)                     advertising campaign for the purpose
     Defendants                                        of deceiving the public and regulators
18                                                     that JLI was only targeting adult
                                                       smokers with its advertising and
19
                                                       product and that JUUL was a cessation
20                                                     product.

21   Altria            Public (via      December       “Make the Switch” advertising
                       inserts in       2018 -         campaign for the purpose of deceiving
22                     combustible      Present        smokers that JUUL was a cessation
                       cigarette                       product.
23                     packs)
24
     Ashely Gould,     Public (via    December 14,     “It’s a really, really important issue.
25   JLI Chief         interview with 2017             We don’t want kids using our
     Administrative    CNBC, later                     products.”
26   Officer           posted on
                       internet)
27

28


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 1   JLI              Public (via      March 14,       “We market our products responsibly,
 2                    internet -       2018            following strict guidelines to have
                      social media)                    material directly exclusively toward
 3                                                     adult smokers and never to youth
                                                       audiences.”
 4
     Kevin Burns      FDA (via U.S.    October 16,   JLI’s Action Plan that fraudulently
 5   (then-CEO of     mail or          2018 (FDA)    states: “We don’t want anyone who
 6   JLI)             electronic                     doesn’t smoke, or already use nicotine,
                      transmission);   November 12, to use JUUL products. We certainly
 7                    Public (via      2018 (Public) don’t want youth using the product. It
                      internet – JLI                 is bad for public health, and it is bad
 8                    website)                       for our mission. JUUL Labs and FDA
                                                     share a common goal – preventing
 9                                                   youth from initiating on nicotine. . . .
10                                                   Our intent was never to have youth use
                                                     JUUL products.”
11

12   Kevin Burns      Public (via    July 13, 2019     “First of all, I’d tell them that I’m sorry
                      interview with                   that their child’s using the product. It’s
13                    CNBC – later                     not intended for them. I hope there was
                      posted on                        nothing that we did that made it
14
                      internet)                        appealing to them. As a parent of a 16-
15                                                     year-old, I’m sorry for them, and I have
                                                       empathy for them, in terms of what the
16                                                     challenges they’re going through.”
17   All Early        Public (via      August 29,      “We have no higher priority than to
     Enterprise       internet - JLI   2019            prevent youth usage of our products
18
     Defendants       website)                         which is why we have taken
19                                                     aggressive, industry leading actions to
                                                       combat youth usage.”
20
     James Monsees    Public (via      August 27,      Monsees said selling JUUL products to
21                    statement to     2019            youth was “antithetical to the
                      New York                         company’s mission.”
22                    Times – later
23                    posted on
                      internet)
24
     JLI              Public (via      September       “We have never marketed to youth and
25                    statement to     24, 2019        we never will.”
                      Los Angeles
26                    Times – later
                      posted on
27
                      internet)
28


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 1   JLI (via counsel)   FDA (via U.S. June 15, 2018     Letter from JLI's Counsel at Sidley
 2                       mail or                         Austin to Dr. Matthew Holman, FDA,
                         electronic                      stating: “JUUL was not designed for
 3                       transmission                    youth, nor has any marketing or
                         to Dr.                          research effort since the product’s
 4                       Matthew                         inception been targeted to youth.” and
                         Holman)                         “With this response, the Company
 5
                                                         hopes FDA comes to appreciate why
 6                                                       the product was developed and how
                                                         JUUL has been marketed — to provide
 7                                                       a viable alternative to cigarettes for
                                                         adult smokers.”
 8
     James Monsees       Congress (via   July 25, 2019   Written Testimony of J. Monsees
 9                       U.S. mail or                    provided to Congress, stating “We
10                       electronic                      never wanted any non-nicotine user,
                         transmission                    and certainly nobody under the legal
11                       of written                      age of purchase, to ever use JLI
                         testimony)                      products. . . .That is a serious problem.
12                                                       Our company has no higher priority
                                                         than combatting underage use.”
13

14   Howard Willard      FDA (via U.S. October 25,       “[W]e do not believe we have a current
                         mail or       2018              issue with youth access to or use of our
15                       electronic                      pod-based products, we do not want to
                         transmission                    risk contributing to the issue.”
16                       of letter to
                         Commissioner
17                       Gottlieb)
18
     Howard Willard      Congress (via   October 14,     “In late 2017 and into early 2018, we
19                       U.S. mail or    2019            saw that the previously flat e-vapor
                         electronic                      category had begun to grow rapidly.
20                       transmission                    JUUL was responsible for much of the
                         of letter to                    category growth and had quickly
21                       Senator                         become a very compelling product
                         Durbin)                         among adult vapers. We decided to
22
                                                         pursue an economic interest in JUUL,
23                                                       believing that an investment would
                                                         significantly improve our ability to
24                                                       bring adult smokers a leading portfolio
                                                         of non-combustible products and
25                                                       strengthen our competitive position
                                                         with regards to potentially reduced risk
26
                                                         products.”
27
           753.    The mail and wire transmissions described herein were made in furtherance of
28


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 1   the RICO Defendants’ schemes and common course of conduct, thereby increasing or

 2   maintaining JLI’s market share, resulting in corresponding high profits for each RICO

 3   Defendant.

 4          754.    As described above, the Nicotine Market Expansion Enterprise had a scheme to

 5   defraud the public and regulators in order to continue selling nicotine products to youth, and to

 6   protect their market share, by denying that JLI marketed to youth and claiming that JUUL was

 7   actually created and designed as a smoking cessation device or mitigated risk product.

 8          755.    The RICO Defendants used these mail and wire transmissions in furtherance of

 9   this scheme by transmitting deliberately false and misleading statements to the public and to

10   government regulators.
11          756.    The RICO Defendants had a specific intent to defraud regulators and the public.
12   For example, as alleged above, the members of the Nicotine Market Expansion Enterprise made
13   repeated and unequivocal statements through the wires and mails that they were not marketing
14   to children and that their product was designed for adult smokers. As even the evidence pre-
15   discovery shows, this is not true. The authors of these fraudulent statements are high level
16   executives at each of JLI and Altria and who would reasonably be expected to have knowledge
17   of their company’s internal research, public positions, and long-term strategies. Because these
18   high level executives made statements inconsistent with the internal knowledge and practice of
19   the corporations, it would be absurd to believe that these highly ranked-representatives and

20   agents of these corporations had no knowledge that their public statements were false and

21   fraudulent. Similarly, the RICO Defendants caused to be transmitted through the wires and

22   mails false and misleading statements regarding the nicotine content in JUUL pods which JLI’s

23   own internal data, and Altria’s own pharmacokinetic studies, showed were false. Moreover,

24   each of the Early Enterprise Defendants had “final say” over all marketing statements by JLI

25   and thus caused such statements to be made, notwithstanding that they knew they were false for

26   the reasons detailed above.

27          757.    The RICO Defendants intended the public and regulators to rely on these false

28   transmissions and this scheme was therefore reasonably calculated to deceive persons of


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 1   ordinary prudence and comprehension.

 2          758.    Both the public and government regulators did rely on the Nicotine Market

 3   Expansion Enterprise’s mail and wire fraud. For example, the regulators, including the FDA,

 4   relied on the Nicotine Market Expansion Enterprise’s statements that mint was not an appealing

 5   flavor for nonsmokers in allowing mint JUUL pods to remain on the market and relied on the

 6   Nicotine Market Expansion Enterprise’s statements that it did not market to youth in allowing

 7   the RICO Defendants to continue marketing and selling JUUL. Congress likewise relied on the

 8   Enterprise’s statements in not bringing legislation to recall or ban e-cigarettes, despite the calls

 9   of members of both parties to do just that. And the public relied on statements (or absence

10   thereof) that were transmitted by the RICO Defendants regarding the nicotine content in and
11   potency of JUUL pods in deciding to purchase JUUL products.
12          759.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate
13   wire facilities have been deliberately hidden and cannot be alleged without access to the RICO
14   Defendants’ books and records. However, Plaintiff has described the types of predicate acts of
15   mail and/or wire fraud, including the specific types of fraudulent statements upon which,
16   through the mail and wires, the Nicotine Market Expansion Enterprise engaged in fraudulent
17   activity in furtherance of its overlapping schemes.
18          760.    These were not isolated incidents, instead, the RICO Defendants’ engaged in a
19   pattern of racketeering activity by committing thousands of predicate acts in a five year period

20   in the form of mail and wire fraud. That each RICO Defendant participated in a variety of

21   schemes involving thousands of predicate acts of mail and wire fraud establishes that such

22   fraudulent acts are part of the Enterprise’s regular way of doing business. Moreover, Plaintiffs

23   expect to uncover even more coordinated, predicate acts of fraud as discovery in this case

24   continues.

25                          d.      Harm to Plaintiffs
26          761.    “In order for a pattern of racketeering activity to be a cognizable cause of civil

27   RICO injury to a private plaintiff, one or more of the predicate acts must not only be the ‘but

28   for’ cause of the injury, but the proximate cause as well. A wrongful act is a proximate cause if


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 1   it is a substantial factor in the sequence of responsible causation. Plaintiffs must show a direct

 2   relation between the injury asserted and the injurious conduct alleged.” Green Leaf Nursery v.

 3   E.I. DuPont De Nemours & Co., 341 F.3d 1292, 1307 (11th Cir. 2003) (internal quotation

 4   marks and citations omitted). What matters, though, is not whether there is a direct relationship

 5   between the plaintiff and defendant, but whether there is a ‘sufficiently direct relationship’

 6   between the defendant’s wrongful conduct and the plaintiff’s injury . . . .’” Bridge, 553 U.S. at

 7   657 (2008)).

 8            762.   Each Plaintiff and all members of the RICO Class were directly injured by the

 9   RICO Defendants’ conduct, and such injury would not have occurred but for the predicate acts

10   of the RICO Defendants. The combined effect of the RICO Defendants’ fraudulent acts were:
11   (1) inducing Plaintiffs and the RICO Class members to purchase JUUL products that they
12   would not have purchased, or – in the alternative – to pay more for JUUL products than they
13   would have otherwise paid, had they known that JUUL products were not cessation products or
14   if they had known about the intentional addictiveness of the nicotine levels in said products; (2)
15   lulling the FDA into allowing the continued sale of JLI’s mint pods, which allowed Plaintiffs
16   and the RICO Class Members to purchase mint pods they would not have otherwise purchased;
17   and (3) lulling Congress and the FDA into allowing JUUL products to remain on the market,
18   which allowed Plaintiffs and the RICO Class Members to purchase JUUL products they would
19   not have purchased absent the RICO Defendants’ schemes to preserve JLI’s ill-gotten market

20   share.

21            763.   There are no intervening acts or parties that could interrupt the causal chain

22   between the RICO Defendants’ mail and wire fraud and Plaintiffs’ and the RICO Class

23   Members’ injuries. The RICO Defendants, in furtherance of the Nicotine Market Expansion

24   Enterprise’s common purpose, made false and misleading statements directly to the public. And

25   in the case of fraud on third parties (i.e., FDA and Congress), causation is not defeated merely

26   because the RICO Defendants deceived a third party into not taking action where the FDA’s and

27   Congress’s failure to regulate directly allowed Plaintiffs and the RICO Class Members to

28   purchase products that should not have been on the market.


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 1          764.   As to predicate acts occurring prior to March 10, 2016, Plaintiffs did not

 2   discover, and could not have been aware despite the exercise of reasonable diligence, until

 3   shortly before the initiation of the instant litigation that the RICO Defendants transmitted

 4   fraudulent statements via the mails and wires regarding the topics described above including,

 5   inter alia, the true nicotine content in and delivered by JUUL products, such information the

 6   RICO Defendants concealed and failed to truthfully disclose.

 7                 2.      Violations of 18 U.S.C. § 1962(d)
 8          765.   Plaintiffs hereby incorporate by reference the allegations contained in the

 9   preceding paragraphs of this complaint.

10          766.   The RICO Defendants have not undertaken the practices described herein in
11   isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C. § 1962(d),
12   the members of the Nicotine Market Expansion Enterprise agreed to conspire and conspired to
13   violate 18 U.S.C. § 1962(c), as described herein. The conspiracy is coterminous with the time
14   period in which the Nicotine Expansion Market Enterprise has existed, beginning in 2015 and
15   continuing to this day (with Defendant Altria joining the conspiracy in Spring 2017). The RICO
16   Defendants’ agreement is evidenced by their predicate acts and direct participation in the
17   control and operation of the Enterprise in furtherance of a common purpose, as detailed above
18   in relation to the RICO Defendants’ substantive violation of Section 1962(c). The acts in
19   furtherance of the conspiracy attributable to the RICO Defendants include each of the predicate

20   acts underlying the Nicotine Market Expansion Enterprise’s violation of Section 1962(c), as

21   described above. Various other persons, firms, and corporations, including third-party entities

22   and individuals not named as defendants in this Complaint, have participated as co-conspirators

23   with the members of the Nicotine Market Expansion Enterprise in these offenses and have

24   performed acts in furtherance of the conspiracy to increase or maintain revenue, maintain or

25   increase market share, and/or minimize losses for the Defendants and their named and unnamed

26   co-conspirators throughout the illegal scheme and common course of conduct.

27          767.   Each Plaintiff and all members of the RICO Class were directly injured by the

28   RICO Defendants’ conduct, and such injury would not have occurred but for the predicate acts


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 1   of the RICO Defendants, which also constitute the acts taken by the RICO Defendants in

 2   furtherance of their conspiracy pursuant to Section 1962(d). The combined effect of the RICO

 3   Defendants’ acts of mail and wire fraud in furtherance of their conspiracy were: (1) inducing

 4   Plaintiffs and the RICO Class members to purchase JUUL products that they would not have

 5   purchased, or—in the alternative—to pay more for JUUL products than they would have

 6   otherwise paid, had they known that JUUL products were not cessation products or if they had

 7   known about the intentional addictiveness of the nicotine levels in said products; (2) lulling the

 8   FDA into allowing the continued sale of JLI’s mint pods, which allowed Plaintiffs and the

 9   RICO Class Members to purchase mint pods they would not have purchased; and (3) lulling

10   Congress and the FDA into allowing JUUL products to remain on the market, which allowed
11   Plaintiffs and the RICO Class Members to purchase JUUL products they would not have
12   purchased absent the RICO Defendants’ conspiracy to engage in a pattern of racketeering
13   activity through a RICO Enterprise, the common purpose of which was maintaining and
14   expanding the number of nicotine-addicted e-cigarette users in order to ensure a steady and
15   growing customer base, including by preserving and growing JLI’s ill-gotten market share.
16          768.    There are no intervening acts or parties that could interrupt the causal chain
17   between the RICO Defendants’ mail and wire fraud acts in furtherance of their RICO
18   conspiracy and Plaintiffs’ and the RICO Class Members’ injuries. The RICO Defendants, in
19   furtherance of their conspiracy to form the Nicotine Market Expansion Enterprise and advance

20   its common purpose, made false and misleading statements directly to the public. And in the

21   case of fraud on third parties (i.e., FDA and Congress), causation is not defeated merely because

22   the RICO Defendants deceived a third party into not taking action where the FDA’s and

23   Congress’s failure to regulate directly allowed Plaintiffs and the RICO Class Members to

24   purchase products that should not have been on the market.

25          769.    As to acts undertaken in furtherance of the conspiracy which occurred prior to

26   March 10, 2016, Plaintiffs did not discover, and could not have been aware despite the exercise

27   of reasonable diligence, until shortly before the initiation of the instant litigation that the RICO

28   Defendants transmitted fraudulent statements via the mails and wires regarding the topics


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 1   described above including, inter alia, the true nicotine content in and delivered by JUUL

 2   products, such information the RICO Defendants concealed and failed to truthfully disclose.

 3          C.      Violation of the Magnuson-Moss Warranty Act (15 U.S.C. §§ 2301, et seq.)
 4          770.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5          771.    This claim is brought against JLI on behalf of the members of the state

 6   subclasses in Alaska, Arizona, Arkansas, California, Colorado, Connecticut, Delaware, the

 7   District of Columbia, Florida, Hawaii, Idaho, Indiana, Iowa, Kansas, Louisiana, Maine,

 8   Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska,

 9   Nevada, New Hampshire, New Jersey, New Mexico, North Carolina, Oklahoma, Pennsylvania,

10   Rhode Island, South Carolina, South Dakota, Texas, Utah, Virginia, West Virginia, and
11   Wyoming, and the state direct purchaser subclasses in Alabama, Georgia, Illinois, Kentucky,
12   New York, Ohio, Oregon, Tennessee, Vermont, Washington, and Wisconsin.
13          772.    Plaintiffs and members of the class are “consumers” within the meaning of 15
14   U.S.C. § 2301(3).
15          773.    JLI is a “supplier” and “warrantor” within the meaning of 15 U.S.C. § 2301(4)
16   and (5), respectively.
17          774.    JUUL products are “consumer products” within the meaning of 15 U.S.C.
18   § 2301(1).
19          775.    Plaintiffs have met all requirements for pre-suit notice.

20          776.    15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is

21   damaged by the failure of a warrantor to comply with an implied warranty. The amount in

22   controversy of Plaintiffs’ individual claims meets or exceeds $25.00 in value. In addition, the

23   amount in controversy meets or exceeds $50,000 in value (exclusive of interest and costs).

24          777.    JLI provided Plaintiffs and each member of the class with “implied warranties,”

25   including the implied warranty of merchantability, which is covered under 15 U.S.C. § 2301(7).

26          778.    Each JUUL product sold by JLI comes with an implied warranty that it will

27   merchantable and fit for the ordinary purpose for which it would be used. JLI has breached its

28   implied warranty of merchantability because its products were not in merchantable condition


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 1   when sold, were defective when sold, did not conform to the promises and affirmations of fact

 2   made on the products’ containers or labels, and/or do not possess even the most basic degree of

 3   fitness for ordinary use.

 4           779.    The terms of these warranties became part of the basis of the bargain when

 5   Plaintiffs and each member of the class purchased JUUL products.

 6           780.    Plaintiffs and each member of the class have had sufficient direct dealings with

 7   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 8   by JUUL) to establish privity of contract between JLI, on the one hand, and Plaintiffs and each

 9   member of the class, on the other hand.

10           781.    Further, Plaintiffs and each member of the class were third-party beneficiaries of
11   JLI’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and sale
12   of JUUL products to consumers. Specifically, Plaintiffs and class members are the intended
13   beneficiaries of JLI’s implied warranties. JUUL’s products are manufactured with the express
14   purpose an intent of being sold to consumers.
15           782.    Affording JLI a reasonable opportunity to cure its breach of written warranties
16   would be unnecessary and futile. At the time of sale or each JUUL product, JLI knew, or should
17   have known that the products were not merchantable, but nonetheless failed to rectify the
18   situation and/or disclose the defects. In addition, after over a year of litigation, JLI has not made
19   any offer to cure. Under the circumstances, the remedies available under any informal

20   settlement procedure would be inadequate and any requirement that Plaintiffs or members of the

21   class resort to an informal dispute resolution procedure and/or afford JLI a reasonable

22   opportunity to cure its breach of warranties is excused and thereby deemed satisfied.

23           783.    In addition, given the conduct described herein, any attempts by JLI, in its

24   capacity as a warrantor, to limit the implied warranties in a manner that would exclude coverage

25   of the defects in JUUL products is unconscionable and any such effort to disclaim, or otherwise

26   limit, liability for the defects is null and void.

27           784.    As a direct and proximate result of JLI’s breach of the written and implied

28   warranties, Plaintiffs and each member of the class have suffered damages. Plaintiffs,


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 1   individually and on behalf of the class, seek all damages permitted by law, including

 2   compensation for the cost of purchasing JUUL products, along with all other incidental and

 3   consequential damages, statutory attorney fees, and all other relief allowed by law.

 4          D.      Causes of Action Brought on Behalf of the State Classes
 5                  1.      Alabama
 6          785.    Plaintiffs bring each of the following claims on behalf of the Alabama Subclass

 7   under Alabama law.

 8                          a.      Violation of the Alabama Deceptive Trade Practices Act (Ala.
 9                                  Code § 8-19-1, et seq.)
10          786.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
11          787.    This claim is brought against JLI, and for certain unconscionable conduct claims,
12   all Defendants.
13          788.    Defendants are “persons” and Plaintiffs and class members are “consumers”
14   under the statute. Ala. Code § 8-19-3.
15          789.    Plaintiffs and class members are consumers who purchased JUUL products for
16   personal purposes.
17          790.    Defendants created and implemented a scheme to create a market for e-cigarettes
18   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
19   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

20   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

21   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

22   addictiveness, and significant risks of substantial physical injury from using JUUL products.

23          791.    Advertisements and representations for JUUL products contained deceptive

24   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

25   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

26   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

27   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

28   decades, JLI used third parties and word of mouth to spread false and misleading information


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 1   about JUUL products.

 2          792.    Advertisements and representations for JUUL products concealed and failed to

 3   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 4   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 5   addictive, posed significant risks of substantial physical injury resulting from the use of the

 6   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 7   consumed through a pack of combustible cigarettes.

 8          793.    The labels on JUUL products failed to disclose that the products posed

 9   significant risks of substantial physical injury resulting from the use of the products. The labels

10   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
11          794.    The omissions were misleading and deceptive standing alone and were
12   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
13   cigarettes and other representations.
14          795.    JLI’s conduct was unfair and unconscionable in that it included (i) the
15   manufacture and sale of products with a heightened propensity to cause addiction and physical
16   injuries and (ii) misrepresentations and omissions of material facts concerning the
17   characteristics and safety of JUUL products that offended public policy; were immoral,
18   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused
19   substantial harm that greatly outweighs any possible utility from the conduct. In addition, Ala.

20   Code § 28-11-16 makes it unlawful for a retailer or manufacturer to advertise electronic nicotine

21   delivery systems as tobacco cessations products and/or a healthier alternative to smoking.

22          796.    JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

23   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

24   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

25   products are of a particular standard, quality, or grade, or that goods are of a particular style or

26   model, when they are not; (c) advertising goods or services with intent not to sell them as

27   advertised; and (d) engaging in any other unconscionable, false, misleading, or deceptive act or

28   practice in the conduct of trade or commerce.


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 1          797.    JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 2   omissions had the capacity to deceive, and in fact did, deceive reasonable consumers, including

 3   the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to

 4   their purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii)

 5   were not reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-

 6   delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of

 7   substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 8   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 9   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

10   Plaintiffs’ and class members’ decisions to purchase JUUL products.
11          798.    JLI owed Plaintiffs and class members a duty to disclose these facts because they
12   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
13   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
14   facts; because the facts would be material to reasonable consumers; because JLI actively
15   concealed them; because JLI intended for consumers to rely on the omissions in question;
16   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
17   made partial representations concerning the same subject matter as the omitted facts.
18          799.    JLI and the Management Defendants engaged in fraudulent and deceptive
19   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

20   products were appropriate for minors, when in fact the products never should have been

21   marketed to minors and are especially harmful to minors due to the potent and addictive

22   nicotine doses, addictive qualities, and health risks.

23          800.    In addition, all Defendants engaged in conduct that is conduct is unfair and

24   unconscionable because the targeting of minors offends public policy (Ala. Code § 28-11-1 and

25   Ala. Code § 28-11-4); is immoral, unethical, oppressive, outrageous, unscrupulous, and

26   substantially injurious; and has caused substantial harm that greatly outweighs any possible

27   utility from the conduct.

28          801.    As alleged above, all Defendants participated and/or facilitated the marketing of


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 1   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 2   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 3   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 4   use of JUUL products by minors continues to rise.

 5          802.    Defendants’ conduct actually and proximately caused actual monetary damages

 6   to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs

 7   and class members would have behaved differently and would not have purchased JUUL

 8   products or would have paid less for them. Defendants’ misrepresentations and omissions

 9   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have

10   purchased and enter into purchase contracts they would not otherwise have entered into. In
11   addition, class members who are minors are entitled to full repayment of the amounts they spent
12   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
13   injunctive relief, reasonable attorneys’ fees, up to three times actual damages sustained by each
14   such person, or any applicable statutory damages, whichever is greater, as well as any other
15   relief the Court may deem just or proper.
16          803.    Plaintiffs have complied or substantially complied with all applicable notice
17   requirements, or are otherwise excused from compliance because they do not maintain a place
18   of business in and/ or does not keep assets within the state of Alabama.
19                          b.      Common Law Fraud
20          804.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          805.    This claim is brought against JLI.

22          806.    JUUL created and implemented a scheme to create a market for e-cigarettes and

23   substantially increase sales of JUUL through a pervasive pattern of false and misleading

24   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

25   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

26   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

27   addictiveness, and significant risks of substantial physical injury from using JUUL products.

28          807.    Advertisements and representations for JUUL products contained deceptive


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 1   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 2   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 3   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 4   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 5   decades, JLI used third parties and word of mouth to spread false and misleading information

 6   about JUUL products.

 7          808.    Advertisements and representations for JUUL products concealed and failed to

 8   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 9   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

10   addictive, posed significant risks of substantial physical injury resulting from the use of the
11   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
12   consumed through a pack of combustible cigarettes.
13          809.    The labels on JUUL products failed to disclose that the products posed
14   significant risks of substantial physical injury resulting from the use of the products. The labels
15   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
16          810.    The omissions were misleading and deceptive standing alone and were
17   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
18   cigarettes and other representations.
19          811.    JLI’s conduct was fraudulent and deceptive because its misrepresentations and

20   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

21   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

22   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

23   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

24   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

25   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

26   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

27   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

28   Plaintiffs’ and class members’ decisions to purchase JUUL products.


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 1          812.    JLI owed Plaintiffs and class members a duty to disclose these facts because they

 2   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 3   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 4   facts; because the facts would be material to reasonable consumers; because JUUL products

 5   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 6   representations concerning the same subject matter as the omitted facts.

 7          813.    As set forth in the allegations concerning each Plaintiff in Appendix A, in

 8   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 9   and/or omissions. Reasonable consumers would have been expected to have relied on the

10   misrepresentations and omissions.
11          814.    JLI knew or should have known that its misrepresentations and/or omissions
12   were false and misleading, and intended for consumers to rely on such misrepresentations and
13   omissions.
14          815.    JLI knew that JUUL products were not safe or reasonable alternatives to
15   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
16   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
17   products.
18          816.    JUUL’s conduct actually and proximately caused actual damages to Plaintiffs
19   and class members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

20   differently and would not have purchased JUUL products or would have paid less for them.

21   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

22   JUUL products they would not otherwise have purchased and enter into purchase contracts they

23   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

24   member of the class damages in an amount to be proven at trial, as well as any other relief the

25   Court may deem just or proper.

26                          c.      Breach of the Implied Warranty of Merchantability
27          817.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

28          818.    This claim is brought against JLI.


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 1            819.   JUUL has at all times been a merchant with respect to the products which were

 2   sold to Plaintiff and the class and was in the business of selling such products.

 3            820.   Each JUUL product sold by JUUL comes with an implied warranty that it will

 4   merchantable and fit for the ordinary purpose for which it would be used. Ala. Code § 7-2-314.

 5   JUUL has breached its implied warranty of merchantability because its products were not in

 6   merchantable condition when sold, were defective when sold, did not conform to the promises

 7   and affirmations of fact made on the products’ containers or labels, and/or do not possess even

 8   the most basic degree of fitness for ordinary use.

 9            821.   The ordinary intended purpose of JUUL’s products—and the purpose for which

10   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
11   products are not fit for that use—or any other use—because they (i) were not smoking cessation
12   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
13   potent    nicotine-delivery   mechanisms,    (iv) were   powerfully    addictive, and (v) posed
14   unreasonable risks of substantial bodily injury.      Due to these and other features, JUUL’s
15   products are not fit for their ordinary, intended use as either cigarette replacement devices or
16   recreation smoking devices.
17            822.   Plaintiffs and each member of the class have had sufficient direct dealings with
18   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
19   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

20   each member of the class, on the other hand.

21            823.   Further, Plaintiffs and each member of the class were third-party beneficiaries of

22   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

23   sale of JUUL products to consumers. Specifically, Plaintiffs and class members are the intended

24   beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with the

25   express purpose an intent of being sold to consumers.

26            824.   Plaintiffs and the members of the class were injured as a direct and proximate

27   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

28   the Alabama Direct Purchaser Subclass were damaged as a result of JUUL’s breach of its


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 1   implied warranty of merchantability because, had they been aware of the unmerchantable

 2   condition of JUUL products, they would not have purchased JUUL products, or would have

 3   paid less for them. Plaintiffs seek damages in an amount to be proven at trial, as well as any

 4   other relief the Court may deem just or proper.

 5          825.    JUUL was provided notice of these issues by numerous complaints filed against

 6   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 7   individual letters and communications sent by consumers before or within a reasonable amount

 8   of time after they discovered or should have discovered that’s JUUL product were defective and

 9   unmerchantable.

10                          d.      Unjust Enrichment
11          826.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
12          827.    This claim is brought against JLI and the Management Defendants.
13          828.    Defendants created and implemented a scheme to create a market for e-cigarettes
14   and substantially increase sales of JUUL products through a pervasive pattern of false and
15   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
16   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
17   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
18   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
19   products.

20          829.    Defendants were unjustly enriched as a result of their wrongful conduct,

21   including through the false and misleading advertisements and omissions regarding (i) whether

22   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

23   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

24   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

25   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

26   nicotine consumed through a pack of combustible cigarettes. Ala. Code § 28-11-16 makes it

27   unlawful for a retailer or manufacturer to advertise electronic nicotine delivery systems as

28   tobacco cessations products and/or a healthier alternative to smoking. Defendants were also


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 1   unjustly enriched through their scheme of marketing their products to minors. Ala. Code § 28-

 2   11-1 sets forth the intent of the Alabama legislature to “prohibit access to tobacco and tobacco

 3   products by minors.” Ala. Code § 28-11-4 expresses the intent of Alabama legislature to

 4   “prevent[] the distribution of . . . alternative nicotine products to minors.”

 5          830.    Defendants requested and received a measurable benefit at the expense of

 6   Plaintiffs and class members in the form of payment for JUUL products.

 7          831.    Defendants appreciated, recognized, and chose to accept the monetary benefits

 8   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 9   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

10          832.    There is no justification for Defendants’ enrichment. It would be inequitable,
11   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
12   benefits were procured as a result of their wrongful conduct.
13          833.    Defendants wrongfully obfuscated the harm caused be their conduct. Thus,
14   Plaintiffs and class members, who relied on Defendants’ fraudulent representations, could not
15   and did not know the effect that using JUUL products would have on their health.
16          834.    Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
17   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
18   with Defendant.
19          835.    Plaintiffs plead this claim separately as well as in the alternative to their other

20   claims, as without such claims they would have no adequate legal remedy.

21                  2.      Alaska
22          836.    Plaintiffs bring each of the following claims on behalf of the Alaska Subclass

23   under Alaska law.

24                          a.       Violation of the Alaska Unfair Trade Practices and Consumer
25                                   Protection Act (Alaska Stat. § 45.50.471, et seq.)
26          837.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

27          838.    This claim is brought against JLI and, for certain unfair and/or unconscionable

28   conduct claims as noted below, all Defendants.


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 1          839.     Plaintiffs and class members are consumers who sought or acquired goods from

 2   JUUL by purchase.

 3          840.    Plaintiffs and class members purchased JUUL products for personal purposes.

 4          841.    Defendants created and implemented a scheme to create a market for e-cigarettes

 5   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 6   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 7   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 8   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 9   addictiveness, and significant risks of substantial physical injury from using JUUL products.

10          842.    Advertisements and representations for JUUL products contained deceptive
11   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
12   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
13   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
14   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
15   decades, JLI used third parties and word of mouth to spread false and misleading information
16   about JUUL products.
17          843.    Advertisements and representations for JUUL products concealed and failed to
18   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed significant risks of substantial physical injury resulting from the use of the

21   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

22   consumed through a pack of combustible cigarettes.

23          844.    The labels on JUUL products failed to disclose that the products posed

24   significant risks of substantial physical injury resulting from the use of the products. The labels

25   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

26          845.    The omissions were misleading and deceptive standing alone and were

27   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

28   cigarettes and other representations.


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 1          846.    JLI’s conduct was unfair and unconscionable in that it included (i) the

 2   manufacture and sale of products with a heightened propensity to cause addiction and physical

 3   injuries and (ii) misrepresentations and omissions of material facts concerning the

 4   characteristics and safety of JUUL products that offended public policy; were immoral,

 5   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

 6   substantial harm that greatly outweighs any possible utility from the conduct.

 7          847.    JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 8   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

 9   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

10   products are of a particular standard, quality, or grade, or that goods are of a particular style or
11   model, when they are not; (c) advertising goods or services with intent not to sell them as
12   advertised; (d) engaging in other conduct creating a likelihood of confusion or of
13   misunderstanding and that misled, deceived, and/ or damaged a buyer in connection with the
14   sale or advertisement of goods or services; and (e) using or employing deception, fraud, false
15   pretense, false promise, misrepresentation, or knowingly concealing, suppressing, or omitting a
16   material fact with intent that others rely upon the concealment, suppression, or omission in
17   connection with the sale or advertisement of goods.
18          848.    JLI’s conduct was fraudulent and deceptive because the misrepresentations and
19   omissions had the capacity to deceive, and in fact did, deceive reasonable consumers, including

20   the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to

21   their purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii)

22   were not reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-

23   delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of

24   substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

25   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

26   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

27   Plaintiffs’ and class members’ decisions to purchase JUUL products.

28          849.    JLI owed Plaintiffs and class members a duty to disclose these facts because they


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 1   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 2   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 3   facts; because the facts would be material to reasonable consumers; because JLI actively

 4   concealed them; because JLI intended for consumers to rely on the omissions in question;

 5   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 6   made partial representations concerning the same subject matter as the omitted facts.

 7          850.    JLI and the Management Defendants engaged in fraudulent and deceptive

 8   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 9   products were appropriate for minors, when in fact the products never should have been

10   marketed to minors and are especially harmful to minors due to the potent and addictive
11   nicotine doses, addictive qualities, and health risks.
12          851.    In addition, all Defendants engaged in unfair and unconscionable conduct
13   because the targeting of minors offends public policy (in particular Alaska Stat. § 11.76.109); is
14   immoral, unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and has
15   caused substantial harm that greatly outweighs any possible utility from the conduct.
16          852.    As alleged above, all Defendants participated and/or facilitated the marketing of
17   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI
18   and others have continued the deceptive, misleading, unfair, and unconscionable practices that
19   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

20   use of JUUL products by minors continues to rise.

21          853.    Defendants’ conduct actually and proximately caused an ascertainable loss of

22   money or property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent

23   conduct, Plaintiffs and class members would have behaved differently and would not have

24   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and

25   omissions induced Plaintiffs and class members to purchase JUUL products they would not

26   otherwise have purchased and enter into purchase contracts they would not otherwise have

27   entered into. In addition, class members who are minors are entitled to full repayment of the

28   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each


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 1   member of the class—injunctive relief, reasonable attorneys’ fees, three times actual damages

 2   or $500, whichever is greater, as well as any other relief the Court may deem just or proper.

 3          854.    Plaintiffs have complied or substantially complied with all applicable notice

 4   requirements, or are otherwise excused from compliance for this proceeding.

 5                          b.      Common Law Fraud
 6          855.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 7          856.    This claim is brought against JLI.

 8          857.    JUUL created and implemented a scheme to create a market for e-cigarettes and

 9   substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          858.    Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          859.    Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          860.    The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          861.    The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          862.    JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 6   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 7   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 8   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 9   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

10   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
11   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
12   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
13   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
14   Plaintiffs’ and class members’ decisions to purchase JUUL products.
15          863.    JLI owed Plaintiffs and class members a duty to disclose these facts because they
16   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
17   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
18   facts; because the facts would be material to reasonable consumers; because JUUL products
19   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

20   representations concerning the same subject matter as the omitted facts.

21          864.    As set forth in the allegations concerning each Plaintiff in Appendix A, in

22   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

23   and/or omissions. Reasonable consumers would have been expected to have relied on the

24   misrepresentations and omissions.

25          865.    JLI knew or should have known that its misrepresentations and/or omissions

26   were false and misleading, and intended for consumers to rely on such misrepresentations and

27   omissions.

28          866.    JLI knew that JUUL products were not safe or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 3   products.

 4            867.   JUUL’s conduct actually and proximately caused actual damages to Plaintiffs

 5   and class members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 6   differently and would not have purchased JUUL products or would have paid less for them.

 7   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 8   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 9   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

10   member of the class damages in an amount to be proven at trial, as well as any other relief the
11   Court may deem just or proper.
12                           c.      Breach of the Implied Warranty of Merchantability
13            868.   Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
14            869.   This claim is brought against JLI.
15            870.   JUUL has at all times been a merchant with respect to the products which were
16   sold to Plaintiff and the class and was in the business of selling such products.
17            871.   Each JUUL product sold by JUUL comes with an implied warranty that it will
18   merchantable and fit for the ordinary purpose for which it would be used.                Alaska Stat.
19   § 45.02.314. JUUL has breached its implied warranty of merchantability because its products

20   were not in merchantable condition when sold, were defective when sold, did not conform to the

21   promises and affirmations of fact made on the products’ containers or labels, and/or do not

22   possess even the most basic degree of fitness for ordinary use.

23            872.   The ordinary intended purpose of JUUL’s products—and the purpose for which

24   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

25   products are not fit for that use—or any other use—because they (i) were not smoking cessation

26   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

27   potent    nicotine-delivery   mechanisms,     (iv) were    powerfully    addictive, and (v) posed

28   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s


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 1   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 2   recreation smoking devices.

 3          873.    Plaintiffs and each member of the class have had sufficient direct dealings with

 4   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 5   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 6   each member of the class, on the other hand.

 7          874.    Further, Plaintiffs and each member of the class were third-party beneficiaries of

 8   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 9   sale of JUUL products to consumers.          Specifically, Plaintiffs and class members are the

10   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
11   the express purpose an intent of being sold to consumers.
12          875.    Plaintiffs and the members of the class were injured as a direct and proximate
13   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
14   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
15   because, had they been aware of the unmerchantable condition of JUUL products, they would
16   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
17   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
18          876.    JUUL was provided notice of these issues by numerous complaints filed against
19   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

20   individual letters and communications sent by consumers before or within a reasonable amount

21   of time after they discovered or should have discovered that’s JUUL product were defective and

22   unmerchantable.

23                          d.      Unjust Enrichment
24          877.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          878.    This claim is brought against JLI and the Management Defendants.

26          879.    Defendants created and implemented a scheme to create a market for e-cigarettes

27   and substantially increase sales of JUUL products through a pervasive pattern of false and

28   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and


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 1   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 2   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 3   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

 4   products.

 5          880.    Defendants were unjustly enriched as a result of their wrongful conduct,

 6   including through the false and misleading advertisements and omissions regarding (i) whether

 7   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 8   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 9   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

10   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
11   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
12   enriched through their scheme of marketing their products to minors. Alaska Stat. § 11.76.109
13   prohibits the marketing and sale of JUUL products to minors.
14          881.    Defendants requested and received a measurable benefit at the expense of
15   Plaintiffs and class members in the form of payment for JUUL products.
16          882.    Defendants appreciated, recognized, and chose to accept the monetary benefits
17   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
18   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
19          883.    There is no justification for Defendants’ enrichment. It would be inequitable,

20   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

21   benefits were procured as a result of their wrongful conduct.

22          884.    Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

23   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

24   with Defendant.

25          885.    Plaintiffs plead this claim separately as well as in the alternative to their other

26   claims, as without such claims they would have no adequate legal remedy.

27                  3.      Arizona
28          886.    Plaintiffs bring each of the following claims on behalf of the Arizona Subclass


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 1   under Arizona law.

 2                          a.      Violation of the Arizona Consumer Fraud Act (Ariz. Rev.
 3                                  Stat. § 44-1521, et seq.)
 4          887.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5          888.    This claim is brought against JLI and, for certain unfair and/or unconscionable

 6   conduct claims as noted below, all Defendants.

 7          889.    Plaintiffs and class members purchased JUUL products for personal purposes.

 8          890.    Defendants created and implemented a scheme to create a market for e-cigarettes

 9   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          891.    Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          892.    Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          893.    The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          894.    The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          895.    JLI’s conduct was unfair and unconscionable in that it included (i) the

 6   manufacture and sale of products with a heightened propensity to cause addiction and physical

 7   injuries and (ii) misrepresentations and omissions of material facts concerning the

 8   characteristics and safety of JUUL products that offended public policy; were immoral,

 9   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

10   substantial harm that greatly outweighs any possible utility from the conduct.
11          896.    JLI’s conduct was fraudulent and deceptive because the misrepresentations and
12   omissions had the tendency and capacity to convey misleading impressions to consumers, and
13   in fact did, mislead reasonable consumers, including the Plaintiffs. Reasonable consumers,
14   including the Plaintiffs, would have found it material to their purchasing decisions that JUUL’s
15   products (i) were not smoking cessation devices, (ii) were not reasonable alternatives to
16   combustible cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
17   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
18   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
19   nicotine consumed through a pack of combustible cigarettes. Knowledge of these facts would

20   have been a substantial factor in Plaintiffs’ and class members’ decisions to purchase JUUL

21   products.

22          897.    JLI owed Plaintiffs and class members a duty to disclose these facts because they

23   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

24   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

25   facts; because the facts would be material to reasonable consumers; because JLI actively

26   concealed them; because JLI intended for consumers to rely on the omissions in question;

27   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

28   made partial representations concerning the same subject matter as the omitted facts.


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 1          898.    As set forth in the allegations concerning each Plaintiff in Appendix A, in

 2   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

 3   Reasonable consumers would have been expected to have relied on the misrepresentations and

 4   omissions.

 5          899.    Defendants knew or should have known that their misrepresentations and/or

 6   omissions were false and misleading, and intended for consumers to rely on such

 7   misrepresentations and omissions.

 8          900.    JLI and the Management Defendants engaged in fraudulent and deceptive

 9   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

10   products were appropriate for minors, when in fact the products never should have been
11   marketed to minors and are especially harmful to minors due to the potent and addictive
12   nicotine doses, addictive qualities, and health risks.
13          901.    In addition, all Defendants engaged in unfair and unconscionable conduct
14   because the targeting of minors offends public policy (in particular Ariz. Rev. Stat. § 13-
15   3622(A)); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially
16   injurious; and has caused substantial harm that greatly outweighs any possible utility from the
17   conduct.
18          902.    As alleged above, all Defendants participated and/or facilitated the marketing of
19   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

20   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

21   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

22   use of JUUL products by minors continues to rise.

23          903.    Defendants’ conduct actually and proximately caused actual damages to

24   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

25   class members would have behaved differently and would not have purchased JUUL products

26   or would have paid less for them. Defendants’ misrepresentations and omissions induced

27   Plaintiffs and class members to purchase JUUL products they would not otherwise have

28   purchased and enter into purchase contracts they would not otherwise have entered into. In


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 1   addition, class members who are minors are entitled to full repayment of the amounts they spent

 2   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

 3   injunctive relief, reasonable attorneys’ fees, punitive damages, and actual damages, as well as

 4   any other relief the Court may deem just or proper.

 5                          b.      Common Law Fraud
 6          904.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 7          905.    This claim is brought against JLI.

 8          906.    JUUL created and implemented a scheme to create a market for e-cigarettes and

 9   substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          907.    Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          908.    Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          909.    The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          910.    The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          911.    JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 6   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 7   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 8   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 9   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

10   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
11   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
12   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
13   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
14   Plaintiffs’ and class members’ decisions to purchase JUUL products.
15          912.    JLI owed Plaintiffs and class members a duty to disclose these facts because they
16   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
17   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
18   facts; because the facts would be material to reasonable consumers; because JUUL products
19   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

20   representations concerning the same subject matter as the omitted facts.

21          913.    As set forth in the allegations concerning each Plaintiff in Appendix A, in

22   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

23   and/or omissions. Reasonable consumers would have been expected to have relied on the

24   misrepresentations and omissions.

25          914.    JLI knew or should have known that its misrepresentations and/or omissions

26   were false and misleading, and intended for consumers to rely on such misrepresentations and

27   omissions.

28          915.    JLI knew that JUUL products were not safe or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 3   products.

 4            916.   JUUL’s conduct actually and proximately caused damage to Plaintiffs and class

 5   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 6   differently and would not have purchased JUUL products or would have paid less for them.

 7   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 8   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 9   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

10   member of the class damages in an amount to be proven at trial, as well as any other relief the
11   Court may deem just or proper.
12                           c.      Breach of the Implied Warranty of Merchantability
13            917.   Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
14            918.   This claim is brought against JLI.
15            919.   JUUL has at all times been a merchant with respect to the products which were
16   sold to Plaintiff and the class and was in the business of selling such products.
17            920.   Each JUUL product sold by JUUL comes with an implied warranty that it will
18   merchantable and fit for the ordinary purpose for which it would be used. Ariz. Rev. Stat. § 47-
19   2314. JUUL has breached its implied warranty of merchantability because its products were not

20   in merchantable condition when sold, were defective when sold, did not conform to the

21   promises and affirmations of fact made on the products’ containers or labels, and/or do not

22   possess even the most basic degree of fitness for ordinary use.

23            921.   The ordinary intended purpose of JUUL’s products—and the purpose for which

24   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

25   products are not fit for that use—or any other use—because they (i) were not smoking cessation

26   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

27   potent    nicotine-delivery   mechanisms,     (iv) were    powerfully    addictive, and (v) posed

28   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s


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 1   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 2   recreation smoking devices.

 3          922.    Plaintiffs and each member of the class have had sufficient direct dealings with

 4   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 5   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 6   each member of the class, on the other hand.

 7          923.    Further, Plaintiffs and each member of the class were third-party beneficiaries of

 8   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 9   sale of JUUL products to consumers.          Specifically, Plaintiffs and class members are the

10   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
11   the express purpose an intent of being sold to consumers.
12          924.    Plaintiffs and the members of the class were injured as a direct and proximate
13   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
14   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
15   because, had they been aware of the unmerchantable condition of JUUL products, they would
16   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
17   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
18          925.    JUUL was provided notice of these issues by numerous complaints filed against
19   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

20   individual letters and communications sent by consumers before or within a reasonable amount

21   of time after they discovered or should have discovered that’s JUUL product were defective and

22   unmerchantable.

23                          d.      Unjust Enrichment
24          926.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          927.    This claim is brought against JLI and the Management Defendants.

26          928.    Defendants created and implemented a scheme to create a market for e-cigarettes

27   and substantially increase sales of JUUL products through a pervasive pattern of false and

28   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and


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 1   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 2   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 3   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

 4   products.

 5          929.    Defendants were unjustly enriched as a result of their wrongful conduct,

 6   including through the false and misleading advertisements and omissions regarding (i) whether

 7   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 8   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 9   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

10   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
11   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
12   enriched through their scheme of marketing their products to minors. Ariz. Rev. Stat. § 13-
13   3622(A) prohibits the marketing and sale of JUUL products to minors.
14          930.    Defendants requested and received a measurable benefit at the expense of
15   Plaintiffs and class members in the form of payment for JUUL products.
16          931.    Defendants appreciated, recognized, and chose to accept the monetary benefits
17   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
18   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
19          932.    There is no justification for Defendants’ enrichment. It would be inequitable,

20   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

21   benefits were procured as a result of their wrongful conduct.

22          933.    Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

23   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

24   with Defendant.

25          934.    Plaintiffs plead this claim separately as well as in the alternative to their other

26   claims, as without such claims they would have no adequate legal remedy.

27                  4.      Arkansas
28          935.    Plaintiffs bring each of the following claims on behalf of the Arkansas Subclass


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 1   under Arkansas law.

 2                          a.      Violation of the Arkansas Deceptive Trade Practices Act (Ark.
 3                                  Code § 4-88-101, et seq.)
 4          936.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5          937.    This claim is brought against JLI and, for certain unfairness or unconscionable

 6   conduct claims, all Defendants.

 7          938.    Plaintiffs and class members purchased JUUL products for personal purposes.

 8          939.    Defendants created and implemented a scheme to create a market for e-cigarettes

 9   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          940.    Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          941.    Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          942.    The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          943.    The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          944.    JLI’s conduct was unfair and unconscionable in that it included (i) the

 6   manufacture and sale of products with a heightened propensity to cause addiction and physical

 7   injuries and (ii) misrepresentations and omissions of material facts concerning the

 8   characteristics and safety of JUUL products violated public policy and affronted the sense of

 9   justice, decency, or reasonableness.

10          945.    JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and
11   unfair business practices: (a) knowingly misrepresenting that JUUL products have
12   characteristics, ingredients, uses, or benefits which they do not have; (b) knowingly
13   misrepresenting that JUUL products are of a particular standard, quality, or grade, or that goods
14   are of a particular style or model, when they are not; (c) advertising goods or services with
15   intent not to sell them as advertised; (d) using or employing deception, fraud, or false pretense;
16   (e) concealing, suppressing, or omitting material facts with the intent that other rely upon the
17   concealment, suppression, or omission; and (f) engaging in other unconscionable, false or
18   deceptive acts or practices in business commerce, or trade.
19          946.    JLI’s conduct was fraudulent and deceptive because the misrepresentations and

20   omissions at issue were likely to and had the capacity to, and in fact did, deceive reasonable

21   consumers, including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have

22   found it material to their purchasing decisions that JUUL’s products (i) were not smoking

23   cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were

24   extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

25   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

26   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a

27   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

28   in Plaintiffs’ and class members’ decisions to purchase JUUL products.


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 1          947.    JLI owed Plaintiffs and class members a duty to disclose these facts because they

 2   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 3   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 4   facts; because the facts would be material to reasonable consumers; because JLI actively

 5   concealed them; because JLI intended for consumers to rely on the omissions in question;

 6   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 7   made partial representations concerning the same subject matter as the omitted facts.

 8          948.    As set forth in the allegations concerning each Plaintiff in Appendix A, in

 9   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

10   Reasonable consumers would have been expected to have relied on the misrepresentations and
11   omissions.
12          949.    Defendants knew or should have known that their misrepresentations and/or
13   omissions were false and misleading, and intended for consumers to rely on such
14   misrepresentations and omissions.
15          950.    JLI and the Management Defendants engaged in fraudulent and deceptive
16   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
17   products were appropriate for minors, when in fact the products never should have been
18   marketed to minors and are especially harmful to minors due to the potent and addictive
19   nicotine doses, addictive qualities, and health risks.

20          951.    In addition, all Defendants engaged in unfair and unconscionable conduct

21   because the targeting of minors offends public policy (in particular Ark. Code § 5-27-227(a)(1))

22   and affronted the sense of justice, decency, or reasonableness.

23          952.    As alleged above, all Defendants participated and/or facilitated the marketing of

24   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

25   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

26   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

27   use of JUUL products by minors continues to rise.

28          953.    Defendants’ conduct actually and proximately caused actual financial loss to


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 1   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

 2   class members would have behaved differently and would not have purchased JUUL products

 3   or would have paid less for them. Defendants’ misrepresentations and omissions induced

 4   Plaintiffs and class members to purchase JUUL products they would not otherwise have

 5   purchased and enter into purchase contracts they would not otherwise have entered into. In

 6   addition, class members who are minors are entitled to full repayment of the amounts they spent

 7   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—to

 8   recover their actual financial loss, reasonable attorneys’ fees, and punitive damages, as well as

 9   any other relief the Court may deem just or proper.

10                          b.      Common Law Fraud
11          954.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
12          955.    This claim is brought against JLI.
13          956.    JUUL created and implemented a scheme to create a market for e-cigarettes and
14   substantially increase sales of JUUL through a pervasive pattern of false and misleading
15   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
16   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
17   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
18   addictiveness, and significant risks of substantial physical injury from using JUUL products.
19          957.    Advertisements and representations for JUUL products contained deceptive

20   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

21   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

22   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

23   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

24   decades, JLI used third parties and word of mouth to spread false and misleading information

25   about JUUL products.

26          958.    Advertisements and representations for JUUL products concealed and failed to

27   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

28   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully


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 1   addictive, posed significant risks of substantial physical injury resulting from the use of the

 2   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 3   consumed through a pack of combustible cigarettes.

 4          959.    The labels on JUUL products failed to disclose that the products posed

 5   significant risks of substantial physical injury resulting from the use of the products. The labels

 6   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 7          960.    The omissions were misleading and deceptive standing alone and were

 8   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 9   cigarettes and other representations.

10          961.    JLI’s conduct was fraudulent and deceptive because its misrepresentations and
11   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
12   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
13   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
14   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
15   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
16   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
17   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
18   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
19   Plaintiffs’ and class members’ decisions to purchase JUUL products.

20          962.    JLI owed Plaintiffs and class members a duty to disclose these facts because they

21   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

22   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

23   facts; because the facts would be material to reasonable consumers; because JUUL products

24   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

25   representations concerning the same subject matter as the omitted facts.

26          963.    As set forth in the allegations concerning each Plaintiff in Appendix A, in

27   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

28   and/or omissions. Reasonable consumers would have been expected to have relied on the


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 1   misrepresentations and omissions.

 2          964.    Defendants knew or should have known that their misrepresentations and/or

 3   omissions were false and misleading, and intended for consumers to rely on such

 4   misrepresentations and omissions.

 5          965.    JLI knew that JUUL products were not safe or reasonable alternatives to

 6   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 7   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 8   products.

 9          966.    JUUL’s conduct actually and proximately caused actual damages to Plaintiffs

10   and class members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
11   differently and would not have purchased JUUL products or would have paid less for them.
12   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
13   JUUL products they would not otherwise have purchased and enter into purchase contracts they
14   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each
15   member of the class damages in an amount to be proven at trial, as well as any other relief the
16   Court may deem just or proper.
17                          c.      Breach of the Implied Warranty of Merchantability
18          967.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
19          968.    This claim is brought against JLI.

20          969.    JUUL has at all times been a merchant with respect to the products which were

21   sold to Plaintiff and the class and was in the business of selling such products.

22          970.    Each JUUL product sold by JUUL comes with an implied warranty that it will

23   merchantable and fit for the ordinary purpose for which it would be used.           Ark. Code § 4-2-

24   314. JUUL has breached its implied warranty of merchantability because its products were not

25   in merchantable condition when sold, were defective when sold, did not conform to the

26   promises and affirmations of fact made on the products’ containers or labels, and/or do not

27   possess even the most basic degree of fitness for ordinary use.

28          971.    The ordinary intended purpose of JUUL’s products—and the purpose for which


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 1   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 2   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 3   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 4   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed

 5   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s

 6   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 7   recreation smoking devices.

 8            972.   Plaintiffs and each member of the class have had sufficient direct dealings with

 9   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

10   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
11   each member of the class, on the other hand.
12            973.   Further, Plaintiffs and each member of the class were third-party beneficiaries of
13   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
14   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the
15   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
16   the express purpose an intent of being sold to consumers.
17            974.   Plaintiffs and the members of the class were injured as a direct and proximate
18   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
19   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

20   because, had they been aware of the unmerchantable condition of JUUL products, they would

21   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

22   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

23            975.   JUUL was provided notice of these issues by numerous complaints filed against

24   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

25   individual letters and communications sent by consumers before or within a reasonable amount

26   of time after they discovered or should have discovered that’s JUUL product were defective and

27   unmerchantable.

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 1                          d.      Unjust Enrichment
 2          976.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 3          977.    This claim is brought against JLI and the Management Defendants.

 4          978.    Defendants created and implemented a scheme to create a market for e-cigarettes

 5   and substantially increase sales of JUUL products through a pervasive pattern of false and

 6   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

 7   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 8   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 9   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

10   products.
11          979.    Defendants were unjustly enriched as a result of their wrongful conduct,
12   including through the false and misleading advertisements and omissions regarding (i) whether
13   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
14   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
15   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
16   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
17   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
18   enriched through their scheme of marketing their products to minors. Ark. Code § 5-27-
19   227(a)(1) prohibits the marketing and sale of JUUL products to minors.

20          980.    Defendants requested and received a measurable benefit at the expense of

21   Plaintiffs and class members in the form of payment for JUUL products.

22          981.    Defendants appreciated, recognized, and chose to accept the monetary benefits

23   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

24   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

25          982.    There is no justification for Defendants’ enrichment. It would be inequitable,

26   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

27   benefits were procured as a result of their wrongful conduct.

28          983.    Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained


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 1   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 2   with Defendant.

 3          984.    Plaintiffs plead this claim separately as well as in the alternative to their other

 4   claims, as without such claims they would have no adequate legal remedy.

 5                  5.      Colorado
 6          985.    Plaintiffs bring each of the following claims on behalf of the Colorado Subclass

 7   under Colorado law.

 8                          a.      Violation of the Colorado Consumer Protection Act (Colo.
 9                                  Rev. Stat. § 6-1-101, et seq.)
10          986.    Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
11          987.    This claim is brought against JLI and, for certain unfair and/or unconscionable
12   conduct claims as noted below, all Defendants.
13          988.    Plaintiffs and class members purchased JUUL products for personal purposes.
14          989.    Defendants created and implemented a scheme to create a market for e-cigarettes
15   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
16   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
17   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
18   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
19   addictiveness, and significant risks of substantial physical injury from using JUUL products.

20          990.    Advertisements and representations for JUUL products contained deceptive

21   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

22   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

23   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

24   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

25   decades, JLI used third parties and word of mouth to spread false and misleading information

26   about JUUL products.

27          991.    Advertisements and representations for JUUL products concealed and failed to

28   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed significant risks of substantial physical injury resulting from the use of the

 3   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 4   consumed through a pack of combustible cigarettes.

 5          992.    The labels on JUUL products failed to disclose that the products posed

 6   significant risks of substantial physical injury resulting from the use of the products. The labels

 7   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 8          993.    The omissions were misleading and deceptive standing alone and were

 9   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

10   cigarettes and other representations.
11          994.    JLI’s conduct was unfair and unconscionable in that it included (i) the
12   manufacture and sale of products with a heightened propensity to cause addiction and physical
13   injuries and (ii) misrepresentations and omissions of material facts concerning the
14   characteristics and safety of JUUL products that offended public policy; were immoral,
15   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused
16   substantial harm that greatly outweighs any possible utility from the conduct.
17          995.    JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and
18   unfair business practices: (a) knowingly or recklessly misrepresenting that JUUL products have
19   characteristics, ingredients, uses, benefits, or quantities, which they do not have; (b)

20   misrepresenting that JUUL products are of a particular standard, quality, or grade, or that goods

21   are of a particular style or model, while knowing or having should known that they are not; (c)

22   advertising goods or services with intent not to sell them as advertised; (d) failing to disclose

23   material information concerning goods or services which was known at the time of an

24   advertisement or sale and intended to induce a consumer to enter into a transaction; and (e)

25   knowingly or recklessly engaging in other unfair, unconscionable, deceptive, deliberately

26   misleading, false, or fraudulent act or practices.

27          996.    JLI’s conduct was fraudulent and deceptive because the misrepresentations and

28   omissions had the capacity or tendency to deceive, and in fact did, deceive reasonable


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 1   consumers, including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have

 2   found it material to their purchasing decisions that JUUL’s products (i) were not smoking

 3   cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were

 4   extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

 5   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

 6   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a

 7   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

 8   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

 9          997.    JLI owed Plaintiffs and class members a duty to disclose these facts because they

10   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
11   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
12   facts; because the facts would be material to reasonable consumers; because JLI actively
13   concealed them; because JLI intended for consumers to rely on the omissions in question;
14   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
15   made partial representations concerning the same subject matter as the omitted facts.
16          998.    Defendants knew or should have known that their misrepresentations and/or
17   omissions were false and misleading or otherwise exhibited reckless disregard for the truth, and
18   intended for consumers to rely on such misrepresentations and omissions.
19          999.    JLI and the Management Defendants engaged in fraudulent and deceptive

20   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

21   products were appropriate for minors, when in fact the products never should have been

22   marketed to minors and are especially harmful to minors due to the potent and addictive

23   nicotine doses, addictive qualities, and health risks.

24          1000. In addition, all Defendants engaged in unfair and unconscionable conduct

25   because the targeting of minors offends public policy (in particular Colo. Rev. Stat. §§ 18-13-

26   121(1)(a) and 44-7-103); is immoral, unethical, oppressive, outrageous, unscrupulous, and

27   substantially injurious; and has caused substantial harm that greatly outweighs any possible

28   utility from the conduct.


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 1          1001. As alleged above, all Defendants participated and/or facilitated the marketing of

 2   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 3   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 4   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 5   use of JUUL products by minors continues to rise.

 6          1002. Defendants’ conduct significantly impacts the public as actual or potential

 7   consumers of Defendant’s goods.

 8          1003. Defendants’ conduct actually and proximately caused injury and actual damage

 9   to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs

10   and class members would have behaved differently and would not have purchased JUUL
11   products or would have paid less for them. Defendants’ misrepresentations and omissions
12   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have
13   purchased and enter into purchase contracts they would not otherwise have entered into. In
14   addition, class members who are minors are entitled to full repayment of the amounts they spent
15   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
16   three times actual damages or $500, whichever is greater, and reasonable attorneys’ fees, as well
17   as any other relief the Court may deem just or proper.
18                         b.      Common Law Fraud
19          1004. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

20          1005. This claim is brought against JLI.

21          1006. JUUL created and implemented a scheme to create a market for e-cigarettes and

22   substantially increase sales of JUUL through a pervasive pattern of false and misleading

23   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

24   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

25   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

26   addictiveness, and significant risks of substantial physical injury from using JUUL products.

27          1007. Advertisements and representations for JUUL products contained deceptive

28   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives


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 1   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 2   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 3   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 4   decades, JLI used third parties and word of mouth to spread false and misleading information

 5   about JUUL products.

 6          1008. Advertisements and representations for JUUL products concealed and failed to

 7   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 8   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 9   addictive, posed significant risks of substantial physical injury resulting from the use of the

10   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
11   consumed through a pack of combustible cigarettes.
12          1009. The labels on JUUL products failed to disclose that the products posed
13   significant risks of substantial physical injury resulting from the use of the products. The labels
14   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
15          1010. The omissions were misleading and deceptive standing alone and were
16   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
17   cigarettes and other representations.
18          1011. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
19   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

20   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

21   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

22   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

23   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

24   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

25   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

26   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

27   Plaintiffs’ and class members’ decisions to purchase JUUL products.

28          1012. JLI owed Plaintiffs and class members a duty to disclose these facts because they


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 1   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 2   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 3   facts; because the facts would be material to reasonable consumers; because JUUL products

 4   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 5   representations concerning the same subject matter as the omitted facts.

 6          1013. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 7   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 8   and/or omissions. Reasonable consumers would have been expected to have relied on the

 9   misrepresentations and omissions.

10          1014. Defendants knew or should have known that their misrepresentations and/or
11   omissions were false and misleading, and intended for consumers to rely on such
12   misrepresentations and omissions.
13          1015. JLI knew that JUUL products were not safe or reasonable alternatives to
14   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
15   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
16   products.
17          1016. JUUL’s conduct actually and proximately caused actual damages to Plaintiffs
18   and class members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
19   differently and would not have purchased JUUL products or would have paid less for them.

20   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

21   JUUL products they would not otherwise have purchased and enter into purchase contracts they

22   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

23   member of the class damages in an amount to be proven at trial, as well as any other relief the

24   Court may deem just or proper.

25                         c.      Breach of the Implied Warranty of Merchantability
26          1017. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

27          1018. This claim is brought against JLI.

28          1019. JUUL has at all times been a merchant with respect to the products which were


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 1   sold to Plaintiff and the class and was in the business of selling such products.

 2            1020. Each JUUL product sold by JUUL comes with an implied warranty that it will

 3   merchantable and fit for the ordinary purpose for which it would be used. Colo. Rev. Stat. § 4-

 4   2-314. JUUL has breached its implied warranty of merchantability because its products were

 5   not in merchantable condition when sold, were defective when sold, did not conform to the

 6   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 7   possess even the most basic degree of fitness for ordinary use.

 8            1021. The ordinary intended purpose of JUUL’s products—and the purpose for which

 9   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

10   products are not fit for that use—or any other use—because they (i) were not smoking cessation
11   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
12   potent    nicotine-delivery   mechanisms,    (iv) were   powerfully    addictive, and (v) posed
13   unreasonable risks of substantial bodily injury.      Due to these and other features, JUUL’s
14   products are not fit for their ordinary, intended use as either cigarette replacement devices or
15   recreation smoking devices.
16            1022. Plaintiffs and each member of the class have had sufficient direct dealings with
17   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
18   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
19   each member of the class, on the other hand.

20            1023. Further, Plaintiffs and each member of the class were third-party beneficiaries of

21   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

22   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

23   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

24   the express purpose an intent of being sold to consumers.

25            1024. Plaintiffs and the members of the class were injured as a direct and proximate

26   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

27   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

28   because, had they been aware of the unmerchantable condition of JUUL products, they would


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 1   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

 2   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

 3          1025. JUUL was provided notice of these issues by numerous complaints filed against

 4   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 5   individual letters and communications sent by consumers before or within a reasonable amount

 6   of time after they discovered or should have discovered that’s JUUL product were defective and

 7   unmerchantable.

 8                          d.     Unjust Enrichment
 9          1026. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

10          1027. This claim is brought against JLI and the Management Defendants.
11          1028. Defendants created and implemented a scheme to create a market for e-cigarettes
12   and substantially increase sales of JUUL products through a pervasive pattern of false and
13   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
14   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
15   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
16   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
17   products.
18          1029. Defendants were unjustly enriched as a result of their wrongful conduct,
19   including through the false and misleading advertisements and omissions regarding (i) whether

20   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

21   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

22   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

23   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

24   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

25   enriched through their scheme of marketing their products to minors. Colo. Rev. Stat. §§ 18-13-

26   121(1)(a) and 44-7-103 prohibits the marketing and sale of JUUL products to minors.

27          1030. Defendants requested and received a measurable benefit at the expense of

28   Plaintiffs and class members in the form of payment for JUUL products.


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 1          1031. Defendants appreciated, recognized, and chose to accept the monetary benefits

 2   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 3   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 4          1032. There is no justification for Defendants’ enrichment. It would be inequitable,

 5   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 6   benefits were procured as a result of their wrongful conduct.

 7          1033. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 8   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 9   with Defendant.

10          1034. Plaintiffs plead this claim separately as well as in the alternative to their other
11   claims, as without such claims they would have no adequate legal remedy.
12                  6.      Connecticut
13          1035. Plaintiffs bring each of the following claims on behalf of the Connecticut
14   Subclass under Connecticut law.
15                          a.     Violation of the Connecticut Unfair Trade Practices Act
16                                 (Conn. Gen. Stat. § 42-110a, et seq.)
17          1036. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
18          1037. This claim is brought against JLI and, for certain unfair and/or unconscionable
19   conduct claims as noted below, all Defendants.

20          1038. Defendants are “persons” as defined by Conn. Gen. Stat. Ann. § 42-110a.

21          1039. Plaintiffs and class members purchased JUUL products for personal purposes.

22          1040. Defendants created and implemented a scheme to create a market for e-cigarettes

23   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

24   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

25   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

26   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

27   addictiveness, and significant risks of substantial physical injury from using JUUL products.

28          1041. Advertisements and representations for JUUL products contained deceptive


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 1   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 2   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 3   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 4   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 5   decades, JLI used third parties and word of mouth to spread false and misleading information

 6   about JUUL products.

 7          1042. Advertisements and representations for JUUL products concealed and failed to

 8   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 9   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

10   addictive, posed significant risks of substantial physical injury resulting from the use of the
11   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
12   consumed through a pack of combustible cigarettes.
13          1043. The labels on JUUL products failed to disclose that the products posed
14   significant risks of substantial physical injury resulting from the use of the products. The labels
15   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
16          1044. The omissions were misleading and deceptive standing alone and were
17   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
18   cigarettes and other representations.
19          1045. JLI’s conduct was unfair and unconscionable in that it included (i) the

20   manufacture and sale of products with a heightened propensity to cause addiction and physical

21   injuries and (ii) misrepresentations and omissions of material facts concerning the

22   characteristics and safety of JUUL products that offended public policy; were immoral,

23   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

24   substantial harm that greatly outweighs any possible utility from the conduct.

25          1046. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

26   omissions had the capacity to deceive, and in fact did, deceive reasonable consumers including

27   the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to

28   their purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii)


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 1   were not reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-

 2   delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of

 3   substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 4   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 5   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 6   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 7          1047. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 8   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 9   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

10   facts; because the facts would be material to reasonable consumers; because JLI actively
11   concealed them; because JLI intended for consumers to rely on the omissions in question;
12   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
13   made partial representations concerning the same subject matter as the omitted facts.
14          1048. JLI and the Management Defendants engaged in fraudulent and deceptive
15   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
16   products were appropriate for minors, when in fact the products never should have been
17   marketed to minors and are especially harmful to minors due to the potent and addictive
18   nicotine doses, addictive qualities, and health risks.
19          1049. In addition, all Defendants engaged in unfair and unconscionable conduct

20   because the targeting of minors offends public policy (in particular Conn. Gen. Stat. § 53-

21   344b(b)); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially

22   injurious; and has caused substantial harm that greatly outweighs any possible utility from the

23   conduct.

24          1050. As alleged above, all Defendants participated and/or facilitated the marketing of

25   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

26   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

27   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

28   use of JUUL products by minors continues to rise.


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 1          1051. Defendants’ conduct actually and proximately caused an ascertainable loss of

 2   money or property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent

 3   conduct, Plaintiffs and class members would have behaved differently and would not have

 4   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and

 5   omissions induced Plaintiffs and class members to purchase JUUL products they would not

 6   otherwise have purchased and enter into purchase contracts they would not otherwise have

 7   entered into. In addition, class members who are minors are entitled to full repayment of the

 8   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each

 9   member of the class—injunctive relief, attorney’s fees, actual damages, and punitive damages,

10   as well as any other relief the Court may deem just or proper.
11                          b.     Common Law Fraud
12          1052. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
13          1053. This claim is brought against JLI.
14          1054. JUUL created and implemented a scheme to create a market for e-cigarettes and
15   substantially increase sales of JUUL through a pervasive pattern of false and misleading
16   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
17   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
18   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
19   addictiveness, and significant risks of substantial physical injury from using JUUL products.

20          1055. Advertisements and representations for JUUL products contained deceptive

21   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

22   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

23   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

24   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

25   decades, JLI used third parties and word of mouth to spread false and misleading information

26   about JUUL products.

27          1056. Advertisements and representations for JUUL products concealed and failed to

28   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed significant risks of substantial physical injury resulting from the use of the

 3   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 4   consumed through a pack of combustible cigarettes.

 5          1057. The labels on JUUL products failed to disclose that the products posed

 6   significant risks of substantial physical injury resulting from the use of the products. The labels

 7   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 8          1058. The omissions were misleading and deceptive standing alone and were

 9   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

10   cigarettes and other representations.
11          1059. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
12   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
13   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
14   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
15   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
16   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
17   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
18   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
19   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

20   Plaintiffs’ and class members’ decisions to purchase JUUL products.

21          1060. JLI owed Plaintiffs and class members a duty to disclose these facts because they

22   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

23   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

24   facts; because the facts would be material to reasonable consumers; because JUUL products

25   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

26   representations concerning the same subject matter as the omitted facts.

27          1061. As set forth in the allegations concerning each Plaintiff in Appendix A, in

28   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations


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 1   and/or omissions. Reasonable consumers would have been expected to have relied on the

 2   misrepresentations and omissions.

 3          1062. Defendants knew or should have known that their misrepresentations and/or

 4   omissions were false and misleading, and intended for consumers to rely on such

 5   misrepresentations and omissions.

 6          1063. JLI knew that JUUL products were not safe or reasonable alternatives to

 7   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 8   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 9   products.

10          1064. JUUL’s conduct actually and proximately caused injury and harm to Plaintiffs
11   and class members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
12   differently and would not have purchased JUUL products or would have paid less for them.
13   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
14   JUUL products they would not otherwise have purchased and enter into purchase contracts they
15   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each
16   member of the class damages in an amount to be proven at trial, as well as any other relief the
17   Court may deem just or proper.
18                          c.      Breach of the Implied Warranty of Merchantability
19          1065. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

20          1066. This claim is brought against JLI.

21          1067. JUUL has at all times been a merchant with respect to the products which were

22   sold to Plaintiff and the class and was in the business of selling such products.

23          1068. Each JUUL product sold by JUUL comes with an implied warranty that it will

24   merchantable and fit for the ordinary purpose for which it would be used.           Conn. Gen. Stat.

25   § 42a-2-314. JUUL has breached its implied warranty of merchantability because its products

26   were not in merchantable condition when sold, were defective when sold, did not conform to the

27   promises and affirmations of fact made on the products’ containers or labels, and/or do not

28   possess even the most basic degree of fitness for ordinary use.


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 1            1069. The ordinary intended purpose of JUUL’s products—and the purpose for which

 2   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 3   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 4   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 5   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed

 6   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s

 7   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 8   recreation smoking devices.

 9            1070. Plaintiffs and each member of the class have had sufficient direct dealings with

10   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
11   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
12   each member of the class, on the other hand.
13            1071. Further, Plaintiffs and each member of the class were third-party beneficiaries of
14   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
15   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the
16   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
17   the express purpose an intent of being sold to consumers.
18            1072. Plaintiffs and the members of the class were injured as a direct and proximate
19   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

20   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

21   because, had they been aware of the unmerchantable condition of JUUL products, they would

22   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

23   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

24            1073. JUUL was provided notice of these issues by numerous complaints filed against

25   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

26   individual letters and communications sent by consumers before or within a reasonable amount

27   of time after they discovered or should have discovered that’s JUUL product were defective and

28   unmerchantable.


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 1                          d.     Unjust Enrichment
 2          1074. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 3          1075. This claim is brought against JLI and the Management Defendants.

 4          1076. Defendants created and implemented a scheme to create a market for e-cigarettes

 5   and substantially increase sales of JUUL products through a pervasive pattern of false and

 6   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

 7   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 8   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 9   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

10   products.
11          1077. Defendants were unjustly enriched as a result of their wrongful conduct,
12   including through the false and misleading advertisements and omissions regarding (i) whether
13   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
14   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
15   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
16   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
17   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
18   enriched through their scheme of marketing their products to minors. Conn. Gen. Stat. § 53-
19   344b(b) prohibits the marketing and sale of JUUL products to minors.

20          1078. Defendants requested and received a measurable benefit at the expense of

21   Plaintiffs and class members in the form of payment for JUUL products.

22          1079. Defendants appreciated, recognized, and chose to accept the monetary benefits

23   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

24   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

25          1080. There is no justification for Defendants’ enrichment. It would be inequitable,

26   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

27   benefits were procured as a result of their wrongful conduct.

28          1081. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained


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 1   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 2   with Defendant.

 3          1082. Plaintiffs plead this claim separately as well as in the alternative to their other

 4   claims, as without such claims they would have no adequate legal remedy.

 5                  7.      Delaware
 6          1083. Plaintiffs bring each of the following claims on behalf of the Delaware Subclass

 7   under Delaware law.

 8                          a.     Violation of the Delaware Consumer Fraud Act (Del. Code tit.
 9                                 6 § 2511, et seq.)
10          1084. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
11          1085. This claim is brought against JLI and, for certain claims as noted below, the
12   Management Defendants.
13          1086. Plaintiffs and class members purchased JUUL products for personal purposes.
14          1087. JLI is a “person” as defined by Del. Code Ann. tit. 6, § 2511.
15          1088. JUUL products are “merchandise” as defined by Del. Code Ann. tit. 6, § 2511.
16          1089. Defendants created and implemented a scheme to create a market for e-cigarettes
17   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
18   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
19   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

20   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

21   addictiveness, and significant risks of substantial physical injury from using JUUL products.

22          1090. Advertisements and representations for JUUL products contained deceptive

23   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

24   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

25   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

26   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

27   decades, JLI used third parties and word of mouth to spread false and misleading information

28   about JUUL products.


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 1          1091. Advertisements and representations for JUUL products concealed and failed to

 2   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 3   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 4   addictive, posed significant risks of substantial physical injury resulting from the use of the

 5   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 6   consumed through a pack of combustible cigarettes.

 7          1092. The labels on JUUL products failed to disclose that the products posed

 8   significant risks of substantial physical injury resulting from the use of the products. The labels

 9   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

10          1093. The omissions were misleading and deceptive standing alone and were
11   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
12   cigarettes and other representations.
13          1094. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
14   omissions at issue were likely to, and in fact did, deceive reasonable consumers including the
15   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their
16   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not
17   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery
18   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily
19   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

20   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

21   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’

22   decisions to purchase JUUL products.

23          1095. JLI owed Plaintiffs and class members a duty to disclose these facts because they

24   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

25   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

26   facts; because the facts would be material to reasonable consumers; because JLI actively

27   concealed them; because JLI intended for consumers to rely on the omissions in question;

28   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI


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 1   made partial representations concerning the same subject matter as the omitted facts.

 2          1096. JLI and the Management Defendants engaged in fraudulent and deceptive

 3   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 4   products were appropriate for minors, when in fact the products never should have been

 5   marketed to minors and are especially harmful to minors due to the potent and addictive

 6   nicotine doses, addictive qualities, and health risks.

 7          1097. As alleged above, all Defendants participated and/or facilitated the marketing of

 8   JUUL products to minors and took no action to curb the use of JUUL products by minors.

 9   JUUL has continued the deceptive and misleading practices that Defendants implemented,

10   facilitated, and/or did not take adequate steps to end. As a result, the use of JUUL products by
11   minors continues to rise.
12          1098. Defendants’ conduct actually and proximately caused an ascertainable loss and
13   damages to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct,
14   Plaintiffs and class members would have behaved differently and would not have purchased
15   JUUL products or would have paid less for them. Defendants’ misrepresentations and omissions
16   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have
17   purchased and enter into purchase contracts they would not otherwise have entered into. In
18   addition, class members who are minors are entitled to full repayment of the amounts they spent
19   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

20   injunctive relief, actual damages, and punitive damages, as well as any other relief the Court

21   may deem just or proper.

22                          b.      Violation of the Delaware Deceptive Trade Practices Act (Del.
23                                  Code tit. 6 § 2531, et seq.)
24          1099. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          1100. This claim is brought against JLI and, for certain claims as noted below, the

26   Management Defendants.

27          1101. Plaintiffs and class members purchased JUUL products for personal purposes.

28          1102. JLI is a “person” as defined by Del. Code Ann. tit. 6, §2531.


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 1          1103. Defendants created and implemented a scheme to create a market for e-cigarettes

 2   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 3   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 4   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 5   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 6   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 7          1104. Advertisements and representations for JUUL products contained deceptive

 8   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 9   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

10   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
11   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
12   decades, JLI used third parties and word of mouth to spread false and misleading information
13   about JUUL products.
14          1105. Advertisements and representations for JUUL products concealed and failed to
15   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
16   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
17   addictive, posed significant risks of substantial physical injury resulting from the use of the
18   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
19   consumed through a pack of combustible cigarettes.

20          1106. The labels on JUUL products failed to disclose that the products posed

21   significant risks of substantial physical injury resulting from the use of the products. The labels

22   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

23          1107. The omissions were misleading and deceptive standing alone and were

24   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

25   cigarettes and other representations.

26          1108. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

27   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

28   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL


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 1   products are of a particular standard, quality, or grade, or that goods are of a particular style or

 2   model, when they are not; (c) advertising goods or services with intent not to sell them as

 3   advertised; and (d) engaging in other conduct which similarly creates a likelihood of confusion

 4   or misunderstanding.

 5          1109. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 6   omissions at issue were likely to, and in fact did, create confusion or misunderstanding among

 7   reasonable consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs,

 8   would have found it material to their purchasing decisions that JUUL’s products (i) were not

 9   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)

10   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed
11   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)
12   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a
13   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor
14   in Plaintiffs’ and class members’ decisions to purchase JUUL products.
15          1110. JLI owed Plaintiffs and class members a duty to disclose these facts because they
16   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
17   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
18   facts; because the facts would be material to reasonable consumers; because JLI actively
19   concealed them; because JLI intended for consumers to rely on the omissions in question;

20   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

21   made partial representations concerning the same subject matter as the omitted facts.

22          1111. JLI and the Management Defendants engaged in fraudulent and deceptive

23   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

24   products were appropriate for minors, when in fact the products never should have been

25   marketed to minors and are especially harmful to minors due to the potent and addictive

26   nicotine doses, addictive qualities, and health risks.

27          1112. Defendants’ conduct actually and proximately caused actual damages to

28   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and


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 1   class members would have behaved differently and would not have purchased JUUL products

 2   or would have paid less for them. Defendants’ misrepresentations and omissions induced

 3   Plaintiffs and class members to purchase JUUL products they would not otherwise have

 4   purchased and enter into purchase contracts they would not otherwise have entered into. In

 5   addition, class members who are minors are entitled to full repayment of the amounts they spent

 6   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

 7   injunctive relief, reasonable attorneys’ fees, actual damages, and/ or statutory damages that are

 8   treble the amount of actual damages, as well as any other relief the Court may deem just or

 9   proper.

10                            c.      Common Law Fraud
11             1113. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
12             1114. This claim is brought against JLI.
13             1115. JUUL created and implemented a scheme to create a market for e-cigarettes and
14   substantially increase sales of JUUL through a pervasive pattern of false and misleading
15   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
16   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
17   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
18   addictiveness, and significant risks of substantial physical injury from using JUUL products.
19             1116. Advertisements and representations for JUUL products contained deceptive

20   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

21   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

22   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

23   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

24   decades, JLI used third parties and word of mouth to spread false and misleading information

25   about JUUL products.

26             1117. Advertisements and representations for JUUL products concealed and failed to

27   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

28   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully


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 1   addictive, posed significant risks of substantial physical injury resulting from the use of the

 2   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 3   consumed through a pack of combustible cigarettes.

 4          1118. The labels on JUUL products failed to disclose that the products posed

 5   significant risks of substantial physical injury resulting from the use of the products. The labels

 6   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 7          1119. The omissions were misleading and deceptive standing alone and were

 8   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 9   cigarettes and other representations.

10          1120. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
11   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
12   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
13   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
14   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
15   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
16   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
17   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
18   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
19   Plaintiffs’ and class members’ decisions to purchase JUUL products.

20          1121. JLI owed Plaintiffs and class members a duty to disclose these facts because they

21   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

22   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

23   facts; because the facts would be material to reasonable consumers; because JUUL products

24   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

25   representations concerning the same subject matter as the omitted facts.

26          1122. As set forth in the allegations concerning each Plaintiff in Appendix A, in

27   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

28   and/or omissions. Reasonable consumers would have been expected to have relied on the


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 1   misrepresentations and omissions.

 2          1123. Defendants knew or should have known that their misrepresentations and/or

 3   omissions were false and misleading, and intended for consumers to rely on such

 4   misrepresentations and omissions.

 5          1124. JLI knew that JUUL products were not safe or reasonable alternatives to

 6   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 7   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 8   products.

 9          1125. JUUL’s conduct actually and proximately caused actual damages to Plaintiffs

10   and class members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
11   differently and would not have purchased JUUL products or would have paid less for them.
12   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
13   JUUL products they would not otherwise have purchased and enter into purchase contracts they
14   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each
15   member of the class damages in an amount to be proven at trial, as well as any other relief the
16   Court may deem just or proper.
17                          d.      Breach of the Implied Warranty of Merchantability
18          1126. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
19          1127. This claim is brought against JLI.

20          1128. JUUL has at all times been a merchant with respect to the products which were

21   sold to Plaintiff and the class and was in the business of selling such products.

22          1129. Each JUUL product sold by JUUL comes with an implied warranty that it will

23   merchantable and fit for the ordinary purpose for which it would be used. Del. Code tit. 6, § 2-

24   314. JUUL has breached its implied warranty of merchantability because its products were not

25   in merchantable condition when sold, were defective when sold, did not conform to the

26   promises and affirmations of fact made on the products’ containers or labels, and/or do not

27   possess even the most basic degree of fitness for ordinary use.

28          1130. The ordinary intended purpose of JUUL’s products—and the purpose for which


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 1   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 2   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 3   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 4   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed

 5   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s

 6   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 7   recreation smoking devices.

 8            1131. Plaintiffs and each member of the class have had sufficient direct dealings with

 9   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

10   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
11   each member of the class, on the other hand.
12            1132. Further, Plaintiffs and each member of the class were third-party beneficiaries of
13   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
14   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the
15   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
16   the express purpose an intent of being sold to consumers.
17            1133. Plaintiffs and the members of the class were injured as a direct and proximate
18   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
19   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

20   because, had they been aware of the unmerchantable condition of JUUL products, they would

21   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

22   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

23            1134. JUUL was provided notice of these issues by numerous complaints filed against

24   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

25   individual letters and communications sent by consumers before or within a reasonable amount

26   of time after they discovered or should have discovered that’s JUUL product were defective and

27   unmerchantable.

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 1                          e.     Unjust Enrichment
 2          1135. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 3          1136. This claim is brought against JLI and the Management Defendants.

 4          1137. Defendants created and implemented a scheme to create a market for e-cigarettes

 5   and substantially increase sales of JUUL products through a pervasive pattern of false and

 6   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

 7   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 8   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 9   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

10   products.
11          1138. Defendants were unjustly enriched as a result of their wrongful conduct,
12   including through the false and misleading advertisements and omissions regarding (i) whether
13   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
14   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
15   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
16   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
17   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
18   enriched through their scheme of marketing their products to minors.            Del. Code tit. 11,
19   §§ 1116(a) and 1118(a) prohibits the marketing and sale of JUUL products to minors.

20          1139. Defendants requested and received a measurable benefit at the expense of

21   Plaintiffs and class members in the form of payment for JUUL products.

22          1140. Defendants appreciated, recognized, and chose to accept the monetary benefits

23   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

24   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

25          1141. There is no justification for Defendants’ enrichment. It would be inequitable,

26   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

27   benefits were procured as a result of their wrongful conduct.

28          1142. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained


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 1   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 2   with Defendant.

 3          1143. Plaintiffs plead this claim separately as well as in the alternative to their other

 4   claims, as without such claims they would have no adequate legal remedy.

 5                  8.      District of Columbia
 6          1144. Plaintiffs bring each of the following claims on behalf of the District of

 7   Columbia Subclass under District of Columbia law.

 8                          a.      Violation of the D.C. Consumer Protection Procedures Act
 9                                  (D.C. Code § 28-3901, et seq.)
10          1145. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
11          1146. This claim is brought against JLI and, for certain unfair and/or unconscionable
12   conduct claims as noted below, all Defendants.
13          1147. Defendants are merchants under the statute who furnishes, makes available,
14   provides information about, or, directly or indirectly, solicits or offers for or effectuates, a leas,
15   lease or transfer of consumer goods or services.
16          1148. Plaintiffs and class members are consumers who purchased JUUL products for
17   personal purposes.
18          1149. Defendants created and implemented a scheme to create a market for e-cigarettes
19   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

20   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

21   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

22   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

23   addictiveness, and significant risks of substantial physical injury from using JUUL products.

24          1150. Advertisements and representations for JUUL products contained deceptive

25   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

26   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

27   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

28   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous


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 1   decades, JLI used third parties and word of mouth to spread false and misleading information

 2   about JUUL products.

 3          1151. Advertisements and representations for JUUL products concealed and failed to

 4   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 5   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 6   addictive, posed significant risks of substantial physical injury resulting from the use of the

 7   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 8   consumed through a pack of combustible cigarettes.

 9          1152. The labels on JUUL products failed to disclose that the products posed

10   significant risks of substantial physical injury resulting from the use of the products. The labels
11   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
12          1153. The omissions were misleading and deceptive standing alone and were
13   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
14   cigarettes and other representations.
15          1154. JLI’s conduct was unfair trade practice because (i) the manufacture and sale of
16   products with a heightened propensity to cause addiction and physical injuries and (ii)
17   misrepresentations and omissions of material facts concerning the characteristics and safety of
18   JUUL products that offended public policy; were immoral, unethical, oppressive, outrageous,
19   unscrupulous, and substantially injurious; and caused substantial harm that greatly outweighs

20   any possible utility from the conduct.

21          1155. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

22   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

23   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

24   products are of a particular standard, quality, grade, style, or model, when they are not; (c)

25   advertising or offering goods or services with intent not to sell them as advertised or offered; (d)

26   misrepresenting a material fact which has a tendency to mislead; (e) failing to sate a material

27   fact when such failure tends to mislead; and (f) representing that the subject of a transaction has

28   been supplied in accordance with a previous representation when it has not.


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 1          1156. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 2   omissions had a tendency to mislead, and in fact did, mislead reasonable consumers including

 3   the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to

 4   their purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii)

 5   were not reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-

 6   delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of

 7   substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 8   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 9   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

10   Plaintiffs’ and class members’ decisions to purchase JUUL products.
11          1157. JLI owed Plaintiffs and class members a duty to disclose these facts because they
12   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
13   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
14   facts; because the facts would be material to reasonable consumers; because JLI actively
15   concealed them; because JLI intended for consumers to rely on the omissions in question;
16   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
17   made partial representations concerning the same subject matter as the omitted facts.
18          1158. As set forth in the allegations concerning each Plaintiff in Appendix A, in
19   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

20   Reasonable consumers would have been expected to have relied on the misrepresentations and

21   omissions.

22          1159. Defendants knew or should have known that their misrepresentations and/or

23   omissions were false and misleading, and intended for consumers to rely on such

24   misrepresentations and omissions.

25          1160. In addition, all Defendants engaged in unfair and unconscionable conduct

26   because the targeting of minors offends public policy (in particular D.C. Code § 7-1721.02); is

27   immoral, unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and has

28   caused substantial harm that greatly outweighs any possible utility from the conduct.


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 1          1161. As alleged above, all Defendants participated and/or facilitated the marketing of

 2   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 3   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 4   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 5   use of JUUL products by minors continues to rise.

 6          1162. Defendants’ conduct actually and proximately caused actual damages to

 7   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

 8   class members would have behaved differently and would not have purchased JUUL products

 9   or would have paid less for them. Defendants’ misrepresentations and omissions induced

10   Plaintiffs and class members to purchase JUUL products they would not otherwise have
11   purchased and enter into purchase contracts they would not otherwise have entered into. In
12   addition, class members who are minors are entitled to full repayment of the amounts they spent
13   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
14   injunctive relief, reasonable attorneys’ fees, restitution, $1,500 per violation, and/ or statutory
15   treble damages, whichever is greater, and punitive damages, as well as any other relief the Court
16   may deem just or proper.
17                          b.     Common Law Fraud
18          1163. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
19          1164. This claim is brought against JLI.

20          1165. JUUL created and implemented a scheme to create a market for e-cigarettes and

21   substantially increase sales of JUUL through a pervasive pattern of false and misleading

22   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

23   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

24   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

25   addictiveness, and significant risks of substantial physical injury from using JUUL products.

26          1166. Advertisements and representations for JUUL products contained deceptive

27   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

28   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible


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 1   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 2   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 3   decades, JLI used third parties and word of mouth to spread false and misleading information

 4   about JUUL products.

 5          1167. Advertisements and representations for JUUL products concealed and failed to

 6   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 7   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 8   addictive, posed significant risks of substantial physical injury resulting from the use of the

 9   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

10   consumed through a pack of combustible cigarettes.
11          1168. The labels on JUUL products failed to disclose that the products posed
12   significant risks of substantial physical injury resulting from the use of the products. The labels
13   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
14          1169. The omissions were misleading and deceptive standing alone and were
15   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
16   cigarettes and other representations.
17          1170. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
18   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
19   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

20   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

21   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

22   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

23   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

24   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

25   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

26   Plaintiffs’ and class members’ decisions to purchase JUUL products.

27          1171. JLI owed Plaintiffs and class members a duty to disclose these facts because they

28   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties


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 1   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 2   facts; because the facts would be material to reasonable consumers; because JUUL products

 3   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 4   representations concerning the same subject matter as the omitted facts.

 5          1172. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 6   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 7   and/or omissions. Reasonable consumers would have been expected to have relied on the

 8   misrepresentations and omissions.

 9          1173. Defendants knew or should have known that their misrepresentations and/or

10   omissions were false and misleading, and intended for consumers to rely on such
11   misrepresentations and omissions.
12          1174. JLI knew that JUUL products were not safe or reasonable alternatives to
13   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
14   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
15   products.
16          1175. JUUL’s conduct actually and proximately caused actual damages to Plaintiffs
17   and class members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
18   differently and would not have purchased JUUL products or would have paid less for them.
19   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

20   JUUL products they would not otherwise have purchased and enter into purchase contracts they

21   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

22   member of the class damages in an amount to be proven at trial, as well as any other relief the

23   Court may deem just or proper.

24                          c.      Breach of the Implied Warranty of Merchantability
25          1176. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

26          1177. This claim is brought against JLI.

27          1178. JUUL has at all times been a merchant with respect to the products which were

28   sold to Plaintiff and the class and was in the business of selling such products.


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 1            1179. Each JUUL product sold by JUUL comes with an implied warranty that it will

 2   merchantable and fit for the ordinary purpose for which it would be used. D.C. Code § 28:2-

 3   314. JUUL has breached its implied warranty of merchantability because its products were not

 4   in merchantable condition when sold, were defective when sold, did not conform to the

 5   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 6   possess even the most basic degree of fitness for ordinary use.

 7            1180. The ordinary intended purpose of JUUL’s products—and the purpose for which

 8   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 9   products are not fit for that use—or any other use—because they (i) were not smoking cessation

10   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
11   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully   addictive, and (v) posed
12   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s
13   products are not fit for their ordinary, intended use as either cigarette replacement devices or
14   recreation smoking devices.
15            1181. Plaintiffs and each member of the class have had sufficient direct dealings with
16   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
17   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
18   each member of the class, on the other hand.
19            1182. Further, Plaintiffs and each member of the class were third-party beneficiaries of

20   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

21   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

22   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

23   the express purpose an intent of being sold to consumers.

24            1183. Plaintiffs and the members of the class were injured as a direct and proximate

25   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

26   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

27   because, had they been aware of the unmerchantable condition of JUUL products, they would

28   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages


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 1   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

 2          1184. JUUL was provided notice of these issues by numerous complaints filed against

 3   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 4   individual letters and communications sent by consumers before or within a reasonable amount

 5   of time after they discovered or should have discovered that’s JUUL product were defective and

 6   unmerchantable.

 7                          d.     Unjust Enrichment
 8          1185. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 9          1186. This claim is brought against JLI and the Management Defendants.

10          1187. Defendants created and implemented a scheme to create a market for e-cigarettes
11   and substantially increase sales of JUUL products through a pervasive pattern of false and
12   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
13   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
14   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
15   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
16   products.
17          1188. Defendants were unjustly enriched as a result of their wrongful conduct,
18   including through the false and misleading advertisements and omissions regarding (i) whether
19   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

20   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

21   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

22   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

23   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

24   enriched through their scheme of marketing their products to minors. D.C. Code § 7-1721.02

25   prohibits the marketing and sale of JUUL products to minors.

26          1189. Defendants requested and received a measurable benefit at the expense of

27   Plaintiffs and class members in the form of payment for JUUL products.

28          1190. Defendants appreciated, recognized, and chose to accept the monetary benefits


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 1   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 2   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 3          1191. There is no justification for Defendants’ enrichment. It would be inequitable,

 4   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 5   benefits were procured as a result of their wrongful conduct.

 6          1192. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 7   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 8   with Defendant.

 9          1193. Plaintiffs plead this claim separately as well as in the alternative to their other

10   claims, as without such claims they would have no adequate legal remedy.
11                  9.      Florida
12          1194. Plaintiffs bring each of the following claims on behalf of the Florida Subclass
13   under Florida law.
14                          a.     Violation of the Florida Deceptive and Unfair Trade Practices
15                                 Act (Fla. Stat. § 501.201, et seq.)
16          1195. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
17          1196. This claim is brought against JLI and, for certain unfair and/or unconscionable
18   conduct claims as noted below, all Defendants.
19          1197. Plaintiffs and class members are individuals who purchased JUUL products for

20   personal purposes.

21          1198. Defendants created and implemented a scheme to create a market for e-cigarettes

22   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

23   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

24   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

25   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

26   addictiveness, and significant risks of substantial physical injury from using JUUL products.

27   JUUL made or disseminated misleading advertisements to the general public or to a portion of

28   the general public.


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 1          1199. Advertisements and representations for JUUL products contained deceptive

 2   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 3   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 4   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 5   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 6   decades, JLI used third parties and word of mouth to spread false and misleading information

 7   about JUUL products.

 8          1200. Advertisements and representations for JUUL products concealed and failed to

 9   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

10   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
11   addictive, posed significant risks of substantial physical injury resulting from the use of the
12   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
13   consumed through a pack of combustible cigarettes.
14          1201. The labels on JUUL products failed to disclose that the products posed
15   significant risks of substantial physical injury resulting from the use of the products. The labels
16   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
17          1202. The omissions were misleading and deceptive standing alone and were
18   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
19   cigarettes and other representations.

20          1203. JLI’s conduct was unfair and unconscionable in that it included (i) the

21   manufacture and sale of products with a heightened propensity to cause addiction and physical

22   injuries and (ii) misrepresentations and omissions of material facts concerning the

23   characteristics and safety of JUUL products that offended public policy; were immoral,

24   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

25   substantial harm that greatly outweighs any possible utility from the conduct.

26          1204. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

27   omissions at issue were likely to, and in fact did, deceive reasonable consumers including the

28   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their


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 1   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not

 2   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery

 3   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily

 4   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

 5   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

 6   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’

 7   decisions to purchase JUUL products.

 8          1205. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 9   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

10   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
11   facts; because the facts would be material to reasonable consumers; because JLI actively
12   concealed them; because JLI intended for consumers to rely on the omissions in question;
13   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
14   made partial representations concerning the same subject matter as the omitted facts.
15          1206. Defendants knew or should have known that their misrepresentations and/or
16   omissions were false and misleading, and intended for consumers to rely on such
17   misrepresentations and omissions.
18          1207. JLI and the Management Defendants engaged in fraudulent and deceptive
19   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

20   products were appropriate for minors, when in fact the products never should have been

21   marketed to minors and are especially harmful to minors due to the potent and addictive

22   nicotine doses, addictive qualities, and health risks.

23          1208. In addition, all Defendants engaged in unfair and unconscionable conduct

24   because the targeting of minors offends public policy (in particular Fla. Stat. § 877.112(2)-(3));

25   is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and has

26   caused substantial harm that greatly outweighs any possible utility from the conduct.

27          1209. As alleged above, all Defendants participated and/or facilitated the marketing of

28   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI


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 1   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 2   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 3   use of JUUL products by minors continues to rise.

 4          1210. Defendants’ conduct actually and proximately caused actual damages to

 5   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

 6   class members would have behaved differently and would not have purchased JUUL products

 7   or would have paid less for them. Defendants’ misrepresentations and omissions induced

 8   Plaintiffs and class members to purchase JUUL products they would not otherwise have

 9   purchased and enter into purchase contracts they would not otherwise have entered into. In

10   addition, class members who are minors are entitled to full repayment of the amounts they spent
11   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
12   injunctive relief, reasonable attorneys’ fees, and actual damages, as well as any other relief the
13   Court may deem just or proper.
14                         b.      Violation of the Florida False Advertising Law (Fla. Stat.
15                                 §§ 817.06 and 817.41, et seq.)
16          1211. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
17          1212. This claim is brought against JLI and, for certain claims as noted below, the
18   Management Defendants.
19          1213. Plaintiffs and class members purchased JUUL products for personal purposes.

20          1214. Defendants created and implemented a scheme to create a market for e-cigarettes

21   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

22   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

23   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

24   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

25   addictiveness, and significant risks of substantial physical injury from using JUUL products.

26          1215. Advertisements and representations for JUUL products contained deceptive

27   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

28   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible


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 1   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 2   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 3   decades, JLI used third parties and word of mouth to spread false and misleading information

 4   about JUUL products.

 5          1216. Advertisements and representations for JUUL products concealed and failed to

 6   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 7   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 8   addictive, posed significant risks of substantial physical injury resulting from the use of the

 9   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

10   consumed through a pack of combustible cigarettes.
11          1217. The labels on JUUL products failed to disclose that the products posed
12   significant risks of substantial physical injury resulting from the use of the products. The labels
13   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
14          1218. The omissions were misleading and deceptive standing alone and were
15   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
16   cigarettes and other representations.
17          1219. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
18   omissions at issue were likely to, and in fact did, deceive reasonable consumers including the
19   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their

20   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not

21   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery

22   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily

23   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

24   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

25   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’

26   decisions to purchase JUUL products.

27          1220. JLI owed Plaintiffs and class members a duty to disclose these facts because they

28   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties


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 1   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 2   facts; because the facts would be material to reasonable consumers; because JLI actively

 3   concealed them; because JLI intended for consumers to rely on the omissions in question;

 4   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 5   made partial representations concerning the same subject matter as the omitted facts.

 6          1221. JLI and the Management Defendants engaged in fraudulent and deceptive

 7   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 8   products were appropriate for minors, when in fact the products never should have been

 9   marketed to minors and are especially harmful to minors due to the potent and addictive

10   nicotine doses, addictive qualities, and health risks.
11          1222. As set forth in the allegations concerning each Plaintiff in Appendix A, in
12   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.
13   Reasonable consumers would have been expected to have relied on the misrepresentations and
14   omissions.
15          1223. Defendants knew or should have known that their misrepresentations and/or
16   omissions were false and misleading, and intended for consumers to rely on such
17   misrepresentations and omissions.
18          1224. Defendants’ conduct actually and proximately caused actual damages to
19   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

20   class members would have behaved differently and would not have purchased JUUL products

21   or would have paid less for them. Defendants’ misrepresentations and omissions induced

22   Plaintiffs and class members to purchase JUUL products they would not otherwise have

23   purchased and enter into purchase contracts they would not otherwise have entered into. In

24   addition, class members who are minors are entitled to full repayment of the amounts they spent

25   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

26   actual damages, reasonable attorneys’ fees, and punitive damages, as well as any other relief the

27   Court may deem just or proper.

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 1                          c.     Common Law Fraud
 2          1225. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 3          1226. This claim is brought against JLI.

 4          1227. JUUL created and implemented a scheme to create a market for e-cigarettes and

 5   substantially increase sales of JUUL through a pervasive pattern of false and misleading

 6   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 7   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 8   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 9   addictiveness, and significant risks of substantial physical injury from using JUUL products.

10          1228. Advertisements and representations for JUUL products contained deceptive
11   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
12   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
13   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
14   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
15   decades, JLI used third parties and word of mouth to spread false and misleading information
16   about JUUL products.
17          1229. Advertisements and representations for JUUL products concealed and failed to
18   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed significant risks of substantial physical injury resulting from the use of the

21   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

22   consumed through a pack of combustible cigarettes.

23          1230. The labels on JUUL products failed to disclose that the products posed

24   significant risks of substantial physical injury resulting from the use of the products. The labels

25   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

26          1231. The omissions were misleading and deceptive standing alone and were

27   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

28   cigarettes and other representations.


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 1          1232. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 2   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 3   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 4   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 5   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 6   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 7   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 8   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 9   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

10   Plaintiffs’ and class members’ decisions to purchase JUUL products.
11          1233. JLI owed Plaintiffs and class members a duty to disclose these facts because they
12   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
13   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
14   facts; because the facts would be material to reasonable consumers; because JUUL products
15   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
16   representations concerning the same subject matter as the omitted facts.
17          1234. As set forth in the allegations concerning each Plaintiff in Appendix A, in
18   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
19   and/or omissions. Reasonable consumers would have been expected to have relied on the

20   misrepresentations and omissions.

21          1235. Defendants knew or should have known that their misrepresentations and/or

22   omissions were false and misleading, and intended for consumers to rely on such

23   misrepresentations and omissions.

24          1236. JLI knew that JUUL products were not safe or reasonable alternatives to

25   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

26   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

27   products.

28          1237. JUUL’s conduct actually and proximately caused detriment to Plaintiffs and


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 1   class members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 2   differently and would not have purchased JUUL products or would have paid less for them.

 3   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 4   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 5   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

 6   member of the class damages in an amount to be proven at trial, as well as any other relief the

 7   Court may deem just or proper.

 8                           d.      Breach of the Implied Warranty of Merchantability
 9            1238. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

10            1239. This claim is brought against JLI.
11            1240. JUUL has at all times been a merchant with respect to the products which were
12   sold to Plaintiff and the class and was in the business of selling such products.
13            1241. Each JUUL product sold by JUUL comes with an implied warranty that it will
14   merchantable and fit for the ordinary purpose for which it would be used. Fla. Stat. § 672.314.
15   JUUL has breached its implied warranty of merchantability because its products were not in
16   merchantable condition when sold, were defective when sold, did not conform to the promises
17   and affirmations of fact made on the products’ containers or labels, and/or do not possess even
18   the most basic degree of fitness for ordinary use.
19            1242. The ordinary intended purpose of JUUL’s products—and the purpose for which

20   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

21   products are not fit for that use—or any other use—because they (i) were not smoking cessation

22   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

23   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

24   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

25   products are not fit for their ordinary, intended use as either cigarette replacement devices or

26   recreation smoking devices.

27            1243. Plaintiffs and each member of the class have had sufficient direct dealings with

28   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized


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 1   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 2   each member of the class, on the other hand.

 3          1244. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 4   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 5   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

 6   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 7   the express purpose an intent of being sold to consumers.

 8          1245. Plaintiffs and the members of the class were injured as a direct and proximate

 9   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

10   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
11   because, had they been aware of the unmerchantable condition of JUUL products, they would
12   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
13   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
14          1246. JUUL was provided notice of these issues by numerous complaints filed against
15   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
16   individual letters and communications sent by consumers before or within a reasonable amount
17   of time after they discovered or should have discovered that’s JUUL product were defective and
18   unmerchantable.
19                          e.     Unjust Enrichment
20          1247. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          1248. This claim is brought against JLI and the Management Defendants.

22          1249. Defendants created and implemented a scheme to create a market for e-cigarettes

23   and substantially increase sales of JUUL products through a pervasive pattern of false and

24   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

25   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

26   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

27   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

28   products.


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 1          1250. Defendants were unjustly enriched as a result of their wrongful conduct,

 2   including through the false and misleading advertisements and omissions regarding (i) whether

 3   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 4   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 5   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 6   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 7   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 8   enriched through their scheme of marketing their products to minors. Fla. Stat. § 877.112(2)-(3)

 9   prohibits the marketing and sale of JUUL products to minors.

10          1251. Defendants requested and received a measurable benefit at the expense of
11   Plaintiffs and class members in the form of payment for JUUL products.
12          1252. Defendants appreciated, recognized, and chose to accept the monetary benefits
13   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
14   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
15          1253. There is no justification for Defendants’ enrichment. It would be inequitable,
16   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
17   benefits were procured as a result of their wrongful conduct.
18          1254. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
19   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

20   with Defendant.

21          1255. Plaintiffs plead this claim separately as well as in the alternative to their other

22   claims, as without such claims they would have no adequate legal remedy.

23                  10.     Georgia
24          1256. Plaintiffs bring each of the following claims on behalf of the Georgia Subclass

25   under Georgia law.

26                          a.     Violation of the Georgia Uniform Deceptive Trade Practices
27                                 Act (Ga. Code § 10-1-370, et seq.)
28          1257. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.


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 1          1258. This claim is brought against JLI and, for certain claims as noted below, the

 2   Management Defendants.

 3          1259. Plaintiffs and class members purchased JUUL products for personal purposes.

 4          1260. JLI is a “person” as defined by Ga. Code Ann. § 10-1-371.

 5          1261. Defendants created and implemented a scheme to create a market for e-cigarettes

 6   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 7   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 8   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 9   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

10   addictiveness, and significant risks of substantial physical injury from using JUUL products.
11          1262. Advertisements and representations for JUUL products contained deceptive
12   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
13   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
14   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
15   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
16   decades, JLI used third parties and word of mouth to spread false and misleading information
17   about JUUL products.
18          1263. Advertisements and representations for JUUL products concealed and failed to
19   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

20   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

21   addictive, posed significant risks of substantial physical injury resulting from the use of the

22   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

23   consumed through a pack of combustible cigarettes.

24          1264. The labels on JUUL products failed to disclose that the products posed

25   significant risks of substantial physical injury resulting from the use of the products. The labels

26   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

27          1265. The omissions were misleading and deceptive standing alone and were

28   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to


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 1   cigarettes and other representations.

 2          1266. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 3   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

 4   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

 5   products are of a particular standard, quality, or grade, or that goods are of a particular style or

 6   model, when they are not; (c) advertising goods or services with intent not to sell them as

 7   advertised; and (d) engaging in other conduct which similarly creates a likelihood of confusion

 8   or of misunderstanding.

 9          1267. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

10   omissions at issue were likely to, and in fact did, confuse and mislead reasonable consumers
11   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
12   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
13   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
14   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
15   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
16   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
17   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
18   Plaintiffs’ and class members’ decisions to purchase JUUL products.
19          1268. JLI owed Plaintiffs and class members a duty to disclose these facts because they

20   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

21   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

22   facts; because the facts would be material to reasonable consumers; because JLI actively

23   concealed them; because JLI intended for consumers to rely on the omissions in question;

24   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

25   made partial representations concerning the same subject matter as the omitted facts.

26          1269. JLI and the Management Defendants engaged in fraudulent and deceptive

27   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

28   products were appropriate for minors, when in fact the products never should have been


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 1   marketed to minors and are especially harmful to minors due to the potent and addictive

 2   nicotine doses, addictive qualities, and health risks.

 3             1270. Defendants’ conduct actually and proximately caused actual damages to

 4   Plaintiffs and class members, who are also likely to be damaged in the future on an ongoing

 5   basis in the future. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and class

 6   members would have behaved differently and would not have purchased JUUL products or

 7   would have paid less for them. Defendants’ misrepresentations and omissions induced Plaintiffs

 8   and class members to purchase JUUL products they would not otherwise have purchased and

 9   enter into purchase contracts they would not otherwise have entered into. In addition, class

10   members who are minors are entitled to full repayment of the amounts they spent on JUUL
11   products. Plaintiffs seek—on behalf of themselves and each member of the class—injunctive
12   relief and reasonable attorneys’ fees, as well as any other relief the Court may deem just or
13   proper.
14                            b.      Violation of the Georgia Fair Business Practices Act (Ga.
15                                    Code § 10-1-390, et seq.)
16             1271. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
17             1272. This claim is brought against JLI and, for certain unfair and/or unconscionable
18   conduct claims as noted below, all Defendants.
19             1273. Plaintiffs and class members purchased JUUL products for personal purposes.

20             1274. Defendants created and implemented a scheme to create a market for e-cigarettes

21   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

22   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

23   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

24   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

25   addictiveness, and significant risks of substantial physical injury from using JUUL products.

26             1275. Advertisements and representations for JUUL products contained deceptive

27   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

28   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible


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 1   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 2   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 3   decades, JLI used third parties and word of mouth to spread false and misleading information

 4   about JUUL products.

 5          1276. Advertisements and representations for JUUL products concealed and failed to

 6   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 7   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 8   addictive, posed significant risks of substantial physical injury resulting from the use of the

 9   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

10   consumed through a pack of combustible cigarettes.
11          1277. The labels on JUUL products failed to disclose that the products posed
12   significant risks of substantial physical injury resulting from the use of the products. The labels
13   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
14          1278. The omissions were misleading and deceptive standing alone and were
15   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
16   cigarettes and other representations.
17          1279. JLI’s conduct was unfair and unconscionable in that it included (i) the
18   manufacture and sale of products with a heightened propensity to cause addiction and physical
19   injuries and (ii) misrepresentations and omissions of material facts concerning the

20   characteristics and safety of JUUL products that offended public policy; were immoral,

21   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

22   substantial harm that greatly outweighs any possible utility from the conduct.

23          1280. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

24   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

25   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

26   products are of a particular standard, quality, or grade, or that goods are of a particular style or

27   model, when they are not; and (c) advertising goods or services with intent not to sell them as

28   advertised.


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 1          1281. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 2   omissions had the tendency or capacity to deceive, and in fact did, deceive reasonable

 3   consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have

 4   found it material to their purchasing decisions that JUUL’s products (i) were not smoking

 5   cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were

 6   extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

 7   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

 8   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a

 9   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

10   in Plaintiffs’ and class members’ decisions to purchase JUUL products.
11          1282. JLI owed Plaintiffs and class members a duty to disclose these facts because they
12   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
13   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
14   facts; because the facts would be material to reasonable consumers; because JLI actively
15   concealed them; because JLI intended for consumers to rely on the omissions in question;
16   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
17   made partial representations concerning the same subject matter as the omitted facts.
18          1283. As set forth in the allegations concerning each Plaintiff in Appendix A, in
19   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

20   Reasonable consumers would have been expected to have relied on the misrepresentations and

21   omissions.

22          1284. Defendants knew or should have known that their misrepresentations and/or

23   omissions were false and misleading, and intended for consumers to rely on such

24   misrepresentations and omissions.

25          1285. JLI and the Management Defendants engaged in fraudulent and deceptive

26   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

27   products were appropriate for minors, when in fact the products never should have been

28   marketed to minors and are especially harmful to minors due to the potent and addictive


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 1   nicotine doses, addictive qualities, and health risks.

 2          1286. In addition, all Defendants engaged in unfair and unconscionable conduct

 3   because the targeting of minors offends public policy (in particular Ga. Code § 16-12-

 4   171(a)(1)(A)); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially

 5   injurious; and has caused substantial harm that greatly outweighs any possible utility from the

 6   conduct.

 7          1287. As alleged above, all Defendants participated and/or facilitated the marketing of

 8   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 9   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

10   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the
11   use of JUUL products by minors continues to rise.
12          1288. Defendants’ conduct actually and proximately caused injury or damages to
13   Plaintiffs and class members as a result of consumer acts or practices in violation of the statute.
14   Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and class members would have
15   behaved differently and would not have purchased JUUL products or would have paid less for
16   them. Defendants’ misrepresentations and omissions induced Plaintiffs and class members to
17   purchase JUUL products they would not otherwise have purchased and enter into purchase
18   contracts they would not otherwise have entered into. In addition, class members who are
19   minors are entitled to full repayment of the amounts they spent on JUUL products. Plaintiffs

20   seek—on behalf of themselves and each member of the class—injunctive relief, reasonable

21   attorneys’ fees, general damages and/ or statutory damages in the amount of three times actual

22   damages, whichever is greater, and punitive damages, as well as any other relief the Court may

23   deem just or proper.

24          1289. Plaintiffs have complied or substantially complied with all applicable notice

25   requirements, or are otherwise excused from compliance because Defendants do not maintain a

26   place of business in and/ or does not keep assets within the state of Georgia.

27                          c.      Common Law Fraud
28          1290. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.


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 1          1291. This claim is brought against JLI.

 2          1292. JUUL created and implemented a scheme to create a market for e-cigarettes and

 3   substantially increase sales of JUUL through a pervasive pattern of false and misleading

 4   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 5   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 6   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 7   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 8          1293. Advertisements and representations for JUUL products contained deceptive

 9   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

10   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
11   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
12   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
13   decades, JLI used third parties and word of mouth to spread false and misleading information
14   about JUUL products.
15          1294. Advertisements and representations for JUUL products concealed and failed to
16   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
17   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
18   addictive, posed significant risks of substantial physical injury resulting from the use of the
19   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

20   consumed through a pack of combustible cigarettes.

21          1295. The labels on JUUL products failed to disclose that the products posed

22   significant risks of substantial physical injury resulting from the use of the products. The labels

23   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

24          1296. The omissions were misleading and deceptive standing alone and were

25   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

26   cigarettes and other representations.

27          1297. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

28   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers


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 1   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 2   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 3   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 4   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 5   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 6   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 7   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 8   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 9          1298. JLI owed Plaintiffs and class members a duty to disclose these facts because they

10   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
11   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
12   facts; because the facts would be material to reasonable consumers; because JUUL products
13   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
14   representations concerning the same subject matter as the omitted facts.
15          1299. As set forth in the allegations concerning each Plaintiff in Appendix A, in
16   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
17   and/or omissions. Reasonable consumers would have been expected to have relied on the
18   misrepresentations and omissions.
19          1300. Defendants knew or should have known that their misrepresentations and/or

20   omissions were false and misleading, and intended for consumers to rely on such

21   misrepresentations and omissions.

22          1301. JLI knew that JUUL products were not safe or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

25   products.

26          1302. JUUL’s conduct actually and proximately caused actual damages to Plaintiffs

27   and class members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

28   differently and would not have purchased JUUL products or would have paid less for them.


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 1   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 2   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 3   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

 4   member of the class damages in an amount to be proven at trial, as well as any other relief the

 5   Court may deem just or proper.

 6                           d.      Breach of the Implied Warranty of Merchantability
 7            1303. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 8            1304. This claim is brought against JLI.

 9            1305. JUUL has at all times been a merchant with respect to the products which were

10   sold to Plaintiff and the class and was in the business of selling such products.
11            1306. Each JUUL product sold by JUUL comes with an implied warranty that it will
12   merchantable and fit for the ordinary purpose for which it would be used. Ga. Code § 11-2-314.
13   JUUL has breached its implied warranty of merchantability because its products were not in
14   merchantable condition when sold, were defective when sold, did not conform to the promises
15   and affirmations of fact made on the products’ containers or labels, and/or do not possess even
16   the most basic degree of fitness for ordinary use.
17            1307. The ordinary intended purpose of JUUL’s products—and the purpose for which
18   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
19   products are not fit for that use—or any other use—because they (i) were not smoking cessation

20   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

21   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

22   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

23   products are not fit for their ordinary, intended use as either cigarette replacement devices or

24   recreation smoking devices.

25            1308. Plaintiffs and each member of the class have had sufficient direct dealings with

26   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

27   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

28   each member of the class, on the other hand.


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 1          1309. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 2   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 3   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

 4   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 5   the express purpose an intent of being sold to consumers.

 6          1310. Plaintiffs and the members of the class were injured as a direct and proximate

 7   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

 8   the Georgia Direct Purchaser Subclass were damaged as a result of JUUL’s breach of its

 9   implied warranty of merchantability because, had they been aware of the unmerchantable

10   condition of JUUL products, they would not have purchased JUUL products, or would have
11   paid less for them. Plaintiffs seek damages in an amount to be proven at trial, as well as any
12   other relief the Court may deem just or proper.
13          1311. JUUL was provided notice of these issues by numerous complaints filed against
14   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
15   individual letters and communications sent by consumers before or within a reasonable amount
16   of time after they discovered or should have discovered that’s JUUL product were defective and
17   unmerchantable.
18                         e.      Unjust Enrichment
19          1312. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

20          1313. This claim is brought against JLI and the Management Defendants.

21          1314. Defendants created and implemented a scheme to create a market for e-cigarettes

22   and substantially increase sales of JUUL products through a pervasive pattern of false and

23   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

24   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

25   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

26   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

27   products.

28          1315. Defendants were unjustly enriched as a result of their wrongful conduct,


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 1   including through the false and misleading advertisements and omissions regarding (i) whether

 2   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 3   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 4   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 5   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 6   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 7   enriched through their scheme of marketing their products to minors. Ga. Code § 16-12-

 8   171(a)(1)(A) prohibits the marketing and sale of JUUL products to minors.

 9          1316. Defendants requested and received a measurable benefit at the expense of

10   Plaintiffs and class members in the form of payment for JUUL products.
11          1317. Defendants appreciated, recognized, and chose to accept the monetary benefits
12   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
13   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
14          1318. There is no justification for Defendants’ enrichment. It would be inequitable,
15   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
16   benefits were procured as a result of their wrongful conduct.
17          1319. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
18   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
19   with Defendant.

20          1320. Plaintiffs plead this claim separately as well as in the alternative to their other

21   claims, as without such claims they would have no adequate legal remedy.

22                  11.     Hawaii
23          1321. Plaintiffs bring each of the following claims on behalf of the Hawaii Subclass

24   under Hawaii law.

25                          a.     Violation of the Hawaii Unfair and Deceptive Trade Practices
26                                 Act (Haw. Rev. Stat. § 480-1, et seq.)
27          1322. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

28          1323. This claim is brought against JLI and, for certain unfair and/or unconscionable


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 1   conduct claims as noted below, all Defendants.

 2          1324. Plaintiffs and class members are consumers who purchased JUUL products for

 3   personal purposes.

 4          1325. Defendants created and implemented a scheme to create a market for e-cigarettes

 5   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 6   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 7   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 8   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 9   addictiveness, and significant risks of substantial physical injury from using JUUL products.

10          1326. Advertisements and representations for JUUL products contained deceptive
11   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
12   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
13   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
14   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
15   decades, JLI used third parties and word of mouth to spread false and misleading information
16   about JUUL products.
17          1327. Advertisements and representations for JUUL products concealed and failed to
18   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed significant risks of substantial physical injury resulting from the use of the

21   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

22   consumed through a pack of combustible cigarettes.

23          1328. The labels on JUUL products failed to disclose that the products posed

24   significant risks of substantial physical injury resulting from the use of the products. The labels

25   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

26          1329. The omissions were misleading and deceptive standing alone and were

27   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

28   cigarettes and other representations.


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 1          1330. JLI’s conduct was unfair and unconscionable in that it included (i) the

 2   manufacture and sale of products with a heightened propensity to cause addiction and physical

 3   injuries and (ii) misrepresentations and omissions of material facts concerning the

 4   characteristics and safety of JUUL products that offended public policy; were immoral,

 5   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

 6   substantial harm that greatly outweighs any possible utility from the conduct.

 7          1331. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 8   omissions had the capacity or tendency to mislead or deceive, and in fact did, mislead or

 9   deceive reasonable consumers including the Plaintiffs. Reasonable consumers, including the

10   Plaintiffs, would have found it material to their purchasing decisions that JUUL’s products (i)
11   were not smoking cessation devices, (ii) were not reasonable alternatives to combustible
12   cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were powerfully
13   addictive, (v) posed unreasonable risks of substantial bodily injury resulting from the use of the
14   products, and (vi) that the nicotine consumed through one JUUL pod exceeded the nicotine
15   consumed through a pack of combustible cigarettes. Knowledge of these facts would have been
16   a substantial factor in Plaintiffs’ and class members’ decisions to purchase JUUL products.
17          1332. JLI owed Plaintiffs and class members a duty to disclose these facts because they
18   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
19   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

20   facts; because the facts would be material to reasonable consumers; because JLI actively

21   concealed them; because JLI intended for consumers to rely on the omissions in question;

22   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

23   made partial representations concerning the same subject matter as the omitted facts.

24          1333. Defendants knew or should have known that their misrepresentations and/or

25   omissions were false and misleading, and intended for consumers to rely on such

26   misrepresentations and omissions.

27          1334. In addition, all Defendants engaged in unfair and unconscionable conduct

28   because the targeting of minors offends public policy (in particular Haw. Rev. Stat. §§ 712-


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 1   1258(1) and 245-17(a)); is immoral, unethical, oppressive, outrageous, unscrupulous, and

 2   substantially injurious; and has caused substantial harm that greatly outweighs any possible

 3   utility from the conduct.

 4          1335. As alleged above, all Defendants participated and/or facilitated the marketing of

 5   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 6   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 7   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 8   use of JUUL products by minors continues to rise.

 9          1336. Defendants’ conduct actually and proximately caused actual damages to

10   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and
11   class members would have behaved differently and would not have purchased JUUL products
12   or would have paid less for them. Defendants’ misrepresentations and omissions induced
13   Plaintiffs and class members to purchase JUUL products they would not otherwise have
14   purchased and enter into purchase contracts they would not otherwise have entered into. In
15   addition, class members who are minors are entitled to full repayment of the amounts they spent
16   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
17   injunctive relief, reasonable attorneys’ fees, actual damages not less than $1,000 as provided by
18   the statute and/ or statutory damages in the amount of threefold the damages sustained,
19   whichever is greater, and punitive damages, as well as any other relief the Court may deem just

20   or proper.

21                          b.     Violation of the Hawaii Uniform Deceptive Trade Practice Act
22                                 (Haw. Rev. Stat. § 481A-1, et seq.)
23          1337. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

24          1338. This claim is brought against JLI and, for certain claims as noted below, the

25   Management Defendants.

26          1339. Plaintiffs and class members purchased JUUL products for personal purposes.

27          1340. JLI is a “person” as defined in Haw. Rev. Stat. § 481A-2.

28          1341. Defendants created and implemented a scheme to create a market for e-cigarettes


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 1   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 2   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 3   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 4   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 5   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 6          1342. Advertisements and representations for JUUL products contained deceptive

 7   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 8   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 9   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

10   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
11   decades, JLI used third parties and word of mouth to spread false and misleading information
12   about JUUL products.
13          1343. Advertisements and representations for JUUL products concealed and failed to
14   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
15   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
16   addictive, posed significant risks of substantial physical injury resulting from the use of the
17   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
18   consumed through a pack of combustible cigarettes.
19          1344. The labels on JUUL products failed to disclose that the products posed

20   significant risks of substantial physical injury resulting from the use of the products. The labels

21   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

22          1345. The omissions were misleading and deceptive standing alone and were

23   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

24   cigarettes and other representations.

25          1346. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

26   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

27   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

28   products are of a particular standard, quality, or grade, or that goods are of a particular style or


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 1   model, when they are not; (c) advertising goods or services with intent not to sell them as

 2   advertised; and (d) engaging in other conduct which similarly creates a likelihood of confusion

 3   or of misunderstanding.

 4          1347. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 5   omissions at issue were likely to, and in fact did, confuse and mislead reasonable consumers

 6   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 7   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 8   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 9   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

10   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
11   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
12   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
13   Plaintiffs’ and class members’ decisions to purchase JUUL products.
14          1348. JLI owed Plaintiffs and class members a duty to disclose these facts because they
15   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
16   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
17   facts; because the facts would be material to reasonable consumers; because JLI actively
18   concealed them; because JLI intended for consumers to rely on the omissions in question;
19   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

20   made partial representations concerning the same subject matter as the omitted facts.

21          1349. JLI and the Management Defendants engaged in fraudulent and deceptive

22   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

23   products were appropriate for minors, when in fact the products never should have been

24   marketed to minors and are especially harmful to minors due to the potent and addictive

25   nicotine doses, addictive qualities, and health risks.

26          1350. Defendants’ conduct actually and proximately caused actual damages to

27   Plaintiffs and class members, and Plaintiffs and class members are likely to be damaged on an

28   ongoing basis and in the future. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs


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 1   and class members would have behaved differently and would not have purchased JUUL

 2   products or would have paid less for them. Defendants’ misrepresentations and omissions

 3   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have

 4   purchased and enter into purchase contracts they would not otherwise have entered into. In

 5   addition, class members who are minors are entitled to full repayment of the amounts they spent

 6   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

 7   injunctive relief and reasonable attorneys’ fees, as well as any other relief the Court may deem

 8   just or proper.

 9                          c.     Common Law Fraud
10          1351. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
11          1352. This claim is brought against JLI.
12          1353. JUUL created and implemented a scheme to create a market for e-cigarettes and
13   substantially increase sales of JUUL through a pervasive pattern of false and misleading
14   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
15   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
16   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
17   addictiveness, and significant risks of substantial physical injury from using JUUL products.
18          1354. Advertisements and representations for JUUL products contained deceptive
19   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

20   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

21   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

22   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

23   decades, JLI used third parties and word of mouth to spread false and misleading information

24   about JUUL products.

25          1355. Advertisements and representations for JUUL products concealed and failed to

26   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

27   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

28   addictive, posed significant risks of substantial physical injury resulting from the use of the


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 1   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 2   consumed through a pack of combustible cigarettes.

 3          1356. The labels on JUUL products failed to disclose that the products posed

 4   significant risks of substantial physical injury resulting from the use of the products. The labels

 5   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 6          1357. The omissions were misleading and deceptive standing alone and were

 7   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 8   cigarettes and other representations.

 9          1358. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

10   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
11   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
12   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
13   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
14   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
15   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
16   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
17   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
18   Plaintiffs’ and class members’ decisions to purchase JUUL products.
19          1359. JLI owed Plaintiffs and class members a duty to disclose these facts because they

20   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

21   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

22   facts; because the facts would be material to reasonable consumers; because JUUL products

23   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

24   representations concerning the same subject matter as the omitted facts.

25          1360. As set forth in the allegations concerning each Plaintiff in Appendix A, in

26   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

27   and/or omissions. Reasonable consumers would have been expected to have relied on the

28   misrepresentations and omissions.


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 1          1361. Defendants knew or should have known that their misrepresentations and/or

 2   omissions were false and misleading, and intended for consumers to rely on such

 3   misrepresentations and omissions.

 4          1362. JLI knew that JUUL products were not safe or reasonable alternatives to

 5   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 6   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 7   products.

 8          1363. JUUL’s conduct actually and proximately caused detriment to Plaintiffs and

 9   class members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

10   differently and would not have purchased JUUL products or would have paid less for them.
11   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
12   JUUL products they would not otherwise have purchased and enter into purchase contracts they
13   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each
14   member of the class damages in an amount to be proven at trial, as well as any other relief the
15   Court may deem just or proper.
16                          d.      Breach of the Implied Warranty of Merchantability
17          1364. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
18          1365. This claim is brought against JLI.
19          1366. JUUL has at all times been a merchant with respect to the products which were

20   sold to Plaintiff and the class and was in the business of selling such products.

21          1367. Each JUUL product sold by JUUL comes with an implied warranty that it will

22   merchantable and fit for the ordinary purpose for which it would be used. Haw. Rev. Stat.

23   § 490:2-314. JUUL has breached its implied warranty of merchantability because its products

24   were not in merchantable condition when sold, were defective when sold, did not conform to the

25   promises and affirmations of fact made on the products’ containers or labels, and/or do not

26   possess even the most basic degree of fitness for ordinary use.

27          1368. The ordinary intended purpose of JUUL’s products—and the purpose for which

28   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s


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 1   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 2   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 3   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

 4   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

 5   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 6   recreation smoking devices.

 7            1369. Plaintiffs and each member of the class have had sufficient direct dealings with

 8   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 9   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

10   each member of the class, on the other hand.
11            1370. Further, Plaintiffs and each member of the class were third-party beneficiaries of
12   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
13   sale of JUUL products to consumers.           Specifically, Plaintiffs and class members are the
14   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
15   the express purpose an intent of being sold to consumers.
16            1371. Plaintiffs and the members of the class were injured as a direct and proximate
17   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
18   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
19   because, had they been aware of the unmerchantable condition of JUUL products, they would

20   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

21   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

22            1372. JUUL was provided notice of these issues by numerous complaints filed against

23   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

24   individual letters and communications sent by consumers before or within a reasonable amount

25   of time after they discovered or should have discovered that’s JUUL product were defective and

26   unmerchantable.

27                           e.      Unjust Enrichment
28            1373. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.


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 1          1374. This claim is brought against JLI and the Management Defendants.

 2          1375. Defendants created and implemented a scheme to create a market for e-cigarettes

 3   and substantially increase sales of JUUL products through a pervasive pattern of false and

 4   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

 5   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 6   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 7   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

 8   products.

 9          1376. Defendants were unjustly enriched as a result of their wrongful conduct,

10   including through the false and misleading advertisements and omissions regarding (i) whether
11   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
12   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
13   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
14   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
15   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
16   enriched through their scheme of marketing their products to minors. Haw. Rev. Stat. §§ 712-
17   1258(1) and 245-17(a) prohibits the marketing and sale of JUUL products to minors.
18          1377. Defendants requested and received a measurable benefit at the expense of
19   Plaintiffs and class members in the form of payment for JUUL products.

20          1378. Defendants appreciated, recognized, and chose to accept the monetary benefits

21   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

22   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

23          1379. There is no justification for Defendants’ enrichment. It would be inequitable,

24   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

25   benefits were procured as a result of their wrongful conduct.

26          1380. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

27   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

28   with Defendant.


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 1          1381. Plaintiffs plead this claim separately as well as in the alternative to their other

 2   claims, as without such claims they would have no adequate legal remedy.

 3                  12.     Idaho
 4          1382. Plaintiffs bring each of the following claims on behalf of the Idaho Subclass

 5   under Idaho law.

 6                          a.      Violation of the Idaho Consumer Protection Act (Idaho Code
 7                                  § 48-601, et seq.)
 8          1383. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 9          1384. This claim is brought against JLI and, for certain unfair and/or unconscionable

10   conduct claims as noted below, all Defendants.
11          1385. Plaintiffs and class members are persons who purchased JUUL products for
12   personal purposes.
13          1386. Defendants created and implemented a scheme to create a market for e-cigarettes
14   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
15   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
16   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
17   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
18   addictiveness, and significant risks of substantial physical injury from using JUUL products.
19          1387. Advertisements and representations for JUUL products contained deceptive

20   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

21   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

22   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

23   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

24   decades, JLI used third parties and word of mouth to spread false and misleading information

25   about JUUL products.

26          1388. Advertisements and representations for JUUL products concealed and failed to

27   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

28   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully


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 1   addictive, posed significant risks of substantial physical injury resulting from the use of the

 2   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 3   consumed through a pack of combustible cigarettes.

 4          1389. The labels on JUUL products failed to disclose that the products posed

 5   significant risks of substantial physical injury resulting from the use of the products. The labels

 6   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 7          1390. The omissions were misleading and deceptive standing alone and were

 8   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 9   cigarettes and other representations.

10          1391. JLI’s conduct was unfair and unconscionable in that it included (i) the
11   manufacture and sale of products with a heightened propensity to cause addiction and physical
12   injuries and (ii) misrepresentations and omissions of material facts concerning the
13   characteristics and safety of JUUL products offended public policy; was immoral, unethical,
14   oppressive, and unscrupulous; was part of a pattern of sales conduct that would outrage and
15   offend the public conscience; and caused substantial harm that greatly outweighs any benefits
16   associated with the conduct.
17          1392. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and
18   unfair business practices: (a) misrepresenting that JUUL products have characteristics,
19   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

20   products are of a particular standard, quality, or grade, or that goods are of a particular style or

21   model, when they are not; (c) advertising goods or services with intent not to sell them as

22   advertised; (d) engaging in acts or practices which are otherwise misleading, false, or deceptive

23   to a consumer; and (e) engaging in unconscionable methods, acts, or practices in the conduct of

24   trade or commerce.

25          1393. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

26   omissions had the tendency or capacity to deceive, and in fact did, deceive reasonable

27   consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have

28   found it material to their purchasing decisions that JUUL’s products (i) were not smoking


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 1   cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were

 2   extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

 3   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

 4   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a

 5   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

 6   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

 7          1394. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 8   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 9   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

10   facts; because the facts would be material to reasonable consumers; because JLI actively
11   concealed them; because JLI intended for consumers to rely on the omissions in question;
12   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
13   made partial representations concerning the same subject matter as the omitted facts.
14          1395. Defendants knew or should have known that their misrepresentations and/or
15   omissions were false and misleading, and intended for consumers to rely on such
16   misrepresentations and omissions.
17          1396. JLI and the Management Defendants engaged in fraudulent and deceptive
18   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
19   products were appropriate for minors, when in fact the products never should have been

20   marketed to minors and are especially harmful to minors due to the potent and addictive

21   nicotine doses, addictive qualities, and health risks.

22          1397. In addition, all Defendants engaged in unfair and unconscionable conduct

23   because the targeting of minors offends public policy (in particular Idaho Code §§ 39-5705(1)

24   and 39-5714(1)); is immoral, unethical, oppressive, and unscrupulous; was part of a pattern of

25   sales conduct that would outrage and offend the public conscience; took advantage of minor

26   consumers that are not reasonably able to protect their interests; and has caused substantial harm

27   that greatly outweighs any benefits associated with the conduct.

28          1398. As alleged above, all Defendants participated and/or facilitated the marketing of


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 1   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 2   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 3   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 4   use of JUUL products by minors continues to rise.

 5          1399. Defendants’ conduct actually and proximately caused an ascertainable loss of

 6   money or property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent

 7   conduct, Plaintiffs and class members would have behaved differently and would not have

 8   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and

 9   omissions induced Plaintiffs and class members to purchase JUUL products they would not

10   otherwise have purchased and enter into purchase contracts they would not otherwise have
11   entered into. In addition, class members who are minors are entitled to full repayment of the
12   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each
13   member of the class—injunctive relief, reasonable attorneys’ fees, actual damages,
14   disgorgement, restitution, and/ or statutory damages in the amount of $1,000, whichever is
15   greater, and punitive damages, as well as any other relief the Court may deem just or proper.
16                         b.      Common Law Fraud
17          1400. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
18          1401. This claim is brought against JLI.
19          1402. JUUL created and implemented a scheme to create a market for e-cigarettes and

20   substantially increase sales of JUUL through a pervasive pattern of false and misleading

21   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

22   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

23   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

24   addictiveness, and significant risks of substantial physical injury from using JUUL products.

25          1403. Advertisements and representations for JUUL products contained deceptive

26   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

27   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

28   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or


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 1   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 2   decades, JLI used third parties and word of mouth to spread false and misleading information

 3   about JUUL products.

 4          1404. Advertisements and representations for JUUL products concealed and failed to

 5   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 6   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 7   addictive, posed significant risks of substantial physical injury resulting from the use of the

 8   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 9   consumed through a pack of combustible cigarettes.

10          1405. The labels on JUUL products failed to disclose that the products posed
11   significant risks of substantial physical injury resulting from the use of the products. The labels
12   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
13          1406. The omissions were misleading and deceptive standing alone and were
14   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
15   cigarettes and other representations.
16          1407. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
17   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
18   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
19   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

20   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

21   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

22   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

23   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

24   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

25   Plaintiffs’ and class members’ decisions to purchase JUUL products.

26          1408. JLI owed Plaintiffs and class members a duty to disclose these facts because they

27   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

28   other than Plaintiffs and class members), who had exclusive and superior knowledge of the


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 1   facts; because the facts would be material to reasonable consumers; because JUUL products

 2   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 3   representations concerning the same subject matter as the omitted facts.

 4          1409. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 5   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 6   and/or omissions. Reasonable consumers would have been expected to have relied on the

 7   misrepresentations and omissions.

 8          1410. Defendants knew or should have known that their misrepresentations and/or

 9   omissions were false and misleading, and intended for consumers to rely on such

10   misrepresentations and omissions.
11          1411. JLI knew that JUUL products were not safe or reasonable alternatives to
12   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
13   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
14   products.
15          1412. JUUL’s conduct actually and proximately caused injury to Plaintiffs and class
16   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
17   differently and would not have purchased JUUL products or would have paid less for them.
18   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
19   JUUL products they would not otherwise have purchased and enter into purchase contracts they

20   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

21   member of the class damages in an amount to be proven at trial, as well as any other relief the

22   Court may deem just or proper.

23                          c.      Breach of the Implied Warranty of Merchantability
24          1413. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          1414. This claim is brought against JLI.

26          1415. JUUL has at all times been a merchant with respect to the products which were

27   sold to Plaintiff and the class and was in the business of selling such products.

28          1416. Each JUUL product sold by JUUL comes with an implied warranty that it will


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 1   merchantable and fit for the ordinary purpose for which it would be used. Idaho Code § 28-2-

 2   314. JUUL has breached its implied warranty of merchantability because its products were not

 3   in merchantable condition when sold, were defective when sold, did not conform to the

 4   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 5   possess even the most basic degree of fitness for ordinary use.

 6            1417. The ordinary intended purpose of JUUL’s products—and the purpose for which

 7   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 8   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 9   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

10   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed
11   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s
12   products are not fit for their ordinary, intended use as either cigarette replacement devices or
13   recreation smoking devices.
14            1418. Plaintiffs and each member of the class have had sufficient direct dealings with
15   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
16   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
17   each member of the class, on the other hand.
18            1419. Further, Plaintiffs and each member of the class were third-party beneficiaries of
19   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

20   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

21   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

22   the express purpose an intent of being sold to consumers.

23            1420. Plaintiffs and the members of the class were injured as a direct and proximate

24   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

25   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

26   because, had they been aware of the unmerchantable condition of JUUL products, they would

27   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

28   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.


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 1          1421. JUUL was provided notice of these issues by numerous complaints filed against

 2   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 3   individual letters and communications sent by consumers before or within a reasonable amount

 4   of time after they discovered or should have discovered that’s JUUL product were defective and

 5   unmerchantable.

 6                         d.      Unjust Enrichment
 7          1422. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 8          1423. This claim is brought against JLI and the Management Defendants.

 9          1424. Defendants created and implemented a scheme to create a market for e-cigarettes

10   and substantially increase sales of JUUL products through a pervasive pattern of false and
11   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
12   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
13   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
14   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
15   products.
16          1425. Defendants were unjustly enriched as a result of their wrongful conduct,
17   including through the false and misleading advertisements and omissions regarding (i) whether
18   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
19   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

20   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

21   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

22   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

23   enriched through their scheme of marketing their products to minors. Idaho Code §§ 39-

24   5705(1) and 39-5714(1) prohibits the marketing and sale of JUUL products to minors.

25          1426. Defendants requested and received a measurable benefit at the expense of

26   Plaintiffs and class members in the form of payment for JUUL products.

27          1427. Defendants appreciated, recognized, and chose to accept the monetary benefits

28   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the


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 1   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 2          1428. There is no justification for Defendants’ enrichment. It would be inequitable,

 3   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 4   benefits were procured as a result of their wrongful conduct.

 5          1429. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 6   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 7   with Defendant.

 8          1430. Plaintiffs plead this claim separately as well as in the alternative to their other

 9   claims, as without such claims they would have no adequate legal remedy.

10                  13.     Illinois
11          1431. Plaintiffs bring each of the following claims on behalf of the Illinois Subclass
12   under Illinois law.
13                          a.         Violation of the Illinois Consumer Fraud and Deceptive
14                                     Business Practices Act (815 Ill. Comp. Stat. § 505/1, et seq.)
15          1432. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
16          1433. This claim is brought against JLI and, for certain unfair and/or unconscionable
17   conduct claims as noted below, all Defendants.
18          1434. Plaintiffs and class members are persons who purchased JUUL products for
19   personal purposes.

20          1435. Defendants, Plaintiffs, and class members are “persons” under the statute.

21          1436. Defendants created and implemented a scheme to create a market for e-cigarettes

22   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

23   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

24   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

25   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

26   addictiveness, and significant risks of substantial physical injury from using JUUL products.

27          1437. Advertisements and representations for JUUL products contained deceptive

28   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives


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 1   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 2   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 3   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 4   decades, JLI used third parties and word of mouth to spread false and misleading information

 5   about JUUL products.

 6          1438. Advertisements and representations for JUUL products concealed and failed to

 7   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 8   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 9   addictive, posed significant risks of substantial physical injury resulting from the use of the

10   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
11   consumed through a pack of combustible cigarettes.
12          1439. The labels on JUUL products failed to disclose that the products posed
13   significant risks of substantial physical injury resulting from the use of the products. The labels
14   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
15          1440. The omissions were misleading and deceptive standing alone and were
16   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
17   cigarettes and other representations.
18          1441. JLI’s conduct was unfair and unconscionable in that it included (i) the
19   manufacture and sale of products with a heightened propensity to cause addiction and physical

20   injuries and (ii) misrepresentations and omissions of material facts concerning the

21   characteristics and safety of JUUL products that offended public policy; were immoral,

22   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

23   substantial harm that greatly outweighs any possible utility from the conduct.

24          1442. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

25   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

26   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

27   products are of a particular standard, quality, or grade, or that goods are of a particular style or

28   model, when they are not; (c) advertising goods or services with intent not to sell them as


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 1   advertised; and (d) engaging in other conduct which similarly creates a likelihood of confusion

 2   or misunderstanding.

 3          1443. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 4   omissions at issue were likely to, and in fact did, cause confusion or misunderstanding to

 5   reasonable consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs,

 6   would have found it material to their purchasing decisions that JUUL’s products (i) were not

 7   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)

 8   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

 9   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

10   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a
11   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor
12   in Plaintiffs’ and class members’ decisions to purchase JUUL products.
13          1444. JLI owed Plaintiffs and class members a duty to disclose these facts because they
14   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
15   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
16   facts; because the facts would be material to reasonable consumers; because JLI actively
17   concealed them; because JLI intended for consumers to rely on the omissions in question;
18   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
19   made partial representations concerning the same subject matter as the omitted facts.

20          1445. Defendants knew or should have known that their misrepresentations and/or

21   omissions were false and misleading, and intended for consumers to rely on such

22   misrepresentations and omissions.

23          1446. JLI and the Management Defendants engaged in fraudulent and deceptive

24   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

25   products were appropriate for minors, when in fact the products never should have been

26   marketed to minors and are especially harmful to minors due to the potent and addictive

27   nicotine doses, addictive qualities, and health risks.

28          1447. In addition, all Defendants engaged in unfair and unconscionable conduct


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 1   because the targeting of minors offends public policy (in particular 720 Ill. Comp. Stat.

 2   § 675/1.5(b) and 675/1.5(b)(c)(2)); is immoral, unethical, oppressive, outrageous, unscrupulous,

 3   and substantially injurious; and has caused substantial harm that greatly outweighs any possible

 4   utility from the conduct.

 5          1448. As alleged above, all Defendants participated and/or facilitated the marketing of

 6   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 7   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 8   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 9   use of JUUL products by minors continues to rise.

10          1449. Defendants’ conduct actually and proximately caused actual damages to
11   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and
12   class members would have behaved differently and would not have purchased JUUL products
13   or would have paid less for them. Defendants’ misrepresentations and omissions induced
14   Plaintiffs and class members to purchase JUUL products they would not otherwise have
15   purchased and enter into purchase contracts they would not otherwise have entered into. In
16   addition, class members who are minors are entitled to full repayment of the amounts they spent
17   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
18   injunctive relief, reasonable attorneys’ fees, actual economic damages, and punitive damages, as
19   well as any other relief the Court may deem just or proper.

20                          b.     Common Law Fraud
21          1450. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

22          1451. This claim is brought against JLI.

23          1452. JUUL created and implemented a scheme to create a market for e-cigarettes and

24   substantially increase sales of JUUL through a pervasive pattern of false and misleading

25   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

26   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

27   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

28   addictiveness, and significant risks of substantial physical injury from using JUUL products.


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 1          1453. Advertisements and representations for JUUL products contained deceptive

 2   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 3   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 4   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 5   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 6   decades, JLI used third parties and word of mouth to spread false and misleading information

 7   about JUUL products.

 8          1454. Advertisements and representations for JUUL products concealed and failed to

 9   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

10   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
11   addictive, posed significant risks of substantial physical injury resulting from the use of the
12   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
13   consumed through a pack of combustible cigarettes.
14          1455. The labels on JUUL products failed to disclose that the products posed
15   significant risks of substantial physical injury resulting from the use of the products. The labels
16   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
17          1456. The omissions were misleading and deceptive standing alone and were
18   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
19   cigarettes and other representations.

20          1457. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

21   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

22   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

23   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

24   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

25   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

26   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

27   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

28   combustible cigarettes. Knowledge of these facts would have been a substantial factor in


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 1   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 2          1458. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 3   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 4   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 5   facts; because the facts would be material to reasonable consumers; because JUUL products

 6   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 7   representations concerning the same subject matter as the omitted facts.

 8          1459. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 9   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

10   and/or omissions. Reasonable consumers would have been expected to have relied on the
11   misrepresentations and omissions.
12          1460. Defendants knew or should have known that their misrepresentations and/or
13   omissions were false and misleading, and intended for consumers to rely on such
14   misrepresentations and omissions.
15          1461. JLI knew that JUUL products were not safe or reasonable alternatives to
16   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
17   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
18   products.
19          1462. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

20   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

21   differently and would not have purchased JUUL products or would have paid less for them.

22   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

23   JUUL products they would not otherwise have purchased and enter into purchase contracts they

24   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

25   member of the class damages in an amount to be proven at trial, as well as any other relief the

26   Court may deem just or proper.

27                         c.      Breach of the Implied Warranty of Merchantability
28          1463. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.


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 1            1464. This claim is brought against JLI.

 2            1465. JUUL has at all times been a merchant with respect to the products which were

 3   sold to Plaintiff and the class and was in the business of selling such products.

 4            1466. Each JUUL product sold by JUUL comes with an implied warranty that it will

 5   merchantable and fit for the ordinary purpose for which it would be used. 810 Ill. Comp. Stat.

 6   § 5/2-314. JUUL has breached its implied warranty of merchantability because its products

 7   were not in merchantable condition when sold, were defective when sold, did not conform to the

 8   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 9   possess even the most basic degree of fitness for ordinary use.

10            1467. The ordinary intended purpose of JUUL’s products—and the purpose for which
11   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
12   products are not fit for that use—or any other use—because they (i) were not smoking cessation
13   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
14   potent    nicotine-delivery   mechanisms,    (iv) were   powerfully    addictive, and (v) posed
15   unreasonable risks of substantial bodily injury.      Due to these and other features, JUUL’s
16   products are not fit for their ordinary, intended use as either cigarette replacement devices or
17   recreation smoking devices.
18            1468. Plaintiffs and each member of the class have had sufficient direct dealings with
19   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

20   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

21   each member of the class, on the other hand.

22            1469. Further, Plaintiffs and each member of the class were third-party beneficiaries of

23   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

24   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

25   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

26   the express purpose an intent of being sold to consumers.

27            1470. Plaintiffs and the members of the class were injured as a direct and proximate

28   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of


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 1   the Illinois Direct Purchaser Subclass were damaged as a result of JUUL’s breach of its implied

 2   warranty of merchantability because, had they been aware of the unmerchantable condition of

 3   JUUL products, they would not have purchased JUUL products, or would have paid less for

 4   them. Plaintiffs seek damages in an amount to be proven at trial, as well as any other relief the

 5   Court may deem just or proper.

 6          1471. JUUL was provided notice of these issues by numerous complaints filed against

 7   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 8   individual letters and communications sent by consumers before or within a reasonable amount

 9   of time after they discovered or should have discovered that’s JUUL product were defective and

10   unmerchantable.
11                         d.      Unjust Enrichment
12          1472. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
13          1473. This claim is brought against JLI and the Management Defendants.
14          1474. Defendants created and implemented a scheme to create a market for e-cigarettes
15   and substantially increase sales of JUUL products through a pervasive pattern of false and
16   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
17   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
18   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
19   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

20   products.

21          1475. Defendants were unjustly enriched as a result of their wrongful conduct,

22   including through the false and misleading advertisements and omissions regarding (i) whether

23   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

24   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

25   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

26   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

27   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

28   enriched through their scheme of marketing their products to minors. 720 Ill. Comp. Stat.


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 1   § 675/1(a) and 675/1(b)(2) prohibits the marketing and sale of JUUL products to minors.

 2          1476. Defendants requested and received a measurable benefit at the expense of

 3   Plaintiffs and class members in the form of payment for JUUL products.

 4          1477. Defendants appreciated, recognized, and chose to accept the monetary benefits

 5   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 6   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 7          1478. There is no justification for Defendants’ enrichment. It would be inequitable,

 8   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 9   benefits were procured as a result of their wrongful conduct.

10          1479. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
11   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
12   with Defendant.
13          1480. Plaintiffs plead this claim separately as well as in the alternative to their other
14   claims, as without such claims they would have no adequate legal remedy.
15                  14.     Indiana
16          1481. Plaintiffs bring each of the following claims on behalf of the Indiana Subclass
17   under Indiana law.
18                          a.     Violation of Indiana’s Deceptive Consumer Sales Act (Ind.
19                                 Code §§ 24-5-0.5-1, et seq).
20          1482. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          1483. This claim is brought against JLI and, for certain unfair and/or unconscionable

22   conduct claims as noted below, all Defendants.

23          1484. Defendants are “suppliers” as that term is defined in Indiana’s Deceptive

24   Consumer Sales Act. Defendants engaged in incurable deceptive acts as set forth herein.

25          1485. Plaintiffs and class members are individual consumers who purchased JUUL

26   products for personal purposes.

27          1486. Defendants created and implemented a scheme to create a market for e-cigarettes

28   and substantially increase sales of JUUL through a pervasive pattern of false and misleading


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 1   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 2   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 3   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 4   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 5          1487. Advertisements and representations for JUUL products contained deceptive

 6   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 7   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 8   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 9   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

10   decades, JLI used third parties and word of mouth to spread false and misleading information
11   about JUUL products.
12          1488. Advertisements and representations for JUUL products concealed and failed to
13   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
14   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
15   addictive, posed significant risks of substantial physical injury resulting from the use of the
16   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
17   consumed through a pack of combustible cigarettes.
18          1489. The labels on JUUL products failed to disclose that the products posed
19   significant risks of substantial physical injury resulting from the use of the products. The labels

20   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

21          1490. The omissions were misleading and deceptive standing alone and were

22   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

23   cigarettes and other representations.

24          1491. JLI’s conduct was unfair and unconscionable in that it included (i) the

25   manufacture and sale of products with a heightened propensity to cause addiction and physical

26   injuries and (ii) misrepresentations and omissions of material facts concerning the

27   characteristics and safety of JUUL products that offended public policy; were immoral,

28   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused


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 1   substantial harm that greatly outweighs any possible utility from the conduct.

 2          1492. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 3   unfair business practices: (a) misrepresenting that JUUL products have characteristics, uses, or

 4   benefits they do not have, which JUUL knows or reasonably should know they do not have; (b)

 5   misrepresenting that JUUL products are of a particular standard, quality, or grade, or that goods

 6   are of a particular style or model, when they are not, and JUUL knows or reasonably should

 7   know they are not; and (c) advertising goods or services with intent not to sell them as

 8   advertised.

 9          1493. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

10   omissions at issue were likely to, and in fact did, deceive reasonable consumers including the
11   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their
12   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not
13   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery
14   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily
15   injury resulting from the use of the products, and (vi) that the nicotine consumed through one
16   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.
17   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’
18   decisions to purchase JUUL products.
19          1494. JLI owed Plaintiffs and class members a duty to disclose these facts because they

20   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

21   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

22   facts; because the facts would be material to reasonable consumers; because JLI actively

23   concealed them; because JLI intended for consumers to rely on the omissions in question;

24   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

25   made partial representations concerning the same subject matter as the omitted facts.

26          1495. As set forth in the allegations concerning each Plaintiff in Appendix A, in

27   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

28   Reasonable consumers would have been expected to have relied on the misrepresentations and


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 1   omissions.

 2          1496. Defendants knew or should have known that their misrepresentations and/or

 3   omissions were false and misleading, and intended for consumers to rely on such

 4   misrepresentations and omissions.

 5          1497. JLI and the Management Defendants engaged in fraudulent and deceptive

 6   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 7   products were appropriate for minors, when in fact the products never should have been

 8   marketed to minors and are especially harmful to minors due to the potent and addictive

 9   nicotine doses, addictive qualities, and health risks.

10          1498. In addition, all Defendants engaged in unfair and unconscionable conduct
11   because the targeting of minors offends public policy (see, e.g., Ind. Code §§ 35-46-1-10(a); 35-
12   46-1-10.2(a); 7.1-7-5.5-1; 7.1-7-5.5-2); is immoral, unethical, oppressive, outrageous,
13   unscrupulous, and substantially injurious; and has caused substantial harm that greatly
14   outweighs any possible utility from the conduct.
15          1499. As alleged above, all Defendants participated and/or facilitated the marketing of
16   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI
17   and others have continued the deceptive, misleading, unfair, and unconscionable practices that
18   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the
19   use of JUUL products by minors continues to rise.

20          1500. Defendants’ conduct was incurable because it was done as part of a scheme with

21   the intent to defraud, mislead, and engage in unfair business practices.

22          1501. Defendants’ conduct actually and proximately caused actual damages to

23   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

24   class members would have behaved differently and would not have purchased JUUL products

25   or would have paid less for them. Defendants’ misrepresentations and omissions induced

26   Plaintiffs and class members to purchase JUUL products they would not otherwise have

27   purchased and enter into purchase contracts they would not otherwise have entered into. In

28   addition, class members who are minors are entitled to full repayment of the amounts they spent


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 1   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

 2   actual damages and/or statutory damages in the amount of $500, whichever is greater; punitive

 3   damages because Defendants’ deceptive acts were willful; restitution; and attorney’s fees; as

 4   well as any other relief the Court may deem just or proper.

 5          1502. Plaintiffs have complied or substantially complied with all applicable notice

 6   requirements.

 7                          b.     Common Law Fraud
 8          1503. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 9          1504. This claim is brought against JLI.

10          1505. JUUL created and implemented a scheme to create a market for e-cigarettes and
11   substantially increase sales of JUUL through a pervasive pattern of false and misleading
12   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
13   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
14   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
15   addictiveness, and significant risks of substantial physical injury from using JUUL products.
16          1506. Advertisements and representations for JUUL products contained deceptive
17   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
18   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
19   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

20   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

21   decades, JLI used third parties and word of mouth to spread false and misleading information

22   about JUUL products.

23          1507. Advertisements and representations for JUUL products concealed and failed to

24   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

25   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

26   addictive, posed significant risks of substantial physical injury resulting from the use of the

27   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

28   consumed through a pack of combustible cigarettes.


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 1          1508. The labels on JUUL products failed to disclose that the products posed

 2   significant risks of substantial physical injury resulting from the use of the products. The labels

 3   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 4          1509. The omissions were misleading and deceptive standing alone and were

 5   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 6   cigarettes and other representations.

 7          1510. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 8   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 9   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

10   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
11   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
12   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
13   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
14   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
15   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
16   Plaintiffs’ and class members’ decisions to purchase JUUL products.
17          1511. JLI owed Plaintiffs and class members a duty to disclose these facts because they
18   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
19   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

20   facts; because the facts would be material to reasonable consumers; because JUUL products

21   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

22   representations concerning the same subject matter as the omitted facts.

23          1512. As set forth in the allegations concerning each Plaintiff in Appendix A, in

24   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

25   and/or omissions. Reasonable consumers would have been expected to have relied on the

26   misrepresentations and omissions.

27          1513. Defendants knew or should have known that their misrepresentations and/or

28   omissions were false and misleading, and intended for consumers to rely on such


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 1   misrepresentations and omissions.

 2          1514. JLI knew that JUUL products were not safe or reasonable alternatives to

 3   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 4   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 5   products.

 6          1515. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class

 7   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 8   differently and would not have purchased JUUL products or would have paid less for them.

 9   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

10   JUUL products they would not otherwise have purchased and enter into purchase contracts they
11   would not otherwise have entered into. Plaintiffs seek, on behalf of themselves and each
12   member of the class, damages in an amount to be proven at trial and punitive damages, as well
13   as any other relief the Court may deem just or proper.
14                          c.      Breach of the Implied Warranty of Merchantability
15          1516. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
16          1517. This claim is brought against JLI.
17          1518. JUUL has at all times been a merchant with respect to the products which were
18   sold to Plaintiff and the class and was in the business of selling such products.
19          1519. Each JUUL product sold by JUUL comes with an implied warranty that it will

20   merchantable and fit for the ordinary purpose for which it would be used. See Ind. Code § 26-1-

21   2-314. JUUL has breached its implied warranty of merchantability because its products were

22   not in merchantable condition when sold, were defective when sold, did not conform to the

23   promises and affirmations of fact made on the products’ containers or labels, and/or do not

24   possess even the most basic degree of fitness for ordinary use.

25          1520. The ordinary intended purpose of JUUL’s products—and the purpose for which

26   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

27   products are not fit for that use—or any other use—because they (i) were not smoking cessation

28   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely


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 1   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

 2   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

 3   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 4   recreation smoking devices.

 5            1521. Plaintiffs and each member of the class have had sufficient direct dealings with

 6   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 7   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 8   each member of the class, on the other hand.

 9            1522. Further, Plaintiffs and each member of the class were third-party beneficiaries of

10   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
11   sale of JUUL products to consumers.           Specifically, Plaintiffs and class members are the
12   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
13   the express purpose an intent of being sold to consumers.
14            1523. Plaintiffs and the members of the class were injured as a direct and proximate
15   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
16   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
17   because, had they been aware of the unmerchantable condition of JUUL products, they would
18   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
19   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

20            1524. JUUL was provided notice of these issues by numerous complaints filed against

21   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

22   individual letters and communications sent by consumers before or within a reasonable amount

23   of time after they discovered or should have discovered that’s JUUL product were defective and

24   unmerchantable.

25                           d.      Unjust Enrichment
26            1525. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

27            1526. This claim is brought against JLI and the Management Defendants.

28            1527. Defendants created and implemented a scheme to create a market for e-cigarettes


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 1   and substantially increase sales of JUUL products through a pervasive pattern of false and

 2   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

 3   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 4   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 5   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

 6   products.

 7          1528. Defendants were unjustly enriched as a result of their wrongful conduct,

 8   including through the false and misleading advertisements and omissions regarding (i) whether

 9   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

10   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
11   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
12   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
13   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
14   enriched through their scheme of marketing their products to minors. Indiana law (see Ind. Code
15   §§ 35-46-1-10(a); 35-46-1-10.2(a); 7.1-7-5.5-1; 7.1-7-5.5-2) prohibits the marketing and sale of
16   JUUL products to minors.
17          1529. Defendants requested and received a measurable benefit at the expense of
18   Plaintiffs and class members in the form of payment for JUUL products.
19          1530. Defendants appreciated, recognized, and chose to accept the monetary benefits

20   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

21   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

22          1531. There is no justification for Defendants’ enrichment. It would be inequitable,

23   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

24   benefits were procured as a result of their wrongful conduct.

25          1532. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

26   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

27   with Defendant.

28          1533. Plaintiffs plead this claim separately as well as in the alternative to their other


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 1   claims, as without such claims they would have no adequate legal remedy.

 2                  15.     Iowa
 3          1534. Plaintiffs bring each of the following claims on behalf of the Iowa Subclass

 4   under Iowa law.

 5                          a.     Violation of the Iowa Consumer Fraud Act (Iowa Code
 6                                 § 714H.1, et seq.)
 7          1535. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 8          1536. This claim is brought against JLI and, for certain unfair and/or unconscionable

 9   conduct claims as noted below, all Defendants.

10          1537. Plaintiffs and class members purchased JUUL products for personal purposes.
11          1538. Defendants are “persons” under the statute.
12          1539. Defendants created and implemented a scheme to create a market for e-cigarettes
13   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
14   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
15   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
16   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
17   addictiveness, and significant risks of substantial physical injury from using JUUL products.
18          1540. Advertisements and representations for JUUL products contained deceptive
19   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

20   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

21   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

22   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

23   decades, JLI used third parties and word of mouth to spread false and misleading information

24   about JUUL products.

25          1541. Advertisements and representations for JUUL products concealed and failed to

26   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

27   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

28   addictive, posed significant risks of substantial physical injury resulting from the use of the


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 1   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 2   consumed through a pack of combustible cigarettes.

 3          1542. The labels on JUUL products failed to disclose that the products posed

 4   significant risks of substantial physical injury resulting from the use of the products. The labels

 5   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 6          1543. The omissions were misleading and deceptive standing alone and were

 7   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 8   cigarettes and other representations.

 9          1544. JLI’s conduct was unfair and unconscionable in that it included (i) the

10   manufacture and sale of products with a heightened propensity to cause addiction and physical
11   injuries and (ii) misrepresentations and omissions of material facts concerning the
12   characteristics and safety of JUUL products that offended public policy; were immoral,
13   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused
14   substantial harm that greatly outweighs any possible utility from the conduct.
15          1545. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
16   omissions at issue were likely to, and in fact did, deceive ordinary and/or reasonable consumers
17   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
18   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
19   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

20   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

21   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

22   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

23   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

24   Plaintiffs’ and class members’ decisions to purchase JUUL products.

25          1546. JLI owed Plaintiffs and class members a duty to disclose these facts because they

26   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

27   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

28   facts; because the facts would be material to reasonable consumers; because JLI actively


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 1   concealed them; because JLI intended for consumers to rely on the omissions in question;

 2   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 3   made partial representations concerning the same subject matter as the omitted facts.

 4          1547. JUUL knew or reasonably should have known that its misrepresentations and/or

 5   omissions were false and misleading, and intended for consumers to rely on such

 6   misrepresentations and omissions.

 7          1548. JLI and the Management Defendants engaged in fraudulent and deceptive

 8   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 9   products were appropriate for minors, when in fact the products never should have been

10   marketed to minors and are especially harmful to minors due to the potent and addictive
11   nicotine doses, addictive qualities, and health risks.
12          1549. In addition, all Defendants engaged in unfair and unconscionable conduct
13   because the targeting of minors offends public policy (see, e.g., Iowa Code Ann. § 453A.2) is
14   immoral, unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and has
15   caused substantial harm that greatly outweighs any possible utility from the conduct.
16          1550. As alleged above, all Defendants participated and/or facilitated the marketing of
17   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI
18   and others have continued the deceptive, misleading, unfair, and unconscionable practices that
19   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

20   use of JUUL products by minors continues to rise.

21          1551. Defendants’ conduct actually and proximately caused an ascertainable loss of

22   money or property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent

23   conduct, Plaintiffs and class members would have behaved differently and would not have

24   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and

25   omissions induced Plaintiffs and class members to purchase JUUL products they would not

26   otherwise have purchased and enter into purchase contracts they would not otherwise have

27   entered into. In addition, class members who are minors are entitled to full repayment of the

28   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each


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 1   member of the class—actual damages, statutory damages up to three times actual damages

 2   because Defendants’ conduct represented a willful and wanton disregard for the safety of

 3   Plaintiffs, attorney’s fees, and equitable relief, as well as any other relief the Court may deem

 4   just or proper.

 5                          b.     Common Law Fraud
 6          1552. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 7          1553. This claim is brought against JLI.

 8          1554. JUUL created and implemented a scheme to create a market for e-cigarettes and

 9   substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          1555. Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          1556. Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          1557. The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          1558. The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          1559. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 6   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 7   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 8   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 9   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

10   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
11   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
12   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
13   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
14   Plaintiffs’ and class members’ decisions to purchase JUUL products.
15          1560. JLI owed Plaintiffs and class members a duty to disclose these facts because they
16   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
17   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
18   facts; because the facts would be material to reasonable consumers; because JUUL products
19   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

20   representations concerning the same subject matter as the omitted facts.

21          1561. As set forth in the allegations concerning each Plaintiff in Appendix A, in

22   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

23   and/or omissions. Reasonable consumers would have been expected to have relied on the

24   misrepresentations and omissions.

25          1562. Defendants knew or should have known that their misrepresentations and/or

26   omissions were false and misleading, and intended for consumers to rely on such

27   misrepresentations and omissions.

28          1563. JLI knew that JUUL products were not safe or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 3   products.

 4            1564. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class

 5   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 6   differently and would not have purchased JUUL products or would have paid less for them.

 7   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 8   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 9   would not otherwise have entered into. Plaintiffs seek, on behalf of themselves and each

10   member of the class, compensatory damages in an amount to be proven at trial and punitive
11   damages, as well as any other relief the Court may deem just or proper.
12                           c.      Breach of the Implied Warranty of Merchantability
13            1565. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
14            1566. This claim is brought against JLI.
15            1567. JUUL has at all times been a merchant with respect to the products which were
16   sold to Plaintiff and the class and was in the business of selling such products.
17            1568. Each JUUL product sold by JUUL comes with an implied warranty that it will
18   merchantable and fit for the ordinary purpose for which it would be used. See Iowa Code Ann.
19   § 554.2314. JUUL has breached its implied warranty of merchantability because its products

20   were not in merchantable condition when sold, were defective when sold, did not conform to the

21   promises and affirmations of fact made on the products’ containers or labels, and/or do not

22   possess even the most basic degree of fitness for ordinary use.

23            1569. The ordinary intended purpose of JUUL’s products—and the purpose for which

24   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

25   products are not fit for that use—or any other use—because they (i) were not smoking cessation

26   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

27   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

28   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s


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 1   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 2   recreation smoking devices.

 3          1570. Plaintiffs and each member of the class have had sufficient direct dealings with

 4   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 5   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 6   each member of the class, on the other hand.

 7          1571. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 8   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 9   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

10   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
11   the express purpose an intent of being sold to consumers.
12          1572. Plaintiffs and the members of the class were injured as a direct and proximate
13   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
14   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
15   because, had they been aware of the unmerchantable condition of JUUL products, they would
16   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
17   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
18          1573. JUUL was provided notice of these issues by numerous complaints filed against
19   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

20   individual letters and communications sent by consumers before or within a reasonable amount

21   of time after they discovered or should have discovered that’s JUUL product were defective and

22   unmerchantable.

23                          d.     Unjust Enrichment
24          1574. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          1575. This claim is brought against JLI and the Management Defendants.

26          1576. Defendants created and implemented a scheme to create a market for e-cigarettes

27   and substantially increase sales of JUUL products through a pervasive pattern of false and

28   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and


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 1   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 2   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 3   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

 4   products.

 5          1577. Defendants were unjustly enriched as a result of their wrongful conduct,

 6   including through the false and misleading advertisements and omissions regarding (i) whether

 7   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 8   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 9   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

10   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
11   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
12   enriched through their scheme of marketing their products to minors. Iowa law (Iowa Code
13   Ann. § 453A.2) prohibits the marketing and sale of JUUL products to minors.
14          1578. Defendants requested and received a measurable benefit at the expense of
15   Plaintiffs and class members in the form of payment for JUUL products.
16          1579. Defendants appreciated, recognized, and chose to accept the monetary benefits
17   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
18   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
19          1580. There is no justification for Defendants’ enrichment. It would be inequitable,

20   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

21   benefits were procured as a result of their wrongful conduct.

22          1581. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

23   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

24   with Defendant.

25          1582. Plaintiffs plead this claim separately as well as in the alternative to their other

26   claims, as without such claims they would have no adequate legal remedy.

27                  16.     Kansas
28          1583. Plaintiffs bring each of the following claims on behalf of the Kansas Subclass


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 1   under Kansas law.

 2                          a.     Violation of Kansas Consumer Protection Act (Kan. Stat.
 3                                 Ann. § 50-623, et seq.)
 4          1584. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5          1585. This claim is brought against JLI and, for certain unfair and/or unconscionable

 6   conduct claims as noted below, all Defendants.

 7          1586. Defendants are “suppliers” as that term is defined in Kansas’s Consumer

 8   Protection Act.

 9          1587. Plaintiffs and class members are individuals who purchased JUUL products for

10   personal purposes.
11          1588. Defendants created and implemented a scheme to create a market for e-cigarettes
12   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
13   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
14   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
15   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
16   addictiveness, and significant risks of substantial physical injury from using JUUL products.
17          1589. Advertisements and representations for JUUL products contained deceptive
18   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
19   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

20   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

21   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

22   decades, JLI used third parties and word of mouth to spread false and misleading information

23   about JUUL products.

24          1590. Advertisements and representations for JUUL products concealed and failed to

25   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

26   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

27   addictive, posed significant risks of substantial physical injury resulting from the use of the

28   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine


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 1   consumed through a pack of combustible cigarettes.

 2          1591. The labels on JUUL products failed to disclose that the products posed

 3   significant risks of substantial physical injury resulting from the use of the products. The labels

 4   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 5          1592. The omissions were misleading and deceptive standing alone and were

 6   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 7   cigarettes and other representations.

 8          1593. JLI’s conduct was unfair and unconscionable in that it included (i) the

 9   manufacture and sale of products with a heightened propensity to cause addiction and physical

10   injuries and (ii) misrepresentations and omissions of material facts concerning the
11   characteristics and safety of JUUL products that offended public policy; were immoral,
12   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused
13   substantial harm that greatly outweighs any possible utility from the conduct.
14          1594. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and
15   unfair business practices: (a) misrepresenting that JUUL products have characteristics,
16   ingredients, uses, benefits, or quantities, which they do not have and (b) misrepresenting that
17   JUUL products are of a particular standard, quality, or grade, or that goods are of a particular
18   style or model, when they are not; (c) the willful use, in any oral or written representation, of
19   exaggeration, falsehood, innuendo or ambiguity as to a material fact; and (d) the willful failure

20   to state a material fact, or the willful concealment, suppression or omission of a material fact.

21          1595. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

22   omissions had the capacity to deceive, were likely to deceive, and in fact did, deceive

23   reasonable consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs,

24   would have found it material to their purchasing decisions that JUUL’s products (i) were not

25   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)

26   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

27   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

28   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a


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 1   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

 2   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

 3          1596. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 4   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 5   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 6   facts; because the facts would be material to reasonable consumers; because JLI actively

 7   concealed them; because JLI intended for consumers to rely on the omissions in question;

 8   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 9   made partial representations concerning the same subject matter as the omitted facts.

10          1597. As set forth in the allegations concerning each Plaintiff in Appendix A, in
11   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.
12   Reasonable consumers would have been expected to have relied on the misrepresentations and
13   omissions.
14          1598. Defendants knew or should have known that their misrepresentations and/or
15   omissions were false and misleading, and intended for consumers to rely on such
16   misrepresentations and omissions.
17          1599. JLI and the Management Defendants engaged in fraudulent and deceptive
18   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
19   products were appropriate for minors, when in fact the products never should have been

20   marketed to minors and are especially harmful to minors due to the potent and addictive

21   nicotine doses, addictive qualities, and health risks.

22          1600. In addition, all Defendants engaged in unfair and unconscionable conduct

23   because the targeting of minors offends public policy (see, e.g., Kan. Stat. Ann. § 79-3321); is

24   immoral, unethical, oppressive, and unscrupulous; took advantage of minors’ inability to

25   reasonably protect their interests; and has caused substantial harm that greatly outweighs any

26   benefits associated with the conduct.

27          1601. As alleged above, all Defendants participated and/or facilitated the marketing of

28   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI


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 1   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 2   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 3   use of JUUL products by minors continues to rise.

 4             1602. Defendants’ conduct actually and proximately caused damage to Plaintiffs and

 5   class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and class members

 6   would have behaved differently and would not have purchased JUUL products or would have

 7   paid less for them. Defendants’ misrepresentations and omissions induced Plaintiffs and class

 8   members to purchase JUUL products they would not otherwise have purchased and enter into

 9   purchase contracts they would not otherwise have entered into. In addition, class members who

10   are minors are entitled to full repayment of the amounts they spent on JUUL products.
11   Plaintiffs seek—on behalf of themselves and each member of the class—actual damages,
12   attorney’s fees, and equitable relief, as well as any other relief the Court may deem just or
13   proper.
14                            b.      Common Law Fraud
15             1603. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
16             1604. This claim is brought against JLI.
17             1605. JUUL created and implemented a scheme to create a market for e-cigarettes and
18   substantially increase sales of JUUL through a pervasive pattern of false and misleading
19   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

20   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

21   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

22   addictiveness, and significant risks of substantial physical injury from using JUUL products.

23             1606. Advertisements and representations for JUUL products contained deceptive

24   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

25   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

26   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

27   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

28   decades, JLI used third parties and word of mouth to spread false and misleading information


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 1   about JUUL products.

 2          1607. Advertisements and representations for JUUL products concealed and failed to

 3   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 4   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 5   addictive, posed significant risks of substantial physical injury resulting from the use of the

 6   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 7   consumed through a pack of combustible cigarettes.

 8          1608. The labels on JUUL products failed to disclose that the products posed

 9   significant risks of substantial physical injury resulting from the use of the products. The labels

10   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
11          1609. The omissions were misleading and deceptive standing alone and were
12   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
13   cigarettes and other representations.
14          1610. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
15   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
16   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
17   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
18   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
19   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

20   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

21   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

22   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

23   Plaintiffs’ and class members’ decisions to purchase JUUL products.

24          1611. JLI owed Plaintiffs and class members a duty to disclose these facts because they

25   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

26   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

27   facts; because the facts would be material to reasonable consumers; because JUUL products

28   pose an unreasonable risk of substantial bodily injury; and because JLI made partial


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 1   representations concerning the same subject matter as the omitted facts.

 2          1612. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 3   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 4   and/or omissions. Reasonable consumers would have been expected to have relied on the

 5   misrepresentations and omissions.

 6          1613. Defendants knew or should have known that their misrepresentations and/or

 7   omissions were false and misleading, and intended for consumers to rely on such

 8   misrepresentations and omissions.

 9          1614. JLI knew that JUUL products were not safe or reasonable alternatives to

10   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
11   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
12   products.
13          1615. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class
14   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
15   differently and would not have purchased JUUL products or would have paid less for them.
16   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
17   JUUL products they would not otherwise have purchased and enter into purchase contracts they
18   would not otherwise have entered into. Plaintiffs seek, on behalf of themselves and each
19   member of the class, damages in an amount to be proven at trial and punitive damages, as well

20   as any other relief the Court may deem just or proper.

21                          c.      Breach of the Implied Warranty of Merchantability
22          1616. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

23          1617. This claim is brought against JLI.

24          1618. JUUL has at all times been a merchant with respect to the products which were

25   sold to Plaintiff and the class and was in the business of selling such products.

26          1619. Each JUUL product sold by JUUL comes with an implied warranty that it will

27   merchantable and fit for the ordinary purpose for which it would be used. See Kan. Stat. Ann.

28   § 84–2–314. JUUL has breached its implied warranty of merchantability because its products


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 1   were not in merchantable condition when sold, were defective when sold, did not conform to the

 2   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 3   possess even the most basic degree of fitness for ordinary use.

 4            1620. The ordinary intended purpose of JUUL’s products—and the purpose for which

 5   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 6   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 7   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 8   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed

 9   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s

10   products are not fit for their ordinary, intended use as either cigarette replacement devices or
11   recreation smoking devices.
12            1621. Plaintiffs and each member of the class have had sufficient direct dealings with
13   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
14   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
15   each member of the class, on the other hand.
16            1622. Further, Plaintiffs and each member of the class were third-party beneficiaries of
17   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
18   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the
19   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

20   the express purpose an intent of being sold to consumers.

21            1623. Plaintiffs and the members of the class were injured as a direct and proximate

22   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

23   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

24   because, had they been aware of the unmerchantable condition of JUUL products, they would

25   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

26   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

27            1624. JUUL was provided notice of these issues by numerous complaints filed against

28   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous


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 1   individual letters and communications sent by consumers before or within a reasonable amount

 2   of time after they discovered or should have discovered that’s JUUL product were defective and

 3   unmerchantable.

 4                          d.     Unjust Enrichment
 5          1625. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 6          1626. This claim is brought against JLI and the Management Defendants.

 7          1627. Defendants created and implemented a scheme to create a market for e-cigarettes

 8   and substantially increase sales of JUUL products through a pervasive pattern of false and

 9   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

10   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
11   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
12   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
13   products.
14          1628. Defendants were unjustly enriched as a result of their wrongful conduct,
15   including through the false and misleading advertisements and omissions regarding (i) whether
16   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
17   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
18   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
19   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

20   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

21   enriched through their scheme of marketing their products to minors. Kansas law (see Kan. Stat.

22   Ann. § 79-3321(l)) prohibits the marketing and sale of JUUL products to minors

23          1629. Defendants requested and received a measurable benefit at the expense of

24   Plaintiffs and class members in the form of payment for JUUL products.

25          1630. Defendants appreciated, recognized, and chose to accept the monetary benefits

26   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

27   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

28          1631. There is no justification for Defendants’ enrichment. It would be inequitable,


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 1   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 2   benefits were procured as a result of their wrongful conduct.

 3          1632. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 4   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 5   with Defendant.

 6          1633. Plaintiffs plead this claim separately as well as in the alternative to their other

 7   claims, as without such claims they would have no adequate legal remedy.

 8                  17.    Kentucky
 9          1634. Plaintiffs bring each of the following claims on behalf of the Kentucky Subclass

10   under Kentucky law.
11                         a.      Violation of Kentucky Consumer Protection Act (Ky. Rev.
12                                 Stat. Ann. § 367.110, et seq.)
13          1635. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
14          1636. This claim is brought against JLI and, for certain unfair and/or unconscionable
15   conduct claims as noted below, all Defendants.
16          1637. Defendants are sellers of JUUL products.
17          1638. Plaintiffs and class member are “persons” under the statute.
18          1639. Plaintiffs and class members are individuals who purchased JUUL products for
19   personal purposes.

20          1640. Plaintiffs and each member of the class have had direct dealings with either

21   JUUL via its website or its agents (including distributors, dealers, and sellers authorized by

22   JUUL). Further, Plaintiffs and each member of the class were third-party beneficiaries of

23   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

24   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

25   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

26   the express purpose an intent of being sold to consumers.

27          1641. Defendants created and implemented a scheme to create a market for e-cigarettes

28   and substantially increase sales of JUUL through a pervasive pattern of false and misleading


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 1   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 2   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 3   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 4   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 5          1642. Advertisements and representations for JUUL products contained deceptive

 6   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 7   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 8   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 9   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

10   decades, JLI used third parties and word of mouth to spread false and misleading information
11   about JUUL products.
12          1643. Advertisements and representations for JUUL products concealed and failed to
13   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
14   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
15   addictive, posed significant risks of substantial physical injury resulting from the use of the
16   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
17   consumed through a pack of combustible cigarettes.
18          1644. The labels on JUUL products failed to disclose that the products posed
19   significant risks of substantial physical injury resulting from the use of the products. The labels

20   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

21          1645. The omissions were misleading and deceptive standing alone and were

22   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

23   cigarettes and other representations.

24          1646. JLI’s conduct was unfair and unconscionable in that it included (i) the

25   manufacture and sale of products with a heightened propensity to cause addiction and physical

26   injuries and (ii) misrepresentations and omissions of material facts concerning the

27   characteristics and safety of JUUL products that offended public policy; were immoral,

28   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused


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 1   substantial harm that greatly outweighs any possible utility from the conduct.

 2          1647. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 3   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 4   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 5   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 6   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 7   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 8   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 9   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

10   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
11   Plaintiffs’ and class members’ decisions to purchase JUUL products.
12          1648. JLI owed Plaintiffs and class members a duty to disclose these facts because they
13   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
14   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
15   facts; because the facts would be material to reasonable consumers; because JLI actively
16   concealed them; because JLI intended for consumers to rely on the omissions in question;
17   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
18   made partial representations concerning the same subject matter as the omitted facts.
19          1649. JLI and the Management Defendants engaged in fraudulent and deceptive

20   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

21   products were appropriate for minors, when in fact the products never should have been

22   marketed to minors and are especially harmful to minors due to the potent and addictive

23   nicotine doses, addictive qualities, and health risks.

24          1650. In addition, all Defendants engaged in unfair and unconscionable conduct

25   because the targeting of minors offends public policy (see, e.g., Ky. Rev. Stat. Ann. §§ 438.310,

26   438.313); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially

27   injurious; and has caused substantial harm that greatly outweighs any possible utility from the

28   conduct.


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 1          1651. As alleged above, all Defendants participated and/or facilitated the marketing of

 2   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 3   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 4   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 5   use of JUUL products by minors continues to rise.

 6          1652. Defendants’ conduct actually and proximately caused an ascertainable loss of

 7   money or property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent

 8   conduct, Plaintiffs and class members would have behaved differently and would not have

 9   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and

10   omissions induced Plaintiffs and class members to purchase JUUL products they would not
11   otherwise have purchased and enter into purchase contracts they would not otherwise have
12   entered into. In addition, class members who are minors are entitled to full repayment of the
13   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each
14   member of the class—actual damages, punitive damages, attorney’s fees and costs, and
15   equitable relief, as well as any other relief the Court may deem just or proper.
16                          b.     Common Law Fraud
17          1653. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
18          1654. This claim is brought against JLI.
19          1655. JUUL created and implemented a scheme to create a market for e-cigarettes and

20   substantially increase sales of JUUL through a pervasive pattern of false and misleading

21   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

22   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

23   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

24   addictiveness, and significant risks of substantial physical injury from using JUUL products.

25          1656. Advertisements and representations for JUUL products contained deceptive

26   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

27   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

28   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or


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 1   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 2   decades, JLI used third parties and word of mouth to spread false and misleading information

 3   about JUUL products.

 4          1657. Advertisements and representations for JUUL products concealed and failed to

 5   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 6   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 7   addictive, posed significant risks of substantial physical injury resulting from the use of the

 8   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 9   consumed through a pack of combustible cigarettes.

10          1658. The labels on JUUL products failed to disclose that the products posed
11   significant risks of substantial physical injury resulting from the use of the products. The labels
12   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
13          1659. The omissions were misleading and deceptive standing alone and were
14   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
15   cigarettes and other representations.
16          1660. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
17   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
18   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
19   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

20   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

21   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

22   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

23   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

24   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

25   Plaintiffs’ and class members’ decisions to purchase JUUL products.

26          1661. JLI owed Plaintiffs and class members a duty to disclose these facts because they

27   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

28   other than Plaintiffs and class members), who had exclusive and superior knowledge of the


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 1   facts; because the facts would be material to reasonable consumers; because JUUL products

 2   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 3   representations concerning the same subject matter as the omitted facts.

 4          1662. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 5   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 6   and/or omissions. Reasonable consumers would have been expected to have relied on the

 7   misrepresentations and omissions.

 8          1663. Defendants knew or should have known that their misrepresentations and/or

 9   omissions were false and misleading, and intended for consumers to rely on such

10   misrepresentations and omissions.
11          1664. JLI knew that JUUL products were not safe or reasonable alternatives to
12   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
13   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
14   products.
15          1665. JUUL’s conduct actually and proximately caused damage including an
16   ascertainable loss of money or property to Plaintiffs and class members. Absent JUUL’s
17   conduct, Plaintiffs and class members would have behaved differently and would not have
18   purchased JUUL products or would have paid less for them. JUUL’s misrepresentations and
19   omissions induced Plaintiffs and class members to purchase JUUL products they would not

20   otherwise have purchased and enter into purchase contracts they would not otherwise have

21   entered into. Plaintiffs seek, on behalf of themselves and each member of the class, damages in

22   an amount to be proven at trial and punitive damages, as well as any other relief the Court may

23   deem just or proper.

24                          c.      Breach of the Implied Warranty of Merchantability
25          1666. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

26          1667. This claim is brought against JLI.

27          1668. JUUL has at all times been a merchant with respect to the products which were

28   sold to Plaintiff and the class and was in the business of selling such products.


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 1            1669. Each JUUL product sold by JUUL comes with an implied warranty that it will

 2   merchantable and fit for the ordinary purpose for which it would be used. See Ky. Rev. Stat.

 3   Ann. § 355.2-314. JUUL has breached its implied warranty of merchantability because its

 4   products were not in merchantable condition when sold, were defective when sold, did not

 5   conform to the promises and affirmations of fact made on the products’ containers or labels,

 6   and/or do not possess even the most basic degree of fitness for ordinary use.

 7            1670. The ordinary intended purpose of JUUL’s products—and the purpose for which

 8   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 9   products are not fit for that use—or any other use—because they (i) were not smoking cessation

10   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
11   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully   addictive, and (v) posed
12   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s
13   products are not fit for their ordinary, intended use as either cigarette replacement devices or
14   recreation smoking devices.
15            1671. Plaintiffs and each member of the class have had sufficient direct dealings with
16   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
17   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
18   each member of the class, on the other hand.
19            1672. Further, Plaintiffs and each member of the class were third-party beneficiaries of

20   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

21   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

22   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

23   the express purpose an intent of being sold to consumers.

24            1673. Plaintiffs and the members of the class were injured as a direct and proximate

25   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

26   the Kentucky Direct Purchase Subclass were damaged as a result of JUUL’s breach of its

27   implied warranty of merchantability because, had they been aware of the unmerchantable

28   condition of JUUL products, they would not have purchased JUUL products, or would have


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 1   paid less for them. Plaintiffs seek damages in an amount to be proven at trial, as well as any

 2   other relief the Court may deem just or proper.

 3          1674. JUUL was provided notice of these issues by numerous complaints filed against

 4   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 5   individual letters and communications sent by consumers before or within a reasonable amount

 6   of time after they discovered or should have discovered that’s JUUL product were defective and

 7   unmerchantable.

 8                         d.      Unjust Enrichment
 9          1675. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

10          1676. This claim is brought against JLI and the Management Defendants.
11          1677. Defendants created and implemented a scheme to create a market for e-cigarettes
12   and substantially increase sales of JUUL products through a pervasive pattern of false and
13   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
14   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
15   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
16   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
17   products.
18          1678. Defendants were unjustly enriched as a result of their wrongful conduct,
19   including through the false and misleading advertisements and omissions regarding (i) whether

20   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

21   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

22   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

23   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

24   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

25   enriched through their scheme of marketing their products to minors. Kentucky law (see Ky.

26   Rev. Stat. Ann. §§ 438.310, 438.313) prohibits the marketing and sale of JUUL products to

27   minors.

28          1679. Defendants requested and received a measurable benefit at the expense of


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 1   Plaintiffs and class members in the form of payment for JUUL products.

 2          1680. Defendants appreciated, recognized, and chose to accept the monetary benefits

 3   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 4   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 5          1681. There is no justification for Defendants’ enrichment. It would be inequitable,

 6   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 7   benefits were procured as a result of their wrongful conduct.

 8          1682. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 9   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

10   with Defendant.
11          1683. Plaintiffs plead this claim separately as well as in the alternative to their other
12   claims, as without such claims they would have no adequate legal remedy.
13                  18.     Louisiana
14          1684. Plaintiffs bring each of the following claims on behalf of the Louisiana Subclass
15   under Louisiana law.
16                          a.     Violation of Louisiana Unfair Trade Practices and Consumer
17                                 Protection Law (La. Rev. Stat. Ann. § 51:1401, et seq.)
18          1685. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
19          1686. This claim is brought against JLI and, for certain unfair and/or unconscionable

20   conduct claims as noted below, all Defendants.

21          1687. Plaintiffs and class members are persons who purchased JUUL products for

22   personal purposes.

23          1688. Defendants created and implemented a scheme to create a market for e-cigarettes

24   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

25   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

26   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

27   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

28   addictiveness, and significant risks of substantial physical injury from using JUUL products.


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 1          1689. Advertisements and representations for JUUL products contained deceptive

 2   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 3   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 4   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 5   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 6   decades, JLI used third parties and word of mouth to spread false and misleading information

 7   about JUUL products.

 8          1690. Advertisements and representations for JUUL products concealed and failed to

 9   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

10   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
11   addictive, posed significant risks of substantial physical injury resulting from the use of the
12   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
13   consumed through a pack of combustible cigarettes.
14          1691. The labels on JUUL products failed to disclose that the products posed
15   significant risks of substantial physical injury resulting from the use of the products. The labels
16   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
17          1692. The omissions were misleading and deceptive standing alone and were
18   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
19   cigarettes and other representations.

20          1693. JLI’s conduct was unfair and unconscionable in that it included (i) the

21   manufacture and sale of products with a heightened propensity to cause addiction and physical

22   injuries and (ii) misrepresentations and omissions of material facts concerning the

23   characteristics and safety of JUUL products that offended public policy; were immoral,

24   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

25   substantial harm that greatly outweighs any possible utility from the conduct.

26          1694. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

27   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

28   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it


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 1   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 2   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 3   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 4   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 5   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 6   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 7   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 8          1695. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 9   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

10   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
11   facts; because the facts would be material to reasonable consumers; because JLI actively
12   concealed them; because JLI intended for consumers to rely on the omissions in question;
13   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
14   made partial representations concerning the same subject matter as the omitted facts.
15          1696. Defendants knew or should have known that their misrepresentations and/or
16   omissions were false and misleading, and intended for consumers to rely on such
17   misrepresentations and omissions.
18          1697. JLI and the Management Defendants engaged in fraudulent and deceptive
19   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

20   products were appropriate for minors, when in fact the products never should have been

21   marketed to minors and are especially harmful to minors due to the potent and addictive

22   nicotine doses, addictive qualities, and health risks.

23          1698. In addition, all Defendants engaged in unfair and unconscionable conduct

24   because the targeting of minors offends public policy (see, e.g., La. Rev. Stat. Ann. §§ 14:91.8,

25   14:91.6(A)); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially

26   injurious; and has caused substantial harm that greatly outweighs any possible utility from the

27   conduct.

28          1699. As alleged above, all Defendants participated and/or facilitated the marketing of


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 1   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 2   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 3   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 4   use of JUUL products by minors continues to rise.

 5          1700. Defendants’ conduct actually and proximately caused an ascertainable loss of

 6   money or movable property to Plaintiffs and class members. Absent Defendants’ unfair and

 7   fraudulent conduct, Plaintiffs and class members would have behaved differently and would not

 8   have purchased JUUL products or would have paid less for them. Defendants’

 9   misrepresentations and omissions induced Plaintiffs and class members to purchase JUUL

10   products they would not otherwise have purchased and enter into purchase contracts they would
11   not otherwise have entered into. In addition, class members who are minors are entitled to full
12   repayment of the amounts they spent on JUUL products.              Plaintiffs seek—on behalf of
13   themselves and each member of the class—three times damages because Defendants deceptive
14   and fraudulent conduct was done knowingly, and reasonable attorneys’ fees and costs, as well
15   as any other relief the Court may deem just or proper.
16                         b.      Common Law Fraud
17          1701. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
18          1702. This claim is brought against JLI.
19          1703. JUUL created and implemented a scheme to create a market for e-cigarettes and

20   substantially increase sales of JUUL through a pervasive pattern of false and misleading

21   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

22   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

23   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

24   addictiveness, and significant risks of substantial physical injury from using JUUL products.

25          1704. Advertisements and representations for JUUL products contained deceptive

26   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

27   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

28   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or


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 1   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 2   decades, JLI used third parties and word of mouth to spread false and misleading information

 3   about JUUL products.

 4          1705. Advertisements and representations for JUUL products concealed and failed to

 5   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 6   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 7   addictive, posed significant risks of substantial physical injury resulting from the use of the

 8   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 9   consumed through a pack of combustible cigarettes.

10          1706. The labels on JUUL products failed to disclose that the products posed
11   significant risks of substantial physical injury resulting from the use of the products. The labels
12   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
13          1707. The omissions were misleading and deceptive standing alone and were
14   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
15   cigarettes and other representations.
16          1708. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
17   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
18   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
19   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

20   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

21   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

22   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

23   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

24   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

25   Plaintiffs’ and class members’ decisions to purchase JUUL products.

26          1709. JLI owed Plaintiffs and class members a duty to disclose these facts because they

27   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

28   other than Plaintiffs and class members), who had exclusive and superior knowledge of the


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 1   facts; because the facts would be material to reasonable consumers; because JUUL products

 2   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 3   representations concerning the same subject matter as the omitted facts.

 4          1710. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 5   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 6   and/or omissions. Reasonable consumers would have been expected to have relied on the

 7   misrepresentations and omissions.

 8          1711. Defendants knew or should have known that their misrepresentations and/or

 9   omissions were false and misleading, and intended for consumers to rely on such

10   misrepresentations and omissions.
11          1712. JLI knew that JUUL products were not safe or reasonable alternatives to
12   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
13   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
14   products.
15          1713. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class
16   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
17   differently and would not have purchased JUUL products or would have paid less for them.
18   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
19   JUUL products they would not otherwise have purchased and enter into purchase contracts they

20   would not otherwise have entered into. Plaintiffs seek, on behalf of themselves and each

21   member of the class, compensatory damages in an amount to be proven at trial and punitive

22   damages, as well as any other relief the Court may deem just or proper.

23                          c.      Breach of the Implied Warranty of Merchantability
24          1714. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          1715. This claim is brought against JLI.

26          1716. JUUL has at all times been a merchant with respect to the products which were

27   sold to Plaintiff and the class and was in the business of selling such products.

28          1717. Each JUUL product sold by JUUL comes with an implied warranty that it will


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 1   merchantable and fit for the ordinary purpose for which it would be used. See LSA-C.C. Art.

 2   2475. JUUL has breached its implied warranty of merchantability because its products were not

 3   in merchantable condition when sold, were defective when sold, did not conform to the

 4   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 5   possess even the most basic degree of fitness for ordinary use.

 6            1718. The ordinary intended purpose of JUUL’s products—and the purpose for which

 7   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 8   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 9   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

10   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed
11   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s
12   products are not fit for their ordinary, intended use as either cigarette replacement devices or
13   recreation smoking devices.
14            1719. Plaintiffs and each member of the class have had sufficient direct dealings with
15   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
16   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
17   each member of the class, on the other hand.
18            1720. Further, Plaintiffs and each member of the class were third-party beneficiaries of
19   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

20   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

21   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

22   the express purpose an intent of being sold to consumers.

23            1721. Plaintiffs and the members of the class were injured as a direct and proximate

24   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

25   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

26   because, had they been aware of the unmerchantable condition of JUUL products, they would

27   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

28   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.


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 1          1722. JUUL was provided notice of these issues by numerous complaints filed against

 2   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 3   individual letters and communications sent by consumers before or within a reasonable amount

 4   of time after they discovered or should have discovered that’s JUUL product were defective and

 5   unmerchantable.

 6                         d.      Unjust Enrichment
 7          1723. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 8          1724. This claim is brought against JLI and the Management Defendants.

 9          1725. Defendants created and implemented a scheme to create a market for e-cigarettes

10   and substantially increase sales of JUUL products through a pervasive pattern of false and
11   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
12   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
13   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
14   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
15   products.
16          1726. Defendants were unjustly enriched as a result of their wrongful conduct,
17   including through the false and misleading advertisements and omissions regarding (i) whether
18   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
19   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

20   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

21   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

22   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

23   enriched through their scheme of marketing their products to minors. The Louisiana Prevention

24   of Youth Access to Tobacco Law and other statutes (see La. Rev. Stat. Ann. §§ 14:91.8 and

25   14:91.6) prohibit the marketing and sale of JUUL products to minors.

26          1727. Defendants requested and received a measurable benefit at the expense of

27   Plaintiffs and class members in the form of payment for JUUL products.

28          1728. Defendants appreciated, recognized, and chose to accept the monetary benefits


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 1   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 2   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 3          1729. There is no justification for Defendants’ enrichment. It would be inequitable,

 4   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 5   benefits were procured as a result of their wrongful conduct.

 6          1730. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 7   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 8   with Defendant.

 9          1731. Plaintiffs plead this claim separately as well as in the alternative to their other

10   claims, as without such claims they would have no adequate legal remedy.
11                  19.     Maine
12          1732. Plaintiffs bring each of the following claims on behalf of the Maine Subclass
13   under Maine law.
14                          a.      Violation of Maine Unfair Trade Practices Act (5 M.R.S.A.
15                                  § 205-A, et seq.)
16          1733. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
17          1734. This claim is brought against JLI and, for certain unfair and/or unconscionable
18   conduct claims as noted below, all Defendants.
19          1735. Plaintiffs and class members are persons who purchased JUUL products for

20   personal purposes.

21          1736. Defendants created and implemented a scheme to create a market for e-cigarettes

22   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

23   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

24   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

25   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

26   addictiveness, and significant risks of substantial physical injury from using JUUL products.

27          1737. Advertisements and representations for JUUL products contained deceptive

28   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives


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 1   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 2   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 3   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 4   decades, JLI used third parties and word of mouth to spread false and misleading information

 5   about JUUL products.

 6          1738. Advertisements and representations for JUUL products concealed and failed to

 7   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 8   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 9   addictive, posed significant risks of substantial physical injury resulting from the use of the

10   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
11   consumed through a pack of combustible cigarettes.
12          1739. The labels on JUUL products failed to disclose that the products posed
13   significant risks of substantial physical injury resulting from the use of the products. The labels
14   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
15          1740. The omissions were misleading and deceptive standing alone and were
16   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
17   cigarettes and other representations.
18          1741. JLI’s conduct was unfair and unconscionable in that it included (i) the
19   manufacture and sale of products with a heightened propensity to cause addiction and physical

20   injuries and (ii) misrepresentations and omissions of material facts concerning the

21   characteristics and safety of JUUL products that offended public policy; were immoral,

22   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

23   substantial harm that greatly outweighs any possible utility from the conduct.

24          1742. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

25   omissions at issue were likely to, and in fact did, mislead reasonable consumers including the

26   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their

27   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not

28   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery


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 1   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily

 2   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

 3   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

 4   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’

 5   decisions to purchase JUUL products.

 6          1743. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 7   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 8   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 9   facts; because the facts would be material to reasonable consumers; because JLI actively

10   concealed them; because JLI intended for consumers to rely on the omissions in question;
11   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
12   made partial representations concerning the same subject matter as the omitted facts.
13          1744. As set forth in the allegations concerning each Plaintiff in Appendix A, in
14   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.
15   Reasonable consumers would have been expected to have relied on the misrepresentations and
16   omissions.
17          1745. JLI and the Management Defendants engaged in fraudulent and deceptive
18   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
19   products were appropriate for minors, when in fact the products never should have been

20   marketed to minors and are especially harmful to minors due to the potent and addictive

21   nicotine doses, addictive qualities, and health risks.

22          1746. In addition, all Defendants engaged in unfair and unconscionable conduct

23   because the targeting of minors offends public policy (see, e.g., 22 M.R.S.A. § 1555-B (2)); is

24   immoral, unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and has

25   caused substantial harm that greatly outweighs any possible utility from the conduct.

26          1747. As alleged above, all Defendants participated and/or facilitated the marketing of

27   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

28   and others have continued the deceptive, misleading, unfair, and unconscionable practices that


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 1   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 2   use of JUUL products by minors continues to rise.

 3          1748. Defendants’ conduct actually and proximately caused the loss of money or

 4   property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct,

 5   Plaintiffs and class members would have behaved differently and would not have purchased

 6   JUUL products or would have paid less for them. Defendants’ misrepresentations and omissions

 7   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have

 8   purchased and enter into purchase contracts they would not otherwise have entered into. In

 9   addition, class members who are minors are entitled to full repayment of the amounts they spent

10   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
11   actual damages, restitution, attorney’s fees and costs, and injunctive relief, as well as any other
12   relief the Court may deem just or proper.
13          1749. Plaintiffs have complied or substantially complied with all applicable notice
14   requirements.
15                          b.     Violation of Maine Uniform Deceptive Trade Practices Act
16                                 (10 M.R.S.A. § 1211, et seq.)
17          1750. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
18          1751. This claim is brought against JLI and, for certain claims as noted below, the
19   Management Defendants.

20          1752. Plaintiffs and class members are persons who purchased JUUL products for

21   personal purposes.

22          1753. Defendants created and implemented a scheme to create a market for e-cigarettes

23   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

24   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

25   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

26   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

27   addictiveness, and significant risks of substantial physical injury from using JUUL products.

28          1754. Advertisements and representations for JUUL products contained deceptive


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 1   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 2   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 3   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 4   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 5   decades, JLI used third parties and word of mouth to spread false and misleading information

 6   about JUUL products.

 7          1755. Advertisements and representations for JUUL products concealed and failed to

 8   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 9   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

10   addictive, posed significant risks of substantial physical injury resulting from the use of the
11   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
12   consumed through a pack of combustible cigarettes.
13          1756. The labels on JUUL products failed to disclose that the products posed
14   significant risks of substantial physical injury resulting from the use of the products. The labels
15   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
16          1757. The omissions were misleading and deceptive standing alone and were
17   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
18   cigarettes and other representations.
19          1758. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

20   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

21   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

22   products are of a particular standard, quality, or grade, or that goods are of a particular style or

23   model, when they are not; (c) advertising goods or services with intent not to sell them as

24   advertised; and (d) engaging in conduct which creates a likelihood of confusion or of

25   misunderstanding.

26          1759. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

27   omissions at issue were likely to, and in fact did, deceive reasonable consumers including the

28   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their


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 1   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not

 2   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery

 3   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily

 4   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

 5   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

 6   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’

 7   decisions to purchase JUUL products.

 8          1760. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 9   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

10   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
11   facts; because the facts would be material to reasonable consumers; because JLI actively
12   concealed them; because JLI intended for consumers to rely on the omissions in question;
13   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
14   made partial representations concerning the same subject matter as the omitted facts.
15          1761. JLI and the Management Defendants engaged in fraudulent and deceptive
16   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
17   products were appropriate for minors, when in fact the products never should have been
18   marketed to minors and are especially harmful to minors due to the potent and addictive
19   nicotine doses, addictive qualities, and health risks.

20          1762. Defendants’ conduct actually and proximately caused damage to Plaintiffs and

21   class members and is likely to cause damage in the future. Absent Defendants’ deceptive and

22   fraudulent conduct, Plaintiffs and class members would have behaved differently and would not

23   have purchased JUUL products or would have paid less for them. Defendants’

24   misrepresentations and omissions induced Plaintiffs and class members to purchase JUUL

25   products they would not otherwise have purchased and enter into purchase contracts they would

26   not otherwise have entered into. In addition, class members who are minors are entitled to full

27   repayment of the amounts they spent on JUUL products.            Plaintiffs seek—on behalf of

28   themselves and each member of the class—injunctive relief, attorney’s fees, and equitable


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 1   relief, as well as any other relief the Court may deem just or proper.

 2                          c.     Common Law Fraud
 3          1763. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 4          1764. This claim is brought against JLI.

 5          1765. JUUL created and implemented a scheme to create a market for e-cigarettes and

 6   substantially increase sales of JUUL through a pervasive pattern of false and misleading

 7   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 8   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 9   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

10   addictiveness, and significant risks of substantial physical injury from using JUUL products.
11          1766. Advertisements and representations for JUUL products contained deceptive
12   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
13   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
14   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
15   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
16   decades, JLI used third parties and word of mouth to spread false and misleading information
17   about JUUL products.
18          1767. Advertisements and representations for JUUL products concealed and failed to
19   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

20   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

21   addictive, posed significant risks of substantial physical injury resulting from the use of the

22   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

23   consumed through a pack of combustible cigarettes.

24          1768. The labels on JUUL products failed to disclose that the products posed

25   significant risks of substantial physical injury resulting from the use of the products. The labels

26   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

27          1769. The omissions were misleading and deceptive standing alone and were

28   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to


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 1   cigarettes and other representations.

 2          1770. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 3   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 4   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 5   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 6   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 7   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 8   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 9   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

10   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
11   Plaintiffs’ and class members’ decisions to purchase JUUL products.
12          1771. JLI owed Plaintiffs and class members a duty to disclose these facts because they
13   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
14   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
15   facts; because the facts would be material to reasonable consumers; because JUUL products
16   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
17   representations concerning the same subject matter as the omitted facts.
18          1772. As set forth in the allegations concerning each Plaintiff in Appendix A, in
19   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

20   and/or omissions. Reasonable consumers would have been expected to have relied on the

21   misrepresentations and omissions.

22          1773. Defendants knew or should have known that their misrepresentations and/or

23   omissions were false and misleading, and intended for consumers to rely on such

24   misrepresentations and omissions.

25          1774. JLI knew that JUUL products were not safe or reasonable alternatives to

26   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

27   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

28   products.


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 1            1775. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class

 2   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 3   differently and would not have purchased JUUL products or would have paid less for them.

 4   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 5   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 6   would not otherwise have entered into. Plaintiffs seek, on behalf of themselves and each

 7   member of the class, damages in an amount to be proven at trial and punitive damages, as well

 8   as any other relief the Court may deem just or proper.

 9                           d.      Breach of the Implied Warranty of Merchantability
10            1776. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
11            1777. This claim is brought against JLI.
12            1778. JUUL has at all times been a merchant with respect to the products which were
13   sold to Plaintiff and the class and was in the business of selling such products.
14            1779. Each JUUL product sold by JUUL comes with an implied warranty that it will
15   merchantable and fit for the ordinary purpose for which it would be used. See 11 M.R.S.A. § 2-
16   314. JUUL has breached its implied warranty of merchantability because its products were not
17   in merchantable condition when sold, were defective when sold, did not conform to the
18   promises and affirmations of fact made on the products’ containers or labels, and/or do not
19   possess even the most basic degree of fitness for ordinary use.

20            1780. The ordinary intended purpose of JUUL’s products—and the purpose for which

21   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

22   products are not fit for that use—or any other use—because they (i) were not smoking cessation

23   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

24   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

25   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

26   products are not fit for their ordinary, intended use as either cigarette replacement devices or

27   recreation smoking devices.

28            1781. Plaintiffs and each member of the class have had sufficient direct dealings with


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 1   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 2   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 3   each member of the class, on the other hand.

 4          1782. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 5   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 6   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

 7   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 8   the express purpose an intent of being sold to consumers.

 9          1783. Plaintiffs and the members of the class were injured as a direct and proximate

10   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
11   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
12   because, had they been aware of the unmerchantable condition of JUUL products, they would
13   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
14   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
15          1784. JUUL was provided notice of these issues by numerous complaints filed against
16   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
17   individual letters and communications sent by consumers before or within a reasonable amount
18   of time after they discovered or should have discovered that’s JUUL product were defective and
19   unmerchantable.

20                          e.     Unjust Enrichment
21          1785. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

22          1786. This claim is brought against JLI and the Management Defendants.

23          1787. Defendants created and implemented a scheme to create a market for e-cigarettes

24   and substantially increase sales of JUUL products through a pervasive pattern of false and

25   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

26   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

27   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

28   doses, addictiveness, and significant risks of substantial physical injury from using JUUL


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 1   products.

 2          1788. Defendants were unjustly enriched as a result of their wrongful conduct,

 3   including through the false and misleading advertisements and omissions regarding (i) whether

 4   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 5   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 6   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 7   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 8   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 9   enriched through their scheme of marketing their products to minors. Maine law (see 22

10   M.R.S.A. § 1555-B) prohibits the marketing and sale of JUUL products to minors.
11          1789. Defendants requested and received a measurable benefit at the expense of
12   Plaintiffs and class members in the form of payment for JUUL products.
13          1790. Defendants appreciated, recognized, and chose to accept the monetary benefits
14   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
15   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
16          1791. There is no justification for Defendants’ enrichment. It would be inequitable,
17   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
18   benefits were procured as a result of their wrongful conduct.
19          1792. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

20   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

21   with Defendant.

22          1793. Plaintiffs plead this claim separately as well as in the alternative to their other

23   claims, as without such claims they would have no adequate legal remedy.

24                  20.     Maryland
25          1794. Plaintiffs bring each of the following claims on behalf of the Maryland Subclass

26   under Maryland law.

27

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 1                          a.     Violation of Maryland Consumer Protection Act (Md. Code
 2                                 Ann. Com. Law § 13-101, et seq.)
 3          1795. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 4          1796. This claim is brought against JLI and, for certain unfair and/or unconscionable

 5   conduct claims as noted below, all Defendants.

 6          1797. Plaintiffs and class members are individuals who purchased JUUL products for

 7   personal purposes.

 8          1798. Defendants created and implemented a scheme to create a market for e-cigarettes

 9   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          1799. Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          1800. Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          1801. The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          1802. The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          1803. JLI’s conduct was unfair and unconscionable in that it included (i) the

 6   manufacture and sale of products with a heightened propensity to cause addiction and physical

 7   injuries and (ii) misrepresentations and omissions of material facts concerning the

 8   characteristics and safety of JUUL products that offended public policy; were immoral,

 9   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

10   substantial harm that greatly outweighs any possible utility from the conduct.
11          1804. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and
12   unfair business practices: (a) misrepresenting that JUUL products have characteristics,
13   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL
14   products are of a particular standard, quality, or grade, or that goods are of a particular style or
15   model, when they are not; (c) advertising goods or services with intent not to sell them as
16   advertised; (d) stating a material fact that deceives or tends to deceive; and (e) engaging in
17   deception, fraud, false pretense, false premise, misrepresentation, or knowing concealment,
18   suppression, or omission of any material fact with the intent that a consumer rely on the same.
19          1805. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

20   omissions had the capacity, tendency and effect of deceiving or misleading reasonable

21   consumers; and in fact did, deceive and mislead reasonable consumers including the Plaintiffs.

22   Reasonable consumers, including the Plaintiffs, would have found it material to their purchasing

23   decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not reasonable

24   alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery mechanisms,

25   (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily injury

26   resulting from the use of the products, and (vi) that the nicotine consumed through one JUUL

27   pod exceeded the nicotine consumed through a pack of combustible cigarettes. Knowledge of

28   these facts would have been a substantial factor in Plaintiffs’ and class members’ decisions to


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 1   purchase JUUL products.

 2          1806. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 3   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 4   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 5   facts; because the facts would be material to reasonable consumers; because JLI actively

 6   concealed them; because JLI intended for consumers to rely on the omissions in question;

 7   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 8   made partial representations concerning the same subject matter as the omitted facts.

 9          1807. As set forth in the allegations concerning each Plaintiff in Appendix A, in

10   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.
11   Reasonable consumers would have been expected to have relied on the misrepresentations and
12   omissions.
13          1808. Defendants knew or should have known that their misrepresentations and/or
14   omissions were false and misleading, and intended for consumers to rely on such
15   misrepresentations and omissions.
16          1809. JLI and the Management Defendants engaged in fraudulent and deceptive
17   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
18   products were appropriate for minors, when in fact the products never should have been
19   marketed to minors and are especially harmful to minors due to the potent and addictive

20   nicotine doses, addictive qualities, and health risks.

21          1810. In addition, all Defendants engaged in unfair and unconscionable conduct

22   because the targeting of minors offends public policy (see, e.g., Md. Code Ann. Health Gen.

23   § 24- 305(b); Md. Code Ann. Crim. Law §§ 10-107(b)(2), (c)(1)); is immoral, unethical,

24   oppressive, outrageous, unscrupulous, and substantially injurious; and has caused substantial

25   harm that greatly outweighs any possible utility from the conduct.

26          1811. As alleged above, all Defendants participated and/or facilitated the marketing of

27   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

28   and others have continued the deceptive, misleading, unfair, and unconscionable practices that


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 1   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 2   use of JUUL products by minors continues to rise.

 3          1812. Defendants’ conduct actually and proximately caused injury and loss to Plaintiffs

 4   and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and class

 5   members would have behaved differently and would not have purchased JUUL products or

 6   would have paid less for them. Defendants’ misrepresentations and omissions induced Plaintiffs

 7   and class members to purchase JUUL products they would not otherwise have purchased and

 8   enter into purchase contracts they would not otherwise have entered into. In addition, class

 9   members who are minors are entitled to full repayment of the amounts they spent on JUUL

10   products. Plaintiffs seek—on behalf of themselves and each member of the class—damages
11   and attorney’s fees, as well as any other relief the Court may deem just or proper.
12                          b.     Common Law Fraud
13          1813. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
14          1814. This claim is brought against JLI.
15          1815. JUUL created and implemented a scheme to create a market for e-cigarettes and
16   substantially increase sales of JUUL through a pervasive pattern of false and misleading
17   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
18   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
19   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

20   addictiveness, and significant risks of substantial physical injury from using JUUL products.

21          1816. Advertisements and representations for JUUL products contained deceptive

22   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

23   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

24   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

25   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

26   decades, JLI used third parties and word of mouth to spread false and misleading information

27   about JUUL products.

28          1817. Advertisements and representations for JUUL products concealed and failed to


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 1   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 2   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 3   addictive, posed significant risks of substantial physical injury resulting from the use of the

 4   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 5   consumed through a pack of combustible cigarettes.

 6          1818. The labels on JUUL products failed to disclose that the products posed

 7   significant risks of substantial physical injury resulting from the use of the products. The labels

 8   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 9          1819. The omissions were misleading and deceptive standing alone and were

10   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
11   cigarettes and other representations.
12          1820. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
13   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
14   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
15   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
16   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
17   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
18   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
19   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

20   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

21   Plaintiffs’ and class members’ decisions to purchase JUUL products.

22          1821. JLI owed Plaintiffs and class members a duty to disclose these facts because they

23   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

24   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

25   facts; because the facts would be material to reasonable consumers; because JUUL products

26   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

27   representations concerning the same subject matter as the omitted facts.

28          1822. As set forth in the allegations concerning each Plaintiff in Appendix A, in


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 1   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 2   and/or omissions. Reasonable consumers would have been expected to have relied on the

 3   misrepresentations and omissions.

 4          1823. Defendants knew or should have known that their misrepresentations and/or

 5   omissions were false and misleading, and intended for consumers to rely on such

 6   misrepresentations and omissions.

 7          1824. JLI knew that JUUL products were not safe or reasonable alternatives to

 8   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 9   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

10   products.
11          1825. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class
12   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
13   differently and would not have purchased JUUL products or would have paid less for them.
14   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
15   JUUL products they would not otherwise have purchased and enter into purchase contracts they
16   would not otherwise have entered into. Plaintiffs seek, on behalf of themselves and each
17   member of the class, damages in an amount to be proven at trial and punitive damages, as well
18   as any other relief the Court may deem just or proper.
19                          c.      Breach of the Implied Warranty of Merchantability
20          1826. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          1827. This claim is brought against JLI.

22          1828. JUUL has at all times been a merchant with respect to the products which were

23   sold to Plaintiff and the class and was in the business of selling such products.

24          1829. Each JUUL product sold by JUUL comes with an implied warranty that it will

25   merchantable and fit for the ordinary purpose for which it would be used. See Md. Code Ann.

26   Com. Law § 2-314. JUUL has breached its implied warranty of merchantability because its

27   products were not in merchantable condition when sold, were defective when sold, did not

28   conform to the promises and affirmations of fact made on the products’ containers or labels,


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 1   and/or do not possess even the most basic degree of fitness for ordinary use.

 2            1830. The ordinary intended purpose of JUUL’s products—and the purpose for which

 3   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 4   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 5   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 6   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed

 7   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s

 8   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 9   recreation smoking devices.

10            1831. Plaintiffs and each member of the class have had sufficient direct dealings with
11   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
12   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
13   each member of the class, on the other hand.
14            1832. Further, Plaintiffs and each member of the class were third-party beneficiaries of
15   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
16   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the
17   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
18   the express purpose an intent of being sold to consumers.
19            1833. Plaintiffs and the members of the class were injured as a direct and proximate

20   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

21   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

22   because, had they been aware of the unmerchantable condition of JUUL products, they would

23   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

24   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

25            1834. JUUL was provided notice of these issues by numerous complaints filed against

26   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

27   individual letters and communications sent by consumers before or within a reasonable amount

28   of time after they discovered or should have discovered that’s JUUL product were defective and


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 1   unmerchantable.

 2                          d.     Unjust Enrichment
 3          1835. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 4          1836. This claim is brought against JLI and the Management Defendants.

 5          1837. Defendants created and implemented a scheme to create a market for e-cigarettes

 6   and substantially increase sales of JUUL products through a pervasive pattern of false and

 7   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

 8   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 9   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

10   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
11   products.
12          1838. Defendants were unjustly enriched as a result of their wrongful conduct,
13   including through the false and misleading advertisements and omissions regarding (i) whether
14   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
15   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
16   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
17   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
18   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
19   enriched through their scheme of marketing their products to minors. Maryland law (see Md.

20   Code Ann. Health Gen. § 24- 305(b); Md. Code Ann. Crim. Law §§ 10-107(b)(2), (c)(1))

21   prohibits the marketing and sale of JUUL products to minors.

22          1839. Defendants requested and received a measurable benefit at the expense of

23   Plaintiffs and class members in the form of payment for JUUL products.

24          1840. Defendants appreciated, recognized, and chose to accept the monetary benefits

25   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

26   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

27          1841. There is no justification for Defendants’ enrichment. It would be inequitable,

28   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the


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 1   benefits were procured as a result of their wrongful conduct.

 2          1842. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 3   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 4   with Defendant.

 5          1843. Plaintiffs plead this claim separately as well as in the alternative to their other

 6   claims, as without such claims they would have no adequate legal remedy.

 7                  21.    Massachusetts
 8          1844. Plaintiffs bring each of the following claims on behalf of the Massachusetts

 9   Subclass under Massachusetts law.

10                         a.      Violation of Massachusetts Regulation of Business Practice
11                                 and Consumer Protection Act (M.G.L.A. 93A, § 1, et seq.)
12          1845. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
13          1846. This claim is brought against JLI and, for certain unfair and/or unconscionable
14   conduct claims as noted below, all Defendants.
15          1847. Plaintiffs and class members are persons who purchased JUUL products for
16   personal purposes.
17          1848. Defendants created and implemented a scheme to create a market for e-cigarettes
18   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
19   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

20   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

21   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

22   addictiveness, and significant risks of substantial physical injury from using JUUL products.

23          1849. Advertisements and representations for JUUL products contained deceptive

24   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

25   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

26   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

27   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

28   decades, JLI used third parties and word of mouth to spread false and misleading information


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 1   about JUUL products.

 2          1850. Advertisements and representations for JUUL products concealed and failed to

 3   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 4   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 5   addictive, posed significant risks of substantial physical injury resulting from the use of the

 6   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 7   consumed through a pack of combustible cigarettes.

 8          1851. The labels on JUUL products failed to disclose that the products posed

 9   significant risks of substantial physical injury resulting from the use of the products. The labels

10   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
11          1852. The omissions were misleading and deceptive standing alone and were
12   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
13   cigarettes and other representations.
14          1853. JLI’s conduct was unfair and unconscionable in that it included (i) the
15   manufacture and sale of products with a heightened propensity to cause addiction and physical
16   injuries and (ii) misrepresentations and omissions of material facts concerning the
17   characteristics and safety of JUUL products that offended public policy; were immoral,
18   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused
19   substantial harm that greatly outweighs any possible utility from the conduct.

20          1854. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

21   omissions had the capacity to, tendency to, and in fact did, deceive reasonable consumers

22   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

23   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

24   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

25   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

26   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

27   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

28   combustible cigarettes. Knowledge of these facts would have been a substantial factor in


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 1   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 2          1855. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 3   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 4   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 5   facts; because the facts would be material to reasonable consumers; because JLI actively

 6   concealed them; because JLI intended for consumers to rely on the omissions in question;

 7   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 8   made partial representations concerning the same subject matter as the omitted facts.

 9          1856. Defendants knew or should have known that their misrepresentations and/or

10   omissions were false and misleading, and intended for consumers to rely on such
11   misrepresentations and omissions.
12          1857. JLI and the Management Defendants engaged in fraudulent and deceptive
13   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
14   products were appropriate for minors, when in fact the products never should have been
15   marketed to minors and are especially harmful to minors due to the potent and addictive
16   nicotine doses, addictive qualities, and health risks.
17          1858. In addition, all Defendants engaged in unfair and unconscionable conduct
18   because the targeting of minors offends public policy (see, e.g., M.G.L.A. 270 § 6(b)); is
19   immoral, unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and has

20   caused substantial harm that greatly outweighs any possible utility from the conduct.

21          1859. As alleged above, all Defendants participated and/or facilitated the marketing of

22   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

23   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

24   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

25   use of JUUL products by minors continues to rise.

26          1860. Defendants’ conduct actually and proximately caused injury to Plaintiffs and

27   class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and class members

28   would have behaved differently and would not have purchased JUUL products or would have


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 1   paid less for them. Defendants’ misrepresentations and omissions induced Plaintiffs and class

 2   members to purchase JUUL products they would not otherwise have purchased and enter into

 3   purchase contracts they would not otherwise have entered into. In addition, class members who

 4   are minors are entitled to full repayment of the amounts they spent on JUUL products.

 5   Plaintiffs seek—on behalf of themselves and each member of the class—actual damages;

 6   injunctive relief; attorney’s fees and costs; and because Defendants’ conduct was a willful and

 7   knowing violation, punitive damages; as well as any other relief the Court may deem just or

 8   proper.

 9             1861. Plaintiffs have complied or substantially complied with all applicable notice

10   requirements, or are otherwise excused from compliance because Defendants do not maintain a
11   place of business in and/ or do not keep assets within the state of Massachusetts.
12                            b.      Common Law Fraud
13             1862. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
14             1863. This claim is brought against JLI.
15             1864. JUUL created and implemented a scheme to create a market for e-cigarettes and
16   substantially increase sales of JUUL through a pervasive pattern of false and misleading
17   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
18   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
19   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

20   addictiveness, and significant risks of substantial physical injury from using JUUL products.

21             1865. Advertisements and representations for JUUL products contained deceptive

22   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

23   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

24   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

25   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

26   decades, JLI used third parties and word of mouth to spread false and misleading information

27   about JUUL products.

28             1866. Advertisements and representations for JUUL products concealed and failed to


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 1   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 2   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 3   addictive, posed significant risks of substantial physical injury resulting from the use of the

 4   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 5   consumed through a pack of combustible cigarettes.

 6          1867. The labels on JUUL products failed to disclose that the products posed

 7   significant risks of substantial physical injury resulting from the use of the products. The labels

 8   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 9          1868. The omissions were misleading and deceptive standing alone and were

10   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
11   cigarettes and other representations.
12          1869. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
13   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
14   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
15   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
16   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
17   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
18   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
19   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

20   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

21   Plaintiffs’ and class members’ decisions to purchase JUUL products.

22          1870. JLI owed Plaintiffs and class members a duty to disclose these facts because they

23   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

24   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

25   facts; because the facts would be material to reasonable consumers; because JUUL products

26   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

27   representations concerning the same subject matter as the omitted facts.

28          1871. As set forth in the allegations concerning each Plaintiff in Appendix A, in


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 1   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 2   and/or omissions. Reasonable consumers would have been expected to have relied on the

 3   misrepresentations and omissions.

 4          1872. Defendants knew or should have known that their misrepresentations and/or

 5   omissions were false and misleading, and intended for consumers to rely on such

 6   misrepresentations and omissions.

 7          1873. JLI knew that JUUL products were not safe or reasonable alternatives to

 8   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 9   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

10   products.
11          1874. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class
12   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
13   differently and would not have purchased JUUL products or would have paid less for them.
14   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
15   JUUL products they would not otherwise have purchased and enter into purchase contracts they
16   would not otherwise have entered into. Plaintiffs seek, on behalf of themselves and each
17   member of the class, damages in an amount to be proven at trial and punitive damages, as well
18   as any other relief the Court may deem just or proper.
19                          c.      Breach of the Implied Warranty of Merchantability
20          1875. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          1876. This claim is brought against JLI.

22          1877. JUUL has at all times been a merchant with respect to the products which were

23   sold to Plaintiff and the class and was in the business of selling such products.

24          1878. Each JUUL product sold by JUUL comes with an implied warranty that it will

25   merchantable and fit for the ordinary purpose for which it would be used. See M.G.L.A. 106

26   § 2-314. JUUL has breached its implied warranty of merchantability because its products were

27   not in merchantable condition when sold, were defective when sold, did not conform to the

28   promises and affirmations of fact made on the products’ containers or labels, and/or do not


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 1   possess even the most basic degree of fitness for ordinary use.

 2            1879. The ordinary intended purpose of JUUL’s products—and the purpose for which

 3   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 4   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 5   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 6   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed

 7   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s

 8   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 9   recreation smoking devices.

10            1880. Plaintiffs and each member of the class have had sufficient direct dealings with
11   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
12   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
13   each member of the class, on the other hand.
14            1881. Further, Plaintiffs and each member of the class were third-party beneficiaries of
15   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
16   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the
17   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
18   the express purpose an intent of being sold to consumers.
19            1882. Plaintiffs and the members of the class were injured as a direct and proximate

20   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

21   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

22   because, had they been aware of the unmerchantable condition of JUUL products, they would

23   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

24   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

25            1883. JUUL was provided notice of these issues by numerous complaints filed against

26   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

27   individual letters and communications sent by consumers before or within a reasonable amount

28   of time after they discovered or should have discovered that’s JUUL product were defective and


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 1   unmerchantable.

 2                          d.     Unjust Enrichment
 3          1884. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 4          1885. This claim is brought against JLI and the Management Defendants.

 5          1886. Defendants created and implemented a scheme to create a market for e-cigarettes

 6   and substantially increase sales of JUUL products through a pervasive pattern of false and

 7   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

 8   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 9   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

10   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
11   products.
12          1887. Defendants were unjustly enriched as a result of their wrongful conduct,
13   including through the false and misleading advertisements and omissions regarding (i) whether
14   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
15   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
16   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
17   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
18   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
19   enriched through their scheme of marketing their products to minors. Massachusetts law (see

20   M.G.L.A. 270 § 6(b)) prohibits the marketing and sale of JUUL products to minors.

21          1888. Defendants requested and received a measurable benefit at the expense of

22   Plaintiffs and class members in the form of payment for JUUL products.

23          1889. Defendants appreciated, recognized, and chose to accept the monetary benefits

24   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

25   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

26          1890. There is no justification for Defendants’ enrichment. It would be inequitable,

27   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

28   benefits were procured as a result of their wrongful conduct.


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 1          1891. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 2   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 3   with Defendant.

 4          1892. Plaintiffs plead this claim separately as well as in the alternative to their other

 5   claims, as without such claims they would have no adequate legal remedy.

 6                  22.     Michigan
 7          1893. Plaintiffs bring each of the following claims on behalf of the Michigan Subclass

 8   under Michigan law.

 9                          a.     Violation of Michigan Consumer Protection Act (M.C.L.A.
10                                 § 445.901, et seq.)
11          1894. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
12          1895. This claim is brought against JLI.
13          1896. Plaintiffs and class members are individuals who purchased JUUL products for
14   personal purposes.
15          1897. Defendants created and implemented a scheme to create a market for e-cigarettes
16   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
17   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
18   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
19   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

20   addictiveness, and significant risks of substantial physical injury from using JUUL products.

21          1898. Advertisements and representations for JUUL products contained deceptive

22   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

23   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

24   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

25   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

26   decades, JLI used third parties and word of mouth to spread false and misleading information

27   about JUUL products.

28          1899. Advertisements and representations for JUUL products concealed and failed to


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 1   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 2   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 3   addictive, posed significant risks of substantial physical injury resulting from the use of the

 4   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 5   consumed through a pack of combustible cigarettes.

 6          1900. The labels on JUUL products failed to disclose that the products posed

 7   significant risks of substantial physical injury resulting from the use of the products. The labels

 8   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 9          1901. The omissions were misleading and deceptive standing alone and were

10   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
11   cigarettes and other representations.
12          1902.    JUUL’s prohibited fraudulent, deceptive, and unfair business practices conduct
13   includes, but is not limited to the following: (a) representing that the goods or services have
14   characteristics, ingredients, uses, benefits, or quantities that they do not have ; (b)
15   misrepresenting that JUUL products are of a particular standard, quality, or grade, or that goods
16   are of a particular style or model, when they are not; (c) advertising goods or services with
17   intent not to sell them as advertised; (d) failing to reveal a material fact, the omission of which
18   tends to mislead or deceive the consumer, and which fact could not reasonably be known by the
19   consumer; (e) making a representation of fact or statement of fact material to the transaction

20   such that a person reasonably believes the represented or suggested state of affairs to be other

21   than it actually is; and (f) failing to reveal facts that are material to the transaction in light of

22   representations of fact made in a positive manner.

23          1903. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

24   omissions at issue were likely to, and in fact did, deceive reasonable consumers including the

25   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their

26   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not

27   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery

28   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily


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 1   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

 2   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

 3   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’

 4   decisions to purchase JUUL products.

 5             1904. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 6   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 7   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 8   facts; because the facts would be material to reasonable consumers; because JLI actively

 9   concealed them; because JLI intended for consumers to rely on the omissions in question;

10   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
11   made partial representations concerning the same subject matter as the omitted facts.
12             1905. As set forth in the allegations concerning each Plaintiff in Appendix A, in
13   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.
14   Reasonable consumers would have been expected to have relied on the misrepresentations and
15   omissions.
16             1906. Defendants knew or should have known that their misrepresentations and/or
17   omissions were false and misleading, and intended for consumers to rely on such
18   misrepresentations and omissions.
19             1907. Defendants’ conduct actually and proximately caused Plaintiffs and class

20   members to be injured and to sustain losses. Absent Defendants’ unfair and fraudulent conduct,

21   Plaintiffs and class members would have behaved differently and would not have purchased

22   JUUL products or would have paid less for them. Defendants’ misrepresentations and omissions

23   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have

24   purchased and enter into purchase contracts they would not otherwise have entered into. In

25   addition, class members who are minors are entitled to full repayment of the amounts they spent

26   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

27   actual damages and equitable relief, as well as any other relief the Court may deem just or

28   proper.


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 1                          b.     Common Law Fraud
 2          1908. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 3          1909. This claim is brought against JLI.

 4          1910. JUUL created and implemented a scheme to create a market for e-cigarettes and

 5   substantially increase sales of JUUL through a pervasive pattern of false and misleading

 6   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 7   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 8   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 9   addictiveness, and significant risks of substantial physical injury from using JUUL products.

10          1911. Advertisements and representations for JUUL products contained deceptive
11   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
12   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
13   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
14   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
15   decades, JLI used third parties and word of mouth to spread false and misleading information
16   about JUUL products.
17          1912. Advertisements and representations for JUUL products concealed and failed to
18   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed significant risks of substantial physical injury resulting from the use of the

21   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

22   consumed through a pack of combustible cigarettes.

23          1913. The labels on JUUL products failed to disclose that the products posed

24   significant risks of substantial physical injury resulting from the use of the products. The labels

25   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

26          1914. The omissions were misleading and deceptive standing alone and were

27   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

28   cigarettes and other representations.


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 1          1915. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 2   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 3   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 4   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 5   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 6   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 7   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 8   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 9   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

10   Plaintiffs’ and class members’ decisions to purchase JUUL products.
11          1916. JLI owed Plaintiffs and class members a duty to disclose these facts because they
12   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
13   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
14   facts; because the facts would be material to reasonable consumers; because JUUL products
15   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
16   representations concerning the same subject matter as the omitted facts.
17          1917. As set forth in the allegations concerning each Plaintiff in Appendix A, in
18   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
19   and/or omissions. Reasonable consumers would have been expected to have relied on the

20   misrepresentations and omissions.

21          1918. Defendants knew or should have known that their misrepresentations and/or

22   omissions were false and misleading, and intended for consumers to rely on such

23   misrepresentations and omissions.

24          1919. JLI knew that JUUL products were not safe or reasonable alternatives to

25   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

26   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

27   products.

28          1920. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class


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 1   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 2   differently and would not have purchased JUUL products or would have paid less for them.

 3   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 4   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 5   would not otherwise have entered into. Plaintiffs seek, on behalf of themselves and each

 6   member of the class, damages in an amount to be proven at trial and punitive damages, as well

 7   as any other relief the Court may deem just or proper.

 8                           c.      Breach of the Implied Warranty of Merchantability
 9            1921. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

10            1922. This claim is brought against JLI.
11            1923. JUUL has at all times been a merchant with respect to the products which were
12   sold to Plaintiff and the class and was in the business of selling such products.
13            1924. Each JUUL product sold by JUUL comes with an implied warranty that it will
14   merchantable and fit for the ordinary purpose for which it would be used. See M.C.L.A.
15   § 440.2314. JUUL has breached its implied warranty of merchantability because its products
16   were not in merchantable condition when sold, were defective when sold, did not conform to the
17   promises and affirmations of fact made on the products’ containers or labels, and/or do not
18   possess even the most basic degree of fitness for ordinary use.
19            1925. The ordinary intended purpose of JUUL’s products—and the purpose for which

20   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

21   products are not fit for that use—or any other use—because they (i) were not smoking cessation

22   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

23   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

24   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

25   products are not fit for their ordinary, intended use as either cigarette replacement devices or

26   recreation smoking devices.

27            1926. Plaintiffs and each member of the class have had sufficient direct dealings with

28   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized


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 1   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 2   each member of the class, on the other hand.

 3          1927. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 4   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 5   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

 6   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 7   the express purpose an intent of being sold to consumers.

 8          1928. Plaintiffs and the members of the class were injured as a direct and proximate

 9   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

10   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
11   because, had they been aware of the unmerchantable condition of JUUL products, they would
12   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
13   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
14          1929. JUUL was provided notice of these issues by numerous complaints filed against
15   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
16   individual letters and communications sent by consumers before or within a reasonable amount
17   of time after they discovered or should have discovered that’s JUUL product were defective and
18   unmerchantable.
19                          d.     Unjust Enrichment
20          1930. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          1931. This claim is brought against JLI and the Management Defendants.

22          1932. Defendants created and implemented a scheme to create a market for e-cigarettes

23   and substantially increase sales of JUUL products through a pervasive pattern of false and

24   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

25   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

26   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

27   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

28   products.


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 1          1933. Defendants were unjustly enriched as a result of their wrongful conduct,

 2   including through the false and misleading advertisements and omissions regarding (i) whether

 3   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 4   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 5   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 6   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 7   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 8   enriched through their scheme of marketing their products to minors. Michigan law (see

 9   M.C.L.A. § 722.641) prohibits the marketing and sale of JUUL products to minors.

10          1934. Defendants requested and received a measurable benefit at the expense of
11   Plaintiffs and class members in the form of payment for JUUL products.
12          1935. Defendants appreciated, recognized, and chose to accept the monetary benefits
13   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
14   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
15          1936. There is no justification for Defendants’ enrichment. It would be inequitable,
16   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
17   benefits were procured as a result of their wrongful conduct.
18          1937. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
19   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

20   with Defendant.

21          1938. Plaintiffs plead this claim separately as well as in the alternative to their other

22   claims, as without such claims they would have no adequate legal remedy.

23                  23.     Minnesota
24          1939. Plaintiffs bring each of the following claims on behalf of the Minnesota Subclass

25   under Minnesota law.

26                          a.     Violation of Minnesota Prevention of Consumer Fraud Act
27                                 (Minn. Stat. § 325F.69)
28          1940. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.


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 1          1941. This claim is brought against JLI and, for certain claims below, the Management

 2   Defendants.

 3          1942. Plaintiffs and class members are individuals who purchased JUUL products for

 4   personal purposes.

 5          1943. Defendants created and implemented a scheme to create a market for e-cigarettes

 6   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 7   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 8   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 9   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

10   addictiveness, and significant risks of substantial physical injury from using JUUL products.
11          1944. Advertisements and representations for JUUL products contained deceptive
12   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
13   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
14   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
15   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
16   decades, JLI used third parties and word of mouth to spread false and misleading information
17   about JUUL products.
18          1945. Advertisements and representations for JUUL products concealed and failed to
19   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

20   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

21   addictive, posed significant risks of substantial physical injury resulting from the use of the

22   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

23   consumed through a pack of combustible cigarettes.

24          1946. The labels on JUUL products failed to disclose that the products posed

25   significant risks of substantial physical injury resulting from the use of the products. The labels

26   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

27          1947. The omissions were misleading and deceptive standing alone and were

28   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to


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 1   cigarettes and other representations.

 2          1948. JUUL engaged in acts, used, and employed, fraud, false pretenses, false

 3   promises, misrepresentations, misleading statements and deceptive practices. JUUL’s conduct

 4   had the capacity to, tendency to, and in fact did, deceive reasonable consumers including the

 5   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their

 6   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not

 7   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery

 8   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily

 9   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

10   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.
11   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’
12   decisions to purchase JUUL products.
13          1949. JLI owed Plaintiffs and class members a duty to disclose these facts because they
14   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
15   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
16   facts; because the facts would be material to reasonable consumers; because JLI actively
17   concealed them; because JLI intended for consumers to rely on the omissions in question;
18   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
19   made partial representations concerning the same subject matter as the omitted facts.

20          1950. Defendants knew or should have known that their misrepresentations and/or

21   omissions were false and misleading, and intended for consumers to rely on such

22   misrepresentations and omissions.

23          1951. JLI and the Management Defendants engaged in fraudulent and deceptive

24   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

25   products were appropriate for minors, when in fact the products never should have been

26   marketed to minors and are especially harmful to minors due to the potent and addictive

27   nicotine doses, addictive qualities, and health risks.

28          1952. Defendants’ conduct actually and proximately caused injury to Plaintiffs and


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 1   class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and class members

 2   would have behaved differently and would not have purchased JUUL products or would have

 3   paid less for them. Defendants’ misrepresentations and omissions induced Plaintiffs and class

 4   members to purchase JUUL products they would not otherwise have purchased and enter into

 5   purchase contracts they would not otherwise have entered into. In addition, class members who

 6   are minors are entitled to full repayment of the amounts they spent on JUUL products.

 7   Plaintiffs seek—on behalf of themselves and each member of the class—damages, attorney’s

 8   fees and costs, and injunctive relief; as well as any other relief the Court may deem just or

 9   proper. See M.S.A. § 8.31. This cause of action will benefit the public by requiring JUUL to

10   permanently cease the deceptive sale and marketing of dangerous products to consumers in
11   Minnesota and throughout the country, and to require JUUL to cease, and take steps to prevent,
12   the marketing and sale of JUUL products to minors.
13                         b.      Violation of Minnesota False Statement in Advertising Law
14                                 (Minn. Stat. § 325F.67)
15          1953. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
16          1954. This claim is brought against JLI and, for certain claims below, the Management
17   Defendants.
18          1955. Plaintiffs and class members are individuals who purchased JUUL products for
19   personal purposes.

20          1956. Defendants created and implemented a scheme to create a market for e-cigarettes

21   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

22   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

23   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

24   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

25   addictiveness, and significant risks of substantial physical injury from using JUUL products.

26          1957. Advertisements and representations for JUUL products contained deceptive

27   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

28   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible


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 1   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 2   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 3   decades, JLI used third parties and word of mouth to spread false and misleading information

 4   about JUUL products.

 5          1958. Advertisements and representations for JUUL products concealed and failed to

 6   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 7   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 8   addictive, posed significant risks of substantial physical injury resulting from the use of the

 9   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

10   consumed through a pack of combustible cigarettes.
11          1959. The labels on JUUL products failed to disclose that the products posed
12   significant risks of substantial physical injury resulting from the use of the products. The labels
13   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
14          1960. The omissions were misleading and deceptive standing alone and were
15   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
16   cigarettes and other representations.
17          1961. JUUL has made, published, disseminated, circulated and placed before the
18   public, and caused to be made, published, disseminated, circulated and placed before the public
19   advertisements of merchandise for use, consumption, purchase, and sale that contain material

20   assertions, representations, and statements of fact that are untrue, deceptive, and misleading.

21          1962.    JUUL’s conduct had the capacity to, tendency to, and in fact did, deceive

22   reasonable consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs,

23   would have found it material to their purchasing decisions that JUUL’s products (i) were not

24   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)

25   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

26   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

27   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a

28   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor


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 1   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

 2          1963. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 3   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 4   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 5   facts; because the facts would be material to reasonable consumers; because JLI actively

 6   concealed them; because JLI intended for consumers to rely on the omissions in question;

 7   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 8   made partial representations concerning the same subject matter as the omitted facts.

 9          1964. JLI knew or should have known that its misrepresentations and/or omissions

10   were false and misleading, and intended for consumers to rely on such misrepresentations and
11   omissions.
12          1965. JLI and the Management Defendants engaged in fraudulent and deceptive
13   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
14   products were appropriate for minors, when in fact the products never should have been
15   marketed to minors and are especially harmful to minors due to the potent and addictive
16   nicotine doses, addictive qualities, and health risks.
17          1966. Defendants’ conduct actually and proximately caused injury to Plaintiffs and
18   class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and class members
19   would have behaved differently and would not have purchased JUUL products or would have

20   paid less for them. Defendants’ misrepresentations and omissions induced Plaintiffs and class

21   members to purchase JUUL products they would not otherwise have purchased and enter into

22   purchase contracts they would not otherwise have entered into. In addition, class members who

23   are minors are entitled to full repayment of the amounts they spent on JUUL products.

24   Plaintiffs seek—on behalf of themselves and each member of the class—damages, attorney’s

25   fees and costs, and injunctive relief; as well as any other relief the Court may deem just or

26   proper. See M.S.A. § 8.31. This cause of action will benefit the public by requiring JUUL to

27   permanently cease the deceptive sale and marketing of dangerous products to consumers in

28   Minnesota and throughout the country, and to require JUUL to cease, and take steps to prevent,


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 1   the marketing and sale of JUUL products to minors.

 2                          c.     Violation of Minnesota Deceptive Trade Practices Act (Minn.
 3                                 Stat. § 325D.43, et seq.)
 4          1967. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5          1968. This claim is brought against JLI.

 6          1969. Plaintiffs and class members are individuals who purchased JUUL products for

 7   personal purposes.

 8          1970. Defendants created and implemented a scheme to create a market for e-cigarettes

 9   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          1971. Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          1972. Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          1973. The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          1974. The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          1975. JUUL’s conduct constituted the following prohibited fraudulent and deceptive

 6   business practices: (a) misrepresenting that JUUL products have characteristics, ingredients,

 7   uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL products are

 8   of a particular standard, quality, or grade, or that goods are of a particular style or model, when

 9   they are not; (c) advertising goods or services with intent not to sell them as advertised; and (d)

10   engaging in conduct that creates a likelihood of confusion or misunderstanding.
11          1976. JUUL’s conduct had the capacity to, tendency to, and in fact did, deceive
12   reasonable consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs,
13   would have found it material to their purchasing decisions that JUUL’s products (i) were not
14   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)
15   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed
16   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)
17   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a
18   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor
19   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

20          1977. JLI owed Plaintiffs and class members a duty to disclose these facts because they

21   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

22   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

23   facts; because the facts would be material to reasonable consumers; because JLI actively

24   concealed them; because JLI intended for consumers to rely on the omissions in question;

25   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

26   made partial representations concerning the same subject matter as the omitted facts.

27          1978. JUUL’s conduct actually and proximately caused injury to Plaintiffs and class

28   members and is likely to cause injury in the future. Absent Defendants’ unfair and fraudulent


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 1   conduct, Plaintiffs and class members would have behaved differently and would not have

 2   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and

 3   omissions induced Plaintiffs and class members to purchase JUUL products they would not

 4   otherwise have purchased and enter into purchase contracts they would not otherwise have

 5   entered into. In addition, class members who are minors are entitled to full repayment of the

 6   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each

 7   member of the class—injunctive relief, attorney’s fees and costs, and equitable relief; as well as

 8   any other relief the Court may deem just or proper.

 9                          d.     Common Law Fraud
10          1979. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
11          1980. This claim is brought against JLI.
12          1981. JUUL created and implemented a scheme to create a market for e-cigarettes and
13   substantially increase sales of JUUL through a pervasive pattern of false and misleading
14   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
15   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
16   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
17   addictiveness, and significant risks of substantial physical injury from using JUUL products.
18          1982. Advertisements and representations for JUUL products contained deceptive
19   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

20   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

21   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

22   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

23   decades, JLI used third parties and word of mouth to spread false and misleading information

24   about JUUL products.

25          1983. Advertisements and representations for JUUL products concealed and failed to

26   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

27   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

28   addictive, posed significant risks of substantial physical injury resulting from the use of the


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 1   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 2   consumed through a pack of combustible cigarettes.

 3          1984. The labels on JUUL products failed to disclose that the products posed

 4   significant risks of substantial physical injury resulting from the use of the products. The labels

 5   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 6          1985. The omissions were misleading and deceptive standing alone and were

 7   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 8   cigarettes and other representations.

 9          1986. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

10   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
11   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
12   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
13   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
14   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
15   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
16   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
17   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
18   Plaintiffs’ and class members’ decisions to purchase JUUL products.
19          1987. JLI owed Plaintiffs and class members a duty to disclose these facts because they

20   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

21   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

22   facts; because the facts would be material to reasonable consumers; because JUUL products

23   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

24   representations concerning the same subject matter as the omitted facts.

25          1988. As set forth in the allegations concerning each Plaintiff in Appendix A, in

26   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

27   and/or omissions. Reasonable consumers would have been expected to have relied on the

28   misrepresentations and omissions.


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 1          1989. Defendants knew or should have known that their misrepresentations and/or

 2   omissions were false and misleading, and intended for consumers to rely on such

 3   misrepresentations and omissions.

 4          1990. JLI knew that JUUL products were not safe or reasonable alternatives to

 5   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 6   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 7   products.

 8          1991. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class

 9   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

10   differently and would not have purchased JUUL products or would have paid less for them.
11   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
12   JUUL products they would not otherwise have purchased and enter into purchase contracts they
13   would not otherwise have entered into. Plaintiffs seek, on behalf of themselves and each
14   member of the class, damages in an amount to be proven at trial and punitive damages, as well
15   as any other relief the Court may deem just or proper.
16                          e.      Breach of the Implied Warranty of Merchantability
17          1992. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
18          1993. This claim is brought against JLI.
19          1994. JUUL has at all times been a merchant with respect to the products which were

20   sold to Plaintiff and the class and was in the business of selling such products.

21          1995. Each JUUL product sold by JUUL comes with an implied warranty that it will

22   merchantable and fit for the ordinary purpose for which it would be used. See Minn. Stat.

23   § 336.2-314. JUUL has breached its implied warranty of merchantability because its products

24   were not in merchantable condition when sold, were defective when sold, did not conform to the

25   promises and affirmations of fact made on the products’ containers or labels, and/or do not

26   possess even the most basic degree of fitness for ordinary use.

27          1996. The ordinary intended purpose of JUUL’s products—and the purpose for which

28   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s


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 1   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 2   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 3   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

 4   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

 5   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 6   recreation smoking devices.

 7            1997. Plaintiffs and each member of the class have had sufficient direct dealings with

 8   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 9   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

10   each member of the class, on the other hand.
11            1998. Further, Plaintiffs and each member of the class were third-party beneficiaries of
12   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
13   sale of JUUL products to consumers.           Specifically, Plaintiffs and class members are the
14   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
15   the express purpose an intent of being sold to consumers.
16            1999. Plaintiffs and the members of the class were injured as a direct and proximate
17   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
18   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
19   because, had they been aware of the unmerchantable condition of JUUL products, they would

20   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

21   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

22            2000. JUUL was provided notice of these issues by numerous complaints filed against

23   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

24   individual letters and communications sent by consumers before or within a reasonable amount

25   of time after they discovered or should have discovered that’s JUUL product were defective and

26   unmerchantable.

27                           f.      Unjust Enrichment
28            2001. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.


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 1          2002. This claim is brought against JLI and the Management Defendants.

 2          2003. Defendants created and implemented a scheme to create a market for e-cigarettes

 3   and substantially increase sales of JUUL products through a pervasive pattern of false and

 4   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

 5   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 6   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 7   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

 8   products.

 9          2004. Defendants were unjustly enriched as a result of their wrongful conduct,

10   including through the false and misleading advertisements and omissions regarding (i) whether
11   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
12   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
13   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
14   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
15   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
16   enriched through their scheme of marketing their products to minors. Minnesota law (see Minn.
17   Stat. §§ 609.685) prohibits the marketing and sale of JUUL products to minors.
18          2005. Defendants requested and received a measurable benefit at the expense of
19   Plaintiffs and class members in the form of payment for JUUL products.

20          2006. Defendants appreciated, recognized, and chose to accept the monetary benefits

21   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

22   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

23          2007. There is no justification for Defendants’ enrichment. It would be inequitable,

24   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

25   benefits were procured as a result of their wrongful conduct.

26          2008. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

27   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

28   with Defendant.


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 1          2009. Plaintiffs plead this claim separately as well as in the alternative to their other

 2   claims, as without such claims they would have no adequate legal remedy.

 3                  24.     Mississippi
 4          2010. Plaintiffs bring each of the following claims on behalf of the Mississippi

 5   Subclass under Mississippi law.

 6                          a.     Violation of Mississippi Consumer Protection Act (Miss. Code
 7                                 Ann. § 75-24-1, et seq.)
 8          2011. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 9          2012. This claim is brought against JLI.

10          2013. Plaintiffs and class members are individuals who purchased JUUL products for
11   personal purposes.
12          2014. Defendants created and implemented a scheme to create a market for e-cigarettes
13   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
14   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
15   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
16   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
17   addictiveness, and significant risks of substantial physical injury from using JUUL products.
18          2015. Advertisements and representations for JUUL products contained deceptive
19   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

20   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

21   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

22   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

23   decades, JLI used third parties and word of mouth to spread false and misleading information

24   about JUUL products.

25          2016. Advertisements and representations for JUUL products concealed and failed to

26   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

27   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

28   addictive, posed significant risks of substantial physical injury resulting from the use of the


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 1   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 2   consumed through a pack of combustible cigarettes.

 3          2017. The labels on JUUL products failed to disclose that the products posed

 4   significant risks of substantial physical injury resulting from the use of the products. The labels

 5   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 6          2018. The omissions were misleading and deceptive standing alone and were

 7   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 8   cigarettes and other representations.

 9          2019. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

10   unfair business practices: (a) misrepresenting that JUUL products have characteristics,
11   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL
12   products are of a particular standard, quality, or grade, or that goods are of a particular style or
13   model, when they are not; and (c) advertising goods or services with intent not to sell them as
14   advertised.
15          2020. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
16   omissions had the capacity to, had the tendency to, were likely to, and in fact did, deceive
17   reasonable consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs,
18   would have found it material to their purchasing decisions that JUUL’s products (i) were not
19   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)

20   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

21   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

22   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a

23   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

24   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

25          2021. JLI owed Plaintiffs and class members a duty to disclose these facts because they

26   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

27   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

28   facts; because the facts would be material to reasonable consumers; because JLI actively


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 1   concealed them; because JLI intended for consumers to rely on the omissions in question;

 2   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 3   made partial representations concerning the same subject matter as the omitted facts.

 4          2022. Defendants knew or should have known that their misrepresentations and/or

 5   omissions were false and misleading, and intended for consumers to rely on such

 6   misrepresentations and omissions.

 7          2023. Defendants’ conduct actually and proximately caused an ascertainable loss of

 8   money or property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent

 9   conduct, Plaintiffs and class members would have behaved differently and would not have

10   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and
11   omissions induced Plaintiffs and class members to purchase JUUL products they would not
12   otherwise have purchased and enter into purchase contracts they would not otherwise have
13   entered into. In addition, class members who are minors are entitled to full repayment of the
14   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each
15   member of the class—damages, as well as any other relief the Court may deem just or proper.
16                         b.      Common Law Fraud
17          2024. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
18          2025. This claim is brought against JLI.
19          2026. JUUL created and implemented a scheme to create a market for e-cigarettes and

20   substantially increase sales of JUUL through a pervasive pattern of false and misleading

21   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

22   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

23   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

24   addictiveness, and significant risks of substantial physical injury from using JUUL products.

25          2027. Advertisements and representations for JUUL products contained deceptive

26   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

27   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

28   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or


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 1   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 2   decades, JLI used third parties and word of mouth to spread false and misleading information

 3   about JUUL products.

 4          2028. Advertisements and representations for JUUL products concealed and failed to

 5   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 6   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 7   addictive, posed significant risks of substantial physical injury resulting from the use of the

 8   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 9   consumed through a pack of combustible cigarettes.

10          2029. The labels on JUUL products failed to disclose that the products posed
11   significant risks of substantial physical injury resulting from the use of the products. The labels
12   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
13          2030. The omissions were misleading and deceptive standing alone and were
14   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
15   cigarettes and other representations.
16          2031. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
17   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
18   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
19   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

20   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

21   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

22   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

23   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

24   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

25   Plaintiffs’ and class members’ decisions to purchase JUUL products.

26          2032. JLI owed Plaintiffs and class members a duty to disclose these facts because they

27   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

28   other than Plaintiffs and class members), who had exclusive and superior knowledge of the


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 1   facts; because the facts would be material to reasonable consumers; because JUUL products

 2   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 3   representations concerning the same subject matter as the omitted facts.

 4          2033. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 5   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 6   and/or omissions. Reasonable consumers would have been expected to have relied on the

 7   misrepresentations and omissions.

 8          2034. Defendants knew or should have known that their misrepresentations and/or

 9   omissions were false and misleading, and intended for consumers to rely on such

10   misrepresentations and omissions.
11          2035. JLI knew that JUUL products were not safe or reasonable alternatives to
12   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
13   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
14   products.
15          2036. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class
16   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
17   differently and would not have purchased JUUL products or would have paid less for them.
18   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
19   JUUL products they would not otherwise have purchased and enter into purchase contracts they

20   would not otherwise have entered into. Plaintiffs seek, on behalf of themselves and each

21   member of the class, damages in an amount to be proven at trial and punitive damages, as well

22   as any other relief the Court may deem just or proper.

23                          c.      Breach of the Implied Warranty of Merchantability
24          2037. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          2038. This claim is brought against JLI.

26          2039. JUUL has at all times been a merchant with respect to the products which were

27   sold to Plaintiff and the class and was in the business of selling such products.

28          2040. Each JUUL product sold by JUUL comes with an implied warranty that it will


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 1   merchantable and fit for the ordinary purpose for which it would be used. See Miss. Code Ann.

 2   § 75-2-314. JUUL has breached its implied warranty of merchantability because its products

 3   were not in merchantable condition when sold, were defective when sold, did not conform to the

 4   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 5   possess even the most basic degree of fitness for ordinary use.

 6            2041. The ordinary intended purpose of JUUL’s products—and the purpose for which

 7   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 8   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 9   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

10   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed
11   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s
12   products are not fit for their ordinary, intended use as either cigarette replacement devices or
13   recreation smoking devices.
14            2042. Plaintiffs and each member of the class have had sufficient direct dealings with
15   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
16   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
17   each member of the class, on the other hand.
18            2043. Further, Plaintiffs and each member of the class were third-party beneficiaries of
19   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

20   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

21   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

22   the express purpose an intent of being sold to consumers.

23            2044. Plaintiffs and the members of the class were injured as a direct and proximate

24   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

25   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

26   because, had they been aware of the unmerchantable condition of JUUL products, they would

27   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

28   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.


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 1          2045. JUUL was provided notice of these issues by numerous complaints filed against

 2   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 3   individual letters and communications sent by consumers before or within a reasonable amount

 4   of time after they discovered or should have discovered that’s JUUL product were defective and

 5   unmerchantable.

 6                         d.      Unjust Enrichment
 7          2046. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 8          2047. This claim is brought against JLI and the Management Defendants.

 9          2048. Defendants created and implemented a scheme to create a market for e-cigarettes

10   and substantially increase sales of JUUL products through a pervasive pattern of false and
11   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
12   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
13   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
14   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
15   products.
16          2049. Defendants were unjustly enriched as a result of their wrongful conduct,
17   including through the false and misleading advertisements and omissions regarding (i) whether
18   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
19   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

20   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

21   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

22   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

23   enriched through their scheme of marketing their products to minors. Mississippi law (see Miss.

24   Code Ann. § 97-32-51(2)) prohibits the marketing and sale of JUUL products to minors.

25          2050. Defendants requested and received a measurable benefit at the expense of

26   Plaintiffs and class members in the form of payment for JUUL products.

27          2051. Defendants appreciated, recognized, and chose to accept the monetary benefits

28   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the


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 1   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 2          2052. There is no justification for Defendants’ enrichment. It would be inequitable,

 3   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 4   benefits were procured as a result of their wrongful conduct.

 5          2053. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 6   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 7   with Defendant.

 8          2054. Plaintiffs plead this claim separately as well as in the alternative to their other

 9   claims, as without such claims they would have no adequate legal remedy.

10                  25.     Missouri
11          2055. Plaintiffs bring each of the following claims on behalf of the Missouri Subclass
12   under Missouri law.
13                          a.     Violation of the Missouri Merchandising Practices Act (Mo.
14                                 Rev. Stat. § 407.010, et seq.)
15          2056. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
16          2057. This claim is brought against JLI and, for certain unfair and/or unconscionable
17   conduct claims as noted below, all Defendants.
18          2058. Plaintiffs and class members are persons who purchased JUUL products for
19   personal purposes.

20          2059. Defendants created and implemented a scheme to create a market for e-cigarettes

21   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

22   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

23   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

24   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

25   addictiveness, and significant risks of substantial physical injury from using JUUL products.

26          2060. Advertisements and representations for JUUL products contained deceptive

27   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

28   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible


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 1   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 2   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 3   decades, JLI used third parties and word of mouth to spread false and misleading information

 4   about JUUL products.

 5          2061. Advertisements and representations for JUUL products concealed and failed to

 6   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 7   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 8   addictive, posed significant risks of substantial physical injury resulting from the use of the

 9   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

10   consumed through a pack of combustible cigarettes.
11          2062. The labels on JUUL products failed to disclose that the products posed
12   significant risks of substantial physical injury resulting from the use of the products. The labels
13   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
14          2063. The omissions were misleading and deceptive standing alone and were
15   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
16   cigarettes and other representations.
17          2064. JLI’s conduct was unfair and unconscionable in that it included (i) the
18   manufacture and sale of products with a heightened propensity to cause addiction and physical
19   injuries and (ii) misrepresentations and omissions of material facts concerning the

20   characteristics and safety of JUUL products that offended public policy; were immoral,

21   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

22   substantial harm that greatly outweighs any possible utility from the conduct.

23          2065. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

24   omissions had the capacity or tendency to mislead, deceive or cheat, and in fact did, mislead,

25   deceive, and/or cheat reasonable consumers including the Plaintiffs.             In addition, the

26   misrepresentations and omissions were the type that tend to create a false impression.

27   Reasonable consumers, including the Plaintiffs, would have found it material to their purchasing

28   decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not reasonable


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 1   alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery mechanisms,

 2   (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily injury

 3   resulting from the use of the products, and (vi) that the nicotine consumed through one JUUL

 4   pod exceeded the nicotine consumed through a pack of combustible cigarettes. Knowledge of

 5   these facts would have been a substantial factor in Plaintiffs’ and class members’ decisions to

 6   purchase JUUL products.

 7          2066. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 8   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 9   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

10   facts; because the facts would be material to reasonable consumers; because JLI actively
11   concealed them; because JLI intended for consumers to rely on the omissions in question;
12   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
13   made partial representations concerning the same subject matter as the omitted facts.
14          2067. JLI and the Management Defendants engaged in fraudulent and deceptive
15   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
16   products were appropriate for minors, when in fact the products never should have been
17   marketed to minors and are especially harmful to minors due to the potent and addictive
18   nicotine doses, addictive qualities, and health risks.
19          2068. In addition, all Defendants engaged in unfair and unconscionable conduct

20   because the targeting of minors offends public policy (see Mo. Rev. Stat. §§ 407.926 and

21   407.931); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially

22   injurious; and has caused substantial harm that greatly outweighs any possible utility from the

23   conduct.

24          2069. As alleged above, all Defendants participated and/or facilitated the marketing of

25   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

26   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

27   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

28   use of JUUL products by minors continues to rise.


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 1          2070. Defendants’ conduct actually and proximately caused an ascertainable loss of

 2   money or property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent

 3   conduct, Plaintiffs and class members would have behaved differently and would not have

 4   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and

 5   omissions induced Plaintiffs and class members to purchase JUUL products they would not

 6   otherwise have purchased and enter into purchase contracts they would not otherwise have

 7   entered into. In addition, class members who are minors are entitled to full repayment of the

 8   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each

 9   member of the class—actual damages, punitive damages, attorney’s fees, and equitable relief; as

10   well as any other relief the Court may deem just or proper.
11                          b.     Common Law Fraud
12          2071. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
13          2072. This claim is brought against JLI.
14          2073. JUUL created and implemented a scheme to create a market for e-cigarettes and
15   substantially increase sales of JUUL through a pervasive pattern of false and misleading
16   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
17   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
18   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
19   addictiveness, and significant risks of substantial physical injury from using JUUL products.

20          2074. Advertisements and representations for JUUL products contained deceptive

21   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

22   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

23   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

24   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

25   decades, JLI used third parties and word of mouth to spread false and misleading information

26   about JUUL products.

27          2075. Advertisements and representations for JUUL products concealed and failed to

28   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed significant risks of substantial physical injury resulting from the use of the

 3   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 4   consumed through a pack of combustible cigarettes.

 5          2076. The labels on JUUL products failed to disclose that the products posed

 6   significant risks of substantial physical injury resulting from the use of the products. The labels

 7   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 8          2077. The omissions were misleading and deceptive standing alone and were

 9   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

10   cigarettes and other representations.
11          2078. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
12   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
13   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
14   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
15   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
16   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
17   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
18   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
19   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

20   Plaintiffs’ and class members’ decisions to purchase JUUL products.

21          2079. JLI owed Plaintiffs and class members a duty to disclose these facts because they

22   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

23   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

24   facts; because the facts would be material to reasonable consumers; because JUUL products

25   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

26   representations concerning the same subject matter as the omitted facts.

27          2080. As set forth in the allegations concerning each Plaintiff in Appendix A, in

28   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations


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 1   and/or omissions. Reasonable consumers would have been expected to have relied on the

 2   misrepresentations and omissions.

 3          2081. Defendants knew or should have known that their misrepresentations and/or

 4   omissions were false and misleading, and intended for consumers to rely on such

 5   misrepresentations and omissions.

 6          2082. JLI knew that JUUL products were not safe or reasonable alternatives to

 7   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 8   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 9   products.

10          2083. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class
11   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
12   differently and would not have purchased JUUL products or would have paid less for them.
13   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
14   JUUL products they would not otherwise have purchased and enter into purchase contracts they
15   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each
16   member of the class, damages in an amount to be proven at trial and punitive damages, as well
17   as any other relief the Court may deem just or proper.
18                          c.      Breach of the Implied Warranty of Merchantability
19          2084. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

20          2085. This claim is brought against JLI.

21          2086. JUUL has at all times been a merchant with respect to the products which were

22   sold to Plaintiff and the class and was in the business of selling such products.

23          2087. Each JUUL product sold by JUUL comes with an implied warranty that it will

24   merchantable and fit for the ordinary purpose for which it would be used. See Mo. Rev. Stat.

25   § 400.2-314. JUUL has breached its implied warranty of merchantability because its products

26   were not in merchantable condition when sold, were defective when sold, did not conform to the

27   promises and affirmations of fact made on the products’ containers or labels, and/or do not

28   possess even the most basic degree of fitness for ordinary use.


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 1            2088. The ordinary intended purpose of JUUL’s products—and the purpose for which

 2   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 3   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 4   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 5   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed

 6   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s

 7   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 8   recreation smoking devices.

 9            2089. Plaintiffs and each member of the class have had sufficient direct dealings with

10   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
11   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
12   each member of the class, on the other hand.
13            2090. Further, Plaintiffs and each member of the class were third-party beneficiaries of
14   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
15   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the
16   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
17   the express purpose an intent of being sold to consumers.
18            2091. Plaintiffs and the members of the class were injured as a direct and proximate
19   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

20   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

21   because, had they been aware of the unmerchantable condition of JUUL products, they would

22   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

23   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

24            2092. JUUL was provided notice of these issues by numerous complaints filed against

25   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

26   individual letters and communications sent by consumers before or within a reasonable amount

27   of time after they discovered or should have discovered that’s JUUL product were defective and

28   unmerchantable.


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 1                          d.     Unjust Enrichment
 2          2093. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 3          2094. This claim is brought against JLI and the Management Defendants.

 4          2095. Defendants created and implemented a scheme to create a market for e-cigarettes

 5   and substantially increase sales of JUUL products through a pervasive pattern of false and

 6   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

 7   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 8   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 9   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

10   products.
11          2096. Defendants were unjustly enriched as a result of their wrongful conduct,
12   including through the false and misleading advertisements and omissions regarding (i) whether
13   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
14   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
15   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
16   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
17   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
18   enriched through their scheme of marketing their products to minors. Missouri law (see Mo.
19   Rev. Stat. §§ 407.926 and 407.931) prohibits the marketing and sale of JUUL products to

20   minors.

21          2097. Defendants requested and received a measurable benefit at the expense of

22   Plaintiffs and class members in the form of payment for JUUL products.

23          2098. Defendants appreciated, recognized, and chose to accept the monetary benefits

24   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

25   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

26          2099. There is no justification for Defendants’ enrichment. It would be inequitable,

27   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

28   benefits were procured as a result of their wrongful conduct.


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 1          2100. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 2   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 3   with Defendant.

 4          2101. Plaintiffs plead this claim separately as well as in the alternative to their other

 5   claims, as without such claims they would have no adequate legal remedy.

 6                  26.    Montana
 7          2102. Plaintiffs bring each of the following claims on behalf of the Montana Subclass

 8   under Montana law.

 9                         a.      Violation of the Montana Unfair Trade Practices and
10                                 Consumer Protection Act (Mont. Code Ann. § 30-14-101, et
11                                 seq.)
12          2103. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
13          2104. This claim is brought against JLI and, for certain unfair and/or unconscionable
14   conduct claims as noted below, all Defendants.
15          2105. Plaintiffs and class members are persons who purchased JUUL products for
16   personal purposes.
17          2106. Defendants created and implemented a scheme to create a market for e-cigarettes
18   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
19   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

20   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

21   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

22   addictiveness, and significant risks of substantial physical injury from using JUUL products.

23          2107. Advertisements and representations for JUUL products contained deceptive

24   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

25   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

26   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

27   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

28   decades, JLI used third parties and word of mouth to spread false and misleading information


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 1   about JUUL products.

 2          2108. Advertisements and representations for JUUL products concealed and failed to

 3   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 4   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 5   addictive, posed significant risks of substantial physical injury resulting from the use of the

 6   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 7   consumed through a pack of combustible cigarettes.

 8          2109. The labels on JUUL products failed to disclose that the products posed

 9   significant risks of substantial physical injury resulting from the use of the products. The labels

10   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
11          2110. The omissions were misleading and deceptive standing alone and were
12   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
13   cigarettes and other representations.
14          2111. JLI’s conduct was unfair and unconscionable in that it included (i) the
15   manufacture and sale of products with a heightened propensity to cause addiction and physical
16   injuries and (ii) misrepresentations and omissions of material facts concerning the
17   characteristics and safety of JUUL products that offended public policy; were immoral,
18   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused
19   substantial harm that greatly outweighs any possible utility from the conduct.

20          2112. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

21   omissions at issue were likely to, and in fact did, deceive reasonable consumers including the

22   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their

23   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not

24   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery

25   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily

26   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

27   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

28   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’


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 1   decisions to purchase JUUL products.

 2          2113. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 3   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 4   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 5   facts; because the facts would be material to reasonable consumers; because JLI actively

 6   concealed them; because JLI intended for consumers to rely on the omissions in question;

 7   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 8   made partial representations concerning the same subject matter as the omitted facts.

 9          2114. JLI and the Management Defendants engaged in fraudulent and deceptive

10   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
11   products were appropriate for minors, when in fact the products never should have been
12   marketed to minors and are especially harmful to minors due to the potent and addictive
13   nicotine doses, addictive qualities, and health risks.
14          2115. In addition, all Defendants engaged in unfair and unconscionable conduct
15   because the targeting of minors offends public policy (see, e.g., Mont. Code Ann. § 16-11-305);
16   is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and has
17   caused substantial harm that greatly outweighs any possible utility from the conduct.
18          2116. As alleged above, all Defendants participated and/or facilitated the marketing of
19   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

20   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

21   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

22   use of JUUL products by minors continues to rise.

23          2117. Defendants’ conduct actually and proximately caused an ascertainable loss of

24   money or property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent

25   conduct, Plaintiffs and class members would have behaved differently and would not have

26   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and

27   omissions induced Plaintiffs and class members to purchase JUUL products they would not

28   otherwise have purchased and enter into purchase contracts they would not otherwise have


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 1   entered into. In addition, class members who are minors are entitled to full repayment of the

 2   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each

 3   member of the class—actual damages, treble damages, and attorney’s fees, as well as any other

 4   relief the Court may deem just or proper.

 5                          b.     Common Law Fraud
 6          2118. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 7          2119. This claim is brought against JLI.

 8          2120. JUUL created and implemented a scheme to create a market for e-cigarettes and

 9   substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          2121. Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          2122. Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          2123. The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          2124. The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          2125. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 6   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 7   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 8   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 9   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

10   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
11   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
12   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
13   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
14   Plaintiffs’ and class members’ decisions to purchase JUUL products.
15          2126. JLI owed Plaintiffs and class members a duty to disclose these facts because they
16   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
17   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
18   facts; because the facts would be material to reasonable consumers; because JUUL products
19   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

20   representations concerning the same subject matter as the omitted facts.

21          2127. As set forth in the allegations concerning each Plaintiff in Appendix A, in

22   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

23   and/or omissions. Reasonable consumers would have been expected to have relied on the

24   misrepresentations and omissions.

25          2128. Defendants knew or should have known that their misrepresentations and/or

26   omissions were false and misleading, and intended for consumers to rely on such

27   misrepresentations and omissions.

28          2129. JLI knew that JUUL products were not safe or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 3   products.

 4            2130. JUUL’s conduct actually and proximately caused damage to Plaintiffs and class

 5   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 6   differently and would not have purchased JUUL products or would have paid less for them.

 7   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 8   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 9   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

10   member of the class, damages in an amount to be proven at trial and punitive damages, as well
11   as any other relief the Court may deem just or proper.
12                           c.      Breach of the Implied Warranty of Merchantability
13            2131. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
14            2132. This claim is brought against JLI.
15            2133. JUUL has at all times been a merchant with respect to the products which were
16   sold to Plaintiff and the class and was in the business of selling such products.
17            2134. Each JUUL product sold by JUUL comes with an implied warranty that it will
18   merchantable and fit for the ordinary purpose for which it would be used. See Mont. Code Ann.
19   § 30-2-314. JUUL has breached its implied warranty of merchantability because its products

20   were not in merchantable condition when sold, were defective when sold, did not conform to the

21   promises and affirmations of fact made on the products’ containers or labels, and/or do not

22   possess even the most basic degree of fitness for ordinary use.

23            2135. The ordinary intended purpose of JUUL’s products—and the purpose for which

24   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

25   products are not fit for that use—or any other use—because they (i) were not smoking cessation

26   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

27   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

28   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s


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 1   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 2   recreation smoking devices.

 3          2136. Plaintiffs and each member of the class have had sufficient direct dealings with

 4   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 5   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 6   each member of the class, on the other hand.

 7          2137. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 8   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 9   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

10   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
11   the express purpose an intent of being sold to consumers.
12          2138. Plaintiffs and the members of the class were injured as a direct and proximate
13   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
14   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
15   because, had they been aware of the unmerchantable condition of JUUL products, they would
16   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
17   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
18          2139. JUUL was provided notice of these issues by numerous complaints filed against
19   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

20   individual letters and communications sent by consumers before or within a reasonable amount

21   of time after they discovered or should have discovered that’s JUUL product were defective and

22   unmerchantable.

23                          d.     Unjust Enrichment
24          2140. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          2141. This claim is brought against JLI and the Management Defendants.

26          2142. Defendants created and implemented a scheme to create a market for e-cigarettes

27   and substantially increase sales of JUUL products through a pervasive pattern of false and

28   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and


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 1   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 2   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 3   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

 4   products.

 5          2143. Defendants were unjustly enriched as a result of their wrongful conduct,

 6   including through the false and misleading advertisements and omissions regarding (i) whether

 7   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 8   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 9   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

10   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
11   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
12   enriched through their scheme of marketing their products to minors. Montana law (see Mont.
13   Code Ann. § 16-11-305) prohibits the marketing and sale of JUUL products to minors.
14          2144. Defendants requested and received a measurable benefit at the expense of
15   Plaintiffs and class members in the form of payment for JUUL products.
16          2145. Defendants appreciated, recognized, and chose to accept the monetary benefits
17   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
18   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
19          2146. There is no justification for Defendants’ enrichment. It would be inequitable,

20   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

21   benefits were procured as a result of their wrongful conduct.

22          2147. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

23   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

24   with Defendant.

25          2148. Plaintiffs plead this claim separately as well as in the alternative to their other

26   claims, as without such claims they would have no adequate legal remedy.

27                  27.     Nebraska
28          2149. Plaintiffs bring each of the following claims on behalf of the Nebraska Subclass


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 1   under Nebraska law.

 2                          a.     Violation of the Nebraska Consumer Protection Act (Neb.
 3                                 Rev. Stat. §§ 59-1601, et seq.)
 4          2150. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5          2151. This claim is brought against JLI and, for certain unfair and/or unconscionable

 6   conduct claims as noted below, all Defendants.

 7          2152. Plaintiffs and class members and are persons who purchased JUUL products for

 8   personal purposes.

 9          2153. Defendants created and implemented a scheme to create a market for e-cigarettes

10   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
11   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
12   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
13   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
14   addictiveness, and significant risks of substantial physical injury from using JUUL products.
15          2154. Advertisements and representations for JUUL products contained deceptive
16   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
17   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
18   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
19   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

20   decades, JLI used third parties and word of mouth to spread false and misleading information

21   about JUUL products.

22          2155. Advertisements and representations for JUUL products concealed and failed to

23   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

24   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

25   addictive, posed significant risks of substantial physical injury resulting from the use of the

26   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

27   consumed through a pack of combustible cigarettes.

28          2156. The labels on JUUL products failed to disclose that the products posed


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 1   significant risks of substantial physical injury resulting from the use of the products. The labels

 2   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 3          2157. The omissions were misleading and deceptive standing alone and were

 4   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 5   cigarettes and other representations.

 6          2158. JLI’s conduct was unfair and unconscionable in that it included (i) the

 7   manufacture and sale of products with a heightened propensity to cause addiction and physical

 8   injuries and (ii) misrepresentations and omissions of material facts concerning the

 9   characteristics and safety of JUUL products that offended public policy; were immoral,

10   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused
11   substantial harm that greatly outweighs any possible utility from the conduct.
12          2159. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
13   omissions at issue were likely to, and in fact did, deceive reasonable consumers and had the
14   tendency or capacity to mislead reasonable consumers, including the Plaintiffs. Reasonable
15   consumers, including the Plaintiffs, would have found it material to their purchasing decisions
16   that JUUL’s products (i) were not smoking cessation devices, (ii) were not reasonable
17   alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery mechanisms,
18   (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily injury
19   resulting from the use of the products, and (vi) that the nicotine consumed through one JUUL

20   pod exceeded the nicotine consumed through a pack of combustible cigarettes. Knowledge of

21   these facts would have been a substantial factor in Plaintiffs’ and class members’ decisions to

22   purchase JUUL products.

23          2160. JLI owed Plaintiffs and class members a duty to disclose these facts because they

24   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

25   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

26   facts; because the facts would be material to reasonable consumers; because JLI actively

27   concealed them; because JLI intended for consumers to rely on the omissions in question;

28   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI


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 1   made partial representations concerning the same subject matter as the omitted facts.

 2          2161. Defendants knew or should have known that their misrepresentations and/or

 3   omissions were false and misleading, and intended for consumers to rely on such

 4   misrepresentations and omissions.

 5          2162. JLI and the Management Defendants engaged in fraudulent and deceptive

 6   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 7   products were appropriate for minors, when in fact the products never should have been

 8   marketed to minors and are especially harmful to minors due to the potent and addictive

 9   nicotine doses, addictive qualities, and health risks.

10          2163. In addition, all Defendants engaged in unfair and unconscionable conduct
11   because the targeting of minors offends public policy (in particular Neb. Rev. Stat. §§ 28-1419;
12   28-1425); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially
13   injurious; and has caused substantial harm that greatly outweighs any possible utility from the
14   conduct.
15          2164. As alleged above, all Defendants participated and/or facilitated the marketing of
16   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI
17   and others have continued the deceptive, misleading, unfair, and unconscionable practices that
18   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the
19   use of JUUL products by minors continues to rise.

20          2165. Defendants’ deceptive and unfair conduct has had a detrimental impact on the

21   public interest

22          2166. Defendants’ conduct actually and proximately caused loss of money or property

23   to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs

24   and class members would have behaved differently and would not have purchased JUUL

25   products or would have paid less for them. Defendants’ misrepresentations and omissions

26   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have

27   purchased and enter into purchase contracts they would not otherwise have entered into. In

28   addition, class members who are minors are entitled to full repayment of the amounts they spent


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 1   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

 2   actual damages (as increased as the Court may deem fit), injunctive relief, and reasonable

 3   attorneys’ fees, as well as any other relief the Court may deem just or proper.

 4                          b.     Violation of the Nebraska Uniform Deceptive Trade Practices
 5                                 Act (Neb. Rev. Stat. §§ 87-301, et seq.)
 6          2167. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 7          2168. This claim is brought against JLI.

 8          2169. Plaintiffs and class members are persons who purchased JUUL products for

 9   personal purposes.

10          2170. Defendants created and implemented a scheme to create a market for e-cigarettes
11   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
12   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
13   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
14   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
15   addictiveness, and significant risks of substantial physical injury from using JUUL products.
16          2171. Advertisements and representations for JUUL products contained deceptive
17   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
18   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
19   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

20   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

21   decades, JLI used third parties and word of mouth to spread false and misleading information

22   about JUUL products.

23          2172. Advertisements and representations for JUUL products concealed and failed to

24   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

25   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

26   addictive, posed significant risks of substantial physical injury resulting from the use of the

27   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

28   consumed through a pack of combustible cigarettes.


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 1          2173. The labels on JUUL products failed to disclose that the products posed

 2   significant risks of substantial physical injury resulting from the use of the products. The labels

 3   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 4          2174. The omissions were misleading and deceptive standing alone and were

 5   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 6   cigarettes and other representations.

 7          2175. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 8   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

 9   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

10   products are of a particular standard, quality, or grade, or that goods are of a particular style or
11   model, when they are not; (c) advertising goods or services with intent not to sell them as
12   advertised; (d) causing confusion or misunderstanding as to the effects a substance causes when
13   ingested, inhaled, or otherwise introduced into the human body; and (e) making a deceptives
14   and misleading representations, and omitting material information, about a substance and failing
15   to identify the contents of the package or the nature of the substance contained inside the
16   package.
17          2176. JUUL’s conduct had the capacity to and was likely to, and in fact did, deceive
18   reasonable consumers, including the Plaintiffs. Reasonable consumers, including the Plaintiffs,
19   would have found it material to their purchasing decisions that JUUL’s products (i) were not

20   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)

21   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

22   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

23   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a

24   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

25   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

26          2177. JLI owed Plaintiffs and class members a duty to disclose these facts because they

27   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

28   other than Plaintiffs and class members), who had exclusive and superior knowledge of the


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 1   facts; because the facts would be material to reasonable consumers; because JLI actively

 2   concealed them; because JLI intended for consumers to rely on the omissions in question;

 3   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 4   made partial representations concerning the same subject matter as the omitted facts.

 5          2178. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 6   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

 7   Reasonable consumers would have been expected to have relied on the misrepresentations and

 8   omissions.

 9          2179. JUUL’s conduct actually and proximately caused actual damages to Plaintiffs

10   and class members, and is likely to cause damage in the future. Absent JUUL’s conduct,
11   Plaintiffs and class members would have behaved differently and would not have purchased
12   JUUL products or would have paid less for them. Defendants’ misrepresentations and omissions
13   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have
14   purchased and enter into purchase contracts they would not otherwise have entered into. In
15   addition, class members who are minors are entitled to full repayment of the amounts they spent
16   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
17   injunctive relief, as well as any other relief the Court may deem just or proper. Plaintiffs are
18   also entitled to reasonable attorneys’ fees because JUUL willfully engaged in trade practices
19   that are known to be deceptive.

20                         c.      Common Law Fraud
21          2180. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

22          2181. This claim is brought against JLI.

23          2182. JUUL created and implemented a scheme to create a market for e-cigarettes and

24   substantially increase sales of JUUL through a pervasive pattern of false and misleading

25   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

26   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

27   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

28   addictiveness, and significant risks of substantial physical injury from using JUUL products.


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 1          2183. Advertisements and representations for JUUL products contained deceptive

 2   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 3   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 4   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 5   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 6   decades, JLI used third parties and word of mouth to spread false and misleading information

 7   about JUUL products.

 8          2184. Advertisements and representations for JUUL products concealed and failed to

 9   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

10   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
11   addictive, posed significant risks of substantial physical injury resulting from the use of the
12   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
13   consumed through a pack of combustible cigarettes.
14          2185. The labels on JUUL products failed to disclose that the products posed
15   significant risks of substantial physical injury resulting from the use of the products. The labels
16   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
17          2186. The omissions were misleading and deceptive standing alone and were
18   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
19   cigarettes and other representations.

20          2187. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

21   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

22   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

23   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

24   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

25   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

26   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

27   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

28   combustible cigarettes. Knowledge of these facts would have been a substantial factor in


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 1   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 2          2188. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 3   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 4   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 5   facts; because the facts would be material to reasonable consumers; because JUUL products

 6   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 7   representations concerning the same subject matter as the omitted facts.

 8          2189. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 9   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

10   and/or omissions. Reasonable consumers would have been expected to have relied on the
11   misrepresentations and omissions.
12          2190. Defendants knew or should have known that their misrepresentations and/or
13   omissions were false and misleading, and intended for consumers to rely on such
14   misrepresentations and omissions.
15          2191. JLI knew that JUUL products were not safe or reasonable alternatives to
16   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
17   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
18   products.
19          2192. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

20   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

21   differently and would not have purchased JUUL products or would have paid less for them.

22   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

23   JUUL products they would not otherwise have purchased and enter into purchase contracts they

24   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

25   member of the class damages in an amount to be proven at trial, as well as any other relief the

26   Court may deem just or proper.

27                         d.      Breach of the Implied Warranty of Merchantability
28          2193. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.


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 1            2194. This claim is brought against JLI.

 2            2195. JUUL has at all times been a merchant with respect to the products which were

 3   sold to Plaintiff and the class and was in the business of selling such products.

 4            2196. Each JUUL product sold by JUUL comes with an implied warranty that it will

 5   merchantable and fit for the ordinary purpose for which it would be used. Neb. U.C.C. § 2-314.

 6   JUUL has breached its implied warranty of merchantability because its products were not in

 7   merchantable condition when sold, were defective when sold, did not conform to the promises

 8   and affirmations of fact made on the products’ containers or labels, and/or do not possess even

 9   the most basic degree of fitness for ordinary use.

10            2197. The ordinary intended purpose of JUUL’s products—and the purpose for which
11   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
12   products are not fit for that use—or any other use—because they (i) were not smoking cessation
13   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
14   potent    nicotine-delivery   mechanisms,    (iv) were   powerfully    addictive, and (v) posed
15   unreasonable risks of substantial bodily injury.      Due to these and other features, JUUL’s
16   products are not fit for their ordinary, intended use as either cigarette replacement devices or
17   recreation smoking devices.
18            2198. Plaintiffs and each member of the class have had sufficient direct dealings with
19   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

20   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

21   each member of the class, on the other hand.

22            2199. Further, Plaintiffs and each member of the class were third-party beneficiaries of

23   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

24   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

25   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

26   the express purpose an intent of being sold to consumers.

27            2200. Plaintiffs and the members of the class were injured as a direct and proximate

28   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of


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 1   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

 2   because, had they been aware of the unmerchantable condition of JUUL products, they would

 3   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

 4   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

 5          2201. JUUL was provided notice of these issues by numerous complaints filed against

 6   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 7   individual letters and communications sent by consumers before or within a reasonable amount

 8   of time after they discovered or should have discovered that’s JUUL product were defective and

 9   unmerchantable.

10                          e.     Unjust Enrichment
11          2202. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
12          2203. This claim is brought against JLI and the Management Defendants.
13          2204. Defendants created and implemented a scheme to create a market for e-cigarettes
14   and substantially increase sales of JUUL products through a pervasive pattern of false and
15   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
16   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
17   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
18   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
19   products.

20          2205. Defendants were unjustly enriched as a result of their wrongful conduct,

21   including through the false and misleading advertisements and omissions regarding (i) whether

22   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

23   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

24   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

25   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

26   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

27   enriched through their scheme of marketing their products to minors. Neb. Rev. Stat. §§ 28-

28   1419 and 28-1425 prohibit the marketing and sale of JUUL products to minors.


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 1          2206. Defendants requested and received a measurable benefit at the expense of

 2   Plaintiffs and class members in the form of payment for JUUL products.

 3          2207. Defendants appreciated, recognized, and chose to accept the monetary benefits

 4   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 5   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 6          2208. There is no justification for Defendants’ enrichment. It would be inequitable,

 7   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 8   benefits were procured as a result of their wrongful conduct.

 9          2209. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

10   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
11   with Defendant.
12          2210. Plaintiffs plead this claim separately as well as in the alternative to their other
13   claims, as without such claims they would have no adequate legal remedy.
14                  28.     Nevada
15          2211. Plaintiffs bring each of the following claims on behalf of the Nevada Subclass
16   under Nevada law.
17                          a.     Violation of the Nevada Deceptive Trade Practices Act (Nev.
18                                 Rev. Stat. §§ 598.0903, et seq.)
19          2212. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

20          2213. This claim is brought against JLI, and for certain claims below, the Management

21   Defendants.

22          2214. Plaintiffs and class members purchased JUUL products for personal purposes.

23          2215. Defendants created and implemented a scheme to create a market for e-cigarettes

24   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

25   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

26   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

27   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

28   addictiveness, and significant risks of substantial physical injury from using JUUL products.


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 1          2216. Advertisements and representations for JUUL products contained deceptive

 2   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 3   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 4   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 5   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 6   decades, JLI used third parties and word of mouth to spread false and misleading information

 7   about JUUL products.

 8          2217. Advertisements and representations for JUUL products concealed and failed to

 9   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

10   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
11   addictive, posed significant risks of substantial physical injury resulting from the use of the
12   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
13   consumed through a pack of combustible cigarettes.
14          2218. The labels on JUUL products failed to disclose that the products posed
15   significant risks of substantial physical injury resulting from the use of the products. The labels
16   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
17          2219. The omissions were misleading and deceptive standing alone and were
18   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
19   cigarettes and other representations.

20          2220.    JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

21   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

22   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

23   products are of a particular standard, quality, or grade, or that goods are of a particular style or

24   model, when they are not; (c) advertising goods or services with intent not to sell them as

25   advertised; (d) knowingly making other false representations in a transaction; and (e) failing to

26   disclose a material fact in connection with the sale of goods or services.

27          2221. JLI’s conduct was likely to, and in fact did, deceive reasonable consumers

28   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it


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 1   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 2   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 3   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 4   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 5   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 6   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 7   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 8          2222. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 9   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

10   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
11   facts; because the facts would be material to reasonable consumers; because JLI actively
12   concealed them; because JLI intended for consumers to rely on the omissions in question;
13   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
14   made partial representations concerning the same subject matter as the omitted facts.
15          2223. JLI’s conduct was unlawful because it violated state and federal statutes and
16   regulations relating to the sale of e-cigarettes, including the Racketeer Influenced and Corrupt
17   Organizations Act, 18 U.S.C. § 1961, et seq.; the Magnuson-Moss Warranty Act, 15 U.S.C.
18   §§ 2301, et seq.; and Nev. Rev. Stat. § 202.24935.
19          2224. As set forth in the allegations concerning each Plaintiff in Appendix A, in

20   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

21   Reasonable consumers would have been expected to have relied on the misrepresentations and

22   omissions.

23          2225. Defendants knew or should have known that their misrepresentations and/or

24   omissions were false and misleading, and intended for consumers to rely on such

25   misrepresentations and omissions.

26          2226. JLI and the Management Defendants engaged in fraudulent and deceptive

27   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

28   products were appropriate for minors, when in fact the products never should have been


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 1   marketed to minors and are especially harmful to minors due to the potent and addictive

 2   nicotine doses, addictive qualities, and health risks.

 3          2227. Defendants’ conduct actually and proximately caused actual damages to

 4   Plaintiffs and class members, who were victims of Defendants’ unfair and fraudulent conduct.

 5   Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and class members would have

 6   behaved differently and would not have purchased JUUL products or would have paid less for

 7   them. Defendants’ misrepresentations and omissions induced Plaintiffs and class members to

 8   purchase JUUL products they would not otherwise have purchased and enter into purchase

 9   contracts they would not otherwise have entered into. In addition, class members who are

10   minors are entitled to full repayment of the amounts they spent on JUUL products. Plaintiffs
11   seek—on behalf of themselves and each member of the class—actual damages, injunctive relief,
12   and reasonable attorneys’ fees, as well as any other relief the Court may deem just or proper.
13   Nev. Rev. Stat. § 41.600(1), (2)(e).
14                          b.      Common Law Fraud
15          2228. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
16          2229. This claim is brought against JLI.
17          2230. JUUL created and implemented a scheme to create a market for e-cigarettes and
18   substantially increase sales of JUUL through a pervasive pattern of false and misleading
19   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

20   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

21   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

22   addictiveness, and significant risks of substantial physical injury from using JUUL products.

23          2231. Advertisements and representations for JUUL products contained deceptive

24   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

25   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

26   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

27   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

28   decades, JLI used third parties and word of mouth to spread false and misleading information


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 1   about JUUL products.

 2          2232. Advertisements and representations for JUUL products concealed and failed to

 3   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 4   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 5   addictive, posed significant risks of substantial physical injury resulting from the use of the

 6   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 7   consumed through a pack of combustible cigarettes.

 8          2233. The labels on JUUL products failed to disclose that the products posed

 9   significant risks of substantial physical injury resulting from the use of the products. The labels

10   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
11          2234. The omissions were misleading and deceptive standing alone and were
12   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
13   cigarettes and other representations.
14          2235. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
15   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
16   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
17   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
18   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
19   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

20   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

21   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

22   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

23   Plaintiffs’ and class members’ decisions to purchase JUUL products.

24          2236. JLI owed Plaintiffs and class members a duty to disclose these facts because they

25   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

26   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

27   facts; because the facts would be material to reasonable consumers; because JUUL products

28   pose an unreasonable risk of substantial bodily injury; and because JLI made partial


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 1   representations concerning the same subject matter as the omitted facts.

 2          2237. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 3   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 4   and/or omissions. Reasonable consumers would have been expected to have relied on the

 5   misrepresentations and omissions.

 6          2238. Defendants knew or should have known that their misrepresentations and/or

 7   omissions were false and misleading, and intended for consumers to rely on such

 8   misrepresentations and omissions.

 9          2239. JLI knew that JUUL products were not safe or reasonable alternatives to

10   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
11   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
12   products.
13          2240. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class
14   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
15   differently and would not have purchased JUUL products or would have paid less for them.
16   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
17   JUUL products they would not otherwise have purchased and enter into purchase contracts they
18   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each
19   member of the class damages in an amount to be proven at trial, as well as any other relief the

20   Court may deem just or proper.

21                          c.      Breach of the Implied Warranty of Merchantability
22          2241. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

23          2242. This claim is brought against JLI.

24          2243. JUUL has at all times been a merchant with respect to the products which were

25   sold to Plaintiff and the class and was in the business of selling such products.

26          2244. Each JUUL product sold by JUUL comes with an implied warranty that it will

27   merchantable and fit for the ordinary purpose for which it would be used. Nev. Rev. Stat. Ann.

28   § 104. JUUL has breached its implied warranty of merchantability because its products were


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 1   not in merchantable condition when sold, were defective when sold, did not conform to the

 2   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 3   possess even the most basic degree of fitness for ordinary use.

 4            2245. The ordinary intended purpose of JUUL’s products—and the purpose for which

 5   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 6   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 7   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 8   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed

 9   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s

10   products are not fit for their ordinary, intended use as either cigarette replacement devices or
11   recreation smoking devices.
12            2246. Plaintiffs and each member of the class have had sufficient direct dealings with
13   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
14   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
15   each member of the class, on the other hand.
16            2247. Further, Plaintiffs and each member of the class were third-party beneficiaries of
17   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
18   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the
19   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

20   the express purpose an intent of being sold to consumers.

21            2248. Plaintiffs and the members of the class were injured as a direct and proximate

22   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

23   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

24   because, had they been aware of the unmerchantable condition of JUUL products, they would

25   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

26   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

27            2249. JUUL was provided notice of these issues by numerous complaints filed against

28   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous


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 1   individual letters and communications sent by consumers before or within a reasonable amount

 2   of time after they discovered or should have discovered that’s JUUL product were defective and

 3   unmerchantable.

 4                          d.     Unjust Enrichment
 5          2250. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 6          2251. This claim is brought against JLI and the Management Defendants.

 7          2252. Defendants created and implemented a scheme to create a market for e-cigarettes

 8   and substantially increase sales of JUUL products through a pervasive pattern of false and

 9   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

10   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
11   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
12   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
13   products.
14          2253. Defendants were unjustly enriched as a result of their wrongful conduct,
15   including through the false and misleading advertisements and omissions regarding (i) whether
16   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
17   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
18   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
19   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

20   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

21   enriched through their scheme of marketing their products to minors. Nev. Rev. Stat.

22   § 202.24935 prohibits the marketing and sale of JUUL products to minors.

23          2254. Defendants requested and received a measurable benefit at the expense of

24   Plaintiffs and class members in the form of payment for JUUL products.

25          2255. Defendants appreciated, recognized, and chose to accept the monetary benefits

26   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

27   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

28          2256. There is no justification for Defendants’ enrichment. It would be inequitable,


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 1   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 2   benefits were procured as a result of their wrongful conduct.

 3          2257. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 4   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 5   with Defendant.

 6          2258. Plaintiffs plead this claim separately as well as in the alternative to their other

 7   claims, as without such claims they would have no adequate legal remedy.

 8                  29.    New Hampshire
 9          2259. Plaintiffs bring each of the following claims on behalf of the New Hampshire

10   Subclass under New Hampshire law.
11                         a.      Violation of the New Hampshire Regulation of Business
12                                 Practices for Consumer Protection (N.H. Rev. Stat. §§ 358-
13                                 A:1, et seq.)
14          2260. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
15          2261. This claim is brought against JLI and, for certain unfair and/or unconscionable
16   conduct claims as noted below, all Defendants.
17          2262. The marketing and sale of JUUL products constitutes “trade” and “commerce” as
18   defined by statute. Defendants are “persons” as defined by the statute.
19          2263. Plaintiffs and class members purchased JUUL products for personal purposes.

20          2264. Defendants created and implemented a scheme to create a market for e-cigarettes

21   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

22   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

23   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

24   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

25   addictiveness, and significant risks of substantial physical injury from using JUUL products.

26          2265. Advertisements and representations for JUUL products contained deceptive

27   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

28   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible


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 1   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 2   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 3   decades, JLI used third parties and word of mouth to spread false and misleading information

 4   about JUUL products.

 5          2266. Advertisements and representations for JUUL products concealed and failed to

 6   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 7   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 8   addictive, posed significant risks of substantial physical injury resulting from the use of the

 9   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

10   consumed through a pack of combustible cigarettes.
11          2267. The labels on JUUL products failed to disclose that the products posed
12   significant risks of substantial physical injury resulting from the use of the products. The labels
13   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
14          2268. The omissions were misleading and deceptive standing alone and were
15   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
16   cigarettes and other representations.
17          2269. JLI’s conduct was unfair and unconscionable in that it included (i) the
18   manufacture and sale of products with a heightened propensity to cause addiction and physical
19   injuries and (ii) misrepresentations and omissions of material facts concerning the

20   characteristics and safety of JUUL products that offended public policy; were immoral,

21   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

22   substantial harm that greatly outweighs any possible utility from the conduct.

23          2270. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

24   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

25   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

26   products are of a particular standard, quality, or grade, or that goods are of a particular style or

27   model, when they are not; or (c) advertising goods or services with intent not to sell them as

28   advertised.


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 1          2271. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 2   omissions created a likelihood of confusion or misunderstanding reasonable consumers,

 3   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 4   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 5   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 6   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 7   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 8   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 9   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

10   Plaintiffs’ and class members’ decisions to purchase JUUL products. In addition, JUUL’s
11   fraudulent and deceptive conduct was of a level of rascality that would raise an eyebrow of
12   someone inured to the rough and tumble of the world of commerce.
13          2272. JLI owed Plaintiffs and class members a duty to disclose these facts because they
14   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
15   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
16   facts; because the facts would be material to reasonable consumers; because JLI actively
17   concealed them; because JLI intended for consumers to rely on the omissions in question;
18   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
19   made partial representations concerning the same subject matter as the omitted facts.

20          2273. JLI and the Management Defendants engaged in fraudulent and deceptive

21   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

22   products were appropriate for minors, when in fact the products never should have been

23   marketed to minors and are especially harmful to minors due to the potent and addictive

24   nicotine doses, addictive qualities, and health risks.

25          2274. Defendants knew or should have known that its misrepresentations and/or

26   omissions were false and misleading, and intended for consumers to rely on such

27   misrepresentations and omissions.

28          2275. In addition, all Defendants engaged in unfair and unconscionable conduct


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 1   because the targeting of minors offends public policy (in particular N.H. Rev. Stat. Ann.

 2   §§ 126-K:4); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially

 3   injurious; and has caused substantial harm that greatly outweighs any possible utility from the

 4   conduct.

 5          2276. As alleged above, all Defendants participated and/or facilitated the marketing of

 6   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 7   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 8   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 9   use of JUUL products by minors continues to rise.

10          2277. Defendants’ conduct actually and proximately caused loss of money or property
11   to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs
12   and class members would have behaved differently and would not have purchased JUUL
13   products or would have paid less for them. Defendants’ misrepresentations and omissions
14   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have
15   purchased and enter into purchase contracts they would not otherwise have entered into. In
16   addition, class members who are minors are entitled to full repayment of the amounts they spent
17   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
18   threefold their actual damages and statutory damages in the amount of $1,000, whichever is
19   greater, injunctive relief, and reasonable attorneys’ fees, as well as any other relief the Court

20   may deem just or proper.

21                         b.      Common Law Fraud
22          2278. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

23          2279. This claim is brought against JLI.

24          2280. JUUL created and implemented a scheme to create a market for e-cigarettes and

25   substantially increase sales of JUUL through a pervasive pattern of false and misleading

26   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

27   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

28   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,


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 1   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 2          2281. Advertisements and representations for JUUL products contained deceptive

 3   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 4   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 5   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 6   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 7   decades, JLI used third parties and word of mouth to spread false and misleading information

 8   about JUUL products.

 9          2282. Advertisements and representations for JUUL products concealed and failed to

10   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
11   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
12   addictive, posed significant risks of substantial physical injury resulting from the use of the
13   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
14   consumed through a pack of combustible cigarettes.
15          2283. The labels on JUUL products failed to disclose that the products posed
16   significant risks of substantial physical injury resulting from the use of the products. The labels
17   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
18          2284. The omissions were misleading and deceptive standing alone and were
19   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

20   cigarettes and other representations.

21          2285. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

22   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

23   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

24   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

25   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

26   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

27   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

28   consumed through one JUUL pod exceeded the nicotine consumed through a pack of


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 1   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 2   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 3          2286. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 4   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 5   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 6   facts; because the facts would be material to reasonable consumers; because JUUL products

 7   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 8   representations concerning the same subject matter as the omitted facts.

 9          2287. As set forth in the allegations concerning each Plaintiff in Appendix A, in

10   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
11   and/or omissions. Reasonable consumers would have been expected to have relied on the
12   misrepresentations and omissions.
13          2288. Defendants knew or should have known that their misrepresentations and/or
14   omissions were false and misleading, and intended for consumers to rely on such
15   misrepresentations and omissions.
16          2289. JLI knew that JUUL products were not safe or reasonable alternatives to
17   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
18   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
19   products.

20          2290. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

21   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

22   differently and would not have purchased JUUL products or would have paid less for them.

23   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

24   JUUL products they would not otherwise have purchased and enter into purchase contracts they

25   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

26   member of the class damages in an amount to be proven at trial, as well as any other relief the

27   Court may deem just or proper.

28


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 1                           c.      Breach of the Implied Warranty of Merchantability
 2            2291. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 3            2292. This claim is brought against JLI.

 4            2293. JUUL has at all times been a merchant with respect to the products which were

 5   sold to Plaintiff and the class and was in the business of selling such products.

 6            2294. Each JUUL product sold by JUUL comes with an implied warranty that it will

 7   merchantable and fit for the ordinary purpose for which it would be used. N.H. Rev. Stat.

 8   § 382—A:2A-212. JUUL has breached its implied warranty of merchantability because its

 9   products were not in merchantable condition when sold, were defective when sold, did not

10   conform to the promises and affirmations of fact made on the products’ containers or labels,
11   and/or do not possess even the most basic degree of fitness for ordinary use.
12            2295. The ordinary intended purpose of JUUL’s products—and the purpose for which
13   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
14   products are not fit for that use—or any other use—because they (i) were not smoking cessation
15   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
16   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed
17   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s
18   products are not fit for their ordinary, intended use as either cigarette replacement devices or
19   recreation smoking devices.

20            2296. Plaintiffs and each member of the class have had sufficient direct dealings with

21   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

22   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

23   each member of the class, on the other hand.

24            2297. Further, Plaintiffs and each member of the class were third-party beneficiaries of

25   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

26   sale of JUUL products to consumers.           Specifically, Plaintiffs and class members are the

27   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

28   the express purpose an intent of being sold to consumers.


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 1          2298. Plaintiffs and the members of the class were injured as a direct and proximate

 2   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

 3   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

 4   because, had they been aware of the unmerchantable condition of JUUL products, they would

 5   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

 6   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

 7          2299. JUUL was provided notice of these issues by numerous complaints filed against

 8   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 9   individual letters and communications sent by consumers before or within a reasonable amount

10   of time after they discovered or should have discovered that’s JUUL product were defective and
11   unmerchantable.
12                          d.     Unjust Enrichment
13          2300. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
14          2301. This claim is brought against JLI and the Management Defendants.
15          2302. Defendants created and implemented a scheme to create a market for e-cigarettes
16   and substantially increase sales of JUUL products through a pervasive pattern of false and
17   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
18   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
19   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

20   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

21   products.

22          2303. Defendants were unjustly enriched as a result of their wrongful conduct,

23   including through the false and misleading advertisements and omissions regarding (i) whether

24   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

25   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

26   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

27   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

28   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly


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 1   enriched through their scheme of marketing their products to minors. N.H. Rev. Stat. Ann.

 2   § 126-K:4 prohibits the sale of JUUL products to minors.

 3          2304. Defendants requested and received a measurable benefit at the expense of

 4   Plaintiffs and class members in the form of payment for JUUL products.

 5          2305. Defendants appreciated, recognized, and chose to accept the monetary benefits

 6   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 7   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 8          2306. There is no justification for Defendants’ enrichment. It would be inequitable,

 9   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

10   benefits were procured as a result of their wrongful conduct.
11          2307. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
12   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
13   with Defendant.
14          2308. Plaintiffs plead this claim separately as well as in the alternative to their other
15   claims, as without such claims they would have no adequate legal remedy.
16                  30.     New Jersey
17          2309. Plaintiffs bring each of the following claims on behalf of the New Jersey
18   Subclass under New Jersey law.
19                          a.     Common Law Fraud
20          2310. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          2311. This claim is brought against JLI.

22          2312. JUUL created and implemented a scheme to create a market for e-cigarettes and

23   substantially increase sales of JUUL through a pervasive pattern of false and misleading

24   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

25   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

26   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

27   addictiveness, and significant risks of substantial physical injury from using JUUL products.

28          2313. Advertisements and representations for JUUL products contained deceptive


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 1   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 2   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 3   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 4   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 5   decades, JLI used third parties and word of mouth to spread false and misleading information

 6   about JUUL products.

 7          2314. Advertisements and representations for JUUL products concealed and failed to

 8   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 9   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

10   addictive, posed significant risks of substantial physical injury resulting from the use of the
11   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
12   consumed through a pack of combustible cigarettes.
13          2315. The labels on JUUL products failed to disclose that the products posed
14   significant risks of substantial physical injury resulting from the use of the products. The labels
15   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
16          2316. The omissions were misleading and deceptive standing alone and were
17   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
18   cigarettes and other representations.
19          2317. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

20   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

21   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

22   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

23   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

24   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

25   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

26   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

27   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

28   Plaintiffs’ and class members’ decisions to purchase JUUL products.


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 1          2318. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 2   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 3   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 4   facts; because the facts would be material to reasonable consumers; because JUUL products

 5   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 6   representations concerning the same subject matter as the omitted facts.

 7          2319. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 8   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 9   and/or omissions. Reasonable consumers would have been expected to have relied on the

10   misrepresentations and omissions.
11          2320. Defendants knew or should have known that their misrepresentations and/or
12   omissions were false and misleading, and intended for consumers to rely on such
13   misrepresentations and omissions.
14          2321. JLI knew that JUUL products were not safe or reasonable alternatives to
15   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
16   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
17   products.
18          2322. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class
19   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

20   differently and would not have purchased JUUL products or would have paid less for them.

21   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

22   JUUL products they would not otherwise have purchased and enter into purchase contracts they

23   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

24   member of the class damages in an amount to be proven at trial, as well as any other relief the

25   Court may deem just or proper.

26                         b.      Breach of the Implied Warranty of Merchantability
27          2323. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

28          2324. This claim is brought against JLI.


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 1            2325. JUUL has at all times been a merchant with respect to the products which were

 2   sold to Plaintiff and the class and was in the business of selling such products.

 3            2326. Each JUUL product sold by JUUL comes with an implied warranty that it will

 4   merchantable and fit for the ordinary purpose for which it would be used. N.J. Stat. Ann.

 5   § 12A:2-314. JUUL has breached its implied warranty of merchantability because its products

 6   were not in merchantable condition when sold, were defective when sold, did not conform to the

 7   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 8   possess even the most basic degree of fitness for ordinary use.

 9            2327. The ordinary intended purpose of JUUL’s products—and the purpose for which

10   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
11   products are not fit for that use—or any other use—because they (i) were not smoking cessation
12   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
13   potent    nicotine-delivery   mechanisms,    (iv) were   powerfully    addictive, and (v) posed
14   unreasonable risks of substantial bodily injury.      Due to these and other features, JUUL’s
15   products are not fit for their ordinary, intended use as either cigarette replacement devices or
16   recreation smoking devices.
17            2328. Plaintiffs and each member of the class have had sufficient direct dealings with
18   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
19   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

20   each member of the class, on the other hand.

21            2329. Further, Plaintiffs and each member of the class were third-party beneficiaries of

22   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

23   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

24   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

25   the express purpose an intent of being sold to consumers.

26            2330. Plaintiffs and the members of the class were injured as a direct and proximate

27   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

28   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability


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 1   because, had they been aware of the unmerchantable condition of JUUL products, they would

 2   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

 3   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

 4          2331. JUUL was provided notice of these issues by numerous complaints filed against

 5   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 6   individual letters and communications sent by consumers before or within a reasonable amount

 7   of time after they discovered or should have discovered that’s JUUL product were defective and

 8   unmerchantable.

 9                          c.     Unjust Enrichment
10          2332. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
11          2333. This claim is brought against JLI and the Management Defendants.
12          2334. Defendants created and implemented a scheme to create a market for e-cigarettes
13   and substantially increase sales of JUUL products through a pervasive pattern of false and
14   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
15   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
16   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
17   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
18   products.
19          2335. Defendants were unjustly enriched as a result of their wrongful conduct,

20   including through the false and misleading advertisements and omissions regarding (i) whether

21   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

22   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

23   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

24   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

25   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

26   enriched through their scheme of marketing their products to minors. N.J. Stat. §§ 2A:170-

27   51.4(a)(2) and 2C:33-13.1(a) prohibit the marketing and sale of JUUL products to minors.

28          2336. Defendants requested and received a measurable benefit at the expense of


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 1   Plaintiffs and class members in the form of payment for JUUL products.

 2          2337. Defendants appreciated, recognized, and chose to accept the monetary benefits

 3   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 4   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 5          2338. There is no justification for Defendants’ enrichment. It would be inequitable,

 6   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 7   benefits were procured as a result of their wrongful conduct.

 8          2339. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 9   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

10   with Defendant.
11          2340. Plaintiffs plead this claim separately as well as in the alternative to their other
12   claims, as without such claims they would have no adequate legal remedy.
13                  31.     New Mexico
14          2341. Plaintiffs bring each of the following claims on behalf of the New Mexico
15   Subclass under New Mexico law.
16                          a.     Violation of the New Mexico Unfair Trade Practices Act
17                                 (N.M. Stat. § 57-12-1)
18          2342. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
19          2343. This claim is brought against JLI and, for certain unfair and/or unconscionable

20   conduct claims as noted below, all Defendants.

21          2344. Defendants are “persons” under the statute and the sale and marketing of JUUL

22   products is “trade” and “commerce.”

23          2345. Plaintiffs and class members purchased JUUL products for personal purposes.

24          2346. Defendants created and implemented a scheme to create a market for e-cigarettes

25   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

26   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

27   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

28   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,


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 1   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 2          2347. Advertisements and representations for JUUL products contained deceptive

 3   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 4   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 5   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 6   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 7   decades, JLI used third parties and word of mouth to spread false and misleading information

 8   about JUUL products.

 9          2348. Advertisements and representations for JUUL products concealed and failed to

10   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
11   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
12   addictive, posed significant risks of substantial physical injury resulting from the use of the
13   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
14   consumed through a pack of combustible cigarettes.
15          2349. The labels on JUUL products failed to disclose that the products posed
16   significant risks of substantial physical injury resulting from the use of the products. The labels
17   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
18          2350. The omissions were misleading and deceptive standing alone and were
19   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

20   cigarettes and other representations.

21          2351. JLI’s conduct was unfair and unconscionable in that it included (i) the

22   manufacture and sale of products with a heightened propensity to cause addiction and physical

23   injuries and (ii) misrepresentations and omissions of material facts concerning the

24   characteristics and safety of JUUL products offended public policy; was immoral, unethical,

25   oppressive, and unscrupulous; resulted in a gross disparity between the value received by the

26   person and the price paid; and caused substantial harm that greatly outweighs any benefits

27   associated with the conduct. JUUL’s acts took advantage of the lack of knowledge, ability,

28   experience, or capacity of Plaintiffs and class members to a grossly unfair degree and to the


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 1   detriment of Plaintiffs and class members.

 2          2352. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 3   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

 4   ingredients, uses, benefits, or quantities, which they do not have; or (b) misrepresenting that

 5   JUUL products are of a particular standard, quality, or grade, or that goods are of a particular

 6   style or model, when they are not.

 7          2353. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 8   omissions may, tends to, or does deceive or mislead reasonable consumers including the

 9   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their

10   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not
11   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery
12   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily
13   injury resulting from the use of the products, and (vi) that the nicotine consumed through one
14   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.
15   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’
16   decisions to purchase JUUL products.
17          2354. JLI owed Plaintiffs and class members a duty to disclose these facts because they
18   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
19   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

20   facts; because the facts would be material to reasonable consumers; because JLI actively

21   concealed them; because JLI intended for consumers to rely on the omissions in question;

22   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

23   made partial representations concerning the same subject matter as the omitted facts.

24          2355. Defendants knew or should have known that their misrepresentations and/or

25   omissions were false and misleading, and intended for consumers to rely on such

26   misrepresentations and omissions.

27          2356. JLI and the Management Defendants engaged in fraudulent and deceptive

28   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL


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 1   products were appropriate for minors, when in fact the products never should have been

 2   marketed to minors and are especially harmful to minors due to the potent and addictive

 3   nicotine doses, addictive qualities, and health risks.

 4          2357. In addition, all Defendants engaged in unfair and unconscionable conduct

 5   because the targeting of minors offends public policy (in particular N.M. Stat. Ann. §§ 30-49-

 6   3(A), (E)); is immoral, unethical, oppressive, and unscrupulous; resulted in a gross disparity

 7   between the value received by the person and the price paid; takes advantage of the lack of

 8   knowledge, ability, experience, or capacity of minors to a grossly unfair degree; and has caused

 9   substantial harm that greatly outweighs any benefits associated with the conduct.

10          2358. As alleged above, all Defendants participated and/or facilitated the marketing of
11   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI
12   and others have continued the deceptive, misleading, unfair, and unconscionable practices that
13   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the
14   use of JUUL products by minors continues to rise. Defendants’ acts took advantage of the lack
15   of knowledge, ability, experience, or capacity of Plaintiffs and class members to a grossly unfair
16   degree and to the detriment of Plaintiffs and class members
17          2359. Defendants’ conduct actually and proximately caused loss of money or property
18   to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs
19   and class members would have behaved differently and would not have purchased JUUL

20   products or would have paid less for them. Defendants’ misrepresentations and omissions

21   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have

22   purchased and enter into purchase contracts they would not otherwise have entered into. In

23   addition, class members who are minors are entitled to full repayment of the amounts they spent

24   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

25   three times actual damages and/or statutory damages in the amount of $300, whichever is

26   greater, injunctive relief, and reasonable attorneys’ fees, as well as any other relief the Court

27   may deem just or proper.

28


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 1                          b.     Common Law Fraud
 2          2360. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 3          2361. This claim is brought against JLI.

 4          2362. JUUL created and implemented a scheme to create a market for e-cigarettes and

 5   substantially increase sales of JUUL through a pervasive pattern of false and misleading

 6   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 7   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 8   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 9   addictiveness, and significant risks of substantial physical injury from using JUUL products.

10          2363. Advertisements and representations for JUUL products contained deceptive
11   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
12   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
13   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
14   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
15   decades, JLI used third parties and word of mouth to spread false and misleading information
16   about JUUL products.
17          2364. Advertisements and representations for JUUL products concealed and failed to
18   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed significant risks of substantial physical injury resulting from the use of the

21   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

22   consumed through a pack of combustible cigarettes.

23          2365. The labels on JUUL products failed to disclose that the products posed

24   significant risks of substantial physical injury resulting from the use of the products. The labels

25   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

26          2366. The omissions were misleading and deceptive standing alone and were

27   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

28   cigarettes and other representations.


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 1          2367. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 2   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 3   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 4   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 5   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 6   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 7   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 8   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 9   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

10   Plaintiffs’ and class members’ decisions to purchase JUUL products.
11          2368. JLI owed Plaintiffs and class members a duty to disclose these facts because they
12   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
13   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
14   facts; because the facts would be material to reasonable consumers; because JUUL products
15   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
16   representations concerning the same subject matter as the omitted facts.
17          2369. As set forth in the allegations concerning each Plaintiff in Appendix A, in
18   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
19   and/or omissions. Reasonable consumers would have been expected to have relied on the

20   misrepresentations and omissions.

21          2370. Defendants knew or should have known that their misrepresentations and/or

22   omissions were false and misleading, and intended for consumers to rely on such

23   misrepresentations and omissions.

24          2371. JLI knew that JUUL products were not safe or reasonable alternatives to

25   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

26   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

27   products.

28          2372. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class


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 1   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 2   differently and would not have purchased JUUL products or would have paid less for them.

 3   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 4   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 5   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

 6   member of the class damages in an amount to be proven at trial, as well as any other relief the

 7   Court may deem just or proper.

 8                           c.      Breach of the Implied Warranty of Merchantability
 9            2373. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

10            2374. This claim is brought against JLI.
11            2375. JUUL has at all times been a merchant with respect to the products which were
12   sold to Plaintiff and the class and was in the business of selling such products.
13            2376. Each JUUL product sold by JUUL comes with an implied warranty that it will
14   merchantable and fit for the ordinary purpose for which it would be used. N.M. Stat. Ann. § 55-
15   2-314. JUUL has breached its implied warranty of merchantability because its products were
16   not in merchantable condition when sold, were defective when sold, did not conform to the
17   promises and affirmations of fact made on the products’ containers or labels, and/or do not
18   possess even the most basic degree of fitness for ordinary use.
19            2377. The ordinary intended purpose of JUUL’s products—and the purpose for which

20   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

21   products are not fit for that use—or any other use—because they (i) were not smoking cessation

22   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

23   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

24   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

25   products are not fit for their ordinary, intended use as either cigarette replacement devices or

26   recreation smoking devices.

27            2378. Plaintiffs and each member of the class have had sufficient direct dealings with

28   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized


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 1   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 2   each member of the class, on the other hand.

 3          2379. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 4   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 5   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

 6   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 7   the express purpose an intent of being sold to consumers.

 8          2380. Plaintiffs and the members of the class were injured as a direct and proximate

 9   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

10   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
11   because, had they been aware of the unmerchantable condition of JUUL products, they would
12   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
13   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
14          2381. JUUL was provided notice of these issues by numerous complaints filed against
15   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
16   individual letters and communications sent by consumers before or within a reasonable amount
17   of time after they discovered or should have discovered that’s JUUL product were defective and
18   unmerchantable.
19                          d.     Unjust Enrichment
20          2382. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          2383. This claim is brought against JLI and the Management Defendants.

22          2384. Defendants created and implemented a scheme to create a market for e-cigarettes

23   and substantially increase sales of JUUL products through a pervasive pattern of false and

24   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

25   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

26   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

27   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

28   products.


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 1          2385. Defendants were unjustly enriched as a result of their wrongful conduct,

 2   including through the false and misleading advertisements and omissions regarding (i) whether

 3   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 4   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 5   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 6   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 7   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 8   enriched through their scheme of marketing their products to minors. N.M. Stat. Ann. §§ 30-

 9   493(A), (E); 30-49-8(A) prohibit the marketing and sale of JUUL products to minors.

10          2386. Defendants requested and received a measurable benefit at the expense of
11   Plaintiffs and class members in the form of payment for JUUL products.
12          2387. Defendants appreciated, recognized, and chose to accept the monetary benefits
13   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
14   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
15          2388. There is no justification for Defendants’ enrichment. It would be inequitable,
16   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
17   benefits were procured as a result of their wrongful conduct.
18          2389. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
19   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

20   with Defendant.

21          2390. Plaintiffs plead this claim separately as well as in the alternative to their other

22   claims, as without such claims they would have no adequate legal remedy.

23                  32.     New York
24          2391. Plaintiffs bring each of the following claims on behalf of the New York Subclass

25   under New York law.

26                          a.     Violation of New York General Business Law § 349
27          2392. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

28          2393. This claim is brought against JLI and, for certain claims below, the Management


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 1   Defendants.

 2          2394. Plaintiffs and class members purchased JUUL products for personal purposes.

 3          2395. Defendants created and implemented a scheme to create a market for e-cigarettes

 4   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 5   statements and omissions directed to consumers. Defendants aimed to portray JUUL products as

 6   cool and safe alternatives to combustible cigarettes, with a particular emphasis on appealing to

 7   minors, while misrepresenting or omitting key facts concerning JUUL products’ nicotine

 8   content and doses, addictiveness, and significant risks of substantial physical injury from using

 9   JUUL products.

10          2396. Advertisements and representations for JUUL products contained deceptive
11   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
12   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
13   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
14   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
15   decades, JLI used third parties and word of mouth to spread false and misleading information
16   about JUUL products.
17          2397. Advertisements and representations for JUUL products concealed and failed to
18   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed significant risks of substantial physical injury resulting from the use of the

21   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

22   consumed through a pack of combustible cigarettes.

23          2398. The labels on JUUL products failed to disclose that the products posed

24   significant risks of substantial physical injury resulting from the use of the products. The labels

25   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

26          2399. The omissions were misleading and deceptive standing alone and were

27   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

28   cigarettes and other representations.


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 1          2400. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 2   omissions at issue were likely to, and in fact did, mislead reasonable consumers including the

 3   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their

 4   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not

 5   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery

 6   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily

 7   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

 8   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

 9   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’

10   decisions to purchase JUUL products.
11          2401. JLI owed Plaintiffs and class members a duty to disclose these facts because they
12   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
13   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
14   facts; because the facts would be material to reasonable consumers; because JLI actively
15   concealed them; because JLI intended for consumers to rely on the omissions in question;
16   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
17   made partial representations concerning the same subject matter as the omitted facts.
18          2402. Defendants knew or should have known that their misrepresentations and/or
19   omissions were false and misleading, and intended for consumers to rely on such

20   misrepresentations and omissions.

21          2403.    JLI and the Management Defendants engaged in fraudulent and deceptive

22   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

23   products were appropriate for minors, when in fact the products never should have been

24   marketed to minors and are especially harmful to minors due to the potent and addictive

25   nicotine doses, addictive qualities, and health risks.

26          2404. Defendants’ conduct actually and proximately caused actual damages to

27   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

28   class members would have behaved differently and would not have purchased JUUL products


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 1   or would have paid less for them. Defendants’ misrepresentations and omissions induced

 2   Plaintiffs and class members to purchase JUUL products they would not otherwise have

 3   purchased and enter into purchase contracts they would not otherwise have entered into. In

 4   addition, class members who are minors are entitled to full repayment of the amounts they spent

 5   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

 6   three times actual damages or statutory damages in the amount of $50, whichever is greater,

 7   injunctive relief, and reasonable attorneys’ fees, as well as any other relief the Court may deem

 8   just or proper.

 9                          b.     Violation of New York General Business Law § 350
10          2405. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
11          2406. This claim is brought against JLI and, for certain claims below, the Management
12   Defendants.
13          2407. Plaintiffs and class members purchased JUUL products for personal purposes.
14          2408. Defendants created and implemented a scheme to create a market for e-cigarettes
15   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
16   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
17   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
18   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
19   addictiveness, and significant risks of substantial physical injury from using JUUL products.

20          2409. Advertisements and representations for JUUL products contained deceptive

21   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

22   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

23   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

24   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

25   decades, JLI used third parties and word of mouth to spread false and misleading information

26   about JUUL products.

27          2410. Advertisements and representations for JUUL products concealed and failed to

28   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed significant risks of substantial physical injury resulting from the use of the

 3   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 4   consumed through a pack of combustible cigarettes.

 5          2411. The labels on JUUL products failed to disclose that the products posed

 6   significant risks of substantial physical injury resulting from the use of the products. The labels

 7   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 8          2412. The omissions were misleading and deceptive standing alone and were

 9   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

10   cigarettes and other representations.
11          2413. JUUL’s advertising in the conduct of its business was fraudulent and deceptive
12   because the misrepresentations and omissions had the capacity, tendency, or effect of deceiving
13   reasonable consumers, including the Plaintiffs. Reasonable consumers, including the Plaintiffs,
14   would have found it material to their purchasing decisions that JUUL’s products (i) were not
15   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)
16   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed
17   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)
18   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a
19   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

20   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

21          2414. JLI owed Plaintiffs and class members a duty to disclose these facts because they

22   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

23   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

24   facts; because the facts would be material to reasonable consumers; because JLI actively

25   concealed them; because JLI intended for consumers to rely on the omissions in question;

26   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

27   made partial representations concerning the same subject matter as the omitted facts.

28          2415. As set forth in the allegations concerning each Plaintiff in Appendix A, in


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 1   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

 2   Reasonable consumers would have been expected to have relied on the misrepresentations and

 3   omissions.

 4          2416. JLI and the Management Defendants engaged in fraudulent and deceptive

 5   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 6   products were appropriate for minors, when in fact the products never should have been

 7   marketed to minors and are especially harmful to minors due to the potent and addictive

 8   nicotine doses, addictive qualities, and health risks.

 9          2417. Defendants’ conduct actually and proximately caused actual damages to

10   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and
11   class members would have behaved differently and would not have purchased JUUL products
12   or would have paid less for them. Defendants’ misrepresentations and omissions induced
13   Plaintiffs and class members to purchase JUUL products they would not otherwise have
14   purchased and enter into purchase contracts they would not otherwise have entered into. In
15   addition, class members who are minors are entitled to full repayment of the amounts they spent
16   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
17   actual damages or $500, whichever is greater; treble damages; injunctive relief; and reasonable
18   attorneys’ fees, as well as any other relief the Court may deem just or proper.
19                          c.      Common Law Fraud
20          2418. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          2419. This claim is brought against JLI.

22          2420. JUUL created and implemented a scheme to create a market for e-cigarettes and

23   substantially increase sales of JUUL through a pervasive pattern of false and misleading

24   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

25   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

26   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

27   addictiveness, and significant risks of substantial physical injury from using JUUL products.

28          2421. Advertisements and representations for JUUL products contained deceptive


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 1   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 2   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 3   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 4   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 5   decades, JLI used third parties and word of mouth to spread false and misleading information

 6   about JUUL products.

 7          2422. Advertisements and representations for JUUL products concealed and failed to

 8   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 9   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

10   addictive, posed significant risks of substantial physical injury resulting from the use of the
11   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
12   consumed through a pack of combustible cigarettes.
13          2423. The labels on JUUL products failed to disclose that the products posed
14   significant risks of substantial physical injury resulting from the use of the products. The labels
15   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
16          2424. The omissions were misleading and deceptive standing alone and were
17   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
18   cigarettes and other representations.
19          2425. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

20   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

21   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

22   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

23   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

24   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

25   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

26   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

27   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

28   Plaintiffs’ and class members’ decisions to purchase JUUL products.


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 1          2426. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 2   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 3   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 4   facts; because the facts would be material to reasonable consumers; because JUUL products

 5   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 6   representations concerning the same subject matter as the omitted facts.

 7          2427. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 8   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 9   and/or omissions. Reasonable consumers would have been expected to have relied on the

10   misrepresentations and omissions.
11          2428. Defendants knew or should have known that their misrepresentations and/or
12   omissions were false and misleading, and intended for consumers to rely on such
13   misrepresentations and omissions.
14          2429. JLI knew that JUUL products were not safe or reasonable alternatives to
15   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
16   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
17   products.
18          2430. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class
19   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

20   differently and would not have purchased JUUL products or would have paid less for them.

21   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

22   JUUL products they would not otherwise have purchased and enter into purchase contracts they

23   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

24   member of the class damages in an amount to be proven at trial, as well as any other relief the

25   Court may deem just or proper.

26                         d.      Breach of the Implied Warranty of Merchantability
27          2431. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

28          2432. This claim is brought against JLI.


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 1            2433. JUUL has at all times been a merchant with respect to the products which were

 2   sold to Plaintiff and the class and was in the business of selling such products.

 3            2434. Each JUUL product sold by JUUL comes with an implied warranty that it will

 4   merchantable and fit for the ordinary purpose for which it would be used. N.Y. U.C.C. Law

 5   § 2-314. JUUL has breached its implied warranty of merchantability because its products were

 6   not in merchantable condition when sold, were defective when sold, did not conform to the

 7   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 8   possess even the most basic degree of fitness for ordinary use.

 9            2435. The ordinary intended purpose of JUUL’s products—and the purpose for which

10   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
11   products are not fit for that use—or any other use—because they (i) were not smoking cessation
12   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
13   potent    nicotine-delivery   mechanisms,    (iv) were   powerfully    addictive, and (v) posed
14   unreasonable risks of substantial bodily injury.      Due to these and other features, JUUL’s
15   products are not fit for their ordinary, intended use as either cigarette replacement devices or
16   recreation smoking devices.
17            2436. Plaintiffs and each member of the class have had sufficient direct dealings with
18   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
19   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

20   each member of the class, on the other hand.

21            2437. Further, Plaintiffs and each member of the class were third-party beneficiaries of

22   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

23   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

24   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

25   the express purpose an intent of being sold to consumers.

26            2438. Plaintiffs and the members of the class were injured as a direct and proximate

27   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

28   the New York Direct Purchaser Subclass were damaged as a result of JUUL’s breach of its


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 1   implied warranty of merchantability because, had they been aware of the unmerchantable

 2   condition of JUUL products, they would not have purchased JUUL products, or would have

 3   paid less for them. Plaintiffs seek damages in an amount to be proven at trial, as well as any

 4   other relief the Court may deem just or proper.

 5          2439. JUUL was provided notice of these issues by numerous complaints filed against

 6   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 7   individual letters and communications sent by consumers before or within a reasonable amount

 8   of time after they discovered or should have discovered that’s JUUL product were defective and

 9   unmerchantable.

10                         e.      Unjust Enrichment
11          2440. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
12          2441. This claim is brought against JLI and the Management Defendants.
13          2442. Defendants created and implemented a scheme to create a market for e-cigarettes
14   and substantially increase sales of JUUL products through a pervasive pattern of false and
15   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
16   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
17   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
18   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
19   products.

20          2443. Defendants were unjustly enriched as a result of their wrongful conduct,

21   including through the false and misleading advertisements and omissions regarding (i) whether

22   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

23   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

24   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

25   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

26   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

27   enriched through their scheme of marketing their products to minors. N.Y. Pub. Health Law

28   §§ 1399-cc(2), 1399-bb(4), and 1399-bb(5) prohibit the marketing and sale of JUUL products to


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 1   minors.

 2          2444. Defendants requested and received a measurable benefit at the expense of

 3   Plaintiffs and class members in the form of payment for JUUL products.

 4          2445. Defendants appreciated, recognized, and chose to accept the monetary benefits

 5   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 6   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 7          2446. There is no justification for Defendants’ enrichment. It would be inequitable,

 8   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 9   benefits were procured as a result of their wrongful conduct.

10          2447. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
11   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
12   with Defendant.
13          2448. Plaintiffs plead this claim separately as well as in the alternative to their other
14   claims, as without such claims they would have no adequate legal remedy.
15                  33.     North Carolina
16          2449. Plaintiffs bring each of the following claims on behalf of the North Carolina
17   Subclass under North Carolina law.
18                          a.     Violation of the North Carolina Unfair & Deceptive Trade
19                                 Practices Act (N.C. Gen. Stat. §§ 75-1.1, et seq.)
20          2450. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          2451. This claim is brought against JLI and, for certain unfair and/or unconscionable

22   conduct claims as noted below, all Defendants.

23          2452. Plaintiffs and class members purchased JUUL products for personal purposes.

24          2453. Defendants created and implemented a scheme to create a market for e-cigarettes

25   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

26   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

27   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

28   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,


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 1   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 2          2454. Advertisements and representations for JUUL products contained deceptive

 3   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 4   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 5   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 6   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 7   decades, JLI used third parties and word of mouth to spread false and misleading information

 8   about JUUL products.

 9          2455. Advertisements and representations for JUUL products concealed and failed to

10   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
11   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
12   addictive, posed significant risks of substantial physical injury resulting from the use of the
13   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
14   consumed through a pack of combustible cigarettes.
15          2456. The labels on JUUL products failed to disclose that the products posed
16   significant risks of substantial physical injury resulting from the use of the products. The labels
17   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
18          2457. The omissions were misleading and deceptive standing alone and were
19   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

20   cigarettes and other representations.

21          2458. JLI’s conduct was unfair and unconscionable in that it included (i) the

22   manufacture and sale of products with a heightened propensity to cause addiction and physical

23   injuries and (ii) misrepresentations and omissions of material facts concerning the

24   characteristics and safety of JUUL products that offended public policy; were immoral,

25   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

26   substantial harm that greatly outweighs any possible utility from the conduct.

27          2459. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

28   omissions had the tendency or capacity to mislead or created the likelihood of deception of


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 1   average consumers such as including the Plaintiffs.       Reasonable consumers, including the

 2   Plaintiffs, would have found it material to their purchasing decisions that JUUL’s products (i)

 3   were not smoking cessation devices, (ii) were not reasonable alternatives to combustible

 4   cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were powerfully

 5   addictive, (v) posed unreasonable risks of substantial bodily injury resulting from the use of the

 6   products, and (vi) that the nicotine consumed through one JUUL pod exceeded the nicotine

 7   consumed through a pack of combustible cigarettes. Knowledge of these facts would have been

 8   a substantial factor in Plaintiffs’ and class members’ decisions to purchase JUUL products.

 9          2460. JLI owed Plaintiffs and class members a duty to disclose these facts because they

10   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
11   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
12   facts; because the facts would be material to reasonable consumers; because JLI actively
13   concealed them; because JLI intended for consumers to rely on the omissions in question;
14   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
15   made partial representations concerning the same subject matter as the omitted facts.
16          2461. As set forth in the allegations concerning each Plaintiff in Appendix A, in
17   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.
18   Reasonable consumers would have been expected to have relied on the misrepresentations and
19   omissions.

20          2462. JLI and the Management Defendants engaged in fraudulent and deceptive

21   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

22   products were appropriate for minors, when in fact the products never should have been

23   marketed to minors and are especially harmful to minors due to the potent and addictive

24   nicotine doses, addictive qualities, and health risks.

25          2463. In addition, all Defendants engaged in unfair and unconscionable conduct

26   because the targeting of minors offends public policy (in particular N.C. Gen. Stat. § 14-313(b)

27   and N.C. Gen. Stat. § 14-313(b2); is immoral, unethical, oppressive, outrageous, unscrupulous,

28   and substantially injurious; and has caused substantial harm that greatly outweighs any possible


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 1   utility from the conduct.

 2          2464. As alleged above, all Defendants participated and/or facilitated the marketing of

 3   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 4   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 5   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 6   use of JUUL products by minors continues to rise.

 7          2465. Defendants’ conduct, alleged herein, was in and affected commerce since the

 8   conduct was part and parcel of Defendants’ business activities related to the sale of JUUL

 9   products.

10          2466. Defendants’ conduct actually and proximately caused actual damages to
11   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and
12   class members would have behaved differently and would not have purchased JUUL products
13   or would have paid less for them. Defendants’ misrepresentations and omissions induced
14   Plaintiffs and class members to purchase JUUL products they would not otherwise have
15   purchased and enter into purchase contracts they would not otherwise have entered into. In
16   addition, class members who are minors are entitled to full repayment of the amounts they spent
17   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
18   three times damages, injunctive relief, and reasonable attorneys’ fees, as well as any other relief
19   the Court may deem just or proper.

20                          b.     Common Law Fraud
21          2467. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

22          2468. This claim is brought against JLI.

23          2469. JUUL created and implemented a scheme to create a market for e-cigarettes and

24   substantially increase sales of JUUL through a pervasive pattern of false and misleading

25   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

26   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

27   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

28   addictiveness, and significant risks of substantial physical injury from using JUUL products.


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 1          2470. Advertisements and representations for JUUL products contained deceptive

 2   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 3   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 4   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 5   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 6   decades, JLI used third parties and word of mouth to spread false and misleading information

 7   about JUUL products.

 8          2471. Advertisements and representations for JUUL products concealed and failed to

 9   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

10   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
11   addictive, posed significant risks of substantial physical injury resulting from the use of the
12   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
13   consumed through a pack of combustible cigarettes.
14          2472. The labels on JUUL products failed to disclose that the products posed
15   significant risks of substantial physical injury resulting from the use of the products. The labels
16   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
17          2473. The omissions were misleading and deceptive standing alone and were
18   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
19   cigarettes and other representations.

20          2474. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

21   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

22   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

23   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

24   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

25   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

26   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

27   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

28   combustible cigarettes. Knowledge of these facts would have been a substantial factor in


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 1   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 2          2475. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 3   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 4   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 5   facts; because the facts would be material to reasonable consumers; because JUUL products

 6   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 7   representations concerning the same subject matter as the omitted facts.

 8          2476. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 9   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

10   and/or omissions. Reasonable consumers would have been expected to have relied on the
11   misrepresentations and omissions.
12          2477. Defendants knew or should have known that their misrepresentations and/or
13   omissions were false and misleading, and intended for consumers to rely on such
14   misrepresentations and omissions.
15          2478. JLI knew that JUUL products were not safe or reasonable alternatives to
16   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
17   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
18   products.
19          2479. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

20   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

21   differently and would not have purchased JUUL products or would have paid less for them.

22   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

23   JUUL products they would not otherwise have purchased and enter into purchase contracts they

24   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

25   member of the class damages in an amount to be proven at trial, as well as any other relief the

26   Court may deem just or proper.

27                         c.      Breach of the Implied Warranty of Merchantability
28          2480. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.


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 1            2481. This claim is brought against JLI.

 2            2482. JUUL has at all times been a merchant with respect to the products which were

 3   sold to Plaintiff and the class and was in the business of selling such products.

 4            2483. Each JUUL product sold by JUUL comes with an implied warranty that it will

 5   merchantable and fit for the ordinary purpose for which it would be used. N.C. GEN. STAT.

 6   § 25-2-314. JUUL has breached its implied warranty of merchantability because its products

 7   were not in merchantable condition when sold, were defective when sold, did not conform to the

 8   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 9   possess even the most basic degree of fitness for ordinary use.

10            2484. The ordinary intended purpose of JUUL’s products—and the purpose for which
11   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
12   products are not fit for that use—or any other use—because they (i) were not smoking cessation
13   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
14   potent    nicotine-delivery   mechanisms,    (iv) were   powerfully    addictive, and (v) posed
15   unreasonable risks of substantial bodily injury.      Due to these and other features, JUUL’s
16   products are not fit for their ordinary, intended use as either cigarette replacement devices or
17   recreation smoking devices.
18            2485. Plaintiffs and each member of the class have had sufficient direct dealings with
19   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

20   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

21   each member of the class, on the other hand.

22            2486. Further, Plaintiffs and each member of the class were third-party beneficiaries of

23   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

24   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

25   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

26   the express purpose an intent of being sold to consumers.

27            2487. Plaintiffs and the members of the class were injured as a direct and proximate

28   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of


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 1   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

 2   because, had they been aware of the unmerchantable condition of JUUL products, they would

 3   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

 4   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

 5          2488. JUUL was provided notice of these issues by numerous complaints filed against

 6   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 7   individual letters and communications sent by consumers before or within a reasonable amount

 8   of time after they discovered or should have discovered that’s JUUL product were defective and

 9   unmerchantable.

10                          d.     Unjust Enrichment
11          2489. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
12          2490. This claim is brought against JLI and the Management Defendants.
13          2491. Defendants created and implemented a scheme to create a market for e-cigarettes
14   and substantially increase sales of JUUL products through a pervasive pattern of false and
15   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
16   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
17   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
18   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
19   products.

20          2492. Defendants were unjustly enriched as a result of their wrongful conduct,

21   including through the false and misleading advertisements and omissions regarding (i) whether

22   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

23   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

24   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

25   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

26   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

27   enriched through their scheme of marketing their products to minors. N.C. Gen. Stat. § 14-

28   313(b) and N.C. Gen. Stat. § 14-313(b2) prohibit the marketing and sale of JUUL products to


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 1   minors.

 2          2493. Defendants requested and received a measurable benefit at the expense of

 3   Plaintiffs and class members in the form of payment for JUUL products.

 4          2494. Defendants appreciated, recognized, and chose to accept the monetary benefits

 5   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 6   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 7          2495. There is no justification for Defendants’ enrichment. It would be inequitable,

 8   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 9   benefits were procured as a result of their wrongful conduct.

10          2496. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
11   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
12   with Defendant.
13          2497. Plaintiffs plead this claim separately as well as in the alternative to their other
14   claims, as without such claims they would have no adequate legal remedy.
15                  34.     North Dakota
16          2498. Plaintiffs bring each of the following claims on behalf of the North Dakota
17   Subclass under North Dakota law.
18                          a.     Violation of North Dakota Consumer Fraud Act (N.D. Cent.
19                                 Code § 51-15-01, et seq.)
20          2499. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          2500. This claim is brought against JLI, and for certain unfair and unconscionable

22   conduct claims, all Defendants.

23          2501. Plaintiffs and class members purchased JUUL products for personal purposes.

24          2502. Defendants created and implemented a scheme to create a market for e-cigarettes

25   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

26   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

27   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

28   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,


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 1   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 2          2503. Advertisements and representations for JUUL products contained deceptive

 3   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 4   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 5   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 6   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 7   decades, JLI used third parties and word of mouth to spread false and misleading information

 8   about JUUL products.

 9          2504. Advertisements and representations for JUUL products concealed and failed to

10   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
11   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
12   addictive, posed significant risks of substantial physical injury resulting from the use of the
13   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
14   consumed through a pack of combustible cigarettes.
15          2505. The labels on JUUL products failed to disclose that the products posed
16   significant risks of substantial physical injury resulting from the use of the products. The labels
17   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
18          2506. The omissions were misleading and deceptive standing alone and were
19   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

20   cigarettes and other representations.

21          2507. JLI’s conduct was unfair and unconscionable in that it included (i) the

22   manufacture and sale of products with a heightened propensity to cause addiction and physical

23   injuries and (ii) misrepresentations and omissions of material facts concerning the

24   characteristics and safety of JUUL products that offended public policy; were immoral,

25   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

26   substantial harm that greatly outweighs any possible utility from the conduct.

27          2508. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

28   omissions at issue were likely to, and in fact did, deceive reasonable consumers, including the


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 1   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their

 2   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not

 3   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery

 4   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily

 5   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

 6   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

 7   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’

 8   decisions to purchase JUUL products.

 9          2509. JLI owed Plaintiffs and class members a duty to disclose these facts because they

10   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
11   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
12   facts; because the facts would be material to reasonable consumers; because JLI actively
13   concealed them; because JLI intended for consumers to rely on the omissions in question;
14   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
15   made partial representations concerning the same subject matter as the omitted facts.
16          2510. JLI and the Management Defendants engaged in fraudulent and deceptive
17   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
18   products were appropriate for minors, when in fact the products never should have been
19   marketed to minors and are especially harmful to minors due to the potent and addictive

20   nicotine doses, addictive qualities, and health risks.

21          2511. In addition, all Defendants engaged in unfair and unconscionable conduct

22   because the targeting of minors offends public policy (in particular N.D. Cent. Code § 12.1-31-

23   03(1)(a)) is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially

24   injurious; and has caused substantial harm that greatly outweighs any possible utility from the

25   conduct.

26          2512. As alleged above, all Defendants participated and/or facilitated the marketing of

27   JUUL products to minors and took no action to curb the use of JUUL products by minors.

28   JUUL has continued the unconscionable practices that Defendants implemented, facilitated,


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 1   and/or did not take adequate steps to end. As a result, the use of JUUL products by minors

 2   continues to rise.

 3          2513. Defendants knew or should have known that their misrepresentations and/or

 4   omissions were false and misleading, and intended for consumers to rely on such

 5   misrepresentations and omissions.

 6          2514. Defendants’ conduct actually and proximately caused actual damages to

 7   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

 8   class members would have behaved differently and would not have purchased JUUL products

 9   or would have paid less for them. Defendants’ misrepresentations and omissions induced

10   Plaintiffs and class members to purchase JUUL products they would not otherwise have
11   purchased and enter into purchase contracts they would not otherwise have entered into. In
12   addition, class members who are minors are entitled to full repayment of the amounts they spent
13   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
14   three times actual damages, injunctive relief, and reasonable attorneys’ fees, as well as any other
15   relief the Court may deem just or proper.
16                          b.     Violation of North Dakota False Advertising Law (N.D. Cent.
17                                 Code § 51-12-08)
18          2515. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
19          2516. This claim is brought against JLI.

20          2517. Plaintiffs and class members purchased JUUL products for personal purposes.

21          2518. Defendants created and implemented a scheme to create a market for e-cigarettes

22   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

23   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

24   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

25   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

26   addictiveness, and significant risks of substantial physical injury from using JUUL products.

27          2519. Advertisements and representations for JUUL products contained deceptive

28   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives


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 1   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 2   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 3   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 4   decades, JLI used third parties and word of mouth to spread false and misleading information

 5   about JUUL products.

 6          2520. Advertisements and representations for JUUL products concealed and failed to

 7   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 8   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 9   addictive, posed significant risks of substantial physical injury resulting from the use of the

10   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
11   consumed through a pack of combustible cigarettes.
12          2521. The labels on JUUL products failed to disclose that the products posed
13   significant risks of substantial physical injury resulting from the use of the products. The labels
14   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
15          2522. The omissions were misleading and deceptive standing alone and were
16   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
17   cigarettes and other representations.
18          2523.    JUUL’s conduct constituted the following prohibited practices: making or
19   disseminating or causing to be made or disseminated before the public in North Dakota, in any

20   newspaper or other publication, or any advertising device, or by public outcry or proclamation,

21   or in any other manner or means whatever, statements, concerning such real or personal

22   property or services, professional or otherwise or concerning any circumstance or matter of fact

23   connected with the proposed performance or disposition thereof, which is untrue or misleading.

24          2524. JLI’s conduct was likely to, and in fact did, deceive reasonable consumers

25   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

26   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

27   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

28   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable


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 1   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 2   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 3   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 4   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 5          2525. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 6   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 7   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 8   facts; because the facts would be material to reasonable consumers; because JLI actively

 9   concealed them; because JLI intended for consumers to rely on the omissions in question;

10   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
11   made partial representations concerning the same subject matter as the omitted facts.
12          2526. Defendants knew or should have known that their misrepresentations and/or
13   omissions were false and misleading, and intended for consumers to rely on such
14   misrepresentations and omissions.
15          2527. Defendants’ conduct actually and proximately caused actual damages to
16   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and
17   class members would have behaved differently and would not have purchased JUUL products
18   or would have paid less for them. Defendants’ misrepresentations and omissions induced
19   Plaintiffs and class members to purchase JUUL products they would not otherwise have

20   purchased and enter into purchase contracts they would not otherwise have entered into. In

21   addition, class members who are minors are entitled to full repayment of the amounts they spent

22   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

23   injunctive relief and reasonable attorneys’ fees, as well as any other relief the Court may deem

24   just or proper.

25                          c.      Common Law Fraud
26          2528. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

27          2529. This claim is brought against JLI.

28          2530. JUUL created and implemented a scheme to create a market for e-cigarettes and


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 1   substantially increase sales of JUUL through a pervasive pattern of false and misleading

 2   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 3   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 4   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 5   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 6          2531. Advertisements and representations for JUUL products contained deceptive

 7   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 8   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 9   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

10   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
11   decades, JLI used third parties and word of mouth to spread false and misleading information
12   about JUUL products.
13          2532. Advertisements and representations for JUUL products concealed and failed to
14   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
15   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
16   addictive, posed significant risks of substantial physical injury resulting from the use of the
17   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
18   consumed through a pack of combustible cigarettes.
19          2533. The labels on JUUL products failed to disclose that the products posed

20   significant risks of substantial physical injury resulting from the use of the products. The labels

21   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

22          2534. The omissions were misleading and deceptive standing alone and were

23   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

24   cigarettes and other representations.

25          2535. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

26   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

27   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

28   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation


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 1   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 2   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 3   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 4   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 5   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 6   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 7          2536. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 8   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 9   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

10   facts; because the facts would be material to reasonable consumers; because JUUL products
11   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
12   representations concerning the same subject matter as the omitted facts.
13          2537. As set forth in the allegations concerning each Plaintiff in Appendix A, in
14   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
15   and/or omissions. Reasonable consumers would have been expected to have relied on the
16   misrepresentations and omissions.
17          2538. Defendants knew or should have known that their misrepresentations and/or
18   omissions were false and misleading, and intended for consumers to rely on such
19   misrepresentations and omissions.

20          2539. JLI knew that JUUL products were not safe or reasonable alternatives to

21   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

22   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

23   products.

24          2540. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

25   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

26   differently and would not have purchased JUUL products or would have paid less for them.

27   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

28   JUUL products they would not otherwise have purchased and enter into purchase contracts they


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 1   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

 2   member of the class damages in an amount to be proven at trial, as well as any other relief the

 3   Court may deem just or proper.

 4                           d.      Breach of the Implied Warranty of Merchantability
 5            2541. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 6            2542. This claim is brought against JLI.

 7            2543. JUUL has at all times been a merchant with respect to the products which were

 8   sold to Plaintiff and the class and was in the business of selling such products.

 9            2544. Each JUUL product sold by JUUL comes with an implied warranty that it will

10   merchantable and fit for the ordinary purpose for which it would be used. N.D. Cent. Code
11   § 41-02-32. JUUL has breached its implied warranty of merchantability because its products
12   were not in merchantable condition when sold, were defective when sold, did not conform to the
13   promises and affirmations of fact made on the products’ containers or labels, and/or do not
14   possess even the most basic degree of fitness for ordinary use.
15            2545. The ordinary intended purpose of JUUL’s products—and the purpose for which
16   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
17   products are not fit for that use—or any other use—because they (i) were not smoking cessation
18   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
19   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

20   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

21   products are not fit for their ordinary, intended use as either cigarette replacement devices or

22   recreation smoking devices.

23            2546. Plaintiffs and each member of the class have had sufficient direct dealings with

24   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

25   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

26   each member of the class, on the other hand.

27            2547. Further, Plaintiffs and each member of the class were third-party beneficiaries of

28   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and


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 1   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

 2   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 3   the express purpose an intent of being sold to consumers.

 4          2548. Plaintiffs and the members of the class were injured as a direct and proximate

 5   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

 6   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

 7   because, had they been aware of the unmerchantable condition of JUUL products, they would

 8   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

 9   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

10          2549. JUUL was provided notice of these issues by numerous complaints filed against
11   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
12   individual letters and communications sent by consumers before or within a reasonable amount
13   of time after they discovered or should have discovered that’s JUUL product were defective and
14   unmerchantable.
15                          e.     Unjust Enrichment
16          2550. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
17          2551. This claim is brought against JLI and the Management Defendants.
18          2552. Defendants created and implemented a scheme to create a market for e-cigarettes
19   and substantially increase sales of JUUL products through a pervasive pattern of false and

20   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

21   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

22   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

23   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

24   products.

25          2553. Defendants were unjustly enriched as a result of their wrongful conduct,

26   including through the false and misleading advertisements and omissions regarding (i) whether

27   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

28   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were


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 1   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 2   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 3   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 4   enriched through their scheme of marketing their products to minors. N.D. Cent. Code § 12.1-

 5   31-03(1)(a) prohibits the marketing and sale of JUUL products to minors.

 6          2554. Defendants requested and received a measurable benefit at the expense of

 7   Plaintiffs and class members in the form of payment for JUUL products.

 8          2555. Defendants appreciated, recognized, and chose to accept the monetary benefits

 9   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

10   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
11          2556. There is no justification for Defendants’ enrichment. It would be inequitable,
12   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
13   benefits were procured as a result of their wrongful conduct.
14          2557. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
15   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
16   with Defendant.
17          2558. Plaintiffs plead this claim separately as well as in the alternative to their other
18   claims, as without such claims they would have no adequate legal remedy.
19                  35.     Ohio
20          2559. Plaintiffs bring each of the following claims on behalf of the Ohio Subclass

21   under Ohio law.

22                          a.     Violation of the Ohio Consumer Sales Practices Act (Ohio
23                                 Rev. Code Ann. §§ 1345.01, et seq.)
24          2560. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          2561. This claim is brought against JLI and, for certain unfair and/or unconscionable

26   conduct claims as noted below, all Defendants.

27          2562. Plaintiffs and class members purchased JUUL products for personal purposes.

28          2563. Defendants created and implemented a scheme to create a market for e-cigarettes


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 1   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 2   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 3   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 4   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 5   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 6          2564. Advertisements and representations for JUUL products contained deceptive

 7   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 8   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 9   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

10   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
11   decades, JLI used third parties and word of mouth to spread false and misleading information
12   about JUUL products.
13          2565. Advertisements and representations for JUUL products concealed and failed to
14   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
15   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
16   addictive, posed significant risks of substantial physical injury resulting from the use of the
17   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
18   consumed through a pack of combustible cigarettes.
19          2566. The labels on JUUL products failed to disclose that the products posed

20   significant risks of substantial physical injury resulting from the use of the products. The labels

21   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

22          2567. The omissions were misleading and deceptive standing alone and were

23   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

24   cigarettes and other representations.

25          2568. JLI’s conduct was unfair and unconscionable in that it included (i) the

26   manufacture and sale of products with a heightened propensity to cause addiction and physical

27   injuries; (ii) misrepresentations and omissions of material facts concerning the characteristics

28   and safety of JUUL products; (iii) knowingly making a misleading statement of opinion on


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 1   which Plaintiffs and class members were likely to rely to their detriment; and (iv) knowingly

 2   taking advantage of Plaintiffs’ and class members’ inability to protect their interests, due to their

 3   ignorance regarding the actual characteristics of JUUL products, offended public policy; was

 4   immoral, unethical, oppressive, and unscrupulous; caused substantial harm that greatly

 5   outweighs any benefits associated with the conduct; and is marked by injustice.

 6          2569. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 7   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

 8   ingredients, uses, benefits, or quantities, which they do not have; or (b) misrepresenting that

 9   JUUL products are of a particular standard, quality, or grade, or that goods are of a particular

10   style or model, when they are not.
11          2570. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
12   omissions had the tendency or capacity to mislead reasonable consumers including the
13   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their
14   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not
15   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery
16   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily
17   injury resulting from the use of the products, and (vi) that the nicotine consumed through one
18   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.
19   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’

20   decisions to purchase JUUL products.

21          2571. JLI owed Plaintiffs and class members a duty to disclose these facts because they

22   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

23   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

24   facts; because the facts would be material to reasonable consumers; because JLI actively

25   concealed them; because JLI intended for consumers to rely on the omissions in question;

26   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

27   made partial representations concerning the same subject matter as the omitted facts.

28          2572. Defendants knew or should have known that their misrepresentations and/or


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 1   omissions were false and misleading, and intended for consumers to rely on such

 2   misrepresentations and omissions.

 3          2573. JLI and the Management Defendants engaged in fraudulent and deceptive

 4   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 5   products were appropriate for minors, when in fact the products never should have been

 6   marketed to minors and are especially harmful to minors due to the potent and addictive

 7   nicotine doses, addictive qualities, and health risks.

 8          2574. In addition, all Defendants engaged in unfair and unconscionable conduct

 9   because the targeting of minors offends public policy (in particular Ohio Rev. Code Ann.

10   § 2927.02(B)(1)) is immoral, unethical, oppressive, and unscrupulous; has caused substantial
11   harm that greatly outweighs any benefits associated with the conduct; is marked by injustice;
12   and takes advantage of minors’ inability to protect their own interests.
13          2575. As alleged above, all Defendants participated and/or facilitated the marketing of
14   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI
15   and others have continued the deceptive, misleading, unfair, and unconscionable practices that
16   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the
17   use of JUUL products by minors continues to rise.
18          2576. Defendants’ conduct actually and proximately caused actual damages to
19   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

20   class members would have behaved differently and would not have purchased JUUL products

21   or would have paid less for them. Defendants’ misrepresentations and omissions induced

22   Plaintiffs and class members to purchase JUUL products they would not otherwise have

23   purchased and enter into purchase contracts they would not otherwise have entered into. In

24   addition, class members who are minors are entitled to full repayment of the amounts they spent

25   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

26   actual economic damages and/or statutory damages, injunctive relief, and reasonable attorneys’

27   fees, as well as any other relief the Court may deem just or proper.

28          2577. Defendants had notice that their conduct was in violation based on prior rules


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 1   and/or case decisions, including litigation related to combustible cigarettes and subsequent

 2   settlement agreements, and Ohio Rev. Code Ann. § 2927.02(B)(1) and Ohio Administrative

 3   Code § 109:4-3-10 , which prohibit much of the conduct Defendants’ engaged in with respect to

 4   JUUL products.

 5                          b.     Violation of the Ohio Deceptive Trade Practices Act (Ohio
 6                                 Rev. Code §§ 4165.01 - .04)
 7          2578. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 8          2579. This claim is brought against JLI.

 9          2580. Plaintiffs and class members purchased JUUL products for personal purposes.

10          2581. Defendants created and implemented a scheme to create a market for e-cigarettes
11   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
12   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
13   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
14   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
15   addictiveness, and significant risks of substantial physical injury from using JUUL products.
16          2582. Advertisements and representations for JUUL products contained deceptive
17   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
18   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
19   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

20   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

21   decades, JLI used third parties and word of mouth to spread false and misleading information

22   about JUUL products.

23          2583. Advertisements and representations for JUUL products concealed and failed to

24   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

25   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

26   addictive, posed significant risks of substantial physical injury resulting from the use of the

27   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

28   consumed through a pack of combustible cigarettes.


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 1          2584. The labels on JUUL products failed to disclose that the products posed

 2   significant risks of substantial physical injury resulting from the use of the products. The labels

 3   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 4          2585. The omissions were misleading and deceptive standing alone and were

 5   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 6   cigarettes and other representations.

 7          2586. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 8   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

 9   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

10   products are of a particular standard, quality, or grade, or that goods are of a particular style or
11   model, when they are not; and (c) advertising goods or services with intent not to sell them as
12   advertised.
13          2587. JUUL’s conduct had the tendency to, were likely to, and in fact did, deceive
14   reasonable consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs,
15   would have found it material to their purchasing decisions that JUUL’s products (i) were not
16   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)
17   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed
18   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)
19   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a

20   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

21   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

22          2588. JLI owed Plaintiffs and class members a duty to disclose these facts because they

23   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

24   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

25   facts; because the facts would be material to reasonable consumers; because JLI actively

26   concealed them; because JLI intended for consumers to rely on the omissions in question;

27   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

28   made partial representations concerning the same subject matter as the omitted facts.


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 1          2589. Defendants’ conduct actually and proximately caused actual damages to

 2   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

 3   class members would have behaved differently and would not have purchased JUUL products

 4   or would have paid less for them. Defendants’ misrepresentations and omissions induced

 5   Plaintiffs and class members to purchase JUUL products they would not otherwise have

 6   purchased and enter into purchase contracts they would not otherwise have entered into. In

 7   addition, class members who are minors are entitled to full repayment of the amounts they spent

 8   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

 9   actual damages, injunctive relief, and reasonable attorneys’ fees, as well as any other relief the

10   Court may deem just or proper.
11                          c.     Common Law Fraud
12          2590. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
13          2591. This claim is brought against JLI.
14          2592. JUUL created and implemented a scheme to create a market for e-cigarettes and
15   substantially increase sales of JUUL through a pervasive pattern of false and misleading
16   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
17   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
18   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
19   addictiveness, and significant risks of substantial physical injury from using JUUL products.

20          2593. Advertisements and representations for JUUL products contained deceptive

21   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

22   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

23   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

24   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

25   decades, JLI used third parties and word of mouth to spread false and misleading information

26   about JUUL products.

27          2594. Advertisements and representations for JUUL products concealed and failed to

28   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed significant risks of substantial physical injury resulting from the use of the

 3   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 4   consumed through a pack of combustible cigarettes.

 5          2595. The labels on JUUL products failed to disclose that the products posed

 6   significant risks of substantial physical injury resulting from the use of the products. The labels

 7   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 8          2596. The omissions were misleading and deceptive standing alone and were

 9   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

10   cigarettes and other representations.
11          2597. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
12   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
13   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
14   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
15   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
16   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
17   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
18   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
19   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

20   Plaintiffs’ and class members’ decisions to purchase JUUL products.

21          2598. JLI owed Plaintiffs and class members a duty to disclose these facts because they

22   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

23   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

24   facts; because the facts would be material to reasonable consumers; because JUUL products

25   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

26   representations concerning the same subject matter as the omitted facts.

27          2599. As set forth in the allegations concerning each Plaintiff in Appendix A, in

28   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations


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 1   and/or omissions. Reasonable consumers would have been expected to have relied on the

 2   misrepresentations and omissions.

 3          2600. Defendants knew or should have known that their misrepresentations and/or

 4   omissions were false and misleading, and intended for consumers to rely on such

 5   misrepresentations and omissions.

 6          2601. JLI knew that JUUL products were not safe or reasonable alternatives to

 7   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 8   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 9   products.

10          2602. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class
11   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
12   differently and would not have purchased JUUL products or would have paid less for them.
13   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
14   JUUL products they would not otherwise have purchased and enter into purchase contracts they
15   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each
16   member of the class damages in an amount to be proven at trial, as well as any other relief the
17   Court may deem just or proper.
18                          d.      Breach of the Implied Warranty of Merchantability
19          2603. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

20          2604. This claim is brought against JLI.

21          2605. JUUL has at all times been a merchant with respect to the products which were

22   sold to Plaintiff and the class and was in the business of selling such products.

23          2606. Each JUUL product sold by JUUL comes with an implied warranty that it will

24   merchantable and fit for the ordinary purpose for which it would be used. Ohio Rev. Code Ann.

25   § 1302.27. JUUL has breached its implied warranty of merchantability because its products

26   were not in merchantable condition when sold, were defective when sold, did not conform to the

27   promises and affirmations of fact made on the products’ containers or labels, and/or do not

28   possess even the most basic degree of fitness for ordinary use.


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 1            2607. The ordinary intended purpose of JUUL’s products—and the purpose for which

 2   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 3   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 4   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 5   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully   addictive, and (v) posed

 6   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s

 7   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 8   recreation smoking devices.

 9            2608. Plaintiffs and each member of the class have had sufficient direct dealings with

10   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
11   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
12   each member of the class, on the other hand.
13            2609. Further, Plaintiffs and each member of the class were third-party beneficiaries of
14   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
15   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the
16   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
17   the express purpose an intent of being sold to consumers.
18            2610. Plaintiffs and the members of the class were injured as a direct and proximate
19   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

20   the Ohio Direct Purchaser Subclass were damaged as a result of JUUL’s breach of its implied

21   warranty of merchantability because, had they been aware of the unmerchantable condition of

22   JUUL products, they would not have purchased JUUL products, or would have paid less for

23   them. Plaintiffs seek damages in an amount to be proven at trial, as well as any other relief the

24   Court may deem just or proper.

25            2611. JUUL was provided notice of these issues by numerous complaints filed against

26   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

27   individual letters and communications sent by consumers before or within a reasonable amount

28   of time after they discovered or should have discovered that’s JUUL product were defective and


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 1   unmerchantable.

 2                          e.     Unjust Enrichment
 3          2612. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 4          2613. This claim is brought against JLI and the Management Defendants.

 5          2614. Defendants created and implemented a scheme to create a market for e-cigarettes

 6   and substantially increase sales of JUUL products through a pervasive pattern of false and

 7   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

 8   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 9   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

10   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
11   products.
12          2615. Defendants were unjustly enriched as a result of their wrongful conduct,
13   including through the false and misleading advertisements and omissions regarding (i) whether
14   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
15   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
16   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
17   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
18   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
19   enriched through their scheme of marketing their products to minors. Ohio Rev. Code Ann.

20   § 2927.02(B)(1) prohibits the marketing and sale of JUUL products to minors.

21          2616. Defendants requested and received a measurable benefit at the expense of

22   Plaintiffs and class members in the form of payment for JUUL products.

23          2617. Defendants appreciated, recognized, and chose to accept the monetary benefits

24   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

25   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

26          2618. There is no justification for Defendants’ enrichment. It would be inequitable,

27   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

28   benefits were procured as a result of their wrongful conduct.


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 1          2619. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 2   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 3   with Defendant.

 4          2620. Plaintiffs plead this claim separately as well as in the alternative to their other

 5   claims, as without such claims they would have no adequate legal remedy.

 6                  36.     Oklahoma
 7          2621. Plaintiffs bring each of the following claims on behalf of the Oklahoma Subclass

 8   under Oklahoma law.

 9                          a.     Violation of the Oklahoma Consumer Protection Act (Okla.
10                                 Stat. tit. 15, §§ 751, et seq.)
11          2622. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
12          2623. This claim is brought against JLI and, for certain unfair and/or unconscionable
13   conduct claims as noted below, all Defendants.
14          2624. Plaintiffs and class members purchased JUUL products for purposes that are
15   personal, household, or business oriented.
16          2625. Defendants created and implemented a scheme to create a market for e-cigarettes
17   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
18   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
19   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

20   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

21   addictiveness, and significant risks of substantial physical injury from using JUUL products.

22          2626. Advertisements and representations for JUUL products contained deceptive

23   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

24   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

25   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

26   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

27   decades, JLI used third parties and word of mouth to spread false and misleading information

28   about JUUL products.


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 1          2627. Advertisements and representations for JUUL products concealed and failed to

 2   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 3   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 4   addictive, posed significant risks of substantial physical injury resulting from the use of the

 5   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 6   consumed through a pack of combustible cigarettes.

 7          2628. The labels on JUUL products failed to disclose that the products posed

 8   significant risks of substantial physical injury resulting from the use of the products. The labels

 9   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

10          2629. The omissions were misleading and deceptive standing alone and were
11   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
12   cigarettes and other representations.
13          2630. JLI’s conduct was unfair and unconscionable in that it included (i) the
14   manufacture and sale of products with a heightened propensity to cause addiction and physical
15   injuries and (ii) misrepresentations and omissions of material facts concerning the
16   characteristics and safety of JUUL products that offended public policy; were immoral,
17   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused
18   substantial harm that greatly outweighs any possible utility from the conduct.
19          2631. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

20   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

21   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

22   products are of a particular standard, or that goods are of a particular style or model, when they

23   are not; and (c) advertising goods or services with intent not to sell them as advertised.

24          2632. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

25   omissions have deceived or could reasonably be expected to deceive or mislead a person to the

26   detriment of that person, including the Plaintiffs.        Reasonable consumers, including the

27   Plaintiffs, would have found it material to their purchasing decisions that JUUL’s products (i)

28   were not smoking cessation devices, (ii) were not reasonable alternatives to combustible


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 1   cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were powerfully

 2   addictive, (v) posed unreasonable risks of substantial bodily injury resulting from the use of the

 3   products, and (vi) that the nicotine consumed through one JUUL pod exceeded the nicotine

 4   consumed through a pack of combustible cigarettes. Knowledge of these facts would have been

 5   a substantial factor in Plaintiffs’ and class members’ decisions to purchase JUUL products.

 6          2633. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 7   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 8   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 9   facts; because the facts would be material to reasonable consumers; because JLI actively

10   concealed them; because JLI intended for consumers to rely on the omissions in question;
11   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
12   made partial representations concerning the same subject matter as the omitted facts.
13          2634. JLI and the Management Defendants engaged in fraudulent and deceptive
14   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
15   products were appropriate for minors, when in fact the products never should have been
16   marketed to minors and are especially harmful to minors due to the potent and addictive
17   nicotine doses, addictive qualities, and health risks.
18          2635. In addition, all Defendants engaged in unfair and unconscionable conduct
19   because the targeting of minors offends public policy (in particular 63 Okl. St. §§ 1-229.13, 1-

20   229.26); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially

21   injurious; and has caused substantial harm that greatly outweighs any possible utility from the

22   conduct.

23          2636. As alleged above, all Defendants participated and/or facilitated the marketing of

24   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

25   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

26   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

27   use of JUUL products by minors continues to rise.

28          2637. Defendants’ conduct actually and proximately caused actual damages to


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 1   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

 2   class members would have behaved differently and would not have purchased JUUL products

 3   or would have paid less for them. Defendants’ misrepresentations and omissions induced

 4   Plaintiffs and class members to purchase JUUL products they would not otherwise have

 5   purchased and enter into purchase contracts they would not otherwise have entered into. In

 6   addition, class members who are minors are entitled to full repayment of the amounts they spent

 7   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

 8   actual damages, injunctive relief, and reasonable attorneys’ fees, as well as any other relief the

 9   Court may deem just or proper.

10                          b.     Violation of the Oklahoma Deceptive Trade Practices Act
11                                 (Okla. Stat. tit. 78, §§ 51, et seq.)
12          2638. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
13          2639. This claim is brought against JLI.
14          2640. Plaintiffs and class members purchased JUUL products for purposes that are
15   personal, household, or business oriented.
16          2641. Defendants created and implemented a scheme to create a market for e-cigarettes
17   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
18   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
19   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

20   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

21   addictiveness, and significant risks of substantial physical injury from using JUUL products.

22          2642. Advertisements and representations for JUUL products contained deceptive

23   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

24   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

25   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

26   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

27   decades, JLI used third parties and word of mouth to spread false and misleading information

28   about JUUL products.


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 1          2643. Advertisements and representations for JUUL products concealed and failed to

 2   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 3   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 4   addictive, posed significant risks of substantial physical injury resulting from the use of the

 5   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 6   consumed through a pack of combustible cigarettes.

 7          2644. The labels on JUUL products failed to disclose that the products posed

 8   significant risks of substantial physical injury resulting from the use of the products. The labels

 9   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

10          2645. The omissions were misleading and deceptive standing alone and were
11   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
12   cigarettes and other representations.
13          2646. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and
14   unfair business practices: (a) misrepresenting that JUUL products have characteristics,
15   ingredients, uses, benefits, or quantities, which they do not have and (b) misrepresenting that
16   JUUL products are of a particular standard, or that goods are of a particular style or model,
17   when they are not.
18          2647. JUUL’s conduct has deceived or could reasonably be expected to deceive or
19   mislead a person to the detriment of that person, including the Plaintiffs.            Reasonable

20   consumers, including the Plaintiffs, would have found it material to their purchasing decisions

21   that JUUL’s products (i) were not smoking cessation devices, (ii) were not reasonable

22   alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery mechanisms,

23   (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily injury

24   resulting from the use of the products, and (vi) that the nicotine consumed through one JUUL

25   pod exceeded the nicotine consumed through a pack of combustible cigarettes. Knowledge of

26   these facts would have been a substantial factor in Plaintiffs’ and class members’ decisions to

27   purchase JUUL products.

28          2648. JLI owed Plaintiffs and class members a duty to disclose these facts because they


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 1   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 2   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 3   facts; because the facts would be material to reasonable consumers; because JLI actively

 4   concealed them; because JLI intended for consumers to rely on the omissions in question;

 5   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 6   made partial representations concerning the same subject matter as the omitted facts.

 7          2649. Defendants’ conduct actually and proximately caused actual damages to

 8   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

 9   class members would have behaved differently and would not have purchased JUUL products

10   or would have paid less for them. Defendants’ misrepresentations and omissions induced
11   Plaintiffs and class members to purchase JUUL products they would not otherwise have
12   purchased and enter into purchase contracts they would not otherwise have entered into. In
13   addition, class members who are minors are entitled to full repayment of the amounts they spent
14   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
15   actual damages, injunctive relief, and reasonable attorneys’ fees, as well as any other relief the
16   Court may deem just or proper.
17                         c.      Common Law Fraud
18          2650. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
19          2651. This claim is brought against JLI.

20          2652. JUUL created and implemented a scheme to create a market for e-cigarettes and

21   substantially increase sales of JUUL through a pervasive pattern of false and misleading

22   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

23   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

24   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

25   addictiveness, and significant risks of substantial physical injury from using JUUL products.

26          2653. Advertisements and representations for JUUL products contained deceptive

27   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

28   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible


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 1   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 2   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 3   decades, JLI used third parties and word of mouth to spread false and misleading information

 4   about JUUL products.

 5          2654. Advertisements and representations for JUUL products concealed and failed to

 6   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 7   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 8   addictive, posed significant risks of substantial physical injury resulting from the use of the

 9   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

10   consumed through a pack of combustible cigarettes.
11          2655. The labels on JUUL products failed to disclose that the products posed
12   significant risks of substantial physical injury resulting from the use of the products. The labels
13   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
14          2656. The omissions were misleading and deceptive standing alone and were
15   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
16   cigarettes and other representations.
17          2657. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
18   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
19   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

20   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

21   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

22   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

23   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

24   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

25   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

26   Plaintiffs’ and class members’ decisions to purchase JUUL products.

27          2658. JLI owed Plaintiffs and class members a duty to disclose these facts because they

28   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties


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 1   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 2   facts; because the facts would be material to reasonable consumers; because JUUL products

 3   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 4   representations concerning the same subject matter as the omitted facts.

 5          2659. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 6   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 7   and/or omissions. Reasonable consumers would have been expected to have relied on the

 8   misrepresentations and omissions.

 9          2660. Defendants knew or should have known that their misrepresentations and/or

10   omissions were false and misleading, and intended for consumers to rely on such
11   misrepresentations and omissions.
12          2661. JLI knew that JUUL products were not safe or reasonable alternatives to
13   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
14   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
15   products.
16          2662. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class
17   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
18   differently and would not have purchased JUUL products or would have paid less for them.
19   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

20   JUUL products they would not otherwise have purchased and enter into purchase contracts they

21   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

22   member of the class damages in an amount to be proven at trial, as well as any other relief the

23   Court may deem just or proper.

24                          d.      Breach of the Implied Warranty of Merchantability
25          2663. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

26          2664. This claim is brought against JLI.

27          2665. JUUL has at all times been a merchant with respect to the products which were

28   sold to Plaintiff and the class and was in the business of selling such products.


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 1            2666. Each JUUL product sold by JUUL comes with an implied warranty that it will

 2   merchantable and fit for the ordinary purpose for which it would be used. Okla. Stat. tit. 12A

 3   §§ 2A-212. JUUL has breached its implied warranty of merchantability because its products

 4   were not in merchantable condition when sold, were defective when sold, did not conform to the

 5   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 6   possess even the most basic degree of fitness for ordinary use.

 7            2667. The ordinary intended purpose of JUUL’s products—and the purpose for which

 8   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 9   products are not fit for that use—or any other use—because they (i) were not smoking cessation

10   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
11   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully   addictive, and (v) posed
12   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s
13   products are not fit for their ordinary, intended use as either cigarette replacement devices or
14   recreation smoking devices.
15            2668. Plaintiffs and each member of the class have had sufficient direct dealings with
16   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
17   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
18   each member of the class, on the other hand.
19            2669. Further, Plaintiffs and each member of the class were third-party beneficiaries of

20   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

21   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

22   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

23   the express purpose an intent of being sold to consumers.

24            2670. Plaintiffs and the members of the class were injured as a direct and proximate

25   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

26   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

27   because, had they been aware of the unmerchantable condition of JUUL products, they would

28   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages


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 1   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

 2          2671. JUUL was provided notice of these issues by numerous complaints filed against

 3   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 4   individual letters and communications sent by consumers before or within a reasonable amount

 5   of time after they discovered or should have discovered that’s JUUL product were defective and

 6   unmerchantable.

 7                          e.     Unjust Enrichment
 8          2672. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 9          2673. This claim is brought against JLI and the Management Defendants.

10          2674. Defendants created and implemented a scheme to create a market for e-cigarettes
11   and substantially increase sales of JUUL products through a pervasive pattern of false and
12   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
13   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
14   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
15   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
16   products.
17          2675. Defendants were unjustly enriched as a result of their wrongful conduct,
18   including through the false and misleading advertisements and omissions regarding (i) whether
19   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

20   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

21   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

22   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

23   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

24   enriched through their scheme of marketing their products to minors. 63 Okl. St. §§ 1-229.13, 1-

25   229.26 prohibit the marketing, sale, and transfer of JUUL products to minors.

26          2676. Defendants requested and received a measurable benefit at the expense of

27   Plaintiffs and class members in the form of payment for JUUL products.

28          2677. Defendants appreciated, recognized, and chose to accept the monetary benefits


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 1   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 2   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 3          2678. There is no justification for Defendants’ enrichment. It would be inequitable,

 4   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 5   benefits were procured as a result of their wrongful conduct.

 6          2679. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 7   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 8   with Defendant.

 9          2680. Plaintiffs plead this claim separately as well as in the alternative to their other

10   claims, as without such claims they would have no adequate legal remedy.
11                  37.     Oregon
12          2681. Plaintiffs bring each of the following claims on behalf of the Oregon Subclass
13   under Oregon law.
14                          a.     Violation of the Oregon Unfair Trade Practices Act (Or. Rev.
15                                 Stat. §§ 646.605, et seq.)
16          2682. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
17          2683. This claim is brought against JLI.
18          2684. Plaintiffs and class members purchased JUUL products for personal purposes.
19          2685. Defendants created and implemented a scheme to create a market for e-cigarettes

20   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

21   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

22   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

23   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

24   addictiveness, and significant risks of substantial physical injury from using JUUL products.

25          2686. Advertisements and representations for JUUL products contained deceptive

26   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

27   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

28   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or


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 1   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 2   decades, JLI used third parties and word of mouth to spread false and misleading information

 3   about JUUL products.

 4          2687. Advertisements and representations for JUUL products concealed and failed to

 5   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 6   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 7   addictive, posed significant risks of substantial physical injury resulting from the use of the

 8   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 9   consumed through a pack of combustible cigarettes.

10          2688. The labels on JUUL products failed to disclose that the products posed
11   significant risks of substantial physical injury resulting from the use of the products. The labels
12   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
13          2689. The omissions were misleading and deceptive standing alone and were
14   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
15   cigarettes and other representations.
16          2690. JLI’s conduct was unfair and unconscionable in that it included (i) the
17   manufacture and sale of products with a heightened propensity to cause addiction and physical
18   injuries and (ii) misrepresentations and omissions of material facts concerning the
19   characteristics and safety of JUUL products that offended public policy; were immoral,

20   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

21   substantial harm that greatly outweighs any possible utility from the conduct.

22          2691. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

23   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

24   ingredients, uses, benefits, or quantities, which they do not have; and (b) misrepresenting that

25   JUUL products are of a particular standard, quality, or grade, or that goods are of a particular

26   style or model, when they are not.

27          2692. JUUL’s conduct had a tendency to, was likely to, and in fact did, deceive

28   reasonable consumers, including the Plaintiffs. Reasonable consumers, including the Plaintiffs,


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 1   would have found it material to their purchasing decisions that JUUL’s products (i) were not

 2   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)

 3   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

 4   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

 5   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a

 6   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

 7   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

 8          2693. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 9   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

10   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
11   facts; because the facts would be material to reasonable consumers; because JLI actively
12   concealed them; because JLI intended for consumers to rely on the omissions in question;
13   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
14   made partial representations concerning the same subject matter as the omitted facts.
15          2694. As set forth in the allegations concerning each Plaintiff in Appendix A, in
16   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.
17   Reasonable consumers would have been expected to have relied on the misrepresentations and
18   omissions.
19          2695. Defendants knew or should have known that their misrepresentations and/or

20   omissions were false and misleading, and intended for consumers to rely on such

21   misrepresentations and omissions.

22          2696. In addition, all Defendants engaged in unfair and unconscionable conduct

23   because the targeting of minors offends public policy (in particular Or. Rev. Stat. Ann.

24   § 167.755(1)); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially

25   injurious; and has caused substantial harm that greatly outweighs any possible utility from the

26   conduct.

27          2697. As alleged above, all Defendants participated and/or facilitated the marketing of

28   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI


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 1   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

 2   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

 3   use of JUUL products by minors continues to rise.

 4          2698. Defendants’ conduct actually and proximately caused loss of money or property

 5   to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs

 6   and class members would have behaved differently and would not have purchased JUUL

 7   products or would have paid less for them. Defendants’ misrepresentations and omissions

 8   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have

 9   purchased and enter into purchase contracts they would not otherwise have entered into. In

10   addition, class members who are minors are entitled to full repayment of the amounts they spent
11   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
12   actual damages or statutory damages of $200, whichever is greater, injunctive relief, restitution,
13   and reasonable attorneys’ fees, as well as any other relief the Court may deem just or proper.
14                         b.      Common Law Fraud
15          2699. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
16          2700. This claim is brought against JLI.
17          2701. JUUL created and implemented a scheme to create a market for e-cigarettes and
18   substantially increase sales of JUUL through a pervasive pattern of false and misleading
19   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

20   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

21   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

22   addictiveness, and significant risks of substantial physical injury from using JUUL products.

23          2702. Advertisements and representations for JUUL products contained deceptive

24   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

25   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

26   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

27   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

28   decades, JLI used third parties and word of mouth to spread false and misleading information


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 1   about JUUL products.

 2          2703. Advertisements and representations for JUUL products concealed and failed to

 3   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 4   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 5   addictive, posed significant risks of substantial physical injury resulting from the use of the

 6   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 7   consumed through a pack of combustible cigarettes.

 8          2704. The labels on JUUL products failed to disclose that the products posed

 9   significant risks of substantial physical injury resulting from the use of the products. The labels

10   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
11          2705. The omissions were misleading and deceptive standing alone and were
12   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
13   cigarettes and other representations.
14          2706. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
15   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
16   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
17   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
18   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
19   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

20   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

21   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

22   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

23   Plaintiffs’ and class members’ decisions to purchase JUUL products.

24          2707. JLI owed Plaintiffs and class members a duty to disclose these facts because they

25   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

26   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

27   facts; because the facts would be material to reasonable consumers; because JUUL products

28   pose an unreasonable risk of substantial bodily injury; and because JLI made partial


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 1   representations concerning the same subject matter as the omitted facts.

 2          2708. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 3   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 4   and/or omissions. Reasonable consumers would have been expected to have relied on the

 5   misrepresentations and omissions.

 6          2709. Defendants knew or should have known that their misrepresentations and/or

 7   omissions were false and misleading, and intended for consumers to rely on such

 8   misrepresentations and omissions.

 9          2710. JLI knew that JUUL products were not safe or reasonable alternatives to

10   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
11   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
12   products.
13          2711. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class
14   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
15   differently and would not have purchased JUUL products or would have paid less for them.
16   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
17   JUUL products they would not otherwise have purchased and enter into purchase contracts they
18   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each
19   member of the class damages in an amount to be proven at trial, as well as any other relief the

20   Court may deem just or proper.

21                          c.      Breach of the Implied Warranty of Merchantability
22          2712. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

23          2713. This claim is brought against JLI.

24          2714. JUUL has at all times been a merchant with respect to the products which were

25   sold to Plaintiff and the class and was in the business of selling such products.

26          2715. Each JUUL product sold by JUUL comes with an implied warranty that it will

27   merchantable and fit for the ordinary purpose for which it would be used. OR. Rev. Stat. Ann.

28   § 72.3140. JUUL has breached its implied warranty of merchantability because its products


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 1   were not in merchantable condition when sold, were defective when sold, did not conform to the

 2   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 3   possess even the most basic degree of fitness for ordinary use.

 4            2716. The ordinary intended purpose of JUUL’s products—and the purpose for which

 5   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 6   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 7   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 8   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully   addictive, and (v) posed

 9   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s

10   products are not fit for their ordinary, intended use as either cigarette replacement devices or
11   recreation smoking devices.
12            2717. Plaintiffs and each member of the class have had sufficient direct dealings with
13   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
14   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
15   each member of the class, on the other hand.
16            2718. Further, Plaintiffs and each member of the class were third-party beneficiaries of
17   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
18   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the
19   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

20   the express purpose an intent of being sold to consumers.

21            2719. Plaintiffs and the members of the class were injured as a direct and proximate

22   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

23   the Oregon Direct Purchaser Subclass were damaged as a result of JUUL’s breach of its implied

24   warranty of merchantability because, had they been aware of the unmerchantable condition of

25   JUUL products, they would not have purchased JUUL products, or would have paid less for

26   them. Plaintiffs seek damages in an amount to be proven at trial, as well as any other relief the

27   Court may deem just or proper.

28            2720. JUUL was provided notice of these issues by numerous complaints filed against


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 1   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 2   individual letters and communications sent by consumers before or within a reasonable amount

 3   of time after they discovered or should have discovered that’s JUUL product were defective and

 4   unmerchantable.

 5                          d.     Unjust Enrichment
 6          2721. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 7          2722. This claim is brought against JLI and the Management Defendants.

 8          2723. Defendants created and implemented a scheme to create a market for e-cigarettes

 9   and substantially increase sales of JUUL products through a pervasive pattern of false and

10   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
11   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
12   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
13   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
14   products.
15          2724. Defendants were unjustly enriched as a result of their wrongful conduct,
16   including through the false and misleading advertisements and omissions regarding (i) whether
17   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
18   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
19   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

20   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

21   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

22   enriched through their scheme of marketing their products to minors. OR. Rev. Stat. Ann.

23   §§ 167.755(1) prohibits the marketing and sale of JUUL products to minors.

24          2725. Defendants requested and received a measurable benefit at the expense of

25   Plaintiffs and class members in the form of payment for JUUL products.

26          2726. Defendants appreciated, recognized, and chose to accept the monetary benefits

27   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

28   expected result of Defendant acting in its pecuniary interest at the expense of its customers.


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 1          2727. There is no justification for Defendants’ enrichment. It would be inequitable,

 2   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 3   benefits were procured as a result of their wrongful conduct.

 4          2728. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 5   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 6   with Defendant.

 7          2729. Plaintiffs plead this claim separately as well as in the alternative to their other

 8   claims, as without such claims they would have no adequate legal remedy.

 9                  38.    Pennsylvania
10          2730. Plaintiffs bring each of the following claims on behalf of the Pennsylvania
11   Subclass under Pennsylvania law.
12                         a.      Violation of the Pennsylvania Unfair Trade Practices and
13                                 Consumer Protection Law (73 Pa. Stat. Ann. §§ 201-1, et seq.)
14          2731. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
15          2732. This claim is brought against JLI.
16          2733. Plaintiffs and class members purchased JUUL products for personal purposes.
17          2734. Defendants created and implemented a scheme to create a market for e-cigarettes
18   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
19   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

20   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

21   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

22   addictiveness, and significant risks of substantial physical injury from using JUUL products.

23          2735. Advertisements and representations for JUUL products contained deceptive

24   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

25   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

26   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

27   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

28   decades, JLI used third parties and word of mouth to spread false and misleading information


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 1   about JUUL products.

 2          2736. Advertisements and representations for JUUL products concealed and failed to

 3   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 4   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 5   addictive, posed significant risks of substantial physical injury resulting from the use of the

 6   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 7   consumed through a pack of combustible cigarettes.

 8          2737. The labels on JUUL products failed to disclose that the products posed

 9   significant risks of substantial physical injury resulting from the use of the products. The labels

10   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
11          2738. The omissions were misleading and deceptive standing alone and were
12   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
13   cigarettes and other representations.
14          2739. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and
15   unfair business practices: (a) misrepresenting that JUUL products have characteristics,
16   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL
17   products are of a particular standard, quality, or grade, or that goods are of a particular style or
18   model, when they are not; (c) advertising goods or services with intent not to sell them as
19   advertised; and (d) engaging in fraudulent and deceptive conduct that creates a likelihood of

20   confusion and misunderstanding.

21          2740. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

22   omissions created a likelihood of confusion and misunderstanding and had the capacity or

23   tendency to deceive and in fact did deceive, ordinary consumers, including the Plaintiffs.

24   Ordinary consumers, including the Plaintiffs, would have found it material to their purchasing

25   decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not reasonable

26   alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery mechanisms,

27   (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily injury

28   resulting from the use of the products, and (vi) that the nicotine consumed through one JUUL


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 1   pod exceeded the nicotine consumed through a pack of combustible cigarettes. Knowledge of

 2   these facts would have been a substantial factor in Plaintiffs’ and class members’ decisions to

 3   purchase JUUL products.

 4          2741. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 5   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 6   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 7   facts; because the facts would be material to reasonable consumers; because JLI actively

 8   concealed them; because JLI intended for consumers to rely on the omissions in question;

 9   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

10   made partial representations concerning the same subject matter as the omitted facts.
11          2742. As set forth in the allegations concerning each Plaintiff in Appendix A, in
12   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.
13   Reasonable consumers would have been expected to have relied on the misrepresentations and
14   omissions.
15          2743. JLI and the Management Defendants engaged in fraudulent and deceptive
16   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL
17   products were appropriate for minors, when in fact the products never should have been
18   marketed to minors and are especially harmful to minors due to the potent and addictive
19   nicotine doses, addictive qualities, and health risks.

20          2744. Defendants’ conduct actually and proximately caused loss of money or property

21   to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs

22   and class members would have behaved differently and would not have purchased JUUL

23   products or would have paid less for them. Defendants’ misrepresentations and omissions

24   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have

25   purchased and enter into purchase contracts they would not otherwise have entered into. In

26   addition, class members who are minors are entitled to full repayment of the amounts they spent

27   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

28   three times actual damages and/or statutory damages in the amount of $100, whichever is


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 1   greater, injunctive relief, and reasonable attorneys’ fees, as well as any other relief the Court

 2   may deem just or proper.

 3                          b.     Common Law Fraud
 4          2745. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5          2746. This claim is brought against JLI.

 6          2747. JUUL created and implemented a scheme to create a market for e-cigarettes and

 7   substantially increase sales of JUUL through a pervasive pattern of false and misleading

 8   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 9   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

10   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
11   addictiveness, and significant risks of substantial physical injury from using JUUL products.
12          2748. Advertisements and representations for JUUL products contained deceptive
13   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
14   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
15   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
16   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
17   decades, JLI used third parties and word of mouth to spread false and misleading information
18   about JUUL products.
19          2749. Advertisements and representations for JUUL products concealed and failed to

20   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

21   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

22   addictive, posed significant risks of substantial physical injury resulting from the use of the

23   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

24   consumed through a pack of combustible cigarettes.

25          2750. The labels on JUUL products failed to disclose that the products posed

26   significant risks of substantial physical injury resulting from the use of the products. The labels

27   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

28          2751. The omissions were misleading and deceptive standing alone and were


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 1   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 2   cigarettes and other representations.

 3          2752. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 4   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 5   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 6   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 7   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 8   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 9   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

10   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
11   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
12   Plaintiffs’ and class members’ decisions to purchase JUUL products.
13          2753. JLI owed Plaintiffs and class members a duty to disclose these facts because they
14   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
15   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
16   facts; because the facts would be material to reasonable consumers; because JUUL products
17   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
18   representations concerning the same subject matter as the omitted facts.
19          2754. As set forth in the allegations concerning each Plaintiff in Appendix A, in

20   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

21   and/or omissions. Reasonable consumers would have been expected to have relied on the

22   misrepresentations and omissions.

23          2755. Defendants knew or should have known that their misrepresentations and/or

24   omissions were false and misleading, and intended for consumers to rely on such

25   misrepresentations and omissions.

26          2756. JLI knew that JUUL products were not safe or reasonable alternatives to

27   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

28   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the


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 1   products.

 2            2757. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

 3   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 4   differently and would not have purchased JUUL products or would have paid less for them.

 5   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 6   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 7   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

 8   member of the class damages in an amount to be proven at trial, as well as any other relief the

 9   Court may deem just or proper.

10                           c.      Breach of the Implied Warranty of Merchantability
11            2758. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
12            2759. This claim is brought against JLI.
13            2760. JUUL has at all times been a merchant with respect to the products which were
14   sold to Plaintiff and the class and was in the business of selling such products.
15            2761. Each JUUL product sold by JUUL comes with an implied warranty that it will
16   merchantable and fit for the ordinary purpose for which it would be used. 13 Pa. C.S.A. § 2314.
17   JUUL has breached its implied warranty of merchantability because its products were not in
18   merchantable condition when sold, were defective when sold, did not conform to the promises
19   and affirmations of fact made on the products’ containers or labels, and/or do not possess even

20   the most basic degree of fitness for ordinary use.

21            2762. The ordinary intended purpose of JUUL’s products—and the purpose for which

22   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

23   products are not fit for that use—or any other use—because they (i) were not smoking cessation

24   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

25   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

26   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

27   products are not fit for their ordinary, intended use as either cigarette replacement devices or

28   recreation smoking devices.


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 1          2763. Plaintiffs and each member of the class have had sufficient direct dealings with

 2   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 3   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 4   each member of the class, on the other hand.

 5          2764. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 6   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 7   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

 8   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 9   the express purpose an intent of being sold to consumers.

10          2765. Plaintiffs and the members of the class were injured as a direct and proximate
11   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
12   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
13   because, had they been aware of the unmerchantable condition of JUUL products, they would
14   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
15   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
16          2766. JUUL was provided notice of these issues by numerous complaints filed against
17   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
18   individual letters and communications sent by consumers before or within a reasonable amount
19   of time after they discovered or should have discovered that’s JUUL product were defective and

20   unmerchantable.

21                          d.     Unjust Enrichment
22          2767. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

23          2768. This claim is brought against JLI and the Management Defendants.

24          2769. Defendants created and implemented a scheme to create a market for e-cigarettes

25   and substantially increase sales of JUUL products through a pervasive pattern of false and

26   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

27   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

28   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and


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 1   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

 2   products.

 3          2770. Defendants were unjustly enriched as a result of their wrongful conduct,

 4   including through the false and misleading advertisements and omissions regarding (i) whether

 5   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 6   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 7   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 8   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 9   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

10   enriched through their scheme of marketing their products to minors.
11          2771. Defendants requested and received a measurable benefit at the expense of
12   Plaintiffs and class members in the form of payment for JUUL products.
13          2772. Defendants appreciated, recognized, and chose to accept the monetary benefits
14   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
15   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
16          2773. There is no justification for Defendants’ enrichment. It would be inequitable,
17   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
18   benefits were procured as a result of their wrongful conduct.
19          2774. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

20   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

21   with Defendant.

22          2775. Plaintiffs plead this claim separately as well as in the alternative to their other

23   claims, as without such claims they would have no adequate legal remedy.

24                  39.     Rhode Island
25          2776. Plaintiffs bring each of the following claims on behalf of the Rhode Island

26   Subclass under Rhode Island law.

27

28


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 1                          a.     Violation of the Rhode Island Unfair Trade Practice and
 2                                 Consumer Protection Act (6 R.I. Gen. Laws §§ 13.1-1, et seq.)
 3          2777. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 4          2778. This claim is brought against JLI and, for certain unfair and/or unconscionable

 5   conduct claims as noted below, all Defendants.

 6          2779. Plaintiffs, class members, and Defendants are persons under Rhode Island’s

 7   Unfair Trade Practice and Consumer Protection Act.

 8          2780. Plaintiffs and class members purchased JUUL products for personal purposes.

 9          2781. Defendants created and implemented a scheme to create a market for e-cigarettes

10   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
11   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
12   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
13   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
14   addictiveness, and significant risks of substantial physical injury from using JUUL products.
15          2782. Advertisements and representations for JUUL products contained deceptive
16   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
17   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
18   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
19   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

20   decades, JLI used third parties and word of mouth to spread false and misleading information

21   about JUUL products.

22          2783. Advertisements and representations for JUUL products concealed and failed to

23   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

24   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

25   addictive, posed significant risks of substantial physical injury resulting from the use of the

26   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

27   consumed through a pack of combustible cigarettes.

28          2784. The labels on JUUL products failed to disclose that the products posed


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 1   significant risks of substantial physical injury resulting from the use of the products. The labels

 2   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 3          2785. The omissions were misleading and deceptive standing alone and were

 4   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 5   cigarettes and other representations.

 6          2786. JLI’s conduct was unfair and unconscionable in that it included (i) the

 7   manufacture and sale of products with a heightened propensity to cause addiction and physical

 8   injuries and (ii) misrepresentations and omissions of material facts concerning the

 9   characteristics and safety of JUUL products that offended public policy; were immoral,

10   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused
11   substantial harm that greatly outweighs any possible utility from the conduct.
12          2787. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and
13   unfair business practices: (a) misrepresenting that JUUL products have characteristics,
14   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL
15   products are of a particular standard, quality, or grade, or that goods are of a particular style or
16   model, when they are not; and (c) advertising goods or services with intent not to sell them as
17   advertised.
18          2788. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
19   omissions at issue were likely to, and in fact did, deceive reasonable consumers including the

20   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their

21   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not

22   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery

23   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily

24   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

25   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

26   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’

27   decisions to purchase JUUL products.

28          2789. JLI owed Plaintiffs and class members a duty to disclose these facts because they


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 1   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 2   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 3   facts; because the facts would be material to reasonable consumers; because JLI actively

 4   concealed them; because JLI intended for consumers to rely on the omissions in question;

 5   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 6   made partial representations concerning the same subject matter as the omitted facts.

 7          2790.    JLI and the Management Defendants engaged in fraudulent and deceptive

 8   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 9   products were appropriate for minors, when in fact the products never should have been

10   marketed to minors and are especially harmful to minors due to the potent and addictive
11   nicotine doses, addictive qualities, and health risks.
12          2791. In addition, all Defendants engaged in unfair and unconscionable conduct
13   because the targeting of minors offends public policy (in particular R.I. Gen. Laws §§ 11-9-13,
14   et seq.); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially
15   injurious; and has caused substantial harm that greatly outweighs any possible utility from the
16   conduct.
17          2792. As alleged above, all Defendants participated and/or facilitated the marketing of
18   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI
19   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

20   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the

21   use of JUUL products by minors continues to rise.

22          2793. Defendants’ conduct actually and proximately caused actual damages to

23   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

24   class members would have behaved differently and would not have purchased JUUL products

25   or would have paid less for them. Defendants’ misrepresentations and omissions induced

26   Plaintiffs and class members to purchase JUUL products they would not otherwise have

27   purchased and enter into purchase contracts they would not otherwise have entered into. In

28   addition, class members who are minors are entitled to full repayment of the amounts they spent


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 1   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

 2   actual damages,    restitution, and/ or statutory damages in the amount of $200 per claim,

 3   whichever is greater, as well as punitive damages, injunctive relief, attorney’s fees, and any

 4   other relief the Court may deem just or proper.

 5                          b.     Common Law Fraud
 6          2794. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 7          2795. This claim is brought against JLI.

 8          2796. JUUL created and implemented a scheme to create a market for e-cigarettes and

 9   substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          2797. Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          2798. Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          2799. The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          2800. The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          2801. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 6   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 7   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 8   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 9   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

10   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
11   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
12   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
13   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
14   Plaintiffs’ and class members’ decisions to purchase JUUL products.
15          2802. JLI owed Plaintiffs and class members a duty to disclose these facts because they
16   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
17   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
18   facts; because the facts would be material to reasonable consumers; because JUUL products
19   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

20   representations concerning the same subject matter as the omitted facts.

21          2803. As set forth in the allegations concerning each Plaintiff in Appendix A, in

22   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

23   and/or omissions. Reasonable consumers would have been expected to have relied on the

24   misrepresentations and omissions.

25          2804. Defendants knew or should have known that their misrepresentations and/or

26   omissions were false and misleading, and intended for consumers to rely on such

27   misrepresentations and omissions.

28          2805. JLI knew that JUUL products were not safe or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 3   products.

 4            2806. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

 5   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 6   differently and would not have purchased JUUL products or would have paid less for them.

 7   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 8   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 9   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

10   member of the class damages in an amount to be proven at trial, as well as any other relief the
11   Court may deem just or proper.
12                           c.      Breach of the Implied Warranty of Merchantability
13            2807. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
14            2808. This claim is brought against JLI.
15            2809. JUUL has at all times been a merchant with respect to the products which were
16   sold to Plaintiff and the class and was in the business of selling such products.
17            2810. Each JUUL product sold by JUUL comes with an implied warranty that it will
18   merchantable and fit for the ordinary purpose for which it would be used. See 6A R.I. Gen.
19   Laws § 2-314. JUUL has breached its implied warranty of merchantability because its products

20   were not in merchantable condition when sold, were defective when sold, did not conform to the

21   promises and affirmations of fact made on the products’ containers or labels, and/or do not

22   possess even the most basic degree of fitness for ordinary use.

23            2811. The ordinary intended purpose of JUUL’s products—and the purpose for which

24   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

25   products are not fit for that use—or any other use—because they (i) were not smoking cessation

26   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

27   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

28   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s


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 1   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 2   recreation smoking devices.

 3          2812. Plaintiffs and each member of the class have had sufficient direct dealings with

 4   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 5   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 6   each member of the class, on the other hand.

 7          2813. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 8   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 9   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

10   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
11   the express purpose an intent of being sold to consumers.
12          2814. Plaintiffs and the members of the class were injured as a direct and proximate
13   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
14   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
15   because, had they been aware of the unmerchantable condition of JUUL products, they would
16   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
17   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
18          2815. JUUL was provided notice of these issues by numerous complaints filed against
19   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

20   individual letters and communications sent by consumers before or within a reasonable amount

21   of time after they discovered or should have discovered that’s JUUL product were defective and

22   unmerchantable.

23                          d.     Unjust Enrichment
24          2816. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          2817. This claim is brought against JLI and the Management Defendants.

26          2818. Defendants created and implemented a scheme to create a market for e-cigarettes

27   and substantially increase sales of JUUL products through a pervasive pattern of false and

28   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and


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 1   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 2   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 3   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

 4   products.

 5          2819. Defendants were unjustly enriched as a result of their wrongful conduct,

 6   including through the false and misleading advertisements and omissions regarding (i) whether

 7   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 8   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 9   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

10   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
11   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
12   enriched through their scheme of marketing their products to minors. The General Laws of
13   Rhode Island sections 11-9-13 prohibits the marketing and sale of JUUL products to minors.
14          2820. Defendants requested and received a measurable benefit at the expense of
15   Plaintiffs and class members in the form of payment for JUUL products.
16          2821. Defendants appreciated, recognized, and chose to accept the monetary benefits
17   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
18   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
19          2822. There is no justification for Defendants’ enrichment. It would be inequitable,

20   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

21   benefits were procured as a result of their wrongful conduct.

22          2823. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

23   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

24   with Defendant.

25          2824. Plaintiffs plead this claim separately as well as in the alternative to their other

26   claims, as without such claims they would have no adequate legal remedy.

27                  40.     South Carolina
28          2825. Plaintiffs bring each of the following claims on behalf of the South Carolina


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 1   Subclass under South Carolina law.

 2                          a.     Violation of the South Carolina Unfair Trade Practices Act
 3                                 (S.C. Code Ann. §§ 39-5-10, et seq.)
 4          2826. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5          2827. This claim is brought against JLI and, for certain unfair and/or unconscionable

 6   conduct claims as noted below, all Defendants.

 7          2828. Plaintiffs, class members, and Defendants are persons under South Carolina’s

 8   Unfair Trade Practices Act.

 9          2829. Defendants engaged in trade or commerce directly or indirectly affecting the

10   people of South Carolina by participating and furthering the advertising, offering for sale,
11   selling, or distributing JUUL products.
12          2830. Plaintiffs and class members purchased JUUL products for personal purposes.
13          2831. Defendants created and implemented a scheme to create a market for e-cigarettes
14   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
15   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
16   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
17   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
18   addictiveness, and significant risks of substantial physical injury from using JUUL products.
19          2832. Advertisements and representations for JUUL products contained deceptive

20   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

21   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

22   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

23   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

24   decades, JLI used third parties and word of mouth to spread false and misleading information

25   about JUUL products.

26          2833. Advertisements and representations for JUUL products concealed and failed to

27   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

28   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully


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 1   addictive, posed significant risks of substantial physical injury resulting from the use of the

 2   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 3   consumed through a pack of combustible cigarettes.

 4          2834. The labels on JUUL products failed to disclose that the products posed

 5   significant risks of substantial physical injury resulting from the use of the products. The labels

 6   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 7          2835. The omissions were misleading and deceptive standing alone and were

 8   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 9   cigarettes and other representations.

10          2836. JLI’s conduct was unfair and unconscionable in that it included (i) the
11   manufacture and sale of products with a heightened propensity to cause addiction and physical
12   injuries and (ii) misrepresentations and omissions of material facts concerning the
13   characteristics and safety of JUUL products that offended public policy; were immoral,
14   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused
15   substantial harm that greatly outweighs any possible utility from the conduct.
16          2837. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
17   omissions had the capacity to deceive, and in fact did, deceive reasonable consumers including
18   the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to
19   their purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii)

20   were not reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-

21   delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of

22   substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

23   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

24   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

25   Plaintiffs’ and class members’ decisions to purchase JUUL products.

26          2838. JLI owed Plaintiffs and class members a duty to disclose these facts because they

27   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

28   other than Plaintiffs and class members), who had exclusive and superior knowledge of the


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 1   facts; because the facts would be material to reasonable consumers; because JLI actively

 2   concealed them; because JLI intended for consumers to rely on the omissions in question;

 3   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 4   made partial representations concerning the same subject matter as the omitted facts.

 5          2839.    JLI and the Management Defendants engaged in fraudulent and deceptive

 6   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 7   products were appropriate for minors, when in fact the products never should have been

 8   marketed to minors and are especially harmful to minors due to the potent and addictive

 9   nicotine doses, addictive qualities, and health risks.

10          2840. In addition, all Defendants engaged in unfair and unconscionable conduct
11   because the targeting of minors offends public policy (in particular S.C. Code Ann. §§ 16-17-
12   500, et seq.); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially
13   injurious; and has caused substantial harm that greatly outweighs any possible utility from the
14   conduct.
15          2841. As alleged above, all Defendants participated and/or facilitated the marketing of
16   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI
17   and others have continued the deceptive, misleading, unfair, and unconscionable practices that
18   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the
19   use of JUUL products by minors continues to rise.

20          2842. Defendants’ conduct actually and proximately caused actual damages and loss of

21   money or property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent

22   conduct, Plaintiffs and class members would have behaved differently and would not have

23   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and

24   omissions induced Plaintiffs and class members to purchase JUUL products they would not

25   otherwise have purchased and enter into purchase contracts they would not otherwise have

26   entered into. In addition, class members who are minors are entitled to full repayment of the

27   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each

28   member of the class—actual damages and treble damages, as well as restitution, attorney’s fees


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 1   and any other relief the Court may deem just or proper.

 2                          b.     Common Law Fraud
 3          2843. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 4          2844. This claim is brought against JLI.

 5          2845. JUUL created and implemented a scheme to create a market for e-cigarettes and

 6   substantially increase sales of JUUL through a pervasive pattern of false and misleading

 7   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 8   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 9   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

10   addictiveness, and significant risks of substantial physical injury from using JUUL products.
11          2846. Advertisements and representations for JUUL products contained deceptive
12   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
13   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
14   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
15   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
16   decades, JLI used third parties and word of mouth to spread false and misleading information
17   about JUUL products.
18          2847. Advertisements and representations for JUUL products concealed and failed to
19   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

20   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

21   addictive, posed significant risks of substantial physical injury resulting from the use of the

22   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

23   consumed through a pack of combustible cigarettes.

24          2848. The labels on JUUL products failed to disclose that the products posed

25   significant risks of substantial physical injury resulting from the use of the products. The labels

26   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

27          2849. The omissions were misleading and deceptive standing alone and were

28   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to


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 1   cigarettes and other representations.

 2          2850. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 3   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 4   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 5   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 6   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 7   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 8   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 9   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

10   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
11   Plaintiffs’ and class members’ decisions to purchase JUUL products.
12          2851. JLI owed Plaintiffs and class members a duty to disclose these facts because they
13   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
14   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
15   facts; because the facts would be material to reasonable consumers; because JUUL products
16   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
17   representations concerning the same subject matter as the omitted facts.
18          2852. As set forth in the allegations concerning each Plaintiff in Appendix A, in
19   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

20   and/or omissions. Reasonable consumers would have been expected to have relied on the

21   misrepresentations and omissions.

22          2853. Defendants knew or should have known that their misrepresentations and/or

23   omissions were false and misleading, and intended for consumers to rely on such

24   misrepresentations and omissions.

25          2854. JLI knew that JUUL products were not safe or reasonable alternatives to

26   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

27   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

28   products.


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 1            2855. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

 2   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 3   differently and would not have purchased JUUL products or would have paid less for them.

 4   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 5   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 6   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

 7   member of the class damages in an amount to be proven at trial, as well as any other relief the

 8   Court may deem just or proper.

 9                           c.      Breach of the Implied Warranty of Merchantability
10            2856. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
11            2857. This claim is brought against JLI.
12            2858. JUUL has at all times been a merchant with respect to the products which were
13   sold to Plaintiff and the class and was in the business of selling such products.
14            2859. Each JUUL product sold by JUUL comes with an implied warranty that it will
15   merchantable and fit for the ordinary purpose for which it would be used. See S.C. Code Ann.
16   § 36-2-314. JUUL has breached its implied warranty of merchantability because its products
17   were not in merchantable condition when sold, were defective when sold, did not conform to the
18   promises and affirmations of fact made on the products’ containers or labels, and/or do not
19   possess even the most basic degree of fitness for ordinary use.

20            2860. The ordinary intended purpose of JUUL’s products—and the purpose for which

21   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

22   products are not fit for that use—or any other use—because they (i) were not smoking cessation

23   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

24   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

25   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

26   products are not fit for their ordinary, intended use as either cigarette replacement devices or

27   recreation smoking devices.

28            2861. Plaintiffs and each member of the class have had sufficient direct dealings with


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 1   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 2   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 3   each member of the class, on the other hand.

 4          2862. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 5   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 6   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

 7   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 8   the express purpose an intent of being sold to consumers.

 9          2863. Plaintiffs and the members of the class were injured as a direct and proximate

10   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
11   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
12   because, had they been aware of the unmerchantable condition of JUUL products, they would
13   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
14   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
15          2864. JUUL was provided notice of these issues by numerous complaints filed against
16   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
17   individual letters and communications sent by consumers before or within a reasonable amount
18   of time after they discovered or should have discovered that’s JUUL product were defective and
19   unmerchantable.

20                          d.     Unjust Enrichment
21          2865. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

22          2866. This claim is brought against JLI and the Management Defendants.

23          2867. Defendants created and implemented a scheme to create a market for e-cigarettes

24   and substantially increase sales of JUUL products through a pervasive pattern of false and

25   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

26   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

27   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

28   doses, addictiveness, and significant risks of substantial physical injury from using JUUL


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 1   products.

 2          2868. Defendants were unjustly enriched as a result of their wrongful conduct,

 3   including through the false and misleading advertisements and omissions regarding (i) whether

 4   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 5   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 6   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 7   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 8   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 9   enriched through their scheme of marketing their products to minors. S.C. Code Ann. §§ 16-17-

10   500 & 16-17-502(A) prohibit the marketing and sale of JUUL products to minors.
11          2869. Defendants requested and received a measurable benefit at the expense of
12   Plaintiffs and class members in the form of payment for JUUL products.
13          2870. Defendants appreciated, recognized, and chose to accept the monetary benefits
14   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
15   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
16          2871. There is no justification for Defendants’ enrichment. It would be inequitable,
17   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
18   benefits were procured as a result of their wrongful conduct.
19          2872. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

20   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

21   with Defendant.

22          2873. Plaintiffs plead this claim separately as well as in the alternative to their other

23   claims, as without such claims they would have no adequate legal remedy.

24          2874. [Intentionally Omitted]

25                  41.     South Dakota
26          2875. Plaintiffs bring each of the following claims on behalf of the South Dakota

27   Subclass under South Dakota law.

28


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 1                          a.     Violation of the South Dakota Deceptive Trade Practices and
 2                                 Consumer Protection Act (S.D. Codified Laws §§ 37-24-1, et
 3                                 seq.)
 4          2876. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5          2877. This claim is brought against JLI and, for certain claims below, the Management

 6   Defendants.

 7          2878. Plaintiffs, class members, and JUUL are persons under South Dakota’s

 8   Deceptive Trade Practices and Consumer Protection Act.

 9          2879. JUUL engaged in trade or commerce directly or indirectly affecting the people of

10   South Dakota by advertising, offering for sale, attempting to sell, selling, or distributing JUUL
11   products.
12          2880. Plaintiffs and class members purchased JUUL products for personal purposes.
13          2881. Defendants created and implemented a scheme to create a market for e-cigarettes
14   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
15   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
16   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
17   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
18   addictiveness, and significant risks of substantial physical injury from using JUUL products.
19          2882. Advertisements and representations for JUUL products contained deceptive

20   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

21   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

22   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

23   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

24   decades, JLI used third parties and word of mouth to spread false and misleading information

25   about JUUL products.

26          2883. Advertisements and representations for JUUL products concealed and failed to

27   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

28   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully


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 1   addictive, posed significant risks of substantial physical injury resulting from the use of the

 2   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 3   consumed through a pack of combustible cigarettes.

 4          2884. The labels on JUUL products failed to disclose that the products posed

 5   significant risks of substantial physical injury resulting from the use of the products. The labels

 6   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 7          2885. The omissions were misleading and deceptive standing alone and were

 8   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 9   cigarettes and other representations.

10          2886. JUUL engaged in, used, and employed deceptive acts and practices, fraud, false
11   pretense, false promises, and misrepresentations and concealed, suppressed, and omitted
12   material information in connection with the sale of JUUL products.
13          2887. JUUL’s conduct had the capacity to, were likely to, and in fact did, deceive
14   reasonable consumers, including the Plaintiffs. Reasonable consumers, including the Plaintiffs,
15   would have found it material to their purchasing decisions that JUUL’s products (i) were not
16   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)
17   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed
18   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)
19   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a

20   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

21   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

22          2888. JLI owed Plaintiffs and class members a duty to disclose these facts because they

23   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

24   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

25   facts; because the facts would be material to reasonable consumers; because JLI actively

26   concealed them; because JLI intended for consumers to rely on the omissions in question;

27   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

28   made partial representations concerning the same subject matter as the omitted facts.


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 1             2889. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 2   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

 3   Reasonable consumers would have been expected to have relied on the misrepresentations and

 4   omissions.

 5             2890. Defendants knew or should have known that their misrepresentations and/or

 6   omissions were false and misleading, and intended for consumers to rely on such

 7   misrepresentations and omissions.

 8             2891. JLI and the Management Defendants engaged in fraudulent and deceptive

 9   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

10   products were appropriate for minors, when in fact the products never should have been
11   marketed to minors and are especially harmful to minors due to the potent and addictive
12   nicotine doses, addictive qualities, and health risks.
13             2892. JUUL’s conduct actually and proximately caused actual damages and loss of
14   money or property to Plaintiffs and class members. Absent JUUL’s deceptive and fraudulent
15   conduct, Plaintiffs and class members would have behaved differently and would not have
16   purchased JUUL products or would have paid less for them. JUUL’s misrepresentations and
17   omissions induced Plaintiffs and class members to purchase JUUL products they would not
18   otherwise have purchased and enter into purchase contracts they would not otherwise have
19   entered into. In addition, class members who are minors are entitled to full repayment of the

20   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each

21   member of the class—actual damages, as well as any other relief the Court may deem just or

22   proper.

23                            b.      Common Law Fraud
24             2893. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25             2894. This claim is brought against JLI.

26             2895. JUUL created and implemented a scheme to create a market for e-cigarettes and

27   substantially increase sales of JUUL through a pervasive pattern of false and misleading

28   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe


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 1   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 2   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 3   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 4          2896. Advertisements and representations for JUUL products contained deceptive

 5   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 6   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 7   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 8   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 9   decades, JLI used third parties and word of mouth to spread false and misleading information

10   about JUUL products.
11          2897. Advertisements and representations for JUUL products concealed and failed to
12   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
13   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
14   addictive, posed significant risks of substantial physical injury resulting from the use of the
15   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
16   consumed through a pack of combustible cigarettes.
17          2898. The labels on JUUL products failed to disclose that the products posed
18   significant risks of substantial physical injury resulting from the use of the products. The labels
19   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

20          2899. The omissions were misleading and deceptive standing alone and were

21   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

22   cigarettes and other representations.

23          2900. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

24   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

25   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

26   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

27   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

28   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable


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 1   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 2   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 3   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 4   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 5          2901. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 6   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 7   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 8   facts; because the facts would be material to reasonable consumers; because JUUL products

 9   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

10   representations concerning the same subject matter as the omitted facts.
11          2902. As set forth in the allegations concerning each Plaintiff in Appendix A, in
12   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
13   and/or omissions. Reasonable consumers would have been expected to have relied on the
14   misrepresentations and omissions.
15          2903. Defendants knew or should have known that their misrepresentations and/or
16   omissions were false and misleading, and intended for consumers to rely on such
17   misrepresentations and omissions.
18          2904. JLI knew that JUUL products were not safe or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

21   products.

22          2905. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

23   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

24   differently and would not have purchased JUUL products or would have paid less for them.

25   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

26   JUUL products they would not otherwise have purchased and enter into purchase contracts they

27   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

28   member of the class damages in an amount to be proven at trial, as well as any other relief the


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 1   Court may deem just or proper.

 2                           c.      Breach of the Implied Warranty of Merchantability
 3            2906. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 4            2907. This claim is brought against JLI.

 5            2908. JUUL has at all times been a merchant with respect to the products which were

 6   sold to Plaintiff and the class and was in the business of selling such products.

 7            2909. Each JUUL product sold by JUUL comes with an implied warranty that it will

 8   merchantable and fit for the ordinary purpose for which it would be used. See S.D. Codified

 9   Laws § 57A-2-314. JUUL has breached its implied warranty of merchantability because its

10   products were not in merchantable condition when sold, were defective when sold, did not
11   conform to the promises and affirmations of fact made on the products’ containers or labels,
12   and/or do not possess even the most basic degree of fitness for ordinary use.
13            2910. The ordinary intended purpose of JUUL’s products—and the purpose for which
14   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
15   products are not fit for that use—or any other use—because they (i) were not smoking cessation
16   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
17   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed
18   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s
19   products are not fit for their ordinary, intended use as either cigarette replacement devices or

20   recreation smoking devices.

21            2911. Plaintiffs and each member of the class have had sufficient direct dealings with

22   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

23   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

24   each member of the class, on the other hand.

25            2912. Further, Plaintiffs and each member of the class were third-party beneficiaries of

26   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

27   sale of JUUL products to consumers.           Specifically, Plaintiffs and class members are the

28   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with


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 1   the express purpose an intent of being sold to consumers.

 2          2913. Plaintiffs and the members of the class were injured as a direct and proximate

 3   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

 4   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

 5   because, had they been aware of the unmerchantable condition of JUUL products, they would

 6   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

 7   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

 8          2914. JUUL was provided notice of these issues by numerous complaints filed against

 9   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

10   individual letters and communications sent by consumers before or within a reasonable amount
11   of time after they discovered or should have discovered that’s JUUL product were defective and
12   unmerchantable.
13                          d.     Unjust Enrichment
14          2915. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
15          2916. This claim is brought against JLI and the Management Defendants.
16          2917. Defendants created and implemented a scheme to create a market for e-cigarettes
17   and substantially increase sales of JUUL products through a pervasive pattern of false and
18   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
19   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

20   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

21   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

22   products.

23          2918. Defendants were unjustly enriched as a result of their wrongful conduct,

24   including through the false and misleading advertisements and omissions regarding (i) whether

25   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

26   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

27   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

28   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the


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 1   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 2   enriched through their scheme of marketing their products to minors. South Dakota Codified

 3   Laws § 34-46-2 prohibits the marketing and sale of JUUL products to minors.

 4          2919. Defendants requested and received a measurable benefit at the expense of

 5   Plaintiffs and class members in the form of payment for JUUL products.

 6          2920. Defendants appreciated, recognized, and chose to accept the monetary benefits

 7   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 8   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 9          2921. There is no justification for Defendants’ enrichment. It would be inequitable,

10   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
11   benefits were procured as a result of their wrongful conduct.
12          2922. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
13   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
14   with Defendant.
15          2923. Plaintiffs plead this claim separately as well as in the alternative to their other
16   claims, as without such claims they would have no adequate legal remedy.
17                  42.       Tennessee
18          2924. Plaintiffs bring each of the following claims on behalf of the Tennessee Subclass
19   under Tennessee law.

20                            a.    Violation of the Tennessee Consumer Protection Act (Tenn.
21                                  Code Ann. §§ 47-18-101, et seq.)
22          2925. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

23          2926. This claim is brought against JLI and, for certain unfair and/or unconscionable

24   conduct claims as noted below, all Defendants.

25          2927. Plaintiffs, class members, and Defendants are persons under Tennessee’s

26   Consumer Protection Act.

27          2928. Plaintiffs and class members are natural persons who purchased JUUL products

28   for personal purposes.


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 1          2929. Defendants created and implemented a scheme to create a market for e-cigarettes

 2   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 3   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 4   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 5   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 6   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 7          2930. Advertisements and representations for JUUL products contained deceptive

 8   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 9   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

10   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
11   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
12   decades, JLI used third parties and word of mouth to spread false and misleading information
13   about JUUL products.
14          2931. Advertisements and representations for JUUL products concealed and failed to
15   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
16   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
17   addictive, posed significant risks of substantial physical injury resulting from the use of the
18   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
19   consumed through a pack of combustible cigarettes.

20          2932. The labels on JUUL products failed to disclose that the products posed

21   significant risks of substantial physical injury resulting from the use of the products. The labels

22   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

23          2933. The omissions were misleading and deceptive standing alone and were

24   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

25   cigarettes and other representations.

26          2934. JLI’s conduct was unfair and unconscionable in that it included (i) the

27   manufacture and sale of products with a heightened propensity to cause addiction and physical

28   injuries and (ii) misrepresentations and omissions of material facts concerning the


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 1   characteristics and safety of JUUL products that offended public policy; were immoral,

 2   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

 3   substantial harm that greatly outweighs any possible utility from the conduct.

 4          2935. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 5   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

 6   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

 7   products are of a particular standard, quality, or grade, or that goods are of a particular style or

 8   model, when they are not; (c) advertising goods or services with intent not to sell them as

 9   advertised; and (d) using statements or illustrations in advertisements that create a false

10   impression of the grade, quality, quantity, value, or usability of the goods or services offered.
11          2936. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
12   omissions at issue were likely to or tend to, and in fact did, deceive reasonable consumers
13   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
14   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
15   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
16   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
17   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
18   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
19   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

20   Plaintiffs’ and class members’ decisions to purchase JUUL products.

21          2937. JLI owed Plaintiffs and class members a duty to disclose these facts because they

22   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

23   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

24   facts; because the facts would be material to reasonable consumers; because JLI actively

25   concealed them; because JLI intended for consumers to rely on the omissions in question;

26   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

27   made partial representations concerning the same subject matter as the omitted facts.

28          2938. JLI and the Management Defendants engaged in fraudulent and deceptive


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 1   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 2   products were appropriate for minors, when in fact the products never should have been

 3   marketed to minors and are especially harmful to minors due to the potent and addictive

 4   nicotine doses, addictive qualities, and health risks.

 5          2939. In addition, all Defendants engaged in unfair and unconscionable conduct

 6   because the targeting of minors offends public policy (in particular Tenn. Code Ann. § 39-17-

 7   1504); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially injurious;

 8   and has caused substantial harm that greatly outweighs any possible utility from the conduct.

 9          2940. As alleged above, all Defendants participated and/or facilitated the marketing of

10   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI
11   and others have continued the deceptive, misleading, unfair, and unconscionable practices that
12   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the
13   use of JUUL products by minors continues to rise.
14          2941. Defendants’ conduct actually and proximately caused ascertainable loss of
15   money or property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent
16   conduct, Plaintiffs and class members would have behaved differently and would not have
17   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and
18   omissions induced Plaintiffs and class members to purchase JUUL products they would not
19   otherwise have purchased and enter into purchase contracts they would not otherwise have

20   entered into. In addition, class members who are minors are entitled to full repayment of the

21   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each

22   member of the class—actual damages and statutory treble damages, as well as injunctive relief,

23   attorney’s fees, and any other relief the Court may deem just or proper.

24                          b.      Common Law Intentional Misrepresentation
25          2942. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

26          2943. This claim is brought against JLI.

27          2944. JUUL created and implemented a scheme to create a market for e-cigarettes and

28   substantially increase sales of JUUL through a pervasive pattern of false and misleading


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 1   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 2   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 3   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 4   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 5          2945. Advertisements and representations for JUUL products contained deceptive

 6   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 7   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 8   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 9   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

10   decades, JLI used third parties and word of mouth to spread false and misleading information
11   about JUUL products.
12          2946. Advertisements and representations for JUUL products concealed and failed to
13   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
14   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
15   addictive, posed significant risks of substantial physical injury resulting from the use of the
16   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
17   consumed through a pack of combustible cigarettes.
18          2947. The labels on JUUL products failed to disclose that the products posed
19   significant risks of substantial physical injury resulting from the use of the products. The labels

20   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

21          2948. The omissions were misleading and deceptive standing alone and were

22   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

23   cigarettes and other representations.

24          2949. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

25   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

26   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

27   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

28   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely


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 1   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 2   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 3   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 4   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 5   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 6          2950. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 7   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 8   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 9   facts; because the facts would be material to reasonable consumers; because JUUL products

10   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
11   representations concerning the same subject matter as the omitted facts.
12          2951. As set forth in the allegations concerning each Plaintiff in Appendix A, in
13   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
14   and/or omissions. Reasonable consumers would have been expected to have relied on the
15   misrepresentations and omissions.
16          2952. Defendants knew or should have known that their misrepresentations and/or
17   omissions were false and misleading, and intended for consumers to rely on such
18   misrepresentations and omissions.
19          2953. JLI knew that JUUL products were not safe or reasonable alternatives to

20   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

21   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

22   products.

23          2954. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

24   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

25   differently and would not have purchased JUUL products or would have paid less for them.

26   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

27   JUUL products they would not otherwise have purchased and enter into purchase contracts they

28   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each


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 1   member of the class damages in an amount to be proven at trial, as well as any other relief the

 2   Court may deem just or proper.

 3                           c.      Breach of the Implied Warranty of Merchantability
 4            2955. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5            2956. This claim is brought against JLI.

 6            2957. JUUL has at all times been a merchant with respect to the products which were

 7   sold to Plaintiff and the class and was in the business of selling such products.

 8            2958. Each JUUL product sold by JUUL comes with an implied warranty that it will

 9   merchantable and fit for the ordinary purpose for which it would be used. See Tenn. Code Ann.

10   § 47-2-314. JUUL has breached its implied warranty of merchantability because its products
11   were not in merchantable condition when sold, were defective when sold, did not conform to the
12   promises and affirmations of fact made on the products’ containers or labels, and/or do not
13   possess even the most basic degree of fitness for ordinary use.
14            2959. The ordinary intended purpose of JUUL’s products—and the purpose for which
15   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
16   products are not fit for that use—or any other use—because they (i) were not smoking cessation
17   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
18   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed
19   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

20   products are not fit for their ordinary, intended use as either cigarette replacement devices or

21   recreation smoking devices.

22            2960. Plaintiffs and each member of the class have had sufficient direct dealings with

23   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

24   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

25   each member of the class, on the other hand.

26            2961. Further, Plaintiffs and each member of the class were third-party beneficiaries of

27   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

28   sale of JUUL products to consumers.           Specifically, Plaintiffs and class members are the


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 1   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 2   the express purpose an intent of being sold to consumers.

 3          2962. Plaintiffs and the members of the class were injured as a direct and proximate

 4   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

 5   the Tennessee Direct Purchaser Subclass were damaged as a result of JUUL’s breach of its

 6   implied warranty of merchantability because, had they been aware of the unmerchantable

 7   condition of JUUL products, they would not have purchased JUUL products, or would have

 8   paid less for them. Plaintiffs seek damages in an amount to be proven at trial, as well as any

 9   other relief the Court may deem just or proper.

10          2963. JUUL was provided notice of these issues by numerous complaints filed against
11   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
12   individual letters and communications sent by consumers before or within a reasonable amount
13   of time after they discovered or should have discovered that’s JUUL product were defective and
14   unmerchantable.
15                         d.      Unjust Enrichment
16          2964. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
17          2965. This claim is brought against JLI and the Management Defendants.
18          2966. Defendants created and implemented a scheme to create a market for e-cigarettes
19   and substantially increase sales of JUUL products through a pervasive pattern of false and

20   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

21   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

22   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

23   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

24   products.

25          2967. Defendants were unjustly enriched as a result of their wrongful conduct,

26   including through the false and misleading advertisements and omissions regarding (i) whether

27   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

28   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were


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 1   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 2   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 3   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 4   enriched through their scheme of marketing their products to minors. Tennessee Code

 5   Annotated §§ 39-17-1504(a) and 39-17-1504(d) prohibit the marketing and sale of JUUL

 6   products to minors.

 7          2968. Defendants requested and received a measurable benefit at the expense of

 8   Plaintiffs and class members in the form of payment for JUUL products.

 9          2969. Defendants appreciated, recognized, and chose to accept the monetary benefits

10   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
11   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
12          2970. There is no justification for Defendants’ enrichment. It would be inequitable,
13   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
14   benefits were procured as a result of their wrongful conduct.
15          2971. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
16   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
17   with Defendant.
18          2972. Plaintiffs plead this claim separately as well as in the alternative to their other
19   claims, as without such claims they would have no adequate legal remedy.

20                  43.     Texas
21          2973. Plaintiffs bring each of the following claims on behalf of the Texas Subclass

22   under Texas law.

23                          a.      Violation of the Texas Deceptive Trade Practices-Consumer
24                                  Protection Act (Tex. Bus. & Com. Code §§ 17.41, et seq.)
25          2974. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

26          2975. This claim is brought against JLI and, for certain unfair and/or unconscionable

27   conduct claims as noted below, all Defendants.

28          2976. Plaintiffs, class members, and Defendants are persons under Texas’s Deceptive


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 1   Trade Practices-Consumer Protection Act.

 2          2977. Plaintiffs and class members are individuals who purchased JUUL products.

 3          2978. Defendants created and implemented a scheme to create a market for e-cigarettes

 4   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 5   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 6   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 7   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 8   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 9          2979. Advertisements and representations for JUUL products contained deceptive

10   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
11   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
12   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
13   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
14   decades, JLI used third parties and word of mouth to spread false and misleading information
15   about JUUL products.
16          2980. Advertisements and representations for JUUL products concealed and failed to
17   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
18   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
19   addictive, posed significant risks of substantial physical injury resulting from the use of the

20   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

21   consumed through a pack of combustible cigarettes.

22          2981. The labels on JUUL products failed to disclose that the products posed

23   significant risks of substantial physical injury resulting from the use of the products. The labels

24   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

25          2982. The omissions were misleading and deceptive standing alone and were

26   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

27   cigarettes and other representations.

28          2983. JLI’s conduct was unfair and unconscionable in that it included (i) the


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 1   manufacture and sale of products with a heightened propensity to cause addiction and physical

 2   injuries and (ii) misrepresentations and omissions of material facts concerning the

 3   characteristics and safety of JUUL products that offended public policy; were immoral,

 4   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

 5   substantial harm that greatly outweighs any possible utility from the conduct. JUUL’s acts took

 6   advantage of the lack of knowledge, ability, experience, or capacity of Plaintiffs and class

 7   members to a grossly unfair degree and to the detriment of Plaintiffs and class members.

 8          2984. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 9   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

10   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL
11   products are of a particular standard, quality, or grade, or that goods are of a particular style or
12   model, when they are not; (c) advertising goods or services with intent not to sell them as
13   advertised; and (d) failing to disclose information concerning JUUL products which was known
14   at the time of the JUUL’s sale of the products, with the intention to induce the consumers into
15   transactions into which consumers would not have entered had the information been disclosed.
16          2985. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
17   omissions had the capacity and tendency to deceive, and in fact did, deceive reasonable
18   consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have
19   found it material to their purchasing decisions that JUUL’s products (i) were not smoking

20   cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were

21   extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed

22   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)

23   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a

24   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

25   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

26          2986. JLI owed Plaintiffs and class members a duty to disclose these facts because they

27   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

28   other than Plaintiffs and class members), who had exclusive and superior knowledge of the


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 1   facts; because the facts would be material to reasonable consumers; because JLI actively

 2   concealed them; because JLI intended for consumers to rely on the omissions in question;

 3   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

 4   made partial representations concerning the same subject matter as the omitted facts.

 5          2987. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 6   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

 7   Reasonable consumers would have been expected to have relied on the misrepresentations and

 8   omissions.

 9          2988. Defendants knew or should have known that their misrepresentations and/or

10   omissions were false and misleading, and intended for consumers to rely on such
11   misrepresentations and omissions.
12          2989. In addition, all Defendants engaged in unconscionable conduct because the
13   targeting of minors took advantage of the lack of knowledge, ability, experience, or capacity of
14   Plaintiffs and class members to a grossly unfair degree and to the detriment of Plaintiffs and
15   class members. In particular, Texas law seeks to protect minors from being the target of sales
16   and marketing practices concerning JUUL products. Texas Health & Safety Code § 161.082,
17   161.087 and 161.452(c).
18          2990. Defendants’ conduct actually and proximately caused actual damages to
19   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and

20   class members would have behaved differently and would not have purchased JUUL products

21   or would have paid less for them. Defendants’ misrepresentations and omissions induced

22   Plaintiffs and class members to purchase JUUL products they would not otherwise have

23   purchased and enter into purchase contracts they would not otherwise have entered into. In

24   addition, class members who are minors are entitled to full repayment of the amounts they spent

25   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

26   economic damages, treble damages, and restitution, as well as injunctive relief, attorney’s fees,

27   and any other relief the Court may deem just or proper.

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 1                          b.     Common Law Fraud
 2          2991. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 3          2992. This claim is brought against JLI.

 4          2993. JUUL created and implemented a scheme to create a market for e-cigarettes and

 5   substantially increase sales of JUUL through a pervasive pattern of false and misleading

 6   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 7   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 8   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 9   addictiveness, and significant risks of substantial physical injury from using JUUL products.

10          2994. Advertisements and representations for JUUL products contained deceptive
11   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
12   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
13   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
14   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
15   decades, JLI used third parties and word of mouth to spread false and misleading information
16   about JUUL products.
17          2995. Advertisements and representations for JUUL products concealed and failed to
18   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed significant risks of substantial physical injury resulting from the use of the

21   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

22   consumed through a pack of combustible cigarettes.

23          2996. The labels on JUUL products failed to disclose that the products posed

24   significant risks of substantial physical injury resulting from the use of the products. The labels

25   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

26          2997. The omissions were misleading and deceptive standing alone and were

27   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

28   cigarettes and other representations.


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 1          2998. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 2   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 3   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 4   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 5   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 6   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 7   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 8   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 9   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

10   Plaintiffs’ and class members’ decisions to purchase JUUL products.
11          2999. JLI owed Plaintiffs and class members a duty to disclose these facts because they
12   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
13   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
14   facts; because the facts would be material to reasonable consumers; because JUUL products
15   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
16   representations concerning the same subject matter as the omitted facts.
17          3000. As set forth in the allegations concerning each Plaintiff in Appendix A, in
18   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
19   and/or omissions. Reasonable consumers would have been expected to have relied on the

20   misrepresentations and omissions.

21          3001. Defendants knew or should have known that their misrepresentations and/or

22   omissions were false and misleading, and intended for consumers to rely on such

23   misrepresentations and omissions.

24          3002. JLI knew that JUUL products were not safe or reasonable alternatives to

25   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

26   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

27   products.

28          3003. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class


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 1   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 2   differently and would not have purchased JUUL products or would have paid less for them.

 3   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 4   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 5   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

 6   member of the class damages in an amount to be proven at trial, as well as any other relief the

 7   Court may deem just or proper.

 8                           c.      Breach of the Implied Warranty of Merchantability
 9            3004. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

10            3005. This claim is brought against JLI.
11            3006. JUUL has at all times been a merchant with respect to the products which were
12   sold to Plaintiff and the class and was in the business of selling such products.
13            3007. Each JUUL product sold by JUUL comes with an implied warranty that it will
14   merchantable and fit for the ordinary purpose for which it would be used. See Tex. Bus. & Com.
15   Code § 2.314. JUUL has breached its implied warranty of merchantability because its products
16   were not in merchantable condition when sold, were defective when sold, did not conform to the
17   promises and affirmations of fact made on the products’ containers or labels, and/or do not
18   possess even the most basic degree of fitness for ordinary use.
19            3008. The ordinary intended purpose of JUUL’s products—and the purpose for which

20   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

21   products are not fit for that use—or any other use—because they (i) were not smoking cessation

22   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

23   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

24   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

25   products are not fit for their ordinary, intended use as either cigarette replacement devices or

26   recreation smoking devices.

27            3009. Plaintiffs and each member of the class have had sufficient direct dealings with

28   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized


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 1   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 2   each member of the class, on the other hand.

 3          3010. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 4   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 5   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

 6   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 7   the express purpose an intent of being sold to consumers.

 8          3011. Plaintiffs and the members of the class were injured as a direct and proximate

 9   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

10   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
11   because, had they been aware of the unmerchantable condition of JUUL products, they would
12   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
13   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
14          3012. JUUL was provided notice of these issues by numerous complaints filed against
15   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
16   individual letters and communications sent by consumers before or within a reasonable amount
17   of time after they discovered or should have discovered that’s JUUL product were defective and
18   unmerchantable.
19                          d.     Unjust Enrichment
20          3013. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          3014. This claim is brought against JLI and the Management Defendants.

22          3015. Defendants created and implemented a scheme to create a market for e-cigarettes

23   and substantially increase sales of JUUL products through a pervasive pattern of false and

24   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

25   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

26   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

27   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

28   products.


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 1          3016. Defendants were unjustly enriched as a result of their wrongful conduct,

 2   including through the false and misleading advertisements and omissions regarding (i) whether

 3   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 4   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 5   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 6   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 7   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 8   enriched through their scheme of marketing their products to minors. Texas Health & Safety

 9   Code § 161.082, 161.087 and 161.452(c) prohibit the marketing and sale of JUUL products to

10   minors.
11          3017. Defendants requested and received a measurable benefit at the expense of
12   Plaintiffs and class members in the form of payment for JUUL products.
13          3018. Defendants appreciated, recognized, and chose to accept the monetary benefits
14   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
15   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
16          3019. There is no justification for Defendants’ enrichment. It would be inequitable,
17   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
18   benefits were procured as a result of their wrongful conduct.
19          3020. Plaintiffs plead this claim separately as well as in the alternative to their other

20   claims, as without such claims they would have no adequate legal remedy.

21                  44.     Utah
22          3021. Plaintiffs bring each of the following claims on behalf of the Utah Subclass

23   under Utah law.

24                          a.     Violation of the Utah Consumer Sales Practices Act (Utah
25                                 Code Ann. §§ 13-11-1, et seq.)
26          3022. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

27          3023. This claim is brought against JLI.

28          3024. Plaintiffs, class members, and Defendants are persons under Utah’s Consumer


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 1   Sales Practices Act.

 2          3025. Plaintiffs and class members purchased JUUL products in consumer transactions

 3   primarily for personal purposes.

 4          3026. Defendants created and implemented a scheme to create a market for e-cigarettes

 5   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 6   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 7   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 8   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 9   addictiveness, and significant risks of substantial physical injury from using JUUL products.

10          3027. Advertisements and representations for JUUL products contained deceptive
11   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
12   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
13   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
14   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
15   decades, JLI used third parties and word of mouth to spread false and misleading information
16   about JUUL products.
17          3028. Advertisements and representations for JUUL products concealed and failed to
18   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed significant risks of substantial physical injury resulting from the use of the

21   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

22   consumed through a pack of combustible cigarettes.

23          3029. The labels on JUUL products failed to disclose that the products posed

24   significant risks of substantial physical injury resulting from the use of the products. The labels

25   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

26          3030. The omissions were misleading and deceptive standing alone and were

27   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

28   cigarettes and other representations.


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 1          3031.    JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 2   unfair business practices: (a) misrepresenting that JUUL products have performance

 3   characteristics, uses, or benefits, which they do not have; (b) misrepresenting that JUUL

 4   products are of a particular standard, quality, or grade, or that goods are of a particular style or

 5   model, when they are not; and (c) misrepresenting that the subject of a transaction has been

 6   supplied in accordance with a previous representation when it has not.

 7          3032. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 8   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers,

 9   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

10   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
11   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
12   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
13   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
14   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
15   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
16   Plaintiffs’ and class members’ decisions to purchase JUUL products.
17          3033. JLI owed Plaintiffs and class members a duty to disclose these facts because they
18   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
19   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

20   facts; because the facts would be material to reasonable consumers; because JLI actively

21   concealed them; because JLI intended for consumers to rely on the omissions in question;

22   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

23   made partial representations concerning the same subject matter as the omitted facts.

24          3034. Defendants knew or should have known that their misrepresentations and/or

25   omissions were false and misleading, and intended for consumers to rely on such

26   misrepresentations and omissions.

27          3035. Defendants’ conduct actually and proximately caused actual damages to

28   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and


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 1   class members would have behaved differently and would not have purchased JUUL products

 2   or would have paid less for them. Defendants’ misrepresentations and omissions induced

 3   Plaintiffs and class members to purchase JUUL products they would not otherwise have

 4   purchased and enter into purchase contracts they would not otherwise have entered into. In

 5   addition, class members who are minors are entitled to full repayment of the amounts they spent

 6   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

 7   actual damages as well as restitution, injunctive relief, attorney’s fees, and any other relief the

 8   Court may deem just or proper.

 9          3036. Defendants had notice that its conduct was in violation of the law based on prior

10   rulings in sprawling, decades-long tobacco litigation and other notice they have received as a
11   result of lawsuits filed against them, and regulations promulgated under Utah Code §§ 13-11-1,
12   et seq., including, but not limited to, Utah Administrative Code R152-11-3(B)(1).
13                          b.     Violation of the Utah Truth in Advertising Law (Utah Code
14                                 Ann. §§ 13-11a-1, et seq.)
15          3037. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
16          3038. This claim is brought against JLI.
17          3039. Plaintiffs, class members, and Defendants are persons under Utah’s Truth in
18   Advertising Law.
19          3040. JLI is a supplier of JUUL products because it sells, assigns, offers, brokers, or

20   regularly solicits, engages in, or enforces sales of JUUL products.

21          3041. Plaintiffs and class members purchased JUUL products for personal purposes.

22          3042. Defendants created and implemented a scheme to create a market for e-cigarettes

23   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

24   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

25   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

26   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

27   addictiveness, and significant risks of substantial physical injury from using JUUL products.

28          3043. Advertisements and representations for JUUL products contained deceptive


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 1   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 2   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 3   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 4   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 5   decades, JLI used third parties and word of mouth to spread false and misleading information

 6   about JUUL products.

 7          3044. Advertisements and representations for JUUL products concealed and failed to

 8   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 9   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

10   addictive, posed significant risks of substantial physical injury resulting from the use of the
11   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
12   consumed through a pack of combustible cigarettes.
13          3045. The labels on JUUL products failed to disclose that the products posed
14   significant risks of substantial physical injury resulting from the use of the products. The labels
15   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
16          3046. The omissions were misleading and deceptive standing alone and were
17   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
18   cigarettes and other representations.
19          3047. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

20   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

21   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

22   products are of a particular standard, quality, or grade, or that goods are of a particular style or

23   model, when they are not; and (c) advertising goods or services with intent not to sell them as

24   advertised.

25          3048. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

26   omissions at issue were likely to cause, and in fact did cause, a likelihood of confusion or

27   misunderstanding.     Reasonable consumers, including the Plaintiffs, would have found it

28   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation


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 1   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 2   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 3   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 4   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 5   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 6   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 7          3049. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 8   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 9   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

10   facts; because the facts would be material to reasonable consumers; because JLI actively
11   concealed them; because JLI intended for consumers to rely on the omissions in question;
12   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
13   made partial representations concerning the same subject matter as the omitted facts.
14          3050. As set forth in the allegations concerning each Plaintiff in Appendix A, in
15   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.
16   Reasonable consumers would have been expected to have relied on the misrepresentations and
17   omissions.
18          3051. Defendants knew or should have known that their misrepresentations and/or
19   omissions were false and misleading, and intended for consumers to rely on such

20   misrepresentations and omissions.

21          3052. Defendants’ conduct actually and proximately caused actual damages to

22   Plaintiffs and class members. Absent Defendants’ deceptive and fraudulent conduct, Plaintiffs

23   and class members would have behaved differently and would not have purchased JUUL

24   products or would have paid less for them. Defendants’ misrepresentations and omissions

25   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have

26   purchased and enter into purchase contracts they would not otherwise have entered into. In

27   addition, class members who are minors are entitled to full repayment of the amounts they spent

28   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—


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 1   actual damages or $2,000, whichever is greater, and statutory damages, as well as restitution,

 2   injunctive relief, attorney’s fees, and any other relief the Court may deem just or proper.

 3                          c.     Common Law Fraud
 4          3053. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 5          3054. This claim is brought against JLI.

 6          3055. JUUL created and implemented a scheme to create a market for e-cigarettes and

 7   substantially increase sales of JUUL through a pervasive pattern of false and misleading

 8   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 9   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

10   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
11   addictiveness, and significant risks of substantial physical injury from using JUUL products.
12          3056. Advertisements and representations for JUUL products contained deceptive
13   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
14   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
15   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
16   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
17   decades, JLI used third parties and word of mouth to spread false and misleading information
18   about JUUL products.
19          3057. Advertisements and representations for JUUL products concealed and failed to

20   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

21   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

22   addictive, posed significant risks of substantial physical injury resulting from the use of the

23   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

24   consumed through a pack of combustible cigarettes.

25          3058. The labels on JUUL products failed to disclose that the products posed

26   significant risks of substantial physical injury resulting from the use of the products. The labels

27   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

28          3059. The omissions were misleading and deceptive standing alone and were


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 1   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 2   cigarettes and other representations.

 3          3060. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

 4   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

 5   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

 6   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

 7   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 8   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 9   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

10   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
11   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
12   Plaintiffs’ and class members’ decisions to purchase JUUL products.
13          3061. JLI owed Plaintiffs and class members a duty to disclose these facts because they
14   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
15   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
16   facts; because the facts would be material to reasonable consumers; because JUUL products
17   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
18   representations concerning the same subject matter as the omitted facts.
19          3062. As set forth in the allegations concerning each Plaintiff in Appendix A, in

20   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

21   and/or omissions. Reasonable consumers would have been expected to have relied on the

22   misrepresentations and omissions.

23          3063. Defendants knew or should have known that their misrepresentations and/or

24   omissions were false and misleading, and intended for consumers to rely on such

25   misrepresentations and omissions.

26          3064. JLI knew that JUUL products were not safe or reasonable alternatives to

27   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

28   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the


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 1   products.

 2            3065. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

 3   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

 4   differently and would not have purchased JUUL products or would have paid less for them.

 5   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

 6   JUUL products they would not otherwise have purchased and enter into purchase contracts they

 7   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

 8   member of the class damages in an amount to be proven at trial, as well as any other relief the

 9   Court may deem just or proper.

10                           d.      Breach of the Implied Warranty of Merchantability
11            3066. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
12            3067. This claim is brought against JLI.
13            3068. JUUL has at all times been a merchant with respect to the products which were
14   sold to Plaintiff and the class and was in the business of selling such products.
15            3069. Each JUUL product sold by JUUL comes with an implied warranty that it will
16   merchantable and fit for the ordinary purpose for which it would be used. See Utah Code Ann.
17   § 70A-2-314. JUUL has breached its implied warranty of merchantability because its products
18   were not in merchantable condition when sold, were defective when sold, did not conform to the
19   promises and affirmations of fact made on the products’ containers or labels, and/or do not

20   possess even the most basic degree of fitness for ordinary use.

21            3070. The ordinary intended purpose of JUUL’s products—and the purpose for which

22   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

23   products are not fit for that use—or any other use—because they (i) were not smoking cessation

24   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

25   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

26   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

27   products are not fit for their ordinary, intended use as either cigarette replacement devices or

28   recreation smoking devices.


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 1          3071. Plaintiffs and each member of the class have had sufficient direct dealings with

 2   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

 3   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

 4   each member of the class, on the other hand.

 5          3072. Further, Plaintiffs and each member of the class were third-party beneficiaries of

 6   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

 7   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

 8   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 9   the express purpose an intent of being sold to consumers.

10          3073. Plaintiffs and the members of the class were injured as a direct and proximate
11   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of
12   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability
13   because, had they been aware of the unmerchantable condition of JUUL products, they would
14   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages
15   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.
16          3074. JUUL was provided notice of these issues by numerous complaints filed against
17   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
18   individual letters and communications sent by consumers before or within a reasonable amount
19   of time after they discovered or should have discovered that’s JUUL product were defective and

20   unmerchantable.

21                          e.     Unjust Enrichment
22          3075. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

23          3076. This claim is brought against JLI and the Management Defendants.

24          3077. Defendants created and implemented a scheme to create a market for e-cigarettes

25   and substantially increase sales of JUUL products through a pervasive pattern of false and

26   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

27   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

28   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and


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 1   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

 2   products.

 3          3078. Defendants were unjustly enriched as a result of their wrongful conduct,

 4   including through the false and misleading advertisements and omissions regarding (i) whether

 5   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

 6   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 7   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 8   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 9   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

10   enriched through their scheme of marketing their products to minors. Utah Code Annotated
11   section 76-10-104 prohibits the marketing and sale of JUUL products to minors.
12          3079. Defendants requested and received a measurable benefit at the expense of
13   Plaintiffs and class members in the form of payment for JUUL products.
14          3080. Defendants appreciated, recognized, and chose to accept the monetary benefits
15   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
16   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
17          3081. There is no justification for Defendants’ enrichment. It would be inequitable,
18   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
19   benefits were procured as a result of their wrongful conduct.

20          3082. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

21   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

22   with Defendant.

23          3083. Plaintiffs plead this claim separately as well as in the alternative to their other

24   claims, as without such claims they would have no adequate legal remedy.

25                  45.     Vermont
26          3084. Plaintiffs bring each of the following claims on behalf of the Vermont Subclass

27   under Vermont law.

28


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 1                          a.     Violation of the Vermont Consumer Protection Act (Vt. Stat.
 2                                 Ann. tit. 9 §§ 2451, et seq.)
 3          3085. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 4          3086. This claim is brought against JLI and, for certain unfair and/or unconscionable

 5   conduct claims as noted below, all Defendants.

 6          3087. Plaintiffs and class members purchased JUUL products not for resale in the

 7   ordinary course of their trade or business but for personal purposes.

 8          3088. Defendants created and implemented a scheme to create a market for e-cigarettes

 9   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          3089. Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          3090. Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          3091. The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          3092. The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          3093. JLI’s conduct was unfair and unconscionable in that it included (i) the

 6   manufacture and sale of products with a heightened propensity to cause addiction and physical

 7   injuries and (ii) misrepresentations and omissions of material facts concerning the

 8   characteristics and safety of JUUL products that offended public policy; were immoral,

 9   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

10   substantial harm that greatly outweighs any possible utility from the conduct.
11          3094. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
12   omissions had the tendency or capacity to deceive, and in fact did, deceive reasonable
13   consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have
14   found it material to their purchasing decisions that JUUL’s products (i) were not smoking
15   cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were
16   extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed
17   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)
18   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a
19   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor

20   in Plaintiffs’ and class members’ decisions to purchase JUUL products.

21          3095. JLI owed Plaintiffs and class members a duty to disclose these facts because they

22   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

23   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

24   facts; because the facts would be material to reasonable consumers; because JLI actively

25   concealed them; because JLI intended for consumers to rely on the omissions in question;

26   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

27   made partial representations concerning the same subject matter as the omitted facts.

28          3096. JLI and the Management Defendants engaged in fraudulent and deceptive


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 1   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 2   products were appropriate for minors, when in fact the products never should have been

 3   marketed to minors and are especially harmful to minors due to the potent and addictive

 4   nicotine doses, addictive qualities, and health risks.

 5          3097. In addition, all Defendants engaged in unfair and unconscionable conduct

 6   because the targeting of minors offends public policy (in particular Vt. Stat. Ann. tit. 7

 7   §§ 1003(a) & 1007(a)); is immoral, unethical, oppressive, outrageous, unscrupulous, and

 8   substantially injurious; and has caused substantial harm that greatly outweighs any possible

 9   utility from the conduct.

10          3098. As alleged above, all Defendants participated and/or facilitated the marketing of
11   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI
12   and others have continued the deceptive, misleading, unfair, and unconscionable practices that
13   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the
14   use of JUUL products by minors continues to rise.
15          3099. Defendants’ conduct actually and proximately caused actual damages to
16   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and
17   class members would have behaved differently and would not have purchased JUUL products
18   or would have paid less for them. Defendants’ misrepresentations and omissions induced
19   Plaintiffs and class members to purchase JUUL products they would not otherwise have

20   purchased and enter into purchase contracts they would not otherwise have entered into. In

21   addition, class members who are minors are entitled to full repayment of the amounts they spent

22   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

23   actual, treble, and punitive damages and restitution, as well as injunctive relief, attorney’s fees,

24   and any other relief the Court may deem just or proper.

25                          b.      Common Law Fraud
26          3100. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

27          3101. This claim is brought against JLI.

28          3102. JUUL created and implemented a scheme to create a market for e-cigarettes and


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 1   substantially increase sales of JUUL through a pervasive pattern of false and misleading

 2   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

 3   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 4   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 5   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 6          3103. Advertisements and representations for JUUL products contained deceptive

 7   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 8   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 9   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

10   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
11   decades, JLI used third parties and word of mouth to spread false and misleading information
12   about JUUL products.
13          3104. Advertisements and representations for JUUL products concealed and failed to
14   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
15   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
16   addictive, posed significant risks of substantial physical injury resulting from the use of the
17   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
18   consumed through a pack of combustible cigarettes.
19          3105. The labels on JUUL products failed to disclose that the products posed

20   significant risks of substantial physical injury resulting from the use of the products. The labels

21   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

22          3106. The omissions were misleading and deceptive standing alone and were

23   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

24   cigarettes and other representations.

25          3107. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

26   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

27   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

28   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation


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 1   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 2   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

 3   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 4   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 5   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 6   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 7          3108. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 8   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 9   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

10   facts; because the facts would be material to reasonable consumers; because JUUL products
11   pose an unreasonable risk of substantial bodily injury; and because JLI made partial
12   representations concerning the same subject matter as the omitted facts.
13          3109. As set forth in the allegations concerning each Plaintiff in Appendix A, in
14   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
15   and/or omissions. Reasonable consumers would have been expected to have relied on the
16   misrepresentations and omissions.
17          3110. Defendants knew or should have known that their misrepresentations and/or
18   omissions were false and misleading, and intended for consumers to rely on such
19   misrepresentations and omissions.

20          3111. JLI knew that JUUL products were not safe or reasonable alternatives to

21   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

22   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

23   products.

24          3112. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

25   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

26   differently and would not have purchased JUUL products or would have paid less for them.

27   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

28   JUUL products they would not otherwise have purchased and enter into purchase contracts they


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 1   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

 2   member of the class damages in an amount to be proven at trial, as well as any other relief the

 3   Court may deem just or proper.

 4                           c.      Breach of the Implied Warranty of Merchantability
 5            3113. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 6            3114. This claim is brought against JLI.

 7            3115. JUUL has at all times been a merchant with respect to the products which were

 8   sold to Plaintiff and the class and was in the business of selling such products.

 9            3116. Each JUUL product sold by JUUL comes with an implied warranty that it will

10   merchantable and fit for the ordinary purpose for which it would be used. See Vt. Stat. Ann. tit.
11   9A § 2-314. JUUL has breached its implied warranty of merchantability because its products
12   were not in merchantable condition when sold, were defective when sold, did not conform to the
13   promises and affirmations of fact made on the products’ containers or labels, and/or do not
14   possess even the most basic degree of fitness for ordinary use.
15            3117. The ordinary intended purpose of JUUL’s products—and the purpose for which
16   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
17   products are not fit for that use—or any other use—because they (i) were not smoking cessation
18   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
19   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed

20   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s

21   products are not fit for their ordinary, intended use as either cigarette replacement devices or

22   recreation smoking devices.

23            3118. Plaintiffs and each member of the class have had sufficient direct dealings with

24   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

25   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

26   each member of the class, on the other hand.

27            3119. Further, Plaintiffs and each member of the class were third-party beneficiaries of

28   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and


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 1   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

 2   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

 3   the express purpose an intent of being sold to consumers.

 4          3120. Plaintiffs and the members of the class were injured as a direct and proximate

 5   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

 6   the Vermont Direct Purchaser Subclass were damaged as a result of JUUL’s breach of its

 7   implied warranty of merchantability because, had they been aware of the unmerchantable

 8   condition of JUUL products, they would not have purchased JUUL products, or would have

 9   paid less for them. Plaintiffs seek damages in an amount to be proven at trial, as well as any

10   other relief the Court may deem just or proper.
11          3121. JUUL was provided notice of these issues by numerous complaints filed against
12   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
13   individual letters and communications sent by consumers before or within a reasonable amount
14   of time after they discovered or should have discovered that’s JUUL product were defective and
15   unmerchantable.
16                         d.      Unjust Enrichment
17          3122. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
18          3123. This claim is brought against JLI and the Management Defendants.
19          3124. Defendants created and implemented a scheme to create a market for e-cigarettes

20   and substantially increase sales of JUUL products through a pervasive pattern of false and

21   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

22   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

23   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

24   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

25   products.

26          3125. Defendants were unjustly enriched as a result of their wrongful conduct,

27   including through the false and misleading advertisements and omissions regarding (i) whether

28   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable


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 1   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

 2   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

 3   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 4   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 5   enriched through their scheme of marketing their products to minors. Vermont Statutes

 6   Annotated title 7 §§ 1003(a) and 1007(a) prohibit the marketing and sale of JUUL products to

 7   minors.

 8          3126. Defendants requested and received a measurable benefit at the expense of

 9   Plaintiffs and class members in the form of payment for JUUL products.

10          3127. Defendants appreciated, recognized, and chose to accept the monetary benefits
11   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the
12   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
13          3128. There is no justification for Defendants’ enrichment. It would be inequitable,
14   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
15   benefits were procured as a result of their wrongful conduct.
16          3129. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
17   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
18   with Defendant.
19          3130. Plaintiffs plead this claim separately as well as in the alternative to their other

20   claims, as without such claims they would have no adequate legal remedy.

21                  46.     Virginia
22          3131. Plaintiffs bring each of the following claims on behalf of the Virginia Subclass

23   under Virginia law.

24                          a.     Violation of the Virginia Consumer Protection Act (Va. Code
25                                 Ann. § 59.1-196, et seq.)
26          3132. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

27          3133. This claim is brought against JLI and, for certain claims below, the Management

28   Defendants.


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 1          3134. Plaintiffs, class members, and JUUL are persons under Virginia’s Consumer

 2   Protection Act.

 3          3135. Plaintiffs and class members purchased JUUL products in consumer transactions,

 4   i.e., for personal purposes.

 5          3136. JUUL advertised, solicited, or engaged in consumer transactions to sell JUUL

 6   products, or is a manufacturer, distributor, or licensor that advertised, sold, or licensed JUUL

 7   products to be resold, leased, or sublicensed by other persons in consumer transactions.

 8          3137. Defendants created and implemented a scheme to create a market for e-cigarettes

 9   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

10   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
11   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
12   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
13   addictiveness, and significant risks of substantial physical injury from using JUUL products.
14          3138. Advertisements and representations for JUUL products contained deceptive
15   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
16   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
17   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
18   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
19   decades, JLI used third parties and word of mouth to spread false and misleading information

20   about JUUL products.

21          3139. Advertisements and representations for JUUL products concealed and failed to

22   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

23   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

24   addictive, posed significant risks of substantial physical injury resulting from the use of the

25   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

26   consumed through a pack of combustible cigarettes.

27          3140. The labels on JUUL products failed to disclose that the products posed

28   significant risks of substantial physical injury resulting from the use of the products. The labels


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 1   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 2          3141. The omissions were misleading and deceptive standing alone and were

 3   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

 4   cigarettes and other representations.

 5          3142. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 6   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

 7   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

 8   products are of a particular standard, quality, or grade, or that goods are of a particular style or

 9   model, when they are not; and (c) advertising goods or services with intent not to sell them as

10   advertised.
11          3143. JLI’s conduct was fraudulent and deceptive because the misrepresentations and
12   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers,
13   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
14   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
15   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
16   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
17   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
18   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
19   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

20   Plaintiffs’ and class members’ decisions to purchase JUUL products.

21          3144. JLI owed Plaintiffs and class members a duty to disclose these facts because they

22   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

23   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

24   facts; because the facts would be material to reasonable consumers; because JLI actively

25   concealed them; because JLI intended for consumers to rely on the omissions in question;

26   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

27   made partial representations concerning the same subject matter as the omitted facts.

28          3145. As set forth in the allegations concerning each Plaintiff in Appendix A, in


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 1   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

 2   Reasonable consumers would have been expected to have relied on the misrepresentations and

 3   omissions.

 4          3146.    JLI and the Management Defendants engaged in fraudulent and deceptive

 5   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

 6   products were appropriate for minors, when in fact the products never should have been

 7   marketed to minors and are especially harmful to minors due to the potent and addictive

 8   nicotine doses, addictive qualities, and health risks.

 9          3147. Defendants’ conduct actually and proximately caused actual damages and loss to

10   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and
11   class members would have behaved differently and would not have purchased JUUL products
12   or would have paid less for them. Defendants’ misrepresentations and omissions induced
13   Plaintiffs and class members to purchase JUUL products they would not otherwise have
14   purchased and enter into purchase contracts they would not otherwise have entered into. In
15   addition, class members who are minors are entitled to full repayment of the amounts they spent
16   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—
17   actual damages or $500 per violation, whichever is greater, and statutory damages for each
18   willful violation in the amount of treble damages or $1,000, whichever is greater, as well as
19   attorney’s fees and any other relief the Court may deem just or proper.

20                          b.      Common Law Fraud
21          3148. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

22          3149. This claim is brought against JLI.

23          3150. JUUL created and implemented a scheme to create a market for e-cigarettes and

24   substantially increase sales of JUUL through a pervasive pattern of false and misleading

25   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

26   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

27   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

28   addictiveness, and significant risks of substantial physical injury from using JUUL products.


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 1          3151. Advertisements and representations for JUUL products contained deceptive

 2   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 3   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 4   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 5   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 6   decades, JLI used third parties and word of mouth to spread false and misleading information

 7   about JUUL products.

 8          3152. Advertisements and representations for JUUL products concealed and failed to

 9   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

10   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
11   addictive, posed significant risks of substantial physical injury resulting from the use of the
12   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
13   consumed through a pack of combustible cigarettes.
14          3153. The labels on JUUL products failed to disclose that the products posed
15   significant risks of substantial physical injury resulting from the use of the products. The labels
16   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
17          3154. The omissions were misleading and deceptive standing alone and were
18   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
19   cigarettes and other representations.

20          3155. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

21   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

22   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

23   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

24   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

25   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

26   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

27   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

28   combustible cigarettes. Knowledge of these facts would have been a substantial factor in


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 1   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 2          3156. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 3   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 4   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 5   facts; because the facts would be material to reasonable consumers; because JUUL products

 6   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 7   representations concerning the same subject matter as the omitted facts.

 8          3157. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 9   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

10   and/or omissions. Reasonable consumers would have been expected to have relied on the
11   misrepresentations and omissions.
12          3158. Defendants knew or should have known that their misrepresentations and/or
13   omissions were false and misleading, and intended for consumers to rely on such
14   misrepresentations and omissions.
15          3159. JLI knew that JUUL products were not safe or reasonable alternatives to
16   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
17   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
18   products.
19          3160. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

20   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

21   differently and would not have purchased JUUL products or would have paid less for them.

22   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

23   JUUL products they would not otherwise have purchased and enter into purchase contracts they

24   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

25   member of the class damages in an amount to be proven at trial, as well as any other relief the

26   Court may deem just or proper.

27                         c.      Breach of the Implied Warranty of Merchantability
28          3161. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.


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 1            3162. This claim is brought against JLI.

 2            3163. JUUL has at all times been a merchant with respect to the products which were

 3   sold to Plaintiff and the class and was in the business of selling such products.

 4            3164. Each JUUL product sold by JUUL comes with an implied warranty that it will

 5   merchantable and fit for the ordinary purpose for which it would be used. See Va. Code Ann.

 6   § 8.2-314. JUUL has breached its implied warranty of merchantability because its products

 7   were not in merchantable condition when sold, were defective when sold, did not conform to the

 8   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 9   possess even the most basic degree of fitness for ordinary use.

10            3165. The ordinary intended purpose of JUUL’s products—and the purpose for which
11   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
12   products are not fit for that use—or any other use—because they (i) were not smoking cessation
13   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
14   potent    nicotine-delivery   mechanisms,    (iv) were   powerfully    addictive, and (v) posed
15   unreasonable risks of substantial bodily injury.      Due to these and other features, JUUL’s
16   products are not fit for their ordinary, intended use as either cigarette replacement devices or
17   recreation smoking devices.
18            3166. Plaintiffs and each member of the class have had sufficient direct dealings with
19   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

20   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

21   each member of the class, on the other hand.

22            3167. Further, Plaintiffs and each member of the class were third-party beneficiaries of

23   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

24   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the

25   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with

26   the express purpose an intent of being sold to consumers.

27            3168. Plaintiffs and the members of the class were injured as a direct and proximate

28   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of


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 1   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

 2   because, had they been aware of the unmerchantable condition of JUUL products, they would

 3   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

 4   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper.

 5          3169. JUUL was provided notice of these issues by numerous complaints filed against

 6   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 7   individual letters and communications sent by consumers before or within a reasonable amount

 8   of time after they discovered or should have discovered that’s JUUL product were defective and

 9   unmerchantable.

10                          d.     Unjust Enrichment
11          3170. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
12          3171. This claim is brought against JLI and the Management Defendants.
13          3172. Defendants created and implemented a scheme to create a market for e-cigarettes
14   and substantially increase sales of JUUL products through a pervasive pattern of false and
15   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
16   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
17   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
18   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
19   products.

20          3173. Defendants were unjustly enriched as a result of their wrongful conduct,

21   including through the false and misleading advertisements and omissions regarding (i) whether

22   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

23   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

24   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

25   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

26   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

27   enriched through their scheme of marketing their products to minors. Code of Virginia

28   Annotated section 18.2-371.2 prohibits the marketing and sale of JUUL products to minors, or


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 1   knowingly permitting the purchase of JUUL products by minors.

 2          3174. Defendants requested and received a measurable benefit at the expense of

 3   Plaintiffs and class members in the form of payment for JUUL products.

 4          3175. Defendants appreciated, recognized, and chose to accept the monetary benefits

 5   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 6   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 7          3176. There is no justification for Defendants’ enrichment. It would be inequitable,

 8   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 9   benefits were procured as a result of their wrongful conduct.

10          3177. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
11   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
12   with Defendant.
13          3178. Plaintiffs plead this claim separately as well as in the alternative to their other
14   claims, as without such claims they would have no adequate legal remedy.
15                  47.     Washington
16          3179. Plaintiffs bring each of the following claims on behalf of the Washington
17   Subclass under Washington law.
18                          a.     Violation of the Washington Consumer Protection Act (Wash.
19                                 Rev. Code §§ 19.86.010, et seq.)
20          3180. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

21          3181. This claim is brought against JLI and, for certain unfair and/or unconscionable

22   conduct claims as noted below, all Defendants.

23          3182. Plaintiffs, class members, and Defendants are each natural persons, corporations,

24   trusts, unincorporated associations or partnerships, and are thus persons under Washington’s

25   Consumer Sales Practices Act.

26          3183. Plaintiffs and class members purchased JUUL products for personal purposes.

27          3184. Defendants engaged in trade or commerce directly or indirectly affecting the

28   people of Washington by advertising, offering for sale, selling, or distributing JUUL products.


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 1          3185. Defendants created and implemented a scheme to create a market for e-cigarettes

 2   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 3   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 4   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 5   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 6   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 7          3186. Defendants’ unlawful acts and practices occurred in connection with their sales

 8   of JUUL products, in commerce directly or indirectly affecting the people of the state of

 9   Washington.

10          3187. Advertisements and representations for JUUL products contained deceptive
11   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
12   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
13   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
14   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
15   decades, JLI used third parties and word of mouth to spread false and misleading information
16   about JUUL products.
17          3188. Advertisements and representations for JUUL products concealed and failed to
18   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed significant risks of substantial physical injury resulting from the use of the

21   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

22   consumed through a pack of combustible cigarettes.

23          3189. The labels on JUUL products failed to disclose that the products posed

24   significant risks of substantial physical injury resulting from the use of the products. The labels

25   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

26          3190. The omissions were misleading and deceptive standing alone and were

27   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

28   cigarettes and other representations.


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 1          3191. JLI’s conduct was unfair and unconscionable in that it included (i) the

 2   manufacture and sale of products with a heightened propensity to cause addiction and physical

 3   injuries and (ii) misrepresentations and omissions of material facts concerning the

 4   characteristics and safety of JUUL products that offended public policy; were immoral,

 5   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

 6   substantial harm that greatly outweighs any possible utility from the conduct.

 7          3192. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 8   omissions had the capacity to deceive, and in fact did, deceive reasonable consumers including

 9   the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to

10   their purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii)
11   were not reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-
12   delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of
13   substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
14   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
15   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
16   Plaintiffs’ and class members’ decisions to purchase JUUL products. JUUL’s conduct thus had
17   the capacity to injure not just Plaintiffs but also other members of the public.
18          3193. JLI owed Plaintiffs and class members a duty to disclose these facts because they
19   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

20   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

21   facts; because the facts would be material to reasonable consumers; because JLI actively

22   concealed them; because JLI intended for consumers to rely on the omissions in question;

23   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

24   made partial representations concerning the same subject matter as the omitted facts.

25          3194. JLI and the Management Defendants engaged in fraudulent and deceptive

26   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

27   products were appropriate for minors, when in fact the products never should have been

28   marketed to minors and are especially harmful to minors due to the potent and addictive


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 1   nicotine doses, addictive qualities, and health risks.

 2          3195. In addition, all Defendants engaged in unfair and unconscionable conduct that

 3   affects the public interest because the targeting of minors offends public policy (in particular

 4   Wash. Rev. Code Ann. §§ 70.155.005, et seq., § 26.28.080 and § 70.345.090.); is immoral,

 5   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and has caused

 6   substantial harm that greatly outweighs any possible utility from the conduct.

 7          3196. As alleged above, all Defendants participated and/or facilitated the marketing of

 8   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 9   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

10   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the
11   use of JUUL products by minors continues to rise.
12          3197. Defendants’ conduct actually and proximately caused actual damages and loss of
13   money or property to Plaintiffs and class members. Absent Defendants’ unfair and fraudulent
14   conduct, Plaintiffs and class members would have behaved differently and would not have
15   purchased JUUL products or would have paid less for them. Defendants’ misrepresentations and
16   omissions induced Plaintiffs and class members to purchase JUUL products they would not
17   otherwise have purchased and enter into purchase contracts they would not otherwise have
18   entered into. In addition, class members who are minors are entitled to full repayment of the
19   amounts they spent on JUUL products. Plaintiffs seek—on behalf of themselves and each

20   member of the class—actual damages and statutory treble damages up to $25,000 for each

21   violation, as well as injunctive relief, attorney’s fees, and any other relief the Court may deem

22   just or proper.

23                          b.      Common Law Fraud
24          3198. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          3199. This claim is brought against JLI.

26          3200. JUUL created and implemented a scheme to create a market for e-cigarettes and

27   substantially increase sales of JUUL through a pervasive pattern of false and misleading

28   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe


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 1   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 2   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 3   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 4          3201. Advertisements and representations for JUUL products contained deceptive

 5   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 6   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 7   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 8   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 9   decades, JLI used third parties and word of mouth to spread false and misleading information

10   about JUUL products.
11          3202. Advertisements and representations for JUUL products concealed and failed to
12   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
13   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
14   addictive, posed significant risks of substantial physical injury resulting from the use of the
15   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
16   consumed through a pack of combustible cigarettes.
17          3203. The labels on JUUL products failed to disclose that the products posed
18   significant risks of substantial physical injury resulting from the use of the products. The labels
19   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

20          3204. The omissions were misleading and deceptive standing alone and were

21   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

22   cigarettes and other representations.

23          3205. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

24   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

25   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

26   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

27   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

28   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable


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 1   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

 2   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 3   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 4   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 5          3206. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 6   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 7   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 8   facts; because the facts would be material to reasonable consumers; because JUUL products

 9   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

10   representations concerning the same subject matter as the omitted facts.
11          3207. As set forth in the allegations concerning each Plaintiff in Appendix A, in
12   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
13   and/or omissions. Reasonable consumers would have been expected to have relied on the
14   misrepresentations and omissions.
15          3208. Defendants knew or should have known that their misrepresentations and/or
16   omissions were false and misleading, and intended for consumers to rely on such
17   misrepresentations and omissions.
18          3209. JLI knew that JUUL products were not safe or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

21   products.

22          3210. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

23   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

24   differently and would not have purchased JUUL products or would have paid less for them.

25   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

26   JUUL products they would not otherwise have purchased and enter into purchase contracts they

27   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

28   member of the class damages in an amount to be proven at trial, as well as any other relief the


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 1   Court may deem just or proper.

 2                           c.      Breach of the Implied Warranty of Merchantability
 3            3211. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 4            3212. This claim is brought against JLI.

 5            3213. JUUL has at all times been a merchant with respect to the products which were

 6   sold to Plaintiff and the class and was in the business of selling such products.

 7            3214. Each JUUL product sold by JUUL comes with an implied warranty that it will

 8   merchantable and fit for the ordinary purpose for which it would be used. See Wash. Rev. Code

 9   § 62A-2.314. JUUL has breached its implied warranty of merchantability because its products

10   were not in merchantable condition when sold, were defective when sold, did not conform to the
11   promises and affirmations of fact made on the products’ containers or labels, and/or do not
12   possess even the most basic degree of fitness for ordinary use.
13            3215. The ordinary intended purpose of JUUL’s products—and the purpose for which
14   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
15   products are not fit for that use—or any other use—because they (i) were not smoking cessation
16   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
17   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed
18   unreasonable risks of substantial bodily injury.        Due to these and other features, JUUL’s
19   products are not fit for their ordinary, intended use as either cigarette replacement devices or

20   recreation smoking devices.

21            3216. Plaintiffs and each member of the class have had sufficient direct dealings with

22   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

23   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

24   each member of the class, on the other hand.

25            3217. Further, Plaintiffs and each member of the class were third-party beneficiaries of

26   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

27   sale of JUUL products to consumers.           Specifically, Plaintiffs and class members are the

28   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with


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 1   the express purpose an intent of being sold to consumers.

 2          3218. Plaintiffs and the members of the class were injured as a direct and proximate

 3   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

 4   the Washington Direct Purchaser Subclass were damaged as a result of JUUL’s breach of its

 5   implied warranty of merchantability because, had they been aware of the unmerchantable

 6   condition of JUUL products, they would not have purchased JUUL products, or would have

 7   paid less for them. Plaintiffs seek damages in an amount to be proven at trial, as well as any

 8   other relief the Court may deem just or proper.

 9          3219. JUUL was provided notice of these issues by numerous complaints filed against

10   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous
11   individual letters and communications sent by consumers before or within a reasonable amount
12   of time after they discovered or should have discovered that’s JUUL product were defective and
13   unmerchantable.
14                         d.      Unjust Enrichment
15          3220. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
16          3221. This claim is brought against JLI and the Management Defendants.
17          3222. Defendants created and implemented a scheme to create a market for e-cigarettes
18   and substantially increase sales of JUUL products through a pervasive pattern of false and
19   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

20   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

21   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

22   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

23   products.

24          3223. Defendants were unjustly enriched as a result of their wrongful conduct,

25   including through the false and misleading advertisements and omissions regarding (i) whether

26   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

27   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

28   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from


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 1   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

 2   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

 3   enriched through their scheme of marketing their products to minors. Revised Code of

 4   Washington § 26.28.080, § 70.345.090 and §§ 70.155.005, et seq., prohibit the marketing and

 5   sale of JUUL products to minors.

 6          3224. Defendants requested and received a measurable benefit at the expense of

 7   Plaintiffs and class members in the form of payment for JUUL products.

 8          3225. Defendants appreciated, recognized, and chose to accept the monetary benefits

 9   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

10   expected result of Defendant acting in its pecuniary interest at the expense of its customers.
11          3226. There is no justification for Defendants’ enrichment. It would be inequitable,
12   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the
13   benefits were procured as a result of their wrongful conduct.
14          3227. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
15   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
16   with Defendant.
17          3228. Plaintiffs plead this claim separately as well as in the alternative to their other
18   claims, as without such claims they would have no adequate legal remedy.
19                  48.     West Virginia
20          3229. Plaintiffs bring each of the following claims on behalf of the West Virginia

21   Subclass under West Virginia law.

22                          a.     Violation of the West Virginia Consumer Credit and
23                                 Protection Act (W. Va. Code §§ 46A-6-101, et seq.)
24          3230. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

25          3231. This claim is brought against JLI and, for certain claims, the Management

26   Defendants.

27          3232.    JUUL engaged in trade or commerce directly or indirectly affecting the people

28   of West Virginia by advertising, offering for sale, selling, or distributing JUUL products.


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 1          3233. Plaintiffs and class members are natural persons who purchased JUUL products

 2   for personal purposes.

 3          3234. [Intentionally Omitted]

 4          3235. Defendants created and implemented a scheme to create a market for e-cigarettes

 5   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

 6   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

 7   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

 8   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 9   addictiveness, and significant risks of substantial physical injury from using JUUL products.

10          3236. Advertisements and representations for JUUL products contained deceptive
11   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives
12   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible
13   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or
14   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous
15   decades, JLI used third parties and word of mouth to spread false and misleading information
16   about JUUL products.
17          3237. Advertisements and representations for JUUL products concealed and failed to
18   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
19   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

20   addictive, posed significant risks of substantial physical injury resulting from the use of the

21   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

22   consumed through a pack of combustible cigarettes.

23          3238. The labels on JUUL products failed to disclose that the products posed

24   significant risks of substantial physical injury resulting from the use of the products. The labels

25   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

26          3239. The omissions were misleading and deceptive standing alone and were

27   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

28   cigarettes and other representations.


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 1          3240.    JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

 2   unfair business practices: (a) misrepresenting that JUUL products have characteristics,

 3   ingredients, uses, benefits, or quantities, which they do not have; (b) misrepresenting that JUUL

 4   products are of a particular standard, quality, or grade, or that goods are of a particular style or

 5   model, when they are not; and (c) advertising goods or services with intent not to sell them as

 6   advertised.

 7          3241. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 8   omissions caused a likelihood of confusion or misunderstanding, and in fact did, deceive

 9   reasonable consumers including the Plaintiffs. Reasonable consumers, including the Plaintiffs,

10   would have found it material to their purchasing decisions that JUUL’s products (i) were not
11   smoking cessation devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii)
12   were extremely potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed
13   unreasonable risks of substantial bodily injury resulting from the use of the products, and (vi)
14   that the nicotine consumed through one JUUL pod exceeded the nicotine consumed through a
15   pack of combustible cigarettes. Knowledge of these facts would have been a substantial factor
16   in Plaintiffs’ and class members’ decisions to purchase JUUL products.
17          3242. JLI owed Plaintiffs and class members a duty to disclose these facts because they
18   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
19   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

20   facts; because the facts would be material to reasonable consumers; because JLI actively

21   concealed them; because JLI intended for consumers to rely on the omissions in question;

22   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

23   made partial representations concerning the same subject matter as the omitted facts.

24          3243. JLI and the Management Defendants engaged in fraudulent and deceptive

25   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

26   products were appropriate for minors, when in fact the products never should have been

27   marketed to minors and are especially harmful to minors due to the potent and addictive

28   nicotine doses, addictive qualities, and health risks.


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 1          3244. JUUL’s conduct actually and proximately caused ascertainable loss of money or

 2   property to Plaintiffs and class members. Absent JUUL’s unfair and fraudulent conduct,

 3   Plaintiffs and class members would have behaved differently and would not have purchased

 4   JUUL products or would have paid less for them. JUUL’s misrepresentations and omissions

 5   induced Plaintiffs and class members to purchase JUUL products they would not otherwise have

 6   purchased and enter into purchase contracts they would not otherwise have entered into. In

 7   addition, class members who are minors are entitled to full repayment of the amounts they spent

 8   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

 9   actual damages or $200, whichever is greater, as well as restitution, injunctive relief, attorney’s

10   fees, and any other relief the Court may deem just or proper.
11                          b.     Common Law Fraud
12          3245. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
13          3246. This claim is brought against JLI.
14          3247. JUUL created and implemented a scheme to create a market for e-cigarettes and
15   substantially increase sales of JUUL through a pervasive pattern of false and misleading
16   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe
17   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
18   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
19   addictiveness, and significant risks of substantial physical injury from using JUUL products.

20          3248. Advertisements and representations for JUUL products contained deceptive

21   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

22   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

23   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

24   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

25   decades, JLI used third parties and word of mouth to spread false and misleading information

26   about JUUL products.

27          3249. Advertisements and representations for JUUL products concealed and failed to

28   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed significant risks of substantial physical injury resulting from the use of the

 3   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 4   consumed through a pack of combustible cigarettes.

 5          3250. The labels on JUUL products failed to disclose that the products posed

 6   significant risks of substantial physical injury resulting from the use of the products. The labels

 7   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 8          3251. The omissions were misleading and deceptive standing alone and were

 9   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

10   cigarettes and other representations.
11          3252. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
12   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
13   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
14   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
15   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
16   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable
17   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
18   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
19   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

20   Plaintiffs’ and class members’ decisions to purchase JUUL products.

21          3253. JLI owed Plaintiffs and class members a duty to disclose these facts because they

22   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

23   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

24   facts; because the facts would be material to reasonable consumers; because JUUL products

25   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

26   representations concerning the same subject matter as the omitted facts.

27          3254. As set forth in the allegations concerning each Plaintiff in Appendix A, in

28   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations


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 1   and/or omissions. Reasonable consumers would have been expected to have relied on the

 2   misrepresentations and omissions.

 3          3255. Defendants knew or should have known that their misrepresentations and/or

 4   omissions were false and misleading, and intended for consumers to rely on such

 5   misrepresentations and omissions.

 6          3256. JLI knew that JUUL products were not safe or reasonable alternatives to

 7   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 8   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

 9   products.

10          3257. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class
11   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
12   differently and would not have purchased JUUL products or would have paid less for them.
13   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
14   JUUL products they would not otherwise have purchased and enter into purchase contracts they
15   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each
16   member of the class damages in an amount to be proven at trial, as well as any other relief the
17   Court may deem just or proper
18                          c.      Breach of the Implied Warranty of Merchantability
19          3258. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

20          3259. This claim is brought against JLI.

21          3260. JUUL has at all times been a merchant with respect to the products which were

22   sold to Plaintiff and the class and was in the business of selling such products.

23          3261. Each JUUL product sold by JUUL comes with an implied warranty that it will

24   merchantable and fit for the ordinary purpose for which it would be used. See W. Va. Code

25   § 46-2-314. JUUL has breached its implied warranty of merchantability because its products

26   were not in merchantable condition when sold, were defective when sold, did not conform to the

27   promises and affirmations of fact made on the products’ containers or labels, and/or do not

28   possess even the most basic degree of fitness for ordinary use.


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 1            3262. The ordinary intended purpose of JUUL’s products—and the purpose for which

 2   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 3   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 4   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 5   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully    addictive, and (v) posed

 6   unreasonable risks of substantial bodily injury.     Due to these and other features, JUUL’s

 7   products are not fit for their ordinary, intended use as either cigarette replacement devices or

 8   recreation smoking devices.

 9            3263. Plaintiffs and each member of the class have had sufficient direct dealings with

10   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
11   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
12   each member of the class, on the other hand.
13            3264. Further, Plaintiffs and each member of the class were third-party beneficiaries of
14   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
15   sale of JUUL products to consumers.         Specifically, Plaintiffs and class members are the
16   intended beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with
17   the express purpose an intent of being sold to consumers.
18            3265. Plaintiffs and the members of the class were injured as a direct and proximate
19   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

20   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

21   because, had they been aware of the unmerchantable condition of JUUL products, they would

22   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

23   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper

24            3266. JUUL was provided notice of these issues by numerous complaints filed against

25   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

26   individual letters and communications sent by consumers before or within a reasonable amount

27   of time after they discovered or should have discovered that’s JUUL product were defective and

28   unmerchantable.


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 1                          d.     Unjust Enrichment
 2          3267. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 3          3268. This claim is brought against JLI and the Management Defendants.

 4          3269. Defendants created and implemented a scheme to create a market for e-cigarettes

 5   and substantially increase sales of JUUL products through a pervasive pattern of false and

 6   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and

 7   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

 8   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

 9   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

10   products.
11          3270. Defendants were unjustly enriched as a result of their wrongful conduct,
12   including through the false and misleading advertisements and omissions regarding (i) whether
13   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
14   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
15   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from
16   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the
17   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly
18   enriched through their scheme of marketing their products to minors. West Virginia Code
19   section 16-9A-2 prohibits the marketing and sale of JUUL products to minors.

20          3271. Defendants requested and received a measurable benefit at the expense of

21   Plaintiffs and class members in the form of payment for JUUL products.

22          3272. Defendants appreciated, recognized, and chose to accept the monetary benefits

23   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

24   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

25          3273. There is no justification for Defendants’ enrichment. It would be inequitable,

26   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

27   benefits were procured as a result of their wrongful conduct.

28          3274. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained


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 1   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 2   with Defendant.

 3          3275. Plaintiffs plead this claim separately as well as in the alternative to their other

 4   claims, as without such claims they would have no adequate legal remedy.

 5                  49.     Wisconsin
 6          3276. Plaintiffs bring each of the following claims on behalf of the Wisconsin Subclass

 7   under Wisconsin law.

 8                          a.     Violation of the Wisconsin Deceptive Trade Practices Act
 9                                 (Wis. Stat. § 100.18)
10          3277. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
11          3278. This claim is brought against JLI and, for certain claims below, the Management
12   Defendants.
13          3279. Plaintiffs and class members purchased JUUL products for personal purposes.
14          3280. Defendants created and implemented a scheme to create a market for e-cigarettes
15   and substantially increase sales of JUUL through a pervasive pattern of false and misleading
16   statements and omissions. Defendants aimed to portray JUUL products as cool and safe
17   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while
18   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,
19   addictiveness, and significant risks of substantial physical injury from using JUUL products.

20          3281. Advertisements and representations for JUUL products contained deceptive

21   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

22   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

23   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

24   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

25   decades, JLI used third parties and word of mouth to spread false and misleading information

26   about JUUL products.

27          3282. Advertisements and representations for JUUL products concealed and failed to

28   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to


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 1   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 2   addictive, posed significant risks of substantial physical injury resulting from the use of the

 3   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 4   consumed through a pack of combustible cigarettes.

 5          3283. The labels on JUUL products failed to disclose that the products posed

 6   significant risks of substantial physical injury resulting from the use of the products. The labels

 7   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.

 8          3284. The omissions were misleading and deceptive standing in light of JLI’s

 9   advertising of its products as reasonable alternatives to cigarettes and other representations.

10          3285. JLI’s conduct was misleading and deceptive because the misrepresentations and
11   omissions had the capacity to deceive, and in fact did, deceive reasonable consumers including
12   the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to
13   their purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii)
14   were not reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-
15   delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of
16   substantial bodily injury resulting from the use of the products, and (vi) that the nicotine
17   consumed through one JUUL pod exceeded the nicotine consumed through a pack of
18   combustible cigarettes. Knowledge of these facts would have been a substantial factor in
19   Plaintiffs’ and class members’ decisions to purchase JUUL products.

20          3286. JLI owed Plaintiffs and class members a duty to disclose these facts because they

21   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

22   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

23   facts; because the facts would be material to reasonable consumers; because JLI actively

24   concealed them; because JLI intended for consumers to rely on the omissions in question;

25   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI

26   made partial representations concerning the same subject matter as the omitted facts.

27          3287. JLI and the Management Defendants engaged in fraudulent and deceptive

28   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL


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 1   products were appropriate for minors, when in fact the products never should have been

 2   marketed to minors and are especially harmful to minors due to the potent and addictive

 3   nicotine doses, addictive qualities, and health risks.

 4          3288. JUUL’s conduct actually and proximately caused pecuniary loss to Plaintiffs and

 5   class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and class members

 6   would have behaved differently and would not have purchased JUUL products or would have

 7   paid less for them. Defendants’ misrepresentations and omissions induced Plaintiffs and class

 8   members to purchase JUUL products they would not otherwise have purchased and enter into

 9   purchase contracts they would not otherwise have entered into. In addition, class members who

10   are minors are entitled to full repayment of the amounts they spent on JUUL products.
11   Plaintiffs seek—on behalf of themselves and each member of the class—actual damages for
12   pecuniary loss as well as restitution, attorney’s fees, and any other relief the Court may deem
13   just or proper.
14                          b.      Common Law Fraud
15          3289. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
16          3290. This claim is brought against JLI.
17          3291. JUUL created and implemented a scheme to create a market for e-cigarettes and
18   substantially increase sales of JUUL through a pervasive pattern of false and misleading
19   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

20   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

21   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

22   addictiveness, and significant risks of substantial physical injury from using JUUL products.

23          3292. Advertisements and representations for JUUL products contained deceptive

24   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

25   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

26   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

27   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

28   decades, JLI used third parties and word of mouth to spread false and misleading information


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 1   about JUUL products.

 2          3293. Advertisements and representations for JUUL products concealed and failed to

 3   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 4   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 5   addictive, posed significant risks of substantial physical injury resulting from the use of the

 6   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine

 7   consumed through a pack of combustible cigarettes.

 8          3294. The labels on JUUL products failed to disclose that the products posed

 9   significant risks of substantial physical injury resulting from the use of the products. The labels

10   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
11          3295. The omissions were misleading and deceptive standing alone and were
12   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
13   cigarettes and other representations.
14          3296. JLI’s conduct was fraudulent and deceptive because its misrepresentations and
15   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers
16   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it
17   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation
18   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
19   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

20   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine

21   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

22   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

23   Plaintiffs’ and class members’ decisions to purchase JUUL products.

24          3297. JLI owed Plaintiffs and class members a duty to disclose these facts because they

25   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

26   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

27   facts; because the facts would be material to reasonable consumers; because JUUL products

28   pose an unreasonable risk of substantial bodily injury; and because JLI made partial


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 1   representations concerning the same subject matter as the omitted facts.

 2          3298. As set forth in the allegations concerning each Plaintiff in Appendix A, in

 3   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations

 4   and/or omissions. Reasonable consumers would have been expected to have relied on the

 5   misrepresentations and omissions.

 6          3299. Defendants knew or should have known that their misrepresentations and/or

 7   omissions were false and misleading, and intended for consumers to rely on such

 8   misrepresentations and omissions.

 9          3300. JLI knew that JUUL products were not safe or reasonable alternatives to

10   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
11   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the
12   products.
13          3301. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class
14   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved
15   differently and would not have purchased JUUL products or would have paid less for them.
16   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase
17   JUUL products they would not otherwise have purchased and enter into purchase contracts they
18   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each
19   member of the class damages in an amount to be proven at trial, as well as any other relief the

20   Court may deem just or proper

21                          c.      Breach of the Implied Warranty of Merchantability
22          3302. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

23          3303. This claim is brought against JLI.

24          3304. JUUL has at all times been a merchant with respect to the products which were

25   sold to Plaintiff and the class and was in the business of selling such products.

26          3305. Each JUUL product sold by JUUL comes with an implied warranty that it will

27   merchantable and fit for the ordinary purpose for which it would be used. See Wisc. Stat.

28   § 402.314. JUUL has breached its implied warranty of merchantability because its products


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 1   were not in merchantable condition when sold, were defective when sold, did not conform to the

 2   promises and affirmations of fact made on the products’ containers or labels, and/or do not

 3   possess even the most basic degree of fitness for ordinary use.

 4            3306. The ordinary intended purpose of JUUL’s products—and the purpose for which

 5   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s

 6   products are not fit for that use—or any other use—because they (i) were not smoking cessation

 7   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

 8   potent    nicotine-delivery   mechanisms,   (iv) were   powerfully   addictive, and (v) posed

 9   unreasonable risks of substantial bodily injury. Due to these and other features, JUUL’s

10   products are not fit for their ordinary, intended use as either cigarette replacement devices or
11   recreation smoking devices.
12            3307. Plaintiffs and each member of the class have had sufficient direct dealings with
13   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized
14   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and
15   each member of the class, on the other hand.
16            3308. Further, Plaintiffs and each member of the class were third-party beneficiaries of
17   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and
18   sale of JUUL products to consumers. Specifically, Plaintiffs and class members are the intended
19   beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with the

20   express purpose an intent of being sold to consumers.

21            3309. Plaintiffs and the members of the class were injured as a direct and proximate

22   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

23   the Wisconsin Direct Purchaser Subclass were damaged as a result of JUUL’s breach of its

24   implied warranty of merchantability because, had they been aware of the unmerchantable

25   condition of JUUL products, they would not have purchased JUUL products, or would have

26   paid less for them. Plaintiffs seek damages in an amount to be proven at trial, as well as any

27   other relief the Court may deem just or proper.

28            3310. JUUL was provided notice of these issues by numerous complaints filed against


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 1   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 2   individual letters and communications sent by consumers before or within a reasonable amount

 3   of time after they discovered or should have discovered that’s JUUL product were defective and

 4   unmerchantable.

 5                          d.     Unjust Enrichment
 6          3311. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 7          3312. This claim is brought against JLI and the Management Defendants.

 8          3313. Defendants created and implemented a scheme to create a market for e-cigarettes

 9   and substantially increase sales of JUUL products through a pervasive pattern of false and

10   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
11   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
12   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and
13   doses, addictiveness, and significant risks of substantial physical injury from using JUUL
14   products.
15          3314. Defendants were unjustly enriched as a result of their wrongful conduct,
16   including through the false and misleading advertisements and omissions regarding (i) whether
17   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable
18   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were
19   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

20   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

21   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly

22   enriched through their scheme of marketing their products to minors. Wisconsin Statutes section

23   134.66 prohibits the marketing and sale of JUUL products to minors.

24          3315. Defendants requested and received a measurable benefit at the expense of

25   Plaintiffs and class members in the form of payment for JUUL products.

26          3316. Defendants appreciated, recognized, and chose to accept the monetary benefits

27   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

28   expected result of Defendant acting in its pecuniary interest at the expense of its customers.


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 1          3317. There is no justification for Defendants’ enrichment. It would be inequitable,

 2   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

 3   benefits were procured as a result of their wrongful conduct.

 4          3318. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained

 5   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

 6   with Defendant.

 7          3319. Plaintiffs plead this claim separately as well as in the alternative to their other

 8   claims, as without such claims they would have no adequate legal remedy.

 9                  50.    Wyoming
10          3320. Plaintiffs bring each of the following claims on behalf of the Wyoming Subclass
11   under Wyoming law.
12                         a.      Violation of the Wyoming Consumer Protection Act (Wyo.
13                                 Stat. Ann. §§ 40-12-101, et seq.)
14          3321. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
15          3322. This claim is brought against JLI and, for certain unfair and/or unconscionable
16   conduct claims as noted below, all Defendants.
17          3323. Plaintiffs, class members, and Defendants are each natural persons, corporations,
18   trusts, partnerships, incorporated or unincorporated associations, or other legal entities and are
19   thus persons under Wyoming’s Consumer Protection Act.

20          3324. Plaintiffs and class members purchased JUUL products for personal purposes.

21          3325. Defendants created and implemented a scheme to create a market for e-cigarettes

22   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

23   statements and omissions. Defendants aimed to portray JUUL products as cool and safe

24   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while

25   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

26   addictiveness, and significant risks of substantial physical injury from using JUUL products.

27          3326. Advertisements and representations for JUUL products contained deceptive

28   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives


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 1   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 2   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 3   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 4   decades, JLI used third parties and word of mouth to spread false and misleading information

 5   about JUUL products.

 6          3327. Advertisements and representations for JUUL products concealed and failed to

 7   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to

 8   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully

 9   addictive, posed significant risks of substantial physical injury resulting from the use of the

10   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
11   consumed through a pack of combustible cigarettes.
12          3328. The labels on JUUL products failed to disclose that the products posed
13   significant risks of substantial physical injury resulting from the use of the products. The labels
14   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
15          3329. The omissions were misleading and deceptive standing alone and were
16   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to
17   cigarettes and other representations.
18          3330. JLI’s conduct was unfair and unconscionable in that it included (i) the
19   manufacture and sale of products with a heightened propensity to cause addiction and physical

20   injuries and (ii) misrepresentations and omissions of material facts concerning the

21   characteristics and safety of JUUL products that offended public policy; were immoral,

22   unethical, oppressive, outrageous, unscrupulous, and substantially injurious; and caused

23   substantial harm that greatly outweighs any possible utility from the conduct.

24          3331. JUUL’s conduct constituted the following prohibited fraudulent, deceptive, and

25   unfair business practices: (a) misrepresenting that JUUL products have uses which they do not

26   have; (b) misrepresenting that JUUL products are of a particular standard or grade, or that goods

27   are of a particular style or model, when they are not; (c) advertising goods or services with

28   intent not to sell them as advertised; and (d) misrepresenting that the subject of a transaction has


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 1   been supplied in accordance with a previous representation when it has not.

 2          3332. JLI’s conduct was fraudulent and deceptive because the misrepresentations and

 3   omissions at issue were likely to, and in fact did, deceive reasonable consumers including the

 4   Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it material to their

 5   purchasing decisions that JUUL’s products (i) were not smoking cessation devices, (ii) were not

 6   reasonable alternatives to combustible cigarettes, (iii) were extremely potent nicotine-delivery

 7   mechanisms, (iv) were powerfully addictive, (v) posed unreasonable risks of substantial bodily

 8   injury resulting from the use of the products, and (vi) that the nicotine consumed through one

 9   JUUL pod exceeded the nicotine consumed through a pack of combustible cigarettes.

10   Knowledge of these facts would have been a substantial factor in Plaintiffs’ and class members’
11   decisions to purchase JUUL products.
12          3333. JLI owed Plaintiffs and class members a duty to disclose these facts because they
13   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties
14   other than Plaintiffs and class members), who had exclusive and superior knowledge of the
15   facts; because the facts would be material to reasonable consumers; because JLI actively
16   concealed them; because JLI intended for consumers to rely on the omissions in question;
17   because JUUL products pose an unreasonable risk of substantial bodily injury; and because JLI
18   made partial representations concerning the same subject matter as the omitted facts.
19          3334. As set forth in the allegations concerning each Plaintiff in Appendix A, in

20   purchasing JUUL products, the Plaintiffs relied on the misrepresentations and/or omissions.

21   Reasonable consumers would have been expected to have relied on the misrepresentations and

22   omissions.

23          3335. Defendants knew or should have known that their misrepresentations and/or

24   omissions were false and misleading, and intended for consumers to rely on such

25   misrepresentations and omissions.

26          3336. JLI and the Management Defendants engaged in fraudulent and deceptive

27   conduct by devising and executing a scheme to deceptively and misleadingly convey that JUUL

28   products were appropriate for minors, when in fact the products never should have been


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 1   marketed to minors and are especially harmful to minors due to the potent and addictive

 2   nicotine doses, addictive qualities, and health risks.

 3          3337. In addition, all Defendants engaged in unfair and unconscionable conduct

 4   because the targeting of minors offends public policy (in particular Wyo. Stat. Ann. § 14-3-

 5   302); is immoral, unethical, oppressive, outrageous, unscrupulous, and substantially injurious;

 6   and has caused substantial harm that greatly outweighs any possible utility from the conduct.

 7          3338. As alleged above, all Defendants participated and/or facilitated the marketing of

 8   JUUL products to minors and took no action to curb the use of JUUL products by minors. JLI

 9   and others have continued the deceptive, misleading, unfair, and unconscionable practices that

10   Defendants implemented, facilitated, and/or did not take adequate steps to end. As a result, the
11   use of JUUL products by minors continues to rise.
12          3339. Defendants’ conduct actually and proximately caused actual damages to
13   Plaintiffs and class members. Absent Defendants’ unfair and fraudulent conduct, Plaintiffs and
14   class members would have behaved differently and would not have purchased JUUL products
15   or would have paid less for them. Defendants’ misrepresentations and omissions induced
16   Plaintiffs and class members to purchase JUUL products they would not otherwise have
17   purchased and enter into purchase contracts they would not otherwise have entered into. In
18   addition, class members who are minors are entitled to full repayment of the amounts they spent
19   on JUUL products. Plaintiffs seek—on behalf of themselves and each member of the class—

20   actual damages as well as restitution, attorney’s fees, and any other relief the Court may deem

21   just or proper.

22                          b.      Common Law Fraud
23          3340. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

24          3341. This claim is brought against JLI.

25          3342. JUUL created and implemented a scheme to create a market for e-cigarettes and

26   substantially increase sales of JUUL through a pervasive pattern of false and misleading

27   statements and omissions. JUUL’s plan was to portray JUUL products as cool and safe

28   alternatives to combustible cigarettes, with a particular emphasis on appealing to minors, while


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 1   misrepresenting or omitting key facts concerning JUUL products’ nicotine content and doses,

 2   addictiveness, and significant risks of substantial physical injury from using JUUL products.

 3          3343. Advertisements and representations for JUUL products contained deceptive

 4   statements that JUUL e-cigarettes were smoking cessation devices and reasonable alternatives

 5   to combustible cigarettes, and that a pod of JUUL was equivalent to one pack of combustible

 6   cigarettes. The advertisements and JLI’s public statements portrayed JUUL products as safe or

 7   not harmful. Like the tobacco companies that marketed combustible cigarettes in previous

 8   decades, JLI used third parties and word of mouth to spread false and misleading information

 9   about JUUL products.

10          3344. Advertisements and representations for JUUL products concealed and failed to
11   disclose that JUUL e-cigarettes were not smoking cessation devices or reasonable alternatives to
12   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
13   addictive, posed significant risks of substantial physical injury resulting from the use of the
14   products, and that the nicotine consumed through one JUUL pod exceeded the nicotine
15   consumed through a pack of combustible cigarettes.
16          3345. The labels on JUUL products failed to disclose that the products posed
17   significant risks of substantial physical injury resulting from the use of the products. The labels
18   also falsely stated that JUUL products were reasonable alternatives to combustible cigarettes.
19          3346. The omissions were misleading and deceptive standing alone and were

20   particularly deceptive in light of JLI’s advertising of its products as reasonable alternatives to

21   cigarettes and other representations.

22          3347. JLI’s conduct was fraudulent and deceptive because its misrepresentations and

23   omissions had the capacity to, were likely to, and in fact did, deceive reasonable consumers

24   including the Plaintiffs. Reasonable consumers, including the Plaintiffs, would have found it

25   material to their purchasing decisions that JUUL’s products (i) were not smoking cessation

26   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely

27   potent nicotine-delivery mechanisms, (iv) were powerfully addictive, (v) posed unreasonable

28   risks of substantial bodily injury resulting from the use of the products, and (vi) that the nicotine


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 1   consumed through one JUUL pod exceeded the nicotine consumed through a pack of

 2   combustible cigarettes. Knowledge of these facts would have been a substantial factor in

 3   Plaintiffs’ and class members’ decisions to purchase JUUL products.

 4          3348. JLI owed Plaintiffs and class members a duty to disclose these facts because they

 5   were known and/or accessible exclusively to Defendants (and potentially other unnamed parties

 6   other than Plaintiffs and class members), who had exclusive and superior knowledge of the

 7   facts; because the facts would be material to reasonable consumers; because JUUL products

 8   pose an unreasonable risk of substantial bodily injury; and because JLI made partial

 9   representations concerning the same subject matter as the omitted facts.

10          3349. As set forth in the allegations concerning each Plaintiff in Appendix A, in
11   purchasing JUUL products, Plaintiffs reasonably and justifiably relied on the misrepresentations
12   and/or omissions. Reasonable consumers would have been expected to have relied on the
13   misrepresentations and omissions.
14          3350. Defendants knew or should have known that their misrepresentations and/or
15   omissions were false and misleading, and intended for consumers to rely on such
16   misrepresentations and omissions.
17          3351. JLI knew that JUUL products were not safe or reasonable alternatives to
18   combustible cigarettes, were extremely potent nicotine-delivery mechanisms, were powerfully
19   addictive, posed unreasonable risks of substantial bodily injury resulting from the use of the

20   products.

21          3352. JUUL’s conduct actually and proximately caused damages to Plaintiffs and class

22   members. Absent JUUL’s conduct, Plaintiffs and class members would have behaved

23   differently and would not have purchased JUUL products or would have paid less for them.

24   JUUL’s misrepresentations and omissions induced Plaintiffs and class members to purchase

25   JUUL products they would not otherwise have purchased and enter into purchase contracts they

26   would not otherwise have entered into. Plaintiffs seek—on behalf of themselves and each

27   member of the class damages in an amount to be proven at trial, as well as any other relief the

28   Court may deem just or proper.


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 1                           c.      Breach of the Implied Warranty of Merchantability
 2            3353. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.

 3            3354. This claim is brought against JLI.

 4            3355. JUUL has at all times been a merchant with respect to the products which were

 5   sold to Plaintiff and the class and was in the business of selling such products.

 6            3356. Each JUUL product sold by JUUL comes with an implied warranty that it will

 7   merchantable and fit for the ordinary purpose for which it would be used. See Wyo. Stat. Ann.

 8   § 34.1-2-314. JUUL has breached its implied warranty of merchantability because its products

 9   were not in merchantable condition when sold, were defective when sold, did not conform to the

10   promises and affirmations of fact made on the products’ containers or labels, and/or do not
11   possess even the most basic degree of fitness for ordinary use.
12            3357. The ordinary intended purpose of JUUL’s products—and the purpose for which
13   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes. JUUL’s
14   products are not fit for that use—or any other use—because they (i) were not smoking cessation
15   devices, (ii) were not reasonable alternatives to combustible cigarettes, (iii) were extremely
16   potent    nicotine-delivery   mechanisms,      (iv) were   powerfully    addictive, and (v) posed
17   unreasonable risks of substantial bodily injury. Due to these and other features, JUUL’s
18   products are not fit for their ordinary, intended use as either cigarette replacement devices or
19   recreation smoking devices.

20            3358. Plaintiffs and each member of the class have had sufficient direct dealings with

21   either JUUL via its website or its agents (including distributors, dealers, and sellers authorized

22   by JUUL) to establish privity of contract between JUUL, on the one hand, and Plaintiffs and

23   each member of the class, on the other hand.

24            3359. Further, Plaintiffs and each member of the class were third-party beneficiaries of

25   JUUL’s agreements with its distributors, dealers, and sellers for the distribution, dealing, and

26   sale of JUUL products to consumers. Specifically, Plaintiffs and class members are the intended

27   beneficiaries of JUUL’s implied warranties. JUUL’s products are manufactured with the

28   express purpose an intent of being sold to consumers.


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 1          3360. Plaintiffs and the members of the class were injured as a direct and proximate

 2   result of JUUL’s breach of its implied warranties of merchantability. Plaintiffs and members of

 3   the class were damaged as a result of JUUL’s breach of its implied warranty of merchantability

 4   because, had they been aware of the unmerchantable condition of JUUL products, they would

 5   not have purchased JUUL products, or would have paid less for them. Plaintiffs seek damages

 6   in an amount to be proven at trial, as well as any other relief the Court may deem just or proper

 7          3361. JUUL was provided notice of these issues by numerous complaints filed against

 8   it, including the complaints in In re: JUUL Labs, Inc. Product Litigation, and by numerous

 9   individual letters and communications sent by consumers before or within a reasonable amount

10   of time after they discovered or should have discovered that’s JUUL product were defective and
11   unmerchantable.
12                         d.      Unjust Enrichment
13          3362. Plaintiffs incorporate the allegations set forth above as if fully set forth herein.
14          3363. This claim is brought against JLI and the Management Defendants.
15          3364. Defendants created and implemented a scheme to create a market for e-cigarettes
16   and substantially increase sales of JUUL products through a pervasive pattern of false and
17   misleading statements and omissions. Defendants aimed to portray JUUL products as cool and
18   safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,
19   while misrepresenting or omitting key facts concerning JUUL products’ nicotine content and

20   doses, addictiveness, and significant risks of substantial physical injury from using JUUL

21   products.

22          3365. Defendants were unjustly enriched as a result of their wrongful conduct,

23   including through the false and misleading advertisements and omissions regarding (i) whether

24   JUUL products were smoking cessation devices, (ii) whether JUUL products are reasonable

25   alternatives to cigarettes, (iii) were extremely potent nicotine-delivery mechanisms, (iv) were

26   powerfully addictive, (v) posed unreasonable risks of substantial bodily injury resulting from

27   the use of the products, and (vi) that the nicotine consumed through one JUUL pod exceeded the

28   nicotine consumed through a pack of combustible cigarettes. Defendants were also unjustly


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 1   enriched through their scheme of marketing their products to minors. Wyoming Statutes

 2   Annotated section 14-3-302 prohibits the marketing and sale of JUUL products to minors.

 3            3366. Defendants requested and received a measurable benefit at the expense of

 4   Plaintiffs and class members in the form of payment for JUUL products.

 5            3367. Defendants appreciated, recognized, and chose to accept the monetary benefits

 6   Plaintiffs conferred onto Defendants at the Plaintiffs’ detriment. These benefits were the

 7   expected result of Defendant acting in its pecuniary interest at the expense of its customers.

 8            3368. There is no justification for Defendants’ enrichment. It would be inequitable,

 9   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

10   benefits were procured as a result of their wrongful conduct.
11            3369. Plaintiffs are entitled to restitution of the benefits Defendant unjustly retained
12   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing
13   with Defendant. Due to the sprawling, decades-long tobacco litigations and other notice they
14   have received as a result of lawsuits filed against them, Defendants are reasonably notified that
15   Plaintiffs and class members would expect compensation from Defendants’ unjust enrichment
16   stemming from their wrongful actions.
17            3370. Plaintiffs plead this claim separately as well as in the alternative to their other
18   claims, as without such claims they would have no adequate legal remedy.
19   VIII. PRAYER FOR RELIEF
20            Plaintiff, on behalf of themselves and the proposed classes, respectfully demand that the

21   Court:

22            A.      Determine that this action may be maintained as a class action pursuant to Fed.

23   R. Civ. P. Rule 23(a) and (b)(3), direct that reasonable notice of this action be given to the

24   classes, declare Plaintiffs as a named representatives of the classes, and declare that Plaintiffs’

25   counsel be appointed as class counsel;

26            B.      Enter judgment against Defendants and in favor of Plaintiffs and the classes;

27            C.      Award damages (including statutory, punitive, and multiple damages as

28   provided by law) and restitution to the classes in an amount to be determined at trial, plus


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 1   interest in accordance with law;

 2            D.      Order disgorgement from the Defendants;

 3            E.      Award Plaintiffs and the classes their costs of suit, including reasonable

 4   attorneys’ fees as provided by law; and

 5            F.      Award such further and additional relief as is necessary to redress the harm

 6   caused by Defendants’ unlawful conduct and as the Court may deem just and proper under the

 7   circumstances.

 8   IX.      RELIEF NOT REQUESTED AND RESERVATION OF RIGHTS
 9            3371. None of the causes of action asserted herein seeks damages or other relief as a

10   result of personal injuries allegedly attributable to Plaintiffs’ and class members’ use of JUUL
11   products. Such claims are governed by the personal injury Master Complaint and any additional
12   Short Form complaints that may be filed (or as otherwise agreed by the parties). The named
13   Plaintiffs in this complaint expressly reserve their right to seek damages or other relief for
14   personal injuries they may have suffered, regardless of whether those damages are sought
15   through causes of action alleged herein or otherwise.
16   X.       DEMAND FOR JURY TRIAL
17            3372. Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs, on behalf of
18   themselves and the classes, demand a trial by jury on all issues to triable.
19

20   DATED: June 18, 2020                               Respectfully Submitted,

21
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 1                                   CERTIFICATE OF SERVICE
 2         I hereby certify that on June 18, 2020, I electronically filed the foregoing document using

 3   the CM/ECF system, which will send notification of such filing to all counsel of record

 4   registered in the CM/ECF system.

 5                                                               /s/ Sarah R. London

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